                        Case 20-11526-BLS              Doc 40       Filed 08/12/20         Page 1 of 1268




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

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                                                                        :
     In re:                                                             :   Chapter 7
                                                                        :
     Interactive Health Solutions, Inc., 1                              :   Case No. 20–11526 (BLS)
                                                                        :
                                       Debtor.                          :
                                                                        :
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     -------------------------------------------------------------------x
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                                                                        :
     In re:                                                             :   Chapter 7
                                                                        :
     Interactive Health Holdings Corp.,                                 :   Case No. 20–11527 (BLS)
                                                                        :
                                       Debtor.                          :
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     -------------------------------------------------------------------x
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     In re:                                                             :   Chapter 7
                                                                        :
     IHS Intermediate, Inc.,                                            :   Case No. 20–11528 (BLS)
                                                                        :
                                       Debtor.                          :
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     -------------------------------------------------------------------x
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     In re:                                                             :   Chapter 7
                                                                        :
     Interactive Health New York, LLC,                                  :   Case No. 20–11529 (BLS)
                                                                        :
                                       Debtor.                          :
                                                                        :
                                                                        :
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     1
       The debtors in the above-captioned chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Interactive Health Solutions, Inc.(8756); Interactive Health Holdings Corp. (4913); IHS Intermediate,
     Inc. (4172); Interactive Health New York, LLC (2261); Health Solutions, Inc. (0944); and Health Solutions Services, Inc.
     (0325). The address of the first four Debtors is 1700 East Golf Road, Suite 900 Schaumburg, Illinois 60173 while the address
     of the last two Debtors is 11409 Cronhill Drive, Suite K-R, Owings Mills, Maryland 21117.
26816128.3
                       Case 20-11526-BLS              Doc 40       Filed 08/12/20       Page 2 of 1268




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                                                                        :
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     In re:                                                             :   Chapter 7
                                                                        :
     Health Solutions, Inc.,                                            :   Case No. 20–11530 (BLS)
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                                       Debtor.                          :
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     -------------------------------------------------------------------x
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     In re:                                                             :   Chapter 7
                                                                        :
     Health Solutions Services, Inc.,                                   :   Case No. 20–11531 (BLS)
                                                                        :
                                       Debtor.                          :
                                                                        :
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                     GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES
                       REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
                        LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

            These Global Notes, Methodology, and Specific Disclosures (the “Global Notes”) filed by the
     above-captioned debtors and debtors in possession (collectively, the “Debtors”) in connection with
     the Debtors’ Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
     Affairs (the “SOFAs”) comprise an integral part of the Schedules and SOFAs and should be
     referred to and considered in connection with any review of them.

     1.      The Debtors prepared these unaudited Schedules and SOFAs pursuant to section 521 of title 11 of
             the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
             Procedure (the “Bankruptcy Rules”). Except where otherwise noted the information provided herein
             is presented based on the Debtors books and records as of the beginning of business on June 14,
             2020. The Debtors last performed their standard monthly accounting close procedures related to its
             books and records for the period ending April 30, 2020. Unless otherwise indicated, all amounts are
             listed as of the Petition Date or as of the latest available record date prior to the Petition Date.

     2.      While the Debtors have made every reasonable effort to ensure that the Schedules and SOFAs are
             accurate and complete, based upon information that was available to them at the time of preparation,
             inadvertent errors, or omissions may exist and the subsequent receipt of information and/or further
             review and analysis of the Debtors’ books and records may result in changes to financial data and
             other information contained in the Schedules and SOFAs. Moreover, because the Schedules and
             SOFAs contain unaudited information, which is subject to further review and potential adjustment,
             there can be no assurance that the Schedules and SOFAs are complete or accurate.

     3.      In reviewing and signing the Schedules and SOFAs, Matthew Manning, of M-III Advisory Partners,
             LP, the duly authorized and designated representative of the Debtors (the “Designated
26816128.3

                                                                  2
                        Case 20-11526-BLS         Doc 40     Filed 08/12/20      Page 3 of 1268




             Representative”), appointed in accordance with the Chapter 7 filing resolutions attached to the
             Chapter 7 petitions, has necessarily relied upon the prior efforts, statements and representations of
             other employees, personnel, and professionals of the Debtors. The Designated Representative has
             not (and could not have) personally verified the accuracy of each such statement and representation
             that collectively provide the information presented in the Schedules and SOFAs, including but not
             limited to, statements and representations concerning amounts owed to creditors, classification of
             such amounts and their addresses.

     4.      The Debtors reserve their rights to amend the Schedules and SOFAs as may be necessary or
             appropriate in the Debtors’ sole and absolute discretion, including, but not limited to, the right to
             assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim reflected
             on the Schedules as to amount, liability, or classification, or to otherwise subsequently designate any
             claim as “disputed,” “contingent,” or “unliquidated.” These Global Notes will apply to all such
             amendments. Furthermore, nothing contained in the Schedules or SOFAs shall constitute a waiver
             of the Debtors’ rights with respect to the chapter 7 cases and specifically with respect to any issues
             involving substantive consolidation, equitable subordination and/or causes of action arising under
             the provisions of chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy laws to recover
             assets or avoid transfers, or an admission relating to the same.

     5.      Any failure to designate a claim listed on the Schedules as “disputed,” “contingent” or “unliquidated”
             does not constitute an admission by the Debtors that such amount is not “disputed,” “contingent” or
             “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive of contingent and
             additional unliquidated amounts. Further, the claims of individual creditors are listed as the amounts
             entered on the Debtors’ books and records and may not reflect credits or allowances due from such
             creditors to the Debtors or setoffs applied by such creditors against amounts due by such creditors to
             the Debtors with respect to other transactions between them. The Debtors reserve all of their rights
             with respect to any such credits and allowances.

     6.      Some of the Debtors’ scheduled assets and liabilities are unknown and/or unliquidated. In such cases,
             no amounts are listed or the amounts are listed as “undetermined,” “unknown,” “none calculated” or
             to similar effect. Accordingly, for this and other reasons, the Schedules may not fully reflect the
             aggregate amount of the Debtors’ assets and liabilities.

     7.      At times, the preparation of the Schedules and the SOFAs required the Debtors to make assumptions
             that may affect the reported amounts of assets and liabilities, the disclosures of contingent assets and
             liabilities, and/or other items. Actual results could differ from those estimates. Pursuant to
             Bankruptcy Rule 1009, the Debtors may amend their Schedules and SOFAs as they deem necessary
             and appropriate to reflect material changes. In addition, the Debtors, for the benefit of their estates,
             reserve the right to dispute or to assert offsets or defenses to any claim listed on the Schedules or
             SOFAs.

     8.      Given the differences between the information requested in the Schedules and the financial
             information utilized under Generally Accepted Accounting Principles in the United States
             (“GAAP”), the aggregate asset values and claim amounts set forth in the Schedules may not
             necessarily reflect the amounts that would be set forth in a balance sheet prepared in accordance with
             GAAP. Information contained in the Schedules and SOFAs has been derived from the Debtors’ books
             and records and historical financial statements.
26816128.3

                                                             3
                        Case 20-11526-BLS         Doc 40    Filed 08/12/20     Page 4 of 1268




     9.      Except as otherwise noted, each asset and liability of each Debtor is shown on the basis of net book
             value of the asset or liability in accordance with such Debtor’s accounting books and records.
             Therefore, unless otherwise noted, the Schedules and SOFAs are not based upon any estimate of the
             current market values of the Debtors’ assets and liabilities, which may not correspond to book values.
             It would be cost-prohibitive and unduly burdensome to obtain current market valuations of the
             Debtors’ property interests. Except as otherwise noted, the Debtors’ assets are presented, in detail,
             as they appear on the Debtors’ accounting sub-ledgers. As such, the detail may include error
             corrections and value adjustments (shown as negative values or multiple line items for an individual
             asset). The Debtors believe that certain of their assets, including intangible assets, may have been
             significantly impaired by, among other things, the events leading to, and the commencement of, the
             Debtors’ chapter 7 cases. The Debtors did not formally evaluate the appropriateness of the carrying
             values ascribed to their assets prior to commencement of the chapter 7 cases.

     10. Owned property and equipment are recorded at cost and are shown net of depreciation. Depreciation
         is recorded using the straight-line method over the estimated useful lives of the assets, which range
         from three to seven years for furniture, fixtures, equipment, and software.

     11. Certain litigation actions (collectively, the “Litigation Actions”) reflected as claims against a
         particular Debtor may relate to any of the other Debtors. The Debtors made reasonable efforts to
         accurately record the Litigation Actions in the Schedules and SOFAs of the Debtor that is the party
         to the Litigation Action. The inclusion of any Litigation Action in the Schedules and SOFAs does
         not constitute an admission by the Debtors of liability, the validity of any Litigation Action, or the
         amount of any potential claim that may result from any claims with respect to any Litigation Action,
         or the amount and treatment of any potential claim resulting from any Litigation Action currently
         pending or that may arise in the future.

     12. With respect to Schedule A/B, Part 3, the Debtors have made certain adjustments to the responses in
         this section and provide comments for clarification to properly reflect the Debtors’ accounts
         receivable (the “Accounts Receivable”), with the information available. First, the Debtors excluded
         all customers where the net balance to such customer was shown on the Debtors’ books and records
         as a negative amount. Second, the Debtors’ unapplied cash and unposted payments accounts were
         netted against the Accounts Receivable in the respective Debtor entity’s books and records in which
         they were recorded, and for purposes of this Schedule A/B, Part 3, all are assumed to be aged less
         than 90 days. Third, the Debtors’ allowance for doubtful accounts were applied as shown on the
         Debtors’ unaudited consolidating balance sheets and not otherwise allocated between entities, and
         are assumed to be aged less than 90 days. Lastly, the claims billing Accounts Receivable accounts
         are all assumed to be aged less than 90 days.

     13. With respect to Schedule A/B, Question 3, bank account balances are reported as of close of business
         on June 12, 2020.

     14. With respect to Schedule A/B, Question 61, the Debtors’ books and records do not reflect which of
         the Debtor entities owns the domain names listed on Schedule A/B, Question 61, for Debtor
         Interactive Health Solutions, Inc. Because Debtor Interactive Health Solutions, Inc. was the primary
         operating company and owns 100% of the subsidiaries below it, the domain names are only listed in
         Debtor Interactive Health Solutions, Inc.’s Schedule A/B, Question 61.


26816128.3

                                                            4
                     Case 20-11526-BLS          Doc 40     Filed 08/12/20     Page 5 of 1268




     15. Schedule D does not include beneficiaries of letters of credit. Although the claims of certain parties
         may be secured by a letter of credit, the Debtors’ obligations under the letters of credit run to the
         issuers thereof, and not to the beneficiaries thereof.

     16. Certain claims listed on Schedule D arose or were incurred on various dates; a determination of the
         date upon which each claim arose or was incurred would be unduly burdensome and cost prohibitive.
         Accordingly, not all such dates are included for each claim. All claims listed on Schedule D,
         however, appear to have arisen or been incurred before the Petition Date.

     17. The descriptions provided in Schedule D are intended only to be a summary. Reference to the
         applicable loan agreements and related documents is necessary for a complete description of the
         collateral and the nature, extent and priority of any liens. Nothing in these Global Notes or the
         Schedules and Statements shall be deemed a modification or interpretation of the terms of such
         agreements.

     18. Except as specifically stated herein, real property lessors, utility companies, and other parties that may
         hold security deposits have not been listed on Schedule D. The Debtors have not included parties
         that may believe their Claims are secured through setoff rights or inchoate statutory lien rights.

     19. The amounts listed on Schedule D do not include legal fees and expenses in connection with
         prepetition work provided on behalf of the secured lenders.

     20. With respect to Schedule E/F, Part 2, all creditors and amounts listed are derived from the Debtors’
         accounts payable as of June 12, 2020. The Debtors are unable to state with certainty the dates that
         such debts were incurred, but in many instances have included the last invoice date listed in the
         Debtors’ accounts payable books and records.

     21. With respect to Schedule E/F, Part 2, where the addresses for certain creditors were not available in
         the Debtors’ books and records, such addresses have been omitted.

     22. The Debtors have included information for all of their known employees, each of whom was paid
         through and including June 14, 2020, on account of earned wages, salaries and paid time off. Any
         amounts owed to such employees are unknown, and have been listed as such on the Schedules.
         Appropriate correspondence regarding the commencement of these chapter 7 cases was sent to
         known employees and former employees immediately upon the filing of these proceedings.

     23. With respect to Schedule G, Part 2, the remaining term for certain executory contracts or unexpired
         leases were not available based on access to the Debtors’ books and records at the time of preparation
         of these Schedules. Such entries for remaining term have been omitted.

     24. The businesses of the Debtors were complex and, while reasonable efforts have been made to ensure
         the accuracy of Schedule G, inadvertent errors or omissions may have occurred. The Debtors hereby
         reserve all of their rights to (i) dispute the validity, status or enforceability of any contracts,
         agreements or leases set forth in Schedule G and (ii) amend or supplement such Schedule as
         necessary. Furthermore, the Debtors reserve all of their rights, claims and causes of action with
         respect to the contracts and agreements listed on the Schedules, including the right to dispute or
         challenge the characterization or the structure of any transaction, document or instrument. The

26816128.3

                                                           5
                        Case 20-11526-BLS        Doc 40     Filed 08/12/20     Page 6 of 1268




             presence of a contract or agreement on Schedule G does not constitute an admission that such contract
             or agreement is an executory contract or an unexpired lease.

     25. The contracts, agreements, and leases listed on Schedule G may have expired or may have been
         modified, amended, or supplemented from time to time by various amendments, restatements,
         waivers, estoppel certificates, letter and other documents, instruments, and agreements that may not
         be listed therein. Certain of the real property leases listed on Schedule G may contain renewal
         options, guarantees of payments, options to purchase, rights of first refusal, rights to lease additional
         space and other miscellaneous rights. Such rights, powers, duties and obligations are not set forth on
         Schedule G. Additionally, the Debtors may be parties to various other agreements concerning real
         property, such as easements, rights of way, subordination, non-disturbance, supplemental
         agreements, amendments/letter agreements, title documents, consents, site plans, maps and other
         miscellaneous agreements. Such agreements, if any, are not set forth in Schedule G. Certain of the
         agreements listed on Schedule G may be in the nature of conditional sales agreements or secured
         financings.

     26. For purposes of Schedule H, the Debtors have not listed their past insurers or current insurers as co-
         debtors because the Debtors are unaware of any actual present liability on the part of these parties.
         The Debtors reserve their rights to assert that any of the various foregoing parties (or any other party
         not listed on Schedule H whom the Debtors later discover to be liable in whole or part for any
         obligation of the Debtors) is a co-debtor with the Debtors, and neither these Global Notes nor the
         Schedules and SOFAs shall be deemed a waiver of any rights of the Debtors to assert that any entity
         not listed in response to Schedule H is a co-debtor with respect to one or more of the Debtors’
         obligations.

     27. Prior to the commencement of these cases, during the week ending June 14, 2020, the Debtors issued
         multiple special payrolls to all employees for their earned wages, salaries, and paid time off. All
         other payrolls were made in the ordinary course of business on a biweekly basis. Due to the
         voluminous nature of such employee payments, the Debtors have excluded payments to rank and file
         employees in SOFA Question 3. For the avoidance of doubt, the Debtors have included all applicable
         payments to insiders in SOFA Question 4.

     28. With respect to SOFA Question 3, the Debtors have included any disbursement or other transfer
         made by the Debtors within 90 days before the Petition Date except for those made to or on behalf
         of insiders (which payments appear in response to SOFA Question 4), employees, interbank transfers
         done as part of the Debtors’ cash management system, and bankruptcy professionals (which
         payments appear in SOFA 11 and include any retainers paid to bankruptcy professionals during the
         one-year time period).

     29. With respect to SOFA Questions 5, 6, 8, 10, 12, 22, 23 and 24, the Debtors have indicated a response
         of “None” to each Question. The Debtors have indicated such responses to the aforementioned
         Questions based on the information available at the time of preparation of the Schedules and SOFAs,
         and any information to the contrary was not available in the Debtors’ books and records based upon
         reasonable review of available information.




26816128.3

                                                            6
                     Case 20-11526-BLS          Doc 40     Filed 08/12/20      Page 7 of 1268




     30. With respect to SOFA Questions 26(b) through 26(d), the Debtors have excluded rank and file
         accountants and bookkeepers in response to this Question, instead listing those officers who
         supervised them, as well as the Debtors’ external accounting and audit firms.

     31. With respect to SOFA Question 26(d), the Debtors have provided financial statements in the ordinary
         course of their businesses to numerous financial institutions, creditors and other parties within two
         years immediately before the Petition Date. The disclosure of each such parties would be impractical
         and burdensome as the Debtors generally do not track such sharing. Moreover, the parties with which
         the Debtors have shared such financial statements may have in turn further shared the financial
         statements with other entities without the Debtors’ knowledge or consent.

     32. The Debtors and their past or present officers, employees, attorneys, professionals and agents
         (including, but not limited to, the Designated Representative), do not guarantee or warrant the
         accuracy, completeness, or currentness of the data that is provided herein and shall not be liable for
         any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions, whether
         negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating
         or delivering the information contained herein. The Debtors and their past or present officers,
         employees, attorneys, professionals and agents (including, but not limited to, the Designated
         Representative) expressly do not undertake any obligation to update, modify, revise or re-categorize
         the information provided herein or to notify any third party should the information be updated,
         modified, revised or re-categorized. In no event shall the Debtors or their past or present officers,
         employees, attorneys, professionals and/or agents (including, but not limited to, the Designated
         Representative) be liable to any third party for any direct, indirect, incidental, consequential or special
         damages (including, but not limited to, damages arising from the disallowance of any potential claim
         against the Debtors or damages to business reputation, lost business or lost profits), whether
         foreseeable or not and however caused arising from or related to any information provided herein or
         omitted herein.

     33. The Debtors have excluded certain categories of assets and liabilities from the Schedules and SOFAS,
         such as but not limited to, tax accruals, accrued salaries, employee benefit accruals, and accrued
         accounts payable. The Debtors also have excluded potential rejection damage claims of
         counterparties to executory contracts and unexpired leases that have been or may be rejected. In
         addition, other immaterial assets and liabilities may also have been excluded.




26816128.3

                                                           7
                                                               Case 20-11526-BLS                                                                   Doc 40                              Filed 08/12/20   Page 8 of 1268

 Fill in this information to identify the case:


 Debtor name                          Interactive Health Solutions, Inc.


 United States Bankruptcy Court for the:                                                            DISTRICT OF DELAWARE


 Case number (if known)

                                                                                                                                                                                                                          Check if this is an
                                                                                                                                                                                                                          amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15


 Part 1:               Summary of Assets




 1.        Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


           1a. Real property:
                Copy line 88 from Schedule A/B.............................................................................................................................                                                 $                             Unknown


           1b. Total personal property:
                Copy line 91A from Schedule A/B.........................................................................................................................                                                    $                       3,007,095.67


           1c. Total of all property:
                Copy line 92 from Schedule A/B...........................................................................................................................                                                   $                       3,007,095.67



 Part 2:               Summary of Liabilities




 2.        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                                                  $                   184,443,852.46



 3.        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


           3a. Total claim amounts of priority unsecured claims:
                Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                                                    $                                 0.00


           3b. Total amount of claims of nonpriority amount of unsecured claims:
                Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                                           +$                        4,154,717.94




 4.        Total liabilities .......................................................................................................................................................
           Lines 2 + 3a + 3b                                                                                                                                                                                          $                     188,598,570.40




 Official Form 206Sum                                                                                                                     Summary of Assets and Liabilities for Non-Individuals                                                            page 1

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                                                   Case 20-11526-BLS                                   Doc 40                  Filed 08/12/20                Page 9 of 1268

 Fill in this information to identify the case:


 Debtor name                            Interactive Health Solutions, Inc.


 United States Bankruptcy Court for the:                               DISTRICT OF DELAWARE


 Case number (if known)

                                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                                   amended filing




Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                                              12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's
own benefit. Also include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them
on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).


Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case number (if known). Also identify the form and line number
to which the additional information applies. If an additional sheet is attached, include the amounts from the attachment in t he total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular
 category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:                  Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?


             No. Go to Part 2.

             Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                                                                               Current value of debtor's interest


      2.                 Cash on hand
      None




 3.               Checking, savings, money market, or financial brokerage accounts (Identify all)


                  Name of institution (bank or brokerage firm)                                                     Type of account                               Last 4 digits of account number



                  3.1.       BMO Harris Bank N.A.                                                                  Operating                                     9197                                                         $54,399.39

                  3.2        BMO Harris Bank. N.A.                                                                 Payroll                                       9205                                                             $661.13

                  3.3        BMO Harris Bank N.A.                                                                  Medical Claims                                4148                                                                 $0.00




 4.               Other cash equivalents (Identify all)




                  4.1.       None




 5.               Total of Part 1.                                                                                                                                                                                       $55,060.52

                  Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.




 Part 2:                  Deposits and Prepayments

6. Does the debtor have any deposits or prepayments?


             No. Go to Part 3.

             Yes Fill in the information below.


 7.               Deposits, including security deposits and utility deposits


                  Description, including name of holder of deposit

                  7.1.       Seed money - Aetna                                                                                                                                                                                 Unknown


Official Form 206A/B                                                                 Schedule A/B Assets - Real and Personal Property                                                                                              page 1

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                                                 Case 20-11526-BLS                             Doc 40             Filed 08/12/20       Page 10 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                                 Case number   (If known)
                         Name



                  Description, including name of holder of deposit

                  7.2        Gift cards deposits – various                                                                                                             Unknown

                  7.3        Landlord security deposit - A&M Fulton West Owner, LLC                                                                                 $256,576.05

                  7.4        Landlord security deposit - 300 N. Elizabeth, LLC                                                                                       $40,000.00




 8.               Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent


                  Description, including name of holder of prepayment

                  8.1.       Prepaid Insurance - GCG Risk Management Consultants LLC                                                                                 $76,665.19

                  8.2        Prepaid Insurance – Aon Risk Service Central                                                                                            $36,945.14

                  8.3        Prepaid Insurance - Willis of NY                                                                                                         $4,741.44

                  8.4        Prepaid Insurance - CNA Insurance                                                                                                       $31,292.20

                  8.5        Prepaid Subscription – DiscoverOrg Data, LLC                                                                                             $3,088.95

                  8.6        Prepaid Professional Services – CT Corporation                                                                                          $15,000.00

                  8.7        Prepaid Maintenance – Atlassian Pty. Ltd.                                                                                                $2,143.49

                  8.8        Prepaid Maintenance – CDW Computer Centers Inc.                                                                                         $23,698.87

                  8.9        Prepaid Maintenance – Citrix Systems Inc.                                                                                                $5,481.64

                  8.10       Prepaid Maintenance – HITRUST Service Corp.                                                                                             $13,875.00

                  8.11       Prepaid Maintenance – HushHush                                                                                                           $4,608.80

                  8.12       Prepaid Maintenance – IBM Corporation                                                                                                    $3,259.10

                  8.13       Prepaid Maintenance – Macola Software aka Exact Software N. America                                                                      $4,400.02

                  8.14       Prepaid Maintenance – Microsoft Corporation                                                                                             $26,837.58

                  8.15       Prepaid Meetings & Events                                                                                                                $1,666.67

                  8.16       Prepaid License – Aha! Labs Inc.                                                                                                        $10,844.47

                  8.17       Prepaid License – AppExtremes, LLC. dba Conga                                                                                           $14,851.48

                  8.18       Prepaid License – CDW Computer Centers, Inc.                                                                                             $7,436.14

                  8.19       Prepaid License – Citrix Systems, Inc.                                                                                                   $7,168.80

                  8.20       Prepaid License – Dell - Quest Software                                                                                                  $2,189.90

                  8.21       Prepaid License – Evolve e-Learning Solutions                                                                                            $2,253.81

                  8.22       Prepaid License – Itentive Healthcare Solutions                                                                                         $15,902.21

                  8.23       Prepaid License – MineralTree                                                                                                            $3,937.50

                  8.24       Prepaid License – NCQA                                                                                                                  $20,209.92

                  8.25       Prepaid License – The Nemours Foundation                                                                                                 $2,343.75

                  8.26       Prepaid License – Pluralsight, LLC                                                                                                       $9,305.19

                  8.27       Prepaid License – Salesforce.com Inc                                                                                                   $204,432.75

                  8.28       Prepaid License – SecureWorks Inc.                                                                                                      $17,520.70

                  8.29       Prepaid License – Splunk, Inc.                                                                                                           $6,424.14

                  8.30       Prepaid License – Survey Monkey                                                                                                          $1,693.58

                  8.31       Prepaid License – Veracode, Inc.                                                                                                        $20,937.53




 9.               Total of Part 2.                                                                                                                             $897,732.01
                  Add lines 7 through 8. Copy the total to line 81.


 Part 3:                 Accounts receivable

10. Does the debtor have any accounts receivable?


             No. Go to Part 4.



Official Form 206A/B                                                             Schedule A/B Assets - Real and Personal Property                                         page 2

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                                                 Case 20-11526-BLS                                Doc 40            Filed 08/12/20                          Page 11 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                                                     Case number    (If known)
                          Name



             Yes Fill in the information below.


 11.              Accounts receivable




                  11a. 90 days old or less:                                                $1,337,263.28    -                                               $150,482.54     = ....                                $1,186,780.74

                                                                      face amount                                  doubtful or uncollectible accounts




                  11b. Over 90 days old:                                                     $242,522.40    -                                                             =....                                     $242,522.40

                                                                      face amount                                  doubtful or uncollectible accounts




 12.              Total of Part 3.                                                                                                                                                                          $1,429,303.14
                  Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:                  Investments

13. Does the debtor own any investments?


             No. Go to Part 5.

             Yes Fill in the information below.


                                                                                                                                                        Valuation method used for current   Current value of debtor's interest
                                                                                                                                                        value




 14.              Mutual funds or publicly traded stocks not included in Part 1


                  Name of fund or stock:




                  14.1.          None




 15.              Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC, partners hip, or joint venture


                  Name of entity:                                                                                      % of ownership




                  15.1.          Health Solutions, Inc.                                                                100                 %                                                                           Unknown




                  15.2           Health Solutions Services, Inc.                                                       100                                                                                             Unknown




                  15.3           Interactive Health New York, LLC                                                      100                                                                                             Unknown




 16.              Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1


                  Describe:




                  16.1.          None




 17.              Total of Part 4.                                                                                                                                                                              Unknown

                  Add lines 14 through 16. Copy the total to line 83.


 Part 5:                  Inventory, excluding agriculture assets


Official Form 206A/B                                                                 Schedule A/B Assets - Real and Personal Property                                                                                     page 3

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                                                 Case 20-11526-BLS                                  Doc 40           Filed 08/12/20                  Page 12 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                                              Case number     (If known)
                         Name



18. Does the debtor own any inventory (excluding agriculture assets)?



             No. Go to Part 6.

             Yes Fill in the information below.


                  General description                                   Date of the last physical             Net book value of debtor's         Valuation method used for current   Current value of debtor's interest
                                                                        inventory                             interest                           value
                                                                                                              (Where available)


 19.              Raw materials




 20.              Work in progress




 21.              Finished goods, including goods held for resale




 22.              Other inventory or supplies


                  Office supplies                                                                                                   $11,449.19                                                                  Unknown




 23.              Total of Part 5.                                                                                                                                                                       Unknown
                  Add lines 19 through 22. Copy the total to line 84.


 24.              Is any of the property listed in Part 5 perishable?

                        No

                        Yes


 25.              Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

                        No

                        Yes. Book value                                                    Valuation method                                              Current Value



 26.              Has any of the property listed in Part 5 been appraised by a professional within the last year?

                        No

                        Yes


 Part 6:                 Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?



             No. Go to Part 7.

             Yes Fill in the information below.


                  General description                                                                         Net book value of debtor's         Valuation method used for current   Current value of debtor's interest
                                                                                                              interest                           value
                                                                                                              (Where available)


 28.              Crops-either planted or harvested




 29.              Farm animals Examples: Livestock, poultry, farm-raised fish



Official Form 206A/B                                                                Schedule A/B Assets - Real and Personal Property                                                                               page 4

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                                                 Case 20-11526-BLS                                 Doc 40             Filed 08/12/20                  Page 13 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                                               Case number     (If known)
                         Name




 30.              Farm machinery and equipment (Other than titled motor vehicles)




 31.              Farm and fishing supplies, chemicals, and feed




 32.              Other farming and fishing-related property not already listed in Part 6




 33.              Total of Part 6.                                                                                                                                                                             $0.00
                  Add lines 28 through 32. Copy the total to line 85.


 34.              Is the debtor a member of an agricultural cooperative?

                        No

                        Yes. Is any of the debtor's property stored at the cooperative?

                                           No

                                           Yes


 35.              Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

                        No

                        Yes. Book value                                                     Valuation method                                              Current Value



 36.              Is a depreciation schedule available for any of the property listed in Part 6?

                        No

                        Yes


 37.              Has any of the property listed in Part 6 been appraised by a professional within the last year?

                        No

                        Yes


 Part 7:                 Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?



             No. Go to Part 8.

             Yes Fill in the information below.


                  General description                                                                          Net book value of debtor's         Valuation method used for current   Current value of debtor's interest
                                                                                                               interest                           value
                                                                                                               (Where available)


 39.              Office furniture


                  Furniture & Fixtures                                                                                              $120,511.64                                                                  Unknown




 40.              Office fixtures


                  See Question 39




Official Form 206A/B                                                                Schedule A/B Assets - Real and Personal Property                                                                                page 5

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                                                 Case 20-11526-BLS                                      Doc 40                 Filed 08/12/20                         Page 14 of 1268

 Debtor                           Interactive Health Solutions, Inc.                                                                                              Case number    (If known)
                           Name



 41.              Office equipment, including all computer equipment and communication systems equipment and
                  software


                  Hardware & Software                                                                                                          $505,341.92                                                                       Unknown
                  Telephone Equipment                                                                                                           $30,961.27                                                                       Unknown
                  Equipment lease – Canon XX-XXXXXXX-018                                                                                         $4,130.94                                                                       Unknown

                  Equipment lease – Canon XX-XXXXXXX-019                                                                                         $4,130.94                                                                       Unknown

                  Equipment lease – Canon XX-XXXXXXX-020                                                                                        $10,255.65                                                                       Unknown
                  Equipment lease – Canon XX-XXXXXXX-021                                                                                        $11,964.89                                                                       Unknown

                  Equipment lease – Canon XX-XXXXXXX-022                                                                                       $114,386.36                                                                       Unknown

                  Equipment lease – Canon XX-XXXXXXX-023                                                                                       $252,080.00                                                                       Unknown

                  Equipment lease – Cisco 25499496                                                                                              $32,182.50                                                                       Unknown
                  Software Licenses                                                                                                             $55,036.85                                                                       Unknown




 42.              Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal;
                  stamp, coin, or baseball card collections; other collections, memorabilia, or collectibles



                  42.1.




 43.              Total of Part 7.                                                                                                                                                                                        Unknown

                  Add lines 39 through 42. Copy the total to line 86.


 44.              Is a depreciation schedule available for any of the property listed in Part 7?

                           No

                           Yes


 45.              Has any of the property listed in Part 7 been appraised by a professional within the last year?

                           No

                           Yes


 Part 8:                   Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?


             No. Go to Part 9.

             Yes Fill in the information below.


                  General description                                                                                  Net book value of debtor's                 Valuation method used for current   Current value of debtor's interest
                  Include year, make, model, and identification numbers (i.e., VIN, HIN, or N-number)                  interest                                   value
                                                                                                                       (Where available)


 47.              Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




                  47.1.




 48.              Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels




                  48.1.




 49.              Aircraft and accessories




                  49.1..




Official Form 206A/B                                                                  Schedule A/B Assets - Real and Personal Property                                                                                              page 6

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                                                 Case 20-11526-BLS                                    Doc 40         Filed 08/12/20                  Page 15 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                                              Case number    (If known)
                          Name




 50.              Other machinery, fixtures, and equipment (excluding farm machinery and equipment)




 51.              Total of Part 8.
                                                                                                                                                                                                                $0.00
                  Add lines 47 through 50. Copy the total to line 87.


 52.              Is a depreciation schedule available for any of the property listed in Part 8?

                          No

                          Yes


 53.              Has any of the property listed in Part 8 been appraised by a professional within the last year?

                          No

                          Yes


 Part 9:                  Real property

54. Does the debtor own or lease any real property?


             No. Go to Part 10.

             Yes Fill in the information below.


 55.              Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest


                  Description and location of property                         Nature and extent of           Net book value of debtor's         Valuation method used for current   Current value of debtor's interest
                  Include street address or other description such as          debtor's interest in           interest                           value
                  Assessor Parcel Number (APN), and type of property           property                       (Where available)
                  (for example, acreage, factory, warehouse, apartment
                  or office building, if available.


                  55.1.


                                 Corporate Headquarters
                                 1700 East Golf Road, Suite 900,
                                 Schaumburg, IL 60173                          Lessee                                                 Unknown                                                                           Unknown




                                 Office
                                 300 North Elizabeth Street, Chicago, IL
                                 60607                                         Lessee                                                 Unknown                                                                           Unknown




                                 Leasehold improvements                                                                            $639,036.19                                                                    Unknown




 56.              Total of Part 9.
                                                                                                                                                                                                             Unknown

                  Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
                  Copy the total to line 88.


 57.              Is a depreciation schedule available for any of the property listed in Part 9?

                          No

                          Yes


 58.              Has any of the property listed in Part 9 been appraised by a professional within the last year?

                          No

                          Yes


 Part 10:                 Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?


             No. Go to Part 11.

Official Form 206A/B                                                                Schedule A/B Assets - Real and Personal Property                                                                                 page 7

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                                                 Case 20-11526-BLS                                    Doc 40         Filed 08/12/20                  Page 16 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                                              Case number    (If known)
                         Name



             Yes Fill in the information below.


                  General description                                                                         Net book value of debtor's         Valuation method used for current   Current value of debtor's interest
                                                                                                              interest                           value
                                                                                                              (Where available)


 60.              Patents, copyrights, trademarks, and trade secrets


                  Trademark – Interactive Health 4565677                                                                          Undetermined                                                             Undetermined
                  Trademark – INTERACTIVE HEALTH and Design (Sun) 4724236                                                         Undetermined                                                             Undetermined

                  Trademark – Miscellaneous Design (Sun) 4724237                                                                  Undetermined                                                             Undetermined
                  Trademark – ACTIVE ENGINE 4743081                                                                               Undetermined                                                             Undetermined
                  Provisional Patent – Application number 62878778                                                                Undetermined                                                             Undetermined
                  Unregistered copyrights - ScreeningReg.com website and code                                                     Undetermined                                                             Undetermined
                  Unregistered copyrights - Marketing materials, including sales presentations, standard
                  proposals and program descriptions                                                                              Undetermined                                                             Undetermined
                  Unregistered copyrights - Content of Guarantors’ websites                                                       Undetermined                                                             Undetermined
                  Unregistered copyrights - Participant handouts, including consent forms, data collection
                  forms and coaching handouts                                                                                     Undetermined                                                             Undetermined

                  Unregistered copyrights – Internally developed operating systems and IT processes and
                  systems relating to its workflow and billing to its customers and an array of “Smart Like
                  Me” software, videos and related material                                                                       Undetermined                                                             Undetermined




 61.              Internet domain names and websites


                  Web address - interactivehealthinc.com                                                                          Undetermined                                                             Undetermined

                  Web address - myinteractivehealth.com                                                                           Undetermined                                                             Undetermined

                  Web address - healthsolutions.com                                                                               Undetermined                                                             Undetermined

                  Web address - wellnessworkshub.com                                                                              Undetermined                                                             Undetermined

                  Web address - screeningreg.com                                                                                  Undetermined                                                             Undetermined

                  Web address - admin.interactivehealthinc.com                                                                    Undetermined                                                             Undetermined

                  Web address - healthsolutionsadmin.com                                                                          Undetermined                                                             Undetermined

                  Web address - manage.myinteractivehealth.com                                                                    Undetermined                                                             Undetermined

                  Domain name - 100healthiestcompanies.com                                                                        Undetermined                                                             Undetermined

                  Domain name - adpdoc.com                                                                                        Undetermined                                                             Undetermined

                  Domain name - adpvirtualmedicalfile.com                                                                         Undetermined                                                             Undetermined

                  Domain name - adpvirtualmedicalrecord.com                                                                       Undetermined                                                             Undetermined

                  Domain name - ailmentslikeme.com                                                                                Undetermined                                                             Undetermined

                  Domain name - ailmentslikeme.net                                                                                Undetermined                                                             Undetermined

                  Domain name - ailmentslikeme.online                                                                             Undetermined                                                             Undetermined

                  Domain name - ailmentslikeme.org                                                                                Undetermined                                                             Undetermined

                  Domain name - americanhealthservices.com                                                                        Undetermined                                                             Undetermined

                  Domain name - americashearthealthiestcompanies.com                                                              Undetermined                                                             Undetermined

                  Domain name - corpih.com                                                                                        Undetermined                                                             Undetermined

                  Domain name - corpih.net                                                                                        Undetermined                                                             Undetermined

                  Domain name - Domain Backorder (interactivehealth.com)                                                          Undetermined                                                             Undetermined

                  Domain name - geneslikeme.com                                                                                   Undetermined                                                             Undetermined

                  Domain name - geneslikeme.net                                                                                   Undetermined                                                             Undetermined

                  Domain name - geneslikeme.org                                                                                   Undetermined                                                             Undetermined

                  Domain name - gmlifesteps.com                                                                                   Undetermined                                                             Undetermined

                  Domain name - healthiestcompanies.com                                                                           Undetermined                                                             Undetermined

                  Domain name - healthsmartlikeme.com                                                                             Undetermined                                                             Undetermined

                  Domain name - healthsolutionservicesinc.com                                                                     Undetermined                                                             Undetermined

                  Domain name - hearthealthiest.com                                                                               Undetermined                                                             Undetermined

                  Domain name - hearthealthiestcompanies.com                                                                      Undetermined                                                             Undetermined

                  Domain name - hearthealthiestcompaniesinamerica.com                                                             Undetermined                                                             Undetermined

                  Domain name - ihapp.com                                                                                         Undetermined                                                             Undetermined

                  Domain name - ihapplication.com                                                                                 Undetermined                                                             Undetermined

                  Domain name - ihtest.com                                                                                        Undetermined                                                             Undetermined

                  Domain name - interactivehealth.biz                                                                             Undetermined                                                             Undetermined



Official Form 206A/B                                                                 Schedule A/B Assets - Real and Personal Property                                                                              page 8

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                                                 Case 20-11526-BLS                    Doc 40            Filed 08/12/20               Page 17 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                               Case number   (If known)
                         Name



                  Domain name - interactivehealth.company                                                          Undetermined                                Undetermined

                  Domain name - interactivehealth.net                                                              Undetermined                                Undetermined

                  Domain name - interactivehealthinc.biz                                                           Undetermined                                Undetermined

                  Domain name - interactivehealthinc.com                                                           Undetermined                                Undetermined

                  Domain name - interactivehealthinc.company                                                       Undetermined                                Undetermined

                  Domain name - interactivehealthinc.net                                                           Undetermined                                Undetermined

                  Domain name - interactivehealthinc.org                                                           Undetermined                                Undetermined

                  Domain name - interactivehealthinc.us                                                            Undetermined                                Undetermined

                  Domain name - interactivehealthindex.com                                                         Undetermined                                Undetermined

                  Domain name - interactivehealthsolutions.com                                                     Undetermined                                Undetermined

                  Domain name - interactivehealthsolutions.org                                                     Undetermined                                Undetermined

                  Domain name - interactivehs.com                                                                  Undetermined                                Undetermined

                  Domain name - inthealth.com                                                                      Undetermined                                Undetermined

                  Domain name - livehealthylikeme.com                                                              Undetermined                                Undetermined

                  Domain name - myhealthlink.com                                                                   Undetermined                                Undetermined

                  Domain name - myih.com                                                                           Undetermined                                Undetermined

                  Domain name - myihapp.com                                                                        Undetermined                                Undetermined

                  Domain name - myihsnews.com                                                                      Undetermined                                Undetermined

                  Domain name - myinteractivehealth.biz                                                            Undetermined                                Undetermined

                  Domain name - myinteractivehealth.com                                                            Undetermined                                Undetermined

                  Domain name - myinteractivehealth.company                                                        Undetermined                                Undetermined

                  Domain name - myinteractivehealth.net                                                            Undetermined                                Undetermined

                  Domain name - myinteractivehealth.org                                                            Undetermined                                Undetermined

                  Domain name - myinteractivehealth.us                                                             Undetermined                                Undetermined

                  Domain name - ourlifesteps.com                                                                   Undetermined                                Undetermined

                  Domain name - smartlikeme.com                                                                    Undetermined                                Undetermined

                  Domain name - smartlikeme.net                                                                    Undetermined                                Undetermined

                  Domain name - smartlikeme.org                                                                    Undetermined                                Undetermined

                  Domain name - the100healthiestcompanies.com                                                      Undetermined                                Undetermined

                  Domain name - wellnessworkshub.biz                                                               Undetermined                                Undetermined

                  Domain name - wellnessworkshub.com                                                               Undetermined                                Undetermined

                  Domain name - wellnessworkshub.net                                                               Undetermined                                Undetermined

                  Domain name - wellnessworkshub.org                                                               Undetermined                                Undetermined

                  Domain name - whyihs.com                                                                         Undetermined                                Undetermined




 62.              Licenses, franchises, and royalties




 63.              Customer lists, mailing lists, or other compilations




 64.              Other intangibles, or intellectual property




 65.              Goodwill




Official Form 206A/B                                                     Schedule A/B Assets - Real and Personal Property                                              page 9

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                                                 Case 20-11526-BLS                                  Doc 40                 Filed 08/12/20                       Page 18 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                                                        Case number      (If known)
                         Name




 66.              Total of Part 10.
                                                                                                                                                                                                                             Unknown

                  Add lines 60 through 65. Copy the total to line 89.


 67.              Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?

                        No

                        Yes


 68.              Is there an amortization or other similar schedule available for any of the property listed in Part 10?

                        No

                        Yes


 69.              Has any of the property listed in Part 10 been appraised by a professional within the last year?

                        No

                        Yes


 Part 11:                All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
       Include all interests in executory contracts and unexpired leases not previously reported on this form.


             No. Go to Part 12.

             Yes Fill in the information below.


                                                                                                                                                                                                       Current value of debtor's interest




 71.              Notes receivable
                  Description (include name of obligor)


                                                                                                                       $211,548.87   -                                                   Unknown   =
                  Note receivable – restricted                                                     Total face amount                     doubtful or uncollectible amount                                                         Unknown




 72.              Tax refunds and unused net operating losses (NOLs)
                  Description (for example, federal, state, local)




                  Federal tax refund
                                                                                                                                                     Tax year    2019                                                          $625,000.00




 73.              Interests in insurance policies or annuities


                  Continental Insurance Company (Policy 6023696604)                                                                                                                                                               Unknown

                  Continental Insurance Company (Policy 6023696599)                                                                                                                                                               Unknown

                  National Fire Insurance Co Of Hartford (Policy 6023696585)                                                                                                                                                      Unknown
                  National Fire Insurance Co Of Hartford (Policy 6023696571 (CA Only))                                                                                                                                            Unknown

                  National Fire Insurance Co Of Hartford (Policy 6022727724 (AOS))                                                                                                                                                Unknown


                  Columbia Casualty Company (Policy 4032296664)                                                                                                                                                                   Unknown




 74.              Causes of action against third parties (whether or not a lawsuit has been filed)




                  Nature of claim

                  Amount requested




 75.              Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of

Official Form 206A/B                                                               Schedule A/B Assets - Real and Personal Property                                                                                                 page 10

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                                                 Case 20-11526-BLS                             Doc 40                Filed 08/12/20      Page 19 of 1268

 Debtor                          Interactive Health Solutions, Inc.                                                                   Case number   (If known)
                         Name



                  the debtor and rights to set off claims




                  Nature of claim
                  Amount requested




 76.              Trusts, equitable or future interests in property




 77.              Other property of any kind not already listed Examples: Season tickets, country club membership




 78.              Total of Part 11.
                                                                                                                                                                 $625,000.00

                  Add lines 71 through 77. Copy the total to line 90.


 79.              Has any of the property listed in Part 11 been appraised by a professional within the last year?

                        No

                        Yes




Official Form 206A/B                                                            Schedule A/B Assets - Real and Personal Property                                          page 11

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                                                        Case 20-11526-BLS                                                         Doc 40        Filed 08/12/20                       Page 20 of 1268

 Debtor                              Interactive Health Solutions, Inc.                                                                                                        Case number     (If known)
                            Name




 Part 12:                   Summary



In Part 12 copy all of the totals from the earlier parts of the form
            Type of property                                                                                                                    Current value of personal property             Current value of real property


 80.        Cash, cash equivalents, and financial assets.
            Copy line 5, Part 1                                                                                                                                         $55,060.52


 81.        Deposits and prepayments. Copy line 9, Part 2.                                                                                                           $897,732.01


 82.        Accounts receivable. Copy line 12, Part 3.                                                                                                              $1,429,303.14


 83.        Investments. Copy line 17, Part 4.                                                                                                                           Unknown


 84.        Inventory. Copy line 23, Part 5.                                                                                                                             Unknown


 85.        Farming and fishing-related assets. Copy line 33, Part 6.                                                                                                         $0.00


 86.        Office furniture, fixtures, and equipment; and collectibles.
            Copy line 43, Part 7.                                                                                                                                        Unknown


 87.        Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                                                         $0.00



 88.        Real property. Copy line 56, Part 9.........................................................................................>                                                                                        Unknown



 89.        Intangibles and intellectual property. Copy line 66, Part 10.                                                                                                Unknown


 90.        All other assets. Copy line 78, Part 11.                                                                                        +                         $625,000.00



 91.        Total. Add lines 80 through 90 for each column                                                                                                      $3,007,095.67         + 91b.                                    Unknown



 92.        Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                                                                              $3,007,095.67




Official Form 206A/B                                                                                        Schedule A/B Assets - Real and Personal Property                                                                                        page 12

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                                                 Case 20-11526-BLS                                            Doc 40                  Filed 08/12/20                Page 21 of 1268

 Fill in this information to identify the case:


 Debtor name                     Interactive Health Solutions, Inc.


 United States Bankruptcy Court for the:                                   DISTRICT OF DELAWARE


 Case number (if known)

                                                                                                                                                                                                              Check if this is an
                                                                                                                                                                                                              amended filing



Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                                                                12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?

               No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

               Yes. Fill in all of the information below.


 Part 1:             List Creditors Who Have Secured Claims
                                                                                                                                                                     Column A                                     Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim.
                                                                                                                                                                     Amount of claim                              Value of collateral
                                                                                                                                                                                                                  that supports this
                                                                                                                                                                     Do not deduct the value of collateral.       claim




 2.1.      Bank of Montreal                                                   Describe debtor's property that is subject to a lien                                                      $116,434,795.06                                  Unknown

           Creditor's Name


           Attn: Adam Lively                                                  First lien on substantially all assets of the debtor
           111 West Monroe St.
           Chicago, IL 60603

           Creditor's mailing address
                                                                              Describe the lien

                                                                              Term loan and revolving loan

                                                                              Is the creditor an insider or related party?

                                                                                     No

           Creditor's email address, if know n                                       Yes
                                                                              Is anyone else liable on this claim?

           Date debt was incurred                                                    No

           07/20/2015                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

           Last 4 digits of account number


           Do multiple creditors have an interest in the same                 As of the petition filing date, the claim is:
           property?                                                          Check all that apply

                  No

                                                                                     Contingent
                  Yes. Specify each creditor, including this creditor
                                                                                     Unliquidated
           and its relative priority.
                                                                                     Disputed

                  Underlying holders




 2.2       Solar Capital, Ltd.                                                Describe debtor's property that is subject to a lien                                                       $68,009,057.40                                  Unknown
           Creditor's Name


           Attn: Philip Guerin And Julie Greenberg                            Second lien on substantially all assets of the debtor
           500 Park Avenue, 3rd Floor.
           New York, NY 10022

           Creditor's mailing address                                         Describe the lien

                                                                              Term loan

                                                                              Is the creditor an insider or related party?

                                                                                     No

           Creditor's email address, if know n                                       Yes
                                                                              Is anyone else liable on this claim?

           Date debt was incurred                                                    No

           07/20/2015                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

           Last 4 digits of account number




Official Form 206D                                                      Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              page 1 of 3

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                                                 Case 20-11526-BLS                                        Doc 40                  Filed 08/12/20       Page 22 of 1268

 Debtor              Interactive Health Solutions, Inc.                                                                                        Case number ( if know n)
                     Name


           Do multiple creditors have an interest in the same              As of the petition filing date, the claim is:
           property?                                                       Check all that apply

                  No

                                                                                 Contingent
                  Yes. Specify each creditor, including this creditor
                                                                                 Unliquidated
           and its relative priority.
                                                                                 Disputed

                  Underlying holders




 2.3       Cisco Systems Capital Corporation                               Describe debtor's property that is subject to a lien                                                Unknown       Unknown

           Creditor's Name


                                                                           Leased office equipment
           170 W Tasman Drive
           San Jose, CA 95134

           Creditor's mailing address
                                                                           Describe the lien

                                                                           UCC-1 financing statement

                                                                           Is the creditor an insider or related party?

                                                                                 No

           Creditor's email address, if know n                                   Yes
                                                                           Is anyone else liable on this claim?

           Date debt was incurred                                                No

                                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)

           Last 4 digits of account number


           Do multiple creditors have an interest in the same              As of the petition filing date, the claim is:
           property?                                                       Check all that apply

                  No

                                                                                 Contingent
                  Yes. Specify each creditor, including this creditor
                                                                                 Unliquidated
           and its relative priority.
                                                                                 Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                                        $184,443,852.46




Official Form 206D                                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                              page 2 of 3

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                                                 Case 20-11526-BLS                                        Doc 40                   Filed 08/12/20                            Page 23 of 1268

 Debtor              Interactive Health Solutions, Inc.                                                                                                          Case number ( if know n)
                     Name




 Part 2:          List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part1. Examples of entities that may be listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.


 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
             Name and address                                                                                                                                     On which line in Part 1 did you enter the related       Last 4 digits of account number for
                                                                                                                                                                  creditor?                                               this entity

             Chapman and Cutler LLP                                                                                                                               Line 2. 1
             Attn: Stephen R. Tetro II
             111 West Monroe Street
             Chicago, IL 60603




             Name and address                                                                                                                                     On which line in Part 1 did you enter the related       Last 4 digits of account number for
                                                                                                                                                                  creditor?                                               this entity

             Stroock & Stroock & Lavan LLP                                                                                                                        Line 2._2
             Attn: Jayme Goldstein
             180 Maiden Lane
             New York, NY 10038




             Name and address                                                                                                                                     On which line in Part 1 did you enter the related       Last 4 digits of account number for
                                                                                                                                                                  creditor?                                               this entity

                                                                                                                                                                  Line 2._




             Name and address                                                                                                                                     On which line in Part 1 did you enter the related       Last 4 digits of account number for
                                                                                                                                                                  creditor?                                               this entity

                                                                                                                                                                  Line 2._




             Name and address                                                                                                                                     On which line in Part 1 did you enter the related       Last 4 digits of account number for
                                                                                                                                                                  creditor?                                               this entity

                                                                                                                                                                  Line 2._




Official Form 206D                                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  page 3 of 3

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                                 Case 20-11526-BLS                      Doc 40         Filed 08/12/20                 Page 24 of 1268

 Fill in this information to identify the case:

 Debtor name         Interactive Health Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)          20-11530 (BLS)
                                                                                                                                                      Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           300 N. Elizabeth, LLC
           C/O Sterling Bay                                                   Contingent
           1040 West Randolph Street                                          Unliquidated
           Attn: Andrew Gloor                                                 Disputed
           Chicago, IL 60607
                                                                             Basis for the claim:    Vendor / Other
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           3MD Inc.                                                           Contingent
           18300 Redmond Way, Ste 140                                         Unliquidated
           Redmond, WA 98052
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           4GEN                                                               Contingent
           2298 W. Stonehurst Drive                                           Unliquidated
           Rialto, CA 92377
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           4M Building Solutions, Inc.                                        Contingent
           2827 Clark Ave                                                     Unliquidated
           St Louis, MO 63103
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page    1 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 25 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          A&K Railroad Materials, Inc.                                        Contingent
          1505 South Redwood Road                                             Unliquidated
          Salt Lake City, UT 84130
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,418.99
          A&M Fulton West Owner, LLC.                                         Contingent
          205 West Randolph Street, Suite 830                                 Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          A-KORN ROLLER INC.                                                  Contingent
          3545 S. Morgan                                                      Unliquidated
          Chicago, IL 60609
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          A.E.R.O. Special Education Cooperative                              Contingent
          7600 South Mason Avenue                                             Unliquidated
          Burbank, IL 60459
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          A.J. Manufacturing, Inc.                                            Contingent
          1217 Oak Street                                                     Unliquidated
          Bloomer, WI 54724
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aaren Laboratories LLC                                              Contingent
          1040 S. Vintage Ave, Bldg A                                         Unliquidated
          Ontario, CA 91671
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aarete                                                              Contingent
          200 E Randolph Street                                               Unliquidated
          Suite 3010
                                                                              Disputed
          Chicago, IL 60601
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page    2 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 26 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aaron's                                                             Contingent
          309 East Paces Ferry Rd.                                            Unliquidated
          NE
                                                                              Disputed
          Atlanta, GA 30305
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aaronson, Barbara                                                   Contingent
          18528 Brasilia Drive                                                Unliquidated
          Northridge, California 91326-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abarca, Melissa                                                     Contingent
          32519 N. Kostner                                                    Unliquidated
          Chicago, Illinois 60641-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abate, Samuel                                                       Contingent
          5 Eastford Court                                                    Unliquidated
          Parkville, Maryland 21234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abbad, Hiba                                                         Contingent
          17227 71st Court                                                    Unliquidated
          Tinley Park, Illinois 60477-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abbott, John                                                        Contingent
          7 Summer Hill Road                                                  Unliquidated
          Medway, Massachusetts 02053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abbott, Katie                                                       Contingent
          9308 Ridgely                                                        Unliquidated
          Lubbock, Texas 79424-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page    3 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 27 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abbott, Samantha                                                    Contingent
          16 Masachusetts Ave                                                 Unliquidated
          Portland, Maine 04102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abdel-Rahman, Amber                                                 Contingent
          1144 North A Street                                                 Unliquidated
          Oxnard, California 93030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abel, Jonathan                                                      Contingent
          351 Dodini Court                                                    Unliquidated
          Suisun City, California 94585-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abella, Lita                                                        Contingent
          825 East Cassia Lane, Unit E                                        Unliquidated
          Azusa, California 91702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abernathie, Angela                                                  Contingent
          4636 E 57th Place                                                   Unliquidated
          Tulsa, Oklahoma 74135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abhold, Amber                                                       Contingent
          10221 Matthew Ave Ne                                                Unliquidated
          Albuquerque, New Mexico 87112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aboagye, Mavis                                                      Contingent
          43 Heritage Pl                                                      Unliquidated
          Glen Carbon, Illinois 62034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page    4 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 28 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abodunrin, Kolapo                                                   Contingent
          1439 72nd Ave                                                       Unliquidated
          Oakland, California 94621-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abongo, Judith                                                      Contingent
          350 Gran Via #3082                                                  Unliquidated
          Irving, Texas 75039-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abraham, Bethany                                                    Contingent
          3167 Linden Road                                                    Unliquidated
          Rocky River, Ohio 44116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abraham, Hannah                                                     Contingent
          138 Domain Drive                                                    Unliquidated
          Morgantown, West Virginia 26501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abram, DeVaughn                                                     Contingent
          2028 Northeast 18th Street                                          Unliquidated
          Oklahoma City, Oklahoma 73111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abramson, Merril                                                    Contingent
          23 Sanborn Street                                                   Unliquidated
          Portland, Maine 04103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abrha, Kahsay                                                       Contingent
          1220 - 12th Street NW                                               Unliquidated
          Apt 306
                                                                              Disputed
          Washington, District of Columbia 20005-0
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page    5 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 29 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abrishamcar, Afsaneh                                                Contingent
          1512 Ascension Dr                                                   Unliquidated
          San Mateo, California 94402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ABS Global Inc                                                      Contingent
          1525 River Rd                                                       Unliquidated
          DeForest, WI 53532
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Abshire, Melissa Kathelina R                                        Contingent
          728 STETSON DR                                                      Unliquidated
          OAKDALE, California 95361-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,870.00
          Academic Technical Services                                         Contingent
          17300 S Delia Ave                                                   Unliquidated
          Chicago, IL 60586
                                                                              Disputed
          Date(s) debt was incurred 6/8/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Academy of Our Lady of Peace                                        Contingent
          4860 Oregon Street                                                  Unliquidated
          San Diego, CA 92116
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,718.06
          Access One, Inc.                                                    Contingent
          P.O Box 74008744                                                    Unliquidated
          Chicago, IL 60674
                                                                              Disputed
          Date(s) debt was incurred      5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,583.67
          Accurate Office Supply Co                                           Contingent
          260 Gerzevske Lane                                                  Unliquidated
          Carol Stream, IL 60188
                                                                              Disputed
          Date(s) debt was incurred 4/9/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page    6 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 30 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Acevedo, Cynthia                                                    Contingent
          28242 Via Cascadita                                                 Unliquidated
          Menifee, California 92585-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Acevedo, Michelle                                                   Contingent
          4615 N. Albany Ave                                                  Unliquidated
          Apt #3
                                                                              Disputed
          Chicago, Illinois 60625-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Acevedo, Patricia                                                   Contingent
          1216 Baltic Mill Drive                                              Unliquidated
          Belvidere, Illinois 61008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Achates Power, Inc.                                                 Contingent
          4060 Sorrento Valley Blvd                                           Unliquidated
          San Diego, CA 92121
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Acklin, Shetani                                                     Contingent
          304 Webb St.                                                        Unliquidated
          Calumet City, Illinois 60409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,532.30
          ACM Medical Laboratory                                              Contingent
          160 Elmgrove Park                                                   Unliquidated
          Rochester, NY 14624
                                                                              Disputed
          Date(s) debt was incurred 3/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Acme Finishing Company, LLC                                         Contingent
          1595 Oakton Street                                                  Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page    7 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 31 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Acosta, Kristal                                                     Contingent
          211 College Street                                                  Unliquidated
          Royse City, Texas 75189-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,773.00
          Acrisure dba Benefit Health Advisor                                 Contingent
          9605 S Kingston Ct                                                  Unliquidated
          Attn: Brian Hillier
                                                                              Disputed
          Englewood, CO 80112
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Active Glass Company                                                Contingent
          1530 Landmeier Road                                                 Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ACUMENT GLOBAL TECHNOLOGIES, INC.                                   Contingent
          830 East Menomonie Street                                           Unliquidated
          Belvidere, IL 61008
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ACV Enviro                                                          Contingent
          1500 Rahway Ave.                                                    Unliquidated
          Avenel, NJ 07001
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ada, Tasi Ann                                                       Contingent
          4600 Duke Street Unit 1307                                          Unliquidated
          Alexandria, Virginia 22304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adachi, Jamie                                                       Contingent
          1410 S King Street                                                  Unliquidated
          Seattle, Washington 98144-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page    8 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 32 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adam, Kelsey                                                        Contingent
          2500 Mulberry Street                                                Unliquidated
          Coralville, Iowa 52241-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams Central Community Schools                                     Contingent
          222 W. Washington St.                                               Unliquidated
          Monroe, IN 46772
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams Columbia Electric Cooperative                                 Contingent
          401 E. Lake Street                                                  Unliquidated
          Friendship, WI 53934
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Amanda                                                       Contingent
          8300-H Streamview Drive                                             Unliquidated
          Huntersville, North Carolina 28078-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Antoinette                                                   Contingent
          15584 Rose Drive                                                    Unliquidated
          South Holland, Illinois 60473-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Holly                                                        Contingent
          505 Fourth Street                                                   Unliquidated
          Solvay, New York 13209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Jessica                                                      Contingent
          537 Boulevard Street                                                Unliquidated
          Shreveport, Louisiana 71104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page    9 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 33 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Justin                                                       Contingent
          7329 Oldham Leeds Way                                               Unliquidated
          Springfield, Virginia 22150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Michelle                                                     Contingent
          2130 Chester Ridge Drive                                            Unliquidated
          Apt. A
                                                                              Disputed
          High Point, North Carolina 27262-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Nannette                                                     Contingent
          8843 S. May                                                         Unliquidated
          Chicago, Illinois 60620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Suzanne                                                      Contingent
          328 Silver Bell Wy                                                  Unliquidated
          Oakley, California 94561-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Thomas                                                       Contingent
          4 Cormer Court                                                      Unliquidated
          Apt 204
                                                                              Disputed
          Timonium, Maryland 21093-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adams, Victoria                                                     Contingent
          165 Metacomet Dr                                                    Unliquidated
          Berlin, Connecticut 06037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adanandus, Choyia                                                   Contingent
          2355 N. Hwy 360                                                     Unliquidated
          Apt. 727
                                                                              Disputed
          Grand Prairie, Texas 75050-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 34 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adaptive Methods                                                    Contingent
          5860 Trinity Pkwy, Suite 200                                        Unliquidated
          Centreville, VA 20120
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Addari, Christina                                                   Contingent
          745 Warwick Ct.                                                     Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Addison School District 4                                           Contingent
          222 N. Kennedy Drive                                                Unliquidated
          Addison, IL 60101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adeoye, Olaoluwa                                                    Contingent
          11102 Maiden Dr                                                     Unliquidated
          Bowie, Maryland 20720-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adeptus Health                                                      Contingent
          220 Las Colinas Blvd.                                               Unliquidated
          Irving, TX 75039
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adeyemi, Ayoade                                                     Contingent
          391 Washinton Ave                                                   Unliquidated
          Albany, New York 12206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adigwe, Nneka                                                       Contingent
          3154 Audubon Blvd                                                   Unliquidated
          Cleveland, Ohio 44104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 11 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 35 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adirondack Bank                                                     Contingent
          185 Genesee St                                                      Unliquidated
          Utica, NY 13501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $78.00
          Adirondack Medical Center                                           Contingent
          PO Box 1380                                                         Unliquidated
          2233 State Route 86
                                                                              Disputed
          Saranac Lake, NY 12983
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adjei, Priscilla                                                    Contingent
          6916 Storch Circle                                                  Unliquidated
          Lanham, Maryland 20706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adkins, Lucille                                                     Contingent
          211 Blair Drive                                                     Unliquidated
          Yorktown, Virginia 23692-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adkins, Sarah                                                       Contingent
          6298 Joes Creek Road                                                Unliquidated
          Comfort, West Virginia 25049-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adkins, Susan                                                       Contingent
          2408 Grand Avenue, Apt #4                                           Unliquidated
          Everett, Washington 98201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Admiral at the Lake                                                 Contingent
          929 West Foster Avenue                                              Unliquidated
          Chicago, IL 60640
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 12 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 36 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,134.66
          ADP Inc                                                             Contingent
          P.O Box 842875                                                      Unliquidated
          Boston, MA 02284
                                                                              Disputed
          Date(s) debt was incurred      5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Adrian, Clotilde                                                    Contingent
          4003 Avoca Ave                                                      Unliquidated
          Bethpage, New York 11714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Advanced Group                                                      Contingent
          111 West Jackson Blvd                                               Unliquidated
          #1400
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $743.75
          Advanced Telecommunications of Illinois                             Contingent
          750 Warrenville Road                                                Unliquidated
          Ste 250
                                                                              Disputed
          Lisle, IL 60532
          Date(s) debt was incurred 5/21/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Advantest America, Inc.                                             Contingent
          3061 Zanker Road                                                    Unliquidated
          San Jose, CA 95134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ADVICS                                                              Contingent
          1650 Kingsview Dr                                                   Unliquidated
          Lebanon, OH 45036
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,361.64
          Aerotek, Inc.                                                       Contingent
          3689 Collection Ctr. Dr.                                            Unliquidated
          Chicago, IL 60693
                                                                              Disputed
          Date(s) debt was incurred 2/13/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 13 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 37 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,895.84
          Aetna Life Insurance Company                                        Contingent
          151 Farmington Ave                                                  Unliquidated
          Hartford, CT 06156
                                                                              Disputed
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aetna Plywood                                                       Contingent
          1401 St Charles Rd                                                  Unliquidated
          Maywood, IL 60153
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          Affiliated Laboratory, Inc.                                         Contingent
          P.O Box 638                                                         Unliquidated
          Bangor, ME 04402
                                                                              Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Affiliated Pathologists Medical Group, I                            Contingent
          2374 E. Pacifica Place                                              Unliquidated
          Rancho Domiguez, CA 90220
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Affirma Consulting                                                  Contingent
          3380 146th PL SE, Suite 200                                         Unliquidated
          Bellevue, WA 98007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Afolabi, Ashley                                                     Contingent
          100 Banks Ave                                                       Unliquidated
          Apt. 1231
                                                                              Disputed
          Rockville Centre, New York 11570-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Afzal, Sheema                                                       Contingent
          232 Julep Ave                                                       Unliquidated
          Oswego, Illinois 60543-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 14 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 38 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Agabu, Abieyuwa                                                     Contingent
          P.O.BOX 971                                                         Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AgBest Cooperative Inc                                              Contingent
          2101 N Granville Ave                                                Unliquidated
          Muncie, IN 47303
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Agidigbi, Femi                                                      Contingent
          1621 217th street                                                   Unliquidated
          sauk village, Illinois 60411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Agnew Randle, April                                                 Contingent
          PO Box 1595                                                         Unliquidated
          Gig Harbor, Washington 98335-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Agnor, Sarah                                                        Contingent
          16 Thomas Lane                                                      Unliquidated
          Reynoldsburg, Ohio 43068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Agone, Rebecca                                                      Contingent
          PO Box 74                                                           Unliquidated
          Calais, Vermont 05648-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Agri Stats, Inc.                                                    Contingent
          6510 Mutual Drive                                                   Unliquidated
          Fort Wayne, IN 46825
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 15 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 39 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AgriVision Equipment Group                                          Contingent
          710 E. Taylor (Highway 34)                                          Unliquidated
          Creston, IA 50801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Agua Fria Union High School District                                Contingent
          750 East Riley Drive                                                Unliquidated
          Avondale, AZ 85323
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aguila Elementary School District                                   Contingent
          50023 N. 514thh Avenue                                              Unliquidated
          Aquila, AZ 85320
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aguilar, Andrea                                                     Contingent
          117 Bralan Court                                                    Unliquidated
          Gaithersburg, Maryland 20877-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aguilar, Darlene                                                    Contingent
          4343 Longmeadow Lane                                                Unliquidated
          Beavercreek, Ohio 45430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aguilar, Lynn                                                       Contingent
          5328 Sigrid Way                                                     Unliquidated
          San Jose, California 95123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aguilar, Victoria                                                   Contingent
          945 S Mesa Hills Dr APT 2514                                        Unliquidated
          El Paso, Texas 79912-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 16 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 40 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aguirre, Nohemy                                                     Contingent
          9990 Bowman Blvd                                                    Unliquidated
          Dallas, Texas 75220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Agustin, Virginia                                                   Contingent
          3664 W Sella Ct                                                     Unliquidated
          Eagle, Idaho 83616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aguwa, Juliet                                                       Contingent
          22310 Bent Bridge Lane                                              Unliquidated
          Richmond, Texas 77469-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AHI Supply, LP                                                      Contingent
          2800 North Gordon Street                                            Unliquidated
          Alvin, TX 77511
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AHLSTROM-MUNKSJO (formerly Expera                                   Contingent
          Specia                                                              Unliquidated
          600 Thilmany Rd
                                                                              Disputed
          Kaukauna, WI 54130
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ahmed, Kajori                                                       Contingent
          21 Norwood Rd                                                       Unliquidated
          Northport, New York 11768-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ahmed, Musab                                                        Contingent
          109 Achsah Dr                                                       Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 17 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 41 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ahmed, Nazia                                                        Contingent
          627 Brookhurst Blvd                                                 Unliquidated
          Lathrop, California 95330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ahmed, Nikita                                                       Contingent
          420 W Park Row Dr                                                   Unliquidated
          Apt 221C
                                                                              Disputed
          Arlington, Texas 76010-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ahrens, Jo Ann                                                      Contingent
          14548 Club Circle Drive                                             Unliquidated
          Oak Forest, Illinois 60452-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AHS Investment Corporation                                          Contingent
          200 The American Rd.                                                Unliquidated
          Morris Plains, NJ 07950
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ahuja, Tijess                                                       Contingent
          497 Singley Drive                                                   Unliquidated
          Milpitas, California 95035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aiken, N'Jelle                                                      Contingent
          460 Hillandale Park Drive                                           Unliquidated
          Lithonia, Georgia 30058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aimable, Judith                                                     Contingent
          198 Halpine Road                                                    Unliquidated
          Apt 1482
                                                                              Disputed
          Rockville, Maryland 20852-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 18 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 42 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AinaAkinpelu, Modupe                                                Contingent
          P. O. Box 360030                                                    Unliquidated
          Decatur, Georgia 30036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Air-Conditioning, Heating, and Refrigera                            Contingent
          2111 Wilson Blvd., Suite 500                                        Unliquidated
          Arlington, VA 22201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Airbus Helicopters                                                  Contingent
          2701 N Forum Dr                                                     Unliquidated
          Grand Prairie, TX 75052
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Airline Hydraulic Corp                                              Contingent
          3557 Progress Drive                                                 Unliquidated
          Bensalem, PA 19020
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ajiboye, Whitney                                                    Contingent
          14411 Secretariat Dr                                                Unliquidated
          Bowie, Maryland 20721-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ajjarapu, Srilatha                                                  Contingent
          1020 Olmo Court                                                     Unliquidated
          San Jose, California 95129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ajuzieogu, Nnenna                                                   Contingent
          15 Richmar Road, APT E1                                             Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 19 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 43 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AK Steel                                                            Contingent
          9227 Centre Point Drive                                             Unliquidated
          West Chester, OH 45069
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AK Tube                                                             Contingent
          30400 E. Broadway                                                   Unliquidated
          Walbridge, OH 43465
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AK Tube - Union                                                     Contingent
          30400 E. Broadway                                                   Unliquidated
          Walbridge, OH 43465
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Akers Packaging Michiana Corrugated                                 Contingent
          110 N. Franks Avenue                                                Unliquidated
          Sturgis, MI 49091
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AKERS PACKAGING MIDDLETOWN                                          Contingent
          2820 Lefferson Rd.                                                  Unliquidated
          Middletown, OH 45042
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Akhlaghi, Roberta                                                   Contingent
          12 Santa Cruz Court                                                 Unliquidated
          Manhattan, California 90266-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Akinola, Kayode                                                     Contingent
          2003 Maryland Ave NE 101                                            Unliquidated
          Washington, District of Columbia 20002-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 20 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 44 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Akron Brass                                                         Contingent
          343 Venture Boulevard                                               Unliquidated
          Wooster,, OH 44691
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aksoy, Jane                                                         Contingent
          1423 Cedarcroft Rd                                                  Unliquidated
          Baltimore, Maryland 21239-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AkzoNobel                                                           Contingent
          525 W Van Buren St.                                                 Unliquidated
          Chicago, IL 60607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Al Khafaji, Iman                                                    Contingent
          2921 Timberwood Dr, Apt 1304                                        Unliquidated
          Fort Collins, Colorado 80528-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Al Warren Oil Company Inc./Altom Transpo                            Contingent
          1646 Summer Street                                                  Unliquidated
          Hammond, IN 46320
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Al-ezzi, Saud
          12060 Meadow Bend Loop                                              Contingent
          Apt 404                                                             Unliquidated
          orlando                                                             Disputed
          Orlando, Florida 32821-0000
                                                                             Basis for the claim:    Wages / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alabama Department of Revenue                                       Contingent
          P.O. Box 327430                                                     Unliquidated
          Montgomery, AL 36132-7430
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 21 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 45 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alaie, Seyedeh                                                      Contingent
          8217 Amity Circle                                                   Unliquidated
          Gaithersburg, Maryland 20877-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alanis Orozco, Jose L                                               Contingent
          4048 N Cadillac Dr. Apt 6                                           Unliquidated
          Fayetteville, Arkansas 72703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alaska Department of Revenue                                        Contingent
          P.O. Box 110420                                                     Unliquidated
          Juneau, AK 99811-0420
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alaska National Insurance Company                                   Contingent
          7001 Jewel Lake Rd                                                  Unliquidated
          Anchorage, AK 99502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Albaugh, Pamela                                                     Contingent
          1419 E. Brockton Ave                                                Unliquidated
          Redlands, California 92374-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Albert, Amanda                                                      Contingent
          2619 Chateau Royal Ct.                                              Unliquidated
          Morgantown, West Virginia 26505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Albright, Shelby                                                    Contingent
          165 Yarborough Ave                                                  Unliquidated
          Ashdown, Arkansas 71822-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 22 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 46 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alburez, Edgar                                                      Contingent
          33953 Woodland Circle                                               Unliquidated
          Lewes, Delaware 19958-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Albury-Morrison, Joelle                                             Contingent
          8244 S Lake Forest Drive                                            Unliquidated
          Davie, Florida 33328-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aldana, Ervin                                                       Contingent
          1903 timberland drive                                               Unliquidated
          Mesquite, Texas 75181-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aldrich, Aija                                                       Contingent
          126 Sweet Allen Farm Road                                           Unliquidated
          Wakefield, Rhode Island 02879-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aldrich, Maryanne                                                   Contingent
          380 Claremont Drive                                                 Unliquidated
          Brentwood, California 94513-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aldridge Electric, Inc.                                             Contingent
          844 East Rockland Road                                              Unliquidated
          Libertyville, IL 60048
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aleck, Vena Sue                                                     Contingent
          714 Mayfair Drive                                                   Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 23 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 47 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alen USA LP/White Cap, Inc.                                         Contingent
          14825 Northwest Freeway, Suite                                      Unliquidated
          Houston, TX 77040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alesse, Tyler                                                       Contingent
          306 N School St                                                     Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alexander Lumber                                                    Contingent
          515 Redwood Dr                                                      Unliquidated
          Aurora, IL 60506-3381
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alexander, Charles                                                  Contingent
          3702 Frankford Rd.                                                  Unliquidated
          6108
                                                                              Disputed
          Dallas, Texas 75287-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alexander, Crystal                                                  Contingent
          691 Antrim Dr 1a                                                    Unliquidated
          Newport News, Virginia 23601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alexander, Forrest                                                  Contingent
          91 Ashlee Meadow Drive                                              Unliquidated
          Charleston, West Virginia 25312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alexander, Gail                                                     Contingent
          PO Box 19874                                                        Unliquidated
          So Lake Tahoe, California 96151-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 24 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 48 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alexander, Matthew                                                  Contingent
          7606 Black Willow Lane                                              Unliquidated
          Arlington, Texas 76002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alexander, Rodney                                                   Contingent
          11740 Northpointe Blvd                                              Unliquidated
          Apt 1009
                                                                              Disputed
          Tomball, Texas 77377-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alexander, Sabrina                                                  Contingent
          3064 mount blanc dr                                                 Unliquidated
          Marrero, Louisiana 70072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alford, Rasheeda                                                    Contingent
          718 N. Eden Street                                                  Unliquidated
          Baltimore, Maryland 21205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Algara, Heidy                                                       Contingent
          3939 S Harvard Blvd                                                 Unliquidated
          Los Angeles, California 90062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alhadi, Dee                                                         Contingent
          664 Price Street                                                    Unliquidated
          Daly city, California 94014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alhambra Elementary School District                                 Contingent
          4510 N 37th Avenue                                                  Unliquidated
          Phoenix, AZ 85019
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 25 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 49 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alice Hyde Medical Center                                           Contingent
          133 Park St                                                         Unliquidated
          Malone, NY 12953
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alion Science and Technology Corp                                   Contingent
          STE 1300, 1750 TYSONS BLVD                                          Unliquidated
          Mclean, VA 22102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aljazzar, Tinamarie                                                 Contingent
          2820 W Howard Ave 4                                                 Unliquidated
          Milwaukee, Wisconsin 53221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ALL TRUCK TRANSPORTATION                                            Contingent
          4924 S. Austin Avenue                                               Unliquidated
          Chicago, IL 60638
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allain, Gina                                                        Contingent
          3620 Dumaine Street                                                 Unliquidated
          New Orleans, Louisiana 70119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allbaugh, Chelsea                                                   Contingent
          1775 W State Street                                                 Unliquidated
          #131
                                                                              Disputed
          Boise, Idaho 83702-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allegany-Cattaraugus Schools Medical Hea                            Contingent
          1825 Windfall Road                                                  Unliquidated
          Olean, NY 14760
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 26 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 50 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allegiance Benefit Plan Management                                  Contingent
          2806 S Garfield St                                                  Unliquidated
          Missoula, MT 59801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,790.00
          Allegiance Benefit Plan Management- Brok                            Contingent
          2806 South Garfield Street                                          Unliquidated
          Missoula, MT 59806
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alleman, Lindsey                                                    Contingent
          1360 N Lake Shore Dr                                                Unliquidated
          Apt 1615
                                                                              Disputed
          Chicago, Illinois 60610-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen County                                                        Contingent
          1 N. Washington                                                     Unliquidated
          Iola, KS 66749
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen County Regional Hospital                                      Contingent
          3066 N. Kentucky (PO Box 540)                                       Unliquidated
          Iola, KS 66749
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Alfredia-Princella                                           Contingent
          1112 E. 82nd street #1A                                             Unliquidated
          chicago, Illinois 60619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Alissa                                                       Contingent
          5779 N Rosa Springs Ave                                             Unliquidated
          Meridian, Idaho 83646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 27 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 51 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Daisy                                                        Contingent
          1763a Sheets Place                                                  Unliquidated
          Frederick, Maryland 21702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Deborah                                                      Contingent
          5900 Leaping Lizard Loop                                            Unliquidated
          Las Cruces, New Mexico 88012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Erika                                                        Contingent
          9200 Bustelton Ave Apt. 107                                         Unliquidated
          Philadelphia, Pennsylvania 19115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Jacqueline                                                   Contingent
          144 Pine Street                                                     Unliquidated
          Dover, Delaware 19901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Jaimi                                                        Contingent
          14 4th Street                                                       Unliquidated
          Greenbrier, Arkansas 72058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Jordan                                                       Contingent
          301 Rawlinson Rd                                                    Unliquidated
          Rochester, New York 14617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Kay                                                          Contingent
          5523 W. 70Th Street                                                 Unliquidated
          Prairie Village, Kansas 66208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 28 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 52 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Keeley                                                       Contingent
          324 Fayette Avenue                                                  Unliquidated
          Fayetteville, West Virginia 25840-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Laquinna                                                     Contingent
          6620 S. May                                                         Unliquidated
          Apt. G
                                                                              Disputed
          Oklahoma City, Oklahoma 73159-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Regina                                                       Contingent
          20502 Rainstone Court                                               Unliquidated
          Katy, Texas 77449-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Sharika                                                      Contingent
          19 Stratum Way                                                      Unliquidated
          Hampton, Virginia 23661-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen, Tubrea                                                       Contingent
          13717 Jane Cr                                                       Unliquidated
          Plainfield, Illinois 60431-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allen-Bailey Tag & Label, Inc.                                      Contingent
          3177 Lehigh Street                                                  Unliquidated
          Caledonia, NY 14423
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alliance Steel LLC                                                  Contingent
          6499 W 66th Place                                                   Unliquidated
          Bedford Park, IL 60638
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 29 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 53 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alliant Credit Union                                                Contingent
          11545 W. Touhy Ave.                                                 Unliquidated
          Chicago, IL 60666
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alliant Technologies                                                Contingent
          2080 Nelson Miller Pkwy #100                                        Unliquidated
          Louisville, KY 40223
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allianz Global Risks US Insurance Compan
          Allianz Global Corporate & Specialty                                Contingent
          28 Liberty Street                                                   Unliquidated
          38th Floor                                                          Disputed
          New York, NY 10005
                                                                             Basis for the claim:    Vendor / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allison, Gail                                                       Contingent
          3835 Oak Meadows Loop                                               Unliquidated
          Newberg, Oregon 97132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allmon, Rahisi                                                      Contingent
          6548 S Rhodes Ave                                                   Unliquidated
          Chicago, Illinois 60637-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allsop, Kim                                                         Contingent
          11067 US Hwy 16, Lot 18                                             Unliquidated
          Custer, South Dakota 57730-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Allwein, Ryan                                                       Contingent
          10217 Kings Arm Tavern Ct.                                          Unliquidated
          Ellicott City, Maryland 21042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 30 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 54 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alotta, Veronica                                                    Contingent
          76 S. Grandean Way                                                  Unliquidated
          Eagle, Idaho 83616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alpha, Aminata                                                      Contingent
          4713 8th St NW                                                      Unliquidated
          Washington, District of Columbia 20011-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ALSAC                                                               Contingent
          501 St Jude Place                                                   Unliquidated
          Memphis, TN 38105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alsip, Hazelgreen, Oaklawn SD 126                                   Contingent
          11900 South Kostner Avenue                                          Unliquidated
          Alsip, IL 60803
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alston, Bria                                                        Contingent
          2109 Crestwood Place                                                Unliquidated
          Denton, Texas 76209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Altar Valley School District                                        Contingent
          10105 S. Sasabe Rd                                                  Unliquidated
          Tucson, AZ 85736
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Altemuehle, Lauren                                                  Contingent
          5006 Barnsby Lane                                                   Unliquidated
          Cincinnati, Ohio 45244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 31 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 55 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Altman, Bryan                                                       Contingent
          1719 Kimball Ave                                                    Unliquidated
          Arnold, Pennsylvania 15068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alty, Kristina                                                      Contingent
          1832 Colonial Village Way                                           Unliquidated
          APT 4
                                                                              Disputed
          Waterford, Michigan 48328-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarado, Ivanna                                                    Contingent
          1122 Norham St.                                                     Unliquidated
          Houston, Texas 77022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarado, Maria                                                     Contingent
          1383 Westchester Drive                                              Unliquidated
          Glendale Heights, Illinois 60139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarez, Andrew                                                     Contingent
          365 Grand Ave                                                       Unliquidated
          St. Paul, Minnesota 55102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarez, Cara                                                       Contingent
          10210 Avalon Way Apt 4                                              Unliquidated
          Fort Wayne, Indiana 46825-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarez, Doucette                                                   Contingent
          9624 S Carpenter                                                    Unliquidated
          Chicago, Illinois 60643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 32 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 56 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarez, J.                                                         Contingent
          3224 Isla Banderas Way                                              Unliquidated
          El Paso, Texas 79925-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarez, Jillian                                                    Contingent
          1448 S. Jellick Ave, Apt G                                          Unliquidated
          Rowland Heights, California 91748-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarez, Maria                                                      Contingent
          649 Trace Dr                                                        Unliquidated
          #203
                                                                              Disputed
          Buffalo Grove, Illinois 60089-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Alvarez, Moses                                                      Contingent
          106 N. Main St.                                                     Unliquidated
          Muncy, Pennsylvania 17756-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ambry Genetics Corporation                                          Contingent
          15 Argonaut                                                         Unliquidated
          Aliso Viejo, CA 92656
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amburn, Jesse                                                       Contingent
          PO Box 208                                                          Unliquidated
          Arp, Texas 75750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amchei, Antanina                                                    Contingent
          230 174th Street                                                    Unliquidated
          Apt. 1606
                                                                              Disputed
          Sunny Isles Beach, Florida 33160-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 33 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 57 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amcor Flexibles Milwaukee                                           Contingent
          1919 S. Butterfield Rd.                                             Unliquidated
          Mundelein, IL 60060
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amcor Flexibles USA                                                 Contingent
          1919 S. Butterfield Rd.                                             Unliquidated
          Mundelein, IL 60060
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amcor Rigid Packaging                                               Contingent
          935 Technology Dr                                                   Unliquidated
          Ann Arbor, MI 48108
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AMCOR TOBACCO PACKAGING AMERICAS                                    Contingent
          445 Dividend Drive                                                  Unliquidated
          Peachtree City, GA 30269
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          America, Captain                                                    Contingent
          123 Avenger Ave                                                     Unliquidated
          Kenosha, Wisconsin 53143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Academy of Dermatology                                     Contingent
          930 East Woodfield Rd.                                              Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Advisors Group, Inc.                                       Contingent
          3800 W. Chapman Ave                                                 Unliquidated
          Orange, CA 92868
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 34 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 58 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Alloy Steel, Inc.                                          Contingent
          6230 North Houston Rosslyn Road                                     Unliquidated
          Houston, TX 77091
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Association of Nurse Anesthetis                            Contingent
          222 S. Prospect Ave.                                                Unliquidated
          Park Ridge, IL 60068
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Board of Psychiatry and Neurolo                            Contingent
          2150 E. Lake Cook Road                                              Unliquidated
          Suite 900
                                                                              Disputed
          Buffalo Grove, IL 60089
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Board of Radiology                                         Contingent
          5441 E. Williams Circle                                             Unliquidated
          Tucson, AZ 85711
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Community Bank and Trust                                   Contingent
          1290 Lake Ave                                                       Unliquidated
          Woodstock, IL 60098
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $750.00
          American Heart Assoc - Workplace Health                             Contingent
          7272 Greenville Avenue                                              Unliquidated
          Dallas, TX 75231
                                                                              Disputed
          Date(s) debt was incurred 2/19/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Heart Association Wellness Foru                            Contingent
          12555 Manchester Road                                               Unliquidated
          St. Louis, MO 63131
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 35 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 59 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Heritage Railways                                          Contingent
          479 Main Ave                                                        Unliquidated
          Durango, CO 81301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AMERICAN NTN BEARING MFG. CORP.                                     Contingent
          1575 Holmes Rd.                                                     Unliquidated
          Elgin, IL 60123
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Public Works Association                                   Contingent
          1200 Main St Ste 1400                                               Unliquidated
          Kansas City, MO 64105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Red Cross                                                  Contingent
          431 18th Street, NW                                                 Unliquidated
          Washington, DC 20006
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          American Registry for Internet Numbers,                             Contingent
          PO Box 759477                                                       Unliquidated
          Baltimore, MD 21275
                                                                              Disputed
          Date(s) debt was incurred 3/26/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          American Society of Radiologic Technolog                            Contingent
          15000 Central Ave. SE                                               Unliquidated
          Albuquerque, NM 87123
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          americaneagle.com                                                   Contingent
          2600 South River Road                                               Unliquidated
          Des Plaines, IL 60018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 36 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 60 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Americase, Inc.                                                     Contingent
          6200 N. I35 East                                                    Unliquidated
          Waxahachie, TX 75165
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          Amerilabs24                                                         Contingent
          6810 S Cedar #7                                                     Unliquidated
          Lansing, MI 48911
                                                                              Disputed
          Date(s) debt was incurred      4/16/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AmeriQual Group LLC                                                 Contingent
          1609 Stone Ridge Drive                                              Unliquidated
          Stone Mountain, GA 30083
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ames, Morgan                                                        Contingent
          639 N. Woodington Rd                                                Unliquidated
          Baltimore, Maryland 21229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amewuho, Jennifer                                                   Contingent
          33 Willfred Road                                                    Unliquidated
          Manchester, Connecticut 06040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amherst Schools                                                     Contingent
          55 Kings Highway                                                    Unliquidated
          Amherst, NY 14226
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amin, Nagma                                                         Contingent
          1314 Park Ave #A                                                    Unliquidated
          St. Louis, Missouri 63104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 37 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 61 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amjad, Rhonda                                                       Contingent
          905 Crown Drive #2                                                  Unliquidated
          Edmond, Oklahoma 73034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amkaya, Syvil                                                       Contingent
          901 McBryde Lane                                                    Unliquidated
          Blacksburg, Virginia 24060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ammatuna, Gabriela                                                  Contingent
          14515 Kentish Fire Street                                           Unliquidated
          Gainsville, Virginia 20155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amphitheater Public Schools                                         Contingent
          701 West Wetmore Road                                               Unliquidated
          Tucson, AZ 85705
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amucha, Veronica                                                    Contingent
          3750 - 78th Ave Se                                                  Unliquidated
          Mercer Island, Washington 98040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amy Sadowski                                                        Contingent
          6010 Eagle Point Dr                                                 Unliquidated
          Racine, WI 53406
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anacta, Herald                                                      Contingent
          3549 Dana Lane                                                      Unliquidated
          Virginia Beach, Virginia 23452-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 38 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 62 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anchor Packaging Inc. - Hermann Companie                            Contingent
          13515 Barrett Pkwy                                                  Unliquidated
          St Louis, MO 63021
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anctil, Paula                                                       Contingent
          10111 Redbud Lane                                                   Unliquidated
          Lenexa, Kansas 66220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andersen, Maureen                                                   Contingent
          802 Highland Cir                                                    Unliquidated
          Kearney, Missouri 64060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andersen, Nicole                                                    Contingent
          285 Ritchey Street                                                  Unliquidated
          San Diego, California 92114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andersen, Susan                                                     Contingent
          4739 Millrace Lane                                                  Unliquidated
          Murray, Utah 84107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson II, Cedric                                                 Contingent
          14613 Dante                                                         Unliquidated
          Dolton, Illinois 60419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Andrea                                                    Contingent
          4490 W Westchester Lane                                             Unliquidated
          Libertyville, Illinois 60048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 39 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 63 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Anyonna                                                   Contingent
          14613 Dante Ave                                                     Unliquidated
          Dolton, Illinois 60419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Audrey                                                    Contingent
          6619 Sycamore Bend Trace                                            Unliquidated
          Louisville, Kentucky 40291-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Cari Jo                                                   Contingent
          490 Temperance St.                                                  Unliquidated
          #203
                                                                              Disputed
          St Paul, Minnesota 55101-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Crystal                                                   Contingent
          105 San Miniato Street                                              Unliquidated
          Georgetown, Texas 78628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Derek                                                     Contingent
          407 Academy Ave                                                     Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Ellen                                                     Contingent
          3998 22nd Ave N                                                     Unliquidated
          St Petersburg, Florida 33713-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Graeme                                                    Contingent
          8917 Antioch Way                                                    Unliquidated
          Las Vegas, Nevada 89117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 40 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 64 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Lureen                                                    Contingent
          7 Arch Street                                                       Unliquidated
          Norwalk, Connecticut 06850-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Marissa                                                   Contingent
          3976 LeTort Lane                                                    Unliquidated
          Alllison Park, Pennsylvania 15101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Mavis                                                     Contingent
          471 West Shadow Wood Street                                         Unliquidated
          Green Valley, Arizona 85614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Natasha                                                   Contingent
          1501 Oakridge Road                                                  Unliquidated
          Baltimore, Maryland 21218-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Selynto                                                   Contingent
          1225 Mathis Rd Unit 12                                              Unliquidated
          Greenwood, South Carolina 29649-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Sunny                                                     Contingent
          10322 W. Joplin Road                                                Unliquidated
          Boise, Idaho 83714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anderson, Tara                                                      Contingent
          704 Windy Way Unit 108                                              Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 41 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 65 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andrade, Andrea                                                     Contingent
          1414 Lake Ave, Apt 208                                              Unliquidated
          Metairie, Louisiana 70005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andreozzi, Magdalena                                                Contingent
          29 Parker Street                                                    Unliquidated
          1st Fl R
                                                                              Disputed
          West Warwick, Rhode Island 02893-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andrews, Andrea                                                     Contingent
          6711 Capstan Drive                                                  Unliquidated
          Annandale, Virginia 22003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andrews, Ethan                                                      Contingent
          1303 Oxford Ct.                                                     Unliquidated
          Libertyville, Illinois 60048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andrews, Jason                                                      Contingent
          3321 W. 62nd Ave                                                    Unliquidated
          Denver, Colorado 80221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andrews, Kiara                                                      Contingent
          2460 Silverado Trl                                                  Unliquidated
          Grand Prairie, Texas 75052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andrews-Seals, Shirine                                              Contingent
          4506 S St Lawrence Ave                                              Unliquidated
          Chicago, Illinois 60653-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 42 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 66 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Andrus, Christine                                                   Contingent
          8919 South 3020 West                                                Unliquidated
          West Jordan, Utah 84088-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anenen, Patrick                                                     Contingent
          4319 North Richmond                                                 Unliquidated
          3S
                                                                              Disputed
          Chicago, Illinois 60618-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Angel, Aleida                                                       Contingent
          8256 PRESTIGE COMMONS DR                                            Unliquidated
          Tamarac, Florida 33321-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Angel, Gail                                                         Contingent
          2609 S. 272nd St.                                                   Unliquidated
          #33
                                                                              Disputed
          Kent, Washington 98032-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Angel, Natasha                                                      Contingent
          3921 N Sawyer Ave                                                   Unliquidated
          Apt 1f
                                                                              Disputed
          Chicago, Illinois 60618-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Angelini, Stephanie                                                 Contingent
          500 N. Ashland                                                      Unliquidated
          Park Ridge, Illinois 60068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anger, Ashley                                                       Contingent
          6505 Bernadine St                                                   Unliquidated
          Watauga, Texas 76148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 43 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 67 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ann Rowland                                                         Contingent
          4117 N Central Park Avenue                                          Unliquidated
          Chicago, IL 60618
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anna Garcia                                                         Contingent
          1618 S. Halsted St                                                  Unliquidated
          Unit 5B
                                                                              Disputed
          Chicago, IL 60608
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anne Leavell                                                        Contingent
          130 Whitebridge Ln                                                  Unliquidated
          Winnetka, IL 60093
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Annweiler, Alexandra                                                Contingent
          160 Balmoral DR                                                     Unliquidated
          Bolingbrook, Illinois 60440-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Antelope Union High School District                                 Contingent
          9168 S. Avenue 36E                                                  Unliquidated
          Wellton, AZ 74356
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anthony J Costello & Son's Development                              Contingent
          One Airport Way, Suite 300                                          Unliquidated
          Rochester, NY 14624
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anthony Medical Center                                              Contingent
          400 S Santa Fe                                                      Unliquidated
          Salina, KS 67401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 44 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 68 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anthony, Ciana                                                      Contingent
          6201 N 10th St                                                      Unliquidated
          Apt 306
                                                                              Disputed
          Philadephia, Pennsylvania 19141-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Anthony, Monyea                                                     Contingent
          236 St. David Court, Apt 201                                        Unliquidated
          Cockeysville, Maryland 21030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Antkowiak, Angela                                                   Contingent
          21032 E. 45th Avenue                                                Unliquidated
          Denver, Colorado 80249-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Antonacci, Elizabeth                                                Contingent
          12204 S. Solomon Rd                                                 Unliquidated
          Olathe, Kansas 66061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.00
          Any Lab Test Now Fargo                                              Contingent
          3019 13th Ave S                                                     Unliquidated
          Fargo, ND 58103
                                                                              Disputed
          Date(s) debt was incurred 4/10/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aon Exchange (DEMO)                                                 Contingent
          4 Overlook Point                                                    Unliquidated
          Lincolnshire, IL 60069
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aon Risk Services                                                   Contingent
          200 East Randolph Street                                            Unliquidated
          8th Floor
                                                                              Disputed
          Chicago, IL 60601
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 45 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 69 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Apale, Tiffany                                                      Contingent
          3099 W. Chapman Avenue                                              Unliquidated
          Apt 311
                                                                              Disputed
          Orange, California 92868-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          APCI-American Property Casualty Insurers                            Contingent
          8700 W. Brynn Mawr Suite 1200S                                      Unliquidated
          Chicago, IL 60613
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Apex Analytix LLC                                                   Contingent
          1501 Highwoods Blvd                                                 Unliquidated
          Greensboro, NC 27410
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Apex Capital Corporation                                            Contingent
          6000 Western Place Suite 1000                                       Unliquidated
          Ft. Worth, TX 76107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aponte-Torres, Rose                                                 Contingent
          1911 13th Street                                                    Unliquidated
          Pascagoula, Mississippi 39567-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Appalachian Regional Healthcare System                              Contingent
          336 Deerfield Road                                                  Unliquidated
          Boone, NC 28607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          AppExtremes, LLC. dba Conga                                         Contingent
          P.O Box 7839                                                        Unliquidated
          Broomfield, CO 80021
                                                                              Disputed
          Date(s) debt was incurred 6/9/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 46 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 70 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Applegate, Kenneth                                                  Contingent
          1242 South 760 West                                                 Unliquidated
          Provo, Utah 84601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Applied Composites Engineering, Inc.                                Contingent
          705 S. Girls School Road                                            Unliquidated
          Indianapolis, IN 46231
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Applied Engineering Solutions, Inc.                                 Contingent
          250 Commonwealth Drive, Suite                                       Unliquidated
          Greenville, SC 29615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Appling Healthcare System                                           Contingent
          163 E Tollison St                                                   Unliquidated
          Baxley, GA 31513
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aprati, Michael                                                     Contingent
          108 E. Tower Dr.                                                    Unliquidated
          Tower Lakes, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aquascape, Inc                                                      Contingent
          901 Aqualand Way                                                    Unliquidated
          St. Charles, IL 60174
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aquinas Companies, LLC                                              Contingent
          3900 Essex Lane                                                     Unliquidated
          Houston, TX 77027
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 47 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 71 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aquipel, Christensen                                                Contingent
          1169 Pipe Dream Court                                               Unliquidated
          San Jose, California 95122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $571.70
          Aramark                                                             Contingent
          1851 Howard Street                                                  Unliquidated
          Suite F
                                                                              Disputed
          Elk Grove Village, IL 60007
          Date(s) debt was incurred 2/10/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arbuthnot, Heather                                                  Contingent
          304 Nicholson st                                                    Unliquidated
          APT 1
                                                                              Disputed
          Joliet, Illinois 60435-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ARC of Onondaga                                                     Contingent
          600 S Wilbur Avenue                                                 Unliquidated
          Syracuse, NY 13204
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arc Thrift Stores                                                   Contingent
          12345 West Alameda Parkway                                          Unliquidated
          Suite 111
                                                                              Disputed
          Lakewood, CO 80226
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arce, Alexis                                                        Contingent
          318 Lake Forest Terrace                                             Unliquidated
          Deltona, Florida 32738-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arch Coal                                                           Contingent
          One City Place Drive Suite 300                                      Unliquidated
          St. Louis, MO 63141
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 48 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 72 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Archbold Schools                                                    Contingent
          600 Lafeyette Street                                                Unliquidated
          Archbold, OH 43502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Archer, Leslie                                                      Contingent
          5508 Sprindlewood Ct.                                               Unliquidated
          Durham, North Carolina 27703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arciniega, Joyce Sicat                                              Contingent
          96 Monroe                                                           Unliquidated
          Irvine, California 92620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $135.49
          Arcpoint Labs of Libertyville                                       Contingent
          1659 Northwind Blvd                                                 Unliquidated
          Libertyville, IL 60048
                                                                              Disputed
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.00
          ARCpoint Labs of Milwaukee North                                    Contingent
          4125 N. 124th St. Suite G                                           Unliquidated
          Brookfield, WI 53005
                                                                              Disputed
          Date(s) debt was incurred 3/6/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $350.00
          ARCpoint Labs of Schaumburg                                         Contingent
          1375 Remington Rd, Suite A                                          Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arctic Office Products                                              Contingent
          100 W Fireweed Ln                                                   Unliquidated
          Anchorage, AK 99503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 49 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 73 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arellano, Jennifer                                                  Contingent
          1740 S. Villa Ave                                                   Unliquidated
          Fresno, California 93727-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arellano, Virginia                                                  Contingent
          3603 Ridgeland Avenue                                               Unliquidated
          Houston, Texas 77039-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arena Products, Inc.                                                Contingent
          2101 Mt Read Blvd                                                   Unliquidated
          Rochester, NY 14615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arenas, Janet                                                       Contingent
          3652 W. 60th Pl                                                     Unliquidated
          Chicago, Illinois 60629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Argandona, Eleanor                                                  Contingent
          10 Brookvale Road                                                   Unliquidated
          Framingham, Massachusetts 01701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Argo Community High School                                          Contingent
          7329 W 63rd St,                                                     Unliquidated
          Summit, IL 60501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arias, Annalie                                                      Contingent
          7202 Barker Cypress Rd                                              Unliquidated
          Apt 8202
                                                                              Disputed
          Cypress, Texas 77433-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 50 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 74 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arias, Irma                                                         Contingent
          146 S Lalonde Ave                                                   Unliquidated
          Addison, Illinois 60101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arif, Muhammad                                                      Contingent
          4123 Sierra Gold Drive                                              Unliquidated
          Antelope, California 95843-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arinder, Elizabeth                                                  Contingent
          4597 Pitchpine Ln W                                                 Unliquidated
          Apt 2B
                                                                              Disputed
          Ypsilanti, Michigan 48197-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arizona Department of Revenue
          Office of the Arizona Attorney General                              Contingent
          c/o Tax, Bankruptcy and Collection Sct                              Unliquidated
          2005 N Central Ave, Suite 100                                       Disputed
          Phoenix, AZ 85004
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arkansas Department of Finance & Adminis                            Contingent
          Legal Counsel Room 2380                                             Unliquidated
          PO Box 1272
                                                                              Disputed
          Little Rock, AR 72203-1272
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Armando, Anthony                                                    Contingent
          6 Windridge Road                                                    Unliquidated
          So Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Armfield, Niquita                                                   Contingent
          3828 W. Wilcox St.                                                  Unliquidated
          Chicago, Illinois 60624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 51 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 75 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Armstrong, Sharon                                                   Contingent
          41 Highway 19                                                       Unliquidated
          West, Mississippi 39192-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Armstrong, Yesika                                                   Contingent
          46895 Eaton Terr #201                                               Unliquidated
          Sterling, Virginia 20164-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arneson, Marcia                                                     Contingent
          109825 53rd Ave                                                     Unliquidated
          Chippewa Falls, Wisconsin 54729-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnett, Lori                                                        Contingent
          1234 Gladeville Rd                                                  Unliquidated
          Mt Juliet, Tennessee 37122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnold Magnetic Technologies                                        Contingent
          770 Linden Avenue                                                   Unliquidated
          Rochester, NY 14625
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnold, Amanda                                                      Contingent
          819 W. Illinois Ave                                                 Unliquidated
          Carterville, Illinois 62918-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnold, Amy                                                         Contingent
          2107 Ironbridge ct                                                  Unliquidated
          Lafayette, Indiana 47905-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 52 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 76 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnold, Debbie                                                      Contingent
          5837 River Meadows Place                                            Unliquidated
          Fort Worth, Texas 76112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnold, Eugene                                                      Contingent
          171 kemah rd                                                        Unliquidated
          Ridgewood, New Jersey 07450-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnold, Megan                                                       Contingent
          5014 Youngs Rd                                                      Unliquidated
          Poseyville, Indiana 47633-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnold, Melissa                                                     Contingent
          2520 SE Stone Prairie Dr                                            Unliquidated
          Waukee, Iowa 50263-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnold, Rachel                                                      Contingent
          103 Third St                                                        Unliquidated
          Medway, Ohio 45341-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arnott, Patricia                                                    Contingent
          2113 N Mozart St, #2N                                               Unliquidated
          Chicago, Illinois 60647-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arredondo, Amanda                                                   Contingent
          50 Post Oak Road                                                    Unliquidated
          La Vernia, Texas 78121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 53 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 77 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arriaga, Tanya                                                      Contingent
          11712 Harvest Court                                                 Unliquidated
          Huntley, Illinois 60142-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ARROWSTREAM                                                         Contingent
          231 S. LaSalle St.                                                  Unliquidated
          Suite 1700
                                                                              Disputed
          Chicago, IL 60604
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arroyo, Julissa                                                     Contingent
          1229 Baker St                                                       Unliquidated
          Hillside, New Jersey 07205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arseneault, Aimee                                                   Contingent
          9152 Nashua Trl                                                     Unliquidated
          Flushing, Michigan 48433-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Arundel, Maria                                                      Contingent
          4851 - 114th Ave NE                                                 Unliquidated
          Blaine, Minnesota 55449-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ASBA                                                                Contingent
          2100 N. Central Ave., Ste. 200                                      Unliquidated
          Phoenix, AZ 85004
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ASC Cortland                                                        Contingent
          15 Neubig Road                                                      Unliquidated
          Cortland, NY 13045
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 54 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 78 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ascension (HMNYS)                                                   Contingent
          1254 Erie Ave                                                       Unliquidated
          North Tonawanda, NY 14120
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $180.00
          Ascension Medical Group - Fox Valley/Men                            Contingent
          1186 Appleton Road                                                  Unliquidated
          Menasha, WI 54952
                                                                              Disputed
          Date(s) debt was incurred 5/29/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $72.00
          Ascension St. Michaels's Hospital Inc.                              Contingent
          5412 Highway 10 East                                                Unliquidated
          Stevens Point, WI 54482
                                                                              Disputed
          Date(s) debt was incurred 3/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ash Fork Joint Unified School District                              Contingent
          46999 N 5th St                                                      Unliquidated
          Ash Fork, AZ 86320
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ashdown, Susan                                                      Contingent
          440 N 2006                                                          Unliquidated
          Kaysville, Utah 84037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ashley Furniture                                                    Contingent
          1 Ashley Way                                                        Unliquidated
          Arcadia, WI 54612
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ashley, Pamela                                                      Contingent
          217 5th Ave                                                         Unliquidated
          Dyersburg, Tennessee 38024-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 55 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 79 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ashley, Victoria                                                    Contingent
          11767 Barrows Lane                                                  Unliquidated
          Woodbridge, Virginia 22192-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ashmon-McAlister, Erica                                             Contingent
          20486 Tyler Dr                                                      Unliquidated
          Lynwood, Illinois 60411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ashmore, Alyssa                                                     Contingent
          1581 Gaylord Dr                                                     Unliquidated
          Mobile, Alabama 36695-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ashmore, Stephanie                                                  Contingent
          80 Samuel Dr                                                        Unliquidated
          Washington, Pennsylvania 15301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ashu, Mambi                                                         Contingent
          1040 Main Street                                                    Unliquidated
          apt 11
                                                                              Disputed
          Malden, Massachusetts 02148-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Asilo, Brandon                                                      Contingent
          1450 Drolette Way                                                   Unliquidated
          Benicia, California 94510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,500.00
          Aspect - Voxeo                                                      Contingent
          P O Box 2869                                                        Unliquidated
          Carol Stream, IL 60132
                                                                              Disputed
          Date(s) debt was incurred 6/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 56 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 80 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aspen Skiing Company                                                Contingent
          38700 Highway 82                                                    Unliquidated
          Aspen, CO 81611
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aspire                                                              Contingent
          4110 Litt Drive                                                     Unliquidated
          Hillside, IL 60162
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aspire Financial Services, Inc.                                     Contingent
          4100 Alpha Rd., #100                                                Unliquidated
          Farmers Branch, TX 75244
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $257.25
          Aspirus Clinics Inc                                                 Contingent
          PO Box 535                                                          Unliquidated
          Wausau, WI 54402
                                                                              Disputed
          Date(s) debt was incurred      5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Assaf, Yousef                                                       Contingent
          608 Manchester Dr.                                                  Unliquidated
          Mansfield, Texas 76063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AssistedCare Management Group, Inc.                                 Contingent
          1003 Olde Waterford Way, Suite                                      Unliquidated
          Leland, NC 28451
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Associated Credit Union of Texas                                    Contingent
          1095 West League City Parkway                                       Unliquidated
          League City, TX 77573
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 57 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 81 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Association Headquarters, Inc.                                      Contingent
          1120 Route 73                                                       Unliquidated
          Mt Laurel, NJ 08054
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Assured Information Security                                        Contingent
          153 Brooks Road                                                     Unliquidated
          Rome, NY 13441
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Astro-Physics                                                       Contingent
          11250 Forest Hills Rd.                                              Unliquidated
          Machesney Park, IL 61115
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Atchison, Brittany                                                  Contingent
          232 Tudor Ln                                                        Unliquidated
          Schaumburg, Illinois 60193-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ATF INC.                                                            Contingent
          3550 W. Pratt Ave.                                                  Unliquidated
          Lincolnwood, IL 60712
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Athans, Bessie                                                      Contingent
          517 Barnsdale RD                                                    Unliquidated
          Lagrange Park, Illinois 60526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Atkin, Michelle                                                     Contingent
          5025 9th Street South                                               Unliquidated
          Arlington, Virginia 22204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 58 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 82 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ATKINS & PEARCE                                                     Contingent
          One Braid Way                                                       Unliquidated
          Covington, KY 41017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Atlanta Convention & Visitors Bureau                                Contingent
          233 Peachtree Street NE, Suite                                      Unliquidated
          Atlanta, GA 30303
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Atlanta Dental Supply                                               Contingent
          1650 Satellite Blvd                                                 Unliquidated
          Deluth, GA 30097
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Atlas Air                                                           Contingent
          2000 Westchester Ave.                                               Unliquidated
          Purchase, NY 10577
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,445.63
          Atlassian Pty Ltd                                                   Contingent
          32151 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693
                                                                              Disputed
          Date(s) debt was incurred 2/19/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Attarian, Sherrill                                                  Contingent
          15 Johnson Rd                                                       Unliquidated
          Andover, Massachusetts 01810-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Attaway, Donee                                                      Contingent
          2810 Nela Ave                                                       Unliquidated
          Orlando, Florida 32809-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 59 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 83 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Atwood Heights SD 125                                               Contingent
          12150 South Hamlin Avenue                                           Unliquidated
          Alsip, IL 60803
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Atwood, Alysia                                                      Contingent
          3202 Napa Ct                                                        Unliquidated
          DeKalb, Illinois 60115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Audette, Emily                                                      Contingent
          511 Lake Vista Circle, Apt I                                        Unliquidated
          Cockeysville, Maryland 21030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Audiology Distribution, LLC dba HearUSA                             Contingent
          10455 Riverside Drive                                               Unliquidated
          Palm Beach Gardens, FL 33410
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aughenbaugh, Joyce                                                  Contingent
          3639 Paradise Way                                                   Unliquidated
          Jacksonville Beach, Florida 32250-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          August- Gilio, Amber                                                Contingent
          1116 Schiedler Drive                                                Unliquidated
          Batavia, Illinois 60510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Augustine, Kassidy                                                  Contingent
          480 Allegheny Drive                                                 Unliquidated
          Harrisburg, Pennsylvania 17112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 60 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 84 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Auman, Kelsie                                                       Contingent
          19506 N 41st Ln                                                     Unliquidated
          Glendale, Arizona 85308-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AURA                                                                Contingent
          950 N. Cherry Ave.                                                  Unliquidated
          Tucson, AZ 85726
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AURORA COOPERATIVE                                                  Contingent
          2225 Q Street                                                       Unliquidated
          Aurora, NE 68818
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          Aurora Medical Group                                                Contingent
          C/O Accounting Dept                                                 Unliquidated
          PO Box 341880
                                                                              Disputed
          Milwaukee, WI 53234
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Austin, Alexandro                                                   Contingent
          2027 N Prospect Ave                                                 Unliquidated
          apt. 307
                                                                              Disputed
          Milwaukee, Wisconsin 53202-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Austin, Charles                                                     Contingent
          15534 University                                                    Unliquidated
          Dolton, Illinois 60419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Austin, Erinn                                                       Contingent
          12610 Kornett Lane                                                  Unliquidated
          Bowie, Maryland 20715-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 61 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 85 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ausura, Jessica                                                     Contingent
          709 Woodfin Road                                                    Unliquidated
          Newport News, Virginia 23605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AUTOHAUS AUTOMOTIVE                                                 Contingent
          1600 Frontage Road                                                  Unliquidated
          Northbrook, IL 60062
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Automatic Sprinkler Fitters Local 281                               Contingent
          11900 S Laramie Ave                                                 Unliquidated
          Alsip, IL 60803
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Automation Anywhere                                                 Contingent
          633 River Oaks Parkway                                              Unliquidated
          San Jose, CA 95134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Autrey, Tonya                                                       Contingent
          7630 Crestwood Dr                                                   Unliquidated
          Kannapolis, North Carolina 28081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,085.00
          Auxiant                                                             Contingent
          2450 RimRock Rd                                                     Unliquidated
          Suite 300
                                                                              Disputed
          Madison, WI 53713
          Date(s) debt was incurred      4/24/2020                           Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avadel US Holdings, Inc.                                            Contingent
          16640 Chesterfield Grove Road,                                      Unliquidated
          Chesterfield, MO 63005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 62 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 86 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avance, Dionne                                                      Contingent
          6739 Kinnerton Drive                                                Unliquidated
          Indianapolis, Indiana 46254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avancena, Anicia                                                    Contingent
          701 Hawkshead Road                                                  Unliquidated
          Lutherville, Maryland 21093-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avanti Hospital                                                     Contingent
          222 North Sepulveda Blvd Suite 950                                  Unliquidated
          El Segundo, CA 90245
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ave Maria Foundation                                                Contingent
          24 Frank Lloyd Wright Dr                                            Unliquidated
          Ann Arbor, MI 48105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avedis Zildjian                                                     Contingent
          22 Longwater Drive                                                  Unliquidated
          Norwell, MA 02061
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avelar, Joanne                                                      Contingent
          16218 N. 159th ave                                                  Unliquidated
          Surprise, Arizona 85374-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avepoint, Inc.                                                      Contingent
          3 2nd Street, 9th Floor                                             Unliquidated
          Jersey City, NJ 07302
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 63 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 87 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avery, Lindsey                                                      Contingent
          34 Flintlock Drive                                                  Unliquidated
          Cumberland, Maine 04021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aviation Exteriors Louisiana, Inc                                   Contingent
          1218 Hangar Drive                                                   Unliquidated
          New Iberia, LA 70560
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avila, Elizabeth                                                    Contingent
          702 Alma Ct                                                         Unliquidated
          Apt 2B
                                                                              Disputed
          Carpentersville, Illinois 60110-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avila, Rosemary                                                     Contingent
          110 anton drive                                                     Unliquidated
          san antonio, Texas 78223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avitus Group                                                        Contingent
          175 North 27th Street Floor 6, 7 & 8                                Unliquidated
          Billings, MT 59101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avoca SD 37                                                         Contingent
          2921 Illinois Road                                                  Unliquidated
          Wilmette, IL 60091
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Avondale Elementary School District                                 Contingent
          235 W Western Avenue                                                Unliquidated
          Avondale, AZ 85323
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 64 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 88 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Awad, Deborah                                                       Contingent
          16091 Lorene Drive 38                                               Unliquidated
          Victorville, California 92395-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Awad, Dema                                                          Contingent
          3751 Brookside Drive                                                Unliquidated
          Apt. F
                                                                              Disputed
          Elsmere, Kentucky 41018-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Awan, Sadia                                                         Contingent
          8623 5th Ave                                                        Unliquidated
          Apt #2R
                                                                              Disputed
          Brooklyn, New York 11209-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Axe, Ann                                                            Contingent
          584 Persimmon Drive                                                 Unliquidated
          Fitchburg, Wisconsin 53711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          AXIS Commercial Management Solutions
          Connell Corporate Park                                              Contingent
          300 Connell Drive                                                   Unliquidated
          P.O. Box 357                                                        Disputed
          Berkeley Heights, NJ 07922-0357
                                                                             Basis for the claim:    Vendor / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ayala, Robert                                                       Contingent
          11206 Akron Avenue                                                  Unliquidated
          Lubbock, Texas 79423-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ayersville Local Schools                                            Contingent
          28046 Watson Rd                                                     Unliquidated
          Defiance, OH 43512
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 65 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 89 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ayeski, Lisa                                                        Contingent
          8244 W Maple Ave                                                    Unliquidated
          Norridge, Illinois 60706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ayotte, Darlene                                                     Contingent
          32722 Via Del Venado                                                Unliquidated
          Valley Center, California 92082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ayotte, Drew                                                        Contingent
          841 Airport Blvd. Trlr. #24                                         Unliquidated
          Austin, Texas 78702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Azat, Kate                                                          Contingent
          1933 Mill Road                                                      Unliquidated
          South Pasadena, California 91030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Azelis Americas                                                     Contingent
          262 Harbor Drive                                                    Unliquidated
          Stamford, CT 06902
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Aziz, Siddiqa                                                       Contingent
          3579 Skyline Dr                                                     Unliquidated
          Hayward, California 94542-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Azucena, Erica                                                      Contingent
          32062 Arya Ct                                                       Unliquidated
          Union City, California 94587-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 66 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 90 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          B&L Pipeline Services, Inc.                                         Contingent
          20465 State Highway 249 #200                                        Unliquidated
          Houston, TX 77070
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ba, Halima                                                          Contingent
          6074 Fernview Avenue                                                Unliquidated
          Cincinnati, Ohio 45212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Babasa, Kristie                                                     Contingent
          416 Paramount Drive                                                 Unliquidated
          Millbrae, California 94030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Babayemi, Ayobami                                                   Contingent
          16005 Audubon lane                                                  Unliquidated
          Bowie, Maryland 20716-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Babayemi, Ayodipo                                                   Contingent
          16005 Audubon Lane                                                  Unliquidated
          Bowie, Maryland 20716-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Babchak, Hannah                                                     Contingent
          861 W Buena Ave                                                     Unliquidated
          Apt E3
                                                                              Disputed
          Chicago, Illinois 60613-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Babineau, Jennifer                                                  Contingent
          264 Hill Street                                                     Unliquidated
          Leominster, Massachusetts 04153-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 67 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 91 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baboquivari Unified School District                                 Contingent
          State Route 86, Milepost 115.5                                      Unliquidated
          Sells, AZ 85634
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Back, David                                                         Contingent
          4301 S University Dr                                                Unliquidated
          Allendale, Michigan 49401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Backhaul Direct LLC                                                 Contingent
          1 Virginia Avenue, Suite 400                                        Unliquidated
          Indianapolis, IN 46204
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Backhaus, Bridget                                                   Contingent
          847 Williamsburg Dr                                                 Unliquidated
          Naperville, Illinois 60540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Backman, Alexa                                                      Contingent
          712 W 48th St #503                                                  Unliquidated
          Kansas City, Missouri 64112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BackOffice Associates                                               Contingent
          7900 Tysons One Place                                               Unliquidated
          Suite 310
                                                                              Disputed
          McLean, VA 22102
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baclig, Cameron                                                     Contingent
          108 Vierra Cir                                                      Unliquidated
          Folsom, California 95630-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 68 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 92 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bader, Edward                                                       Contingent
          145 Cygnet Pl                                                       Unliquidated
          Orono, Minnesota 55356-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $45.00
          Badger Testing Services                                             Contingent
          554 Grand Canyon Drive                                              Unliquidated
          Madison, WI 53719
                                                                              Disputed
          Date(s) debt was incurred 3/10/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bagdad Unified School District                                      Contingent
          515 Breezy Circle                                                   Unliquidated
          Bagdad, AZ 86321
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bagley, Aimee                                                       Contingent
          1817 Southwood Trail                                                Unliquidated
          Saint Cloud, Minnesota 56301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baidu USA LLC                                                       Contingent
          1195 Bordeaux Drive                                                 Unliquidated
          Sunnyvale, CA 94089
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey Sr, Michael                                                  Contingent
          1638 Oak Creek Dr                                                   Unliquidated
          Lewisville, Texas 75077-2755
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey, Dawnali                                                     Contingent
          11693 Orchardview Dr                                                Unliquidated
          Fenton, Michigan 48430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 69 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 93 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey, Debbie                                                      Contingent
          101 Cole Court                                                      Unliquidated
          Warner Robins, Georgia 31088-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey, Julie                                                       Contingent
          2605 E. 56th Street                                                 Unliquidated
          Tulsa, Oklahoma 74105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey, Pamela                                                      Contingent
          2357 S Thelma                                                       Unliquidated
          Springfield, Missouri 65807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey, Porscha                                                     Contingent
          17980 NE 31st Ct.                                                   Unliquidated
          Apt. 1203
                                                                              Disputed
          Aventura, Florida 33160-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey, Sara                                                        Contingent
          5737 Gardner Court                                                  Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey, Tracy                                                       Contingent
          5720 Fieldstone Tr                                                  Unliquidated
          McHenry, Illinois 60050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bailey, Zachary                                                     Contingent
          1800 Hillman Street                                                 Unliquidated
          Conway, Arkansas 72034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 70 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 94 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bainter, Denise                                                     Contingent
          28474 Lytle Ave                                                     Unliquidated
          Malvern, Iowa 51551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bair, Jericha                                                       Contingent
          2745 Annelise Way                                                   Unliquidated
          Fort Collins, Colorado 80525-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baird, Lynne                                                        Contingent
          1538 River Birch Drive                                              Unliquidated
          Saint Peters, Missouri 63376-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baker & McKenzie                                                    Contingent
          300 E. Randolph Street, Suite 5000                                  Unliquidated
          Chicago, IL 60601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baker, Amanda                                                       Contingent
          2709 E Beryl Ave                                                    Unliquidated
          Phoenix, Arizona 85028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baker, Cissie                                                       Contingent
          P. O. Box 1021                                                      Unliquidated
          Conover, North Carolina 28613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baker, McKel                                                        Contingent
          291 E Whitbeck Street                                               Unliquidated
          Kuna, Idaho 83634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 71 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 95 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bakker, Lori                                                        Contingent
          5818 Florence Blvd                                                  Unliquidated
          Omaha, Nebraska 68110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Balanced Body Nourishment, LLC - Maria M                            Contingent
          229 2nd Avenue SW                                                   Unliquidated
          Fort McNair, DC 20024
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Balandra, Rosemarie                                                 Contingent
          7950 Delphinium Circle                                              Unliquidated
          Buena Park, California 90620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baldemor, Marion                                                    Contingent
          115 Coriander Bend                                                  Unliquidated
          San Antonio, Texas 78253-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Balducci, Alyssa                                                    Contingent
          2700 W Powell Blvd #R3142                                           Unliquidated
          Gresham, Oregon 97030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Balinas, Joseph                                                     Contingent
          12103 Hunters Lane                                                  Unliquidated
          Rockville, Maryland 20852-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baliton, Michael                                                    Contingent
          33043 Arizona St.                                                   Unliquidated
          Union City, California 94587-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 72 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 96 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ball Horticultural Company                                          Contingent
          622 Town Road                                                       Unliquidated
          West Chicago, IL 60185
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ball, Arlene                                                        Contingent
          4470 Colchester Creek Drive                                         Unliquidated
          Cumming, Georgia 30040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ballard, Lindsay                                                    Contingent
          458 South Bay Circle                                                Unliquidated
          Colchester, Vermont 05446-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ballayan, Yassah                                                    Contingent
          8309 Fredonia Rd                                                    Unliquidated
          Richmond, Virginia 23227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ballentine, Anterior                                                Contingent
          300 Lincoln Street                                                  Unliquidated
          Sardis, Mississippi 38666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ballew, Julie                                                       Contingent
          309 S. Circle                                                       Unliquidated
          Grandview, Texas 76050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Balli, Alejandra                                                    Contingent
          1911 Conestoga Trail Unit B                                         Unliquidated
          Austin, Texas 78744-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 73 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 97 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Balsz Elementary School District                                    Contingent
          4825 East Roosevelt Street                                          Unliquidated
          Phoenix, AZ 85008
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banach, Keely                                                       Contingent
          26430 West Ingleside Shore Rd                                       Unliquidated
          Ingleside, Illinois 60041-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banda, Sylvia                                                       Contingent
          11327 Camp Creek Trl                                                Unliquidated
          San Antonio, Texas 78245-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BANDO USA                                                           Contingent
          2720 Pioneer Dr                                                     Unliquidated
          Bowling Green, KY 42101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bank Iowa Corporation                                               Contingent
          1150 Jordan Creek Parkway                                           Unliquidated
          West Des Moines, IA 50266
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bank, Linda                                                         Contingent
          539 N Greenwood Dr                                                  Unliquidated
          Palatine, Illinois 60074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bankhead, Abby                                                      Contingent
          217 East Curling Drive                                              Unliquidated
          Boise, Idaho 83702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 74 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 98 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banks, Cecelia                                                      Contingent
          4126 Dunwoody Dr                                                    Unliquidated
          Charlotte, North Carolina 28215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banks, Chante                                                       Contingent
          3324 Tavern Rd                                                      Unliquidated
          Petersburg, Virginia 23805-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banks, Kasheena                                                     Contingent
          4905 Grazing Court AptD                                             Unliquidated
          Virginia Beach, Virginia 23464-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banks, LaCosha                                                      Contingent
          8443 Bird Run                                                       Unliquidated
          Missouri city, Texas 77489-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banner Solutions                                                    Contingent
          1000 Century Drive                                                  Unliquidated
          Kansas City, MO 64120
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banner, Tamela                                                      Contingent
          20 Whitney Ct.                                                      Unliquidated
          Covington, Georgia 30016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bansal, Bindia                                                      Contingent
          8103 Shoal Creek Drive                                              Unliquidated
          Laurel, Maryland 20724-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 75 of 1226
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                                Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 99 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Banton, Wendy                                                       Contingent
          649 Aberdeen Road                                                   Unliquidated
          APT S 6
                                                                              Disputed
          Newport News, Virginia 23661-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baptist Village Retirement Community                                Contingent
          3800 N. May Ave                                                     Unliquidated
          Oklahoma City, OK 73112
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baptiste, Maria                                                     Contingent
          2812 W. Crawford St.                                                Unliquidated
          Denison, Texas 75020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barajas, Erika                                                      Contingent
          1480 Royale Castle Dr.                                              Unliquidated
          Lawrenceville, Georgia 30043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barajas, Miguel                                                     Contingent
          1045 McKinstry St                                                   Unliquidated
          Detroit, Michigan 48209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baran, Emilia                                                       Contingent
          5 Panama Lane                                                       Unliquidated
          Cheektowaga, New York 14225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baran, Valerie                                                      Contingent
          375 Pesaro Way                                                      Unliquidated
          Reno, Nevada 89521-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 76 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 100 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barbee, Christyn                                                    Contingent
          8928 N Newman Ave                                                   Unliquidated
          Portland, Oregon 97203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barber, Rebecca                                                     Contingent
          10240 El Monte Street                                               Unliquidated
          Overland Park, Kansas 66207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barber, Robin                                                       Contingent
          10240 El Monte St                                                   Unliquidated
          Overland Park, Kansas 66207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barber, Tierra                                                      Contingent
          6917 DYLAN DRIVE UNIT D                                             Unliquidated
          NEW ALBANY, Ohio 43054-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barclay Damon, LLP                                                  Contingent
          300 South State Street                                              Unliquidated
          Syracuse, NY 13202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barcroft, Joyce                                                     Contingent
          P.O. Box 473                                                        Unliquidated
          Clermont, Georgia 30527-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barefield, EvaMaria                                                 Contingent
          15703 E Caspian Cir #208                                            Unliquidated
          Aurora, Colorado 80013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 77 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 101 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barker, Emily                                                       Contingent
          2656 E. Hampshire Ct.                                               Unliquidated
          Eagle, Idaho 83616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barker, Janet                                                       Contingent
          609 Gatling Pointe Parkway                                          Unliquidated
          Smithfield, Virginia 23430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barkey, Lisa                                                        Contingent
          263 Trudy Court                                                     Unliquidated
          Forest Hill, Maryland 21050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barkman-Solomon, Lois                                               Contingent
          7077 Fairway Bend Lane                                              Unliquidated
          Sarasota, Florida 34243-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barksdale, Jocelyn                                                  Contingent
          9340 Donachy Drive                                                  Unliquidated
          Richmond, Virginia 23235-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barlow, Ashton                                                      Contingent
          1062 W Sandstone Dr                                                 Unliquidated
          Hanford, California 93230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barlow, Mona                                                        Contingent
          201 Ivy Brook Trl                                                   Unliquidated
          Pelham, Alabama 35124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 78 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 102 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barnas, Jill                                                        Contingent
          534 Birchwood Rd                                                    Unliquidated
          Frankfort, Illinois 60423-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barnes, Stephanie                                                   Contingent
          3201 Edgewood Drive                                                 Unliquidated
          San Angelo, Texas 76903-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barnett, Andrea                                                     Contingent
          5918 Leona Street                                                   Unliquidated
          St Louis, Missouri 63116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barnett, Jacqueline                                                 Contingent
          18 Grove Ave                                                        Unliquidated
          Derby, Connecticut 06418-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barnett, Linda                                                      Contingent
          13718 E 31st PL                                                     Unliquidated
          Tulsa, Oklahoma 74134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barnett, Stacey                                                     Contingent
          2175 Unity Court Nw                                                 Unliquidated
          Marietta, Georgia 30064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barnette, Hallie                                                    Contingent
          306 Mockingbird Lane                                                Unliquidated
          Shreveport, Louisiana 71105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 79 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 103 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barney Trucking                                                     Contingent
          235 State Route 24                                                  Unliquidated
          Salina, UT 84654
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barney, Harry                                                       Contingent
          37 Michelle Lane                                                    Unliquidated
          Mansfield Center, Connecticut 06250-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barr Credit Services, Inc.                                          Contingent
          5151 E Broadway Boulevard Suite 800                                 Unliquidated
          Tucson, AZ 85711
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barragan, Priscilla                                                 Contingent
          14327 Millard                                                       Unliquidated
          Midlothian, Illinois 60445-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barragar, Monique                                                   Contingent
          250 West El Camino Real, #6100                                      Unliquidated
          Sunnyvale, California 94087-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barraza, Christian                                                  Contingent
          234 Rose St bensenville il                                          Unliquidated
          Bensenville, Illinois 60106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barraza, Elaina                                                     Contingent
          902 S. Claremont Avenue                                             Unliquidated
          Apt. 2
                                                                              Disputed
          Chicago, Illinois 60612-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 80 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 104 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barrera, Emily                                                      Contingent
          289 W. Inman Ave                                                    Unliquidated
          Rahway, New Jersey 07065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barrett, Renee                                                      Contingent
          816 Bennett Drive                                                   Unliquidated
          Elyria, Ohio 44035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barrette Outdoor Living                                             Contingent
          740 N. Main St.                                                     Unliquidated
          Bulls Gap, TN 37711
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barrientos, Tyler                                                   Contingent
          2727 E. 53rd ave                                                    Unliquidated
          F106
                                                                              Disputed
          Spokane, Washington 99223-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barrientos-Garcia, Marisol                                          Contingent
          16354 Edgemere Drive                                                Unliquidated
          Pflugerville, Texas 78660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barrington, Lisa                                                    Contingent
          1936 London Bridge Road                                             Unliquidated
          Virginia Beach, Virginia 23453-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barron, Gina                                                        Contingent
          3106 Sherbrooke Rd Apt 5                                            Unliquidated
          Toledo, Ohio 43606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 81 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 105 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barry, Nichole                                                      Contingent
          9401 S 50th Ave                                                     Unliquidated
          Oak Lawn, Illinois 60453-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bartell Machinery                                                   Contingent
          6321 Elmer Hill Road                                                Unliquidated
          Rome, NY 13440
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bartelloni, Kathleen                                                Contingent
          8336 Bryn Glen Way                                                  Unliquidated
          San diego, California 92129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barthelemy, Edwidge                                                 Contingent
          1451 72 Street                                                      Unliquidated
          North Bergen, New Jersey 07047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barthlow, Ashley                                                    Contingent
          3610 Kings Point Dr.                                                Unliquidated
          Troy, Michigan 48083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Barthuli and Associates/Oswald Associate                            Contingent
          5250 North Palm Avenue, #403                                        Unliquidated
          Fresno, CA 93704
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bartlett Learning Center                                            Contingent
          125 E. Seminary Avenue                                              Unliquidated
          Wheaton, IL 60187
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 82 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 106 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bartlett, Patricia                                                  Contingent
          0N472 Taylor Drive                                                  Unliquidated
          Geneva, Illinois 60134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bartodej, Christina                                                 Contingent
          7413 NW 28th St                                                     Unliquidated
          Bethany, Oklahoma 73008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bartrug, Lena                                                       Contingent
          9519 Reno Dr.                                                       Unliquidated
          Waco, Texas 76712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bash, Chevelle                                                      Contingent
          2402 Battersea Pl Apt 302                                           Unliquidated
          Milford Mill, Maryland 21244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Basis Educational Group, Inc.                                       Contingent
          7975 N. Hayden Road, Suite B100                                     Unliquidated
          Scottsdale, AZ 85258
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bass, Graham                                                        Contingent
          5268 W 52nd ST                                                      Unliquidated
          Parma, Ohio 44134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bass-Appiah, Johnnie                                                Contingent
          1290 Santa Fe rd                                                    Unliquidated
          #108
                                                                              Disputed
          Romeoville, Illinois 60446-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 83 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 107 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bassett, Shaina                                                     Contingent
          4700 N. 16th St, Apt 108                                            Unliquidated
          Phoenix, Arizona 85016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Batdorff, Karleea                                                   Contingent
          9204 Wondermere Rd                                                  Unliquidated
          Wonder Lake, Illinois 60097-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bateman, Heather                                                    Contingent
          25 Hillwood Drive                                                   Unliquidated
          Cheektowaga, New York 14227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bateman, Lori                                                       Contingent
          9507 Braes Valley St.                                               Unliquidated
          Austin, Texas 78729-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bates, Brittany                                                     Contingent
          62 B Tall Pines Way                                                 Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bates, Geneva                                                       Contingent
          3100 S.Manchester St.#118                                           Unliquidated
          Falls Church, Virginia 22044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baucum, Malinda                                                     Contingent
          105 3rd St E                                                        Unliquidated
          New Augusta, Mississippi 39462-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 84 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 108 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baugh, Angi                                                         Contingent
          1139 Lee Street                                                     Unliquidated
          Wyoming, Michigan 49509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baum, Kevin                                                         Contingent
          1530 S State St                                                     Unliquidated
          617
                                                                              Disputed
          Chicago, Illinois 60605-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baumeister, Judy                                                    Contingent
          3755 NE 10 Court                                                    Unliquidated
          Homestead, Florida 33033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baumgardner, Monica                                                 Contingent
          4025 Duval Road                                                     Unliquidated
          Apt 2638
                                                                              Disputed
          Austin, Texas 78759-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baur, Emily                                                         Contingent
          22929 Brookdale Boulevard                                           Unliquidated
          St Clr Shores, Michigan 48082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bautovich, Lindsey                                                  Contingent
          1603 Miller Court                                                   Unliquidated
          Arlington, Texas 76013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baxter, Kambree                                                     Contingent
          5441 Caribou Ridge Drive                                            Unliquidated
          Watauga, Texas 76137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 85 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 109 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bay Federal Credit Union                                            Contingent
          3333 Clares Street                                                  Unliquidated
          Capitola, CA 95010
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Baylor, Sara                                                        Contingent
          1639 Kyle Drive                                                     Unliquidated
          Evansville, Indiana 47720-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BAYOU STATE OIL CORPORATION                                         Contingent
          1115 Hawn Ave                                                       Unliquidated
          Shreveport, LA 71107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bays, Madison                                                       Contingent
          1003 6th Sreet                                                      Unliquidated
          Charleston, Illinois 61920-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beach Park SD 3                                                     Contingent
          11315 West Wadsworth Road                                           Unliquidated
          Beach Park, IL 60099
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beal, LouAnn                                                        Contingent
          4385 Trenton Ln No #108                                             Unliquidated
          Plymouth, Minnesota 55442-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beall, Jessica                                                      Contingent
          905 Pond Street                                                     Unliquidated
          Clayton, North Carolina 27520-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 86 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 110 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bean Moving & Storage                                               Contingent
          P.O. Box 17018                                                      Unliquidated
          Hattiesburg, MS 39404
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bean, Kiley                                                         Contingent
          9155 Buckingham Court                                               Unliquidated
          Huntley, Illinois 60142-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bear Lake Memorial Hospital                                         Contingent
          164 S 5th St                                                        Unliquidated
          Montpelier, ID 83254
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beard, Jane                                                         Contingent
          175 Archers Place                                                   Unliquidated
          Madison Heights, Virginia 24572-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beardall, Shawn                                                     Contingent
          1638 E 1180 S                                                       Unliquidated
          Spanish Fork, Utah 84660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bearese, Brian                                                      Contingent
          11701 Clearview Ct.                                                 Unliquidated
          Hagerstown, Maryland 21742-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beasley, Rachel                                                     Contingent
          559 Smith Ave S, Apt 1                                              Unliquidated
          St Paul, Minnesota 55107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 87 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 111 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beattie, Heather                                                    Contingent
          131 Morgan Hill Rd                                                  Unliquidated
          Morgan, Pennsylvania 15064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beaumont, Mark                                                      Contingent
          77 Risley Road                                                      Unliquidated
          Brookline, Massachusetts 02467-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beaverhead County                                                   Contingent
          2 South Pacific                                                     Unliquidated
          Dillon, MT 59725
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beavers Holdings                                                    Contingent
          3550 Hobson Rd                                                      Unliquidated
          Woodridge, IL 60517
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beccavin, Anne                                                      Contingent
          10731 Persimmmon Creek Drive                                        Unliquidated
          Mint Hill, North Carolina 28227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Becerril Arroyo, Martha Ligia                                       Contingent
          9412 A Solana Vista Lp                                              Unliquidated
          Austin, Texas 78750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BECHT ENGINEERING BT INC.                                           Contingent
          410 Richmond Ave.                                                   Unliquidated
          Point Pleasant Beach, NJ 08742
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 88 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 112 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BECHT ENGINEERING CO, INC.                                          Contingent
          22 Church Street                                                    Unliquidated
          Liberty Corner, NJ 07938
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beck, Jaime                                                         Contingent
          307 Laurel-Moors Drive                                              Unliquidated
          Exton, Pennsylvania 19341-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beck, Palina                                                        Contingent
          36 Regency Drive                                                    Unliquidated
          Norwalk, Connecticut 06851-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Becker, Geraldine                                                   Contingent
          1830 Burr Ridge Dr                                                  Unliquidated
          Hoffman Estates, Illinois 60192-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Becker, Jennifer                                                    Contingent
          35269 Chateau Trail                                                 Unliquidated
          Waukee, Iowa 50263-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Becker, Kathy                                                       Contingent
          2213 N 73rd Court                                                   Unliquidated
          Elmwood Park, Illinois 60707-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Becker, Phyllis                                                     Contingent
          404 Jones Dr, APT 205                                               Unliquidated
          Randolph, Wisconsin 53956-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 89 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 113 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beckerman, Trey                                                     Contingent
          106 Erin Drive                                                      Unliquidated
          Mt. Carmel, Illinois 62863-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beckham, Danielle                                                   Contingent
          25 W Bannister Rd                                                   Unliquidated
          Kansas City, Missouri 64114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beckman, Melissa                                                    Contingent
          124 Woodloch Forest Dr                                              Unliquidated
          Rockton, Illinois 61072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beckwith, Marion                                                    Contingent
          675 Perry Street                                                    Unliquidated
          Marshfield, Massachusetts 02050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beene, Hannah                                                       Contingent
          904 E 11th St                                                       Unliquidated
          Cushing, Oklahoma 74023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Behavioral Healthcare, Inc.                                         Contingent
          1290 Chambers                                                       Unliquidated
          Aurora, CO 80011
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Behler, Julia                                                       Contingent
          6518 Cocos Dr                                                       Unliquidated
          Orlando, Florida 32807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 90 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 114 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Behymer, Karly                                                      Contingent
          1783 Vista Creek Drive                                              Unliquidated
          Roseville, California 95661-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beil, Mark                                                          Contingent
          5307 Louisiana Ave N.                                               Unliquidated
          Crystal, Minnesota 55428-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beinstein, Carolyn                                                  Contingent
          10815 Meadowlea Road                                                Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beiseigle, Jeannemarie                                              Contingent
          110 Lakeside Drive                                                  Unliquidated
          Stillwater, Minnesota 55082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belatrix
          Belatrix Software Inc.                                              Contingent
          444 Brickell Av                                                     Unliquidated
          Ste 51-473                                                          Disputed
          Miami, FL 33131
                                                                             Basis for the claim:    Vendor / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belcher, Lashonda                                                   Contingent
          1809 cutters mill way                                               Unliquidated
          Lithonia, Georgia 30058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belden                                                              Contingent
          2200 US Hwy 27 South                                                Unliquidated
          Richmond, IN 47374
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 91 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 115 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belew, Leslie                                                       Contingent
          910 Milwaukee Ave                                                   Unliquidated
          APT 1013
                                                                              Disputed
          Lubbock, Texas 79416-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belford, Melissa                                                    Contingent
          3480 Granada Ave                                                    Unliquidated
          Apt 260
                                                                              Disputed
          Santa Clara, California 95051-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belill, Mark                                                        Contingent
          P.O. Box 1094                                                       Unliquidated
          Placitas, New Mexico 87043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belill, Michelle                                                    Contingent
          2 High Mesa Court                                                   Unliquidated
          Placitas, New Mexico 87043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bell, Kelsey                                                        Contingent
          250 East Leslie                                                     Unliquidated
          South Salt Lake, Utah 84115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bell, Rebecca                                                       Contingent
          8101 W Lobelisa St, Unit 7                                          Unliquidated
          Sioux Falls, South Dakota 57106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bell, Rhonda                                                        Contingent
          1919 Ygnacio Valley rd 56                                           Unliquidated
          Walnut Creek, California 94598-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 92 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 116 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bell, Yvette                                                        Contingent
          220 Hensley Drive                                                   Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bellows, Elaine                                                     Contingent
          9370 Columbia Hwy                                                   Unliquidated
          Eaton Rapids, Michigan 48827-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belluardo, Brandon                                                  Contingent
          3990 Wallings Road                                                  Unliquidated
          North Royalton, Ohio 44133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bellwood School District 88                                         Contingent
          640 Eastern Avenue                                                  Unliquidated
          Bellwood, IL 60104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $81.00
          Beloit Health System, Inc.- IH                                      Contingent
          1650 Lee Lane                                                       Unliquidated
          Beloit, WI 53511
                                                                              Disputed
          Date(s) debt was incurred 5/7/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beloney, Andrea                                                     Contingent
          7408 Ireland Court                                                  Unliquidated
          El Paso, Texas 79930-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beloved, Elana                                                      Contingent
          P.O. Box 620182                                                     Unliquidated
          Littleton, Colorado 80162-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 93 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 117 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belser, Mimi                                                        Contingent
          666 Chauncey Court                                                  Unliquidated
          San Jose, California 95128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Belsterling, Rachel                                                 Contingent
          6626 Chapel Hill Blvd. G304                                         Unliquidated
          Pasco, Washington 99301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benacka, Jodi                                                       Contingent
          3644 N. Damen Ave, Unit 2                                           Unliquidated
          Chicago, Illinois 60618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bencekovich, Lora                                                   Contingent
          1801 Waterstone Blvd                                                Unliquidated
          Miamisburg, Ohio 45342-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bench, James                                                        Contingent
          1700 Seaspray Ct #1143                                              Unliquidated
          Houston, Texas 77008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bender, Carrie                                                      Contingent
          10531N Margarets Lane                                               Unliquidated
          Hayward, Wisconsin 54843-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BENEFIT ADMINISTRATIVE SYSTEMS LLC                                  Contingent
          17475 Jovanna Drive                                                 Unliquidated
          Suite 1B
                                                                              Disputed
          Homewood, IL 60430
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 94 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 118 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,730.00
          Benefit Administrative Systems, LTD                                 Contingent
          17475 Jovanna Drive                                                 Unliquidated
          Suite 1B
                                                                              Disputed
          Homewood, IL 60430
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $826.00
          Benefit Advantage- IH                                               Contingent
          P.O. Box 5490                                                       Unliquidated
          De Pere, WI 54115
                                                                              Disputed
          Date(s) debt was incurred 6/4/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,325.00
          Benefit Advisors dba Premier Consulting                             Contingent
          1416 Sweet Home Road                                                Unliquidated
          Suites 5 & 6
                                                                              Disputed
          Buffalo, NY 14228
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benefit Commerce Group                                              Contingent
          14300 North Northsight Boulevard #221                               Unliquidated
          Scottsdale, AZ 85260
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benefit Express Services, LLC                                       Contingent
          1700 East Golf Road Suite 1000                                      Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,420.00
          Benefit Management Inc                                              Contingent
          PO Box 1090                                                         Unliquidated
          Great Bend, KS 67530
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benefit Management LLC                                              Contingent
          2015 - 16th                                                         Unliquidated
          Great Bend, KS 67530
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 95 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 119 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benes, Carrie                                                       Contingent
          15018 Burt St                                                       Unliquidated
          Omaha, Nebraska 68154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benford, Erika                                                      Contingent
          46 Knisley Dr                                                       Unliquidated
          Hanover, Pennsylvania 17331-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benkoski Furlin, Alison                                             Contingent
          1101 N. Cold Springs Road                                           Unliquidated
          Bull Valley, Illinois 60098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benner, Mary Jo                                                     Contingent
          1701 Claire Stevens Cir                                             Unliquidated
          Knoxville, Tennessee 37931-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benner, Matthew                                                     Contingent
          1701 Claire Stevens Cir.                                            Unliquidated
          Knoxville, Tennessee 37931-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bennett, Alicia                                                     Contingent
          7250 N. Chester Ave                                                 Unliquidated
          Indianapolis, Indiana 46240-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bennett, Christopher                                                Contingent
          32722 Via Del Venado                                                Unliquidated
          Valley Center, California 92082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 96 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 120 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bennett, Latisha                                                    Contingent
          3032 S Marsali Ave                                                  Unliquidated
          Dallas, Texas 75216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bennett, Rebekah                                                    Contingent
          401 E Ontario St #1801                                              Unliquidated
          Chicago, Illinois 60611-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bennett, Sheron                                                     Contingent
          91-11 222nd Street                                                  Unliquidated
          Queens Village, New York 11428-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bennett-West, Shaundra                                              Contingent
          1200 Plantation Dr S                                                Unliquidated
          Colleyville, Texas 76034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bennion, Nicole                                                     Contingent
          2813 South Keltic Ct                                                Unliquidated
          West Valley City, Utah 84128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bennison, Lori                                                      Contingent
          7020 Tesque Drive NW                                                Unliquidated
          Albuquerque, New Mexico 87120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benoit, Mila                                                        Contingent
          805 s 11th st                                                       Unliquidated
          Copperas cove, Texas 76522-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 97 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 121 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bensenville Elementary School District 2                            Contingent
          210 South Church Street                                             Unliquidated
          Bensenville, IL 60106
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benson Unified School District                                      Contingent
          360 S Patagonia St.                                                 Unliquidated
          Benson, AZ 85602
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benson, Breanne                                                     Contingent
          6716 Covington Creek Trail                                          Unliquidated
          Fort Wayne, Indiana 46804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benson, Ellen                                                       Contingent
          5431 W. Agatie                                                      Unliquidated
          Chicago, Illinois 60630-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bentley, Dorothy                                                    Contingent
          149 Grandveiw Ave                                                   Unliquidated
          Hamden, Connecticut 06514-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Benton, Debra                                                       Contingent
          101 West Horn Court                                                 Unliquidated
          Chapin, South Carolina 29036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bercaw, Tiffany                                                     Contingent
          151 Shipper Court                                                   Unliquidated
          Martinsburg, West Virginia 25404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 98 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 122 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berdugo, Maria                                                      Contingent
          17348 Malaga Street                                                 Unliquidated
          Fontana, California 92336-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berg, Heidi                                                         Contingent
          42770 - 259th St                                                    Unliquidated
          Emery, South Dakota 57332-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bergh, Sarah                                                        Contingent
          4087 Misty Morning Drive                                            Unliquidated
          Hermantown, Minnesota 55811-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bergstrom, Amy                                                      Contingent
          1276 Winchester Dr. NE                                              Unliquidated
          Swisher, Iowa 52338-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berhane, Rigbe                                                      Contingent
          526 Rene Ct                                                         Unliquidated
          Westerville, Ohio 43081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berkeley Bowl Produce, Inc.                                         Contingent
          920 Heinz Ave                                                       Unliquidated
          Berkeley, CA 94710
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berkeley SD 87                                                      Contingent
          1200 N Wolf Rd                                                      Unliquidated
          Berkeley, IL 60163
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 99 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 123 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berlasi, Lisa                                                       Contingent
          4771 Crooked Stick Court                                            Unliquidated
          Brighton, Michigan 48116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berlett, Sharon                                                     Contingent
          604 N Center Street                                                 Unliquidated
          La Harpe, Illinois 61450-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berlinsky, Thomas                                                   Contingent
          602 Rolling Hill Walk #201                                          Unliquidated
          Odenton, Maryland 21113-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berndt, Scott                                                       Contingent
          5004 Hibiscus Valley Drive                                          Unliquidated
          Austin, Texas 78739-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bernhardt, Christie                                                 Contingent
          1926 Midnight Pass                                                  Unliquidated
          Brownsburg, Indiana 46112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berry Global, Inc.                                                  Contingent
          101 Oakley St                                                       Unliquidated
          Evansville, IN 47710-1252
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berry, Angelique                                                    Contingent
          39 N 22nd St                                                        Unliquidated
          Columbus, Ohio 43203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 100 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 124 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berry, Bobby                                                        Contingent
          6012 Danbury St                                                     Unliquidated
          Bel Aire, Kansas 67220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berry, Dana                                                         Contingent
          13511 Krislyn Woods Place                                           Unliquidated
          Charlotte, North Carolina 28278-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berry, Debra                                                        Contingent
          1290 Cameron Drive                                                  Unliquidated
          Mobile, Alabama 36695-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berry, Jamila                                                       Contingent
          2321 Wyoming Aave                                                   Unliquidated
          Norfolk, Virginia 23513-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berte, Danielle                                                     Contingent
          2199 190th St                                                       Unliquidated
          Humboldt, Iowa 50548-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bertinelli, Rasa                                                    Contingent
          4 Barrett St                                                        Unliquidated
          4 Barrett Street
                                                                              Disputed
          Greenville, South Carolina 29601-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bertocchi, Victor                                                   Contingent
          8644 Carmen Ave                                                     Unliquidated
          Norridge, Illinois 60706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 101 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 125 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Berwyn South SD 100                                                 Contingent
          3401 S Gunderson Avenue                                             Unliquidated
          Berwyn, IL 60402
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Best Cutting Die Company                                            Contingent
          8080 McCormick Boulevard                                            Unliquidated
          Skokie, IL 60076
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Betances, Cristina                                                  Contingent
          6120 W. School Street                                               Unliquidated
          Chicago, Illinois 60634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Betancourt, Gabriela                                                Contingent
          1413 N. Quentin RD                                                  Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Betancourt-Baumann, Elsa                                            Contingent
          250 Marsh Hawk Drive                                                Unliquidated
          Vonore, Tennessee 37885-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beth LaCoste                                                        Contingent
          15525 W. 154th Street                                               Unliquidated
          Olathe, KS 66062
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Beth W. Ask                                                         Contingent
          19 Buffalo Street                                                   Unliquidated
          Cogan Station, PA 17728
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 102 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 126 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bethany Home                                                        Contingent
          321 Chestnut St.                                                    Unliquidated
          Lindsborg, KS 67456
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bethea, Brendan                                                     Contingent
          913 Olmstead Rd                                                     Unliquidated
          BALTIMORE, Maryland 21208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bethea, Deante                                                      Contingent
          10 Westfield Place                                                  Unliquidated
          Hampton, Virginia 23661-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bethesda Health Group Inc.                                          Contingent
          1630 Des Peres Road Ste. 290                                        Unliquidated
          St. Louis, MO 63131
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bethge, Amy                                                         Contingent
          119 Country Road                                                    Unliquidated
          Fairfield, Connecticut 06824-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bethshan                                                            Contingent
          12927 S. Monitor Avenue                                             Unliquidated
          Palos Heights, IL 60463
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bethune, Courtney                                                   Contingent
          1525 SE 44th Ave                                                    Unliquidated
          Apt 402
                                                                              Disputed
          Portland, Oregon 97215-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 103 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 127 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Betschman, Nicole                                                   Contingent
          9055 Thamesmeade Road                                               Unliquidated
          Apt. A
                                                                              Disputed
          Laurel, Maryland 20723-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Betteridge, Maria                                                   Contingent
          3701 Harvey Penick Cove                                             Unliquidated
          Round Rock, Texas 78664-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Betton, Aaron                                                       Contingent
          4850 S Drexel Blvd Apt 203                                          Unliquidated
          Chicago, Illinois 60615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bey, Tatiana                                                        Contingent
          306 S Kyle Dr                                                       Unliquidated
          Waukeegan, Illinois 60085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bezanilla, Kathryn                                                  Contingent
          219 Elm Street, Apt 2                                               Unliquidated
          Saratoga Springs, New York 12866-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bhargava, Meeta                                                     Contingent
          4840 Pine Street, Apt C 102                                         Unliquidated
          Philadelphia, Pennsylvania 19143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          BHC Foundation                                                      Contingent
          8888 Ladue Rd.                                                      Unliquidated
          Suite #250
                                                                              Disputed
          Saint Louis, MO 63124
          Date(s) debt was incurred 2/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 104 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 128 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bhonsale, Nutan                                                     Contingent
          112 Cedarbrook Rd.                                                  Unliquidated
          Naperville, Illinois 60565-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bhullar, Amrita                                                     Contingent
          38 Avignon Ave                                                      Unliquidated
          Foothill Rach, California 92610-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bi State Development Agency                                         Contingent
          211 N. Broadway                                                     Unliquidated
          Suite 700
                                                                              Disputed
          St. Louis, MO 63102
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bibbentuckers, LLC                                                  Contingent
          4245 N. Central Exp. #510                                           Unliquidated
          Dallas, TX 75205
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bibens, Michelle                                                    Contingent
          601 N. 6th St. Ct.                                                  Unliquidated
          Princeton, Iowa 52768-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bicheler, Melissa                                                   Contingent
          3402 E Blacklidge Dr                                                Unliquidated
          Tucson, Arizona 85716-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bickford, Jennifer                                                  Contingent
          1905 Margaret St E.                                                 Unliquidated
          St. Paul, Minnesota 55119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 105 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 129 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bickham, Brittany                                                   Contingent
          11555 Southfork Ave, Apt 3060                                       Unliquidated
          Baton Rouge, Louisiana 70816-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bickham, Shamaleitha                                                Contingent
          107 Comfort Street                                                  Unliquidated
          Rochester, New York 14620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bideaux, Albert                                                     Contingent
          8 Central Drive #4                                                  Unliquidated
          Jamaica, New York 10954-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Big Horn County                                                     Contingent
          121 West 3rd St..                                                   Unliquidated
          Hardin, MT 59034
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bigham, Marquita                                                    Contingent
          8103 Penrod                                                         Unliquidated
          Houston, Texas 77028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bilder, Eric                                                        Contingent
          3105 Rustown Dr.                                                    Unliquidated
          Mesquite, Texas 75150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Billesbach, Ryne                                                    Contingent
          2488 Circle Drive                                                   Unliquidated
          Belvidere, Illinois 61008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 106 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 130 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Billings, Rachele                                                   Contingent
          1121 Oak Avenue North                                               Unliquidated
          Onalaska, Wisconsin 54650-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Billings, Sara                                                      Contingent
          360 Old Menchville Rd                                               Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Billock, Shawn                                                      Contingent
          4346 Dogwood Lane                                                   Unliquidated
          Toledo, Ohio 43623-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bingaman, Karon                                                     Contingent
          4902 James Ct                                                       Unliquidated
          Abilene, Texas 79606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bingham, Cynthia                                                    Contingent
          501 E. Avenue G, Apt B                                              Unliquidated
          Jerome, Idaho 83338-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Binus, Christine                                                    Contingent
          30402 Ne 98th Ave                                                   Unliquidated
          Battle Ground, Washington 98604-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Binyamin, Maryanna                                                  Contingent
          9028 N Cumberland Ave, Apt 1E                                       Unliquidated
          Niles, Illinois 60714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 107 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 131 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Birchman, Christina                                                 Contingent
          18857 8th Ave NW                                                    Unliquidated
          Shoreline, Washington 98177-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bird, Stephanie                                                     Contingent
          2374 England Street                                                 Unliquidated
          Chico, California 95928-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bird-X, Inc.                                                        Contingent
          300 N. Oakley Blvd.                                                 Unliquidated
          Chicago, IL 60612
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Birdsall, John                                                      Contingent
          56 S Shaddle Ave                                                    Unliquidated
          Apt 112
                                                                              Disputed
          Mundelein, Illinois 60060-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bireline, Gail                                                      Contingent
          6568 E. Circulo Dali                                                Unliquidated
          Anaheim, California 92807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Birge, Jamie                                                        Contingent
          6 Tanglewood Drive                                                  Unliquidated
          Collinsville, Illinois 62234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bisbee Unified School District                                      Contingent
          100 Old Douglas Road                                                Unliquidated
          Bisbee, AZ 85603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 108 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 132 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bischoff, Mary                                                      Contingent
          3034 Iowa Ave                                                       Unliquidated
          Ogden, Utah 84403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bisek, Sylvia                                                       Contingent
          1125 S. Ebenezer Ave, Apt 140                                       Unliquidated
          Sioux Falls, South Dakota 57106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bishop, Erin                                                        Contingent
          1326 Gay Street                                                     Unliquidated
          Longmont, Colorado 80501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bishop, Karen                                                       Contingent
          11780 E Sand Hills Rd                                               Unliquidated
          Scottsdale, Arizona 85255-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bissmeyer, Jennifer                                                 Contingent
          5531 Oak View Terrace                                               Unliquidated
          Liberty Township, Ohio 45011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bitzer Scroll                                                       Contingent
          6055 Old Ct St                                                      Unliquidated
          Syracuse, NY 13206
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blachford, Inc.                                                     Contingent
          1400 Nuclear Drive                                                  Unliquidated
          West Chicago, IL 60185
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 109 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 133 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Black Equipment Company, Inc                                        Contingent
          2685 Pembroke Rd                                                    Unliquidated
          Hopkinsville, KY 42240
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.00
          Black Hills Surgical Hospital LLP                                   Contingent
          PO Box 817                                                          Unliquidated
          Rapid City, SD 57709
                                                                              Disputed
          Date(s) debt was incurred 4/3/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Black, Kim                                                          Contingent
          430 Buckingham Rd                                                   Unliquidated
          Apt 727
                                                                              Disputed
          Richardson, Texas 75081-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Black, Vincent                                                      Contingent
          2725 Kimberly Drive                                                 Unliquidated
          Murfreesboro, Tennessee 37129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blackburn, Rebecca                                                  Contingent
          108 Standing Rock Road                                              Unliquidated
          Deer Lodge, Tennessee 37726-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blackie, Sandra                                                     Contingent
          2949 Garnet Ave.                                                    Unliquidated
          San Diego, California 92109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blackline Systems                                                   Contingent
          21300 Victory Blvd 12th Floor                                       Unliquidated
          Woodland Hills, CA 91367
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 110 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 134 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blackman, Sarah                                                     Contingent
          2100 W 68th St                                                      Unliquidated
          Mission Hills, Kansas 66208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blackwell, Lisa                                                     Contingent
          1612 Pennsylvania Ave                                               Unliquidated
          Austin, Texas 78702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blaine County                                                       Contingent
          420 Ohio St N                                                       Unliquidated
          Chinook, MT 59523
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blair, Caitlin                                                      Contingent
          8309 Prospect Lane                                                  Unliquidated
          Ashland, Virginia 23005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blair, Erica                                                        Contingent
          2130 Highland St                                                    Unliquidated
          Helena, Montana 59601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blair, Jody                                                         Contingent
          5494 Koester Knoll                                                  Unliquidated
          Batavia, Ohio 45103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blake, Barbara                                                      Contingent
          3072 Monet Dr                                                       Unliquidated
          Virginia Beach, Virginia 23453-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 111 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 135 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blake, Mary                                                         Contingent
          521 E. Windsor Dr. Apt 102                                          Unliquidated
          Denton, Texas 76209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blanco Electric LTD Co.                                             Contingent
          915 Lehman St.                                                      Unliquidated
          Houston, TX 77018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blander, Andrea                                                     Contingent
          2817 Saddlebred Ct                                                  Unliquidated
          Glenwood, Maryland 21738-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blaney, Cecilia                                                     Contingent
          4097 Buck Brush Lane                                                Unliquidated
          Lake Oswego, Oregon 97035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blatz, Lynda                                                        Contingent
          9762 Crane Drive                                                    Unliquidated
          Myrtle Beach, South Carolina 29572-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blaue, Sharon                                                       Contingent
          2713 - 68th St                                                      Unliquidated
          Urbandale, Iowa 50322-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bledsoe, Vanessa                                                    Contingent
          6242 N Cheyenne Ave                                                 Unliquidated
          Tulsa, Oklahoma 74126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 112 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 136 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bleistein, Ashley                                                   Contingent
          380 Laurie Lane                                                     Unliquidated
          Grand Island, New York 14072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bless, Brittany                                                     Contingent
          96 Basswood Dr                                                      Unliquidated
          Cheektowaga, New York 14227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bless, Michael                                                      Contingent
          2509 Lawndale Ave                                                   Unliquidated
          Rockford, Illinois 61101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bletko, Christina                                                   Contingent
          PO Box 885                                                          Unliquidated
          Preston, Washington 98050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blevins, Brittany                                                   Contingent
          167 Eunice Lane                                                     Unliquidated
          Montclam, West Virginia 24737-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bleyhl Farm Service, Inc.                                           Contingent
          940 E Wine Country Rd                                               Unliquidated
          Grandview, WA 98930
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blick Art Materials (formerly Dick Blick                            Contingent
          695 US Highway 150 East                                             Unliquidated
          Galesburg, IL 61401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 113 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 137 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bloch Klepper, Susan                                                Contingent
          206 Martelllago                                                     Unliquidated
          Nokomis, Florida 34275-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blocher, Tricia                                                     Contingent
          949 Fremont Way                                                     Unliquidated
          Sacramento, California 95818-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blohm, Rana                                                         Contingent
          5843 N. Kenmore                                                     Unliquidated
          Chicago, Illinois 60660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blok, Ryan                                                          Contingent
          7977 Paseo Membrillo                                                Unliquidated
          Carlsbad, California 92009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blonk, Heather                                                      Contingent
          13133 37th Ave                                                      Unliquidated
          Chippewa Falls, Wisconsin 54729-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bloomingdale SD 13                                                  Contingent
          164 South Euclid Ave                                                Unliquidated
          Bloomingdale, IL 60108
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blosser, Kelly                                                      Contingent
          105 Pleasant View Drive                                             Unliquidated
          Etters, Pennsylvania 17319-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 114 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 138 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blount County Government                                            Contingent
          337 Court St.                                                       Unliquidated
          Maryville, TN 37804
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blue Valley Recreation Commission                                   Contingent
          6545 W. 151 Street                                                  Unliquidated
          Overland Park, KS 66223
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bluff Holdings, Inc.                                                Contingent
          1400 Everman Parkway                                                Unliquidated
          Fort Worth, TX 76140
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bluffton Harrison MSD                                               Contingent
          805 E. Harrison St                                                  Unliquidated
          Bluffton, IN 46714
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blum, Lauren                                                        Contingent
          11094 Hidden Trail Drive                                            Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blumell, Charla                                                     Contingent
          131 Red Lake Street                                                 Unliquidated
          Garner, North Carolina 27529-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blumenthal, Alison                                                  Contingent
          1906 Rambling Ridge Lane Apt 1                                      Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 115 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 139 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Blunt, Myranda                                                      Contingent
          6502 E 45th St                                                      Unliquidated
          Sioux Falls, South Dakota 57110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BMWC Constructors Inc.                                              Contingent
          1740 W. Michigan St.                                                Unliquidated
          Indianapolis, IN 46222
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Board of Education-City of Meriden                                  Contingent
          22 Liberty Street                                                   Unliquidated
          Meriden, CT 06450
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boateng, Bernice                                                    Contingent
          811 Issaqueena Trail                                                Unliquidated
          Apt #1408
                                                                              Disputed
          Central, South Carolina 29630-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boatright, Amanda                                                   Contingent
          2410 W Bloomingdale                                                 Unliquidated
          Apt 3C
                                                                              Disputed
          Chicago, Illinois 60647-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bobian, Stephen                                                     Contingent
          7747 Umatilla St.                                                   Unliquidated
          Denver, Colorado 80221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bochsler, Amanda                                                    Contingent
          2350 SW 331st                                                       Unliquidated
          Hillsboro, Oregon 97123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 116 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 140 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bocke, Eleanor                                                      Contingent
          1823 Vermont                                                        Unliquidated
          Quincy, Illinois 62301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bodemuller, Dorothy                                                 Contingent
          18034 N 41st Street                                                 Unliquidated
          Apt 1
                                                                              Disputed
          Phoenix, Arizona 85032-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boden Store Fixtures, Inc.                                          Contingent
          5335 NE 109th Ave                                                   Unliquidated
          Portland, OR 97220
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bodiford, Donna                                                     Contingent
          26615 Snuggle Valley                                                Unliquidated
          San Antonio, Texas 78260-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boehm, Luke                                                         Contingent
          309 Bellwood Ct                                                     Unliquidated
          Cranberry, Pennsylvania 16066-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bogle, Marci                                                        Contingent
          2710 West Columbine Lane                                            Unliquidated
          Wichita, Kansas 67204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bogner, Thomas                                                      Contingent
          3127 Post Oak Tritt Road                                            Unliquidated
          Marietta, Georgia 30062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 117 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 141 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bohannon, Mary                                                      Contingent
          2 Easterly Drive                                                    Unliquidated
          East Sandwich, Massachusetts 02563-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bojes, Rebecca                                                      Contingent
          1352 narragansett dr                                                Unliquidated
          carol stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bolam, Margaret                                                     Contingent
          1328 E. Granary Ct                                                  Unliquidated
          Spokane, Washington 99208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bolden, Gary                                                        Contingent
          1612 Old Drummer Boy Lane                                           Unliquidated
          Fort Washington, Maryland 20744-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bolden, Raquita                                                     Contingent
          211 East Ohio Street apt 1205                                       Unliquidated
          Chicago, Illinois 60611-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boldizsar, Brenda                                                   Contingent
          650 River Falls Court                                               Unliquidated
          Roswell, Georgia 30076-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bolds, Rakeshia                                                     Contingent
          5200 Adams Drive                                                    Unliquidated
          The Colony, Texas 75056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 118 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 142 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boley, Brooke                                                       Contingent
          5201 Riggs                                                          Unliquidated
          Mission, Kansas 66202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bolo, Mary                                                          Contingent
          9998 Clarksburg Rd                                                  Unliquidated
          Eden, New York 14057-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bolton, Courtney                                                    Contingent
          263 Beverly Road                                                    Unliquidated
          Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boluwaji, Sherifat                                                  Contingent
          6332 Wallard Drive                                                  Unliquidated
          Indianapolis, Indiana 46224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bommarito, Julie                                                    Contingent
          333 Michigan Ave                                                    Unliquidated
          South Haven, Michigan 49090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bond, Neila                                                         Contingent
          9485 North 47th Street                                              Unliquidated
          Brown Deer, Wisconsin 53223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bonet, Melissa                                                      Contingent
          6965 Batiquitos Drive                                               Unliquidated
          Carlsbad, California 92011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 119 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 143 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bongiovi, Rebecca                                                   Contingent
          12430 Oxford Park Dr                                                Unliquidated
          Apt. 439
                                                                              Disputed
          Houston, Texas 77082-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bonilla, Gladis                                                     Contingent
          414 Unicorn Ranch                                                   Unliquidated
          San Antonio, Texas 78245-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bonino, Jessica                                                     Contingent
          2431 Stanton Cir                                                    Unliquidated
          Lake in the Hills, Illinois 60156-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bonitas School District                                             Contingent
          13636 - Sunset Route Box 1                                          Unliquidated
          Wilcox, AZ 85643
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bonner, Christopher                                                 Contingent
          55 Angle Rd 24                                                      Unliquidated
          West Seneca, New York 14224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bontrager, Tonya                                                    Contingent
          6949 Sumner St                                                      Unliquidated
          Wellington, Colorado 80549-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Booker, Nadia                                                       Contingent
          10770 SW 150th Terr                                                 Unliquidated
          Miami, Florida 33176-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 120 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 144 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Booker, Robin                                                       Contingent
          1220 N. Scott St, Apt 305                                           Unliquidated
          Arlington, Virginia 22209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Booker, Sonya                                                       Contingent
          5728 Warning Street                                                 Unliquidated
          Virginia Beach, Virginia 23464-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bordessa, Jacqueline                                                Contingent
          609 16th Street, Apt C                                              Unliquidated
          Sacramento, California 95814-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boren, Cody                                                         Contingent
          2401 Wyndhurst Court                                                Unliquidated
          York, Pennsylvania 17408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boretzky, Stephen                                                   Contingent
          352 Townsend Road                                                   Unliquidated
          Baltimore, Maryland 21221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Borg, Christina                                                     Contingent
          7855 Jackson St                                                     Unliquidated
          Spring Lake Park, Minnesota 55432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Borges Espinosa, Luis                                               Contingent
          833 Village Quarter Road                                            Unliquidated
          Apt A7
                                                                              Disputed
          West Dundee, Illinois 60118-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 121 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 145 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Borkowski, Jennifer                                                 Contingent
          5904 NE Pearl Circle                                                Unliquidated
          Lees Summit, Missouri 64064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Borle, Monica                                                       Contingent
          396 White Fence Dr                                                  Unliquidated
          Westminster, Maryland 21157-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bornemann, Collette                                                 Contingent
          420 bornemann rd                                                    Unliquidated
          Hyde Park, Vermont 05655-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bornick, Kendra                                                     Contingent
          872 State Street                                                    Unliquidated
          River Falls, Wisconsin 54022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Borsheims                                                           Contingent
          120 Regency Pkwy                                                    Unliquidated
          Omaha, NE 68114
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boschetto, Michele                                                  Contingent
          3244 E. Morenci Rd                                                  Unliquidated
          San Tan Valley, Arizona 85143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boseman, Charita                                                    Contingent
          180 S Van Dorn St. #b220                                            Unliquidated
          Alexandria, Virginia 22304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 122 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 146 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boska, Anita                                                        Contingent
          515 1/2 Whitman                                                     Unliquidated
          Rockford, Illinois 61103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bosso, Andrew                                                       Contingent
          332 East Chester Street                                             Unliquidated
          Long Beach, New York 11561-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bostick, Tiffany                                                    Contingent
          213 Southshore Place                                                Unliquidated
          Webster, New York 14580-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boswell, Aryian                                                     Contingent
          1420 greentree valley ct 7                                          Unliquidated
          memphis, Tennessee 38119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boswell, Gay                                                        Contingent
          7 Frampton Ln                                                       Unliquidated
          Bella Vista, Arkansas 72714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bosworth, Barbara                                                   Contingent
          83 Burning Tree Drive                                               Unliquidated
          Chesterfield, Missouri 63017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.858    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BOTTCHER SYSTEMS                                                    Contingent
          4600 Mercedes Dr.                                                   Unliquidated
          Belcamp, MD 21017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 123 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 147 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.859    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bottemuller, Kaylin                                                 Contingent
          404 Woodson Lane                                                    Unliquidated
          Greenwood, Missouri 64034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.860    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bouchamoun, Danielle                                                Contingent
          44 Pavilica Road                                                    Unliquidated
          Stockton, New Jersey 08559-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.861    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boucher, Annalyse                                                   Contingent
          1204 Salem Avenue                                                   Unliquidated
          Hillside, New Jersey 07205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.862    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boudet, Ashley                                                      Contingent
          1990 Bay Drive #17                                                  Unliquidated
          Miami Beach, Florida 33141-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.863    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boukhelif Yahia, Fatima Zohra                                       Contingent
          78 Holly Drive                                                      Unliquidated
          Crystal Lake, Illinois 60014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.864    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boulanger, Monica                                                   Contingent
          18067 Kimberly Sue Ct                                               Unliquidated
          Lake Elsinore, California 92532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.865    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bouse Elementary School                                             Contingent
          P.O. Box S / 44936 Joshua Rd.                                       Unliquidated
          Bouse, AZ 85328
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 124 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 148 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.866    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bouthilette, Barry                                                  Contingent
          3 Trinity Row                                                       Unliquidated
          Florence, Massachusetts 01061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.867    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bovard, Amy                                                         Contingent
          99 Forest Hill Drive                                                Unliquidated
          Munroe Falls, Ohio 44262-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.868    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bove, Nicholas                                                      Contingent
          192 West Islip Road                                                 Unliquidated
          West Islip, New York 11795-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.869    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bowen, Cynthia                                                      Contingent
          804 - 57th Place                                                    Unliquidated
          West Des Moines, Iowa 50266-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.870    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bowles, Carly                                                       Contingent
          4589 clearview st                                                   Unliquidated
          Salt Lake City, Utah 84117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.871    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bowley, Laura                                                       Contingent
          5921 North 110th Circle                                             Unliquidated
          Omaha, Nebraska 68164-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.872    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bowman, Alexis                                                      Contingent
          3006 Persimmon Drive                                                Unliquidated
          Killeen, Texas 76543-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 125 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 149 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.873    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bowsher, Linda                                                      Contingent
          3308 Teckla Blvd                                                    Unliquidated
          Amarillo, Texas 79106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.874    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyce Thompson Institute                                            Contingent
          533 Tower Road                                                      Unliquidated
          Ithaca, NY 14853
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.875    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyce, Kristin                                                      Contingent
          6350 Partridge St                                                   Unliquidated
          Norfolk, Virginia 23513-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.876    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyd, Amanda                                                        Contingent
          PO Box 244                                                          Unliquidated
          Lebanon, Illinois 62254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.877    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyd, Koosje                                                        Contingent
          14936 Nw Twinflower Dr                                              Unliquidated
          Portland, Oregon 97229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.878    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyd-Buggs, LeVette                                                 Contingent
          1611 Heatherglade Lane                                              Unliquidated
          Lawrenceville, Georgia 30045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.879    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyette, Tyrona Renee                                               Contingent
          7095 Brace St                                                       Unliquidated
          Houston, Texas 77061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 126 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 150 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.880    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyko, Rachael                                                      Contingent
          1882 S. Pennsylvania St                                             Unliquidated
          Denver, Colorado 80210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.881    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyle, Deborah                                                      Contingent
          11 Moore Street                                                     Unliquidated
          Wilmington, Massachusetts 01887-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.882    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boyll, Vicki                                                        Contingent
          9621 S Lakeridge Drive                                              Unliquidated
          Unit 130
                                                                              Disputed
          Bloomington, Indiana 47401-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.883    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bozek, Arlene                                                       Contingent
          120 Windmill Blvd                                                   Unliquidated
          North Ft Myers, Florida 33903-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.884    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.00
          Bozeman Health                                                      Contingent
          1600 Ellis St. Box 9                                                Unliquidated
          Bozeman, MT 59715
                                                                              Disputed
          Date(s) debt was incurred      4/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.885    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bozeman Motors                                                      Contingent
          2900 North 19th Avenue                                              Unliquidated
          Bozeman, MT 59718
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.886    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bracken, Jennifer                                                   Contingent
          8387 Oakwood Ave NE                                                 Unliquidated
          PO Box 453
                                                                              Disputed
          Otsego, Minnesota 55330-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 127 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 151 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.887    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Braden, Brandi                                                      Contingent
          Po Box 31                                                           Unliquidated
          Delight, Arkansas 71940-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.888    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bradford, Laura                                                     Contingent
          217 Fuller Street                                                   Unliquidated
          Brookline, Massachusetts 02446-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bradley, Wendy                                                      Contingent
          3714 Pulsar Drive                                                   Unliquidated
          Garland, Texas 75044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bradshaw, Diamond                                                   Contingent
          14800 Shepard Rd                                                    Unliquidated
          Dolton, Illinois 60419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bradshaw, Garlaina                                                  Contingent
          209 Copper Ridge Way                                                Unliquidated
          Florence, Mississippi 39073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bradway, Jerelyn                                                    Contingent
          4305 Gary Lee Dr.                                                   Unliquidated
          Kokomo, Indiana 46902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.893    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brady, Hannah                                                       Contingent
          109 Gable Hill Rd                                                   Unliquidated
          Levittown, Pennsylvania 19057-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 128 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 152 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.894    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brady, Jessica                                                      Contingent
          7198 Colosseum Dr #125                                              Unliquidated
          Rockford, Illinois 61107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.895    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Braet, Karla                                                        Contingent
          6 Villa Verde Dr                                                    Unliquidated
          Apt 315
                                                                              Disputed
          Buffalo Grove, Illinois 60089-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.896    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Braham, Denise                                                      Contingent
          9132 S Pulaski Road                                                 Unliquidated
          Oak Lawn, Illinois 60453-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.897    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brain, Kathleen                                                     Contingent
          465 Harman Street Apt 3l                                            Unliquidated
          Brooklyn, New York 11237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.898    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bramlish, Michael                                                   Contingent
          5017 Flynnhave Ct                                                   Unliquidated
          Columbus, Ohio 43221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.899    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brand, Laura                                                        Contingent
          7101 5th Ave NE                                                     Unliquidated
          Sauk Rapids, Minnesota 56379-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.900    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brander, Stacey                                                     Contingent
          1312 Griggs St SE                                                   Unliquidated
          Grand Rapids, Michigan 49507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 129 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 153 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.901    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brandon, Jada                                                       Contingent
          962 Maple Drive                                                     Unliquidated
          Memphis, Tennessee 38108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.902    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brandy, Micaela                                                     Contingent
          87 Deerberry Drive                                                  Unliquidated
          Magnolia, Delaware 19962-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.903    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brannock, Kristen                                                   Contingent
          500 Cascade Falls Lane                                              Unliquidated
          Apt. 207
                                                                              Disputed
          Durham, North Carolina 27713-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.904    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brant, Richard                                                      Contingent
          9528 Spanish Moss Lane                                              Unliquidated
          Sun City, Arizona 85373-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.905    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brantley, Antarnisear                                               Contingent
          311 Scott Street Apt# 118                                           Unliquidated
          Atlanta, Georgia 30311-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.906    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brantner, Nancy                                                     Contingent
          1615 Freeman Rd                                                     Unliquidated
          Hoffman Estates, Illinois 60192-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.907    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brasher, Victoria                                                   Contingent
          336 Village Drive                                                   Unliquidated
          Calera, Alabama 35040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 130 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 154 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.908    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Braswell, Evan                                                      Contingent
          304 SE Railroad Street                                              Unliquidated
          Bronte, Texas 76933-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.909    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bratcher, Brittny                                                   Contingent
          7447 Towerview Lane                                                 Unliquidated
          Missouri City, Texas 77489-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.910    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bravo, Michelle                                                     Contingent
          18068 W Rimrock St                                                  Unliquidated
          Surprise, Arizona 85388-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.911    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brawley, Sarah                                                      Contingent
          511 Kerri Cove Court                                                Unliquidated
          Apt 103
                                                                              Disputed
          Midlothian, Virginia 23113-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.912    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Braxton, Tanisha                                                    Contingent
          142 Chapel Neck Road                                                Unliquidated
          North, Virginia 23128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.913    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Breeding Insulation Company                                         Contingent
          2802 Sheridan Street                                                Unliquidated
          Knoxville, TN 37921
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.914    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Breene, Jerri                                                       Contingent
          18140 Westminster Dr                                                Unliquidated
          Lake Oswego, Oregon 97034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 131 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 155 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.915    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bregoli, Anne                                                       Contingent
          116 Monatiquot Ave                                                  Unliquidated
          Braintree, Massachusetts 02184-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.916    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Breitner, Emily                                                     Contingent
          5743 SIGLER RD                                                      Unliquidated
          South Rockwood, Michigan 48179-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.917    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BRENNAN EQUIPMENT AND                                               Contingent
          MANUFACTURING, INC                                                  Unliquidated
          730 Central Avenue
                                                                              Disputed
          University Park, IL 60484
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.918    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brennan, Carole                                                     Contingent
          404 Mineral Ave                                                     Unliquidated
          Bozeman, Montana 59718-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.919    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Breon, Amanda                                                       Contingent
          1182 Palmwood Ct                                                    Unliquidated
          Arnold, Maryland 21012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.920    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Breuer, Logan                                                       Contingent
          39303 215th Avenue                                                  Unliquidated
          Goodhue, Minnesota 55027-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.921    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brewer, Adam                                                        Contingent
          7924 Martin Bluff Road                                              Unliquidated
          Gautier, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 132 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 156 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.922    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brewer, Melinda                                                     Contingent
          7853 S. Joplin Ave                                                  Unliquidated
          Tulsa, Oklahoma 74136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.923    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brewer, Tracy                                                       Contingent
          3002 Rib Mountain Way                                               Unliquidated
          Wausau, Wisconsin 54401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.924    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brewster, Jill                                                      Contingent
          122 North Berwick Lane                                              Unliquidated
          Franklin, Tennessee 37069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.925    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brewster-McCarthy, Wayne                                            Contingent
          2010 Spencer Oaks Lane                                              Unliquidated
          Lithonia, Georgia 30058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.926    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.00
          Bridger Orthopedic and Sports Medicine P                            Contingent
          P.O Box 17177                                                       Unliquidated
          Belfast, ME 04915
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.927    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bridgers & Paxton Consulting Engineering                            Contingent
          4600-C Montgomery Boulevard NE                                      Unliquidated
          Albuquerque, NM 87109
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.928    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bridges, Melissa                                                    Contingent
          8536 N Eastern Ave                                                  Unliquidated
          Kansas City, Missouri 64157-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 133 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 157 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.929    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bridges-Owens, Jacqueline                                           Contingent
          279 Hoxie Avenue                                                    Unliquidated
          Calumet City, Illinois 60409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.930    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bridgford, Ashley                                                   Contingent
          705 Moraine Ct, Apt 103                                             Unliquidated
          Virginia Beach, Virginia 23455-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.931    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bright, Ariel                                                       Contingent
          4400 Wakefield Dr                                                   Unliquidated
          Virginia Beach, Virginia 23455-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.932    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brill, Pamela                                                       Contingent
          437 E Kaliste Saloom #6                                             Unliquidated
          Lafayette, Louisiana 70508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.933    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brillantino, Joseph                                                 Contingent
          42 Page Lane                                                        Unliquidated
          Westbury, New York 11590-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.934    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brinkley, Monika                                                    Contingent
          603 cobblestone circle                                              Unliquidated
          newport news, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.935    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brinson, David                                                      Contingent
          768 Dorchester Court                                                Unliquidated
          Smyrna, Delaware 19977-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 134 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 158 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.936    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Briscoe, Colleen                                                    Contingent
          1210 S. Parkside Dr                                                 Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.937    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Briski, Felicia                                                     Contingent
          2310 Hamilton-Middletown Road                                       Unliquidated
          Hamilton, Ohio 45011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.938    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Briski, Melissa                                                     Contingent
          2310 Hamilton-Middletown Rd                                         Unliquidated
          Hamilton, Ohio 45011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.939    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brissette, Christina                                                Contingent
          1306 South Hanover Street                                           Unliquidated
          Baltimore, Maryland 21230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.940    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brisson, Marianne                                                   Contingent
          5439 Nw 5th Ct                                                      Unliquidated
          Miami, Florida 33127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.941    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bristlecone, Inc                                                    Contingent
          10 Almaden Boulevard Suite 600                                      Unliquidated
          San Jose, CA 95113
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.942    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Britt, Earl                                                         Contingent
          1312 Cobblestone Road                                               Unliquidated
          Dayton, Ohio 45432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 135 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 159 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.943    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brittin, Averie                                                     Contingent
          704 Melvin Road                                                     Unliquidated
          Telford, Pennsylvania 18969-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.944    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Britton, Tobie                                                      Contingent
          5702 Fair Forest Dr                                                 Unliquidated
          Houston, Texas 77088-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.945    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brixius, Jessa                                                      Contingent
          1904 Main Street NW                                                 Unliquidated
          Elk River, Minnesota 55330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.946    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Broadhead Jr, Robert                                                Contingent
          1101 S Quinlan Park Rd                                              Unliquidated
          Austin, Texas 78732-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.947    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $121.40
          Broadwater Health Center                                            Contingent
          110 N Oak Street                                                    Unliquidated
          Townsend, MT 59644
                                                                              Disputed
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.948    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brock, Ekayi                                                        Contingent
          401 Rosewood Drive                                                  Unliquidated
          Belleville, Illinois 62223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.949    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brock, Lindsay                                                      Contingent
          1779 Goldsboro Lane                                                 Unliquidated
          Crystal Lake, Illinois 60014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 136 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 160 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.950    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brockmeyer, James                                                   Contingent
          18304 94th Ave NE                                                   Unliquidated
          Bothell, Washington 98011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.951    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brom, Barbara                                                       Contingent
          1560 S. Queen Street                                                Unliquidated
          Lakewood, Colorado 80232-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.952    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bronzie, Angela                                                     Contingent
          3216 Grischy Lane                                                   Unliquidated
          Cincinnati, Ohio 45208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.953    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brookfield SD 95                                                    Contingent
          3724 Prairie Ave                                                    Unliquidated
          Brookfield, IL 60513
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.954    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Angie                                                       Contingent
          2800 Tranquility Lk Blvd                                            Unliquidated
          #5306 P.O. Box 841213
                                                                              Disputed
          Pearland, Texas 77584-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.955    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Artelia                                                     Contingent
          8352 S Ellis                                                        Unliquidated
          Apt 201
                                                                              Disputed
          Chicago, Illinois 60619-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.956    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Ashley                                                      Contingent
          3130 North Lake Shore Dr #1004                                      Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 137 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 161 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.957    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Bobbie                                                      Contingent
          1339 Mack Road                                                      Unliquidated
          Asheboro, North Carolina 27205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.958    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Brandie                                                     Contingent
          522 Riverwood Dr                                                    Unliquidated
          Dallas, Georgia 30157-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.959    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Jasmine                                                     Contingent
          10 Hertel Ave, #1304                                                Unliquidated
          Buffalo, New York 14207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.960    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Pamela                                                      Contingent
          56 Lakeview Terrace Drive                                           Unliquidated
          Altoona, Florida 32702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.961    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Rebecca                                                     Contingent
          9 Horizon Drive                                                     Unliquidated
          Simpsonville, South Carolina 29681-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.962    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Sandra                                                      Contingent
          6314 Gladewell Drive                                                Unliquidated
          Houston, Texas 77072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.963    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, TaMar                                                       Contingent
          3918 Atascocita rd apt 1512                                         Unliquidated
          Humble, Texas 77396-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 138 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 162 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.964    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks, Tiffany                                                     Contingent
          1740 Sotogrande Blvd #117                                           Unliquidated
          Hurst, Texas 76053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.965    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brooks-Dupla, Brandale                                              Contingent
          1067 Gladstone Dr                                                   Unliquidated
          League City, Texas 77573-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.966    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.50
          Brooks-TLC Hospital System                                          Contingent
          529 Central Ave                                                     Unliquidated
          Dunkirk, NY 14048
                                                                              Disputed
          Date(s) debt was incurred 3/17/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.967    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brookwood School District 167                                       Contingent
          201 East Glenwood-Dyer Road                                         Unliquidated
          Glenwood, IL 60425
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.968    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Broshear, Amie                                                      Contingent
          2518 Crosspark Drive                                                Unliquidated
          Murfreesboro, Tennessee 37129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.969    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Broughton, Allen                                                    Contingent
          1235 Dublin Ct                                                      Unliquidated
          Woodstock, Illinois 60098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.970    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Broughton, Sheila                                                   Contingent
          1142 Billy Kirk RD                                                  Unliquidated
          Heath Springs, South Carolina 29058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 139 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 163 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.971    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown & Crouppen                                                    Contingent
          211 N. Broadway                                                     Unliquidated
          St. Louis, MO 63102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.972    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown Dorsey, Tracy                                                 Contingent
          981 WINNING COLORS                                                  Unliquidated
          WILMER, Texas 75172-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.973    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Allison                                                      Contingent
          1005 13th Street                                                    Unliquidated
          Highland, Illinois 62249-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.974    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Angelica                                                     Contingent
          PO Box 2746                                                         Unliquidated
          Gary, Indiana 46403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.975    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Bialajah                                                     Contingent
          11 Mistywood Circle A                                               Unliquidated
          Lutherville Timonium, Maryland 21093-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.976    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Blake                                                        Contingent
          328 Walton Lane                                                     Unliquidated
          Madison, Tennessee 37115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.977    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Bria                                                         Contingent
          12613 Seattle Slew Dr. 3307                                         Unliquidated
          Houston, Texas 77065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 140 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 164 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.978    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Carolin                                                      Contingent
          5402 Kermit                                                         Unliquidated
          Flint, Michigan 48505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.979    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Carrie                                                       Contingent
          2158 Mirasol Dr                                                     Unliquidated
          Winter Haven, Florida 33881-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.980    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Cassondra                                                    Contingent
          2259 Doris Drive                                                    Unliquidated
          Decatur, Georgia 30034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.981    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Chantay                                                      Contingent
          101 Aspen Court                                                     Unliquidated
          Prince George, Virginia 23875-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.982    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Clarisa                                                      Contingent
          17421 NE 32nd St                                                    Unliquidated
          Vancouver, Washington 98682-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.983    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Courtney                                                     Contingent
          3801 Dina Terrace                                                   Unliquidated
          #10
                                                                              Disputed
          Cheviot, Ohio 45211-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.984    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Darryl                                                       Contingent
          15533 North Nemo Ct.                                                Unliquidated
          Bowie, Maryland 20716-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 141 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 165 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.985    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Deborah                                                      Contingent
          9841 Jefferson Pkwy                                                 Unliquidated
          Apartment A3
                                                                              Disputed
          Englewood, Colorado 80112-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.986    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Debra                                                        Contingent
          1S291 Ingersoll Lane                                                Unliquidated
          Villa Park, Illinois 60181-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.987    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Devon                                                        Contingent
          105 - Fourth Ave #402                                               Unliquidated
          Murfreesboro, Tennessee 37130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.988    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Jasmine                                                      Contingent
          79 Swanson Parkway                                                  Unliquidated
          Portsmouth, Virginia 23704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.989    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Jason                                                        Contingent
          5362 Hannah View Dr                                                 Unliquidated
          Fairfield, Ohio 45014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.990    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Johnathan                                                    Contingent
          400 Palisides Drive                                                 Unliquidated
          Aberdeen, North Carolina 28315-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.991    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, LaTasha                                                      Contingent
          1021 Windgrove Trail                                                Unliquidated
          Maitland, Florida 32751-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 142 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 166 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.992    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Lisa                                                         Contingent
          1890 Arden Drive                                                    Unliquidated
          Allison Park, Pennsylvania 15101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.993    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Marie                                                        Contingent
          2214 W. Waren Blvd                                                  Unliquidated
          Chicago, Illinois 60612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.994    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Melissa                                                      Contingent
          118 Norman RD                                                       Unliquidated
          Magee, Mississippi 39111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.995    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Nadia                                                        Contingent
          2505 Bender Road                                                    Unliquidated
          #60
                                                                              Disputed
          Texarkana, Texas 75501-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.996    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Patricia                                                     Contingent
          336 Ogden Road                                                      Unliquidated
          Apt A
                                                                              Disputed
          Wenonah, New Jersey 08090-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.997    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Sandra                                                       Contingent
          6170 Silberman Drive                                                Unliquidated
          San Jose, California 95120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.998    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Sheila                                                       Contingent
          800 Pleasant Street                                                 Unliquidated
          Henrico, Virginia 23075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 143 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 167 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.999    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Shelley                                                      Contingent
          1258 Stage Rd                                                       Unliquidated
          Guilford, Vermont 05301-8720
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Terese                                                       Contingent
          3625 East Ray Road                                                  Unliquidated
          Apt. 2002
                                                                              Disputed
          Phoenix, Arizona 85044-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown, Timothy                                                      Contingent
          1100 Crestview Dr                                                   Unliquidated
          Batavia, Illinois 60510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown-Jackson, Yolanda                                              Contingent
          234 Ingleside                                                       Unliquidated
          Glenwood, Illinois 60425-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brown-Ransom, Denise                                                Contingent
          3743 e market                                                       Unliquidated
          Apt 108
                                                                              Disputed
          Warren, Ohio 44484-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Browne, Antia                                                       Contingent
          1413 Charlsetown Dr                                                 Unliquidated
          Edgewood, Maryland 21040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brubaker, Steven                                                    Contingent
          7 Stevens Road                                                      Unliquidated
          P.O. Box 122
                                                                              Disputed
          Stevens, Pennsylvania 17578-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 144 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 168 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.100
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brulin Holding Company, Inc.                                        Contingent
          2920 Dr Andrew J. Brown Avenue                                      Unliquidated
          indianapolis, IN 46290
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brumfield, LaBria                                                   Contingent
          15535 Riverdale Ave. E                                              Unliquidated
          Baton Rouge, Louisiana 70816-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brunet, Heather                                                     Contingent
          116 Casa Dr                                                         Unliquidated
          Gray, Louisiana 70359-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryan Cave Leighton Paisner                                         Contingent
          211 North Broadway                                                  Unliquidated
          St. Louis, MO 63102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryan City Schools                                                  Contingent
          1350 Fountain Grove                                                 Unliquidated
          Bryan, OH 43506
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BRYAN EQUIPMENT SALES                                               Contingent
          457 Wards Corner Rd                                                 Unliquidated
          Loveland, OH 45140
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryan, Rosayln                                                      Contingent
          4244 121st Road                                                     Unliquidated
          Rock, Kansas 67131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 145 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 169 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.101
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryant, Angelique                                                   Contingent
          111 w 48 st                                                         Unliquidated
          Philadelphia, Pennsylvania 19138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryant, Breelon                                                     Contingent
          4218 Tela Drive                                                     Unliquidated
          Moss Point, Mississippi 39563-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryant, LeShawn                                                     Contingent
          10047 S. Aberdeen                                                   Unliquidated
          Chicago, Illinois 60643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryant, Marshae                                                     Contingent
          1045 Wycomb Drive                                                   Unliquidated
          Florissant, Missouri 63033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryant, Otis                                                        Contingent
          7221 S Hermitage                                                    Unliquidated
          Chicago, Illinois 60636-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brymer, Rita                                                        Contingent
          5711 Sinking Creek Rd                                               Unliquidated
          Greenback, Tennessee 37742-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bryner, Summar                                                      Contingent
          770 Bonnie Brae Ave SE                                              Unliquidated
          Warren, Ohio 44484-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 146 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 170 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.102
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bucci, Ryan                                                         Contingent
          128 Puritan Ave                                                     Unliquidated
          Cranston, Rhode Island 02920-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bucher, Callie                                                      Contingent
          5711 W Hills Rd                                                     Unliquidated
          Fort Wayne, Indiana 46804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buck, Travis                                                        Contingent
          7414 Shady Hollow Lane                                              Unliquidated
          San Antonio, Texas 78255-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buckeye Elementary School District #33                              Contingent
          25555 West Durango                                                  Unliquidated
          Buckeye, AZ 85326
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buckeye Union High School District                                  Contingent
          1000 E Narramore                                                    Unliquidated
          Buckeye, AZ 85326
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buckman, Jeannie                                                    Contingent
          4571 Doncaster Dr                                                   Unliquidated
          Ellicott City, Maryland 21043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Budd Van Lines, Inc.                                                Contingent
          24 Schoolhouse Rd.                                                  Unliquidated
          Somerset, NJ 08875
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 147 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 171 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.102
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Budin, Rebecca                                                      Contingent
          93 Brauncroft Lane                                                  Unliquidated
          Amherst, New York 14226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buehrle, Jessica                                                    Contingent
          2040 Alemany Blvd                                                   Unliquidated
          San Francisco, California 94112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buenger, Tiffany                                                    Contingent
          2751 Hennepin Ave S #118                                            Unliquidated
          Minneapolis, Minnesota 55408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buffalo Wire Works                                                  Contingent
          1165 Clinton St                                                     Unliquidated
          Buffalo, NY 14206
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buffaloe, Patrechia                                                 Contingent
          7134 Gregory Drive                                                  Unliquidated
          Norfolk, Virginia 23513-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buffington, Carmen                                                  Contingent
          1920 Gunbarrel Rd                                                   Unliquidated
          Apt. 416
                                                                              Disputed
          Chattanooga, Tennessee 37421-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buggs, Jamon                                                        Contingent
          27825 Maywood Bend Drive                                            Unliquidated
          Menifee, California 92585-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 148 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 172 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.103
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buhler Group                                                        Contingent
          8170 33rd Ave. South                                                Unliquidated
          Minneapolis, MN 55425
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Builder, Kristi                                                     Contingent
          2026 E. Evans Dr.                                                   Unliquidated
          Phoenix, Arizona 85022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Builtech Service LLC                                                Contingent
          1834 Walden Office Square #350                                      Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buko, Martha                                                        Contingent
          5621 Selby Court                                                    Unliquidated
          Worthington, Ohio 43085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bulgerin, Keith                                                     Contingent
          5129 Laurel Lane                                                    Unliquidated
          N Richland Hills, Texas 76180-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bullhead City Elementary School District                            Contingent
          1004 Hancock Road                                                   Unliquidated
          Bullhead City, AZ 86442
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bullock, Kelli                                                      Contingent
          232 Yellow Jacket Ridge                                             Unliquidated
          Clayton, North Carolina 27520-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 149 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 173 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.104
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bunge Loders Croklaan (formerly IOI LODE                            Contingent
          24708 W. Durkee Road                                                Unliquidated
          Channahon, IL 60410
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bunns, Lauren                                                       Contingent
          411 Kettering Drive                                                 Unliquidated
          Upper Marlboro, Maryland 20774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burbank SD 111                                                      Contingent
          7600 S. Central                                                     Unliquidated
          Burbank, IL 60459
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burgdorfer, Mark                                                    Contingent
          122 Taylor Meadow Drive                                             Unliquidated
          Oxford, Mississippi 38655-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burgess, Josh                                                       Contingent
          2416 Deerfield St                                                   Unliquidated
          Springfield, MO, Missouri 65807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burgess, William                                                    Contingent
          11156 Cedar Lane                                                    Unliquidated
          Bealeton, Virginia 22712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burington, Michelle                                                 Contingent
          419 Wisconsin Street                                                Unliquidated
          Waupaca, Wisconsin 54981-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 150 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 174 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.104
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burke, Julie                                                        Contingent
          307 S. Reynods St, Apt 305                                          Unliquidated
          Alexandria, Virginia 22304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burke, Marcenia                                                     Contingent
          205 Lee Street #402                                                 Unliquidated
          Gaithersburg, Maryland 20877-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burns, Annemarie                                                    Contingent
          5787 Mission Center Road                                            Unliquidated
          Unit 201
                                                                              Disputed
          San Diego, California 92108-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buro Happold Consulting Engineers PC                                Contingent
          100 Broadway 23rd Floor                                             Unliquidated
          New York, NY 10005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burr Ridge CCSD180                                                  Contingent
          15 W 451 91st Street                                                Unliquidated
          Burr Ridge, IL 60527
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burr, Emily                                                         Contingent
          7514 Grackle Drive                                                  Unliquidated
          Cypress, Texas 77433-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burrell, Kayla                                                      Contingent
          6558 Shaffers Way                                                   Unliquidated
          Lithonia, Georgia 30058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 151 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 175 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.105
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burrus, Heather                                                     Contingent
          2100 N H St                                                         Unliquidated
          Midland, Texas 79705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burton, Celester                                                    Contingent
          10500 S Normal Ave                                                  Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burton, Julie                                                       Contingent
          4261 Stanhope Kelloggsville Rd                                      Unliquidated
          Andover, Ohio 44003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burton, Kelly                                                       Contingent
          5277 Se 39th Loop                                                   Unliquidated
          Ocala, Florida 34480-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burton, Tara                                                        Contingent
          205 E High St                                                       Unliquidated
          Monticello, Illinois 61856-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Burton, Valerie                                                     Contingent
          702 Wright Ave                                                      Unliquidated
          McHenry, Illinois 60051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Busalacchi, Katherine                                               Contingent
          2746 Kingsview Avenue                                               Unliquidated
          Easton, Pennsylvania 18045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 152 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 176 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.106
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Busari, Adeola                                                      Contingent
          1608 Memorial Drive                                                 Unliquidated
          APT 1
                                                                              Disputed
          Calument City, Illinois 60409-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bussie, Michele                                                     Contingent
          124 Amelia Way                                                      Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bustos, Anthony                                                     Contingent
          3209 S IH 35 APT 1102                                               Unliquidated
          Austin, Texas 78741-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Butcher, Maame-Esi                                                  Contingent
          8132 Aspenwood Way                                                  Unliquidated
          Jessup, Maryland 20794-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Butler Health Plan                                                  Contingent
          400 North Erie Blvd.                                                Unliquidated
          Suite B.
                                                                              Disputed
          Hamilton, OH 45011
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Butler, Ebony                                                       Contingent
          4221 Belvieu                                                        Unliquidated
          Baltimore, Maryland 21215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Butler, Eugene                                                      Contingent
          6116 Daleshire Drive                                                Unliquidated
          North Chesterfield, Virginia 23234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 153 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 177 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.106
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Butler, Lakesha                                                     Contingent
          12123 Kings Creek Ct                                                Unliquidated
          Carrollton, Virginia 23314-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Butner, Eleanor                                                     Contingent
          2522 Huntington Rd                                                  Unliquidated
          Charlottesville, Virginia 22901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Butterfield, Meghan                                                 Contingent
          455 Riverside Dr                                                    Unliquidated
          Crystal Lake, Illinois 60014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Butterman, Rachel                                                   Contingent
          2026 Bonnycastle Ave                                                Unliquidated
          Louisville, Kentucky 40205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buuck, Angela                                                       Contingent
          2690 CR 64                                                          Unliquidated
          Auburn, Indiana 46706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buyak, Iryna                                                        Contingent
          4182 Cove Lane                                                      Unliquidated
          Apt F
                                                                              Disputed
          Glenview, Illinois 60025-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Buzdugan, Miriam                                                    Contingent
          1534 N River West Ct. Apt 3B                                        Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 154 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 178 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.107
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          BWI Companies                                                       Contingent
          1355 North Kings Highway                                            Unliquidated
          Nash, TX 75569
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bynum, Kie                                                          Contingent
          41 Broadway                                                         Unliquidated
          York, Maine 03909-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bynum, Tammy                                                        Contingent
          2628 Brookvalley Ln                                                 Unliquidated
          Grand Prairie, Texas 75052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Byrd, Jennifer                                                      Contingent
          2017 Parkview Drive                                                 Unliquidated
          Jackson, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Byrd, Rhonda                                                        Contingent
          508 OAK Street                                                      Unliquidated
          Cincinnati, Ohio 45216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Byrne, Cynthia                                                      Contingent
          6248 King Graves Road                                               Unliquidated
          Fowler, Ohio 44418-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Byrne, Robin                                                        Contingent
          2107 W Summerdale Av                                                Unliquidated
          Chicago, Illinois 60625-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 155 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 179 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.108
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Byron CUSD 226                                                      Contingent
          696 North Colfax Street                                             Unliquidated
          Byron, IL 61010
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Byron, April                                                        Contingent
          24 Leighton Farm Road                                               Unliquidated
          Scarborough, Maine 04074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Byron, Wanda                                                        Contingent
          252 Makenna Dr                                                      Unliquidated
          Hampton, Georgia 30228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          C & D Zodiac, Inc.                                                  Contingent
          5701 Bolsa Ave.                                                     Unliquidated
          Huntington Beach, CA 92647
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          C&N                                                                 Contingent
          90-92 Main Street, PO Box 58                                        Unliquidated
          Wellsboro, PA 16901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          C.H. Guenther & Son, Inc.                                           Contingent
          2201 Broadway Street                                                Unliquidated
          San Antonio, TX 78215
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          C.H. Robinson                                                       Contingent
          14701 Charlson Road                                                 Unliquidated
          Eden Prairie, MN 55347
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 156 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 180 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.109
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          C.R.T.S., Inc.                                                      Contingent
          3301 Integrity Drive                                                Unliquidated
          Garner, NC 27529
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caballero, Amanda                                                   Contingent
          18200 Blanco Springs                                                Unliquidated
          Apt 2027
                                                                              Disputed
          San Antonio, Texas 78258-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cabezas, Michelle                                                   Contingent
          12700 FM 1960 Road W.                                               Unliquidated
          #1204
                                                                              Disputed
          Houston, Texas 77065-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cabiness, Adrienne                                                  Contingent
          2926 Dodier Street                                                  Unliquidated
          Saint Louis, Missouri 63107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cabrera, Bianca                                                     Contingent
          2874 Sorrel Row                                                     Unliquidated
          Lake in the Hills, Illinois 60156-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cacioppo, Anthony                                                   Contingent
          1403 S. Division Avenue                                             Unliquidated
          Unit B
                                                                              Disputed
          Boise, Idaho 83706-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cadaret Grant & Co. Inc.                                            Contingent
          1 Lincoln Rd FL 5                                                   Unliquidated
          Syracuse, NY 13212-3612
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 157 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 181 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.109
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cadbury at Lewes                                                    Contingent
          17028 Cadbury Circle                                                Unliquidated
          Lewes, DE 19958
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cadillac Products Automotive                                        Contingent
          29784 Little Mac                                                    Unliquidated
          Roseville, MI 48066
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caelwarts, Tyler                                                    Contingent
          6985 Allen Rd                                                       Unliquidated
          Oconto, Wisconsin 54171-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cahill, Stephanie                                                   Contingent
          507 Little Lake Ct                                                  Unliquidated
          Winter Haven, Florida 33884-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cain Watters & Associates, PLLC                                     Contingent
          6900 N. Dallas Parkway, suite 500                                   Unliquidated
          Plano, TX 75024
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cain, Melissa                                                       Contingent
          8068 Phoebe Way                                                     Unliquidated
          Citrus Heights, California 95610-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cain, Natasha                                                       Contingent
          575 fifth ave f2                                                    Unliquidated
          Conway, Arkansas 72032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 158 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 182 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.110
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caine, Thea                                                         Contingent
          1100 Holladay Street                                                Unliquidated
          Portsmouth, Virginia 23704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cakebread Cellars                                                   Contingent
          8300 St. Helena Hwy                                                 Unliquidated
          Rutherford, CA 94573
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Calabrese, Kurt                                                     Contingent
          10230 Tuscan Sun Drive                                              Unliquidated
          Las Vegas, Nevada 89178-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Calderara, Dawn                                                     Contingent
          1422 Deering Center Road                                            Unliquidated
          Deering, New Hampshire 03244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caldwell Manufacturing Company                                      Contingent
          2605 Manitou Rd Ste 100                                             Unliquidated
          Rochester, NY 14624-1199
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caldwell, Chloe                                                     Contingent
          900 Riverbend Dr                                                    Unliquidated
          Lancaster, Texas 75146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Calef, Lindsay                                                      Contingent
          36 Pillsbury Lane                                                   Unliquidated
          Georgetown, Massachusetts 01915-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 159 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 183 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.111
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Calhoun, Annemarie                                                  Contingent
          23 A South Commons                                                  Unliquidated
          Lincoln, Massachusetts 01773-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Calhoun, Cheryl                                                     Contingent
          2365 Shoemaker Ct                                                   Unliquidated
          Indianapolis, Indiana 46229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          California Department of Tax & Fee Admin                            Contingent
          PO Box 942879                                                       Unliquidated
          Sacramento, CA 94279-0055
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Call One                                                            Contingent
          225 W Wacker Drive                                                  Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Call, Andrew                                                        Contingent
          102 Spring Brook Dr                                                 Unliquidated
          Bristol, Tennessee 37620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Call, Nan                                                           Contingent
          1543 Mirabella Way                                                  Unliquidated
          Fruit Heights, Utah 84037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Callaghan, Tiffany                                                  Contingent
          1929 Fabien Circle                                                  Unliquidated
          Viera, Florida 32940-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 160 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 184 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.111
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Callaway, Twana                                                     Contingent
          6488 Woodrow Road                                                   Unliquidated
          Lithonia, Georgia 30038-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Calumet Public School District 132                                  Contingent
          1440 West Vermont Street                                            Unliquidated
          Calumet Park, IL 60827
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Calvin B Taylor Bank                                                Contingent
          24 N. Main Street                                                   Unliquidated
          Berlin, MD 21811
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Camacho, Ariana                                                     Contingent
          5505 Cornwall Ave                                                   Unliquidated
          Riverside, California 92506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Camaya, Khariza                                                     Contingent
          546 Knights Circle                                                  Unliquidated
          Vallejo, California 94591-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Camden County                                                       Contingent
          520 Market Street                                                   Unliquidated
          Camden, NJ 08073
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Camerlingo, Christina                                               Contingent
          692 Summit Ave, Apt 3F                                              Unliquidated
          Jersey City, New Jersey 07306-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 161 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 185 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.112
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cameron, Wesley                                                     Contingent
          18 Mitchell Cir.                                                    Unliquidated
          Greenbrier, Arkansas 72058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cammllarie, Lori Ann                                                Contingent
          9809 Tumbleweed Blvd                                                Unliquidated
          Fort Wayne, Indiana 46825-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Camp Verde Unified School District                                  Contingent
          410 Camp Lincoln                                                    Unliquidated
          Camp Verde, AZ 86322
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campbell, Amy                                                       Contingent
          854 Opoddum Creek Rd                                                Unliquidated
          Victor, West Virginia 25938-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campbell, John                                                      Contingent
          6408 South Mason Avenue                                             Unliquidated
          Tacoma, Washington 98409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campbell, Kristin                                                   Contingent
          436 Willow Glen                                                     Unliquidated
          Addison, Illinois 60101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campbell, La'Daisha                                                 Contingent
          1844 Blue Knob                                                      Unliquidated
          Virginia Beach, Virginia 23464-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 162 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 186 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.113
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campbell, Laurie                                                    Contingent
          31 Sturbridge Lane                                                  Unliquidated
          East Longmeadow, Massachusetts
                                                                              Disputed
          01028-000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campbell, Maria                                                     Contingent
          4222 E San Gabriel Ave                                              Unliquidated
          Phoenix, Arizona 85044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campbell, Shari                                                     Contingent
          5717 Taylor St                                                      Unliquidated
          Hollywood, Florida 33021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campbell, ShawnToria                                                Contingent
          14529 Murray                                                        Unliquidated
          Dolton, Illinois 60419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campos, Janette                                                     Contingent
          2836 Riley Ridge Rd                                                 Unliquidated
          Holland, Michigan 49424-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Campos, Lauren                                                      Contingent
          1819 Riggs Place Nw #1 2 base                                       Unliquidated
          Washington, District of Columbia 20009-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canady, Renee                                                       Contingent
          3122 Fairview Ave                                                   Unliquidated
          Logansport, Indiana 46947-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 163 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 187 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.113
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canales, Bethany                                                    Contingent
          N67 W23667 Linda Drive                                              Unliquidated
          Sussex, Wisconsin 53089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canales, Katy                                                       Contingent
          24 Eugene Street                                                    Unliquidated
          Melville, New York 11747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canas, Flora                                                        Contingent
          6224 State Highway 359                                              Unliquidated
          Alice, Texas 78332-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Candlelight Cabinetry, Inc.                                         Contingent
          24 Michigan Street                                                  Unliquidated
          Lockport, NY 14094
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canjura, Luis                                                       Contingent
          6 Michael Lane                                                      Unliquidated
          American Canyon, California 94503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cannister, Jessica                                                  Contingent
          321 West Palm St                                                    Unliquidated
          Enid, Oklahoma 73701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cannizzo, Sandra                                                    Contingent
          PO BOX 999                                                          Unliquidated
          Green Valley, Arizona 85622-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 164 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 188 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.114
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cannon Safe, Inc.                                                   Contingent
          6680 Surrey Street                                                  Unliquidated
          Las Vegas, NV 89119
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cannon, Lindsay                                                     Contingent
          13070 SW Barlow Rd                                                  Unliquidated
          Beaverton, Oregon 97008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cannon, Michael                                                     Contingent
          308 El Paso Ln                                                      Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cannon, Tywanda                                                     Contingent
          P.O. Box 48                                                         Unliquidated
          4440 Highway 956
                                                                              Disputed
          Ethel, Louisiana 70730-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,170.79
          Canon Financial Services                                            Contingent
          14904 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693
                                                                              Disputed
          Date(s) debt was incurred 4/11/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canon Financial Solutions                                           Contingent
          158 Gaither Drive, Suite 200                                        Unliquidated
          P.O. Box 5008
                                                                              Disputed
          Mount Laurel, NJ 08054
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,013.83
          Canon Solutions America, Inc.                                       Contingent
          15004 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693
                                                                              Disputed
          Date(s) debt was incurred 5/23/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 165 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 189 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.115
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canterbury, Joyce                                                   Contingent
          302 Johnson Road                                                    Unliquidated
          Collegeville, Pennsylvania 19426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canton-Potsdam Hospital                                             Contingent
          50 Leroy Street                                                     Unliquidated
          Potsdam, NY 13676
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cantrell, Tonya                                                     Contingent
          461 Cardinal Street                                                 Unliquidated
          Inman, South Carolina 29349-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Canzonieri, Amanda                                                  Contingent
          2115 Copper Top Court                                               Unliquidated
          Charlotte, North Carolina 28214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Capacci, Kathleen                                                   Contingent
          4037 32nd Ave West                                                  Unliquidated
          Seattle, Washington 98199-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Capelli, Katie                                                      Contingent
          79 Springfield Circle                                               Unliquidated
          Middletown, Delaware 19709-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Capital Health Services                                             Contingent
          5020 Philadelphia Drive                                             Unliquidated
          Dayton, OH 45415
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 166 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 190 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.116
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Capital Management                                                  Contingent
          698 1/2 South Ogden Street                                          Unliquidated
          Buffalo, NY 14206
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Capitol Dealerships, Inc., dba Capitol T                            Contingent
          783 Auto Group Ave NE                                               Unliquidated
          Salem, OR 97301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caplan, Lauren                                                      Contingent
          145 Lowell Avenue                                                   Unliquidated
          Newtonville, Massachusetts 02460-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Capri, Charms                                                       Contingent
          1507 9th Street                                                     Unliquidated
          #3
                                                                              Disputed
          Oregon City, Oregon 97045-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Capstone Benefits Consulting LLC - Maste                            Contingent
          1100 Brampton Avenue, Suite N                                       Unliquidated
          Statesboro, GA 30458
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cara, Devin                                                         Contingent
          2430 Cromwell Cir, #912                                             Unliquidated
          Austin, Texas 78741-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CARAUSTAR                                                           Contingent
          555 N. Tripp                                                        Unliquidated
          Chicago, IL 60624
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 167 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 191 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.116
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carbaugh, Alisha                                                    Contingent
          6912 S 234th East Ave                                               Unliquidated
          6912 S 234th East Ave
                                                                              Disputed
          Broken Arrow, Oklahoma 74014-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carbon County                                                       Contingent
          17 West 11th - PO Box 887                                           Unliquidated
          Red Lodge, MT 59068
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Card, Kathryn                                                       Contingent
          10511 Mary Street                                                   Unliquidated
          Omaha, Nebraska 68122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cardinal Distributing Company                                       Contingent
          269 Jackrabbit Lane                                                 Unliquidated
          Bozeman, MT 59718
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cardoza, Edward                                                     Contingent
          7640 W. Claremont St.                                               Unliquidated
          Glendale, Arizona 85303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Careaga, Christine                                                  Contingent
          880 New Jersey Ave SE #1025                                         Unliquidated
          Washington, District of Columbia 20003-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caribou Memorial Hospital                                           Contingent
          300 S 3rd W,                                                        Unliquidated
          Soda Springs, ID 83276
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 168 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 192 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.117
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,062.50
          Carl Marks Advisory Group                                           Contingent
          900 Third Ave                                                       Unliquidated
          33rd Floor
                                                                              Disputed
          New York, NY 10022
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $515.00
          CARLE                                                               Contingent
          PO Box 4024                                                         Unliquidated
          Champaign, IL 61824
                                                                              Disputed
          Date(s) debt was incurred      5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carlin, Brittany                                                    Contingent
          681 Shunpike Rd                                                     Unliquidated
          Green Village, New Jersey 07935-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carlin, Mariah                                                      Contingent
          2412 Kapalua Pl                                                     Unliquidated
          Pflugerville, Texas 78660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carlomagno, Maureen                                                 Contingent
          605 Hawthorne Lane                                                  Unliquidated
          Charlotte, North Carolina 28204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carlson, Kenneth                                                    Contingent
          3412 S. Jebel Ct.                                                   Unliquidated
          Aurora, Colorado 80013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carlson, Kevin                                                      Contingent
          216 Pinecroft Drive                                                 Unliquidated
          Roselle, Illinois 60172-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 169 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 193 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.118
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carlson, Teresa                                                     Contingent
          1091 Creekside dr.                                                  Unliquidated
          Derby, New York 14047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carmadelle, Leslie                                                  Contingent
          4600 Purdue                                                         Unliquidated
          Metairie, Louisiana 70002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carnes, Debbie                                                      Contingent
          778 Doty Dr                                                         Unliquidated
          Wadsworth, Ohio 44281-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carney, Karlin                                                      Contingent
          325 Westmoreland Avenue                                             Unliquidated
          Syracuse, New York 13210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carosi, Kimberly                                                    Contingent
          571 Live Oak Lane                                                   Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carr, Jamie                                                         Contingent
          1015 Oakcrest St                                                    Unliquidated
          APT H5
                                                                              Disputed
          Iowa City, Iowa 52246-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carr, Minne                                                         Contingent
          14424 San Francisco Ave                                             Unliquidated
          Posen, Illinois 60469-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 170 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 194 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.118
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carr, Vaneesia                                                      Contingent
          2212 O'Fallon Lakes Drive                                           Unliquidated
          O'Fallon, Missouri 63366-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carrera, Laura                                                      Contingent
          310 Stonehurst Ln                                                   Unliquidated
          Roselle, Illinois 60172-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carrion, Michelle                                                   Contingent
          4306 Biel Court                                                     Unliquidated
          Kissimmee, Florida 34746-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CARRIS REELS                                                        Contingent
          49 Main Street                                                      Unliquidated
          Proctor, VT 05765
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carrizalez, Grecia                                                  Contingent
          16726 Grant Street                                                  Unliquidated
          Victorville, California 92395-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CARROLL COLLEGE                                                     Contingent
          1601 N. Benton Ave                                                  Unliquidated
          Helena, MT 59601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carroll, Amie                                                       Contingent
          8108 Aspen Avenue Ne                                                Unliquidated
          Alburquerque, New Mexico 87110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 171 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 195 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.119
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carroll, Jaime                                                      Contingent
          746 W. 3200 S.                                                      Unliquidated
          Bountiful, Utah 84010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carroll, Kelley                                                     Contingent
          849 N Crestway                                                      Unliquidated
          Wichita, Kansas 67208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carroll, Monica                                                     Contingent
          29 Ramsdell Ave                                                     Unliquidated
          Upper Right
                                                                              Disputed
          Buffalo, New York 14216-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carrotti, Marlene                                                   Contingent
          15976 US HWY 60 East                                                Unliquidated
          Canyon, Arizona 85118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Ashley                                                      Contingent
          1706 Rebecca Court                                                  Unliquidated
          Largo, Maryland 20774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Jessica                                                     Contingent
          924 Darda Court                                                     Unliquidated
          Lexington, Kentucky 40515-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Kimberly                                                    Contingent
          203 King St Carborro                                                Unliquidated
          Carrboro, North Carolina 27510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 172 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 196 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.120
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Melody                                                      Contingent
          2216 Maricopa Street                                                Unliquidated
          Torrance, California 90501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Monica                                                      Contingent
          755 Rothwell Drive                                                  Unliquidated
          Middletown, Delaware 19709-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Patricia                                                    Contingent
          120 Einstein Loop 7E                                                Unliquidated
          Bronx, New York 10475-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Stephanie                                                   Contingent
          CMR 450 Box 191                                                     Unliquidated
          APO AE, Foreign 09705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Trina                                                       Contingent
          1806 Oakbrok Ct.                                                    Unliquidated
          Sauk Village, Illinois 60411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carter, Wanda                                                       Contingent
          6206 Queen Meadow Drive                                             Unliquidated
          Mableton, Georgia 30126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carterby, Brittany                                                  Contingent
          19941 Cornwall Lane                                                 Unliquidated
          Hillsboro, Oregon 97124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 173 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 197 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.120
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cartright, Brendalee                                                Contingent
          109 Patrick Street                                                  Unliquidated
          Dumas, Arkansas 71639-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cartwright Elementary School District                               Contingent
          5220 W. Indian School Road                                          Unliquidated
          Phoenix, AZ 85031
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caruso, Maria                                                       Contingent
          8924 ridge ln                                                       Unliquidated
          orland hills, Illinois 60487-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carusona, Sarah                                                     Contingent
          2831 N Clark Unit 202                                               Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Carver, Jackie                                                      Contingent
          11645 Dogwood Drive                                                 Unliquidated
          Garfield, Arkansas 72732-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cary School District 26                                             Contingent
          2115 Crystal Lake Road                                              Unliquidated
          Cary, IL 60013
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Casa Dorinda                                                        Contingent
          300 Hot Springs Road                                                Unliquidated
          Santa Barbara, CA 93108
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 174 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 198 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.121
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Casa Grande Union High School District                              Contingent
          2730 N Trekell Rd                                                   Unliquidated
          Casa Grande, AZ 85122
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Casarez, Samantha                                                   Contingent
          148 S. State St.                                                    Unliquidated
          Elgin, Illinois 60123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cascade County                                                      Contingent
          325 2nd Ave North                                                   Unliquidated
          Great Falls, MT 59401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Casciotta, Alecia                                                   Contingent
          3820 NW 58th Terrace                                                Unliquidated
          Oklahoma City, Oklahoma 73112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CASE                                                                Contingent
          22W600 Butterfield Road                                             Unliquidated
          Glen Ellyn, IL 60134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Case, Katherine                                                     Contingent
          100 Brookshade Circle                                               Unliquidated
          Garner, North Carolina 27529-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Casey Machine (HMNYS)                                               Contingent
          74 Ward Road                                                        Unliquidated
          Lancaster, NY 14086
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 175 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 199 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.122
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Casey, Marguerite                                                   Contingent
          3131 SW 20th CT.                                                    Unliquidated
          Fort Lauderdale, Florida 33312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Casey, Tiffani                                                      Contingent
          1822 Park Maple Dr                                                  Unliquidated
          Katy, Texas 77450-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cash, Brittani                                                      Contingent
          353 East Park Creeke Lane                                           Unliquidated
          Apt D
                                                                              Disputed
          Salt Lake City, Utah 84115-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cash, Lindsey                                                       Contingent
          2431 Almost Heaven Rd                                               Unliquidated
          Covington, Virginia 24426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cashwell, Katelyn                                                   Contingent
          2092 S Sherwood Dr                                                  Unliquidated
          Apt J77
                                                                              Disputed
          Valdosta, Georgia 31602-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,039.30
          CASO Document Management                                            Contingent
          3453 IH35N                                                          Unliquidated
          Suite 215
                                                                              Disputed
          San Antonio, TX 78219
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caspari, Shontel                                                    Contingent
          140 Hainesport Drive                                                Unliquidated
          Lake Alfred, Florida 33850-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 176 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 200 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.123
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cassell, Kayla                                                      Contingent
          1219 duke st apt B                                                  Unliquidated
          portsmouth, Virginia 23704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cassettari, Rita                                                    Contingent
          13046 N Desert Flora Lane                                           Unliquidated
          Marana, Arizona 85658-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castagna, Heather                                                   Contingent
          1612 N Kilpatrick Street                                            Unliquidated
          Portland, Oregon 97217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castaneda, Cristina                                                 Contingent
          3271 Sul Ross #9                                                    Unliquidated
          Houston, Texas 77098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castaneda, Fatima                                                   Contingent
          13284 Phillippi Ave                                                 Unliquidated
          Sylmar, California 91342-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castaneda, Sergio                                                   Contingent
          1707 Aquarena Springs #137                                          Unliquidated
          San Marcos, Texas 78666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castellanos, Jennifer                                               Contingent
          6133 W Evans Dr                                                     Unliquidated
          Glendale, Arizona 85306-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 177 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 201 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.123
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castillo, Abigail                                                   Contingent
          7726 Pipers View St.                                                Unliquidated
          San Antonio, Texas 78251-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castillo, Mirna                                                     Contingent
          1906 E 92nd St, Apt 3                                               Unliquidated
          Los Angeles, California 90002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castle, Chikira                                                     Contingent
          625 61st St                                                         Unliquidated
          Downers Grove, Illinois 60516-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castor, Ashley                                                      Contingent
          10 Plymouth Street                                                  Unliquidated
          Cambridge, Massachusetts 02141-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castrejon, Raul                                                     Contingent
          1922 Athens St                                                      Unliquidated
          Brownsville, Texas 78520-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Castro, Melanie                                                     Contingent
          11001 Westminster Court                                             Unliquidated
          Fredericksburg, Virginia 22407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cat, Grumpy                                                         Contingent
          123 Sunshine and Rainbows Way                                       Unliquidated
          Los Angeles, California 90029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 178 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 202 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.124
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Catalina Foothills School District                                  Contingent
          2101 E River Road                                                   Unliquidated
          Tucson, AZ 85718
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CATCHALL SERVICES, INC.                                             Contingent
          299 Swan Drive                                                      Unliquidated
          Centralia, IL 62801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cate, Kylie                                                         Contingent
          1930 South Main Street                                              Unliquidated
          Jay, Oklahoma 74346-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Catholic Health                                                     Contingent
          144 Genesee Street                                                  Unliquidated
          Buffalo, NY 14203
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,820.00
          Catholic Health- Dept Of Laboratory Serv                            Contingent
          2157 Main Street                                                    Unliquidated
          Buffalo, NY 14214
                                                                              Disputed
          Date(s) debt was incurred 5/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CATHOLIC ORDER OF FORESTERS                                         Contingent
          355 Shuman Boulevard                                                Unliquidated
          P O Box 3012
                                                                              Disputed
          Naperville, IL 60566
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Catholic Partnership                                                Contingent
          795 Main Street                                                     Unliquidated
          Buffalo, NY 14203
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 179 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 203 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.125
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cattaraugus County                                                  Contingent
          303 Court Street                                                    Unliquidated
          Little Valley, NY 14755
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caudillo, Ericka                                                    Contingent
          2122 W Arthur Ave                                                   Unliquidated
          Apt 1W
                                                                              Disputed
          Chicago, Illinois 60645-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Causbie, Cynthia                                                    Contingent
          19 Bartlett Road                                                    Unliquidated
          Methuen, Massachusetts 01844-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cauthon, Ericka                                                     Contingent
          9938 Wethers Field Cir                                              Unliquidated
          Aubrey, Texas 76227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cavanna, Christina                                                  Contingent
          142 Hardwood Ave                                                    Unliquidated
          Syracuse, New York 13224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cavazos, Leslie                                                     Contingent
          3563 49th                                                           Unliquidated
          Lubbock, Texas 79413-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Caveo LLC                                                           Contingent
          1701 E Woodfield Road                                               Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 180 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 204 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.125
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cavil, Orzealyea                                                    Contingent
          1783 Danville Drive                                                 Unliquidated
          Memphis, Tennessee 38117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cayemitte, Marc                                                     Contingent
          5036 Main Street                                                    Unliquidated
          Skokie, Illinois 60077-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cayenne Express, Inc.                                               Contingent
          410 Transpoint Drive                                                Unliquidated
          Dupo, IL 62239
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cayet, Claire                                                       Contingent
          1130 Kentucky                                                       Unliquidated
          Lawrence, Kansas 66044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cayford, Melody                                                     Contingent
          9 Bayard St.                                                        Unliquidated
          Dedham, Massachusetts 02026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cayuga County Consortium                                            Contingent
          160 Genesee St                                                      Unliquidated
          Auburn, NY 13021
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cboe Global Markets Inc.                                            Contingent
          400 S. LaSalle Street                                               Unliquidated
          5th Floor
                                                                              Disputed
          Chicago, IL 60605
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 181 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 205 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.126
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CCC Information Services                                            Contingent
          222 Merchandise Mart Suite 900                                      Unliquidated
          Chicago, IL 60654
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CDW                                                                 Contingent
          CDW Computer Centers, Inc.                                          Unliquidated
          P.O Box 75723
                                                                              Disputed
          Chicago, IL 60675-5723
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.126
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,888.71
          CDW Computer Centers, Inc.                                          Contingent
          P.O Box 75723                                                       Unliquidated
          Chicago, IL 60675
                                                                              Disputed
          Date(s) debt was incurred 5/20/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Adams County                                                 Contingent
          215 North Cross Street                                              Unliquidated
          Suite 102
                                                                              Disputed
          West Union, OH 45693
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.126
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Allen County                                                 Contingent
          204 N. Main St.                                                     Unliquidated
          Lima, OH 45801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Ashland County                                               Contingent
          110 Cottage Street                                                  Unliquidated
          Ashland, OH 44805
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Ashtabula County                                             Contingent
          25 West Jefferson St                                                Unliquidated
          Ashtabula, OH 44047
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 182 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 206 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.127
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Athens County                                                Contingent
          15 S. Court Street                                                  Unliquidated
          Athens, OH 45701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Belmont County                                               Contingent
          101 West Main Street S                                              Unliquidated
          Clairsville, OH 43950
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Brown County                                                 Contingent
          800 Mt. Orab Pike, Suite 101                                        Unliquidated
          Georgetown, OH 45121
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Carroll County                                               Contingent
          301 Moody Ave                                                       Unliquidated
          Carrollton, OH 44615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Champaign County                                             Contingent
          1512 S. US Hwy 68, Ste. Q100                                        Unliquidated
          Urbana, OH 43078
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Clinton County                                               Contingent
          180 E. Sugartree St.                                                Unliquidated
          Wilmington, OH 45177
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: County Commissioners                                         Contingent
          Association                                                         Unliquidated
          2019 East State Street
                                                                              Disputed
          Columbus, OH 43215
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 183 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 207 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.127
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Crawford County                                              Contingent
          112 E Mansfield St                                                  Unliquidated
          Bucyrus, OH 44820
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Darke County                                                 Contingent
          520 South Broadway                                                  Unliquidated
          Greenville, OH 45331
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Delaware County                                              Contingent
          10 Court Street                                                     Unliquidated
          Delaware, OH 43015
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Fayette County                                               Contingent
          133 South Main Street, Suite 401                                    Unliquidated
          Washington, OH 43160
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Fulton County                                                Contingent
          152 S. Fulton Street                                                Unliquidated
          Suite 165
                                                                              Disputed
          Wauseon, OH 43567
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Geauga County                                                Contingent
          470 Center St., Bldg.4                                              Unliquidated
          Chardon, OH 44024
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Hardin County                                                Contingent
          1 Courthouse Square                                                 Unliquidated
          Suite 100
                                                                              Disputed
          Kenton, OH 43326
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 184 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 208 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.128
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Huron County                                                 Contingent
          12 East Main                                                        Unliquidated
          Suite 102
                                                                              Disputed
          Norwalk, OH 44857
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Jackson County                                               Contingent
          200 East Main Street                                                Unliquidated
          Jackson, OH 45640
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Lawrence County                                              Contingent
          111 South 4th Street                                                Unliquidated
          Ironton, OH 45638
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Logan County                                                 Contingent
          117 E. Columbus Ave.                                                Unliquidated
          Bellfontaine, OH 43311
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Madison County                                               Contingent
          306 Lafayette St., Ste B                                            Unliquidated
          London, OH 43140
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Marion County                                                Contingent
          222 West Center Street                                              Unliquidated
          Marion, OH 43302
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Morrow County                                                Contingent
          619 West Marion Street                                              Unliquidated
          Mt. Gilead, OH 43338
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 185 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 209 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.129
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Paulding County                                              Contingent
          115 North Williams St                                               Unliquidated
          Paulding, OH 45879
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Perry County                                                 Contingent
          121 West Brown Street, Ste C                                        Unliquidated
          New Lexington, OH 43764
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Preble County                                                Contingent
          101 East Main                                                       Unliquidated
          Eaton, OH 45320
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Putnam County                                                Contingent
          245 East Main Street                                                Unliquidated
          Ottawa, OH 45875
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Richland County                                              Contingent
          50 Park Ave                                                         Unliquidated
          East Mansfield, OH 44902
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Ross County                                                  Contingent
          2 N. Paint Street, Suite H                                          Unliquidated
          Chillicothe, OH 45601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Sandusky County                                              Contingent
          622 Croghan Street                                                  Unliquidated
          Fremont, OH 43420
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 186 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 210 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.130
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Scioto County                                                Contingent
          602 7th St., Room 1                                                 Unliquidated
          Portsmouth, OH 45662
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Seneca County                                                Contingent
          3362 South Township Rd 151                                          Unliquidated
          Tiffin, OH 44883
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Shelby County                                                Contingent
          129 East Court St.                                                  Unliquidated
          Sidney, OH 45365
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Union County                                                 Contingent
          233 West Sixth Street                                               Unliquidated
          Marysville, OH 43040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Van Wert County                                              Contingent
          114 East Main Street                                                Unliquidated
          Van Wert, OH 45891
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Vinton County                                                Contingent
          100 East Main Street                                                Unliquidated
          McArthur, OH 45651
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Washington County                                            Contingent
          342 Muskingham Drive                                                Unliquidated
          Marietta, OH 45750
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 187 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 211 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.130
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CEBCO: Williams County                                              Contingent
          One Courthouse Square                                               Unliquidated
          4th Floor
                                                                              Disputed
          Bryan, OH 43506
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.130
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ceccotti, Mollie                                                    Contingent
          75 York Drive                                                       Unliquidated
          Longmeadow, Massachusetts 01106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cece, Abbigail                                                      Contingent
          92 Koch Drive                                                       Unliquidated
          Hollister, California 95023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $61.80
          Cedars Health LLC                                                   Contingent
          428 South Durbin St. Suite 104                                      Unliquidated
          Casper, WY 82601
                                                                              Disputed
          Date(s) debt was incurred 5/21/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cedeno Castillo, Yefi                                               Contingent
          3150 Victoria Drive                                                 Unliquidated
          Kissimmee, Florida 34746-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Centegra Health System                                              Contingent
          213 N. Front St                                                     Unliquidated
          Suite 1
                                                                              Disputed
          McHenry, IL 60050
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Center Cass School District 66                                      Contingent
          699 Plainfield Rd.                                                  Unliquidated
          Downers Grove, IL 60516
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 188 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 212 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.131
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Central Local Schools                                               Contingent
          06289 US Hwy 127                                                    Unliquidated
          Sherwood, OH 43556
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Central Maine & Quebec Railway US Inc.                              Contingent
          15 Iron Road                                                        Unliquidated
          Hermon, ME 04401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Central Ohio Transit Authority (COTA)                               Contingent
          33 N. High Street                                                   Unliquidated
          Columbus, OH 43215
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Central Wyoming Counseling Center                                   Contingent
          1430 Wilkins Circle,                                                Unliquidated
          Casper,, WY 82601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Centric Projects                                                    Contingent
          1814 Main Street                                                    Unliquidated
          Kansas City, MO 64108
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Centurion Auto Logistics                                            Contingent
          5912 New Kings Road                                                 Unliquidated
          Jacksonville, FL 32209
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $78.39
          CenturyLink                                                         Contingent
          PO Box 52187                                                        Unliquidated
          Phoenix, AZ 85072
                                                                              Disputed
          Date(s) debt was incurred      5/19/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 189 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 213 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.132
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cepero, Martha                                                      Contingent
          14312 Perrywood Dr                                                  Unliquidated
          Burtonsville, Maryland 20866-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cephalopod Media LLC                                                Contingent
          224 S. 200 W. #230                                                  Unliquidated
          Salt Lake City, UT 84101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CERES Solutions Co-op, Inc.                                         Contingent
          2112 Indianapolis Rd Box 432                                        Unliquidated
          Crawfordsville, IN 47933
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cerra, Maria                                                        Contingent
          7525 153rd Street, Apt 744                                          Unliquidated
          Flushing, New York 11367-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CERTCO                                                              Contingent
          5321 Verona Rd                                                      Unliquidated
          Madison, WI 53711
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cervantes, Denise                                                   Contingent
          3602 E. La Jara St.                                                 Unliquidated
          Long Beach, California 90805-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cerveny, Caroline                                                   Contingent
          407 Davidson Dr                                                     Unliquidated
          Minooka, Illinois 60447-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 190 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 214 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.132
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cetrone, Wanda                                                      Contingent
          11 Uplook Drive                                                     Unliquidated
          Sudbury, Massachusetts 01776-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CFA Institute                                                       Contingent
          915 East High Street                                                Unliquidated
          Charlottesville, VA 22902
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CFG Health Network                                                  Contingent
          765 East Route 70                                                   Unliquidated
          Building A-100
                                                                              Disputed
          Marlton, NJ 08053
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.133
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cha, Yeram                                                          Contingent
          614 Picardy Circle                                                  Unliquidated
          Northbrook, Illinois 60062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chabert, Karen                                                      Contingent
          812 Third Street                                                    Unliquidated
          New Orleans, Louisiana 70130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chafin, Jordan                                                      Contingent
          2 Brittany Ct                                                       Unliquidated
          Hamilton, Ohio 45013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chager, Amrita                                                      Contingent
          21882 E. Lake Ave                                                   Unliquidated
          Aurora, Colorado 80015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 191 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 215 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.133
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chairez, Nancy                                                      Contingent
          2454 W Moffat St                                                    Unliquidated
          Chicago, Illinois 60647-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Challenge Manufacturing Holdings Inc.                               Contingent
          3079 3 Mile Road                                                    Unliquidated
          Walker, MI 49534
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chalmers, Brandon                                                   Contingent
          1641 Mussula Rd                                                     Unliquidated
          Towson, Maryland 21286-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cham, Arielle                                                       Contingent
          204 Elder Ave                                                       Unliquidated
          Bergenfield, New Jersey 07621-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chamberlain, Christianne                                            Contingent
          12 1/2 S. Main St                                                   Unliquidated
          Apt. 1
                                                                              Disputed
          Phoenixville, Pennsylvania 19460-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chamberlain, Louis                                                  Contingent
          330 Crescent Pl                                                     Unliquidated
          Flushing, Michigan 48433-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chamberlin, Katharine                                               Contingent
          384 Powder Mill Road                                                Unliquidated
          Concord, Massachusetts 01742-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 192 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 216 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.134
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chambers, Donna                                                     Contingent
          1920 Grassmere Lane                                                 Unliquidated
          #1417
                                                                              Disputed
          McKinney, Texas 75071-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chan, Kwo                                                           Contingent
          900 Mickley Rd, APT N2-3                                            Unliquidated
          Whitehall, Pennsylvania 18052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chancellor, Tyler                                                   Contingent
          1000 Berkley                                                        Unliquidated
          APT 310
                                                                              Disputed
          Kansas City, Missouri 64120-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chandler, Alicia                                                    Contingent
          435 Koons Ave                                                       Unliquidated
          Buffalo, New York 14211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chandler, Britt                                                     Contingent
          1560 Summerset Dr                                                   Unliquidated
          Dunwoody, Georgia 30338-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chandler, Marjorie                                                  Contingent
          17628 Pine St                                                       Unliquidated
          Omaha, Nebraska 68130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chandler, Robert                                                    Contingent
          9396 Garfield Dr                                                    Unliquidated
          Shreveport, Louisiana 71118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 193 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 217 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.134
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chandra, Katherine                                                  Contingent
          9717 N. Granville Ave                                               Unliquidated
          Fresno, California 93720-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chandramouli, Aneesh                                                Contingent
          510 Aurora                                                          Unliquidated
          Redding, California 96001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,215.08
          Change Healthcare Solutions LLC                                     Contingent
          P.O. Box 572490                                                     Unliquidated
          Salt Lake City, UT 84157
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Changeux, Jennifer                                                  Contingent
          17 E Ninth St                                                       Unliquidated
          Derby, Connecticut 06418-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chap, Carol                                                         Contingent
          P.O. Box 1582                                                       Unliquidated
          Venice, Florida 34284-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chapkovich, Larissa                                                 Contingent
          1600 East Ave                                                       Unliquidated
          Apt 907
                                                                              Disputed
          Rochester, New York 14610-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.135
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chapman and Cutler LLP                                              Contingent
          111 W. Monroe Floor 13                                              Unliquidated
          Chicago, IL 60603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 194 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 218 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.135
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chapman, Elizabeth                                                  Contingent
          1629 Park Place Drive                                               Unliquidated
          Westerville, Ohio 43081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chapman, Latysha                                                    Contingent
          1078 Willow Green Dr                                                Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chapman, Maria                                                      Contingent
          621 Kammer Avenue                                                   Unliquidated
          Dayton, Ohio 45417-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chapman, Saraka                                                     Contingent
          460a M Flowers Road                                                 Unliquidated
          Batesville, Mississippi 38606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chapman, Vikita                                                     Contingent
          10704 Ridgefield Drive                                              Unliquidated
          Olive Branch, Mississippi 38654-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chappell, Lara                                                      Contingent
          194 Beckwith Road                                                   Unliquidated
          Whitehall, New York 12887-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CHARLES E. LARSON & SONS                                            Contingent
          2645-65 N. Keeler                                                   Unliquidated
          Chicago, IL 60639
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 195 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 219 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.136
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Charles, Ronald                                                     Contingent
          PO Box 568                                                          Unliquidated
          Robstown, Texas 78380-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Charlotin, Sophia                                                   Contingent
          19 Sterling Rd                                                      Unliquidated
          Elmont, New York 11003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Charoenkul, Angela                                                  Contingent
          1064 Newton Road                                                    Unliquidated
          Apt. 12
                                                                              Disputed
          Iowa City, Iowa 52246-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.136
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Charter Schools USA, Inc.                                           Contingent
          800 Corporate Dr. Suite 124                                         Unliquidated
          Ft. Lauderdale, FL 33334
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chartier, Mandy                                                     Contingent
          2417 1/2 Glendale Ave                                               Unliquidated
          Green Bay, Wisconsin 54313-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chartwell Staffing Services                                         Contingent
          245 Centerville Rd                                                  Unliquidated
          Lancaster, PA 17603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chase Products Company                                              Contingent
          2727 Gardner Road                                                   Unliquidated
          Broadview, IL 60155
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 196 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 220 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.137
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chase, Janija                                                       Contingent
          99 Dunbar Avenue                                                    Unliquidated
          Dunbar, West Virginia 25064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chathams, Jaelyn                                                    Contingent
          3209 Kenner Loop                                                    Unliquidated
          Bismarck, ND 58504
                                                                              Disputed
          Bismarck, North Dakota 58504-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chau, Mony                                                          Contingent
          6612 Reservoir Lane                                                 Unliquidated
          San Diego, California 92115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chavers, Rukiya                                                     Contingent
          9330 w. McDowell rd apt 1072                                        Unliquidated
          Phoenix, Arizona 85037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chavez, Maricella                                                   Contingent
          13912 Auberry Drive                                                 Unliquidated
          Helotes, Texas 78023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chavla, Sidra                                                       Contingent
          90 Milbeck Drive                                                    Unliquidated
          Washington, Pennsylvania 15301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Che, Abonghatou                                                     Contingent
          10 Vernon Pl                                                        Unliquidated
          East Orange, New Jersey 07017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 197 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 221 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.137
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Check, Kathryn                                                      Contingent
          456 Stagecoach Ct                                                   Unliquidated
          Glen Ellyn, Illinois 60137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chemicals Incorporated                                              Contingent
          12321 Hatcherville Road                                             Unliquidated
          Baytown, TX 77521
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chemours                                                            Contingent
          1007 N. Market Street                                               Unliquidated
          Wilmington, DE 19898
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chen, Gordon                                                        Contingent
          2558 47th Ave                                                       Unliquidated
          San Francisco, California 94116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chenevert, Becca                                                    Contingent
          259 County Road 4899                                                Unliquidated
          Boyd, Texas 76023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cherisme, Daphne                                                    Contingent
          418 Perrie Drive                                                    Unliquidated
          Elk Grove Village, Illinois 60007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CHEROKEE COUNTY KS                                                  Contingent
          110 W Maple                                                         Unliquidated
          Columbus, KS 66725
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 198 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 222 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.138
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cherokee Nation                                                     Contingent
          100 Bliss Avenue                                                    Unliquidated
          Tahlequah, OK 74464
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cherry Americas, LLC                                                Contingent
          5732 95th Avenue                                                    Unliquidated
          Kenosha, WI 53144
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cherry Moving Company, Inc.                                         Contingent
          9235 Edgebrook Dr                                                   Unliquidated
          Houston, TX 77048
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cherry, James                                                       Contingent
          1219 S. Lakes End Drive                                             Unliquidated
          B-1
                                                                              Disputed
          Ft. Pierce, Florida 34982-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cherry, Savannah                                                    Contingent
          3100 Hyman Place                                                    Unliquidated
          Fayetteville, North Carolina 28303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cherry-Kerby, Pamela                                                Contingent
          2745 Garrett Ball Rd                                                Unliquidated
          Gates, Tennessee 38037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cheung, Melissa                                                     Contingent
          1029 Rafael Drive                                                   Unliquidated
          San Jose, California 95120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 199 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 223 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.139
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cheung, Samantha                                                    Contingent
          330 Tremont Street Apt. B1303                                       Unliquidated
          Boston, Massachusetts 02116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chicago Faucets                                                     Contingent
          59992100 S. Clearwater Drive                                        Unliquidated
          Des Plaines, IL 60018-5999
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Chicago Podcast Cooperative LLC                                     Contingent
          1917 N Elston Ave                                                   Unliquidated
          Chicago, IL 60642
                                                                              Disputed
          Date(s) debt was incurred 2/29/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CHICAGO TRADING COMPANY                                             Contingent
          440 S. LaSalle Street                                               Unliquidated
          4th Floor
                                                                              Disputed
          Chicago, IL 60605
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.139
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CHICAGO TUBE & IRON                                                 Contingent
          One Chicago Tube Drive                                              Unliquidated
          Romeoville, IL 60446
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chicchelly, Frosti                                                  Contingent
          2520 - 6th Street                                                   Unliquidated
          Marion, Iowa 52302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Children's Hospital of Orange County (CH                            Contingent
          505 South Main Street, 4th Floor                                    Unliquidated
          Orange, CA 92868
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 200 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 224 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.139
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Children's Museum of Houston                                        Contingent
          1500 Binz                                                           Unliquidated
          Houston, TX 77004
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Childs, Sharon                                                      Contingent
          149 E. 115th Street                                                 Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ChildServe                                                          Contingent
          5406 Merle Hay Road, P.O. Box 707                                   Unliquidated
          Johnston, IA 50131
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chiles, Carol                                                       Contingent
          4951 S Haggerty Rd, #25                                             Unliquidated
          Canton, Michigan 48188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chillis, Ashley                                                     Contingent
          21070 Andover Road                                                  Unliquidated
          Southfield, Michigan 48076-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chima, Florence                                                     Contingent
          5043 Leasdale Road                                                  Unliquidated
          Rosedale, Maryland 21237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chima, Nneka                                                        Contingent
          497 Annandale Parkway                                               Unliquidated
          Madison, Mississippi 39110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 201 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 225 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.140
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chin, Kimberly                                                      Contingent
          355 1st Street #1504                                                Unliquidated
          San Francisco, California 94105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chin, Tiffany                                                       Contingent
          1250 Oak View Lane                                                  Unliquidated
          La Verne, California 91750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chino Valley Unified School District                                Contingent
          760 E Center Street                                                 Unliquidated
          Chino Valley, AZ 86323
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chiricahua Community Health Centers, Inc                            Contingent
          1205 F Avenue                                                       Unliquidated
          Douglas, AZ 85607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chiverton, Jered                                                    Contingent
          215 William Penn Plaza                                              Unliquidated
          Apt 1031
                                                                              Disputed
          Durham, North Carolina 27704-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.141
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chiville, Bryan                                                     Contingent
          9109 John Simmons St                                                Unliquidated
          Frederick, Maryland 21704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chmielewski, Laura                                                  Contingent
          235 S Hickory Ave                                                   Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 202 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 226 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.141
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cho, Emily                                                          Contingent
          4023 N. Newport Lane                                                Unliquidated
          Arlington Hts., Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chohany, Sandra                                                     Contingent
          727 Sherwood Dr                                                     Unliquidated
          Carlisle, Pennsylvania 17013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Choi, Candice                                                       Contingent
          3308 Pine Valley Rd.                                                Unliquidated
          San Ramon, California 94583-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Choi, Diana                                                         Contingent
          2822 Leaf Shade Drive                                               Unliquidated
          Ellicott City, Maryland 21042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Choi, Duke                                                          Contingent
          215 East Ash Street                                                 Unliquidated
          #112
                                                                              Disputed
          Brea, California 92821-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.141
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chong, Henry                                                        Contingent
          811 W 15th Place                                                    Unliquidated
          Unit 815
                                                                              Disputed
          Chicago, Illinois 60608-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.141
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chopp, Adam                                                         Contingent
          4616 Ridgeway Circle                                                Unliquidated
          A
                                                                              Disputed
          Kalamazoo, Michigan 49006-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 203 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 227 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.141
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chou, Valerie                                                       Contingent
          10405 Grandin Road                                                  Unliquidated
          Sliver Spring, Maryland 20902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chouteau County                                                     Contingent
          1308 Franklin - PO Box 459                                          Unliquidated
          Fort Benton, MT 59442
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Christenson, Julie                                                  Contingent
          10420 N 10th St #3                                                  Unliquidated
          Phoenix, Arizona 85020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Christian, Chelsea                                                  Contingent
          137 Lake Country                                                    Unliquidated
          Mannford, Oklahoma 74044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Christiancy, Julie                                                  Contingent
          11141 Trenton Ct                                                    Unliquidated
          Alta Loma, California 91701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Christians, Ronald                                                  Contingent
          905 Madison Ave                                                     Unliquidated
          Wauconda, Illinois 60084-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $180.00
          Christie Clinic LLC                                                 Contingent
          101 West University Ave                                             Unliquidated
          Champaign, IL 61820
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 204 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 228 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.142
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,995.00
          CHS Insurance Services                                              Contingent
          P.O. Box 64089                                                      Unliquidated
          Saint Paul, MN 55164
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chuck, William                                                      Contingent
          8105 4th AVE                                                        Unliquidated
          APT 1G
                                                                              Disputed
          Brooklyn, New York 11209-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CHURCH OF THE BRETHREN BENEFIT                                      Contingent
          TRUST INC                                                           Unliquidated
          1505 Dundee Ave.
                                                                              Disputed
          Elgin, IL 60120
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Church, Karen                                                       Contingent
          114 Ryanridge Rd                                                    Unliquidated
          Huntsville, Alabama 35806-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CICERO SCHOOL DISTRICT 99                                           Contingent
          5110 W. 24th Street                                                 Unliquidated
          Cicero, IL 60804
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cichowlas, Sabrina                                                  Contingent
          5400 Astor Lane                                                     Unliquidated
          Apt 105
                                                                              Disputed
          Rolling Meadows, Illinois 60008-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.143
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CiCi Enterprises, LP & JMC Distribution                             Contingent
          1080 W. Bethel Rd.                                                  Unliquidated
          Coppell, TX 75019
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 205 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 229 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.143
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CID Resources, Inc.                                                 Contingent
          601 S. Royal Lane Suite 100                                         Unliquidated
          Coppell, TX 75019
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ciesielka, Kerri-Anne                                               Contingent
          106 Chancery Pl                                                     Unliquidated
          Plymouth Meeting, Pennsylvania 19462-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cifuentes, Stephanie                                                Contingent
          73 Nutley Avenue                                                    Unliquidated
          Nutley, New Jersey 07110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cilia, Richard                                                      Contingent
          114 N Fairview                                                      Unliquidated
          Mt Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cimperman, Dawn                                                     Contingent
          8845 Willow Terrace Drive                                           Unliquidated
          apt 2101
                                                                              Disputed
          Orland Hills, Illinois 60487-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.143
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cincinnati Incorporated                                             Contingent
          7420 Kilby Road                                                     Unliquidated
          Harrison, OH 45030
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ciner Resources Corporation                                         Contingent
          254 County Road                                                     Unliquidated
          Green River, WY 82935
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 206 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 230 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.144
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cintas Corporation                                                  Contingent
          6800 Cintas Blvd.                                                   Unliquidated
          Cincinnati, OH 45262
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $620.73
          Cintas First Aid & Safety- IH                                       Contingent
          P.O Box 631025                                                      Unliquidated
          Cincinnati, OH 45263
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cintron, Christine                                                  Contingent
          9231 East Carol Avenue                                              Unliquidated
          Mesa, Arizona 85208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Circle Graphics                                                     Contingent
          120 9th Ave.                                                        Unliquidated
          Longmont, CO 80501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,231.36
          Cisco Systems Capital CRP                                           Contingent
          P.O Box 41602                                                       Unliquidated
          Philadelphia, PA 19101
                                                                              Disputed
          Date(s) debt was incurred 6/6/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cisneros, Annabell                                                  Contingent
          2633 15th Avenue                                                    Unliquidated
          Kingsburg, California 93631-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Citizens Community Federal Bank                                     Contingent
          2174 Eastridge Center |                                             Unliquidated
          Eau Claire, WI 54701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 207 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 231 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.144
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City Brewing Company                                                Contingent
          925 S. 3rd Street                                                   Unliquidated
          La Crosse, WI 54601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Arnold                                                      Contingent
          2101 Jeffco Blvd                                                    Unliquidated
          Arnold, MO 63010
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Bangor                                                      Contingent
          73 Harlow Street                                                    Unliquidated
          Bangor, ME 04401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CITY OF BATAVIA IL                                                  Contingent
          100 N Island Ave                                                    Unliquidated
          Batavia, IL 60510
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Bedford                                                     Contingent
          2000 Forest Ridge Dr                                                Unliquidated
          Bedford, TX 76021-5713
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Berkeley                                                    Contingent
          8425 Airport Rd                                                     Unliquidated
          St Louis, MO 63134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Burley                                                      Contingent
          2020 Parke Ave                                                      Unliquidated
          Burley, ID 83318
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 208 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 232 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.145
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Burnsville                                                  Contingent
          City Hall                                                           Unliquidated
          100 Civic Center Parkway
                                                                              Disputed
          Burnsville, MN 55306
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Centennial                                                  Contingent
          13133 E Arapahoe Rd                                                 Unliquidated
          Centennial, CO 80112
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Crystal Lake                                                Contingent
          100 W Woodstock St                                                  Unliquidated
          Crystal Lake, IL 60014
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of DeKalb                                                      Contingent
          200 South Fourth Street                                             Unliquidated
          DeKalb, IL 60115
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Desloge                                                     Contingent
          300 N. Lincoln Street                                               Unliquidated
          Desloge, MO 63601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CITY OF DOUGLAS-GEORGIA                                             Contingent
          224 E Bryan St                                                      Unliquidated
          Douglas, GA 31533
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Duluth                                                      Contingent
          411 West First Street Rm 313                                        Unliquidated
          Duluth, MN 55802
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 209 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 233 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.146
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Duncanville                                                 Contingent
          203 E Wheatland Rd.                                                 Unliquidated
          Duncanville, TX 75116
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of El Campo                                                    Contingent
          315 E. Jackson St.                                                  Unliquidated
          El Campo, TX 77437
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CITY OF ELMHURST                                                    Contingent
          209 N. York St.                                                     Unliquidated
          Elmhurst, IL 60126
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Festus                                                      Contingent
          711 West Main Street                                                Unliquidated
          Festus, MO 63028
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City Of Franklin                                                    Contingent
          9229 W Loomis Rd                                                    Unliquidated
          Franklin, WI 53132
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Grand Junction                                              Contingent
          250 North 5th Street                                                Unliquidated
          Grand Junction, CO 81501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Hazelwood                                                   Contingent
          415 Elm Grove Lane                                                  Unliquidated
          Hazelwood, MO 63042
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 210 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 234 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.146
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Higginsville                                                Contingent
          1922 Main Street                                                    Unliquidated
          HIgginsville, MO 64037
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of High Point                                                  Contingent
          211 S Hamilton St                                                   Unliquidated
          High Point, NC 27260
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CITY OF KEMMERER                                                    Contingent
          220 Wyoming Hwy 233                                                 Unliquidated
          Kemmerer, WY 83101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Kirksville                                                  Contingent
          201 S Franklin St                                                   Unliquidated
          Kirksville, MO 63501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Lakeville                                                   Contingent
          Lakeville City Hall                                                 Unliquidated
          20195 Holyoke Avenue
                                                                              Disputed
          Lakeville, MN 55044
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.147
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Lamar                                                       Contingent
          102 E Parmenter St                                                  Unliquidated
          Lamar, CO 81052
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CITY OF LEXINGTON                                                   Contingent
          406 E. 7th St.                                                      Unliquidated
          P. O. Box 70
                                                                              Disputed
          Lexington, NE 68850
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 211 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 235 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.147
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Malden                                                      Contingent
          201 S. Madison                                                      Unliquidated
          Malden, MO 63863
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Maryville TN                                                Contingent
          404 W. Broadway                                                     Unliquidated
          Maryville, TN 37801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Maryville, MO                                               Contingent
          415 N. Market Street                                                Unliquidated
          Maryville, MO 64468
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Meriden                                                     Contingent
          142 E Main St                                                       Unliquidated
          Meriden, CT 06450
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City Of Middletown                                                  Contingent
          245 Dekoven Dr                                                      Unliquidated
          Akron, OH 44325
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of New Madrid                                                  Contingent
          560 Mott Street                                                     Unliquidated
          New Madrid, MO 63869
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of New Richmond                                                Contingent
          156 East First Street                                               Unliquidated
          New Richmond, WI 54017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 212 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 236 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.148
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Norman                                                      Contingent
          201 W Gray St                                                       Unliquidated
          Norman, OK 73070
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of North Platte                                                Contingent
          211 West Third Street                                               Unliquidated
          North Platte, NE 69101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Oxford                                                      Contingent
          15 South College Avenue                                             Unliquidated
          Oxford, OH 45056
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Palmer                                                      Contingent
          231 W Evergreen Ave.                                                Unliquidated
          Palmer, AK 99645
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Shelbina                                                    Contingent
          116 E. Walnut St.                                                   Unliquidated
          Shelbina, MO 63468
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of South Burlington                                            Contingent
          575 Dorset Street                                                   Unliquidated
          South Burlington, VT 05403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of South Houston                                               Contingent
          1018 Dallas St.                                                     Unliquidated
          South Houston, TX 77587
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 213 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 237 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.148
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of St. Paul                                                    Contingent
          8170 33rd Ave. South                                                Unliquidated
          Minneapolis, MN 55425
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Superior                                                    Contingent
          8170 33rd Avenue South                                              Unliquidated
          Minneapolis, MN 55425
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Trenton                                                     Contingent
          1100 Main Street                                                    Unliquidated
          Trenton, MO 64683
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Union                                                       Contingent
          500 East Locust Street                                              Unliquidated
          Union, MO 63084
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Valdez                                                      Contingent
          212 Chenega Avenue                                                  Unliquidated
          Valdez, AK 99686
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Waterbury - Department of Educat                            Contingent
          235 Grand Street                                                    Unliquidated
          Waterbury, CT 06702
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Waterbury - Government Offices                              Contingent
          235 Grand Street                                                    Unliquidated
          Waterbury, CT 06702
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 214 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 238 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.149
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Wheaton                                                     Contingent
          303 West Wesley Street                                              Unliquidated
          Wheaton, IL 60187
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Wills Point                                                 Contingent
          120 N 5th St.                                                       Unliquidated
          Wills Point, TX 75169
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          City of Woodbury                                                    Contingent
          8301 Valley Creek Rd                                                Unliquidated
          Woodbury, MN 55125
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Civil Constructors, LLC                                             Contingent
          425 Downs Blvd                                                      Unliquidated
          Franklin, TN 37064-3823
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84,000.00
          Civis Analytics, Inc.                                               Contingent
          200 West Monroe Street                                              Unliquidated
          Suite 2200
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.150
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Civis Analytics, Inc.                                               Contingent
          200 West Monroe Street                                              Unliquidated
          Suite 2200
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.150
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CK Mechanical Plumbing & Heating, Inc.                              Contingent
          153 Progress Circle                                                 Unliquidated
          Mills, WY 82601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 215 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 239 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.150
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Claflin-Coy, Heather                                                Contingent
          557 South Main Street                                               Unliquidated
          West Hartford, Connecticut 06107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Claiborne, Jacqueline                                               Contingent
          402 Tyler Ave                                                       Unliquidated
          Newport News, Virginia 23601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clair, Kevin                                                        Contingent
          P.O. Box 1039                                                       Unliquidated
          Ponte Vedra Beach, Florida 32004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clair, William                                                      Contingent
          P.O. Box 3572                                                       Unliquidated
          Ponte Vedra Beach, Florida 32004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CLARITY CONSULTING INC.                                             Contingent
          20 North Wacker Drive                                               Unliquidated
          Suite 1450
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.150
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Adam                                                         Contingent
          24 Virginia Lane                                                    Unliquidated
          Bangor, Maine 04401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Angela                                                       Contingent
          165 St. Paul Rd.                                                    Unliquidated
          Byhalia, Mississippi 38611-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 216 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 240 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.151
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Cheyla                                                       Contingent
          360 High Hardin way                                                 Unliquidated
          Lawrenceville, Georgia 30043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Crystal                                                      Contingent
          2012 Spruce Lane                                                    Unliquidated
          Monticello, Illinois 61856-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Jenevie                                                      Contingent
          2925 NE 190th St Apt #106                                           Unliquidated
          Aventura, Florida 33180-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Laura                                                        Contingent
          3208 Mt. Tabor Rd.                                                  Unliquidated
          Buffalo, Kentucky 42716-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Leslie                                                       Contingent
          7608 Delta Pointe Way                                               Unliquidated
          Sacramento, California 95823-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Macie                                                        Contingent
          6801 Wolfin Ave                                                     Unliquidated
          Apt. 1034
                                                                              Disputed
          Amarillo, Texas 79106-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.151
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Marie                                                        Contingent
          627 W Juniper Ct                                                    Unliquidated
          Louisville, Colorado 80027-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 217 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 241 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.151
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Rachael                                                      Contingent
          P.O. Box 74                                                         Unliquidated
          Azusa, California 91702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Romega                                                       Contingent
          1249 East Eva Blvd                                                  Unliquidated
          Chesapeake, Virginia 23320-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Sara                                                         Contingent
          1904 Carnegie Lane                                                  Unliquidated
          Grapevine, Texas 76051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Sarah                                                        Contingent
          15227 Aurora Circle                                                 Unliquidated
          Urbandale, Iowa 50323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Sarina                                                       Contingent
          520 Ridgewood Ave S                                                 Unliquidated
          Apt 002
                                                                              Disputed
          Minneapolis, Minnesota 55403-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Selena                                                       Contingent
          727 Canary Circle                                                   Unliquidated
          Fernley, Nevada 89408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Shannon                                                      Contingent
          304 Mistletoe Dr                                                    Unliquidated
          Newport News, Virginia 23606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 218 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 242 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.152
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Sharon                                                       Contingent
          112 Old Pond Way                                                    Unliquidated
          Richmond, Kentucky 40475-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clark, Tonya                                                        Contingent
          2077 Polk Ford Road                                                 Unliquidated
          Stanfield, North Carolina 28163-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clarke, Gabrielle                                                   Contingent
          249 S Ann Street                                                    Unliquidated
          Baltimore, Maryland 21231-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clause, Brittany                                                    Contingent
          P.O. Box 342                                                        Unliquidated
          Sanborn, New York 14132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Claussen, Timothy                                                   Contingent
          116 North School Street                                             Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Claxton Hepburn Medical Center                                      Contingent
          214 King Street                                                     Unliquidated
          Ogdensburg, NY 13669
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.00
          Claxton-Hepburn Med Ctr                                             Contingent
          214 King Street                                                     Unliquidated
          Ogdensburg, NY 13669
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 219 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 243 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.153
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clay, Dewana                                                        Contingent
          PO Box 260105                                                       Unliquidated
          Plano, Texas 75026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Claypool, David                                                     Contingent
          110 Pinelodge Drive                                                 Unliquidated
          Beckley, Virginia 25801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clayton, Chelsea                                                    Contingent
          500 31st Street                                                     Unliquidated
          Apt. 20
                                                                              Disputed
          Des Moines, Iowa 50312-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.153
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clear Channel Outdoor                                               Contingent
          3714 N. Pan Am Expressway                                           Unliquidated
          San Antonio, TX 78219
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $132.00
          ClearChoiceMD, PLLC                                                 Contingent
          P.O Box 645485                                                      Unliquidated
          Cincinnati, OH 45264
                                                                              Disputed
          Date(s) debt was incurred 3/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cleare, Ronesha                                                     Contingent
          235 North 152nd Drive                                               Unliquidated
          Goodyear, Arizona 85338-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clearwater Credit Union                                             Contingent
          3600 Brooks Street                                                  Unliquidated
          Missoula, MT 59801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 220 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 244 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.153
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clements, Joshua                                                    Contingent
          313 Primrose Lane                                                   Unliquidated
          Flushing, Michigan 48433-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clemmons, Lakeisha                                                  Contingent
          1622 Village Place                                                  Unliquidated
          Winston Salem, North Carolina 27127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clemons, Alexis                                                     Contingent
          922 E Sonterra Blvd                                                 Unliquidated
          #2111
                                                                              Disputed
          San Antonio, Texas 78258-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.154
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cleopatra Resources, LLC                                            Contingent
          1200 Lebanon Rd                                                     Unliquidated
          West Mifflin, PA 15122
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cleveland Hill School District                                      Contingent
          105 Mapleview Road                                                  Unliquidated
          Cheektowaga, NY 14225
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cleveland, Nathan                                                   Contingent
          1901 Rockefeller Lane #3                                            Unliquidated
          Redondo Beach, California 90278-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cleveland-White, Clara                                              Contingent
          406 Foxborough trl                                                  Unliquidated
          Bolingbrook, Illinois 60440-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 221 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 245 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.154
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cleverbridge                                                        Contingent
          350 N. Clark Street, Suite 700                                      Unliquidated
          Chicago, IL 60654
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clif Bar & Company                                                  Contingent
          1451 66th Street                                                    Unliquidated
          Emoryville, CA 94608
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clifford, Kerry                                                     Contingent
          637 N Wells Street                                                  Unliquidated
          Unit #1401
                                                                              Disputed
          Chicago, Illinois 60654-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.154
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clifton, Alexia                                                     Contingent
          7120 Beaumont Place                                                 Unliquidated
          Hanover, Maryland 21076-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clincy, Phoenix                                                     Contingent
          9719a Copper Creek Dr                                               Unliquidated
          Austin, Texas 78729-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $286.45
          Clinical Laboratories of Hawaii                                     Contingent
          P.O Box 1300                                                        Unliquidated
          Honolulu, HI 96807
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clinicare Corporation                                               Contingent
          11919 W. Bluemound Road                                             Unliquidated
          Wauwatosa, WI 53226
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 222 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 246 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.155
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clinkscale, Tammy                                                   Contingent
          250 North 5th Street                                                Unliquidated
          Apt 2109
                                                                              Disputed
          Garland, Texas 75040-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,500.00
          Clique Studios LLC                                                  Contingent
          410 S Michigan Ave, Suite 801                                       Unliquidated
          Chicago, IL 60605
                                                                              Disputed
          Date(s) debt was incurred 3/11/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clogg, Edith                                                        Contingent
          3420 Wheatwheel Lane                                                Unliquidated
          Annandale, Virginia 22003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          closerlook, inc.                                                    Contingent
          212 W. Superior                                                     Unliquidated
          Suite 300
                                                                              Disputed
          Chicago, IL 60610
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ClosingCorp, Inc.                                                   Contingent
          6165 Greenwich Drive                                                Unliquidated
          San Diego, CA 92122
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clough, Todd                                                        Contingent
          448 Perrie Drive                                                    Unliquidated
          Apt 301
                                                                              Disputed
          Elk Grove Village, Illinois 60007-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,651.98
          CNA Insurance                                                       Contingent
          PO Box 74007619                                                     Unliquidated
          Chicago, IL 60674
                                                                              Disputed
          Date(s) debt was incurred      6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 223 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 247 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.155
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Co-op Country Farmers Elevator                                      Contingent
          340 Dupont Ave N.E.                                                 Unliquidated
          P.O. Box 604
                                                                              Disputed
          Renville, MN 56284
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.156
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Co-Operative Industries                                             Contingent
          1401 South Cherry Lane                                              Unliquidated
          Fort Worth, TX 76108
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coal City CUSD #1                                                   Contingent
          550 S. Carbon Hill Road                                             Unliquidated
          Coal City, IL 60416
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cobb, Jennifer                                                      Contingent
          5935 E. 56th                                                        Unliquidated
          Tulsa, Oklahoma 74135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cobb, Wendy                                                         Contingent
          1809 FIRST STREET                                                   Unliquidated
          PLATTE CITY, Missouri 64079-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coburn, Seth                                                        Contingent
          1220 Blair Mill Road APT 610                                        Unliquidated
          Silver Spring, Maryland 20910-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cocco, Deborah                                                      Contingent
          3003 - 55th Street                                                  Unliquidated
          San Diego, California 92105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 224 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 248 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.156
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cochran, Michelle                                                   Contingent
          4521 Clarence Ave                                                   Unliquidated
          St. Louis, Missouri 63115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Codat, Dan                                                          Contingent
          7540 N Ridge Blvd                                                   Unliquidated
          #3G
                                                                              Disputed
          Chicago, Illinois 60645-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.156
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Codner, Stephanie                                                   Contingent
          421 E Grove St                                                      Unliquidated
          Shell Rock, Iowa 50670-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cofer, Alicia                                                       Contingent
          Po Box 983                                                          Unliquidated
          Marble Falls, Texas 78654-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coffee County Board of Commissioners                                Contingent
          101 South Peterson Ave                                              Unliquidated
          Douglas, GA 31533
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $72.00
          Coffee Regional Medical Center                                      Contingent
          PO Box 1227                                                         Unliquidated
          Douglas, GA 31534
                                                                              Disputed
          Date(s) debt was incurred 4/7/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coffee, Katherine                                                   Contingent
          1707 Thousand Oaks Circle                                           Unliquidated
          Austin, Texas 78746-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 225 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 249 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.157
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coffer, Jacqueline                                                  Contingent
          4102 W. Gladys Ave                                                  Unliquidated
          Chicago, Illinois 60624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coffey, Jennifer                                                    Contingent
          341 Nebraska Ave                                                    Unliquidated
          Berthoud, Colorado 80513-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coffey, Robert                                                      Contingent
          7005 Tramore Lane                                                   Unliquidated
          Clemmons, North Carolina 27012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coffren, Southern                                                   Contingent
          259 Dayton Ave Apt. 6                                               Unliquidated
          Saint Paul, Minnesota 55102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cog Hill Golf & Country Club                                        Contingent
          12294 Archer Avenue                                                 Unliquidated
          Lemont, IL 60439
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cogar, Joanna                                                       Contingent
          5780 Revere Drive                                                   Unliquidated
          North Olmsted, Ohio 44070-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cohen, Jay                                                          Contingent
          419 North Rose Street                                               Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 226 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 250 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.158
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cohen, Jenna                                                        Contingent
          1726 Mission Springs Dr.                                            Unliquidated
          Katy, Texas 77450-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cohen, Nancy                                                        Contingent
          501 E. Canyon View Drive                                            Unliquidated
          Tucson, Arizona 85704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coilcraft                                                           Contingent
          1102 Silver Lake Road                                               Unliquidated
          Cary, IL 60013
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coke Corporation                                                    Contingent
          3875 River Road                                                     Unliquidated
          Tonawanda, NY 14150
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coker, Janet                                                        Contingent
          4057 Pheasant Hill Drive                                            Unliquidated
          Valdosta, Georgia 31601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coker, Lisa                                                         Contingent
          244 Summit Vista Street                                             Unliquidated
          Henderson, Nebraska 89052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colacicco, Michael                                                  Contingent
          8501 Springmont Lane, Apt. 251                                      Unliquidated
          Keller, Texas 76244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 227 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 251 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.158
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colavito, William                                                   Contingent
          715 W Prospect Rd.                                                  Unliquidated
          Fort Collins, Colorado 80526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colbath, Jeanne                                                     Contingent
          15 Lancaster Dr                                                     Unliquidated
          Framingham, Massachusetts 01701-3215
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colby, Julia                                                        Contingent
          7203 County Road 19                                                 Unliquidated
          Auburn, Indiana 46706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colby, Tralisa                                                      Contingent
          1304 Marigold Ct                                                    Unliquidated
          Belcamp, Maryland 21017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cole, Ashley                                                        Contingent
          10573 Glen Hannah Dr                                                Unliquidated
          Laurel, Maryland 20723-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cole, David                                                         Contingent
          2316 E. Baltimore Street                                            Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cole, Qwameca                                                       Contingent
          1513 - 47th St W                                                    Unliquidated
          Birmingham, Alabama 35208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 228 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 252 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.159
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cole, Sharon                                                        Contingent
          1948 S Cherry St                                                    Unliquidated
          Denver, Colorado 80222-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cole, Vanessa                                                       Contingent
          1670 Village Place Circle                                           Unliquidated
          Conyers, Georgia 30012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coleman, Amanda                                                     Contingent
          376 - 8th Ave                                                       Unliquidated
          New York, New York 10001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coleman, Candace                                                    Contingent
          8509 Lucerne Road                                                   Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coleman, Ruth                                                       Contingent
          268 Foster Road                                                     Unliquidated
          Leeds, Alabama 35094-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coleman-Jones, Bridgette                                            Contingent
          2823 Forest Lane                                                    Unliquidated
          Waukegan, Illinois 60087-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coles, Carmela                                                      Contingent
          4210 Rio Verde Street                                               Unliquidated
          Cheyenne, Wyoming 82001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 229 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 253 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.160
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coles, Gerard                                                       Contingent
          7629 Sheffield Village Lane                                         Unliquidated
          Lorton, Virginia 22079-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coles-Shilcock, Deborah                                             Contingent
          7318 Shannondale Drive                                              Unliquidated
          Sugar Land, Texas 77479-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colette Thompson                                                    Contingent
          176 Station Road                                                    Unliquidated
          New Sweden, ME 04762
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colgan, Carol                                                       Contingent
          2927 Summerwinds Circle                                             Unliquidated
          St. Cloud, Florida 34769-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colimore, Stacey                                                    Contingent
          8853 Green Needle Dr                                                Unliquidated
          Nottingham, Maryland 21236-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collado, Kenneth                                                    Contingent
          6670 Black Forest Drive                                             Unliquidated
          Eastvale, California 92880-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collegis, LLC                                                       Contingent
          8300 Norman Center Drive                                            Unliquidated
          Suite 400
                                                                              Disputed
          Bloomington, MN 55437
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 230 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 254 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.160
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collentro-Schoeb, Susan                                             Contingent
          3715 E Ebano Street                                                 Unliquidated
          Gilbert, Arizona 85295-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collier, Allison                                                    Contingent
          101 Campbell Blvd #18303                                            Unliquidated
          Manahawkin, New Jersey 08050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collier, Kedra                                                      Contingent
          395 North Perry Pkwy, Apt O-7                                       Unliquidated
          Perry, Georgia 31069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collier, Teia                                                       Contingent
          1420 Hermitage                                                      Unliquidated
          Mesquite, Texas 75149-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collins Jr., Gerald                                                 Contingent
          1304 Middle Cir                                                     Unliquidated
          Richmond, Virginia 23235-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collins, Catherine                                                  Contingent
          15 Mill St Ext                                                      Unliquidated
          Lincoln, Massachusetts 01773-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collins, Kimberlynn                                                 Contingent
          214 Eagle Head Drive                                                Unliquidated
          Fort Washington, Maryland 20774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 231 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 255 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.161
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Collins, Sandra                                                     Contingent
          24066 Northpark Drive                                               Unliquidated
          Porter, Texas 77365-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coloma, G.                                                          Contingent
          1560 Potrero Grande Dr                                              Unliquidated
          Unit A
                                                                              Disputed
          Rosemead, California 91770-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.161
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colon, Michelle                                                     Contingent
          19883 San Juan Capistrano Ct                                        Unliquidated
          Riverside, California 92508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colone, Delores                                                     Contingent
          305 Candlewood Trail                                                Unliquidated
          Cary, Illinois 60013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colonial Electric                                                   Contingent
          201 W. Church Rd                                                    Unliquidated
          King of Prussia, PA 19406
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colorado Department of Revenue                                      Contingent
          P.O. Box 17087                                                      Unliquidated
          Denver, CO 80217-0087
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.00
          Colorado Mountain Medical LLC                                       Contingent
          PO Box 6347                                                         Unliquidated
          Eagle, CO 81631
                                                                              Disputed
          Date(s) debt was incurred 4/7/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 232 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 256 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.162
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colorado River Union High School Distric                            Contingent
          2251 Highway 95                                                     Unliquidated
          Bullhead City, AZ 86442
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Columbia Casualty Company                                           Contingent
          151 N. Franklin St.                                                 Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Columbian Financial Group                                           Contingent
          4704 Vestal Parkway East                                            Unliquidated
          Vestal, NY 13850
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colunga-Morales, Mariela                                            Contingent
          4900 the ketta Lane                                                 Unliquidated
          Millington, Tennessee 38053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colville, Inc.                                                      Contingent
          4300 B Street Suite 308                                             Unliquidated
          Anchorage, AK 99503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Colwell, Ariel                                                      Contingent
          1412 Buxton Meadows Dr                                              Unliquidated
          Amelia, Ohio 45102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,100.02
          Comcast Business - Oakbrook                                         Contingent
          PO Box 4928                                                         Unliquidated
          Hinsdale, IL 60522
                                                                              Disputed
          Date(s) debt was incurred 5/15/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 233 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 257 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.162
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $213.54
          ComEd                                                               Contingent
          PO Box 6111                                                         Unliquidated
          Carol Stream, IL 60197
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Comer, Brittany                                                     Contingent
          741 Woodruff Road                                                   Unliquidated
          Apt. 2712
                                                                              Disputed
          Greenville, South Carolina 29607-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.163
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Commonwealth of Kentucky Department of
          R                                                                   Contingent
          Legal Support Branch                                                Unliquidated
          P.O. Box 5222                                                       Disputed
          Frankfort, KY 40602
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.163
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Community Action Planning Council of Jef                            Contingent
          518 Davidson Street                                                 Unliquidated
          Watertown, NY 13601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Community Consolidated SD 146                                       Contingent
          6611 West 171st Street                                              Unliquidated
          Tinley Park, IL 60477
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Community High School District 155                                  Contingent
          1 South Virginia Rd                                                 Unliquidated
          Crystal Lake, IL 60014
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 234 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 258 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.163
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Community Hospice (Direct)                                          Contingent
          1538 Central Ave                                                    Unliquidated
          Ashland, KY 41101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Community State Bank of Orbisonia                                   Contingent
          761 Elliott St                                                      Unliquidated
          Orbisonia, PA 17243
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Community Unit School District 300                                  Contingent
          2550 Harnish Drive                                                  Unliquidated
          Algonquin, IL 60102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Comprehensive Decommissioning Internatio                            Contingent
          1 Holtec Blvd.                                                      Unliquidated
          Camden, NJ 08104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Computer Projects of Illinois, Inc.                                 Contingent
          475 Quadrangle Drive, Sutie A                                       Unliquidated
          Bolingbrook, IL 60440
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Conaway, Erika                                                      Contingent
          748 BETHNAL RD                                                      Unliquidated
          BALTIMORE, Maryland 21229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Conboy, Donna                                                       Contingent
          1625 Rivershyre Pkwy                                                Unliquidated
          Lawrenceville, Georgia 30043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 235 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 259 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.164
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Condra, Christina                                                   Contingent
          2099 NCR 125 West                                                   Unliquidated
          Paoli, Indiana 47454-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Condumex, Inc.                                                      Contingent
          900 Avenue S                                                        Unliquidated
          Grand Prairie, TX 75050
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Conger, Raegan                                                      Contingent
          14604 Harli Ln                                                      Unliquidated
          Oklahoma City, Oklahoma 73170-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Conley, Sophia                                                      Contingent
          2640 Forty Niner Way                                                Unliquidated
          Antioch, California 94531-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Conneally, Aisling                                                  Contingent
          1627 Santa Clara Ave,                                               Unliquidated
          Apt. A
                                                                              Disputed
          Alameda, California 94501-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.164
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Connecticut Department of Revenue
          Collections Unit - Bankruptcy Team                                  Contingent
          450 Columbus Blvd                                                   Unliquidated
          Ste 1                                                               Disputed
          Hartford, CT 06103
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 236 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 260 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.164
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Connecticut Distributors, Inc. (CDI)                                Contingent
          333 Lordship Boulevard                                              Unliquidated
          Stratford, CT 06615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Connel, Chelsea                                                     Contingent
          343 Briar Court                                                     Unliquidated
          Ardmore, Oklahoma 73401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Connor & Gallagher                                                  Contingent
          750 Warrenville Road Suite #400                                     Unliquidated
          Lisle, IL 60532
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Connor Co.                                                          Contingent
          2800 North East Adams                                               Unliquidated
          Peoria, IL 61603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Connors, Karen                                                      Contingent
          1322 Ticonderoga Drive                                              Unliquidated
          St. Peters, Missouri 63376-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Conrad, Lindsay                                                     Contingent
          517 Aqua Circle                                                     Unliquidated
          Lino Lakes, Minnesota 55014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Conry, Nancy                                                        Contingent
          2254 State Street                                                   Unliquidated
          North Bellmore, New York 11710-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 237 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 261 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.165
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Consolidated Graphics Group, Inc.                                   Contingent
          1614 East 40th Street                                               Unliquidated
          Cleveland, OH 44103
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Consroe, Joni                                                       Contingent
          730 Espanade #501                                                   Unliquidated
          Redondo Beach, California 90277-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Contemporary Control Systems                                        Contingent
          2431 Curtiss street                                                 Unliquidated
          Downers Grove, IL 60515
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Continental Casualty Company                                        Contingent
          Continental Casualty Company                                        Unliquidated
          23453 Network Place
                                                                              Disputed
          Chicago, IL 60673-1234
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.165
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Continental Elementary School District                              Contingent
          1991 E White House Canyon Road                                      Unliquidated
          Greenvalley, AZ 85614
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Continental Energy Services, LLC                                    Contingent
          15802 Industrial Drive                                              Unliquidated
          Independence, MO 64058
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Continental Insurance Company                                       Contingent
          151 N. Franklin St.                                                 Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 238 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 262 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.166
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Contreras, Savannah                                                 Contingent
          6800 McNeil Dr                                                      Unliquidated
          Apt 1818
                                                                              Disputed
          Austin, Texas 78729-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.166
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Convergint Technologies LLC                                         Contingent
          One Commerce Drive                                                  Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cook, Alexis                                                        Contingent
          635 Gooseberry Dr #1705                                             Unliquidated
          Longmont, Colorado 80503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cook, Emily                                                         Contingent
          11216 Pardoners Tale Lane                                           Unliquidated
          Austin, Texas 78748-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cook, Jacqueline                                                    Contingent
          7727 Woodward Ave                                                   Unliquidated
          Apt 2B
                                                                              Disputed
          Woodridge, Illinois 60517-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.166
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooley, Amy                                                         Contingent
          1974 N. Laurelwood St.                                              Unliquidated
          Canby, Oregon 97013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooley, Carrie                                                      Contingent
          562 Pelham Blvd                                                     Unliquidated
          Saint Paul, Minnesota 55104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 239 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 263 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.166
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooley, Christine                                                   Contingent
          838 Kendra Ann Drive                                                Unliquidated
          Swansea, Illinois 62226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coombs, Lia                                                         Contingent
          9643 Devedente Dr                                                   Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper Pest Solutions                                               Contingent
          351 Lawrence Station Road                                           Unliquidated
          Lawrence Township, NJ 08648
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          COOPER TIRE & RUBBER COMPANY                                        Contingent
          701 Lima Ave                                                        Unliquidated
          Findlay, OH 45840
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper, Alexandra                                                   Contingent
          429 Ne 89th Ave                                                     Unliquidated
          Portland, Oregon 97220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper, Brandie                                                     Contingent
          2622 Dandelion St                                                   Unliquidated
          Springdale, Arkansas 72764-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper, Cari                                                        Contingent
          4035 Hamilton Street                                                Unliquidated
          Apt. 4
                                                                              Disputed
          San Diego, California 92104-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 240 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 264 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.167
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper, Deborrah                                                    Contingent
          1584 Geary Road                                                     Unliquidated
          Walnut Creek, California 94597-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper, Jake                                                        Contingent
          4401 Van Dorn Street                                                Unliquidated
          Lincoln, Nebraska 68506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper, Jennifer                                                    Contingent
          3214 Hudson St                                                      Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper, Kyle                                                        Contingent
          9948 Whitworth Way                                                  Unliquidated
          Ellicott City, Maryland 21042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooper, Rosalynn                                                    Contingent
          Po Box 5834                                                         Unliquidated
          Beaumont, Texas 77726-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooperman, Megan                                                    Contingent
          7120 Millbury Court                                                 Unliquidated
          Elkridge, Maryland 21075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cooperstone, Elizabeth                                              Contingent
          6 Marvin Place                                                      Unliquidated
          Westport, Connecticut 06880-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 241 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 265 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.168
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coopwood, Kendall                                                   Contingent
          594 Heather Dr.                                                     Unliquidated
          Lithia Springs, Georgia 30122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coopwood, Therron                                                   Contingent
          54 Golden Pine Road                                                 Unliquidated
          Austell, Georgia 30168-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coore, Brittani                                                     Contingent
          12074 Royal Cove Way                                                Unliquidated
          Wellington, Florida 33414-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Copart, Inc.                                                        Contingent
          14185 Dallas Parkway, Ste 400                                       Unliquidated
          Dallas, TX 75254
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          COPE Community Services Inc.                                        Contingent
          1485 W. Commerce Court                                              Unliquidated
          Tucson, AZ 85747
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Copeland, Catherine                                                 Contingent
          4241 Bartholows Rd                                                  Unliquidated
          Mount Airy, Maryland 21771-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Copeland, Shantae                                                   Contingent
          605 Obendorfer Road                                                 Unliquidated
          Norfolk, Virginia 23523-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 242 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 266 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.169
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CopperPoint Insurance Companies                                     Contingent
          3030 N. 3rd Street                                                  Unliquidated
          Phoenix, AZ 85012
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Copyright Clearance Center                                          Contingent
          222 Rosewood Drive                                                  Unliquidated
          Danvers, MA 01923
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corbett, Cynthia                                                    Contingent
          213 Hitching Post Ln                                                Unliquidated
          Forest, Virginia 24551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corbett, Meg                                                        Contingent
          4712 S 94th Street                                                  Unliquidated
          Omaha, Nebraska 68127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corbin, Christopher                                                 Contingent
          217 15th Avenue Southeast                                           Unliquidated
          Rochester, Minnesota 55904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corbins Service Electric, LLC                                       Contingent
          4829 S 38th St                                                      Unliquidated
          Phoenix, AZ 85040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cordero Santiesteban, Iliache                                       Contingent
          9953 Shadow Grove Avenue                                            Unliquidated
          Las Vegas, Nevada 89148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 243 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 267 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.169
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $789,174.22
          Corehealth Technologies Inc.                                        Contingent
          #202-3275 Lakeshore Rd                                              Unliquidated
          00000, 00000 00000-0000
                                                                              Disputed
          Date(s) debt was incurred 5/15/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corley, Lassonia                                                    Contingent
          2139 Lake Park Dr SE, Apt D                                         Unliquidated
          Smyrna, Georgia 30080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corliss, Daniel                                                     Contingent
          71 NE Alberta St                                                    Unliquidated
          Portland, Oregon 97211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corneille, Keturah                                                  Contingent
          3863 Walker Rd.                                                     Unliquidated
          Apopka, Florida 32703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cornelius, Conor                                                    Contingent
          3857 N Kildare Ave                                                  Unliquidated
          Chicago, Illinois 60641-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $621.47
          Cornell Container Inc.                                              Contingent
          3000 Dundee Road #417                                               Unliquidated
          Northbrook, IL 60062
                                                                              Disputed
          Date(s) debt was incurred 5/13/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cornerstone Home Lending, Inc.                                      Contingent
          1177 West Loop South                                                Unliquidated
          Houston, TX 77027
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 244 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 268 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.170
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cornwell, Julie                                                     Contingent
          16 Meadow Tree Lane                                                 Unliquidated
          Lakewood, Pennsylvania 18439-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corona, Cynthia                                                     Contingent
          11835 wright rd                                                     Unliquidated
          Lynwood, California 90262-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corona, Leslie                                                      Contingent
          2410 Manila Ln                                                      Unliquidated
          Houston, Texas 77043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coronado, Craig                                                     Contingent
          927 West 8th Street                                                 Unliquidated
          Benicia, California 94510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corporate Care Management                                           Contingent
          1 Kattelville Rd                                                    Unliquidated
          Binghamton, NY 13901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,993.80
          Corporate Identity                                                  Contingent
          223 West Main Street                                                Unliquidated
          Barrington, IL 60010
                                                                              Disputed
          Date(s) debt was incurred      2/10/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corson, Matthew                                                     Contingent
          12019 Royalwood Drive                                               Unliquidated
          Fishers, Indiana 46037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 245 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 269 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.171
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Corson, Shawna                                                      Contingent
          4021 S. Loganberry Ct                                               Unliquidated
          New Palestine, Indiana 46163-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cortez, Kristina                                                    Contingent
          2920 Via San Carlo                                                  Unliquidated
          Montebello, California 90640-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cortez, Maria                                                       Contingent
          1111 E. Baylor Ln.                                                  Unliquidated
          Gilbert, Arizona 85296-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cosby, Torey                                                        Contingent
          4830 Crewsville Road                                                Unliquidated
          Bumpass, Virginia 23024-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Costa, Gina                                                         Contingent
          2923 Greenfield Road                                                Unliquidated
          Glenshaw, Pennsylvania 15116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Costanzo, Danielle                                                  Contingent
          1381 Oakridge Drive                                                 Unliquidated
          Cleveland Heights, Ohio 44124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Costello, David                                                     Contingent
          906 E. Magnolia Avenue                                              Unliquidated
          Auburn, Alabama 36830-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 246 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 270 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.171
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Costello, Linda                                                     Contingent
          320 Mitchele Grant Way                                              Unliquidated
          Bedford, Massachusetts 01730-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Costigan, Mathilda                                                  Contingent
          12915 Yellow Jacket Rd                                              Unliquidated
          Hagerstown, Maryland 21740-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cote, Charles                                                       Contingent
          681 Coffee Trail                                                    Unliquidated
          Geneva, Florida 32732-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cote, Christine                                                     Contingent
          309 E Carroll St                                                    Unliquidated
          Kentland, Indiana 47951-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cotter, Amanda                                                      Contingent
          400 Spring St. W. Apt 137                                           Unliquidated
          Saint Paul, Minnesota 55102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,040.00
          Cottingham & Butler Consulting Services                             Contingent
          Cottingham & Butler Consulting Services                             Unliquidated
          2601 Crossroads Drive Ste. 130
                                                                              Disputed
          Madison, WI 53718-7960
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.172
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cotton, Christina                                                   Contingent
          16738 Township Meadows Ct                                           Unliquidated
          Houston, Texas 77095-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 247 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 271 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.172
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cotton, Rochelle                                                    Contingent
          6939 S Lowe                                                         Unliquidated
          Chicago, Illinois 60621-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cotton, Shantavia                                                   Contingent
          401 Rivers Edge Cir Apt. 201                                        Unliquidated
          Elizabeth City, North Carolina 27909-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cotton-Cosper, Brittanie                                            Contingent
          2032 Villa Napoli Loop E                                            Unliquidated
          Las Cruces, New Mexico 88011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Couch Aggregates                                                    Contingent
          3905 Messer Airport Highway                                         Unliquidated
          Birmingham, AL 35222
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coughlin, Christine                                                 Contingent
          917 Greenleaf                                                       Unliquidated
          Wilmette, Illinois 60091-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coulter, James                                                      Contingent
          309 N simpson street                                                Unliquidated
          Philadelphia, Pennsylvania 19139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Countryman, Kristina                                                Contingent
          624 Rimington Lane                                                  Unliquidated
          Decatur, Georgia 30030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 248 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 272 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.173
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Countryside Bank                                                    Contingent
          6734 Joliet Road                                                    Unliquidated
          Countryside, IL 60525
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          County of DuPage                                                    Contingent
          421 N County Farm Rd                                                Unliquidated
          Wheaton, IL 60187-3978
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Couper, Susan                                                       Contingent
          55 Cherry Brook Rd                                                  Unliquidated
          Weston, Massachusetts 02493-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Couprie, Appoline                                                   Contingent
          16643 Superior Street                                               Unliquidated
          Northridge, California 91343-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Courey, Susan                                                       Contingent
          3700 Galt Ocean Drive #512                                          Unliquidated
          Ft Lauderdale, Florida 33308-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Court, Christopher                                                  Contingent
          4300 Spring Hill Drive                                              Unliquidated
          College Station, Texas 77845-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Courtney, Kirsten                                                   Contingent
          2321 Costa Mesa Drive                                               Unliquidated
          Dallas, Texas 75228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 249 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 273 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.173
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cousino, Matthew                                                    Contingent
          910 W Lawrence Ave                                                  Unliquidated
          Apt 206
                                                                              Disputed
          Chicago, Illinois 60640-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coutee, Adrienne                                                    Contingent
          13080 Peppergate Lane                                               Unliquidated
          Houston, Texas 77044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coutre, Mark                                                        Contingent
          419 Maple Street                                                    Unliquidated
          Winnetka, Illinois 60093-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Covelli, Ian                                                        Contingent
          206 Judy Ln                                                         Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Covert, Julia                                                       Contingent
          213 South East Street                                               Unliquidated
          Waterford, Pennsylvania 16441-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Covert, Stacey                                                      Contingent
          2811 West Deer Valley Rd                                            Unliquidated
          Apt 2095
                                                                              Disputed
          Phoenix, Arizona 85027-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cowan, Courtney                                                     Contingent
          1780 Kettner Blvd                                                   Unliquidated
          Unit 702
                                                                              Disputed
          San Diego, California 92101-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 250 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 274 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.174
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coweta-Fayette EMC                                                  Contingent
          807 Collinsworth Road                                               Unliquidated
          Palmetto, GA 30268
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cowley, Mckinzie                                                    Contingent
          2504 Linda Drive                                                    Unliquidated
          Urbandale, Iowa 50322-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cox, Amanda                                                         Contingent
          1221 Berrywood Drive                                                Unliquidated
          Lexington, Kentucky 40515-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cox, Barbara                                                        Contingent
          66 Columbia Ave                                                     Unliquidated
          Newark, New Jersey 07106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cox, Cathleen                                                       Contingent
          4202 Hillcrest Rd                                                   Unliquidated
          Richmond, Virginia 23225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cox, Elizabeth                                                      Contingent
          1442 Glynn Oaks Drive                                               Unliquidated
          Marietta, Georgia 30008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cox, Helen                                                          Contingent
          P.O. Box 140861                                                     Unliquidated
          Broken Arrow, Oklahoma 74014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 251 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 275 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.175
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cox, Lisa                                                           Contingent
          720 cedar ave                                                       Unliquidated
          Metairie, Louisiana 70001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Coz, Juan                                                           Contingent
          3932 Fairsmith St                                                   Unliquidated
          Dayton, Ohio 45416-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CP&Y, Inc                                                           Contingent
          1820 Regal Row                                                      Unliquidated
          Dallas, TX 75235
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cradler, Leslie                                                     Contingent
          6048 Taylor Drive                                                   Unliquidated
          Apt. 54
                                                                              Disputed
          Burlington, Kentucky 41005-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.175
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Craemer, Michele                                                    Contingent
          17 HENRY'S PATH                                                     Unliquidated
          UPTON, Massachusetts 01568-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Craftsmen Transportation Services, LLC                              Contingent
          3755 Mueller Rd.,                                                   Unliquidated
          Saint Charles, MO 63301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Craig, Chani                                                        Contingent
          5134 Wilmar Lane                                                    Unliquidated
          Rhinelander, Wisconsin 54501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 252 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 276 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.176
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Craig, Mhairi                                                       Contingent
          2311 Loreley Lane                                                   Unliquidated
          Wilmington, Delaware 19810-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Craig, Monica                                                       Contingent
          457 Poplar Forest Ln                                                Unliquidated
          Pittsboro, North Carolina 27312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Craig, Tramaine                                                     Contingent
          1305 Amber Chase Drive                                              Unliquidated
          McDonough, Georgia 30253-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Craigen, Charlene                                                   Contingent
          1429 E. 214th Street                                                Unliquidated
          Los Angeles, California 90745-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crain, Megan                                                        Contingent
          15022 Wycliffe Dr, Apt 17                                           Unliquidated
          Omaha, Nebraska 68154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crane, Cherisse                                                     Contingent
          6637 Sherrod Drive                                                  Unliquidated
          Fayetteville, North Carolina 28314-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crane, Enyana                                                       Contingent
          1516 10th Ave                                                       Unliquidated
          Leavenworth, Kansas 66048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 253 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 277 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.176
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crankson, Diane                                                     Contingent
          2673 Doncsater Ave SW                                               Unliquidated
          Grand Rapids, Michigan 49509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crater, Regina                                                      Contingent
          217 Pinebrook School Rd                                             Unliquidated
          Mocksville, North Carolina 27028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.00
          Crawford County Memorial Hospital                                   Contingent
          100 Medical Pwky                                                    Unliquidated
          Denison, IA 51442-2299
                                                                              Disputed
          Date(s) debt was incurred 2/28/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crawford Electric Supply                                            Contingent
          7390 Northcourt Road                                                Unliquidated
          Houston, TX 77040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crawford, JaShaunda                                                 Contingent
          16446 Fulgham Lane                                                  Unliquidated
          Smithfield, Virginia 23430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crawford, Rachel                                                    Contingent
          7808 Orchid Drive                                                   Unliquidated
          Corona, California 92880-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crawford, Shaina                                                    Contingent
          419 West Avenue C                                                   Unliquidated
          Bismark, North Dakota 58501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 254 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 278 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.177
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crawford, Stacy                                                     Contingent
          3217 Dr Martin Luther King Dr                                       Unliquidated
          St. Louis, Missouri 63106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Creal, Natasha                                                      Contingent
          246 Arrowhead St                                                    Unliquidated
          Park Forest, Illinois 60466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crear, Jane                                                         Contingent
          2885 Basswood Drive                                                 Unliquidated
          Mound, Minnesota 55364-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Credit Bureau of Carbon County dba Colle                            Contingent
          5819 Lockheed Avenue                                                Unliquidated
          Loveland, CO 80538
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Credo Community Center                                              Contingent
          595 W. Main Street                                                  Unliquidated
          Watertown, NY 13601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cremat, Dean                                                        Contingent
          11472 Swan Lake Drive                                               Unliquidated
          San Diego, California 92131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crescent Capital                                                    Contingent
          11100 Santa Monica Blvd                                             Unliquidated
          Suite 2000
                                                                              Disputed
          Los Angeles, CA 90025
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 255 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 279 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.178
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crespo, Raphael                                                     Contingent
          144 Union Ave                                                       Unliquidated
          Belleville, New Jersey 07109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crici, Karen                                                        Contingent
          1010 W Tennessee Trail                                              Unliquidated
          St Johns, Florida 32259-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Criss, Patricia                                                     Contingent
          2685 Highway 34                                                     Unliquidated
          Osceola, Iowa 50213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Criswell, Lisa                                                      Contingent
          10415 Indian Trail                                                  Unliquidated
          Sanger, Texas 76266-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crockett, Marylou                                                   Contingent
          313 W Grant St                                                      Unliquidated
          Greentown, Indiana 46936-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cromwell, Luz                                                       Contingent
          7255 E Snyder Rd unit 1106                                          Unliquidated
          Tucson, Arizona 85750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cronebach, Debra                                                    Contingent
          694 Homerun Dr                                                      Unliquidated
          O'Fallon, Missouri 63366-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 256 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 280 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.178
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crosby, Sarah                                                       Contingent
          1 Adele Street                                                      Unliquidated
          Lynchburg, Virginia 24503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crossley, Richard                                                   Contingent
          910 W. Sycamore, Apt 3                                              Unliquidated
          Carbondale, Illinois 62901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crowley                                                             Contingent
          9487 Regency Square Blvd                                            Unliquidated
          Jacksonville, FL 32225
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Croyl, Melissa                                                      Contingent
          504 Marlow Drive                                                    Unliquidated
          Flower Mound, Texas 75028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crozier, Mackenzie                                                  Contingent
          3110 Walling Dr                                                     Unliquidated
          Austin, Texas 78705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crudup, Lisa                                                        Contingent
          2237 Bryn Mawr Ave, Apt 215                                         Unliquidated
          Philadelphia, Pennsylvania 19131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Crusterson, Laura                                                   Contingent
          5321 Park Village Drive                                             Unliquidated
          Little Rock, Arkansas 72209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 257 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 281 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.179
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cruz, Catherine                                                     Contingent
          1600 N Wilmot Rd unit 311                                           Unliquidated
          Tucson, Arizona 85712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cruz, Jessica                                                       Contingent
          2224 Brent Ct                                                       Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cruz, Kristine                                                      Contingent
          2343 Clover street                                                  Unliquidated
          simi valley, California 93065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cruz, Lacy                                                          Contingent
          3001 N Woodcrest Drive                                              Unliquidated
          Midwest City, Oklahoma 73110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CS&P Technologies, LP                                               Contingent
          18119 Telge Road                                                    Unliquidated
          Cypress, TX 77429
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Csatari, Janie                                                      Contingent
          601 Crystal Springs Ct                                              Unliquidated
          Fox lake, Illinois 60020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CSW Industrials, Inc                                                Contingent
          5420 Lyndon B. Johnson Freeway                                      Unliquidated
          Dallas, TX 75240
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 258 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 282 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.180
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,921.90
          CT Corporation - IH                                                 Contingent
          P.O Box 4349                                                        Unliquidated
          Carol Stream, IL 60197-4349
                                                                              Disputed
          Date(s) debt was incurred 4/30/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CubeSmart Management, LLC                                           Contingent
          1905 East William Cannon Drive                                      Unliquidated
          Austin, TX 78744
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cuellar, Brandy                                                     Contingent
          4719 West Haward Pl                                                 Unliquidated
          Denver, Colorado 80212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cuellar, Jasmine                                                    Contingent
          800 Gazebo Ct.                                                      Unliquidated
          Suisun City, California 94585-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cuite, Erin                                                         Contingent
          562 Elizabeth Avenue                                                Unliquidated
          River Vale, New Jersey 07675-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Culloo, Ann                                                         Contingent
          150 Corey Colonial                                                  Unliquidated
          Agawam, Massachusetts 01001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Culp, Kylie                                                         Contingent
          8011 Greenbriar                                                     Unliquidated
          Amarillo, Texas 79119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 259 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 283 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.180
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Culpepper, Felicia                                                  Contingent
          12708 Wayzata Blvd #306                                             Unliquidated
          Minnetonka, Minnesota 55305-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cumby-Murphy, Gwendolyn                                             Contingent
          2832 142nd Place                                                    Unliquidated
          Blue Island, Illinois 60406-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cunningham, Amanda                                                  Contingent
          176 L Street APT 3                                                  Unliquidated
          South Boston, Massachusetts 02127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cunningham, Angel                                                   Contingent
          2485 Washington Avenue                                              Unliquidated
          Hurricane, Virginia 25526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cunningham, Leanor                                                  Contingent
          6054 7th Avenue                                                     Unliquidated
          Los Angeles, California 90043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cunningham, Marlene                                                 Contingent
          4135 Brown Bark Circle                                              Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cunningham, Reiko                                                   Contingent
          808 Ne 12th St                                                      Unliquidated
          Grimes, Iowa 50111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 260 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 284 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.181
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,193.75
          CuraLinc, LLC                                                       Contingent
          314 W. Superior Street                                              Unliquidated
          Suite 601
                                                                              Disputed
          Chicago, IL 60654
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.181
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Curameng, Karen                                                     Contingent
          276 N Dellwood Ave                                                  Unliquidated
          Dellwood, Missouri 63135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Curiel, Giselle                                                     Contingent
          4007 Clarcona Ocoee Road                                            Unliquidated
          orlando, Florida 32810-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CURRAN GROUP, INC.                                                  Contingent
          286 Memorial Court                                                  Unliquidated
          Crystal Lake, IL 60014
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Curry, DaDresha                                                     Contingent
          439 Slaton Ave                                                      Unliquidated
          Hartwell, Georgia 30643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Curry, Maria                                                        Contingent
          81 Liberty Street                                                   Unliquidated
          Braintree, Massachusetts 02184-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Curtin, Maria                                                       Contingent
          150 Main Street                                                     Unliquidated
          Westford, Massachusetts 01886-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 261 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 285 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.182
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Curtis, Kelli                                                       Contingent
          3151 California St.                                                 Unliquidated
          Apt. 5A
                                                                              Disputed
          San Francisco, California 94115-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.182
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Curtis, Leilani                                                     Contingent
          1442 Eastmeadow Circle                                              Unliquidated
          Colorado Springs, Colorado 80906-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cushing, Betti                                                      Contingent
          143 Pasbehegh Drive                                                 Unliquidated
          Williamsburg, Virginia 23185-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Custer County                                                       Contingent
          1010 Main Street                                                    Unliquidated
          Miles City, MT 59301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Custer, Pamela                                                      Contingent
          2166 N Cole St                                                      Unliquidated
          Lima, Ohio 45801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Custom Data Processing                                              Contingent
          1408 S. Joliet Rd.                                                  Unliquidated
          Romeoville, IL 60446
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cuttone, Lynn                                                       Contingent
          701 Cold Springs Rd                                                 Unliquidated
          Woodstock, Illinois 60098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 262 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 286 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.183
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cvitanovic, Jennifer                                                Contingent
          446 Wilder Place                                                    Unliquidated
          Shreveport, Louisiana 71104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cwynar, Georgine                                                    Contingent
          3710 Owl Drive                                                      Unliquidated
          Rolling Meadows, Illinois 60008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          D & W Diesel                                                        Contingent
          1503 Clark St. Rd.                                                  Unliquidated
          Auburn, NY 13021
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          D'Amore, Nicole                                                     Contingent
          14 Dinsore Court                                                    Unliquidated
          Cambridge, Massachusetts 02138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          D'Ascoli, Midge                                                     Contingent
          12602 W Indianola Avenue                                            Unliquidated
          Avondale, Arizona 85392-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          D'Onofrio, Alana                                                    Contingent
          4037 Fernwood Ct                                                    Unliquidated
          Pleasanton, California 94588-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dado, Katrina                                                       Contingent
          1267 Lakeside Dr, Apt 2084                                          Unliquidated
          Sunnyvale, California 94085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 263 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 287 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.183
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dagdagan, Froilan                                                   Contingent
          2310 North Williamsburg Street                                      Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dahl, Anna                                                          Contingent
          47657 - 290 Avenue                                                  Unliquidated
          Rolfe, Iowa 50581-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dahl, Hanna                                                         Contingent
          3 E Riverside Rd                                                    Unliquidated
          Esko, Minnesota 55733-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dahl, Kimberly                                                      Contingent
          213 Hallwood Court                                                  Unliquidated
          Holly Springs, North Carolina 27540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dahlin, Angela                                                      Contingent
          903 Maplewood                                                       Unliquidated
          Irvine, California 92618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daikin Applied                                                      Contingent
          13600 Industrial Park Boulevard                                     Unliquidated
          Plymouth, MN 55441
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daimler, Laura                                                      Contingent
          9431 Renaissance Dr                                                 Unliquidated
          St John, Indiana 46373-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 264 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 288 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.184
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dal Nogare, Cara                                                    Contingent
          245 Bennett Ave Apt 3h                                              Unliquidated
          Newyork, New York 10040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daley, Christina                                                    Contingent
          12971 East River Road                                               Unliquidated
          Columbia Station, Ohio 44028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daley, Linda                                                        Contingent
          29 Prescott Street                                                  Unliquidated
          Framingham, Massachusetts 01702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daley, Susan                                                        Contingent
          11 Horizon Road                                                     Unliquidated
          Sharon, Massachusetts 02067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dallas Door & Supply Co.                                            Contingent
          9101 Chancellor Row                                                 Unliquidated
          Dallas, TX 75247
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dallas Group of America, Inc.                                       Contingent
          374 US Highway 22 W                                                 Unliquidated
          Whitehouse Station, NJ 08888
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dalton, Chemetra                                                    Contingent
          1527 lawrence way                                                   Unliquidated
          Winston Salem, North Carolina 27105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 265 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 289 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.185
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daly, Elaine                                                        Contingent
          11017 W 125th St                                                    Unliquidated
          Overland Park, Kansas 66213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Damanti, Charles                                                    Contingent
          405 Parker Creek Rd                                                 Unliquidated
          Holly Springs, North Carolina 27540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Damanti, Donna                                                      Contingent
          405 Parker Creek Road                                               Unliquidated
          Holly Springs, North Carolina 27540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Damer, Aman                                                         Contingent
          1800 Graham Ave                                                     Unliquidated
          Unit 223
                                                                              Disputed
          Saint Paul, Minnesota 55116-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.185
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dammerman, Blair                                                    Contingent
          661 W Beecher St                                                    Unliquidated
          APT 19
                                                                              Disputed
          Adrian, Michigan 49221-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.185
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Damour, Queenna                                                     Contingent
          72 Princeton St                                                     Unliquidated
          Valley Stream, New York 11580-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Damptey, Ruby                                                       Contingent
          5604 indian hill dr                                                 Unliquidated
          arlington, Texas 76018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 266 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 290 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.185
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dana Incorporated                                                   Contingent
          3939 Technology Drive                                               Unliquidated
          Maumee, OH 43537
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dancker                                                             Contingent
          291 Evans Way                                                       Unliquidated
          Somerville, NJ 08876
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dang, Elizabeth                                                     Contingent
          220 Valley Drive                                                    Unliquidated
          Columbia, Tennessee 38401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daniel, Jennifer                                                    Contingent
          2436 N. Berkshire Rd                                                Unliquidated
          Charlottesville, Virginia 22901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daniel, Tyler                                                       Contingent
          15420 Livingston Ave                                                Unliquidated
          Apt. 1420
                                                                              Disputed
          Lutz, Florida 33559-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.186
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daniels, Dana                                                       Contingent
          8826 N. Rylander Circle                                             Unliquidated
          Houston, Texas 77071-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daniels, Kristen                                                    Contingent
          305 Brownview Dr                                                    Unliquidated
          Chattanooga, Tennessee 37415-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 267 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 291 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.186
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daniels, Robin                                                      Contingent
          8101 S Stewart                                                      Unliquidated
          Chicago, Illinois 60620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daniels, Ronnie                                                     Contingent
          8659 87th Ave                                                       Unliquidated
          Justice, Illinois 60458-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dannemiller, Melissa                                                Contingent
          3774 Chesterfield Drive                                             Unliquidated
          Akron, Ohio 44319-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dantona, Michael                                                    Contingent
          76 Little Nahant Road                                               Unliquidated
          Nahant, Massachusetts 01908-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Danville Area Community College                                     Contingent
          2000 East Main Street                                               Unliquidated
          Danville, IL 61832
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Darvin Furniture                                                    Contingent
          15400 S. LaGrange Road                                              Unliquidated
          Orland Park, IL 60462
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dasmohapatra, Madhuri                                               Contingent
          13819 Inland Spring Ct.                                             Unliquidated
          #105
                                                                              Disputed
          Houston, Texas 77059-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 268 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 292 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.187
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,589.61
          Datalink Corporation dba Insight Direct                             Contingent
          Post Office Box 1450                                                Unliquidated
          NW-8286
                                                                              Disputed
          Minneapolis, MN 55485
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.187
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Datamax, Inc.                                                       Contingent
          2121 Hampton Ave                                                    Unliquidated
          Saint Louis, MO 63136
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dates, Marion                                                       Contingent
          9104 Dayton Springfield Rd                                          Unliquidated
          Fairborn, Ohio 45324-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Datz, Haily                                                         Contingent
          4822 N 19th St                                                      Unliquidated
          Bismarck, North Dakota 58503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dauby O'Connor and Zaleski                                          Contingent
          900 Jorie Blvd                                                      Unliquidated
          Ste 250
                                                                              Disputed
          Oak Brook, IL 60523
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.187
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daughtry, Nicole                                                    Contingent
          12 Winton Court                                                     Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davenport, Sharon                                                   Contingent
          6002 Summerville Lane                                               Unliquidated
          Bossier, Louisiana 71111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 269 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 293 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.187
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          David Evans Enterprises, Inc                                        Contingent
          2100 Sw River Parkway                                               Unliquidated
          Portland, OR 97201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          David's Bridal                                                      Contingent
          1001 Washington St                                                  Unliquidated
          Conshohocken, PA 19428
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          David, Blake                                                        Contingent
          1326 N Harvard Ave                                                  Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davidson Jr, Donald                                                 Contingent
          118 East 2nd Street                                                 Unliquidated
          Peru, Indiana 46970-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davidson La Clare, Nicole                                           Contingent
          39045 Flamingo St NW                                                Unliquidated
          Stanchfield, Minnesota 55080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davila, Jose                                                        Contingent
          1010 N Stapley Dr. Apt. 219                                         Unliquidated
          Mesa, Arizona 85203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Andrew                                                       Contingent
          505 Navajo Springs Road                                             Unliquidated
          Los Angeles, California 91765-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 270 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 294 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.188
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Annette                                                      Contingent
          5530 W. Hackamore Dr                                                Unliquidated
          Phoenix, Arizona 85083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Bethany                                                      Contingent
          48 Lincoln Ave                                                      Unliquidated
          Angola, New York 14006-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Bianca                                                       Contingent
          6232 Hedgesparrows Lane                                             Unliquidated
          Sanford, Florida 32771-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Brent                                                        Contingent
          500 N. Chippewa Drive                                               Unliquidated
          Chandler, Arizona 85224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Briana                                                       Contingent
          111 Kelly Cove                                                      Unliquidated
          Canton, Mississippi 39046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Deborah                                                      Contingent
          1130 N. Douglas                                                     Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Denise                                                       Contingent
          752 North Main Street #195                                          Unliquidated
          Mansfield, Texas 76063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 271 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 295 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.189
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Felicia                                                      Contingent
          1007 Stable Side Court                                              Unliquidated
          Houston, Texas 77073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, George                                                       Contingent
          512 Craddock Ave                                                    Unliquidated
          Apt 1331
                                                                              Disputed
          San Marcos, Texas 78666-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.189
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Graham and Stubbs                                            Contingent
          1550 17th St Ste 500                                                Unliquidated
          Denver, CO 80202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Ivy                                                          Contingent
          304 Bertolino Dr                                                    Unliquidated
          Kenner, Louisiana 70065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Jeanette                                                     Contingent
          21740 Thames Street                                                 Unliquidated
          Wyoming, Minnesota 55092-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Jennifer                                                     Contingent
          114 Hillview                                                        Unliquidated
          Luling, Texas 78648-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Joanne                                                       Contingent
          4000 Bush Lake Place                                                Unliquidated
          Glen Allen, Virginia 23060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 272 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 296 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.190
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Joshua                                                       Contingent
          14435 S. 48th St                                                    Unliquidated
          Apt 1105
                                                                              Disputed
          Phoenix, Arizona 85044-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.190
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Kiley                                                        Contingent
          2508 7th Street                                                     Unliquidated
          Galena Park, Texas 77547-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Kimberly                                                     Contingent
          1290 Carlton Arms Circle                                            Unliquidated
          Apt. D
                                                                              Disputed
          Bradenton, Florida 34208-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.190
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Linda                                                        Contingent
          8879 Kennard Rd                                                     Unliquidated
          Lodi, Ohio 44254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Linda                                                        Contingent
          8879 Kennard Rd                                                     Unliquidated
          Lodi, Ohio 44254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Liza                                                         Contingent
          134 Magnolia Estates                                                Unliquidated
          League City, Texas 77573-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Melissa                                                      Contingent
          113 Windover Court                                                  Unliquidated
          McMurray, Pennsylvania 15317-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 273 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 297 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.190
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Merene                                                       Contingent
          10755 deauville drive                                               Unliquidated
          Fort worth, Texas 76108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Nina                                                         Contingent
          11235 Oak Leaf Drive                                                Unliquidated
          APT 503
                                                                              Disputed
          Silver Spring, Maryland 20901-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.190
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Rebecca                                                      Contingent
          132 Hatherly Road                                                   Unliquidated
          Scituate, Massachusetts 02066-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Rochelle                                                     Contingent
          2524 Lasalle Drive                                                  Unliquidated
          Irving, Texas 75062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Sharon                                                       Contingent
          11 Hilltop Drive                                                    Unliquidated
          West Hartford, Connecticut 06107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Shona                                                        Contingent
          1142 N Hickory Ave                                                  Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Tammy                                                        Contingent
          4637 Hilltop Terrace, Se                                            Unliquidated
          Washington, District of Columbia 20019-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 274 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 298 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.191
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis, Theresa                                                      Contingent
          11 Bayberry Road                                                    Unliquidated
          Newburyport, Massachusetts 01950-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis-Bork, Erin                                                    Contingent
          6229 Sandshores Dr                                                  Unliquidated
          Troy, Michigan 48085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis-Dickerson, Nishi                                              Contingent
          4024 Periwinkle Dr                                                  Unliquidated
          Fort Worth, Texas 76137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davis-Salther, Shantae                                              Contingent
          2234 S 19th Ave                                                     Unliquidated
          Broadview, Illinois 60155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Davison, Krystal                                                    Contingent
          2406 Avenido Del Pinar                                              Unliquidated
          Gautier, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dawkins, Laverne                                                    Contingent
          1167 Creekside Court                                                Unliquidated
          Burton, Michigan 48509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dawson County (MT)                                                  Contingent
          207 W Bell Street                                                   Unliquidated
          Glendive, MT 59330
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 275 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 299 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.192
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dawson, Dustin                                                      Contingent
          4650 Lakeshore Dr                                                   Unliquidated
          Shreveport, Louisiana 71109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dawson, Jean                                                        Contingent
          23346 Rolling Ct                                                    Unliquidated
          Lexington Park, Virginia 20653-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Day, Heidi                                                          Contingent
          119 Kingsmill Place                                                 Unliquidated
          Advance, North Carolina 27006-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Day, Rachel                                                         Contingent
          5126 Prince Phillip Cove                                            Unliquidated
          Brentwood, Tennessee 37027-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dayton Freight Lines, Inc.                                          Contingent
          6450 Poe Ave Suite 311                                              Unliquidated
          Dayton, OH 45414
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          dbSpectra, Inc.                                                     Contingent
          1590 E Highway 121 Business Building                                Unliquidated
          Lewisville, TX 75056
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          De La Rosa, Gladys                                                  Contingent
          1815 W. 5TH Street                                                  Unliquidated
          FT Stockton, Texas 79735-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 276 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 300 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.192
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          De La Torre, Gabriel                                                Contingent
          11223 Snow Bell Place                                               Unliquidated
          Fontana, California 92337-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          De Leon, Margaret                                                   Contingent
          5252 Bishop Street #7                                               Unliquidated
          Cypress, California 90630-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          De Maria, Jason                                                     Contingent
          6949 Blue Flag Ave                                                  Unliquidated
          Woodridge, Illinois 60517-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          De Pasquale, Domenica                                               Contingent
          2913 N 74th Avenue                                                  Unliquidated
          Elmwood Park, Illinois 60707-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          De Vera, Carmela                                                    Contingent
          218 W 8th Street                                                    Unliquidated
          Bloomsburg, Pennsylvania 17815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deagan, Patrick                                                     Contingent
          320 Fernway Drive                                                   Unliquidated
          Copley, Ohio 44321-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dean, Acquita                                                       Contingent
          9007 Anderson Bluff                                                 Unliquidated
          Converse, Texas 78109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 277 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 301 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.193
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deanna Taylor                                                       Contingent
          3011 Walden Circle                                                  Unliquidated
          Waukesha, WI 53188
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dearborn, Walter                                                    Contingent
          800 Cathedral St                                                    Unliquidated
          APT # 2
                                                                              Disputed
          Baltimore, Maryland 21201-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.193
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Debnam, Alena                                                       Contingent
          603 Godwin St                                                       Unliquidated
          Portsmouth, Virginia 23704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Debonville, Stacey                                                  Contingent
          11 McAfee Farm Rd                                                   Unliquidated
          Bedford, New Hampshire 03110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deboo, Kathryn                                                      Contingent
          750 N. Dearborn                                                     Unliquidated
          Chicago, Illinois 60654-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeBow, Nikela                                                       Contingent
          13794 W. Waddell                                                    Unliquidated
          #203-163
                                                                              Disputed
          Surprise, Arizona 85379-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.194
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeBoy, Amanda                                                       Contingent
          216 Julie Lane                                                      Unliquidated
          Hampshire, Illinois 60140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 278 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 302 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.194
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeCastris, Valeri                                                   Contingent
          918 Cunningham Street                                               Unliquidated
          Rockford, Illinois 61102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Decatur Memorial Hospital                                           Contingent
          2300 N Edward St                                                    Unliquidated
          Decatur, IL 62526
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Decatur School District 61                                          Contingent
          101 West Cerro Gordo                                                Unliquidated
          Decatur, IL 62523
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Decena, Mildred                                                     Contingent
          3744 Pruneridge Ave                                                 Unliquidated
          Santa Clara, California 94545-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dedert Corporation                                                  Contingent
          17740 Hoffman Way                                                   Unliquidated
          Homewood, IL 60430
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deer Lodge Elementary School District                               Contingent
          444 Montana Ave.                                                    Unliquidated
          Deer Lodge, MT 59722
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deer Valley Unified School District                                 Contingent
          20402 N. 15th Avenue                                                Unliquidated
          Phoeniz, AZ 85027
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 279 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 303 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.194
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deerfield SD 109                                                    Contingent
          517 Deerfield Road                                                  Unliquidated
          Deerfield, IL 60015
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dees, Hailee                                                        Contingent
          71 Lovett Drive                                                     Unliquidated
          Fredericksburg, Virginia 22407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          deFay, Lance                                                        Contingent
          167 Thorndyke Road                                                  Unliquidated
          Rochester, New York 14617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Defiance City Schools                                               Contingent
          629 Arabela Street                                                  Unliquidated
          Defiance, OH 43512
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeFranco, Jessica                                                   Contingent
          2907 Somerville Dr #B                                               Unliquidated
          Ft Collins, Colorado 80526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeGuzman, Jay                                                       Contingent
          123 E San Carlos Street                                             Unliquidated
          #306
                                                                              Disputed
          San Jose, California 95116-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.195
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeHaven, Stacie                                                     Contingent
          3509 Roland Ave., Apt B                                             Unliquidated
          Baltimore, Maryland 21211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 280 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 304 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.195
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dehkam, Anya                                                        Contingent
          15159 Jupiter Hills Ln                                              Unliquidated
          Haymarket, Virginia 20169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deiner, Kevin                                                       Contingent
          5712 Larchmont Dr                                                   Unliquidated
          Erie, Pennsylvania 16509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deising, Deanna                                                     Contingent
          5503 Riverview Court                                                Unliquidated
          Stevens Point, Wisconsin 54482-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deiss, Trina                                                        Contingent
          947 109th Lane                                                      Unliquidated
          Coon Rapids, Minnesota 55448-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeKalb County Government                                            Contingent
          110 East Sycamore Street                                            Unliquidated
          Sycamore, IL 60178
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Del Lago Casino                                                     Contingent
          1133 State Route 414                                                Unliquidated
          Waterloo, NY 13165
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Del Rio, Christine                                                  Contingent
          2N 344 Diane Ave                                                    Unliquidated
          Glen Ellyn, Illinois 60137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 281 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 305 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.196
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Del Valle, Norma                                                    Contingent
          8590 Dairy View Ln                                                  Unliquidated
          Houston, Texas 77072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Del Webb Wellness Center                                            Contingent
          12920 Del Webb Blvd                                                 Unliquidated
          Huntley, IL 60142
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeLaney, Mia                                                        Contingent
          706 S. Maple Ave #1                                                 Unliquidated
          Oak Park, Illinois 60304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delascasas, Jeanie                                                  Contingent
          1361 Eagle Street                                                   Unliquidated
          Apt 2A
                                                                              Disputed
          Joliet, Illinois 60432-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.196
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delatorre, Jose                                                     Contingent
          415 County Road 4118                                                Unliquidated
          Jacksonville, Texas 75766-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delaware Division of Revenue                                        Contingent
          PO Box 8763                                                         Unliquidated
          Wilmington, DE 19899
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delgadillo, Destiny                                                 Contingent
          6722 South L Street                                                 Unliquidated
          Tacoma, Washington 98408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 282 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 306 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.197
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delgado, Antonio                                                    Contingent
          1000 Borman Ct                                                      Unliquidated
          Elk Grove VIllage, Illinois 60007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delgado, Elena                                                      Contingent
          3804 17th St NE                                                     Unliquidated
          Washington, District of Columbia 20018-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delgado, Jacob                                                      Contingent
          1601 West 215th Street                                              Unliquidated
          Torrance, California 90501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DelGrosso, Susan                                                    Contingent
          300 Sunnybrook Road                                                 Unliquidated
          Springfield, Pennsylvania 19064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $659.78
          DELL Financial Services                                             Contingent
          P.O. Box 5275                                                       Unliquidated
          Carol Stream, IL 60197-5275
                                                                              Disputed
          Date(s) debt was incurred 5/3/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,930.98
          Dell Marketing L.P.                                                 Contingent
          C/O Dell USA L.P.                                                   Unliquidated
          P.O Box 802816
                                                                              Disputed
          Chicago, IL 60680-2816
          Date(s) debt was incurred 3/6/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.197
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeLoach, Jordan                                                     Contingent
          22046 Seminole St                                                   Unliquidated
          Southfield, Michigan 48033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 283 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 307 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.197
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeLoache, Timothy                                                   Contingent
          1010 North Hills Drive                                              Unliquidated
          Decatur, Georgia 30033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deloney, Evelyn                                                     Contingent
          1666 Walnut Lane                                                    Unliquidated
          Eagan, Minnesota 55122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeLong, Courtney                                                    Contingent
          411 Broadwell Ave APT 2                                             Unliquidated
          Fulton, New York 13069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delongs Inc                                                         Contingent
          Po Box 479                                                          Unliquidated
          Jefferson City, MO 65102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delta Card Services, Inc.                                           Contingent
          128 Vision Park Boulevard Suite 300                                 Unliquidated
          Shenandoah, TX 77384
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delta Dental of Missouri                                            Contingent
          12399 Gravois Rd FL 2                                               Unliquidated
          St. Louis, MO 63127-1761
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delta Engineers, Architects and Land Sur                            Contingent
          860 Hooper Rd                                                       Unliquidated
          Endwell, NY 13760
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 284 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 308 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.198
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delta Private Jets                                                  Contingent
          82 Comair Blvd                                                      Unliquidated
          Erlanger, KY 41018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Delucia, Neil                                                       Contingent
          16 Elaine Place                                                     Unliquidated
          Trumbull, Connecticut 06611-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deluxe                                                              Contingent
          3680 Victoria St. North                                             Unliquidated
          Shoreview, MN 55126
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Demetriou, Sara                                                     Contingent
          200 North Beaumont Ave                                              Unliquidated
          Catonsville, Maryland 21228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeMonte, Michelle                                                   Contingent
          1821 2nd Place                                                      Unliquidated
          St. Charles, Illinois 60174-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeMott, Andrew                                                      Contingent
          608 N. Ada #3                                                       Unliquidated
          Chicago, Illinois 60642-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dempsey, Anne                                                       Contingent
          21 e 5th ave                                                        Unliquidated
          Naperville, Illinois 60563-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 285 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 309 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.199
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dempsey, Brady                                                      Contingent
          820 Saddle Loop Road                                                Unliquidated
          Clarks Summit, Pennsylvania 18411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Demulling, Wendy                                                    Contingent
          1571 89th Street                                                    Unliquidated
          New Richmond, Wisconsin 54017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Denali State Bank                                                   Contingent
          119 N. Cushman Street                                               Unliquidated
          Fairbanks, AK 99701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dendrinelis, Alexis                                                 Contingent
          7155 Oak Stream Dr                                                  Unliquidated
          O'Fallon, Missouri 63368-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Denham, Ashley                                                      Contingent
          325 Oscar Johnson Rd                                                Unliquidated
          Junction City, Kentucky 40440-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Denise, Claire                                                      Contingent
          22705 Deppman Road                                                  Unliquidated
          Vashon, Washington 98070-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dennes, Jill                                                        Contingent
          7300 Sunshie Skyway Lane S.                                         Unliquidated
          Apt. 101
                                                                              Disputed
          St. Pertersburg, Florida 33711-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 286 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 310 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.199
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dennis Services                                                     Contingent
          3108 W 6th Street, Suite 312                                        Unliquidated
          Fort Worth, TX 76107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dennis, Nikia                                                       Contingent
          1072 James St                                                       Unliquidated
          Apt B19
                                                                              Disputed
          Syracuse, New York 13203-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.200
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dennis, Robin                                                       Contingent
          2965 S High Street                                                  Unliquidated
          Denver, Colorado 80210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Denton County                                                       Contingent
          2519 Scripture Street                                               Unliquidated
          Denton, TX 76201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Denver Regional Council of Governments                              Contingent
          1001 17th Street, Ste 700                                           Unliquidated
          Denver, CO 80202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DePaul University                                                   Contingent
          14 E. Jackson Blvd. Suite 1300                                      Unliquidated
          Chicago, IL 60604
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Depina, Sakini                                                      Contingent
          29 Lester St                                                        Unliquidated
          Ansonia, Connecticut 06401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 287 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 311 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.200
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DePrimo, Carly                                                      Contingent
          72 5th Ave                                                          Unliquidated
          Holtsville, New York 11742-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deprosse, Michelle                                                  Contingent
          4914 Gardenia Way                                                   Unliquidated
          Sacramento, California 95841-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Derby, Mike                                                         Contingent
          12421 Ashland Street                                                Unliquidated
          Granger, Indiana 46530-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DERINGER-NEY, INC                                                   Contingent
          616 Atrium Dr                                                       Unliquidated
          Suite 100
                                                                              Disputed
          Vernon Hills, IL 60061
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.200
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeRojas, Haley                                                      Contingent
          115 Goldfinch Dr                                                    Unliquidated
          Covington, Georgia 30016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeRojas, Jay                                                        Contingent
          115 Goldfinch Dr                                                    Unliquidated
          Covington, Georgia 30016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Desai, Shrushti                                                     Contingent
          130 Picardy Lane                                                    Unliquidated
          Wheeling, Illinois 60090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 288 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 312 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.201
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deshazo, Barry                                                      Contingent
          9207 Ridgefield Circle                                              Unliquidated
          Frederick, Maryland 21701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deshotels, Melissa                                                  Contingent
          840 Jenkins Rd Lot 17                                               Unliquidated
          Duson, Louisiana 70529-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Desilet, Lisa                                                       Contingent
          2608 W Divide Creek St                                              Unliquidated
          Meridian, Idaho 83646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Desillier, Cynthia                                                  Contingent
          14930 Topgallant St                                                 Unliquidated
          Corpus Christi, Texas 78418-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeSoto Parish School Board                                          Contingent
          201 Crosby Street                                                   Unliquidated
          Mansfield, LA 71052
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dessert, Jonathan                                                   Contingent
          435 Nw Patricia Ann Place                                           Unliquidated
          Hillsboro, Oregon 97006-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Destacy, Michael                                                    Contingent
          2871 Glenvale Drive                                                 Unliquidated
          Fairfax, Virginia 22031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 289 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 313 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.201
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Detroit Engineered Products, Inc.                                   Contingent
          850 E Long Lake Road                                                Unliquidated
          Troy, MI 48085
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dettmer, Melanie                                                    Contingent
          826 Grandview Drive                                                 Unliquidated
          Crystal Lake, Illinois 60014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deussen, Joy                                                        Contingent
          2253 Sunset Drive                                                   Unliquidated
          Escondido, California 92025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Devany, Candice                                                     Contingent
          54 Rainey Street #908                                               Unliquidated
          Austin, Texas 78701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deveney, Elinora                                                    Contingent
          7047 Patrick Place                                                  Unliquidated
          Apt C
                                                                              Disputed
          Indianapolis, Indiana 46256-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.202
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Devereaux, Brittany                                                 Contingent
          900 Sun Valley Dr                                                   Unliquidated
          Denton, Texas 76209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Devlin, April                                                       Contingent
          511 Meadowlark Drive                                                Unliquidated
          Box Elder, South Dakota 57719-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 290 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 314 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.202
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Devon Bank                                                          Contingent
          6445 N Western Ave.                                                 Unliquidated
          Chicago, IL 60645
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DeWalch Technologies Inc.                                           Contingent
          1441 Seamist Drive                                                  Unliquidated
          Houston, TX 77008
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Deweese, Andrea                                                     Contingent
          5009 Greenville Terrace                                             Unliquidated
          Lexington, Kentucky 40515-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dewitt, Sara                                                        Contingent
          509 Meadowlark Lane                                                 Unliquidated
          Manheim, Pennsylvania 17545-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dhupar, Neha                                                        Contingent
          317 Heredia Ct                                                      Unliquidated
          San Jose, California 95116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diakhaby, Aissatou                                                  Contingent
          4554 Park Ave                                                       Unliquidated
          Apt. A5
                                                                              Disputed
          Bronx, New York 10458-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diakon Lutheran Social Ministries                                   Contingent
          One South Home Avenue                                               Unliquidated
          Topton, PA 19562
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 291 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 315 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.203
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diamond Residential Mortgage Corporation                            Contingent
          3701 Grande Avenue                                                  Unliquidated
          Suite E
                                                                              Disputed
          Gurnee, IL 60031
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diamond, Melissa                                                    Contingent
          28542 Royal Ascot Drive                                             Unliquidated
          Fair Oaks Ranch, Texas 78015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diamond, Tova                                                       Contingent
          227 Stonebridge Road                                                Unliquidated
          Wayland, Massachusetts 01788-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dias McEvoy, Sierra                                                 Contingent
          5225 Mission Street #105                                            Unliquidated
          San Francisco, California 94112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diaz, Edrith                                                        Contingent
          452 Sanpiper Lane                                                   Unliquidated
          Casselberry, Florida 32707-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diaz, Martha                                                        Contingent
          985 Buffalo Creek Dr                                                Unliquidated
          Lake Zurich, Illinois 60047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dick, Pamela                                                        Contingent
          214 E Chason Ave                                                    Unliquidated
          Ellensburg, Washington 98926-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 292 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 316 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.204
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dicker, Suzanne                                                     Contingent
          2318 Birchwood Ct, North                                            Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dickey, Kendra                                                      Contingent
          114 E. Jones St, Apt B                                              Unliquidated
          Savannah, Georgia 31401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dickinson, Elizabeth                                                Contingent
          123 Kathleen Dr                                                     Unliquidated
          Plymouth, Massachusetts 02360-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dickson Diveley Orthopaedic Clinic                                  Contingent
          3651 College Blvd                                                   Unliquidated
          Leawood, KS 66211
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dicus, Kelly                                                        Contingent
          795 Craig School Rd                                                 Unliquidated
          Ripley, Tennessee 38063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Didion Orf Recycling, Inc.                                          Contingent
          206 Didion Drive                                                    Unliquidated
          St. Peters, MO 63376
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diedrich, Plaud                                                     Contingent
          4107 Montclair Street                                               Unliquidated
          Los Angeles, California 90018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 293 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 317 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.204
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dietrich, Rachael                                                   Contingent
          3995 Kentucky Lane                                                  Unliquidated
          Hudsonville, Michigan 49426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DiFillippo, Sheila                                                  Contingent
          507 Douglas Hook Road                                               Unliquidated
          Chepachet, Rhode Island 02814-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dihandjo-Othepa, Meryse                                             Contingent
          428 N Summit Avenue                                                 Unliquidated
          #201
                                                                              Disputed
          Gaitherburg, Maryland 20877-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dilevo, Tasha                                                       Contingent
          20 Larry Road                                                       Unliquidated
          Selden, New York 11784-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dillard, Amber                                                      Contingent
          1126 Hwy 53                                                         Unliquidated
          Prescott, Arkansas 71857-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dillard, Felecia                                                    Contingent
          1974 Hedgerow Circle                                                Unliquidated
          Ocoee, Florida 34761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dillon School District #10                                          Contingent
          14 N. Cottom Dr                                                     Unliquidated
          Dillon, MT 59725
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 294 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 318 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.205
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dillon, Carina                                                      Contingent
          9201 E Mississippi Ave                                              Unliquidated
          Apt X303
                                                                              Disputed
          Denver, Colorado 80247-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dillon, Norma                                                       Contingent
          7806 W Carmen Ave                                                   Unliquidated
          Norridge, Illinois 60706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dinges, Colleen                                                     Contingent
          66 Cottonwood Drive                                                 Unliquidated
          Chatham, Illinois 62629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dinwiddie, Sandra                                                   Contingent
          21263 N 95th Drive                                                  Unliquidated
          Peoria, Arizona 85382-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Diomande, Nadia                                                     Contingent
          2303 Holland ave                                                    Unliquidated
          4a Apt
                                                                              Disputed
          New York, New York 10467-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dionne, Paula                                                       Contingent
          P.O. Box 554                                                        Unliquidated
          Rehoboth, Massachusetts 02769-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dip, Peggy                                                          Contingent
          9580 Rockybrook Way                                                 Unliquidated
          Elk Grove, California 95624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 295 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 319 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.206
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DiPadova, Sarah                                                     Contingent
          811 Chestnut Ave                                                    Unliquidated
          National Park, New Jersey 08063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dirig, Angela                                                       Contingent
          4534 Bond Lane                                                      Unliquidated
          Oviedo, Florida 32765-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Disbro, Emily                                                       Contingent
          5550 Texas Ave, Apt 1121                                            Unliquidated
          Abilene, Texas 79605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Discover Financial Services                                         Contingent
          2500 Lake Cook Road                                                 Unliquidated
          Riverwoods, IL 60015
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,085.00
          DiscoverOrg Data, LLC                                               Contingent
          805 Broadway Street, Suite 900                                      Unliquidated
          Vancouver, WA 98660
                                                                              Disputed
          Date(s) debt was incurred 3/18/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dispenza, Daniel                                                    Contingent
          2200 Douglas St                                                     Unliquidated
          Joliet, Illinois 60453-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          District of Columbia Office of Tax & Rev                            Contingent
          PO Box 96169                                                        Unliquidated
          Washington, DC 20090-6169
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 296 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 320 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.206
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dittman, Robert                                                     Contingent
          2061 Tremont Ct.                                                    Unliquidated
          Libertyville, Illinois 60048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ditusa, Cassandra                                                   Contingent
          1402 W Lakeview St                                                  Unliquidated
          Johnsburg, Illinois 60051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dixon, Kalyn                                                        Contingent
          8109 Oak Hollow Dr                                                  Unliquidated
          Arlington, Texas 76001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dixon, Mary                                                         Contingent
          3932 Old Farm Ct                                                    Unliquidated
          Portsmouth, Virginia 23703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dixon, Sarah                                                        Contingent
          12 WOOD STREET                                                      Unliquidated
          Woodsboro, Maryland 21798-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dixon, Shakari                                                      Contingent
          3700 Watonga Blvd                                                   Unliquidated
          Apt. 2611
                                                                              Disputed
          Houston, Texas 77092-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.207
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dixon, Tennile                                                      Contingent
          107 Cofer Court                                                     Unliquidated
          Hampton, Virginia 23666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 297 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 321 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.207
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DKP Buffalo LLC                                                     Contingent
          175 Ensminger Rd                                                    Unliquidated
          Tonawanda, NY 14150
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DKS Associates                                                      Contingent
          720 SW Washington Street Suite                                      Unliquidated
          Portland, OR 97205
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DLR Group                                                           Contingent
          6457 Frances St Suite 200                                           Unliquidated
          Omaha, NE 68106
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DMG Information                                                     Contingent
          6 Armstrong Road, Fourth Floor                                      Unliquidated
          Shelton, CT 06484
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Do, Ryan                                                            Contingent
          P.O. Box 24915                                                      Unliquidated
          San Jose, California 95154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Doane, Bonnie                                                       Contingent
          5624 Serenity Haven Street                                          Unliquidated
          North Las Vegas, Nevada 89081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dobbs, Tyler                                                        Contingent
          1271 S. DIVISION AVE                                                Unliquidated
          Boise, Idaho 83702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 298 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 322 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.208
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dobson, Deborah                                                     Contingent
          2079 Julia Ave                                                      Unliquidated
          Avon, Ohio 44011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dobyns, Emmy                                                        Contingent
          1405 Haddon Place                                                   Unliquidated
          Hoover, Alabama 35226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dockter, Kathryn                                                    Contingent
          3012 Breton Ct SE                                                   Unliquidated
          Mandan, North Dakota 58554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dodd, Daniel                                                        Contingent
          4 Alexander Court                                                   Unliquidated
          Normal, Illinois 61761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dodd, Kimberly                                                      Contingent
          129 Post Oak Drive                                                  Unliquidated
          Trussville, Alabama 35173-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dodds, Lindsay                                                      Contingent
          9070 Woodshore Dr                                                   Unliquidated
          Dallas, Texas 75243-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dodge City Community College                                        Contingent
          2501 N 14th Ave                                                     Unliquidated
          Dodge City, KS 67801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 299 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 323 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.208
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dodson Brothers Exterminating Company, I                            Contingent
          3712 Campbell Ave                                                   Unliquidated
          Lynchburg, VA 24501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Doe, Jane                                                           Contingent
          123 Testing Lane                                                    Unliquidated
          TestCity, Maryland 12345-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Doellman, Melinda                                                   Contingent
          2700 Lind St.                                                       Unliquidated
          Quincy, Illinois 62301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dohmen                                                              Contingent
          190 N. Milwaukee Street                                             Unliquidated
          Milwaukee, WI 53202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Doka, Ralfi                                                         Contingent
          420 W. Wrightwood Ave                                               Unliquidated
          #706
                                                                              Disputed
          Chicago, Illinois 60614-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.209
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dolan, Dorothy                                                      Contingent
          1101 18th Ave South                                                 Unliquidated
          APT 606
                                                                              Disputed
          Nashville, Tennessee 37212-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.209
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dolan-Lawler, Bridget                                               Contingent
          2108 11 Ave NW                                                      Unliquidated
          Rochester, New York 55901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 300 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 324 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.209
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dole, Christian                                                     Contingent
          19 Azalea Drive                                                     Unliquidated
          Cabot, Arkansas 72023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dolezal, Robyn                                                      Contingent
          2825 Morgan Trail                                                   Unliquidated
          Edmond, Oklahoma 73012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dolton SD 148                                                       Contingent
          114 West 144th Street                                               Unliquidated
          Riverdale, IL 60827
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Domantay, Elyssia                                                   Contingent
          3416 Serpentine Dr                                                  Unliquidated
          Antioch, California 94509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Domdom, Francis                                                     Contingent
          10553 Pinion Trail                                                  Unliquidated
          Escondido, California 92026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dominguez, Laura                                                    Contingent
          400 Lillian lane                                                    Unliquidated
          Des Plaines, Illinois 60016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dominguez, Monique                                                  Contingent
          5555 Holly View Drive                                               Unliquidated
          Apt 1712
                                                                              Disputed
          Houston, Texas 77091-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 301 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 325 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.210
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Donadio, Nicole                                                     Contingent
          3902 Spring creek court                                             Unliquidated
          Abingdon, Massachusetts 21009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Donaghey, Ashley                                                    Contingent
          609 E 23rd Street                                                   Unliquidated
          Oakland, California 94606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Donaldson, Reinitta                                                 Contingent
          9712 S Eggleston                                                    Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Donely, Che-Ia                                                      Contingent
          9833 S Bensley                                                      Unliquidated
          Chicago, Illinois 60617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dong, Tong                                                          Contingent
          317 Linden Rd                                                       Unliquidated
          Lake Zurich, Illinois 60047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Donohue, Dawn                                                       Contingent
          4961 Arboleda Dr                                                    Unliquidated
          Fair Oaks, California 95628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Donovan, Chelsea                                                    Contingent
          6801 Woodview Drive                                                 Unliquidated
          Knoxville, Tennessee 37920-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 302 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 326 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.211
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Donovan, Susan                                                      Contingent
          121 Walton Drive                                                    Unliquidated
          Buffalo, New York 14226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dooley, Marina                                                      Contingent
          15630 Quorum Drive                                                  Unliquidated
          Apt. 4518
                                                                              Disputed
          Addison, Texas 75001-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.211
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dopkins & Company, LLP                                              Contingent
          200 International Drive                                             Unliquidated
          Williamsville, NY 14221
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dorador, Jorge                                                      Contingent
          6919 Highland Spring Ln                                             Unliquidated
          Highland, California 92346-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dorosh, Elisabeth                                                   Contingent
          5317 Fieldcrest Dr                                                  Unliquidated
          Pittsburgh, Pennsylvania 15236-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dorsey, Angelia                                                     Contingent
          545 Hammond Ave                                                     Unliquidated
          #3
                                                                              Disputed
          Aurora, Illinois 60506-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.211
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dorsey, Tara                                                        Contingent
          325 Leanne Rd                                                       Unliquidated
          Essex, Maryland 21221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 303 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 327 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.211
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dorsey, Teanna                                                      Contingent
          13070 Hazlewood drive                                               Unliquidated
          Denham Springs, Louisiana 70726-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dotson, Pamela                                                      Contingent
          8239 Brattle Road                                                   Unliquidated
          Pikesville, Maryland 21208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Doud, David                                                         Contingent
          13719 Flagstone Lane                                                Unliquidated
          Dallas, Texas 75240-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dougherty, Payton                                                   Contingent
          10533 w 84th pl                                                     Unliquidated
          Arvada, Colorado 80005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dougherty, Teri                                                     Contingent
          231 N. Comanche Lane                                                Unliquidated
          Waukesha, Wisconsin 53188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Douglas Emmett Properties, LP                                       Contingent
          808 Wilshire Blvd Ste 200                                           Unliquidated
          Santa Monica, CA 90401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Douglas Unified School District                                     Contingent
          1132 12th Street                                                    Unliquidated
          Douglas, AZ 85607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 304 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 328 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.212
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Douglas, Christopher                                                Contingent
          3336 Silver City Ct                                                 Unliquidated
          Montgomery, Illinois 60538-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Douglas, Scott                                                      Contingent
          6743 N Sheridan Road                                                Unliquidated
          3N
                                                                              Disputed
          Chicago, Illinois 60626-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Doulas, Kelli                                                       Contingent
          711 W Belmont                                                       Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dovenmuehle Mortgage                                                Contingent
          One Corporate Center Suite 360                                      Unliquidated
          Lake Zurich, IL 60047
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dowco Inc.                                                          Contingent
          4230 Clipper Dr                                                     Unliquidated
          Manitowoc, WI 54220
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dowell, Orlando                                                     Contingent
          1811 Dominion Oak Cir                                               Unliquidated
          Cary, North Carolina 27519-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Downey, Deborah                                                     Contingent
          16 High Meadow Lane                                                 Unliquidated
          Leesport, Pennsylvania 19533-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 305 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 329 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.213
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Downs, Angela                                                       Contingent
          3208 Lawrence Ave                                                   Unliquidated
          Huron, Ohio 44839-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Downs, Trina                                                        Contingent
          15101 Grant Street                                                  Unliquidated
          Dolton, Illinois 60419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Doyon Utilities                                                     Contingent
          714 Fourth Avenue, Suite 100                                        Unliquidated
          Fairbanks, AK 99701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Dr. Nimit Aggarwal                                                  Contingent
          2709 N Hartland Ct                                                  Unliquidated
          Chicago, IL 60614
                                                                              Disputed
          Date(s) debt was incurred      6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Drake, Shelly                                                       Contingent
          2305 Cutoff Road                                                    Unliquidated
          Schofield, Wisconsin 54476-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Drake-Blevins, Pamela                                               Contingent
          414 Cheeyo Place                                                    Unliquidated
          Loudon, Tennessee 37774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Drazich, Emily                                                      Contingent
          605 53rd street south                                               Unliquidated
          605 53rd St S
                                                                              Disputed
          Great Falls, Montana 59405-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 306 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 330 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.213
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dress, Jennifer                                                     Contingent
          6935 Pindell School Rd                                              Unliquidated
          Fulton, Maryland 20759-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Driasi                                                              Contingent
          7930 Century Blvd.                                                  Unliquidated
          Chanhassen, MN 55317
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Droll, Virginia                                                     Contingent
          25755 Folley Rd                                                     Unliquidated
          Columbia Station, Ohio 44028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Drummer, Aaliyah                                                    Contingent
          2213 Windsor Lane                                                   Unliquidated
          Country Club Hills, Illinois 60478-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Drummer, Maria                                                      Contingent
          2015 Weather Wood Place                                             Unliquidated
          Fort Wayne, Indiana 46818-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Drummond, Brenda                                                    Contingent
          322 East Yorktown Road                                              Unliquidated
          Yorktown, Virginia 23693-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Drzewicki, Angela                                                   Contingent
          285 Lynn Shore Dr Apt 210                                           Unliquidated
          Lynn, Massachusetts 01902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 307 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 331 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.214
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Drzik, Jennifer                                                     Contingent
          802 Van Dyke Lane                                                   Unliquidated
          Bel Air, Maryland 21014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DSI Holdings Corporation                                            Contingent
          2400 Wisconsin Ave.                                                 Unliquidated
          Downers Grove, IL 60515
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DSP Insurance Services                                              Contingent
          1900 E. Golf Road                                                   Unliquidated
          Suite 650
                                                                              Disputed
          Schaumburg, IL 60173
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.214
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DTN                                                                 Contingent
          11400 Rupp Drive,                                                   Unliquidated
          Burnsville,, MN 55337
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76,219.00
          Duane Morris LLP                                                    Contingent
          30 S. 17th Street                                                   Unliquidated
          Philadelphia, PA 19103-4196
                                                                              Disputed
          Date(s) debt was incurred 5/13/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dubin, Marilyn                                                      Contingent
          6601 Chippewa Drive                                                 Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DuBoff, Gabrielle                                                   Contingent
          3914 N Pine Grove Ave #2w                                           Unliquidated
          Chicago, Illinois 60613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 308 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 332 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.215
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dubois, Anna                                                        Contingent
          3050 Flying Horse Rd                                                Unliquidated
          Colorado Springs, Colorado 80922-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duchoslav, Brenda                                                   Contingent
          8066 E Shadow Canyon Rd.                                            Unliquidated
          Tucson, Arizona 85750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duckett, Troy                                                       Contingent
          82 Ewing Dr                                                         Unliquidated
          Reistertown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duddy, John                                                         Contingent
          601 61st Ave S                                                      Unliquidated
          St. Petersburg, Florida 33705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          DUDEK & BOCK                                                        Contingent
          5100 W. Roosevelt Road                                              Unliquidated
          Chicago, IL 60644
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dudish, Alisha                                                      Contingent
          154A Carl St                                                        Unliquidated
          San Francisco, California 94117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duffell, Anstice                                                    Contingent
          1828 Lurting Avenue                                                 Unliquidated
          Bronx, New York 10461-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 309 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 333 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.215
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duffy, Alissa                                                       Contingent
          1200 - 56th Street                                                  Unliquidated
          West Des Moines, Iowa 50266-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duffy, Patrick                                                      Contingent
          6406 Laurelton Ave                                                  Unliquidated
          Baltimore, Maryland 21214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duhe, Darla                                                         Contingent
          13132 State street.                                                 Unliquidated
          Hammond, Louisiana 70403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duininck Companies                                                  Contingent
          1717 16th Street NE                                                 Unliquidated
          Willmar, MN 56201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dukes, Rosemary                                                     Contingent
          28 Metropolitan Drive                                               Unliquidated
          Rochester, New York 14620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dull, Amy                                                           Contingent
          1018 Leyte Road                                                     Unliquidated
          Coronado, California 92118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dumers, Amanda                                                      Contingent
          4923 N. Oakley Ave                                                  Unliquidated
          Kansas City, Missouri 64119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 310 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 334 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.216
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dumitriu-Morentz, Antonia                                           Contingent
          1040 Stockton Ave                                                   Unliquidated
          Des Plaines, Illinois 60018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dummann, Christine                                                  Contingent
          126 W. 70th St.                                                     Unliquidated
          Richfield, Minnesota 55423-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dumont, Candace                                                     Contingent
          20319 Cathedral Oaks Drive                                          Unliquidated
          Corneliuis, North Carolina 28031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunaway Associates LP                                               Contingent
          550 Bailey Avenue Suite 400                                         Unliquidated
          Fort Worth, TX 76107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunbar Armored, Inc.                                                Contingent
          50 Schilling Road                                                   Unliquidated
          Hunt Valley, MD 21031
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunca, Joseph                                                       Contingent
          8900 Fair Oaks Blvd                                                 Unliquidated
          Carmichael, California 95608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duncan Trucking Ltd                                                 Contingent
          23860 West US Highway                                               Unliquidated
          Buckeye, AZ 85326
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 311 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 335 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.217
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duncan, Shawnetta                                                   Contingent
          3185 Amanda Dr                                                      Unliquidated
          Conway, Arkansas 72034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunigan, Dolan                                                      Contingent
          1380 coastal drive                                                  Unliquidated
          Rockwall, Texas 75087-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunkin Brands                                                       Contingent
          130 Royal Street                                                    Unliquidated
          Canton, MA 02021
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunkins, Toni                                                       Contingent
          534 E 91st St                                                       Unliquidated
          Chicago, Illinois 60619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunlap, Brenda                                                      Contingent
          226 E Pershing Ave                                                  Unliquidated
          Rivertown, Wyoming 82501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunn Building Company                                               Contingent
          3901 Messer Airport Highway                                         Unliquidated
          Birmingham, AL 35222
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunn Companies                                                      Contingent
          3905 Messer Airport Highway                                         Unliquidated
          Birmingham, AL 35222
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 312 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 336 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.218
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunn Construction                                                   Contingent
          3905 MESSER AIRPORT HWY                                             Unliquidated
          Birmingham, AL 35222
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunn Tire                                                           Contingent
          475 Cayuga Road                                                     Unliquidated
          Buffalo, NY 14225
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunn, William                                                       Contingent
          135 Sunset Drive                                                    Unliquidated
          Salem, New Jersey 08079-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunphy, Brian                                                       Contingent
          235 Castletown Road                                                 Unliquidated
          Timonium, Maryland 21093-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dunwoody Village                                                    Contingent
          3500 West Chester Pike                                              Unliquidated
          Newtown Square, PA 19073
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dupage High School District 88                                      Contingent
          2 Friendship Plaza                                                  Unliquidated
          Addison, IL 60101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dupage Medical Group                                                Contingent
          1100 W. 31st St. Suite 300                                          Unliquidated
          Downers Grove, IL 60515
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 313 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 337 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.218
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dupart, Shenika                                                     Contingent
          9209 S. Woodlawn 2FL                                                Unliquidated
          Chicago, Illinois 60619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dupriest, Sherron                                                   Contingent
          6701 Browns Mills Trail                                             Unliquidated
          Lithonia, Georgia 30038-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dupuis, Cheryl                                                      Contingent
          3613 S. Banana River Blvd                                           Unliquidated
          D-502
                                                                              Disputed
          Cocoa Beach, Florida 32931-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.219
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Durall, Anna                                                        Contingent
          9579 N Fortville Pike                                               Unliquidated
          Fortville, Indiana 46040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Durante, Cheryl                                                     Contingent
          436 S Walnut St                                                     Unliquidated
          Itasca, Illinois 60143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duravant                                                            Contingent
          3500 Lacey Rd Ste 290                                               Unliquidated
          Downers Grove, IL 60515-5443
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Duret, Michelle                                                     Contingent
          10130 NW 35st apt 102                                               Unliquidated
          Coral Springs, Florida 33065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 314 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 338 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.219
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Durex Industries                                                    Contingent
          190 Detroit Street                                                  Unliquidated
          Cary, IL 60013
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Durham, Joanna                                                      Contingent
          1505 Heather Hill Lane                                              Unliquidated
          Cockeysville, Maryland 21030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Durning, Deborah                                                    Contingent
          P.O. Box 6847                                                       Unliquidated
          Warwick, Rhode Island 02887-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Durr Construction                                                   Contingent
          72030 Live Oak St                                                   Unliquidated
          Covington, LA 70433
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Durrani, Ashar                                                      Contingent
          220 S Roselle Rd                                                    Unliquidated
          Schaumburg, Illinois 60193-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dussan, Jairo                                                       Contingent
          4177 East Village Dr                                                Unliquidated
          Mason, Ohio 45040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dutch Farms                                                         Contingent
          700 East 107th Street                                               Unliquidated
          Chicago, IL 60628
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 315 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 339 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.220
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dwivedi, Coeli                                                      Contingent
          557 Fordyce St                                                      Unliquidated
          Ashland, Oregon 97520-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dwyer, Sarah                                                        Contingent
          8203 Bubbling Spring                                                Unliquidated
          Laurel, Maryland 20723-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dykes, Michelle                                                     Contingent
          25839 W Sunset Rd                                                   Unliquidated
          Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dymacek, Adrienne                                                   Contingent
          3008 Roberts dr unit 4                                              Unliquidated
          Woodridge, Illinois 60517-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dyno Nobel, Inc.                                                    Contingent
          2795 E. Cottonwood Parkway Suite 500                                Unliquidated
          Salt Lake City, UT 84121
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dynojet                                                             Contingent
          200 Arden Drive                                                     Unliquidated
          Belegrade, MT 59714
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dyson, Nakisha                                                      Contingent
          1617 S. 30th                                                        Unliquidated
          Milwaukee, Wisconsin 53215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 316 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 340 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.220
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Dzul-Garcia, Charlotte                                              Contingent
          1824 1/2 NW 23rd St                                                 Unliquidated
          Oklahoma City, Oklahoma 73106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          e-MD's                                                              Contingent
          7800 Shoal Creek, East Wing                                         Unliquidated
          Austin, TX 78757
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          E.A. Langenfeld Associates, Ltd.                                    Contingent
          1471 E. Business Center Dr.                                         Unliquidated
          Suite 800
                                                                              Disputed
          Mt. Prospect, IL 60056
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.221
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          E.V. Bishoff Company                                                Contingent
          33 N. 3rd Street                                                    Unliquidated
          Columbus, OH 43215
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,210.00
          E3 Financial, Inc.                                                  Contingent
          4100 Newport Place Drive, Suite 650                                 Unliquidated
          Newport Beach, CA 92660
                                                                              Disputed
          Date(s) debt was incurred 1/27/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eagle Brook Church                                                  Contingent
          7015 20th Avenue                                                    Unliquidated
          Centerville, MN 55038
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eagle, Sheila                                                       Contingent
          1800 Shepherd Ct                                                    Unliquidated
          Waukesha, Wisconsin 53218-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 317 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 341 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.221
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Earle, Rachel                                                       Contingent
          610 NW 187th Street                                                 Unliquidated
          Miami, Florida 33169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Early, Julia                                                        Contingent
          1570 Black Mountain Road                                            Unliquidated
          Pilot Mountain, North Carolina 27041-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Early, Lony                                                         Contingent
          1526 N 40th Ave                                                     Unliquidated
          Stone Park, Illinois 60165-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Earthineni, Geethika                                                Contingent
          233 E Wacker Dr                                                     Unliquidated
          Apt 1405
                                                                              Disputed
          Chicago, Illinois 60601-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.221
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $51.00
          East Adams Rural Healthcare                                         Contingent
          903 South Adams                                                     Unliquidated
          Ritzville, WA 99169
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          East Maine SD 63                                                    Contingent
          10150 Dee Road                                                      Unliquidated
          Des Plaines, IL 60016
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          East Prairie SD 73                                                  Contingent
          7634 E Prairie Rd                                                   Unliquidated
          Skokie, IL 60076
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 318 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 342 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.222
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          EAST TENNESSEE CHILDRENS HOSPITAL                                   Contingent
          2018 Clinch Avenue                                                  Unliquidated
          Knoxville, TN 37916
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          East Valley Institute of Technology                                 Contingent
          1601 West Main Street                                               Unliquidated
          Mesa, AZ 85201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ebaben, Louisa                                                      Contingent
          523 Brimingham Ave                                                  Unliquidated
          Norfolk, Virginia 23505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eben Ezer Lutheran Care Center                                      Contingent
          122 Hospital Road                                                   Unliquidated
          Brush, CO 80723
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eberhardt, Michael                                                  Contingent
          183 Roundabout trl                                                  Unliquidated
          Camden, Delaware 19934-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eberlin, Jessica                                                    Contingent
          2300 Polk Street                                                    Unliquidated
          #3
                                                                              Disputed
          Hollywood, Florida 33020-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.222
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eberspaecher North America                                          Contingent
          29101 Haggerty Road                                                 Unliquidated
          Novi, MI 48377
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 319 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 343 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.222
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          EBMC DIABETES CARE PROGRAM                                          Contingent
          4789 Rings Rd                                                       Unliquidated
          Dublin, OH 43017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ebnet, Margie                                                       Contingent
          17309 Aragon Lane                                                   Unliquidated
          Oklahoma City, Oklahoma 73170-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ECHO Joint Agreement                                                Contingent
          350 West 154th Street                                               Unliquidated
          South Holland, IL 60473
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eckert, Joseph                                                      Contingent
          1105 English Ivy Court                                              Unliquidated
          Eldersburg, Maryland 21784-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ecovate Inc dba Ready Talk Conferencing                             Contingent
          1900 16th Street Suite 600                                          Unliquidated
          Denver, CO 80202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ECR International                                                   Contingent
          2201 Dwyer Avenue                                                   Unliquidated
          Utica, NY 13501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ED&F MAN                                                            Contingent
          440 S. LaSalle Street 18th floor                                    Unliquidated
          Chicago, IL 60605
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 320 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 344 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.223
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eddins, Tamika                                                      Contingent
          8202 Westbank Avenue                                                Unliquidated
          Houston, Texas 77064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edgerton Local Schools                                              Contingent
          111 East River                                                      Unliquidated
          Edgerton, OH 43517
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edlong                                                              Contingent
          225 Scott Street                                                    Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edmondson, Karie                                                    Contingent
          P.O. Box Box 334                                                    Unliquidated
          Cyril, Oklahoma 73029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edmund A. Allen Lumber Company                                      Contingent
          117 E. Industrial Drive                                             Unliquidated
          Momence, IL 60954
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edmund Lindop SD 92                                                 Contingent
          2400 South 18th Ave                                                 Unliquidated
          Broadview, IL 60155
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edon Northwest Schools                                              Contingent
          802 W. Indiana Street                                               Unliquidated
          Edon, OH 43518
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 321 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 345 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.224
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eduarte, Edward                                                     Contingent
          5185 Aspen Dr                                                       Unliquidated
          Montclair, California 91763-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          EducationDynamics, LLC                                              Contingent
          111 River Street, 10th Floor                                        Unliquidated
          Hoboken, NJ 07030
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edwards, Ann                                                        Contingent
          304 Hook Road                                                       Unliquidated
          Westminster, Maryland 21157-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edwards, Heather                                                    Contingent
          1035 Monring Dove Drive                                             Unliquidated
          Longmont, Colorado 80504-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edwards, Jocelyn                                                    Contingent
          5429 Post Ridge Drive                                               Unliquidated
          Fort Worth, Texas 76123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edwards, Joell                                                      Contingent
          1068 Richmond Drive                                                 Unliquidated
          Schertz, Texas 78154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edwards, Michael                                                    Contingent
          6164 Isla Street                                                    Unliquidated
          West Melbourne, Florida 32904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 322 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 346 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.225
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edwards, Pamela                                                     Contingent
          1378 W 100 S                                                        Unliquidated
          Albion, Indiana 46701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edwardson, Alyssa                                                   Contingent
          20529 N. William Avenue                                             Unliquidated
          Lincolnshire, Illinois 60069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,356.93
          eFax Corporate                                                      Contingent
          PO BOX 51873                                                        Unliquidated
          c/o j2 Global Communications, Inc.
                                                                              Disputed
          Los Angeles, CA 90051-6173
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.225
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Effingham Hospital System                                           Contingent
          459 GA-119                                                          Unliquidated
          Springfield, GA 31329
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Efinger, Anneke                                                     Contingent
          5804 Old Ranch Road                                                 Unliquidated
          Park City, Utah 84098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          EFPR Group, LLC                                                     Contingent
          280 Kenneth Drive                                                   Unliquidated
          Suite 100
                                                                              Disputed
          Rochester, NY 14623
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.225
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eftink, Kimberly                                                    Contingent
          3936 County Road 318                                                Unliquidated
          Cape Girardeau, Missouri 63701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 323 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 347 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.225
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Egan Company                                                        Contingent
          7625 Boone Avenue North                                             Unliquidated
          Brooklyn Park, MN 55428
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Egarian, Kimberly                                                   Contingent
          205 Winding Way                                                     Unliquidated
          Plymouth Meeting, Pennsylvania 19462-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Egocheaga, Ingrid                                                   Contingent
          5580 NW 61st                                                        Unliquidated
          Apt. 628
                                                                              Disputed
          Coconut Creek, Florida 33073-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.226
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ehrensberger, Beth                                                  Contingent
          3514 Tarpis Avenue                                                  Unliquidated
          Cincinnati, Ohio 45208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ehrman, Diana                                                       Contingent
          16712 Ne 50th Ave                                                   Unliquidated
          Vancouver, Washington 98686-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eischen, Timothy                                                    Contingent
          1010 Westminster Rd                                                 Unliquidated
          Joliet, Illinois 60435-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eisenberg, Judith                                                   Contingent
          6649 Sunnyslope Ave                                                 Unliquidated
          Van Nuys, California 91401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 324 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 348 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.226
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eisenhower Cooperative                                              Contingent
          5318 135th Street                                                   Unliquidated
          Crestwood, IL 60445
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eisenmann Corporation                                               Contingent
          150 E Dartmoor Drive                                                Unliquidated
          Crystal Lake, IL 60014
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eisenschmid, Kristin                                                Contingent
          205 Red Maple Court                                                 Unliquidated
          Chalfont, Pennsylvania 18914-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eklund, Gloria                                                      Contingent
          8330 N. 19th Ave, Apt 2030                                          Unliquidated
          Phoenix, Arizona 85021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ekwuruke, Jennifer                                                  Contingent
          14935 S. Richmond Avenue                                            Unliquidated
          Apt. 1821
                                                                              Disputed
          Houston, Texas 77082-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.226
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          El-Amin, Abeni                                                      Contingent
          15831 Fair Banks Ct.                                                Unliquidated
          Granger, Indiana 46530-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          El-Amin, Linda                                                      Contingent
          1951 N. Jones Blvd. Apt. A201                                       Unliquidated
          Las Vegas, Nevada 89108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 325 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 349 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.227
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          El-Chaar, Monique                                                   Contingent
          1777 Falcon Dr                                                      Unliquidated
          Bethlehem, Pennsylvania 18017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          El-Hillal, Nada                                                     Contingent
          1462 Whitwood Drive                                                 Unliquidated
          Blue Bell, Pennsylvania 19422-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          El-Rowmeim, Eman                                                    Contingent
          793 4th Ave                                                         Unliquidated
          Apt 3R
                                                                              Disputed
          Brooklyn, New York 11232-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.227
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          El-Shahawy, Kellene                                                 Contingent
          2921 Roundrock Trail                                                Unliquidated
          Plano, Texas 75075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elbasheer, Amnia                                                    Contingent
          2001 Hwy 360                                                        Unliquidated
          Apartment 10101
                                                                              Disputed
          Euless, Texas 76039-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.227
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elble, Ann                                                          Contingent
          2450 W. Division St, Unit 1r                                        Unliquidated
          Chicago, Illinois 60622-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elder, Lydia                                                        Contingent
          1109 Willow Branch Dr                                               Unliquidated
          Simpsonville, South Carolina 29680-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 326 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 350 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.227
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elder, Melissa                                                      Contingent
          7873 Dakota Circle, Lmnt                                            Unliquidated
          West Des Moines, Iowa 50266-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eldridge, Karen                                                     Contingent
          4021 E Jackson Ave                                                  Unliquidated
          Spokane, Washington 99217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ELECTRICAL CONSULTANTS, INC                                         Contingent
          3521 Gabel Rd.                                                      Unliquidated
          Billing, MT 59102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elfalah, Elshaymaa                                                  Contingent
          774 Otlowski Ct                                                     Unliquidated
          Perth Amboy, New Jersey 08861-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eliason, Kathryn                                                    Contingent
          12 Estates Drive                                                    Unliquidated
          Ithaca, New York 14850-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eliason, Peter                                                      Contingent
          12 Estates Dr                                                       Unliquidated
          Ithaca, New York 14850-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elie, John                                                          Contingent
          632 47th Street                                                     Unliquidated
          Unit A
                                                                              Disputed
          Baltimore, Maryland 21224-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 327 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 351 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.228
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elite Manufacturing Technologies                                    Contingent
          333 Munroe Dr.                                                      Unliquidated
          Bloomingdale, IL 60108
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elizabeth Glaser Pediatric AIDS Foundati                            Contingent
          1140 Connecticut Avenue                                             Unliquidated
          Washington, DC 20001
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elkay Manufacturing Company                                         Contingent
          2222 Camden Court                                                   Unliquidated
          Oakbrook, IL 60523
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elkins, Erin                                                        Contingent
          5933 Lambert Bridge Avenue                                          Unliquidated
          Las Vegas, Nevada 89139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellingson Companies                                                 Contingent
          56113 State Highway 56                                              Unliquidated
          West Concord, MN 55985
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elliott Aviation                                                    Contingent
          6601 74th Avenue                                                    Unliquidated
          Milan, IL 61264
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elliott, Amanda                                                     Contingent
          2929 Lakeside Commons Drive                                         Unliquidated
          Apt. 103a
                                                                              Disputed
          Tampa, Florida 33613-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 328 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 352 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.229
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elliott, Erika                                                      Contingent
          5688 Rivermill Circle                                               Unliquidated
          Portsmouth, Virginia 23703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elliott, Kara                                                       Contingent
          326 Brentmeade Drive                                                Unliquidated
          Yorktown, Virginia 23693-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Davina                                                       Contingent
          902 Amhurst Ave                                                     Unliquidated
          South Bend, Indiana 47403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Debbie                                                       Contingent
          19806 Lake Lynwood Drive                                            Unliquidated
          Lynwood, Illinois 60411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Jessica                                                      Contingent
          2287 Crested Wheat Loop                                             Unliquidated
          East Helena, Montana 59635-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Lindsey                                                      Contingent
          1812 Alameda #326                                                   Unliquidated
          Norman, Oklahoma 73071-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Olivia                                                       Contingent
          109 Stone Point Dr                                                  Unliquidated
          Unit 359
                                                                              Disputed
          Annapolis, Maryland 21401-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 329 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 353 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.229
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Piper                                                        Contingent
          2402 Amys Place                                                     Unliquidated
          Winterville, North Carolina 28590-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Ryan                                                         Contingent
          1200 Pennsylvania Street                                            Unliquidated
          Apt. B1
                                                                              Disputed
          Denver, Colorado 80203-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.230
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Stephen                                                      Contingent
          8510 Barasinga Trail                                                Unliquidated
          Austin, Texas 78749-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis, Susan                                                        Contingent
          175 Matherly Drive                                                  Unliquidated
          Daniels, West Virginia 25832-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ellis-Prailleau, Sheena                                             Contingent
          1113 Aderley Oak Dr                                                 Unliquidated
          Irmo, South Carolina 29063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ells, Courtney                                                      Contingent
          10317 SE Harrison St.                                               Unliquidated
          Portland, Oregon 97216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elmira College                                                      Contingent
          One Park Place                                                      Unliquidated
          Elmira, NY 14901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 330 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 354 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.230
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elmwood Park SD 401                                                 Contingent
          8201 West Fullerton Avenue                                          Unliquidated
          Elmwood Park, IL 60707
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elmy, Jacqueline                                                    Contingent
          109 Hollow Rd                                                       Unliquidated
          Wapwallopen, Pennsylvania 18660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elnimeiry, Khider                                                   Contingent
          11981 N Meadow Curve                                                Unliquidated
          Lindstrom, Minnesota 55045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elrod, Kenneth                                                      Contingent
          5539 Poinciana Boulevard                                            Unliquidated
          St. Louis, Missouri 63123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elserafy, Eman                                                      Contingent
          7161 Amboy Street                                                   Unliquidated
          Dearborn Heights, Michigan 48127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elswick, Holly                                                      Contingent
          2525 Roanoke Ave                                                    Unliquidated
          New Albany, Indiana 47150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eltinay, Eiman                                                      Contingent
          10980 Wood Eden Ct                                                  Unliquidated
          Jacksonville, Florida 32256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 331 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 355 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.231
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Elvina, Khayla                                                      Contingent
          4105 Tomken Rd                                                      Unliquidated
          #113A
                                                                              Disputed
          Mississauga, Ontario L4W4E5
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.231
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Emanuel, Amber                                                      Contingent
          1104 Martha Lee Ave                                                 Unliquidated
          Rockledge, Florida 32955-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,224.00
          Emerald Plant Services                                              Contingent
          4838 Butterfield Rd                                                 Unliquidated
          Hillside, IL 60162
                                                                              Disputed
          Date(s) debt was incurred 5/15/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Emerick, Joanne                                                     Contingent
          905 Conway #55                                                      Unliquidated
          Las Cruces, New Mexico 88005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Emerson, Travis                                                     Contingent
          11 Canyon Creek Court                                               Unliquidated
          Moscow Mills, Missouri 63362-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Emery, Vanessa                                                      Contingent
          1010 Morse Landing Drive                                            Unliquidated
          Cicero, Indiana 46034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          EML Payments USA, LLC                                               Contingent
          7171 W 95th Street                                                  Unliquidated
          Overland Park, KS 66212
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 332 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 356 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.232
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Empire Marketing Strategies                                         Contingent
          11243 Cornell Park Dr.                                              Unliquidated
          Cincinnati, OH 45242
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Empire Recycling Corporation                                        Contingent
          Po Box 353                                                          Unliquidated
          Utica, NY 13503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Emple, Theodore                                                     Contingent
          20 Greenwood Terrace                                                Unliquidated
          Swampscott, Massachusetts 01907-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Employee & Family Resources                                         Contingent
          505 5th Ave Ste 600                                                 Unliquidated
          Des Moines, IA 50309-2319
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,654.05
          Employee & Family Resources, Inc.                                   Contingent
          505 5th Avenue, Suite 600                                           Unliquidated
          Des Moines, IA 50309-2319
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,140.00
          Employee Benefit Management Corp (EBMC)                             Contingent
          4789 Rings Road                                                     Unliquidated
          Dublin, OH 43017
                                                                              Disputed
          Date(s) debt was incurred 5/28/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Enabulele, Harrison                                                 Contingent
          42 Fieldwood Road                                                   Unliquidated
          Waterbury, Connecticut 06705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 333 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 357 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.232
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Endurance                                                           Contingent
          10 Corporate Drive                                                  Unliquidated
          Burlington,, MA 01803
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Energy Alloys, LLC                                                  Contingent
          3 Waterway Square Place, Suite                                      Unliquidated
          The Woodlands, TX 77380
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Energy Solutions                                                    Contingent
          423 West 300 South Suite 200                                        Unliquidated
          Salt Lake City, UT 84101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eng, Robert                                                         Contingent
          17 Louise Lane                                                      Unliquidated
          Monroe Township, New Jersey 08831-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,172.00
          Engaged Video                                                       Contingent
          4340 E. Indian School Rd, Ste 21-116                                Unliquidated
          Phoenix, AZ 85018
                                                                              Disputed
          Date(s) debt was incurred 1/15/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Engelbach, Jacob                                                    Contingent
          29W964 Hawthorne Lane                                               Unliquidated
          Warrenville, Illinois 60555-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Engineered Solutions Group, Inc.                                    Contingent
          3305 Arctic Blvd                                                    Unliquidated
          Anchorage, AK 99503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 334 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 358 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.233
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Engle, Sarah                                                        Contingent
          1021 Eagles Nest Lane                                               Unliquidated
          Monroeville, Pennsylvania 15146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Englert, Meryl                                                      Contingent
          837 Rosa Avenue                                                     Unliquidated
          Metairie, Louisiana 70005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Enlighten, Inc. - aka Katie Walbrun                                 Contingent
          1215 Hunter Rd                                                      Unliquidated
          Wilmette, IL 06009
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ensor, Marsha                                                       Contingent
          38 Sequoia Road                                                     Unliquidated
          Severna Park, Maryland 21146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Enterprise Bank & Trust                                             Contingent
          1281 North Warson Rd                                                Unliquidated
          St. Louis, MO 63132
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Enterprise Services LLC                                             Contingent
          1775 Tysons Blvd.                                                   Unliquidated
          Suite 900
                                                                              Disputed
          McLean, VA 22102
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.234
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Entin, Elizabeth                                                    Contingent
          1524 Beason St                                                      Unliquidated
          Baltimore, Maryland 21230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 335 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 359 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.234
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Enwere, Chiagbanwe                                                  Contingent
          391 Washington Ave                                                  Unliquidated
          Albany, New York 12206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          EPL Feed, LLC                                                       Contingent
          411 West Front Street                                               Unliquidated
          Sumas, WA 98295
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Epperson, Alexis                                                    Contingent
          7300 E. Kenmore Dr, Apt 4                                           Unliquidated
          Norfolk, Virginia 23505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Epperson, Monica                                                    Contingent
          6814 S Dorchester Ave                                               Unliquidated
          Apt. A2
                                                                              Disputed
          Chicago, Illinois 60637-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.234
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eppinger, Lauren                                                    Contingent
          76 Garfield St #6                                                   Unliquidated
          Cambridge, Massachusetts 02138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Epstein, Ari                                                        Contingent
          5248 Rfd                                                            Unliquidated
          Long Grove, Illinois 60047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ERB Equipment Company, Inc.                                         Contingent
          200 Erb Industrial Drive                                            Unliquidated
          Fenton, MO 63026
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 336 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 360 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.234
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Erbs, Donna                                                         Contingent
          10431 SW 42nd Ave                                                   Unliquidated
          Portland, Oregon 97219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,440.00
          ERC Delivery Service                                                Contingent
          445 W Fulerton Ave                                                  Unliquidated
          Elmhurst, IL 60126
                                                                              Disputed
          Date(s) debt was incurred 3/30/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Erdmann, Abby                                                       Contingent
          730 S Clark, Apt 910                                                Unliquidated
          Chicago, Illinois 60605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ergish, Patience                                                    Contingent
          360 Allister Drive                                                  Unliquidated
          #203
                                                                              Disputed
          Raleigh, North Carolina 27609-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.235
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Erhardt, Erin                                                       Contingent
          5530 Penn Ave S                                                     Unliquidated
          Minneapolis, Minnesota 55419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Erica Lokshin                                                       Contingent
          32 Conshohocken Road                                                Unliquidated
          Apt F2
                                                                              Disputed
          Bala Cynwyd, PA 19004
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.235
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Erickson, Haley                                                     Contingent
          1600 Pennsylvania Ave SE, #404                                      Unliquidated
          Washington, District of Columbia 20003-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 337 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 361 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.235
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Erie 2 BOCES                                                        Contingent
          8685 Erie Rd                                                        Unliquidated
          Angola, NY 14006
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Erie Materials                                                      Contingent
          500 Factory Avenue                                                  Unliquidated
          Syracuse, NY 13211
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ERIKS North America                                                 Contingent
          650 Washington Rd Ste 500                                           Unliquidated
          Pittsburgh, Pa 15228
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ernst Concrete                                                      Contingent
          3361 Successful Way                                                 Unliquidated
          Dayton, OH 45414
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ersoy, Vanitha                                                      Contingent
          1230 W. Kelly St.                                                   Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ervin, Elizabeth                                                    Contingent
          73 Spriggs Ave                                                      Unliquidated
          Lynchburg, Tennessee 37352-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ervin, Mariha                                                       Contingent
          305 McDougal Ave, Apt 3                                             Unliquidated
          Richmond, Kentucky 40475-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 338 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 362 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.236
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Escatel, Edward                                                     Contingent
          1484 Michigan Ave                                                   Unliquidated
          Columbus, Ohio 43201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eschweiler, Karl                                                    Contingent
          1810 E. Oklahoma Ave #8                                             Unliquidated
          Milwaukee, Wisconsin 53207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eshenour, Karen                                                     Contingent
          580 Meadow Croft Cir                                                Unliquidated
          Mechanicsburg, Pennsylvania 17055-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eshiett, Adia                                                       Contingent
          2136 Birch Bend                                                     Unliquidated
          Mesquite, Texas 75181-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Esho, Achourr                                                       Contingent
          204 Bright Ridge                                                    Unliquidated
          Rolling Meadows, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eskew, Sandi                                                        Contingent
          100 Summit Trail                                                    Unliquidated
          Nebo, North Carolina 28761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Espino, John                                                        Contingent
          15002 Leeward Drive #5301                                           Unliquidated
          Corpus Christi, Texas 78418-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 339 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 363 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.236
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Espinoza, Elizabeth                                                 Contingent
          221 Glenwood Street                                                 Unliquidated
          Colton, California 92324-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Esquivel, Aidee                                                     Contingent
          810 Piper Lane 2B                                                   Unliquidated
          Prospect Heights, Illinois 60070-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Esquivel, Cindy                                                     Contingent
          1145 N Sterling Ave                                                 Unliquidated
          Apt#117
                                                                              Disputed
          Palatine, Illinois 60067-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.237
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Esser, Rebecca                                                      Contingent
          w239s4780 Merlin Lane                                               Unliquidated
          Waukesha, Wisconsin 53189-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Essex Property and Trust                                            Contingent
          1100 Park Place, Suite 200                                          Unliquidated
          San Mateo, CA 94403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Estes, Christy                                                      Contingent
          1310 Kingsbury Dr                                                   Unliquidated
          Unit C
                                                                              Disputed
          Hanover Park, Illinois 60133-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.237
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Estey, Charles                                                      Contingent
          6346 Pinemont Drive                                                 Unliquidated
          Brighton, Michigan 48116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 340 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 364 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.237
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Estey, Colleen                                                      Contingent
          703 West Melrose, Unit 2                                            Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Estrada, Christa                                                    Contingent
          25700 W. 77th St.                                                   Unliquidated
          Shawnee, Kansas 66227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Estrada, Silvia                                                     Contingent
          15050 Parthenia Street, Apt 29                                      Unliquidated
          North Hills, California 91343-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ethan Horger                                                        Contingent
          233 South Coats Rd                                                  Unliquidated
          Oxford, MI 48371
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $990.00
          Ethan Horger-IH                                                     Contingent
          233 South Coats Rd                                                  Unliquidated
          Oxford, MI 48371
                                                                              Disputed
          Date(s) debt was incurred      4/29/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ethell, Nicole                                                      Contingent
          1114 Modesto Ave.                                                   Unliquidated
          Camarillo, California 93010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Etienne, Jacqueline                                                 Contingent
          5200 Carriageway Dr                                                 Unliquidated
          Rolling Meadows, Illinois 60008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 341 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 365 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.238
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Etihad Airways                                                      Contingent
          600 5th Avenue                                                      Unliquidated
          New York, NY 10020
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ettinger, Samantha                                                  Contingent
          8791 Huxley Rd                                                      Unliquidated
          Salem, Ohio 44460-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eubanks, Michelle                                                   Contingent
          46 Lakeview Drive                                                   Unliquidated
          Ocean Springs, Mississippi 39564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evangelical Community Hospital                                      Contingent
          One Hospital Drive                                                  Unliquidated
          Lewisburg, PA 17837
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Alex                                                         Contingent
          2438 N. Redington Place                                             Unliquidated
          Tucson, Arizona 85749-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, April                                                        Contingent
          3605 London Company Way                                             Unliquidated
          Williamsburg, Virginia 23185-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Autum                                                        Contingent
          2801 Old Williamsburg Road                                          Unliquidated
          APT 1-C
                                                                              Disputed
          Yorktown, Virginia 23690-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 342 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 366 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.239
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Banisha                                                      Contingent
          8674 Nemea Way                                                      Unliquidated
          Elk Grove, California 95624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Brettney                                                     Contingent
          103 East 30th Street, Apt 18                                        Unliquidated
          Wilmington, Delaware 19802-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Jessica                                                      Contingent
          2391 Forest Ave                                                     Unliquidated
          Rolling Meadows, Illinois 60008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Jocelyn                                                      Contingent
          55249 - 290th St                                                    Unliquidated
          Cambridge, Iowa 50046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Kim                                                          Contingent
          PO Box 4403                                                         Unliquidated
          Walnut Creek, California 94596-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Kyera                                                        Contingent
          1467 Woodlake Lane                                                  Unliquidated
          Grand blanc, Michigan 48439-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Patricia                                                     Contingent
          188 Windy Knob Lane                                                 Unliquidated
          Appomattox, Virginia 24522-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 343 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 367 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.239
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, S.                                                           Contingent
          6327 Fieldsteade Drive                                              Unliquidated
          Independence, Kentucky 41051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Shannon                                                      Contingent
          6116 Fortview Way                                                   Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evans, Tarasha                                                      Contingent
          8220 North Ridgebrook Drive                                         Unliquidated
          North Charleston, South Carolina 29420-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evanski, Christina                                                  Contingent
          3461 Rio Poco Rd                                                    Unliquidated
          Reno, Nevada 89502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evanston Township High School District 2                            Contingent
          1600 Dodge Avenue                                                   Unliquidated
          Evanston, IL 60201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evanston/Skokie SD 65                                               Contingent
          1500 McDaniel Avenue                                                Unliquidated
          Evanston, IL 60201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evelius, Jill                                                       Contingent
          13603 Jacobs Rd                                                     Unliquidated
          Mount Airy, Maryland 21771-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 344 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 368 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.240
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Everard, Kevin                                                      Contingent
          29 Azalea Drive                                                     Unliquidated
          Lumberton, New Jersey 08048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Everett, Michelle                                                   Contingent
          171 Thornstone Street                                               Unliquidated
          West Fork, Arkansas 72774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evergreen Local Schools                                             Contingent
          14544 County Rd 6                                                   Unliquidated
          Metamora, OH 43540
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evergreen Park Community High School                                Contingent
          9901 S. Kedzie Avenue                                               Unliquidated
          Evergreen Park, IL 60805
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Evergreen Park SD 124                                               Contingent
          2929 W. 87th Street                                                 Unliquidated
          Evergreen Park, IL 60805
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eversole, Brian                                                     Contingent
          102 Dalton Ave                                                      Unliquidated
          Carlisle, Ohio 45005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eversole, Megan                                                     Contingent
          102 Dalton Avenue                                                   Unliquidated
          Carlisle, Ohio 45005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 345 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 369 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.241
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Everson, Emily                                                      Contingent
          523 fishermans Row                                                  Unliquidated
          sheboyan, Wisconsin 53081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Everson, QuaShaunta                                                 Contingent
          5228 Cedar Lane                                                     Unliquidated
          Apt. 146
                                                                              Disputed
          Columbia, Maryland 21044-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.241
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ewan Whyte, Carol                                                   Contingent
          99 Bridgton Road                                                    Unliquidated
          Westbrook, Maine 04092-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ewart, Alexandra                                                    Contingent
          1359 Harrison Street                                                Unliquidated
          Jacksonville, Florida 32206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ewellix                                                             Contingent
          69900 Powell Rd.                                                    Unliquidated
          Armada, MI 48005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Exantus, Karen                                                      Contingent
          16 Pepper Ridge Road                                                Unliquidated
          Stamford, Connecticut 06905-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Executive Construction                                              Contingent
          235 Fencl Lane                                                      Unliquidated
          Hillside, IL 60162
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 346 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 370 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.241
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Exide                                                               Contingent
          13000 DEERFIELD PARKWAY                                             Unliquidated
          Building 200
                                                                              Disputed
          MILTON, GA 30004
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.241
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $98.00
          Experian                                                            Contingent
          PO Box 886133                                                       Unliquidated
          Los Angeles, CA 90088-6133
                                                                              Disputed
          Date(s) debt was incurred 4/30/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          EyeCare Partners                                                    Contingent
          15933 Clayton Rd., Suite 21-                                        Unliquidated
          Ballwin, MO 63011
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eyerly, Dana                                                        Contingent
          10700 Sandy Oaks Dr                                                 Unliquidated
          Jacksonville, Florida 32221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          EZ Business Solutions                                               Contingent
          EZ Business Solutions                                               Unliquidated
          1000 Balmoral Lane
                                                                              Disputed
          Elgin, IL 60120
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.242
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          F&M MAFCO                                                           Contingent
          9149 Dry Fork Rd.                                                   Unliquidated
          Harrison, OH 45030
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          F-M Trust (F & M Trust)                                             Contingent
          20 South Main Street                                                Unliquidated
          Chambersburg, PA 17201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 347 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 371 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.242
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fabbri, Joan                                                        Contingent
          9801 S Fox Run                                                      Unliquidated
          Oak Creek, Wisconsin 53154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fabry, Michelle                                                     Contingent
          1139 Key West                                                       Unliquidated
          Clawson, Michigan 48017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Faegre Baker Daniels                                                Contingent
          8170 33rd Ave. South                                                Unliquidated
          Minneapolis, MN 55425
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fagan, Sivashankari                                                 Contingent
          1515 Cypress Drive                                                  Unliquidated
          Irving, Texas 75061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fahey, Jeffrey                                                      Contingent
          7107 Oak Ridge Dr                                                   Unliquidated
          Harrisburg, Pennsylvania 17111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fairbanks, Colleen                                                  Contingent
          158 South Charlotte Street                                          Unliquidated
          Lombard, Illinois 60148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fairfield & Woods, P.C.                                             Contingent
          1801 California Street, Suite                                       Unliquidated
          Denver, CO 80202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 348 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 372 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.243
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fairrington Transportation Services                                 Contingent
          553 S. Joliet Road                                                  Unliquidated
          Suite B
                                                                              Disputed
          Bolingbrook, IL 60440
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.243
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fairview SD 72                                                      Contingent
          7040 Laramie Avenue                                                 Unliquidated
          Skokie, IL 60077
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Falconer, Annmarie                                                  Contingent
          4607 Bonnie Brae Court                                              Unliquidated
          Richmond, Virginia 23234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Family Christian Health Center                                      Contingent
          31 West 155th Street                                                Unliquidated
          Harvey, IL 60426
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Family Health International                                         Contingent
          1825 Connecticut Ave NW                                             Unliquidated
          Washington, DC 20009
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FAMILY HOME HEALTH SERVICES, INC.                                   Contingent
          2171 Executive Dr                                                   Unliquidated
          Suite 450
                                                                              Disputed
          Addison, IL 60101
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.243
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fanelli, Alicia                                                     Contingent
          7 N. Calvert St, Apt 1605                                           Unliquidated
          Baltimore, Maryland 21202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 349 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 373 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.243
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fannon, Colin                                                       Contingent
          905 Park Street                                                     Unliquidated
          Unit 55
                                                                              Disputed
          Carbondale, Illinois 62901-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.244
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fantasia, Alexandra                                                 Contingent
          1709 Birch Trail Circle, Apt F                                      Unliquidated
          Chesapeake, Virginia 23320-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fardin, Halina                                                      Contingent
          333 S. Doheny Drive                                                 Unliquidated
          #201
                                                                              Disputed
          Los Angeles, California 90048-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.244
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Farengo, Bridget                                                    Contingent
          3 Clay Street                                                       Unliquidated
          Las Vegas, Nevada 89115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fareva Richmond, Inc.                                               Contingent
          2248 Darbytown Road                                                 Unliquidated
          Henrico, VA 23231
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Farm Boy Meats of Evansville, Inc.                                  Contingent
          2761 N. Kentucky Ave                                                Unliquidated
          Evansville, IL 47711
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Farmers Elevator Grain & Supply Associat                            Contingent
          16917 Road B                                                        Unliquidated
          New Bavaria, OH 43548
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 350 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 374 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.244
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Farrahi, Alexis                                                     Contingent
          7750 Narcissus Lane                                                 Unliquidated
          Orland Park, Illinois 60462-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Farrington, Felisha                                                 Contingent
          2207 Concord Pike 147                                               Unliquidated
          Wilmington, Delaware 19803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fassinger, Allison                                                  Contingent
          1871 E Powell Way                                                   Unliquidated
          Chandler, Arizona 85249-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Faught, Savanna                                                     Contingent
          104 Valiant Lane                                                    Unliquidated
          Slidell, Louisiana 70458-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Favin, Jenna                                                        Contingent
          4998 Battery Lane                                                   Unliquidated
          #207
                                                                              Disputed
          Bethesda, Maryland 20814-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.245
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fayette Local School                                                Contingent
          400 East Gamble Road                                                Unliquidated
          Fayette, OH 43521
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fayman, Michael                                                     Contingent
          1014 E Olde Virginia Rd                                             Unliquidated
          Palatine, Illinois 60074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 351 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 375 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.245
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fears, Nicole                                                       Contingent
          1662 Barkwood                                                       Unliquidated
          Florissant, Missouri 63031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Featherstone, Shalon                                                Contingent
          29W550 Winchester Circle                                            Unliquidated
          unit N3
                                                                              Disputed
          Warrenville, Illinois 60555-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.245
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Management Partners, Inc.                                   Contingent
          2900 South Quincy Street, suit                                      Unliquidated
          Arlington, VA 22206
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Marine Terminals, Inc.                                      Contingent
          38 Barren Rd                                                        Unliquidated
          East Port, ME 04631
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Atlanta                                     Contingent
          1000 Peachtree St Ne                                                Unliquidated
          Atlanta, GA 30309-4470
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Boston                                      Contingent
          600 Atlantic Ave                                                    Unliquidated
          Boston, MA 02210-2204
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Chicago                                     Contingent
          230 South LaSalle Street                                            Unliquidated
          Chicago, IL 60604
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 352 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 376 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.246
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Cleveland                                   Contingent
          1455 E. Sixth Street                                                Unliquidated
          Cleveland, OH 44114-2566
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Dallas                                      Contingent
          2200 N Pearl St                                                     Unliquidated
          Dallas, TX 75201-2272
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Kansas City                                 Contingent
          1 Memorial Dr                                                       Unliquidated
          Kansas City, MO 64198-0002
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Minneapolis                                 Contingent
          90 Hennepin Ave                                                     Unliquidated
          Minneapolis, MN 55401-1804
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of New York                                    Contingent
          33 Liberty St                                                       Unliquidated
          New York, NY 10045-0001
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Philadelphia                                Contingent
          10 N Independence Mall W                                            Unliquidated
          Philadelphia, PA 19106-1574
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of Richmond                                    Contingent
          701 E Byrd St FL 2                                                  Unliquidated
          Richmond, VA 23219
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 353 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 377 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.246
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of San Francisco                               Contingent
          101 Market St                                                       Unliquidated
          San Francisco, CA 94105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Bank of St. Louis                                   Contingent
          1 Federal Reserve Bank Plaza                                        Unliquidated
          Broadway and Locust Street
                                                                              Disputed
          St. Louis, MO 63102
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.246
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Reserve Office of Employee Benef                            Contingent
          1 Riverfront Plz Ste 100                                            Unliquidated
          Newark, NJ 07102-5434
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,422.31
          FEDEX                                                               Contingent
          P.O Box 94515                                                       Unliquidated
          Palatine, IL 60094-4515
                                                                              Disputed
          Date(s) debt was incurred 5/27/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fedota, Jared                                                       Contingent
          4245 Hardwood Ct.                                                   Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fee, Amber                                                          Contingent
          305 Winding Oak Trail                                               Unliquidated
          Manahawkin, New Jersey 08050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fee, Angela                                                         Contingent
          16226 Arbor Street                                                  Unliquidated
          Omaha, Nebraska 68130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 354 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 378 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.247
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Feeley, Brian                                                       Contingent
          3870 Avenue C                                                       Unliquidated
          Billings, Montana 59102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fehlberg, Susan                                                     Contingent
          27 Vista Dr                                                         Unliquidated
          Little Rock, Arkansas 72210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Felder, Tiffani                                                     Contingent
          882 malcolm chandler Lane                                           Unliquidated
          West palm beach, Florida 33401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Feldman, Loretta                                                    Contingent
          1302 Watson Ave                                                     Unliquidated
          Costa Mesa, California 92626-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Feldman, Sarah                                                      Contingent
          210 Glasgow Ln                                                      Unliquidated
          V-2
                                                                              Disputed
          Schaumburg, Illinois 60194-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.247
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Felix, Keisha                                                       Contingent
          3825 Mapleshade Lane #3305                                          Unliquidated
          Plano, Texas 75075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fellers, Stacy                                                      Contingent
          5884 Beacon Hill Drive                                              Unliquidated
          Frisco, Texas 75034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 355 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 379 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.248
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fellowes                                                            Contingent
          1789 Norwood Avenue                                                 Unliquidated
          Itasca, IL 60143
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fellowship Senior Living                                            Contingent
          8000 Fellowship Road                                                Unliquidated
          Basking Ridge, NJ 07920
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Feltz, Sheila                                                       Contingent
          20826 N Cumnor                                                      Unliquidated
          Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fender Musical Instruments Corporation                              Contingent
          17600 N. Perimeter Drive Suite 100                                  Unliquidated
          Scottsdale, AZ 85255
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fenley, Erika                                                       Contingent
          1329 Acredale Road                                                  Unliquidated
          Virginia Beach, Virginia 23464-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fenning, Kristy                                                     Contingent
          4805 Transit Rd, Apt 806                                            Unliquidated
          Depew, New York 14043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fenton Community HSD #100                                           Contingent
          1000 West Green Street                                              Unliquidated
          Bensenville, IL 60106
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 356 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 380 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.248
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fenton, Jonathan                                                    Contingent
          128 s Chapel St                                                     Unliquidated
          Baltimore, Maryland 21231-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fergus County                                                       Contingent
          712 W. Main St.                                                     Unliquidated
          Suite 208
                                                                              Disputed
          Lewistown, MT 59457
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.249
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferguson, Jackie                                                    Contingent
          11 Trotters Ridge Court                                             Unliquidated
          Baltimore, Maryland 21228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferguson, Rao                                                       Contingent
          28 hole spur                                                        Unliquidated
          Alamo, Georgia 30411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferguson, Theresa                                                   Contingent
          2727 Cobblestone Drive                                              Unliquidated
          Crystal Lake, Illinois 60012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fernandes, Jordan                                                   Contingent
          3015 Scarborough Lane                                               Unliquidated
          Midland, Michigan 48640-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fernandez De Luna, Irene                                            Contingent
          27 Express Blvd                                                     Unliquidated
          Sandia Park, New Mexico 87047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 357 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 381 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.249
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fernandez, Dawn                                                     Contingent
          3036 Plumas Street                                                  Unliquidated
          Reno, Nevada 89509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fernandez, Merari                                                   Contingent
          4103 Treehaven Dr                                                   Unliquidated
          Arlington, Texas 76016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fernando, Deepthi                                                   Contingent
          123 State Street                                                    Unliquidated
          Chicopee, Massachusetts 01013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fernando, Dennis                                                    Contingent
          719 Sacramento St                                                   Unliquidated
          Vallejo, California 94590-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fernando, Priyanka                                                  Contingent
          29327 Sw Meadows Loop                                               Unliquidated
          Unit 287
                                                                              Disputed
          Wilsonville, Oregon 97070-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.250
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferreira, Edivani                                                   Contingent
          3169 Varcroft Road                                                  Unliquidated
          Knightdale, North Carolina 27545-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferreira, Martha                                                    Contingent
          2061 S. 17th Street                                                 Unliquidated
          Milwaukee, Wisconsin 53204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 358 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 382 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.250
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferri, Nicole                                                       Contingent
          10 Ashford Court                                                    Unliquidated
          Walingford, Connecticut 06492-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferriello, Nancy                                                    Contingent
          17 Sea Spray Road                                                   Unliquidated
          Westport, Connecticut 06880-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferris State University                                             Contingent
          420 Oak Street, Prakken 150                                         Unliquidated
          Big Rapids, MI 49307-2020
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ferrotec (USA) Corporation                                          Contingent
          33 Constitution Drive                                               Unliquidated
          Bedford, NH 03110
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Festa, Kristina                                                     Contingent
          190 Myrtle Street                                                   Unliquidated
          Shelton, Connecticut 06484-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fetzer, Jeanne                                                      Contingent
          1936 N. Hudson #uch                                                 Unliquidated
          Chicago, Illinois 60614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fiber Instrument Sales, Inc.                                        Contingent
          161 Clear Road                                                      Unliquidated
          Oriskany, NY 13424
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 359 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 383 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.250
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ficken, David                                                       Contingent
          8216 Hallmark Dr.                                                   Unliquidated
          North Richland Hills, Texas 76182-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FIDELITY COMMUNICATIONS                                             Contingent
          64 N Clark St                                                       Unliquidated
          Sullivan, MO 63080
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fielding, Tywana                                                    Contingent
          701 Leora Lane #431                                                 Unliquidated
          The Colony, Texas 75056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Figueredo, Danielle                                                 Contingent
          1112 Jefferson Street                                               Unliquidated
          Gretna, Louisiana 70053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          File, Amanda                                                        Contingent
          216 N. 10th Street                                                  Unliquidated
          Wilmington, North Carolina 28401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Filer, Teresa                                                       Contingent
          3780 Ocean View Ave                                                 Unliquidated
          #4
                                                                              Disputed
          Los Angeles, California 90066-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Filipek, Nick                                                       Contingent
          1926 Lake Avenue                                                    Unliquidated
          Whiting, Indiana 46394-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 360 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 384 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.251
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Finch, Adea                                                         Contingent
          103 E 37th Street                                                   Unliquidated
          Richmond, Virginia 23224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Findley Davies Inc.                                                 Contingent
          One SeaGate                                                         Unliquidated
          Suite 2050
                                                                              Disputed
          Toledo, OH 43604
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Findley, Kami                                                       Contingent
          10815 Sinclair Ave                                                  Unliquidated
          Dallas, Texas 75218-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fink, Scott                                                         Contingent
          30 Mansel Drive                                                     Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Finkle, Jennifer                                                    Contingent
          15 Ashland St                                                       Unliquidated
          Medford, Massachusetts 02155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Finn, Kevin                                                         Contingent
          510 Surrey Lane                                                     Unliquidated
          Fairfield, Connecticut 06824-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Finn, Mary                                                          Contingent
          22 Noyo Court                                                       Unliquidated
          Chico, California 95926-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 361 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 385 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.252
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Finnical, Cheryl                                                    Contingent
          17 Virginia Ave                                                     Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Finnie, Amy                                                         Contingent
          150 Ee Spindle Tree Circle                                          Unliquidated
          The Woodlands, Texas 77382-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fiorentino, Christina                                               Contingent
          703 W Oakdale Ave                                                   Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FireEye, Inc.                                                       Contingent
          1440 McCarthy Blvd                                                  Unliquidated
          Milpitas, CA 95035
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $105.00
          Firelands Regional Medical Center                                   Contingent
          Corporate Health Center                                             Unliquidated
          5420 Milan Rd
                                                                              Disputed
          Sandusky, OH 44870-5846
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.252
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          First Keystone Community Bank                                       Contingent
          111 W. Front Street                                                 Unliquidated
          Berwick, PA 18603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          First National Bank of Newtown                                      Contingent
          40 South State St                                                   Unliquidated
          Newtown, PA 18940
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 362 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 386 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.253
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FIRST NATIONAL BANK OF OTTAWA                                       Contingent
          701 LaSalle Street                                                  Unliquidated
          Ottawa, IL 61350
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          First Trust Portfolios L.P.                                         Contingent
          120 E. Liberty Drive Suite 400                                      Unliquidated
          Wheaton, IL 60187
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          First United Bank & Trust (MD)                                      Contingent
          12892 Garrett Highway, Suite 4                                      Unliquidated
          Oakland, MD 21550
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Firstrust Bank                                                      Contingent
          15 E Ridge Pike                                                     Unliquidated
          Conshohocken, PA 19428
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisch, Karly                                                        Contingent
          11221 S. 51st Street                                                Unliquidated
          Apt. 2067
                                                                              Disputed
          Phoenix, Arizona 85044-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.253
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fischer, Amy                                                        Contingent
          33 - 121st Ave Ne                                                   Unliquidated
          Blaine, Minnesota 55434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fishburn, Julie                                                     Contingent
          23 Railroad Ave                                                     Unliquidated
          Swedesboro, New Jersey 08085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 363 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 387 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.253
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisher Barton Group                                                 Contingent
          700 S Water St                                                      Unliquidated
          Watertown, WI 53094
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FISHER PRINTING                                                     Contingent
          8640 S. Oketo                                                       Unliquidated
          Bridgeview, IL 60455
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisher, Alexandra                                                   Contingent
          905 Oakwood Terrace                                                 Unliquidated
          Hinsdale, Illinois 60521-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisher, Britani                                                     Contingent
          6471 Ashlar Ave                                                     Unliquidated
          Hubbard, Ohio 44425-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisher, Renee                                                       Contingent
          2682 Poplar Street                                                  Unliquidated
          Erie, Pennsylvania 16508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisher, Sheryl                                                      Contingent
          8837 Debra Ave                                                      Unliquidated
          North Hills, California 91343-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisher, Siri                                                        Contingent
          943 Beaverbank Circle                                               Unliquidated
          Towson, Maryland 21286-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 364 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 388 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.254
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisher, Stephanie                                                   Contingent
          101 Leaf Lake Blvd #1801                                            Unliquidated
          Birmingham, Alabama 35211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisher, Suzanne                                                     Contingent
          2349 Memorial Dr                                                    Unliquidated
          Green Bay, Wisconsin 54303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisk Alloy, Inc.                                                    Contingent
          10 Thomas Rd.                                                       Unliquidated
          Hawthorne, NJ 07507
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fisk, Doris                                                         Contingent
          1333 Eagle Glen                                                     Unliquidated
          Escondido, California 92029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fitch, Chris                                                        Contingent
          3916 N. Pine Grove, Apt 1w                                          Unliquidated
          Chicago, Illinois 60613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fitch, Esther                                                       Contingent
          6857 Austin Harbor Lp                                               Unliquidated
          Sherwood, Arkansas 72120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fitch, Sandra                                                       Contingent
          817 Mildred Ne                                                      Unliquidated
          Albuquerque, New Mexico 87123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 365 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 389 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.255
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fitzgerald, Karen                                                   Contingent
          608 Siems Circle                                                    Unliquidated
          Roselle, Illinois 60172-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fitzgibbons, Donald                                                 Contingent
          401c Valley View                                                    Unliquidated
          Lake Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fitzgibbons, Sean                                                   Contingent
          505 N McClurg Ct                                                    Unliquidated
          Apt 1702
                                                                              Disputed
          Chicago, Illinois 60611-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.255
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fitzner, Casey                                                      Contingent
          7750 West Peterson                                                  Unliquidated
          Chicago, Illinois 60631-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fivek, Holly                                                        Contingent
          1731 Timocuan Way                                                   Unliquidated
          Longwood, Florida 32750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flanagan, Derrick                                                   Contingent
          2013 Graveline Road                                                 Unliquidated
          Gautier, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flanagan, Lori                                                      Contingent
          15811 NE 9th Circle                                                 Unliquidated
          Vancouver, Washington 98684-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 366 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 390 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.255
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flanders, Heidi                                                     Contingent
          74 Saint James Ave                                                  Unliquidated
          Manchester, New Hampshire 03102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fleck, Larry                                                        Contingent
          62 Arroyo Way                                                       Unliquidated
          San Francisco, California 94127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fleckenstein, Loren                                                 Contingent
          3496 Pleasant Avenue                                                Unliquidated
          Hamburg, New York 14075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fleenor, Kristina                                                   Contingent
          925 Brandon Ave                                                     Unliquidated
          #A2
                                                                              Disputed
          Norfolk, Virginia 23517-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.256
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flegel, Kristina                                                    Contingent
          350 Rue Saint Denis                                                 Unliquidated
          Florissant, Missouri 63031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flegler, Alvin                                                      Contingent
          614 River Bend Court                                                Unliquidated
          Apt. 302
                                                                              Disputed
          Newport News, Virginia 23602-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.256
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fleming, Jacinda                                                    Contingent
          17840 Jamestown Way                                                 Unliquidated
          Apt C
                                                                              Disputed
          Lutz, Florida 33558-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 367 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 391 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.256
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flemmer, Jennifer                                                   Contingent
          1420 65th Street                                                    Unliquidated
          #207
                                                                              Disputed
          Sacramento, California 95819-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.256
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fletcher, Alexis                                                    Contingent
          1714 N Brunswick                                                    Unliquidated
          Wichita, Kansas 67212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fletcher, Lynn                                                      Contingent
          14214 SE 285th Place                                                Unliquidated
          Kent, Washington 98042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flint, Charissa                                                     Contingent
          187 Windsor Dr                                                      Unliquidated
          Graham, North Carolina 27253-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flippin, Loretta                                                    Contingent
          7040 Dennisville Road                                               Unliquidated
          Amelia Court House, Virginia 23002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Florence Unified School District                                    Contingent
          225 South Orlando Street                                            Unliquidated
          Florence, AZ 85232
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flores, Alexandra                                                   Contingent
          13838 Burrage Street                                                Unliquidated
          Eastvale, California 92880-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 368 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 392 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.257
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flores, Esther                                                      Contingent
          5825 Gulfton St. 3223                                               Unliquidated
          Houston, Texas 77081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flores, Maria                                                       Contingent
          2814 Birch St                                                       Unliquidated
          Selma, California 93662-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flores, Sarah                                                       Contingent
          6024 Mary Lewis Drive                                               Unliquidated
          Austin, Texas 78747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Florida Department of Revenue                                       Contingent
          P.O. BOX 6668                                                       Unliquidated
          TALLAHASSEE, FL 32314-6668
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Flory, Raquel                                                       Contingent
          2342 14th St. NW                                                    Unliquidated
          Minot, North Dakota 58703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Floyd, Tracey                                                       Contingent
          233 West 26th Street                                                Unliquidated
          Norfolk, Virginia 23517-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fluellen, Shikema                                                   Contingent
          1007 Green St #1828                                                 Unliquidated
          Conyers, Georgia 30012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 369 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 393 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.257
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fluty, Tracy                                                        Contingent
          119 Rose Garden Lane                                                Unliquidated
          Goodlettsville, Tennessee 37072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FM Howell & Company                                                 Contingent
          79 Pennsylvania Ave                                                 Unliquidated
          Elmira, NY 14902
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FNBC Bank & Trust                                                   Contingent
          620 West Burlington Avenue                                          Unliquidated
          LaGrange, IL 60525
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,000.00
          Focus Global Talent Solutions LLC                                   Contingent
          3323 NE 163rd Street                                                Unliquidated
          Suite 401
                                                                              Disputed
          North Miami Beach, FL 33160
          Date(s) debt was incurred 2/19/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.258
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foege, Jennifer                                                     Contingent
          1140 Shadyslope Dr                                                  Unliquidated
          Santa Rosa, California 95404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fokszanskyj, Leokadia                                               Contingent
          1018 Egret Court                                                    Unliquidated
          Edgewater, Florida 32141-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foley, Deborah                                                      Contingent
          473 Greenwood Dr                                                    Unliquidated
          Wilmington, Delaware 19808-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 370 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 394 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.258
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foley, James                                                        Contingent
          320 Yoe Dr                                                          Unliquidated
          Yoe, Pennsylvania 17313-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foliano, Laura                                                      Contingent
          P.O. Box 7201                                                       Unliquidated
          Naples, Florida 34101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Folk, Sarah                                                         Contingent
          9811 Streeter Dr                                                    Unliquidated
          Erir, Michigan 48133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Folkes, Debra                                                       Contingent
          1916 Greenberry Road                                                Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Folsom, Melissa                                                     Contingent
          1502 N. Kings Hwy                                                   Unliquidated
          Cushing, Oklahoma 74023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fomond, Takala                                                      Contingent
          1232 Darrow Ave                                                     Unliquidated
          Evanston, Illinois 60202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fomukong, Abou-Nica                                                 Contingent
          454 Minturn Loop NE                                                 Unliquidated
          Rio Rancho, New Mexico 87124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 371 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 395 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.259
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FOND DU LAC COUNTY                                                  Contingent
          160 Macy St                                                         Unliquidated
          Fond du Lac, WI 54935
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FOOD 4 LESS/RANCHO SAN MIGUEL/PAQ,                                  Contingent
          INC.                                                                Unliquidated
          17935 Murphy Pkwy
                                                                              Disputed
          Lathrop, CA 95330
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.259
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Food Warming Equipment Company, Inc.                                Contingent
          5599 Hwy 31W                                                        Unliquidated
          Portland, TN 37148
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Forbush, Diane                                                      Contingent
          3687 Doral Street                                                   Unliquidated
          Palm Harbor, Florida 34685-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Force, Karyn                                                        Contingent
          7 Gabrielle Circle                                                  Unliquidated
          Maynard, Massachusetts 01754-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ford, Deanna                                                        Contingent
          16657 W. Merc Lane                                                  Unliquidated
          Lockport, Illinois 60441-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ford, Nina                                                          Contingent
          1555 S Avers                                                        Unliquidated
          Chicago, Illinois 60623-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 372 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 396 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.260
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Forest City Gear                                                    Contingent
          11715 Main Street                                                   Unliquidated
          Roscoe, IL 61073
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Forest Lawn Memorial Park Association                               Contingent
          1712 S Glendale Ave                                                 Unliquidated
          Glendale, CA 91205
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Forest Park SD 91                                                   Contingent
          424 DesPlaines Ave                                                  Unliquidated
          Forest Park, IL 60130
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foresta, Laura                                                      Contingent
          19 Central Close                                                    Unliquidated
          Auburndale, Massachusetts 02466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Formanski, Kyle                                                     Contingent
          1012 South Lancaster                                                Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Forte, Suzanne                                                      Contingent
          49869 West Julie Lane                                               Unliquidated
          Maricopa, Arizona 85139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fortes Spinney, Carla                                               Contingent
          7 Stanley Ln                                                        Unliquidated
          Nashua, New Hampshire 03062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 373 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 397 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.260
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,848.00
          Fortitude International LLC                                         Contingent
          PO Box 76383                                                        Unliquidated
          Baltimore, MD 21275-6383
                                                                              Disputed
          Date(s) debt was incurred 6/3/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fosness, Tiffanee                                                   Contingent
          1653 Lenwood Ave #2                                                 Unliquidated
          Green Bay, Wisconsin 54303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fosnight, Cory                                                      Contingent
          311 Woodbend Drive                                                  Unliquidated
          Ravenna, Ohio 44266-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foss, Jessica                                                       Contingent
          206 Shadbush Street                                                 Unliquidated
          San Antonio, Texas 78245-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fosse, Amy                                                          Contingent
          1333 Town Brooke                                                    Unliquidated
          Middletown, Connecticut 06457-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foster, Derith                                                      Contingent
          41 Alana Drive                                                      Unliquidated
          Northbridge, Massachusetts 01534-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foster, Jaconya                                                     Contingent
          932 Irolo Street                                                    Unliquidated
          Apt. 304
                                                                              Disputed
          Los Angeles, California 90006-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 374 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 398 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.261
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foster, Jaime                                                       Contingent
          9 Paddock Dr                                                        Unliquidated
          Plainville, Massachusetts 02762-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foster, Karen                                                       Contingent
          901 Spotswood Ave, C1                                               Unliquidated
          Norfolk, Virginia 23517-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foudeh, Ava                                                         Contingent
          280 Alicia way                                                      Unliquidated
          Los Altos, California 94022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foundation For Senior Living                                        Contingent
          1201 East Thomas Road                                               Unliquidated
          Phoenix, AZ 85014
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fountaine, Joanne                                                   Contingent
          13854 Echo Park Ct.                                                 Unliquidated
          Burnsville, Minnesota 55337-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Four County Career Center                                           Contingent
          22 900 State Route 34                                               Unliquidated
          Archbold, OH 43502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FOUR SEASONS HOTEL                                                  Contingent
          120 E. Delaware Place                                               Unliquidated
          Chicago, IL 60611
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 375 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 399 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.262
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foust, Bonnie                                                       Contingent
          1249 Spring Lake Dr                                                 Unliquidated
          Brownsburg, Indiana 46112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fowler Elementary School District                                   Contingent
          1617 South 67 Avenue                                                Unliquidated
          Phoenix, AZ 85043
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fowler, Alina                                                       Contingent
          30 Dickinson Crossing                                               Unliquidated
          Fairport, New York 14450-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fox Valley Metal-Tech, Inc.                                         Contingent
          1201 Parkview Road                                                  Unliquidated
          Green Bay, WI 54304
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fox, Amy                                                            Contingent
          7867 Chaco Mesa Lp                                                  Unliquidated
          7867 Chaco Mesa Lp NW
                                                                              Disputed
          Albuquerque, New Mexico 87114-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.262
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fox, Melia                                                          Contingent
          1245 Niles Cortland Rd                                              Unliquidated
          Niles, Ohio 44446-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fox, Sheryl                                                         Contingent
          12 Elm St                                                           Unliquidated
          Acton, Massachusetts 01720-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 376 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 400 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.262
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frabotta, Theresa                                                   Contingent
          1160 Fireside Trl                                                   Unliquidated
          Broadview Heights, Ohio 44147-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          France, Sarah                                                       Contingent
          14835 S 7th St                                                      Unliquidated
          Phoenix, Arizona 85048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frances, Chantal                                                    Contingent
          406 Shelter Circle, Apt 5                                           Unliquidated
          Newport News, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Francis, Bethany                                                    Contingent
          45 Rathbun Circle                                                   Unliquidated
          Rossville, Georgia 30741-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Francis, Nicole                                                     Contingent
          11940 Twinlakes Dr Apt 31                                           Unliquidated
          Beltsville, Maryland 20705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Franciscan Ministries                                               Contingent
          11500 Theresa Drive                                                 Unliquidated
          Lemont, IL 60439
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Francisco, Megan                                                    Contingent
          4528 Glenwood Street                                                Unliquidated
          Duluth, Minnesota 55804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 377 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 401 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.263
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Franco, Zulma                                                       Contingent
          1036 W 45th st                                                      Unliquidated
          Los Angeles, California 90037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Francois, Ghino                                                     Contingent
          48 Holy Family Road                                                 Unliquidated
          Holyoke, Massachusetts 01040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frankel, Leah                                                       Contingent
          200 Winchester Circle #c214                                         Unliquidated
          Los Gatos, California 95032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.00
          Franklin Medical Center                                             Contingent
          2106 Loop Road                                                      Unliquidated
          Winnsboro, LA 71295
                                                                              Disputed
          Date(s) debt was incurred 4/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Franklin Park 84                                                    Contingent
          2915 Maple                                                          Unliquidated
          Franklin Park, IL 60131
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Franklin, April                                                     Contingent
          2959D Chapel Hill Road                                              Unliquidated
          Douglasville, Georgia 30135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Franklin, Brynn                                                     Contingent
          426 Cleveland Dr                                                    Unliquidated
          Ellsworth Afb, South Dakota 57706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 378 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 402 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.264
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Franklin, Zadie                                                     Contingent
          3051 Sienna Drive                                                   Unliquidated
          Harvey, Louisiana 70058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frattasi, Carmela                                                   Contingent
          160-65 27th Ave                                                     Unliquidated
          Flushing, New York 11358-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frazier, Hattie                                                     Contingent
          8001 Carmel Dr                                                      Unliquidated
          District Heights, Maryland 20747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frazier, Lynn                                                       Contingent
          895 Highway 107                                                     Unliquidated
          Montevallo, Alabama 35115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frazier, M.                                                         Contingent
          497 Elysian Fields Rd, A5                                           Unliquidated
          Nashville, Tennessee 37211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frazier, Mollie                                                     Contingent
          249 S Ann St                                                        Unliquidated
          Baltimore, Maryland 21231-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frazier, Valerie                                                    Contingent
          4011 Adelheid Way                                                   Unliquidated
          Sacramento, California 95821-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 379 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 403 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.264
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Freaney, Christine                                                  Contingent
          100 Banks Ave                                                       Unliquidated
          Apt. 1219
                                                                              Disputed
          Rockville Center, New York 11570-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.265
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frederick Community College                                         Contingent
          7932 Opossumtown Pike                                               Unliquidated
          Frederick, MD 21702
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frederick, Kimberly                                                 Contingent
          4933 Citrine Ave#104                                                Unliquidated
          Virginia Beach, Virginia 23462-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frediani, Lauren                                                    Contingent
          11810 Frederick Rd                                                  Unliquidated
          Ellicott City, Maryland 21042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fredrickson, Barbara                                                Contingent
          2838 Panorama Drive                                                 Unliquidated
          Rockford, Illinois 61109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fredrickson, Peg                                                    Contingent
          679 Creedside Circle                                                Unliquidated
          Gurnee, Illinois 60031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Freeborn & Peters LLP                                               Contingent
          311 S Wacker Dr                                                     Unliquidated
          Suite 3000
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 380 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 404 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.265
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Freeburg, Robin                                                     Contingent
          7 Gridley Place                                                     Unliquidated
          Ottawa, Illinois 61350-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Freedom Form, Inc.                                                  Contingent
          555 Pennsylvania Ave                                                Unliquidated
          Washington, DC 20001
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Freeman, Jamie                                                      Contingent
          13411 Briar Forest Dr Apt 1040                                      Unliquidated
          Houston, Texas 77077-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Freid, Nancy                                                        Contingent
          6046 Break Point Trail                                              Unliquidated
          Dallas, Texas 75252-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fremling, Maija                                                     Contingent
          4205 Montreal Street, #308                                          Unliquidated
          Bismark, North Dakota 58503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frick, Tamahra                                                      Contingent
          6067 Risingstar Dr                                                  Unliquidated
          Eastvale, California 92880-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Friddle, Abigail                                                    Contingent
          1008 N. Raven                                                       Unliquidated
          Rogers, Arkansas 72756-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 381 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 405 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.266
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frieden, Jeanette                                                   Contingent
          11329 SW 45th Ave                                                   Unliquidated
          Portland, Oregon 97219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,412.45
          Friedman Fleischer and Lowe LLC                                     Contingent
          One Maritime Plaza, Suite 2200                                      Unliquidated
          San Francisco, CA 94111
                                                                              Disputed
          Date(s) debt was incurred 3/6/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Friedman, Lynn                                                      Contingent
          147 Morningside Ln                                                  Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Friedman, Samuel                                                    Contingent
          710 Vermont Sreet                                                   Unliquidated
          San Francisco, California 94107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Friend, Shane                                                       Contingent
          68350 E 160 Road                                                    Unliquidated
          Wyandotte, Oklahoma 74370-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FrieslandCampina                                                    Contingent
          40196 New York 10                                                   Unliquidated
          Delhi, NY 13753
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Friolo, Bee                                                         Contingent
          1812 Gunston Way                                                    Unliquidated
          San Jose, California 95124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 382 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 406 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.267
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fromer, Allison                                                     Contingent
          49 Robinson Landing Ct                                              Unliquidated
          Saverna Park, Maryland 21146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frontier Ag & Turf                                                  Contingent
          730 Deere Drive                                                     Unliquidated
          New Richmond, WI 54017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frontier Central School District                                    Contingent
          4432 Bayview Road                                                   Unliquidated
          Hamburg, NY 14075
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frontier Communities                                                Contingent
          2151 E Convention Center Way                                        Unliquidated
          Ontario, CA 91764
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frost, Erin                                                         Contingent
          2404 Nutwood Ave                                                    Unliquidated
          B38
                                                                              Disputed
          Fullerton, California 92831-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.267
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frost, Sheri                                                        Contingent
          4907 S Champaign Ave                                                Unliquidated
          Apt 3
                                                                              Disputed
          Chicago, Illinois 60615-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.267
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fry, Cynthia                                                        Contingent
          1612 E Bijou St                                                     Unliquidated
          Colorado Springs, Colorado 80909-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 383 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 407 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.267
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Frye, Elizabeth                                                     Contingent
          315 N 6th Street, Apt A                                             Unliquidated
          Wilmington, North Carolina 28401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300,500.77
          FTI Consulting, Inc                                                 Contingent
          1301 McKinney Street                                                Unliquidated
          Houston, TX 77010
                                                                              Disputed
          Date(s) debt was incurred 11/1/2019
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fuentes, Heyci                                                      Contingent
          2703 Harris Ave                                                     Unliquidated
          Silver Spring, Maryland 20902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fujitec America, Inc.                                               Contingent
          7258 Innovation Way                                                 Unliquidated
          Mason, OH 45040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fullerton Engineering Consultants, Inc.                             Contingent
          1100 E Woodfield Rd., Suite 500                                     Unliquidated
          Schaumburg, IL 60018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fulton Companies                                                    Contingent
          972 Centerville Road                                                Unliquidated
          Pulaski, NY 13142
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.48
          Fulton County Medical Center                                        Contingent
          214 Peach Orchard Rd                                                Unliquidated
          Mc Connellsburg, PA 17233-8559
                                                                              Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 384 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 408 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.268
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Funaro, Jennifer                                                    Contingent
          466 Indian Springs Run                                              Unliquidated
          Boone, North Carolina 28607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Funches, Gaarmel                                                    Contingent
          4856 Windermere Terrance                                            Unliquidated
          Jackson, Mississippi 39206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fura, Berina                                                        Contingent
          1033 Highknoll Lane                                                 Unliquidated
          Georgetown, Texas 78628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Furdui, Margareta                                                   Contingent
          3421 Hard Creek Lane                                                Unliquidated
          Buford, Georgia 30519-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Furey, Michael                                                      Contingent
          303 Warren St. E.                                                   Unliquidated
          Edgewater Park, New Jersey 08010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Furlan, Donna                                                       Contingent
          10 Elizabeth Way                                                    Unliquidated
          Carlisle, Pennsylvania 17013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Furlin, Joseph                                                      Contingent
          1101 N. Cold Springs Road                                           Unliquidated
          Bull Valley, Illinois 60098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 385 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 409 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.269
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Furman, Samantha                                                    Contingent
          3520 N Damen Ave                                                    Unliquidated
          #G
                                                                              Disputed
          Chicago, Illinois 60681-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.269
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Furnare, Michael                                                    Contingent
          526 Oak Street, APT 3                                               Unliquidated
          Syracuse, New York 13203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Furniss, Sarah                                                      Contingent
          3227 E Deer Hollow Dr                                               Unliquidated
          Sandy, Utah 84092-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          FuseFX, Inc.                                                        Contingent
          14823 Califa Street                                                 Unliquidated
          Los Angeles, CA 91411
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,868.00
          Fusion Management                                                   Contingent
          C/O Kelly Beckner                                                   Unliquidated
          210 N Interstate North Pkway, Suite 300
                                                                              Disputed
          Atlanta, GA 30339
          Date(s) debt was incurred 6/2/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.269
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Futamura                                                            Contingent
          6000 SE 2nd St                                                      Unliquidated
          Tecumseh, KS 66542
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Fuzzy Math                                                          Contingent
          811 W Evergreen Ave                                                 Unliquidated
          Suite 305
                                                                              Disputed
          Chicago, IL 60642
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 386 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 410 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.269
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          G & C Foods                                                         Contingent
          3407 Walters Road                                                   Unliquidated
          Syracuse, NY 13209
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          G & W Products, LLC                                                 Contingent
          8675 Seward Rd.                                                     Unliquidated
          Fairfield, OH 45011
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          G.H. Tool & Mold, Inc.                                              Contingent
          28 Chamber Drive                                                    Unliquidated
          Washington, MO 63090
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gabel, Elizabeth                                                    Contingent
          121 Norle Street                                                    Unliquidated
          State College, Pennsylvania 16801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gabel, Emily Brown                                                  Contingent
          1071 Gables Dr, Apt 203                                             Unliquidated
          Forest, Virginia 24551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gables Engineering, Inc                                             Contingent
          247 Greco Avenue                                                    Unliquidated
          Coral Gables, FL 33146
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gabriel, Naomi                                                      Contingent
          443 high ridge road                                                 Unliquidated
          Stamford, Connecticut 06905-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 387 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 411 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.270
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gabrielsen, Kristi                                                  Contingent
          8411 Shady Lane                                                     Unliquidated
          Wonder Lake, Illinois 60097-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gagnon, Matthew                                                     Contingent
          780 Pennsylvania Dr                                                 Unliquidated
          Apt. #3
                                                                              Disputed
          Palatine, Illinois 60074-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.270
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gagosian Gallery                                                    Contingent
          900 Madison Avenue                                                  Unliquidated
          New York, NY 10075
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gainer, Amanda                                                      Contingent
          8912 Blaze drive                                                    Unliquidated
          Austin, Texas 78747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gainer, Valerie                                                     Contingent
          2504 Academy Dr                                                     Unliquidated
          Gautier, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gaines, Amethyst                                                    Contingent
          7730 Challie Lane                                                   Unliquidated
          Houston, Texas 77088-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galati, Katrina                                                     Contingent
          205 St. Sabre                                                       Unliquidated
          Swansea, Illinois 62226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 388 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 412 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.271
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galaviz, Esmeralda                                                  Contingent
          294 Cinnamon Oak Avenue                                             Unliquidated
          Ventura, California 93004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gale, Riyn Lyn                                                      Contingent
          1205 AVENUE A APT 5                                                 Unliquidated
          KATY, Texas 77493-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galicia, Kathy                                                      Contingent
          2075 N Potomac St, Lot 88                                           Unliquidated
          Aurora, Colorado 80011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galindez, Shannon                                                   Contingent
          3951 Gouverneur Ave Apt 4H                                          Unliquidated
          NY, New York 10463-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galindo, Diane                                                      Contingent
          4921 W Drummond Pl                                                  Unliquidated
          Chicago, Illinois 60639-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gall, Grant                                                         Contingent
          17527 State Highway 149                                             Unliquidated
          Ethel, Missouri 63539-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,628.00
          Gallagher Benefit Services, Inc.                                    Contingent
          2850 West Golf Rd, 5th Floor                                        Unliquidated
          Rolling Meadows, IL 60008
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 389 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 413 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.271
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gallagher, Allanah                                                  Contingent
          5039 Hamilton Wolfe Rd                                              Unliquidated
          Apt 2221
                                                                              Disputed
          San Antonio, Texas 78229-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.272
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gallagher, Flynn & Company, LLP                                     Contingent
          55 Community Drive                                                  Unliquidated
          Suite 401
                                                                              Disputed
          South Burlington, VT 05403
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.272
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gallardo, Jean-Noel                                                 Contingent
          500 North Lake Shore Drive                                          Unliquidated
          Unit 3011
                                                                              Disputed
          Chicago, Illinois 60611-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.272
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gallardo, Laura                                                     Contingent
          2220 Virginia Ave                                                   Unliquidated
          Pomona, California 91766-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galloway, Deena                                                     Contingent
          652 Magnolia Dr NE                                                  Unliquidated
          Corydon, Indiana 47112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galloway, Jessica                                                   Contingent
          Po Box 1682                                                         Unliquidated
          Springtown, Texas 76082-1682
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galvez, Ana                                                         Contingent
          1480 Royale Castle Drive                                            Unliquidated
          Lawrenceville, Georgia 30043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 390 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 414 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.272
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Galvez-Uribe, Silvia                                                Contingent
          2505 Comfort Drive                                                  Unliquidated
          Mesquite, Texas 75181-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gamble, Cecelia                                                     Contingent
          11402 South Forest Avenue                                           Unliquidated
          2
                                                                              Disputed
          Chicago, Illinois 60628-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.272
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gambrell, Holly                                                     Contingent
          807 North Carrier Pkwy                                              Unliquidated
          Grand Prairie, Texas 75050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gamez, Elizabeth                                                    Contingent
          554 West 43rd Street                                                Unliquidated
          Apt G
                                                                              Disputed
          Chicago, Illinois 60609-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ganchala, Mishell                                                   Contingent
          52 85 72nd place                                                    Unliquidated
          Maspeth, New York 11378-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gandhi, Rikin                                                       Contingent
          4230 Cove Drive                                                     Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gannon-Beagel, Ann                                                  Contingent
          11268 N. Holly St.                                                  Unliquidated
          Kansas City, Missouri 64155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 391 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 415 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.273
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gantman, Ruth                                                       Contingent
          2500 Parkview Drive                                                 Unliquidated
          Hallandale Beach, Florida 33009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gantt, Maya                                                         Contingent
          6761 Sutton Oak Way                                                 Unliquidated
          Gainesville, Virginia 20155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ganub, Tanisha                                                      Contingent
          PO BOX 581014                                                       Unliquidated
          Elk Grove, California 95758-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garavaglia, Andrea                                                  Contingent
          216 W. Jefferson St.                                                Unliquidated
          PO Box 61
                                                                              Disputed
          Suttons Bay, Michigan 49682-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garay, Mildred                                                      Contingent
          437 Harvest Gate                                                    Unliquidated
          Lake in the Hills, Illinois 60156-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garay, Sandra                                                       Contingent
          1602 McKool Ave                                                     Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garces, Juan                                                        Contingent
          505 W Belmont Ave, Apt 1F                                           Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 392 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 416 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.274
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Allison                                                     Contingent
          4270 Osage Street                                                   Unliquidated
          Stow, Ohio 44224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Andrea                                                      Contingent
          1028 Pendragon Castle Drive                                         Unliquidated
          Pflugerville, Texas 78660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Anna                                                        Contingent
          1618 S. Halsted St.                                                 Unliquidated
          Unit 5B
                                                                              Disputed
          Chicago, Illinois 60608-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.274
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Barbara                                                     Contingent
          1023 Wickford Court                                                 Unliquidated
          Chesapeake, Virginia 23320-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Christina                                                   Contingent
          8213 Reading Ave                                                    Unliquidated
          Los Angeles, California 90045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Emily                                                       Contingent
          10407 Raybrook Ln                                                   Unliquidated
          Houston, Texas 77089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Lauren                                                      Contingent
          10801 lemon ave Apt #127                                            Unliquidated
          Rancho cucamonga, California 91737-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 393 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 417 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.274
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Letitia                                                     Contingent
          8469 Lewis Ct                                                       Unliquidated
          Arvada, Colorado 80005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Matthew                                                     Contingent
          11295 Provancal Place                                               Unliquidated
          San Diego, California 92128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Michael                                                     Contingent
          801 E. Downing Street #2                                            Unliquidated
          Tahlequah, Oklahoma 74464-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Mindi                                                       Contingent
          639 East 300 North #1                                               Unliquidated
          Spanish Fork, Utah 84660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Miriam                                                      Contingent
          1126 A Millo Circle                                                 Unliquidated
          Lafayette, Colorado 80026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Monica                                                      Contingent
          818 Spruce Ct                                                       Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Sarah                                                       Contingent
          11614 Santiago Peak Ct                                              Unliquidated
          Rancho Cucamonga, California 91737-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 394 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 418 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.275
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Shacanna                                                    Contingent
          56 Poplar Avenue                                                    Unliquidated
          Newport News, Virginia 23607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Shalon                                                      Contingent
          47a Oak Grove Dr                                                    Unliquidated
          Middle River, Maryland 21220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Teresita                                                    Contingent
          12007 W Bloomfield R                                                Unliquidated
          El Mirage, Arizona 85335-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garcia, Tiffany                                                     Contingent
          P.O. Box 1512                                                       Unliquidated
          Fabens, Texas 79838-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardant Management Solutions (Formerly B                            Contingent
          535 E North St Suite E                                              Unliquidated
          Bradley, IL 60915
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardea, Lyzette                                                     Contingent
          3430 Sandbrook Dr                                                   Unliquidated
          Houston, Texas 77066-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardener, Dimiella                                                  Contingent
          630 East 223rd Street                                               Unliquidated
          Bronx, New York 10466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 395 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 419 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.276
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardener, Keliesha                                                  Contingent
          4400 Boone Road                                                     Unliquidated
          APT 254
                                                                              Disputed
          Houston, Texas 77072-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.276
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardner, Drew                                                       Contingent
          706 Douglas Dr                                                      Unliquidated
          Cherry Hill, New Jersey 08034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardner, Erin                                                       Contingent
          1709 - 23rd St W                                                    Unliquidated
          Williston, North Dakota 58801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardner, Katelyn                                                    Contingent
          36906 Ann Arbor Trail                                               Unliquidated
          Livonia, Michigan 48150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardner, M.                                                         Contingent
          1412 James Road                                                     Unliquidated
          Pekin, Illinois 61554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gardner, Tracy                                                      Contingent
          3542 Blue Ridge Ct                                                  Unliquidated
          Carpentersville, Illinois 60110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garesche, Mark                                                      Contingent
          401 N Silverleafblv                                                 Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 396 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 420 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.276
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garfield County                                                     Contingent
          938 Jordan Avenue                                                   Unliquidated
          Jordan, MT 59337
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garland, Erica                                                      Contingent
          201 SW Kennybrook Dr                                                Unliquidated
          Grimes, Iowa 50111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garlich Printing Company                                            Contingent
          525 Rudder Road                                                     Unliquidated
          Fenton, MO 63026
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garnes, Leslie                                                      Contingent
          1933 E Dublin Granville Rd                                          Unliquidated
          217
                                                                              Disputed
          Columbus, Ohio 43229-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.277
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garofano, Christine                                                 Contingent
          2149 California St, Apt E                                           Unliquidated
          Washington, District of Columbia 20008-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garrett, Aimee                                                      Contingent
          Po Box 1383                                                         Unliquidated
          Farmington, New Mexico 87499-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garrett, Stacy                                                      Contingent
          7 Roffman Place                                                     Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 397 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 421 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.277
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gartner, Charlie                                                    Contingent
          1266 202nd Ave                                                      Unliquidated
          New Richmond, Wisconsin 54017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $44.04
          Garvey's Office Products                                            Contingent
          P.O Box 5678                                                        Unliquidated
          Carol Stream, IL 60197-5678
                                                                              Disputed
          Date(s) debt was incurred 2/19/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GARY MERLINO CONSTRUCTION CO., INC                                  Contingent
          9125 10th Ave S                                                     Unliquidated
          Seattle, WA 98108
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garza, Amaris                                                       Contingent
          10301 Ranch to Market 2222                                          Unliquidated
          Apt 738
                                                                              Disputed
          Austin, Texas 78730-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.277
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garza, Brianna                                                      Contingent
          345 East Ohio Street                                                Unliquidated
          Apt 4007
                                                                              Disputed
          Chicago, Illinois 60611-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.278
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Garza, Clara                                                        Contingent
          5207 Greathouse Avenue                                              Unliquidated
          Midland, Texas 79707-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gas Equipment Company, Inc.                                         Contingent
          11616 Harry Hines                                                   Unliquidated
          Dallas, TX 75229
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 398 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 422 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.278
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gaston, Tommy                                                       Contingent
          1439 Lincoln Way E                                                  Unliquidated
          Massillon, Ohio 44646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gates, Deborah                                                      Contingent
          6644 S. Stewart                                                     Unliquidated
          Chicago, Illinois 60621-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gateway Industrial Power, Inc                                       Contingent
          921 Fournie Lane                                                    Unliquidated
          Collinsville, IL 62234
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GATX Corporation                                                    Contingent
          222 W Adams St                                                      Unliquidated
          Chicago, IL 60606-5312
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gauscheman, Beth                                                    Contingent
          1300 Rosewood Court                                                 Unliquidated
          Pittsburgh, Pennsylvania 15236-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gause, Shadella                                                     Contingent
          18 Arklow Street                                                    Unliquidated
          Rochester, New York 14611-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gause, Sophia                                                       Contingent
          4983 Robin Court                                                    Unliquidated
          Frederick, Maryland 21703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 399 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 423 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.278
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gauthier, Gina                                                      Contingent
          5360 Jonquil Lane, Apt 105                                          Unliquidated
          Naples, Florida 34109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gauthier, Jean                                                      Contingent
          5560 Jonquil Lane #105                                              Unliquidated
          Naples, Florida 34109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gavrish, Lisa                                                       Contingent
          148 Graham Ridge Rd                                                 Unliquidated
          Naugatuck, Connecticut 07770-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gayle, Suzette                                                      Contingent
          52 Palisade Ave                                                     Unliquidated
          Bergenfield, New Jersey 07621-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gaylor, Rosemary                                                    Contingent
          177 Swithchpoint Drive                                              Unliquidated
          Stewartstown, Pennsylvania 17363-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gayona, Gellaine                                                    Contingent
          6359 Hillcrest Place                                                Unliquidated
          Alexandria, Virginia 22312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GCG FINANCIAL, INC.                                                 Contingent
          Three Parkway North                                                 Unliquidated
          Suite 500
                                                                              Disputed
          Deerfield, IL 60015
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 400 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 424 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.279
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GCG Risk Management Consultants LLC                                 Contingent
          3 Parkway North                                                     Unliquidated
          Suite 500
                                                                              Disputed
          Deerfield, IL 60015-2567
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.279
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GEA North America, Inc.                                             Contingent
          1600 O'Keefe Road                                                   Unliquidated
          Hudson, WI 54016
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gebler, Lynette                                                     Contingent
          23837 Erin Palce                                                    Unliquidated
          West Hills, California 91304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gegeyan, Artur                                                      Contingent
          5332 Fountain Ave #12                                               Unliquidated
          Los Angeles, California 90029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gehler, Jenee                                                       Contingent
          3400 Guildfore Ct SE                                                Unliquidated
          Port Orchard, Washington 98366-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GEICO                                                               Contingent
          300 Crosspoint Pkwy                                                 Unliquidated
          Getzville, NY 14068
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Geiger, Jorie                                                       Contingent
          8134 Knox                                                           Unliquidated
          Skokie, Illinois 60076-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 401 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 425 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.280
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Genenz, Danielle                                                    Contingent
          1314 Brummel St                                                     Unliquidated
          Evanston, Illinois 60202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          General Cable                                                       Contingent
          1600 West Main St.                                                  Unliquidated
          Willimantic, CT 06226
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          General Converting                                                  Contingent
          250 W Crossroads Pkwy                                               Unliquidated
          Bolingbrook, IL 60440
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          General Floor Industries Inc.                                       Contingent
          190 Benigno Blvd.                                                   Unliquidated
          Bellmawr, NJ 08031
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          General Kinematics Corporation                                      Contingent
          5050 Rickert Rd                                                     Unliquidated
          Crystal Lake, IL 60014
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Genoa Kingston CUSD 424                                             Contingent
          980 Park Avenue                                                     Unliquidated
          Genoa, IL 60135
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Genpak                                                              Contingent
          68 Warren St.                                                       Unliquidated
          Glens Falls, NY 12801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 402 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 426 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.281
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gentry, Makila                                                      Contingent
          550 West Point Pleasant Circle                                      Unliquidated
          #23
                                                                              Disputed
          Fairfield, Ohio 45014-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.281
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Genworth Financial                                                  Contingent
          6620 West Broad Street Bldg 1, 5th Floor                            Unliquidated
          Richmond, VA 23230
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Geokinetics USA, Inc.                                               Contingent
          1500 CityWest Blvd., Suite 800                                      Unliquidated
          Houston, TX 77042
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          George, Angela                                                      Contingent
          5722 W 48th Ave                                                     Unliquidated
          Amarillo, Texas 79109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          George, Crystal                                                     Contingent
          4050 W Aerie Drive                                                  Unliquidated
          Unit 117
                                                                              Disputed
          Tucson, Arizona 85741-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.281
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          George-Brankle, Brittani                                            Contingent
          15400 - 18th Ave N, Apt 1206                                        Unliquidated
          Plymough, Minnesota 55447-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Georges, Tracy                                                      Contingent
          1253 NE 109 St.                                                     Unliquidated
          Miami, Florida 33161-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 403 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 427 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.281
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Georgeson, Amber                                                    Contingent
          15400 - 18th Ave N Apt 1206                                         Unliquidated
          Plymouth, Minnesota 55447-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Georgia Baptist Mission Board                                       Contingent
          6405 Sugarloaf Pkwy.                                                Unliquidated
          Duluth, GA 30097
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Georgia Department of Revenue
          Compliance Division                                                 Contingent
          ARCS - Bankruptcy                                                   Unliquidated
          1800 Century Blvd NE Suite 9100                                     Disputed
          Atlanta, GA 30345-3202
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.282
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Georgia Eye Institute                                               Contingent
          4720 Waters Ave                                                     Unliquidated
          Savannah, GA 31404
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gerard, Katherine                                                   Contingent
          298 Weimar Street                                                   Unliquidated
          Buffalo, New York 14206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gerardi, Natalie                                                    Contingent
          4471 26th St. N                                                     Unliquidated
          Arlington, Virginia 22207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 404 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 428 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.282
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Germain, Sherletta                                                  Contingent
          3312 Timberview                                                     Unliquidated
          Flint, Michigan 48532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          German Motors Corporation                                           Contingent
          1675 Howard St                                                      Unliquidated
          San Francisco, CA 94103
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          German, Ervin                                                       Contingent
          787 Colony Avenue                                                   Unliquidated
          Lindenhurst, Illinois 60046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          German, Valerie                                                     Contingent
          6314 Gladewell Dr.                                                  Unliquidated
          Houston, Texas 77072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gerson, Judith                                                      Contingent
          215 West 90 Street                                                  Unliquidated
          New York, New York 10024-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gerson, Sidney                                                      Contingent
          215 W. 90th St 9F                                                   Unliquidated
          New York, New York 10024-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gertz, Aaron                                                        Contingent
          336 Harris Avenue                                                   Unliquidated
          Clarendon Hills, Illinois 60514-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 405 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 429 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.283
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gettys, Lauren                                                      Contingent
          PO Box 546                                                          Unliquidated
          192 Old Colony Lane
                                                                              Disputed
          Bostic, North Carolina 28018-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.283
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Getz, Gwendolyn                                                     Contingent
          161 EDGEBROOK RD                                                    Unliquidated
          Wood Dale, Illinois 60191-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Geyer, Emma                                                         Contingent
          4267 Persimmon Path                                                 Unliquidated
          Liverpool, New York 13090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GFX International Inc.                                              Contingent
          333 Barron Blvd.                                                    Unliquidated
          Grayslake, IL 60030
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ghafari Associates                                                  Contingent
          17101 Michgian Ave                                                  Unliquidated
          Dearborn, MI 48126
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gharib, Katherine                                                   Contingent
          2130 S Goebbert Road                                                Unliquidated
          Arlington Heights, Illinois 60005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gharte, Amol                                                        Contingent
          15716 Opal Fire Drive                                               Unliquidated
          Austin, Texas 78728-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 406 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 430 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.283
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ghauri, Aisha                                                       Contingent
          313 Thelma Ave                                                      Unliquidated
          Glen Burnie, Maryland 21061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gholian, Hadassah                                                   Contingent
          7010 Boxford Road                                                   Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gholson, Marion                                                     Contingent
          1417 Lynch Road                                                     Unliquidated
          Coward, South Carolina 29530-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ghuman, Pam                                                         Contingent
          2538 Mountain View Rd                                               Unliquidated
          El Monte, California 91733-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibbons, Chelsea                                                    Contingent
          511 East Nicodemus Rd                                               Unliquidated
          Westminster, Maryland 21157-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibbons, Diana                                                      Contingent
          6 Dove Lane                                                         Unliquidated
          Bella Vista, Arkansas 72714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibbons, Renee                                                      Contingent
          5308 Melwood Park Avenue                                            Unliquidated
          Upper Marboro, Maryland 20772-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 407 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 431 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.284
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibbons, Sarah                                                      Contingent
          423 Train Court                                                     Unliquidated
          Bel Air, Maryland 21014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibbons, Zachary                                                    Contingent
          913 Olmstead Rd                                                     Unliquidated
          Baltimore, Maryland 21208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibbs, Hannah                                                       Contingent
          1555 Selby Ave                                                      Unliquidated
          Unit 509
                                                                              Disputed
          Saint Paul, Minnesota 55104-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.284
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibbs, Trensla                                                      Contingent
          5313 Cape Henry Ave                                                 Unliquidated
          Norfolk, Virginia 23513-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibson, Amber                                                       Contingent
          401 Masterson Pass                                                  Unliquidated
          APT 111
                                                                              Disputed
          Austin, Texas 78753-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.284
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibson, Elizabeth                                                   Contingent
          4950 So. 4340 W.                                                    Unliquidated
          Kearns, Utah 84118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gibson, Rosemary                                                    Contingent
          797 Spring Circle                                                   Unliquidated
          Springfield, Tennessee 37172-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 408 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 432 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.285
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gideon, Krindolyn                                                   Contingent
          8118 Marsala Lane                                                   Unliquidated
          Knoxville, Tennessee 37938-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Giebus, Ala                                                         Contingent
          824 Fremont St                                                      Unliquidated
          Lancaster, Pennsylvania 17603-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Giesecke, Amy                                                       Contingent
          5004 Willow Creek Court                                             Unliquidated
          Gibsonia, Pennsylvania 15044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Giffin, Linda                                                       Contingent
          10820 Lake Shasta Court                                             Unliquidated
          Fort Wayne, Indiana 46804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gila Institute for Technology (GIFT)                                Contingent
          13617 615 N. Stadium Ave.                                           Unliquidated
          Thatcher, AZ 85552
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilbert Unified School District                                     Contingent
          140 S. Gilbert Rd.                                                  Unliquidated
          Gilbert, AZ 85296
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilbert, Katlin                                                     Contingent
          16351 Angora Lane                                                   Unliquidated
          Macomb, Michigan 48044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 409 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 433 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.285
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilbert, Marion                                                     Contingent
          11792 Castellon Court                                               Unliquidated
          Boynton Beach, Florida 33437-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gile, Annelise                                                      Contingent
          806 N. Washington, Apt 1                                            Unliquidated
          Ardmore, Oklahoma 73401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Giles, April                                                        Contingent
          310 North Old Church Street                                         Unliquidated
          Petersburg, Virginia 23803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gill, Brenda                                                        Contingent
          2028B Elliott Ave.                                                  Unliquidated
          Nashville
                                                                              Disputed
          Nashville, Tennessee 37204-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.286
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gillaspy, Jessica                                                   Contingent
          12908 Honey Locust Circle                                           Unliquidated
          Euless, Texas 76040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gillen, Jessica                                                     Contingent
          6800 Austin Center Blvd                                             Unliquidated
          #1222
                                                                              Disputed
          Austin, Texas 78731-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.286
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilliam, Alyssa                                                     Contingent
          18311 South Lois Drive                                              Unliquidated
          Cheney, Washington 99004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 410 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 434 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.286
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilliam, Trishella                                                  Contingent
          53 Colter Loop                                                      Unliquidated
          Helena, Montana 59602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilmore, Angela                                                     Contingent
          7001 S. La Cienega BLVD PH8                                         Unliquidated
          Los Angeles, California 90045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilmore, Michelle                                                   Contingent
          456 Oglesby Ave Apt 2                                               Unliquidated
          Calumet, Illinois 60409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilroy Kernan & Gilroy                                              Contingent
          210 Clinton Road                                                    Unliquidated
          P.O. Box 542
                                                                              Disputed
          New Hartford, NY 13413
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.286
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gilsdorf, Stephanie                                                 Contingent
          1900 Penny Lane                                                     Unliquidated
          Little Chute, Wisconsin 54140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gimbel, Madeline                                                    Contingent
          1831 Ellendale Dr                                                   Unliquidated
          Northbrook, Illinois 60062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ginns, Nancy                                                        Contingent
          20 Balfour St                                                       Unliquidated
          Lexington, Massachusetts 02421-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 411 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 435 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.287
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ginter, Emily                                                       Contingent
          4050 Mcclured Road                                                  Unliquidated
          Winchester, Kentucky 40391-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Girl Scouts in Heart of PA                                          Contingent
          350 Hale Ave                                                        Unliquidated
          Harrisburg, PA 17104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Giscombe, Andrea                                                    Contingent
          1805 Brierfield Road                                                Unliquidated
          Oxon Hill, Maryland 20745-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gitlin, Debbie                                                      Contingent
          P.O. Box 430                                                        Unliquidated
          Agoura Hills, California 91376-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glacier County                                                      Contingent
          512 E. Main St.                                                     Unliquidated
          Cut Bank, MT 59427
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glaser, Kimberly                                                    Contingent
          612 Destin Drive                                                    Unliquidated
          Fort Worth, Texas 76131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glass, Alyssa                                                       Contingent
          5109 Prospector Way APT B                                           Unliquidated
          Albuquerque, New Mexico 87114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 412 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 436 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.287
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glass, Samuel                                                       Contingent
          1118 Tennwood Drive                                                 Unliquidated
          Wilmington, North Carolina 28411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glasscock, Angela                                                   Contingent
          PO Box 362                                                          Unliquidated
          Farmington, West Virginia 26571-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glaude, Tajuana                                                     Contingent
          13266 Alpine Dr                                                     Unliquidated
          Biloxi, Mississippi 39532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gleason, Patrick                                                    Contingent
          3023 N Oakley Ave                                                   Unliquidated
          Chicago, Illinois 60618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gleaton, Rhonda                                                     Contingent
          3730 Hill Acres Rd                                                  Unliquidated
          Atlanta, Georgia 30331-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glen Ellyn Community Consolidated SD 89                             Contingent
          22 W 600 Butterfield Road                                           Unliquidated
          Glen Ellyn, IL 60137
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glen Ellyn SD 41                                                    Contingent
          793 N. Main Street                                                  Unliquidated
          Glen Ellyn, IL 60137
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 413 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 437 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.288
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glen Susz                                                           Contingent
          Academic Technical Services                                         Unliquidated
          17300 S Delia Ave
                                                                              Disputed
          Plainfield, IL 60586
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.288
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glenbrook High Schools District 225                                 Contingent
          3810 W. Lake Ave                                                    Unliquidated
          Glenview, IL 60026
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glencoe School District 35                                          Contingent
          620 Greenwood Avenue                                                Unliquidated
          Glencoe, IL 60022
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glendale Elementary School District                                 Contingent
          7301 N. 58th Street                                                 Unliquidated
          Glendale, AZ 85301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Glenn, Patricia                                                     Contingent
          7820 S Woodard Farms Dr                                             Unliquidated
          Midvale, Utah 84047-2813
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gleyzer, Irina                                                      Contingent
          22614 Vistawood Way                                                 Unliquidated
          Boca Raton, Florida 33428-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Global Resources International                                      Contingent
          4142 Industrial Way                                                 Unliquidated
          Flowery Branch, GA 30542
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 414 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 438 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.289
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Global Tax Management                                               Contingent
          656 E. Swedesford Road Suite 200                                    Unliquidated
          Wayne, PA 19087
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gloria, Ayesha                                                      Contingent
          1740 Pearl St.                                                      Unliquidated
          Belvidere, Illinois 61008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GM Financial                                                        Contingent
          4001 Embarcadero Rd                                                 Unliquidated
          Arlington, TX 76014
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gniadecki, Kimberly                                                 Contingent
          729 Maple Lane                                                      Unliquidated
          Clarion, Iowa 50525-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goddard, Tadia                                                      Contingent
          938 Est 86th St                                                     Unliquidated
          Brooklyn, New York 11236-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Godkin, Sophia                                                      Contingent
          5956 N Bremerton Pl                                                 Unliquidated
          Boise, Idaho 83714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Godsey, Becky                                                       Contingent
          217 Clark St                                                        Unliquidated
          Sulligent, Alabama 35586-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 415 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 439 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.290
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goerl, Kendra                                                       Contingent
          143 S Belgian Ct                                                    Unliquidated
          Valparasio, Indiana 46383-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goetz, Kimberly                                                     Contingent
          2009 Myrtlewood Rd                                                  Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goffe, Sheree                                                       Contingent
          40 Preston Street                                                   Unliquidated
          Hartford, Connecticut 06114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goggin, Brady                                                       Contingent
          100 Gladys Drive                                                    Unliquidated
          Williamsburg, Virginia 23188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gold, April                                                         Contingent
          4252 North Wolcott                                                  Unliquidated
          Chicago, Illinois 60613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goldberg, William                                                   Contingent
          25 Old Green Bay Road                                               Unliquidated
          Winnetka, Illinois 60093-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Golden Valley County                                                Contingent
          107 Kemp St.                                                        Unliquidated
          Ryegate, MT 59074
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 416 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 440 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.290
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Golden Woods, Wanda                                                 Contingent
          90355 S Burley                                                      Unliquidated
          Chicago, Illinois 60617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goldhaber, Danna                                                    Contingent
          1920 Frontage Rd #702                                               Unliquidated
          Cherry Hill, New Jersey 08034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Golding, Diane
          5252 West Ave                                                       Contingent
          M6                                                                  Unliquidated
          Re write add with 2 dashes bet                                      Disputed
          Lancaster, California 93536-0000
                                                                             Basis for the claim:    Wages / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.291
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Golding, Kenneth                                                    Contingent
          11550 old Georgetown Road, #15                                      Unliquidated
          North Bethesda, Maryland 20852-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Golf Course Superintendents Association                             Contingent
          1421 Research Park                                                  Unliquidated
          Lawrence, KS 66049
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Golf SD 67                                                          Contingent
          9401 Waukegan Road                                                  Unliquidated
          Morton Grove, IL 60053
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 417 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 441 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.291
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gollihar, Lisa                                                      Contingent
          10008 Crestridge Drive                                              Unliquidated
          Denton, Texas 76207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gomez Grimes, Olivia                                                Contingent
          102 Wake Ave                                                        Unliquidated
          Richardson, Texas 75081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gomez, Cindy                                                        Contingent
          311 Brindgewater Lane                                               Unliquidated
          Bloomingdale, Illinois 60108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gomez, Daisy                                                        Contingent
          24097 Old Country Rd                                                Unliquidated
          Moreno Valley, California 92557-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gomez, Jasmin                                                       Contingent
          5744 S. Kostner Ave                                                 Unliquidated
          Chicago, Illinois 60629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gomez, Jennifer                                                     Contingent
          10236 Hayvenhurst Ave                                               Unliquidated
          North Hills, California 91343-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gomez, Manuel                                                       Contingent
          623 North Highview Avenue                                           Unliquidated
          Addison, Illinois 60101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 418 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 442 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.292
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gomez, Maria                                                        Contingent
          24 Strathmore Circle                                                Unliquidated
          Apt A
                                                                              Disputed
          Rochester, New York 14609-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gomez, Saul                                                         Contingent
          901 A Village Cirle                                                 Unliquidated
          Pueblo, Colorado 81001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzales, Taylor                                                    Contingent
          31306 Rosenbusch Dr                                                 Unliquidated
          Warren, Michigan 48088-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez Becerra, Eduardo                                           Contingent
          700 West Bittersweet Place                                          Unliquidated
          apt 509
                                                                              Disputed
          Chicago, Illinois 60613-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez Ruiz, Alejandra                                            Contingent
          1201 South Chestnut Street                                          Unliquidated
          Unit 604
                                                                              Disputed
          Ellensburg, Washington 98926-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Deanna                                                    Contingent
          1436 Desert Bloom Ct Nw                                             Unliquidated
          Albuquerque, New Mexico 87120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Edwin                                                     Contingent
          132 Bearfort Road                                                   Unliquidated
          West Milford, New Jersey 07480-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 419 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 443 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.292
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Gidalti                                                   Contingent
          2140 S Goebbert Rd                                                  Unliquidated
          Apt 120
                                                                              Disputed
          Arlington Heights, Illinois 60005-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Jackeline                                                 Contingent
          580 Le Parc Cir                                                     Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Jessica                                                   Contingent
          1105 Island Park Blvd                                               Unliquidated
          Apt. 701
                                                                              Disputed
          Shreverport, Louisiana 71105-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.293
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Karina                                                    Contingent
          1446 Busse Road                                                     Unliquidated
          Unit 1C
                                                                              Disputed
          Mount Prospect, Illinois 60056-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.293
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Monnica                                                   Contingent
          11 Shenandoah                                                       Unliquidated
          Irvine, California 92620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Omar                                                      Contingent
          8304 W Summerdale ave                                               Unliquidated
          Apr B
                                                                              Disputed
          Chicago, Illinois 60656-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.293
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Sandy                                                     Contingent
          3909 SW Moline Ave                                                  Unliquidated
          Bentonville, Arkansas 72712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 420 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 444 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.293
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Victor                                                    Contingent
          2841 N. Yarbrough Dr #3                                             Unliquidated
          El Paso, Texas 79925-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez, Victoria                                                  Contingent
          2716 Jefferson Street                                               Unliquidated
          Duluth, Minnesota 55812-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gonzalez-Acosta, Berenice                                           Contingent
          4915 Idalia St.                                                     Unliquidated
          Denver, Colorado 80239-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Good Karma Brands                                                   Contingent
          310 W Wisconsin Avenue                                              Unliquidated
          Suite 100
                                                                              Disputed
          Milwaukee, Wi 53203
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.293
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodman, Daniela                                                    Contingent
          7700 W Aspera Blvd Apt 2029                                         Unliquidated
          Glendale, Arizona 85308-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodman, Haley                                                      Contingent
          6238 Creeksedge dr.                                                 Unliquidated
          ozark, Missouri 65721-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodman, Jerami                                                     Contingent
          10900 E. Taylor Road                                                Unliquidated
          Apt 248
                                                                              Disputed
          Gulfport, Mississippi 39503-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 421 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 445 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.294
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodman, Joni                                                       Contingent
          436 Melissa Dr.                                                     Unliquidated
          Biloxi, Mississippi 39531-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodson, Terri                                                      Contingent
          3104 Preston Run Circle                                             Unliquidated
          Goodlettsville, Tennessee 37072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodspeed, Kati                                                     Contingent
          3707 N Racine #2                                                    Unliquidated
          Chicago, Illinois 60613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodwill of Central Florida                                         Contingent
          7531 South Orange Blossom                                           Unliquidated
          Orlando, FL 32809
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodwin College                                                     Contingent
          1 Riverside Drive                                                   Unliquidated
          East Hartford, CT 06118
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodwin, Angela                                                     Contingent
          2372 Tart Lake Road                                                 Unliquidated
          Lino Lakes, Minnesota 55038-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodwin, Deborah                                                    Contingent
          116 Holly Creek Court                                               Unliquidated
          Woodstock, Georgia 30188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 422 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 446 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.294
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodwin, Diana                                                      Contingent
          3412 Boulder Ave                                                    Unliquidated
          Odessa, Texas 79762-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodwin, James                                                      Contingent
          800 - 4th St Se                                                     Unliquidated
          Loveland, Colorado 80537-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goodwin, Timothy                                                    Contingent
          105 Riverwood Dr.                                                   Unliquidated
          Apt. 204
                                                                              Disputed
          Cayce, South Carolina 29033-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.295
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Googins, Lori                                                       Contingent
          100 Hanson Lake Road                                                Unliquidated
          Mapleton, Maine 04757-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gopali, Nima                                                        Contingent
          1400 Bent Creek Blvd Apt 229                                        Unliquidated
          Mechanicsburg, Pennsylvania 17050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gorbaneva, Vlada                                                    Contingent
          3311 Elm Street, #308                                               Unliquidated
          Dallas, Texas 75226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gordon & Rees LLP                                                   Contingent
          275 Battery Street                                                  Unliquidated
          Suite 2000
                                                                              Disputed
          San Francisco, CA 94111
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 423 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 447 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.295
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gordon, Alexis                                                      Contingent
          5001 E Hilton Ave                                                   Unliquidated
          Mesa, Arizona 85206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gordon, Amanda                                                      Contingent
          1 Meadowgrass Court                                                 Unliquidated
          Apt J
                                                                              Disputed
          Cockeysville, Maryland 21030-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.295
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gordon, Carole                                                      Contingent
          23 Estelle Marsan Drive                                             Unliquidated
          S. Easton, Massachusetts 02375-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gordon, Connie                                                      Contingent
          1388 Woodhurst Drive                                                Unliquidated
          Rock Hill, South Carolina 29732-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gordon, Eugena                                                      Contingent
          30 Academy Lane                                                     Unliquidated
          Hampton, Virginia 23669-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gordon, Susan                                                       Contingent
          3508 Garden RD Apt G4                                               Unliquidated
          Burlington, North Carolina 27215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gorenflo, Benjamin                                                  Contingent
          2179 Wilson Ave                                                     Unliquidated
          Lorain, Ohio 44055-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 424 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 448 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.296
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goronga, Tichaona                                                   Contingent
          214 Thistle Dr                                                      Unliquidated
          Garland, Texas 75043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Goswami, Jitendragiri                                               Contingent
          424 N Salem Dr                                                      Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gottschalk, Jessica                                                 Contingent
          3922 Travis St, Unit 4                                              Unliquidated
          Dallas, Texas 75204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gough, Heather                                                      Contingent
          3537 S George Mason Dr                                              Unliquidated
          Apt 414
                                                                              Disputed
          Alexandria, Virginia 22302-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.296
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gound, Amy                                                          Contingent
          1405 Francis Sartory Road                                           Unliquidated
          Warsaw, Illinois 62379-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gourley, Mark                                                       Contingent
          448 Perrie Dr                                                       Unliquidated
          Apt 301
                                                                              Disputed
          Elk Grove Village, Illinois 60007-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.296
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Governale, Amy                                                      Contingent
          5112 Sw 123 Ave                                                     Unliquidated
          Cooper City, Florida 33330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 425 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 449 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.296
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Government Scientific Source Inc.                                   Contingent
          12351 Sunrise Valley Drive                                          Unliquidated
          Reston, VA 20191
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gower, Deanna                                                       Contingent
          26910 Cedar Run Court                                               Unliquidated
          Woodhaven, Michigan 48183-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GPM Investments, LLC                                                Contingent
          8565 Magellan Pkwy                                                  Unliquidated
          Richmond, VA 23227
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graeter, Susan                                                      Contingent
          385 Baldwin Road                                                    Unliquidated
          Richmond, Kentucky 40475-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Graham Hospital                                                     Contingent
          210 West Walnut Street                                              Unliquidated
          Canton, IL 61520
                                                                              Disputed
          Date(s) debt was incurred 4/11/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graham Oleson of Colorado, Inc.                                     Contingent
          525 Communication Cir                                               Unliquidated
          Colorado Springs, CO 80905
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graham, Dennis                                                      Contingent
          3507 Olive Ave                                                      Unliquidated
          Long Beach, California 90807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 426 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 450 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.297
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graham, Jordyn                                                      Contingent
          128 Applewood Court                                                 Unliquidated
          Council Bluffs, Iowa 51503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graham, Shaylyn                                                     Contingent
          123 Mandalay Court                                                  Unliquidated
          Chico, California 95973-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graham, Temple                                                      Contingent
          3087 Farrington Drive                                               Unliquidated
          Baton Rouge, Louisiana 70814-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graichen, Andrea                                                    Contingent
          56 Durrells Woods Road                                              Unliquidated
          Arundel, Maine 04046-7503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Granberry, Kirsten                                                  Contingent
          426 Quintana Drive                                                  Unliquidated
          Garland, Texas 75043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grandbois, Mia                                                      Contingent
          1350 N. Wells G310                                                  Unliquidated
          Chicago, Illinois 60610-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Granite County                                                      Contingent
          220 North Sansome                                                   Unliquidated
          PO BOX 925
                                                                              Disputed
          Phillipsburg, MT 59427
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 427 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 451 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.298
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grant, Debra                                                        Contingent
          35 Amethyst Street                                                  Unliquidated
          Elmont, New York 11003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grant, Joan                                                         Contingent
          4460 Ingalls Street                                                 Unliquidated
          Wheat Ridge, Colorado 80033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grant, Sandra                                                       Contingent
          1281 SW 9 Ave                                                       Unliquidated
          Deerfield Beach, Florida 33441-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grantham, Ashleigh                                                  Contingent
          12743 Virgo                                                         Unliquidated
          Willis, Texas 77318-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grap, Jennifer                                                      Contingent
          607 Carlton Otto LN                                                 Unliquidated
          Apt 12
                                                                              Disputed
          Odenton, Maryland 21113-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.298
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graphiq, Inc.                                                       Contingent
          101 Innovation Place                                                Unliquidated
          Summerland, CA 93108
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graveline, Stephanie                                                Contingent
          2556 Bark Wood Rd                                                   Unliquidated
          Apt 203
                                                                              Disputed
          Schaumburg, Illinois 60173-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 428 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 452 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.299
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gravely, Joshlyn                                                    Contingent
          2805 Woodland Ave                                                   Unliquidated
          Norfolk, Virginia 23504-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graves, Alice                                                       Contingent
          15 Sandy Beach Ct                                                   Unliquidated
          Palmyra, Virginia 22963-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grawe, Alysia                                                       Contingent
          1933 Elmwood Dr E                                                   Unliquidated
          Quincy, Illinois 62301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gray Manufacturing Company Inc                                      Contingent
          3501 S Leonard Rd                                                   Unliquidated
          St Joseph, MO 64503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gray, Ashley                                                        Contingent
          3150 West Ave.                                                      Unliquidated
          Apt #219
                                                                              Disputed
          Newport News, Virginia 23607-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gray, Barbara                                                       Contingent
          1788 Amethyst Ave                                                   Unliquidated
          Springdale, Arkansas 72764-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gray, Jerri                                                         Contingent
          222 Rutherford Street                                               Unliquidated
          Greenville, South Carolina 29609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 429 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 453 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.299
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gray, Kimberly                                                      Contingent
          71 Nashua Street                                                    Unliquidated
          Woburn, Massachusetts 01801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gray, Makeba                                                        Contingent
          8218 Fredrick St                                                    Unliquidated
          St Louis, Missouri 63147-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gray, Mindy                                                         Contingent
          PO Box 502                                                          Unliquidated
          Grain Valley, Missouri 64029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Graycor Inc.                                                        Contingent
          2 Mid America Plz # 400                                             Unliquidated
          Oakbrook Terrace, IL 60181-4714
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greaser, Lisa                                                       Contingent
          2080 Old Falls Drive                                                Unliquidated
          Vandalia, Ohio 45377-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Great Bend Schools USD 428                                          Contingent
          201 S. Patton                                                       Unliquidated
          Great Bend, KS 67530
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Great Falls Public Schools                                          Contingent
          228 17th Avenue                                                     Unliquidated
          Great Falls, MT 59404
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 430 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 454 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.300
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Great Lakes Caring                                                  Contingent
          900 Cooper Street                                                   Unliquidated
          Jackson, MI 49202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Great Lakes Dredge & Dock Company, LLC                              Contingent
          2122 York Road                                                      Unliquidated
          Oakbrook, IL 60523
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greater St. Louis Construction Laborers'                            Contingent
          2357 59th Street                                                    Unliquidated
          St. Louis, MO 63110
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greater Tompkins County Consortium                                  Contingent
          125 East Court Street                                               Unliquidated
          Ithaca, NY 14850
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greb, Shannon                                                       Contingent
          914 Hingham Harbour                                                 Unliquidated
          Pasadena, Maryland 21122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greco, Kim                                                          Contingent
          62 Parkwood Ave                                                     Unliquidated
          Kenmore, New York 14217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green Mountain College                                              Contingent
          1 Brennan Circle                                                    Unliquidated
          Poultney, VT 05764
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 431 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 455 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.301
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Brenda                                                       Contingent
          18730 Maple Ave                                                     Unliquidated
          Country Club Hills, Illinois 60478-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Brittany                                                     Contingent
          421 Stacy Lee Ct.                                                   Unliquidated
          Westminster, Maryland 21158-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, David                                                        Contingent
          430 N. River Street                                                 Unliquidated
          Aurora, Illinois 60506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Deborah                                                      Contingent
          8103 North 17th Drive                                               Unliquidated
          Phoenix, Arizona 85021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Dennis                                                       Contingent
          2723 S. Creek Pointe Lane                                           Unliquidated
          Eagle, Idaho 83616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Gwendolyn                                                    Contingent
          1128 East Bowen                                                     Unliquidated
          Apt 2B
                                                                              Disputed
          Chicago, Illinois 60653-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.301
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Karen                                                        Contingent
          1045 Laurel Fig Drive                                               Unliquidated
          Simi Valley, California 93065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 432 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 456 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.301
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Laila                                                        Contingent
          5937 Debbie Crest Drive                                             Unliquidated
          Memphis, Tennessee 38115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GREEN, LUCHERIA                                                     Contingent
          6139 S WASHTENAW AVENUE                                             Unliquidated
          CHICAGO, Illinois 60629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Portia                                                       Contingent
          7003 Branch Crossing Way                                            Unliquidated
          Douglasville, Georgia 30134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Simminate                                                    Contingent
          8508 Pine Meadow Drive                                              Unliquidated
          Odenton, Maryland 21113-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Solomon                                                      Contingent
          1312 Shady Lane #203                                                Unliquidated
          Bedford, Texas 76021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Tifany                                                       Contingent
          122 lullwater                                                       Unliquidated
          A
                                                                              Disputed
          Wilmington, North Carolina 28403-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.302
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Green, Velda                                                        Contingent
          2215 B South Bogdan                                                 Unliquidated
          Joliet, Illinois 60432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 433 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 457 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.302
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greene, Amber                                                       Contingent
          9834 Dryden Ct                                                      Unliquidated
          Las Vegas, Nevada 89148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greene, Carrie                                                      Contingent
          3705 Birchmere                                                      Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greene, Jennifer                                                    Contingent
          35 Gorham Avenue                                                    Unliquidated
          Brookline, Massachusetts 02445-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greene, Lisa                                                        Contingent
          58 Green Park                                                       Unliquidated
          Newton, Massachusetts 02458-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greengard, Julie                                                    Contingent
          76 Loretta Circle                                                   Unliquidated
          Richboro, Pennsylvania 18954-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greenleaf, Sandra                                                   Contingent
          14801 S Lincoln Ave                                                 Unliquidated
          Harvey, Illinois 60426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greenwald, Paloma                                                   Contingent
          411 South 1000 East                                                 Unliquidated
          Bountiful, Utah 84010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 434 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 458 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.303
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greenwald, Samantha                                                 Contingent
          114 Sunset Street                                                   Unliquidated
          Buffalo, New York 14207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greer, Sara                                                         Contingent
          202 W Catalina Dr                                                   Unliquidated
          Washington, Illinois 61571-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greeson, Cynthia                                                    Contingent
          1603 Scalesville Road                                               Unliquidated
          Summerfield, North Carolina 27358-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greger, Whitney                                                     Contingent
          622 South 7th Street                                                Unliquidated
          Petersburg, Illinois 62675-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greggs, Diane                                                       Contingent
          324 Shawen Drive                                                    Unliquidated
          Hampton, Virginia 23669-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gresham, Kimberly                                                   Contingent
          15760 Church Dr                                                     Unliquidated
          South Holland, Illinois 60473-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grettenberger, Ashley                                               Contingent
          1220 S. Genesee                                                     Unliquidated
          Lansing, Michigan 48915-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 435 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 459 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.303
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greve, David                                                        Contingent
          17063 Elm Lane Drive                                                Unliquidated
          Tinley Park, Illinois 60477-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greystone Technology Group, Inc.                                    Contingent
          3801 E. Florida Ave, #815                                           Unliquidated
          Denver, CO 80210
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Griffin, Tuxie                                                      Contingent
          3242 East Holt St                                                   Unliquidated
          Ashland, Kentucky 41101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Griffis, Michael                                                    Contingent
          3090 Upper 76th Street                                              Unliquidated
          Inver Grove Heights, Minnesota 55076-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Griffith Company                                                    Contingent
          3050 E. Birch Street                                                Unliquidated
          Brea, CA 92821
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Griffith Foods                                                      Contingent
          1 Griffith Center                                                   Unliquidated
          Alsip, IL 60803
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Griffiths Corporation                                               Contingent
          2727 Niagra Lane North                                              Unliquidated
          Minneapolis, MN 55447
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 436 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 460 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.304
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Griggs, Kisha                                                       Contingent
          2222 23rd Avenue                                                    Unliquidated
          Broadview, Illinois 60155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grimaldi, Julia                                                     Contingent
          82 Trueman Dr                                                       Unliquidated
          Malden, Massachusetts 02148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grimes, Alvonette                                                   Contingent
          838 - 52nd Street NE                                                Unliquidated
          Washington, District of Columbia 20019-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grimes, Debra                                                       Contingent
          3623 Preston Lane                                                   Unliquidated
          Knoxville, Tennessee 37921-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grimes, Karlyn                                                      Contingent
          191 Newton Street                                                   Unliquidated
          Brookline, Massachusetts 02445-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grimm, Keeley                                                       Contingent
          405 Pine St. SE                                                     Unliquidated
          Vienna, Virginia 22180-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grimshaw, La                                                        Contingent
          4400 Katie Ridge Dr                                                 Unliquidated
          Moore, Oklahoma 73160-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 437 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 461 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.305
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grinam, Pennie                                                      Contingent
          577 Zion Street                                                     Unliquidated
          Hartford, Connecticut 06106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Griner, Sharon                                                      Contingent
          551 Buchanan St                                                     Unliquidated
          Huntington, Indiana 46750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Groff, Carrie                                                       Contingent
          13 Lone Elk Lane                                                    Unliquidated
          St. Peters, Missouri 63376-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gronau, Charles                                                     Contingent
          302 Hoffmeister St                                                  Unliquidated
          Alton, Illinois 62002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gross, Aarica                                                       Contingent
          11 Coach House Drive                                                Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gross, Bari                                                         Contingent
          697 Hogan Drive                                                     Unliquidated
          Apt 3427
                                                                              Disputed
          Newport News, Virginia 23606-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.305
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gross, Dani                                                         Contingent
          5230 N Kenmore Ave Apt4D                                            Unliquidated
          Chicago, Illinois 60640-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 438 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 462 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.306
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gross, Diana                                                        Contingent
          4777 Cotton Run Rd                                                  Unliquidated
          Hamilton, Ohio 45011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grotz, Lisa                                                         Contingent
          1981 Augusta Blvd                                                   Unliquidated
          Fairfield, Ohio 45014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grove City Medical Center                                           Contingent
          631 N Broad St Ext                                                  Unliquidated
          Grove City, PA 16127
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grove, Suzanne                                                      Contingent
          226 N. Oakland St.                                                  Unliquidated
          Arlington, Virginia 22203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grover, Kathleen                                                    Contingent
          1310 S. Union St.                                                   Unliquidated
          Traverse City, Michigan 49684-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grover, Kendra                                                      Contingent
          29 Puritan Drive                                                    Unliquidated
          Westbrook, Maine 04092-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gruich, Ryan                                                        Contingent
          831 Cedar Lake Road                                                 Unliquidated
          Apartment 1216
                                                                              Disputed
          Biloxi, Mississippi 39532-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 439 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 463 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.306
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grum, Sarah                                                         Contingent
          39225 North Winchester Road                                         Unliquidated
          Wadsworth, Illinois 60083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grundy County                                                       Contingent
          111 E Washington Street                                             Unliquidated
          Morris, IL 60450
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grundy, Kenneth                                                     Contingent
          22 Park Street                                                      Unliquidated
          Central Falls, Rhode Island 02863-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Grzegorek, Jennifer                                                 Contingent
          6100 Yosemite Drive                                                 Unliquidated
          Newburgh, Indiana 47630-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guajardo, Joshua                                                    Contingent
          2512 Alabama St                                                     Unliquidated
          Weslaco, Texas 78599-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guajardo, Monica                                                    Contingent
          2670 East 75th St                                                   Unliquidated
          Tulsa, Oklahoma 74136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GUARDIAN ELECTRIC                                                   Contingent
          1425 Lake Avenue                                                    Unliquidated
          Woodstock, IL 60098
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 440 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 464 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.307
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guay, Mark                                                          Contingent
          9 Canterbury Lane                                                   Unliquidated
          Apt D
                                                                              Disputed
          Wappingers Falls, New York 12590-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.307
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gubinelli, Gabriela                                                 Contingent
          2238 Bissonnet                                                      Unliquidated
          Houston, Texas 77005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guccione, Wayne                                                     Contingent
          5515 W Ardmore Ave                                                  Unliquidated
          Chicago, Illinois 60646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gudikunst, Laura                                                    Contingent
          329 E 92nd Street APT 5A                                            Unliquidated
          New York, New York 10128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guerra, Joseph                                                      Contingent
          614 E Park Street #E5                                               Unliquidated
          Carbondale, Illinois 62901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guerrero, Cesar                                                     Contingent
          6168 Mayfair Avenue                                                 Unliquidated
          Morton Grove, Illinois 60053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guerrette, Brooke                                                   Contingent
          372 Carronade Way                                                   Unliquidated
          Arnold, Maryland 21012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 441 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 465 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.308
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guest, Cindy                                                        Contingent
          1203 S. McLean Street                                               Unliquidated
          Hundson, Illinois 61748-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guest, Erika                                                        Contingent
          185 E Martin Luther King Blvd                                       Unliquidated
          Danville, Kentucky 40422-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guest, Orlando                                                      Contingent
          4004 Hillside Dr.                                                   Unliquidated
          Lexington, Kentucky 40514-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guidry, Jasmine                                                     Contingent
          4015 Dawn Rise Ct.                                                  Unliquidated
          Fresno, Texas 77545-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guillen, Christie                                                   Contingent
          11187 Douglas Avenue                                                Unliquidated
          Marriottsville, Maryland 21104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guillen, Marysabel                                                  Contingent
          9215 Ella Blvd                                                      Unliquidated
          Houston, Texas 77088-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guinez, Vanessa                                                     Contingent
          408 Orchard View Ave                                                Unliquidated
          Martinez, California 94533-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 442 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 466 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.308
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gulash, Michelle                                                    Contingent
          625 Pitt St                                                         Unliquidated
          Apt 1403
                                                                              Disputed
          Bastrop, Texas 78602-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.308
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gulbin, Staci                                                       Contingent
          15995 NW French Lane                                                Unliquidated
          Portland, Oregon 97229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gulbranson, Stephanie                                               Contingent
          4800 E. Atlantic Place                                              Unliquidated
          Denver, Colorado 80222-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gulinskaya, Nataliya                                                Contingent
          1119 Keswick Ln                                                     Unliquidated
          Mundelein, Illinois 60060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gulley, Carla                                                       Contingent
          1926 Livingston Lane                                                Unliquidated
          Little Elm, Texas 75068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gumbs-Crawley, Beverley                                             Contingent
          303 Walnut Ave                                                      Unliquidated
          Wheeling, Illinois 60090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gunderson, Melinda                                                  Contingent
          2733 Jersey Avenue South                                            Unliquidated
          St. Louis Park, Minnesota 55426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 443 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 467 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.309
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gundrum, Pamela                                                     Contingent
          3910 SW Comus St                                                    Unliquidated
          Portland, Oregon 97219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gunnell, Elise                                                      Contingent
          438 S 1000 W                                                        Unliquidated
          Orem, Utah 84058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gupana, Daisy                                                       Contingent
          13948 Middle Creek Place                                            Unliquidated
          Centreville, Virginia 20121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gupta, Venu                                                         Contingent
          1533 145th Place SE                                                 Unliquidated
          Apt. #J-4
                                                                              Disputed
          Bellevue, Washington 98007-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.309
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gurevitz, Carol                                                     Contingent
          7319 Pine Ridge Drive                                               Unliquidated
          Park City, Utah 84098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gurevitz, Stanton                                                   Contingent
          7319 Pine Ridge Dr                                                  Unliquidated
          Park City, Utah 84098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gurin, Michelle                                                     Contingent
          9680 Foxworth Drive                                                 Unliquidated
          Johns Creek, Georgia 30022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 444 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 468 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.310
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gurule, Adriana                                                     Contingent
          14022 E Tufts Dr #912                                               Unliquidated
          Aurora, Colorado 80015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gus, Emily                                                          Contingent
          1653 Sherburne Ave                                                  Unliquidated
          St Paul, Minnesota 55104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gustafson, Rachel                                                   Contingent
          5528 SE Ramona Street                                               Unliquidated
          Portland, Oregon 97206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guthrie, Ebony                                                      Contingent
          4220 Factoria Boulevard SE                                          Unliquidated
          209
                                                                              Disputed
          Bellevue, Washington 98006-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.310
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guthrie, Suzanne                                                    Contingent
          6731 SE Olalla Valley Road                                          Unliquidated
          Port Orchard, Washington 98367-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gutierrez, Daniel                                                   Contingent
          1645 W Ogden Ave                                                    Unliquidated
          Unit 427
                                                                              Disputed
          Chicago, Illinois 60612-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.310
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gutierrez, Jennifer                                                 Contingent
          7060 Brookview Rd                                                   Unliquidated
          Roanoke, Virginia 24019-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 445 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 469 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.310
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gutierrez, Jordan                                                   Contingent
          6045 County Road 6                                                  Unliquidated
          Brighton, Colorado 80603-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gutman, Gabrielle                                                   Contingent
          1 Willwood Court                                                    Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guy, Allie                                                          Contingent
          9 Hiltin Pl Apt. B                                                  Unliquidated
          Greensboro, North Carolina 27409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guy, Lauren                                                         Contingent
          731 Ashley Lane                                                     Unliquidated
          Tupelo, Mississippi 38801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guy, W.                                                             Contingent
          2605 E. 56th Street                                                 Unliquidated
          Tulsa, Oklahoma 74105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guzman, Lijia                                                       Contingent
          201 Grove Park Road                                                 Unliquidated
          Brooklyn, Maryland 21225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Guzman, Yvette                                                      Contingent
          5841 Chensford Dr.                                                  Unliquidated
          3D
                                                                              Disputed
          Indianapolis, Indiana 46226-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 446 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 470 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.311
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gyasi, Naomi                                                        Contingent
          956 Tolland St                                                      Unliquidated
          East Hartford, Connecticut 06108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          H&M Hennes & Mauritz L.P.                                           Contingent
          300 Lighting Way, Suite 100                                         Unliquidated
          Secaucus, NJ 07094
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          H. Beck, Inc.                                                       Contingent
          6600 Rockledge Drive                                                Unliquidated
          Bethesda, MD 20817
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          H.O. Bostrom                                                        Contingent
          818 Progress Avenue                                                 Unliquidated
          Waukesha, WI 53186
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          H.W. HERRELL DISTRIBUTING CO.                                       Contingent
          1002 White Ave                                                      Unliquidated
          Imperial, MO 63052
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haack, Anthony                                                      Contingent
          20 Colony Lane                                                      Unliquidated
          Deerfield, Illinois 60015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haakinson, JoAnna                                                   Contingent
          5705 Calorie Court                                                  Unliquidated
          Raleigh, North Carolina 27612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 447 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 471 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.312
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Habasit America                                                     Contingent
          805 Satellite Blvd                                                  Unliquidated
          Suwanee, GA 30024
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haber, Helene                                                       Contingent
          309 East 49th Street, Apt 6A                                        Unliquidated
          New York, New York 10017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hackett, Patricia                                                   Contingent
          3120 Haverhill Drive                                                Unliquidated
          Aurora, Illinois 60502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hadala, Pawel                                                       Contingent
          1481 Winslowe Dr                                                    Unliquidated
          Apt 303
                                                                              Disputed
          Palatine, Illinois 60074-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.312
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hadala, Tomasz                                                      Contingent
          115 Walden Ct                                                       Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hagen, Keven                                                        Contingent
          12 Summit Oaks                                                      Unliquidated
          Pittsford, New York 14534-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hagen, Kristin                                                      Contingent
          726 Shade Tree Drive                                                Unliquidated
          Austin, Texas 78748-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 448 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 472 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.313
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hagen, Terrey                                                       Contingent
          12 Summit Oaks                                                      Unliquidated
          Pittsford, New York 14534-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hagood, Angel                                                       Contingent
          1965 Driftwood Drive                                                Unliquidated
          Holland, Michigan 49424-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hague, Sarah                                                        Contingent
          6710 Chaffe Court #p2                                               Unliquidated
          Brecksville, Ohio 44141-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hahn Automotive Warehouse, Inc.                                     Contingent
          415 West Main Street                                                Unliquidated
          Rochester, NY 14608
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hahn, Teresa                                                        Contingent
          16 Fenmoor Street                                                   Unliquidated
          East Providence, Rhode Island 02914-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hahn, Zachary                                                       Contingent
          38 Cambridge St                                                     Unliquidated
          Stratford, Connecticut 06614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haiati, Kamilah                                                     Contingent
          502 Serenade Lane                                                   Unliquidated
          Euless, Texas 76039-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 449 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 473 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.313
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hailu, Tegest                                                       Contingent
          60 Pallant Ave                                                      Unliquidated
          Linden, New Jersey 07036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hairston, Janine                                                    Contingent
          29 Lakeshore Drive                                                  Unliquidated
          Newport News, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hajdasz, Gary                                                       Contingent
          950 F.M. 1959 #1110                                                 Unliquidated
          Houston, Texas 77034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hajzeri, Nazlije                                                    Contingent
          76 Remsen st                                                        Unliquidated
          BROOKLIN, New York 11201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Halasa, Isaac                                                       Contingent
          4765 Canela Way                                                     Unliquidated
          San Jose, California 95136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Halbert, Edward                                                     Contingent
          6210 S. Kimbark Unit 403                                            Unliquidated
          Chicago, Illinois 60637-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hale, Annamarie                                                     Contingent
          1311 N Center St                                                    Unliquidated
          Joliet, Illinois 60435-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 450 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 474 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.314
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hale, Bonnie                                                        Contingent
          1721 Hales Branch Rd                                                Unliquidated
          Midland, Ohio 45148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hale, Kylie                                                         Contingent
          7811 Eileen Street                                                  Unliquidated
          Stanton, California 90680-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall & Evans LLC                                                    Contingent
          1001 17th Street                                                    Unliquidated
          Denver, CO 80202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall, Ashley                                                        Contingent
          19309 Switchgrass Ct                                                Unliquidated
          Smithville, Missouri 64089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall, Bette                                                         Contingent
          4107 East Archer Street                                             Unliquidated
          Tulsa, Oklahoma 74115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall, Christopher                                                   Contingent
          4770 Beach Drive SE, Unit D                                         Unliquidated
          St Petersburg, Florida 33705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall, Dezirae                                                       Contingent
          19928 Piccadilly Ln                                                 Unliquidated
          Huntington Beach, California 92646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 451 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 475 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.315
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall, Karma                                                         Contingent
          2274 46th Ave                                                       Unliquidated
          San Francisco, California 94116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall, Melissa                                                       Contingent
          9706 Bay Colony Drive                                               Unliquidated
          Riverview, Florida 33578-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall, Robin                                                         Contingent
          121 Golf Club Dr                                                    Unliquidated
          Elizabeth City, North Carolina 27909-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hall, Taquana                                                       Contingent
          850 White Oak Lane                                                  Unliquidated
          University Park, Illinois 60484-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hallam Associates, Inc.                                             Contingent
          38 Eastman Drive                                                    Unliquidated
          Suite 200
                                                                              Disputed
          South Burlington, VT 05403
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.315
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hallatt, Lori                                                       Contingent
          413 N School Street                                                 Unliquidated
          McLean, Illinois 61754-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,446.83
          HALO Branded Solutions Inc                                          Contingent
          3182 Momentum Place                                                 Unliquidated
          Chicago, IL 60689
                                                                              Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 452 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 476 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.315
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Halsell, Hannah                                                     Contingent
          904 Murders Rd                                                      Unliquidated
          Hot Springs, Arkansas 71909-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haltzman, Brittany                                                  Contingent
          1900 Frontage Rd #1807                                              Unliquidated
          Cherry Hill, New Jersey 08034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Halvorsen, Jaclyn                                                   Contingent
          201 Wisconsin St                                                    Unliquidated
          Wonewoc, Wisconsin 53968-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamberlin, Armand                                                   Contingent
          3228 Hanover Drive                                                  Unliquidated
          Rockford, Illinois 61101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hambrick, Charles                                                   Contingent
          4419 West Adams                                                     Unliquidated
          Chicago, Illinois 60624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamby, Brian                                                        Contingent
          1833 Morgantown Ave.                                                Unliquidated
          Fairmont, West Virginia 26554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamdi, Khalid                                                       Contingent
          333 N Kaspar Ave                                                    Unliquidated
          2D
                                                                              Disputed
          Arlington Heights, Illinois 60005-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 453 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 477 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.316
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamilton, Chelsea                                                   Contingent
          8510 N Armenia Ave                                                  Unliquidated
          Apt 2008
                                                                              Disputed
          Tampa, Florida 33604-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.316
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamilton, Emma                                                      Contingent
          1242 Woodland Drive                                                 Unliquidated
          Charleston, West Virginia 25302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamilton, Heather                                                   Contingent
          9800 Pagewood Lane #2503                                            Unliquidated
          Houston, Texas 77042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamilton, Kristina                                                  Contingent
          9715 N Fm 620 #3108                                                 Unliquidated
          Austin, Texas 78726-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamlett, Gloria                                                     Contingent
          1010 New Hope Circle                                                Unliquidated
          Baltimore, Maryland 21202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamm, Lisa Ann                                                      Contingent
          2134 Charles Henry Lane                                             Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamm, Nancy                                                         Contingent
          569 Exeter Rd                                                       Unliquidated
          Hampton, New Hampshire 03842-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 454 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 478 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.317
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hammersley, Anita                                                   Contingent
          30332 State Route 37                                                Unliquidated
          Richwood, Ohio 43344-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hammock, Mindy                                                      Contingent
          12900 Beth Court                                                    Unliquidated
          Oklahoma City, Oklahoma 73120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hammons, Barrett                                                    Contingent
          1480 Us Hwy 46, Apt 327                                             Unliquidated
          Parsippany, New Jersey 07054-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HAMPTON LENZINI AND RENWICK INC.                                    Contingent
          380 Shepard Dr                                                      Unliquidated
          Elgin, IL 60123
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hampton Resources, Inc.                                             Contingent
          9600 SW Barnes Road Suite 200                                       Unliquidated
          Portland, OR 07054
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hampton, Linda                                                      Contingent
          47 Gravel Pit Road                                                  Unliquidated
          West Rulland, Vermont 05777-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hampton, Mary                                                       Contingent
          4326 Onyx Dr.                                                       Unliquidated
          Eagan, Minnesota 55122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 455 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 479 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.317
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hampton, Sandra                                                     Contingent
          4367 Collingswood Drive                                             Unliquidated
          Chesterfield, Virginia 23832-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hampton, Tara                                                       Contingent
          5301 NW 111th Terrace                                               Unliquidated
          Oklahoma City, Oklahoma 73162-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hamrich, Ann                                                        Contingent
          173 Waverly Road                                                    Unliquidated
          Senatobia, Mississippi 38668-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hancock, Glenn                                                      Contingent
          109 Mohawk Drive                                                    Unliquidated
          Brightwaters, New York 11718-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hancock, Kathleen                                                   Contingent
          455 Ellesmere Way                                                   Unliquidated
          Sugar Hill, Georgia 30518-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Handeland, Courtney                                                 Contingent
          9102 W Dixon Street, Apt 204                                        Unliquidated
          Milwaukee, Wisconsin 53214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haney, Bridget                                                      Contingent
          24215 Kuykendahl Rd, Apt 5103                                       Unliquidated
          Tomball, Texas 77375-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 456 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 480 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.318
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hanible, Vanessa                                                    Contingent
          305 47th St NE                                                      Unliquidated
          Washington, District of Columbia 20019-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hanrahan, Katie                                                     Contingent
          568 Lavender Lane                                                   Unliquidated
          Virginia Beach, Virginia 23462-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hansen Lovejoy, Anissa                                              Contingent
          2206 D Millstone Drive                                              Unliquidated
          Houstontx, Texas 77073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hansen, Carissa                                                     Contingent
          513 E Burney Glen Drive                                             Unliquidated
          Meridian, Idaho 83646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hansen, Christina                                                   Contingent
          1315 Mesa Road                                                      Unliquidated
          San Antonio, Texas 78258-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hansen, Garrett                                                     Contingent
          306 West 9th Street                                                 Unliquidated
          Erie, Pennsylvania 16507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hansen, Kelly                                                       Contingent
          726 Shetland Court                                                  Unliquidated
          Ewstfield, Indiana 46074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 457 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 481 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.319
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hansley, Melody                                                     Contingent
          3814 Peach Orchard Circle                                           Unliquidated
          Portsmouth, Virginia 23703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hanson, Angela                                                      Contingent
          1930 Wiley Blvd Sw #8682                                            Unliquidated
          Cedar Rapids, Iowa 52408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hanson, Robert                                                      Contingent
          9609 Marjorie St                                                    Unliquidated
          Rico Rivera, California 90660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hanson, Scott                                                       Contingent
          1040 S Rochester St.                                                Unliquidated
          Tacoma, Washington 98465-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hanson, Whitney                                                     Contingent
          1353 N Artesian #1                                                  Unliquidated
          Chicago, Illinois 60622-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hanubal, Uma                                                        Contingent
          1586 Response Rd #2087                                              Unliquidated
          Sacremento, California 95815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harambee Institute of Science & Technolo                            Contingent
          640 N. 66th Street                                                  Unliquidated
          Philadelphia, PA 19151
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 458 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 482 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.320
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hardison, Brenda                                                    Contingent
          4713 Trolley Court                                                  Unliquidated
          Raleigh, North Carolina 27616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hardy, Alaya                                                        Contingent
          1717 Pasatiempo Drive                                               Unliquidated
          APT 203
                                                                              Disputed
          Springdale, Arkansas 72762-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.320
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hardy, Alexandra                                                    Contingent
          1026 Geneva Drive                                                   Unliquidated
          Geneva, Illinois 60134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hardy, Megan                                                        Contingent
          7625 E Camelback                                                    Unliquidated
          #143A
                                                                              Disputed
          Scottsdale, Arizona 85251-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.320
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hardy, Timothy                                                      Contingent
          876 Elm Street                                                      Unliquidated
          Sugar Grove, Illinois 60554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hargadon, Claire                                                    Contingent
          3311 Tennyson St. #1                                                Unliquidated
          Denver, Colorado 80212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hargrave-Klein, Tanya                                               Contingent
          3347 Foxley Dr                                                      Unliquidated
          Ames, Iowa 50010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 459 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 483 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.320
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hargrett, Ramona                                                    Contingent
          900 North Laramie                                                   Unliquidated
          Chicago, Illinois 60651-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hargrove-Beatty, Rene                                               Contingent
          504 Riddick Cir                                                     Unliquidated
          Suffolk, Virginia 23434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harkey, Mackenzie                                                   Contingent
          413 W. 10th St, Apt 2c                                              Unliquidated
          Charlotte, North Carolina 28202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harkless, Cierre                                                    Contingent
          2208 Eldo's Trace Circle Apt B                                      Unliquidated
          Clarksville, Tennessee 37042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harling, Jennie                                                     Contingent
          339 Aspen Drive Page 3                                              Unliquidated
          Chatham, Illinois 62629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harmon, Kimberly                                                    Contingent
          3626 Bixler Chruch Road                                             Unliquidated
          Westminster, Maryland 21158-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harms, Jenna                                                        Contingent
          1417 Elm Street                                                     Unliquidated
          Forest Grove, Oregon 97116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 460 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 484 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.321
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haro, Hannah                                                        Contingent
          4500 W. Village Court                                               Unliquidated
          Austin, Texas 78744-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harper International (HMNYS)                                        Contingent
          4455 Genesee St                                                     Unliquidated
          Suite 123
                                                                              Disputed
          Buffalo, NY 14225
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.321
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harper, Allison                                                     Contingent
          1223 Avondale Drive                                                 Unliquidated
          Norman, Oklahoma 73069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harper, Kiah                                                        Contingent
          1780 W. Ave J-12, Apt 205                                           Unliquidated
          Lancaster, California 93534-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harrell, Abrea                                                      Contingent
          9664 Rubicon Dr                                                     Unliquidated
          Colorado Springs, Colorado 80925-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris Beach PLLC                                                   Contingent
          99 Garnsey Road                                                     Unliquidated
          Pittsford, NY 14534
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HARRIS GROUP INC.                                                   Contingent
          300 Elliott Ave West                                                Unliquidated
          Suite 500
                                                                              Disputed
          Seattle, WA 98119
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 461 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 485 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.322
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Cameshia                                                    Contingent
          2956 W. Walnut St                                                   Unliquidated
          3rd flr
                                                                              Disputed
          Chicago, Illinois 60612-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.322
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Charla-Lynn                                                 Contingent
          1490 South Colt Dr                                                  Unliquidated
          Gilbert, Arizona 85296-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Danielle                                                    Contingent
          12509 S Wentworth Ave                                               Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Denisha                                                     Contingent
          3711 George Washington HWY                                          Unliquidated
          Portsmouth, Virginia 23702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Dominique                                                   Contingent
          2413 Silver Hill Cir                                                Unliquidated
          Joliet, Illinois 60432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Eboni                                                       Contingent
          401 Weeping Willow Drive                                            Unliquidated
          Durham, North Carolina 27704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Georgena                                                    Contingent
          4227 Arlington Drive                                                Unliquidated
          Richton Park, Illinois 60471-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 462 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 486 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.322
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Heather                                                     Contingent
          269 W. 4th Street                                                   Unliquidated
          Chuluota, Florida 32766-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Hope                                                        Contingent
          2824 Whisper Drive                                                  Unliquidated
          Bismarck, North Dakota 58504-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Jasmine                                                     Contingent
          461 Kenwood Dr                                                      Unliquidated
          Apt F
                                                                              Disputed
          Euclid, Ohio 44123-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.323
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Jillianne                                                   Contingent
          1325 Jarvis Road                                                    Unliquidated
          Erial, New Jersey 08081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Junior                                                      Contingent
          8610 Queensmere Pl                                                  Unliquidated
          Apt. 5
                                                                              Disputed
          Henrico, Virginia 23294-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.323
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Kyanna                                                      Contingent
          628 springbrook trail north                                         Unliquidated
          Oswego, Illinois 60543-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Lavonda                                                     Contingent
          11558 Sands Point Drive                                             Unliquidated
          Houston, Texas 77072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 463 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 487 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.323
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Marcia                                                      Contingent
          5300 Highway 138, Apt 109                                           Unliquidated
          Union City, Georgia 30291-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Martha                                                      Contingent
          979 Goodhue Circle                                                  Unliquidated
          Cincinnati, Ohio 45240-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Melinda                                                     Contingent
          18554 Bock Rd                                                       Unliquidated
          Lansing, Illinois 60438-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Michele                                                     Contingent
          672 26th St. SW                                                     Unliquidated
          Loveland, Colorado 80537-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Sara                                                        Contingent
          16650 Huebner Road                                                  Unliquidated
          San antonio, Texas 78248-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Sherritta                                                   Contingent
          2681 Jefferson St, #815                                             Unliquidated
          Norman, Oklahoma 73072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Shirley                                                     Contingent
          1913 Exchange Ave Apt C                                             Unliquidated
          East St Louis
                                                                              Disputed
          St Louis, Illinois 62205-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 464 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 488 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.324
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Tsoets-ya-luht                                              Contingent
          17042 Wilken Ave                                                    Unliquidated
          Petersburg, Illinois 62675-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harris, Wendy                                                       Contingent
          304 East Prairie                                                    Unliquidated
          Camp Point, Illinois 62320-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harrison Street                                                     Contingent
          71 South Wacker Drive                                               Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harrison, Aine                                                      Contingent
          1401 Chancery Lane                                                  Unliquidated
          Cave Springs, Arkansas 72718-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harrison, Deborah                                                   Contingent
          1575 Mintz Ave                                                      Unliquidated
          Fayetteville, North Carolina 28303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harrison, Joanne                                                    Contingent
          10251 E. Obispo Ave                                                 Unliquidated
          Mesa, Arizona 85212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harrison, Karen                                                     Contingent
          521 Peppertree ln                                                   Unliquidated
          Midwest City, Oklahoma 73110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 465 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 489 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.324
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harrison, Melody                                                    Contingent
          285 Glen Lake Drive Nw                                              Unliquidated
          Atlanta, Georgia 30327-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harrison, Sandra                                                    Contingent
          21999 River Oaks Drive                                              Unliquidated
          Rocky River, Ohio 44116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harry, Nakesha                                                      Contingent
          21 E Tulpechocken St                                                Unliquidated
          Philadelphia, Pennsylvania 19144-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HARSCO Corporation                                                  Contingent
          350 Poplar Church Road                                              Unliquidated
          Camp Hill, PA 17011
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hart, Barbara                                                       Contingent
          7606 Brightside Ave                                                 Unliquidated
          Baltimore, Maryland 21237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hart, Gregory                                                       Contingent
          7606 Brightside Ave                                                 Unliquidated
          BALTIMORE, Maryland 21237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hartelt, Deborah                                                    Contingent
          12600 Red Pepper Ct                                                 Unliquidated
          Germantown, Maryland 20874-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 466 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 490 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.325
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harter, Dawn                                                        Contingent
          1149 Penny Lane                                                     Unliquidated
          Sycamore, Illinois 60178-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hartman, Michelle                                                   Contingent
          770 W Moorhead Circle                                               Unliquidated
          Unit C
                                                                              Disputed
          Boulder, Colorado 80305-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.325
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hartmann, Lori                                                      Contingent
          6404 Dunnavant Place                                                Unliquidated
          Huntsville, Alabama 35806-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hartshorn, Sally                                                    Contingent
          608 Sheridan Ave                                                    Unliquidated
          Loveland, Colorado 80537-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hartung, Laura                                                      Contingent
          965 Creek View Drive                                                Unliquidated
          Aurora, Ohio 44202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harty, Cecilia                                                      Contingent
          2444 Beal St                                                        Unliquidated
          Snellville, Georgia 30078-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harvest Bible Chapel                                                Contingent
          1000 North Randall Road                                             Unliquidated
          Elgin, IL 60123
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 467 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 491 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.326
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HARVEST LAND CO-OP INC.                                             Contingent
          1435 NW 5th St P.O. Box 516                                         Unliquidated
          Richmond, IN 47375
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harvey's Heating and Plumbing                                       Contingent
          262 Pronghorn Trail                                                 Unliquidated
          Bozeman, MT 59718
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harvey, Michael                                                     Contingent
          10717 S King Dr, APT 1E                                             Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harvey-Gibbs, Mitchell                                              Contingent
          489 Washington Dr                                                   Unliquidated
          Jonesboro, Georgia 30238-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harwell, Allison                                                    Contingent
          2504 South Street                                                   Unliquidated
          Rolling Meadows, Illinois 60008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harwell, Amanda                                                     Contingent
          14435 S. 48th St                                                    Unliquidated
          Apt 1105
                                                                              Disputed
          Phoenix, Arizona 85044-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.326
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Harwell, Joan                                                       Contingent
          263 South Clubhouse Drive                                           Unliquidated
          230
                                                                              Disputed
          Palatine, Illinois 60074-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 468 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 492 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.327
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hasek, Jordan                                                       Contingent
          609 Foxdale Lane                                                    Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hasek, Justin                                                       Contingent
          609 Foxdale Lane                                                    Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hasek, Sharon                                                       Contingent
          609 Foxdale Lane                                                    Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haskell, Mary                                                       Contingent
          106 Hickory Pine                                                    Unliquidated
          Brunswick, Georgia 31523-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haskins, Janine                                                     Contingent
          PO Box 265                                                          Unliquidated
          Smithfiled, Virginia 23431-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haskvitz, Sylvia                                                    Contingent
          2222 E. 2nd Street                                                  Unliquidated
          Tuscon, Arizona 85719-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hassan, Mariam                                                      Contingent
          3655 Greenleaf St                                                   Unliquidated
          Skokie, Illinois 60076-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 469 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 493 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.327
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hassell, Anthony                                                    Contingent
          15737 Terrace Drive #3BL                                            Unliquidated
          Oak Forest, Illinois 60452-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hatch, Hayley                                                       Contingent
          1024 San Luis Cir                                                   Unliquidated
          #723
                                                                              Disputed
          Daly City, California 94014-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.327
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hatcher, Matthew                                                    Contingent
          7674 Tecumseh Street                                                Unliquidated
          Millington, Tennessee 38053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hater, Dana                                                         Contingent
          7129 Union Valley Cir                                               Unliquidated
          Canton, Michigan 48187-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hatmaker, Melissa                                                   Contingent
          106 Larkway Drive                                                   Unliquidated
          Tullahoma, Tennessee 37388-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hattan, Marjoleintje                                                Contingent
          12517 East Castlewood Ct                                            Unliquidated
          Wichita, Kansas 67206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hatten, Kimberly                                                    Contingent
          3206 adams                                                          Unliquidated
          bellwood, Illinois 60104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 470 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 494 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.328
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hattenhauer, Justin                                                 Contingent
          2810 SW Ables Dr apt 102                                            Unliquidated
          Bentonville, Arkansas 72712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hatter, Mattie                                                      Contingent
          2014 Winans                                                         Unliquidated
          Flint, Michigan 48503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haupt, Lacie                                                        Contingent
          3627 Ellsworth Ave                                                  Unliquidated
          Erie, Pennsylvania 16508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hauschild, Beth                                                     Contingent
          7101 Roth Rd                                                        Unliquidated
          Evansville, Indiana 47712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hautz, Leslie                                                       Contingent
          102 Bonito Drive                                                    Unliquidated
          Yorktown, Virginia 23692-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haven, Anne                                                         Contingent
          261 Randall Drive                                                   Unliquidated
          Folsom, California 95630-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Havener, Catherine                                                  Contingent
          775 Midwest Trail N                                                 Unliquidated
          Lake Elmo, Minnesota 55042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 471 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 495 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.329
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hawaii Department of Taxation                                       Contingent
          PO Box 259                                                          Unliquidated
          Honolulu, HI 96809
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hawker, Kelly                                                       Contingent
          10084 Armadillo Dr                                                  Unliquidated
          Lone Tree, Colorado 80124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hawks, Alexandra                                                    Contingent
          38463 5th Street West #N248                                         Unliquidated
          Palmdale, California 93551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haws Corporation                                                    Contingent
          1455 Kleppe Lane                                                    Unliquidated
          Sparks, NV 89431
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hawthorne, Hillary                                                  Contingent
          770 Melrose Terrace                                                 Unliquidated
          Newport News, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hawthorne, Kelly                                                    Contingent
          4008 Deer Creek Drive                                               Unliquidated
          Louisville, Kentucky 40241-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hawthorne, LaRoland                                                 Contingent
          134 Peggy Dr                                                        Unliquidated
          Florence, Mississippi 39073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 472 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 496 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.329
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haydon Building Corp.                                               Contingent
          4640 E. Cotton Gin Loop                                             Unliquidated
          Phoenix, AZ 85040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hayes, Amy                                                          Contingent
          9570 West 762 South                                                 Unliquidated
          Helmer, Indiana 76747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hayes, Anna                                                         Contingent
          24 Lily Lane                                                        Unliquidated
          Roxboro, North Carolina 27574-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hayes, Coren                                                        Contingent
          206 N. Marion                                                       Unliquidated
          Oak Park, Illinois 60302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hayes, Julia                                                        Contingent
          2365 Turkey Red Ln. Unit B                                          Unliquidated
          Bozeman, Montana 59715-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hayes, Robbin                                                       Contingent
          6251 Surflanding lane                                               Unliquidated
          Huntington Beach, California 92648-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hayes, Shanee                                                       Contingent
          605 Crystal Falls Dr                                                Unliquidated
          McKinney, Texas 75071-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 473 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 497 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.330
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hayes, Ste'Keira                                                    Contingent
          102 Darlena Ct, Apt E                                               Unliquidated
          Cary, North Carolina 27511-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haylor, Freyer & Coon, Inc                                          Contingent
          231 Salina Meadows Parkway                                          Unliquidated
          Syracuse, NY 13212
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hayman, Susan                                                       Contingent
          6540 Sugarcane Circle                                               Unliquidated
          Ocean Springs, Mississippi 39564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haywood, David                                                      Contingent
          75 Chase Drive                                                      Unliquidated
          Snow Hill, North Carolina 28580-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Haywood, Kathryne                                                   Contingent
          305 W. Monument St, Apt 204                                         Unliquidated
          Baltimore, Maryland 21201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hazelbaker, Daniel                                                  Contingent
          68 South Petrie Rd                                                  Unliquidated
          Coraopolis, Pennsylvania 15108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hazen and Sawyer                                                    Contingent
          4011 West Chase Boulevard                                           Unliquidated
          Raleigh, NC 27907
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 474 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 498 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.331
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HBM Holdings                                                        Contingent
          101 South Hanley, Ste 1050                                          Unliquidated
          St. Louis, MO 63105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HCI Group, Inc.                                                     Contingent
          5300 W Cypress St                                                   Unliquidated
          Tampa, FL 33607-1733
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          He, Qingqing                                                        Contingent
          5260 Centre Ave                                                     Unliquidated
          Apt. 402
                                                                              Disputed
          Pittsburgh, Pennsylvania 15232-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.331
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Head, Cherie                                                        Contingent
          7500 Lola Dr                                                        Unliquidated
          Fort Worth, Texas 76180-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,500.00
          Health Enhancement Research Organization                            Contingent
          24 South Olive Street                                               Unliquidated
          Waconia, MN 55387
                                                                              Disputed
          Date(s) debt was incurred 2/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,500.00
          Health Forum                                                        Contingent
          P.O Box 2567                                                        Unliquidated
          Chicago, IL 60675-2567
                                                                              Disputed
          Date(s) debt was incurred 10/24/2019
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          Health Network Laboratories, LP                                     Contingent
          794 Roble Rd                                                        Unliquidated
          Allentown, PA 18109
                                                                              Disputed
          Date(s) debt was incurred 5/6/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 475 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 499 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.331
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Health Quest                                                        Contingent
          1351 Route 55, Suite 200                                            Unliquidated
          LaGrangeville,, NY 12540-5144
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Healthcare Associates of Irving LLP                                 Contingent
          5800 Campus Circle, Suite 114A                                      Unliquidated
          Irving, TX 75063
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HealthComp, Inc.                                                    Contingent
          621 Santa Fe                                                        Unliquidated
          Fresno, CA 93721
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HealthInsight                                                       Contingent
          756 East Winchester Street                                          Unliquidated
          Suite 200
                                                                              Disputed
          Salt Lake City, UT 84107
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.332
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HealthLinc, Inc.                                                    Contingent
          951 Transport Drive                                                 Unliquidated
          Valparaiso, IN 46383
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,608.16
          Healthwise                                                          Contingent
          P.O Box 1989                                                        Unliquidated
          Boise, IL 83701-1989
                                                                              Disputed
          Date(s) debt was incurred      4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,914.00
          HealthWorks                                                         Contingent
          P.O Box 829858                                                      Unliquidated
          Philadelphia, PA 19182-9858
                                                                              Disputed
          Date(s) debt was incurred 5/4/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 476 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 500 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.332
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Healy, Erin                                                         Contingent
          428 Brush Hill Ave                                                  Unliquidated
          Springfield, Massachusetts 01089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heartland Area Education Agency                                     Contingent
          101 South Hanley                                                    Unliquidated
          Johnston, IA 50131
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HEARTLAND CORN PRODUCTS                                             Contingent
          53331 State Highway 19                                              Unliquidated
          Winthrop, MN 55396
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heartland Health Services                                           Contingent
          2214 N. University St.                                              Unliquidated
          Poeria, IL 61604
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heartland Technology Group                                          Contingent
          1700 Stephen St                                                     Unliquidated
          Little Chute, WI 54140
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heather Gustafson                                                   Contingent
          4365 Thorn Hill Trail                                               Unliquidated
          Green Bay, WI 54313
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hebert, Carley                                                      Contingent
          42703 Berrong Ave                                                   Unliquidated
          Winthrop Harbor, Illinois 60096-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 477 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 501 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.333
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hebron Academy                                                      Contingent
          339 Paris Road                                                      Unliquidated
          Heborn, ME 04238
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heck, Alexandra                                                     Contingent
          1619 SE Blairmount Drive                                            Unliquidated
          Vancouver, Washington 98683-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hedalen, Erika                                                      Contingent
          1325 Dunbar Drive                                                   Unliquidated
          St Charles, Missouri 63303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hedditch, Christopher                                               Contingent
          20884 N Snapdragon Ln                                               Unliquidated
          Texico, Illinois 62889-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hedge, Felicia                                                      Contingent
          5608 Andover Village Way #835                                       Unliquidated
          Knoxville, Texas 37918-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hedges, Jennifer                                                    Contingent
          6215 Tieton Dr                                                      Unliquidated
          Yakima, Washington 98908-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hedges, Shasin                                                      Contingent
          12810 E. Bellechase Court                                           Unliquidated
          Wichita, Kansas 67230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 478 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 502 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.334
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hefler, Rebecca                                                     Contingent
          14993 S Eagle Crest Drive                                           Unliquidated
          Draper, Utah 84020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hegeman, Jessicah                                                   Contingent
          208 Mistletoe Dr                                                    Unliquidated
          Newport News, Virginia 23606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heine, Jill                                                         Contingent
          4956 Prestonwood Rd                                                 Unliquidated
          Perrysburg, Ohio 43551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heinrich, Brinin                                                    Contingent
          5053 Joy Drive                                                      Unliquidated
          Liberty Township, Ohio 45044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heinrich, Patrick                                                   Contingent
          5053 Joy Drive                                                      Unliquidated
          Liberty Township, Ohio 45044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heinricher, Melanie                                                 Contingent
          259 Lutz Rd                                                         Unliquidated
          Zelienople, Pennsylvania 16063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heintz, Patrick                                                     Contingent
          10217 S. Hoyne                                                      Unliquidated
          Chicago, Illinois 60643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 479 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 503 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.334
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heiy, Lourdes                                                       Contingent
          10501 S Aspen Dr                                                    Unliquidated
          Palos Hills, Illinois 60465-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Helena Agri-Enterprises, LLC                                        Contingent
          225 Schilling Blvd, Suite 300                                       Unliquidated
          Collierville, TN 38017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Helland, Liane                                                      Contingent
          42 Fairmont st                                                      Unliquidated
          unit 2
                                                                              Disputed
          arlington, Massachusetts 02474-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.335
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hellmuth Obata & Kassabaum (HOK)                                    Contingent
          10 South Broadway Suite 200                                         Unliquidated
          St. Louis, MO 63102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Helmbrecht, Michele                                                 Contingent
          847 Royalwood Lane                                                  Unliquidated
          Oviedo, Florida 32765-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Helms, Lauren                                                       Contingent
          5913 Beverly Drive                                                  Unliquidated
          Fort Worth, Texas 76132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Helms, Matthew                                                      Contingent
          4421 Teresa Trail                                                   Unliquidated
          Midlothian, Texas 76065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 480 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 504 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.335
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Helmstetler, Robert                                                 Contingent
          807 N. Carrier Pkwy                                                 Unliquidated
          Grand Prairie, Texas 75050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Helsham, Sophia                                                     Contingent
          4621 N Damen Ave                                                    Unliquidated
          Apt 3
                                                                              Disputed
          Chicago, Illinois 60625-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.335
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hemani, A.                                                          Contingent
          6408 West Kensington Rd                                             Unliquidated
          Oklahoma City, Oklahoma 73132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hemp, Shelly                                                        Contingent
          331 East Butler Ave                                                 Unliquidated
          Grant Park, Illinois 60940-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henderson, Karlisha                                                 Contingent
          7709 Alexanders Ridge Cove                                          Unliquidated
          Olive Branch, Mississippi 38654-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henderson, Maatra                                                   Contingent
          1815 Kessler Park Ct                                                Unliquidated
          Houston, Texas 77047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henderson, Molly                                                    Contingent
          2051 Rice Road                                                      Unliquidated
          Lancaster, Pennsylvania 17603-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 481 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 505 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.336
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henderson, Selina                                                   Contingent
          1442 Willow Lane                                                    Unliquidated
          Apt 4
                                                                              Disputed
          Westmont, Illinois 60559-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.336
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henderson, Vivian                                                   Contingent
          11338 Norwood Ave                                                   Unliquidated
          Riverside, California 92505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hendricks, Beth                                                     Contingent
          680 Alstonefield Drive                                              Unliquidated
          Alpharetta, Georgia 30004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hendricks, Christy                                                  Contingent
          2877 Manzanita View Rd                                              Unliquidated
          Alpine, California 91901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hendricks, Corinne                                                  Contingent
          123 West 4th Street                                                 Unliquidated
          Oswego, New York 13126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hendrickson                                                         Contingent
          500 Park Blvd # 450                                                 Unliquidated
          Itasca, IL 60143-1285
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hendrix, Michael                                                    Contingent
          8340 Thompson Road                                                  Unliquidated
          Cicero, New York 13039-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 482 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 506 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.336
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heneghan, John                                                      Contingent
          5 Deerfield Court                                                   Unliquidated
          Bloomington, Illinois 61705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henggeler, Brianna                                                  Contingent
          1424 Bristol Terrace #315                                           Unliquidated
          Lawrence, Kansas 66049-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henline, Jessica                                                    Contingent
          231 Remington Dr                                                    Unliquidated
          Lascassas, Tennessee 37085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henning, Darnecha                                                   Contingent
          2105 St. John Ave, Apt E2-3                                         Unliquidated
          Dyersburg, Tennessee 38024-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henninger, Mikiaila                                                 Contingent
          620 S Macon Street                                                  Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henriquez, Kelly                                                    Contingent
          46 Woodlawn Drive                                                   Unliquidated
          Cranston, Rhode Island 02920-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henry County Commissioners                                          Contingent
          1853 Oakwood Avenue                                                 Unliquidated
          Napoleon, OH 43545
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 483 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 507 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.337
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,199.88
          Henry Schein                                                        Contingent
          Dept CH 10241                                                       Unliquidated
          Palatine, IL 60055-0241
                                                                              Disputed
          Date(s) debt was incurred 5/15/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henry, Gregg-Brooke                                                 Contingent
          119 Lakeview Drive                                                  Unliquidated
          Mundelein, Illinois 60060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henry, Jeffrey                                                      Contingent
          PO Box 5135                                                         Unliquidated
          Oceanside, California 92052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henry, Kelly                                                        Contingent
          3804 Brook Shadows Ct                                               Unliquidated
          Arlington, Texas 76016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henry, Megan                                                        Contingent
          6916 S. Countrywood Circle, Ap                                      Unliquidated
          Midvale, Utah 84047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henry, Renee                                                        Contingent
          2050 Keller Springs                                                 Unliquidated
          Carrollton, Texas 75006-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herb's Paint and Body Shops                                         Contingent
          120 A Rayflex Drive                                                 Unliquidated
          Richardson, TX 75081
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 484 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 508 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.338
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hergert, Tenaya                                                     Contingent
          606 Villard Street                                                  Unliquidated
          Cheney, Washington 99004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herlan, Christine                                                   Contingent
          4449 N. Millgrove                                                   Unliquidated
          Akron, New York 14001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herman, Noelle                                                      Contingent
          1301 NW 72nd Terrace                                                Unliquidated
          Kansas City, Missouri 64118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hermanson, Juli                                                     Contingent
          6483 Craig Dr                                                       Unliquidated
          Eden Prairie, Minnesota 55346-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hermes, Julie                                                       Contingent
          442 Prescott Rd                                                     Unliquidated
          Valparaiso, Indiana 46385-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hermiz, Jennifer                                                    Contingent
          1063 Hiawatha Drive                                                 Unliquidated
          Elgin, Illinois 60120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez Martinez, Johnny                                          Contingent
          7311 Coal Creek Pkwy SE                                             Unliquidated
          Apt. K103
                                                                              Disputed
          Newcastle, Washington 98059-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 485 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 509 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.338
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez, Bianca                                                   Contingent
          117 Holleman Dr W Apt 5103                                          Unliquidated
          College Station, Texas 77840-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez, Christian                                                Contingent
          2455 Heathway Lane                                                  Unliquidated
          Lima, Ohio 60051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez, Guillermina                                              Contingent
          13534 Parker pl                                                     Unliquidated
          Paramount, California 90723-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez, Jocelyn                                                  Contingent
          15908 Blackhawk Street                                              Unliquidated
          Granada Hills, California 91344-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez, Melissa                                                  Contingent
          5018 Isle Royal Court                                               Unliquidated
          Oceanside, California 92057-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez, Natalie                                                  Contingent
          7530 SW 108 AVE                                                     Unliquidated
          Miami, Florida 33173-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez, Roxanne                                                  Contingent
          628 Forsythe Ave                                                    Unliquidated
          Calumet City, Illinois 60409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 486 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 510 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.339
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez, Salvador                                                 Contingent
          4313 Florence Dr                                                    Unliquidated
          Johnsburg
                                                                              Disputed
          Johnsburg, Illinois 60051-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.339
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hernandez-Spina, Bertha Elizabeth                                   Contingent
          1030 21st St                                                        Unliquidated
          Beaumont, Texas 77706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herod, Michelle                                                     Contingent
          6100 Center St                                                      Unliquidated
          Mentor, Ohio 44060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heron, Sahar                                                        Contingent
          1360 Turnpike St.                                                   Unliquidated
          Stoughton, Massachusetts 02072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herr, Kara                                                          Contingent
          45 Long Bridge Drive                                                Unliquidated
          Mount Laurel, New Jersey 08054-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herrera, Marisa                                                     Contingent
          606 Lemon Dr.                                                       Unliquidated
          Arlington, Texas 76002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herrick, Abby                                                       Contingent
          4216 Lorraine Ct.                                                   Unliquidated
          High Ridge, Missouri 63049-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 487 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 511 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.340
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herron, Apryl                                                       Contingent
          14690 Orchard Ave, Ne                                               Unliquidated
          Aurora, Oregon 97002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herron, Maggie                                                      Contingent
          1626 James Street                                                   Unliquidated
          Hueytown, Alabama 35061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herscher CUSD 2                                                     Contingent
          501 N. Main Street                                                  Unliquidated
          Herscher, IL 60941
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hersey, Wanda                                                       Contingent
          19 Kemp Ave                                                         Unliquidated
          Glen Cove, New York 11542-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Herwig, Kari                                                        Contingent
          4907 Cecilville Ave                                                 Unliquidated
          La Crescenta, California 91214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hess, Alexandria                                                    Contingent
          14616 NE 146th Terrace                                              Unliquidated
          Kearney, Missouri 64060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hess, Danielle                                                      Contingent
          102 West Dorothys Way                                               Unliquidated
          Lincoln University, Pennsylvania 19352-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 488 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 512 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.341
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hess, Lisa                                                          Contingent
          1309 Roberts Dr                                                     Unliquidated
          Kokomo, Indiana 46902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hetzel, Christine                                                   Contingent
          2 Kent Road                                                         Unliquidated
          APT 1
                                                                              Disputed
          Wappingers Falls, New York 12590-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.341
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hewitt, Maricolleen                                                 Contingent
          11029 W. Joliet Rd                                                  Unliquidated
          Peotone, Illinois 60468-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heyman, Matthew                                                     Contingent
          7904 Della Rose Ct                                                  Unliquidated
          Pasadena, Maryland 21122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HG Meigs LLC                                                        Contingent
          1220 Superior St                                                    Unliquidated
          Portage, WI 53901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hiatt, Nicole                                                       Contingent
          101 Nw 2nd Street                                                   Unliquidated
          Casey, Illinois 62420-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hibben, Gail                                                        Contingent
          667 John Hancock Lane                                               Unliquidated
          West Melbourne, Florida 32904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 489 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 513 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.341
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hicks, Nastashia                                                    Contingent
          10890 Church St                                                     Unliquidated
          Box 872
                                                                              Disputed
          Maringouin, Louisiana 70757-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.341
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hickson, Jonathan                                                   Contingent
          4335 Taney Avenue, Apt 201                                          Unliquidated
          Alexandria, Virginia 22304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hicksville Schools                                                  Contingent
          958 East High Street                                                Unliquidated
          Hicksville, OH 43526
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hidalgo-Vasquez, Yaneth                                             Contingent
          536 Main Street                                                     Unliquidated
          Peckville, Pennsylvania 18452-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hider, Catrina                                                      Contingent
          212 Valleyglen Drive                                                Unliquidated
          Desoto, Texas 75115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Higgins, Amanda                                                     Contingent
          2409 Diamondhitch Trail                                             Unliquidated
          Raleigh, North Carolina 27615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Higgins, Crystal                                                    Contingent
          5627 Chelwynd Rd                                                    Unliquidated
          Baltimore, Maryland 21227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 490 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 514 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.342
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Higgins, Rose                                                       Contingent
          5305 Manorfield Road                                                Unliquidated
          Rockville, MD, Maryland 20853-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Highland Meadows Christian Church dba Co                            Contingent
          2600 Hall-Johnson Rd                                                Unliquidated
          Colleyville, TX 76034
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Higley, Robin                                                       Contingent
          7 Sweetgrass Rd                                                     Unliquidated
          Clancy, Montana 59634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hikichi, Lynn                                                       Contingent
          3634 N Desert Oasis                                                 Unliquidated
          Mesa, Arizona 85207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hilbert, Paula                                                      Contingent
          59 Dogwood Trail                                                    Unliquidated
          Ocala, Florida 34472-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hilbrich, Brooke                                                    Contingent
          220 Firebird Run                                                    Unliquidated
          Cibolo, Texas 78108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Colin                                                         Contingent
          14621 South Elk Creek Rd                                            Unliquidated
          Pine, Colorado 80470-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 491 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 515 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.343
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Ellanida                                                      Contingent
          3412 Colonial Dr                                                    Unliquidated
          Forest Hill, Texas 76140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Joan                                                          Contingent
          26 Ranger Road                                                      Unliquidated
          Natick, Massachusetts 01760-3232
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Joyce                                                         Contingent
          6516 S Maryland Ave                                                 Unliquidated
          Chicago, Illinois 60637-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Juyanna                                                       Contingent
          6512 N. Military Hwy                                                Unliquidated
          Norfolk, Virginia 23518-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Kevin                                                         Contingent
          100 South Palomar Dr                                                Unliquidated
          Redwood City, California 94062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Laura                                                         Contingent
          1031 Caballo Trail                                                  Unliquidated
          Gallatin, Tennessee 37066-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Otissicia                                                     Contingent
          6051 Roma Druve                                                     Unliquidated
          AOT 804
                                                                              Disputed
          Shreeveport, Louisiana 71105-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 492 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 516 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.343
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Ryane                                                         Contingent
          1241 Boynton Street                                                 Unliquidated
          #23
                                                                              Disputed
          Glendale, California 91205-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.343
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill, Tatiana                                                       Contingent
          2033 Keswick Villiage Ct.                                           Unliquidated
          Conyers, Georgia 30013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill-Armendariz, Martha                                             Contingent
          227 Samaria Lane                                                    Unliquidated
          Oakland, California 94619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hill-Loyal, Gray'ce                                                 Contingent
          3 Hunting Horn Court                                                Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hillberry, Marie                                                    Contingent
          P.O. Box 725                                                        Unliquidated
          Lolo, Montana 59847-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hiller, Bradley                                                     Contingent
          3611 Kestral Dr                                                     Unliquidated
          Naperville, Illinois 60564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hindman, Cameron Puckett                                            Contingent
          201 Pyracantha Dr                                                   Unliquidated
          Holly Springs, North Carolina 27540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 493 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 517 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.344
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hinds, Tiffany                                                      Contingent
          25 ashton dr                                                        Unliquidated
          covington, Georgia 30016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hinsdale High Schools                                               Contingent
          5500 South Grant Street                                             Unliquidated
          Hinsdale, IL 60521
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hinton, Dorene                                                      Contingent
          800 E. Grand Ave, APT 35B-B                                         Unliquidated
          Carbondale, Illinois 62901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hintz, Molly                                                        Contingent
          103 Garden St                                                       Unliquidated
          Bristol, Connecticut 06010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hiralall, Reshma                                                    Contingent
          104-36 120 street                                                   Unliquidated
          Richmond Hill, New York 11419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hirshorn, Adam                                                      Contingent
          1415 W. Fletcher St.                                                Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hispanic Housing Development Corporation                            Contingent
          325 N. Wells Street                                                 Unliquidated
          8th Floor
                                                                              Disputed
          Chicago, IL 60654
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 494 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 518 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.345
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hix, Stephanie                                                      Contingent
          13631 Guildford St                                                  Unliquidated
          Waverly, Nebraska 68462-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hjelm, Keve                                                         Contingent
          149 South Bryson Court                                              Unliquidated
          Nampa, Idaho 83686-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HM.Clause                                                           Contingent
          9 River Park Place East suite 310                                   Unliquidated
          Fresno, CA 93720
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HN Precision                                                        Contingent
          601 North Skokie Highway                                            Unliquidated
          Lake Bluff, IL 60044
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HNI Risk Services Inc.                                              Contingent
          16805 W Cleveland Ave                                               Unliquidated
          New Berlin, WI 53151
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $231.00
          Ho-Chunk Healthcare Center Laboratory                               Contingent
          N6520 Lumber Jack Guy Road                                          Unliquidated
          Black River Falls, WI 54615
                                                                              Disputed
          Date(s) debt was incurred 2/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ho-Chunk Nation                                                     Contingent
          W9814 Airport Road                                                  Unliquidated
          Black River Falls, WI 54615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 495 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 519 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.345
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HOAGLAND, LONGO, MORAN, DUNST &                                     Contingent
          DOUKAS,                                                             Unliquidated
          40 Paterson Street
                                                                              Disputed
          New Brunswick, NJ 08901
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.346
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoang, Long                                                         Contingent
          1426 Foothill Meadows Ct                                            Unliquidated
          San Jose, California 95131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hobbs, Kara                                                         Contingent
          6 Painters Place Court                                              Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hockman, Kelly                                                      Contingent
          289 milroy drive                                                    Unliquidated
          Winchester, Virginia 22602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hodge, Nicole                                                       Contingent
          2017 Friendly Height Blvd                                           Unliquidated
          Decator, Georgia 30035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hodges, Heather                                                     Contingent
          9738 Biggs Rd                                                       Unliquidated
          Middle River, Maryland 21220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hodges, Jean                                                        Contingent
          11 North Carolina Ave                                               Unliquidated
          970 Shady Tree Road
                                                                              Disputed
          Benson, North Carolina 27504-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 496 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 520 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.346
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoerman, Marleen                                                    Contingent
          31 Forest Hills Drive                                               Unliquidated
          Washington, Missouri 63090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hofer, Vanessa                                                      Contingent
          5828 N. Melvina Ave                                                 Unliquidated
          Chicago, Illinois 60646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HOFFER PLASTICS CORPORATION                                         Contingent
          500 N. Collins                                                      Unliquidated
          South Elgin, IL 60177
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoffman, Jennifer                                                   Contingent
          101 Northfield Drive                                                Unliquidated
          APT I-5
                                                                              Disputed
          Normal, Illinois 61761-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.347
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoffman, Megan                                                      Contingent
          800 S. Bouldin Street                                               Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoffman, Sophia                                                     Contingent
          6 East Monroe Street                                                Unliquidated
          Apt. 1503
                                                                              Disputed
          Chicago, Illinois 60603-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.347
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoffman, Taylor                                                     Contingent
          505 Newtown Drive                                                   Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 497 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 521 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.347
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoffnagle, Ryan                                                     Contingent
          605 W. St. John's Ave                                               Unliquidated
          Austin, Texas 78752-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hogan-Shanbhag, Sofia                                               Contingent
          2300 Wilson Ave                                                     Unliquidated
          Claymont, Delaware 19703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hogue, Robert                                                       Contingent
          2769 Shellingham Drive                                              Unliquidated
          Lisle, Illinois 60532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hohman Plating                                                      Contingent
          814 Hillrose Avenue                                                 Unliquidated
          Dayton, OH 45404
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holbert, Pamela                                                     Contingent
          3374 Esquire Drive                                                  Unliquidated
          Murfreesboro, Tennessee 37130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holbert, Terry                                                      Contingent
          3996 Cedarwood                                                      Unliquidated
          Williamsburg, Virginia 23188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holbrook Unified School District                                    Contingent
          1000 N 8th Ave                                                      Unliquidated
          Holbrook, AZ 86025
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 498 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 522 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.348
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holcomb, Anna                                                       Contingent
          1228 Alaska Avenue B                                                Unliquidated
          Fort Campbell, Tennessee 42223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holder, Jennifer                                                    Contingent
          119 Burnett Drive                                                   Unliquidated
          Wartrace, Tennessee 37183-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holderread, Brendan                                                 Contingent
          3127 Emerald Grove Drive                                            Unliquidated
          Kingwood, Texas 77345-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holgate Schools                                                     Contingent
          801 E. Joe E. Brown                                                 Unliquidated
          Holgate, OH 43527
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holicky, Michelle                                                   Contingent
          1707 NE 181st Street                                                Unliquidated
          Smithville, Missouri 64089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holinsworth, Leslie                                                 Contingent
          18 Orchard Acress Drive                                             Unliquidated
          Morgantown, West Virginia 26508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holland Acquisitions, Inc.                                          Contingent
          309 West 7th Street, Suite 200                                      Unliquidated
          Fort Worth, TX 76102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 499 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 523 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.348
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holland, Gina                                                       Contingent
          522 Ohio Street                                                     Unliquidated
          Lima, Ohio 45804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holland, Keith                                                      Contingent
          1711 E. Franklin Street                                             Unliquidated
          Apt A
                                                                              Disputed
          Richmond, Virginia 23223-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.348
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holland, Toni                                                       Contingent
          2525 E Washington St.                                               Unliquidated
          Suffolk, Virginia 23434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hollie, Miji                                                        Contingent
          12700 Craven Avenue                                                 Unliquidated
          Cleveland, Ohio 44105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hollington, Sarah                                                   Contingent
          1521 Gardenton St NW                                                Unliquidated
          Palm Bay, Florida 32907-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hollister Construction                                              Contingent
          339 Jefferson Road                                                  Unliquidated
          Parsippany, NJ 07054
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hollman, Anjelica                                                   Contingent
          7407 E 133rd St                                                     Unliquidated
          Grandview, Missouri 64030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 500 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 524 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.349
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hollman, Regina                                                     Contingent
          459 Railroad Ave                                                    Unliquidated
          Clearbrook, Minnesota 56634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holloway, Shanikia                                                  Contingent
          3529 Chimney Rock Dr                                                Unliquidated
          Forest Hill, Texas 76140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holman, Ibn-Saleem                                                  Contingent
          37 Western Parkway                                                  Unliquidated
          Irvington, New Jersey 07111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holmer, Brittany                                                    Contingent
          19 Lesley Lane                                                      Unliquidated
          Northfield, New Jersey 08225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holmes, Anita                                                       Contingent
          143 S. Garfield Ave                                                 Unliquidated
          Columbus, Ohio 43205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holmes, Denise                                                      Contingent
          1859 Garden Lane                                                    Unliquidated
          Cincinnati, Ohio 45237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holmes, Kellie                                                      Contingent
          101 Lantana Ln                                                      Unliquidated
          Teague, Texas 75860-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 501 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 525 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.350
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holmes, Patricia                                                    Contingent
          4041 Georgia Rd                                                     Unliquidated
          Chesapeake, Virginia 23321-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holohan, Erin                                                       Contingent
          308 Henrietta Avenue                                                Unliquidated
          Los Osos, California 93402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HOLT COUNTY                                                         Contingent
          204 North 4th St.                                                   Unliquidated
          O'Neill, NE 68763
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holtec International                                                Contingent
          1 Holtec Drive                                                      Unliquidated
          Marlton, NJ 08053
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Holton Community Hospital                                           Contingent
          1110 Columbine Drive                                                Unliquidated
          Holton, KS 66436
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $218.40
          Holy Family Transcend                                               Contingent
          PO Box 2170                                                         Unliquidated
          Manitowoc, WI 54221-2170
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,711.75
          Homeland Health Specialists-IH                                      Contingent
          0                                                                   Unliquidated
          00000, 00000 00000-0000
                                                                              Disputed
          Date(s) debt was incurred 2/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 502 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 526 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.350
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HOMER SCHOOL DISTRICT                                               Contingent
          15733 Bell Road                                                     Unliquidated
          Homer Glen, IL 60491
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Honeycutt, Courteney                                                Contingent
          2817 Alexander Ct                                                   Unliquidated
          Plano, Texas 75074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoober, Rachel                                                      Contingent
          69 Oxford Village                                                   Unliquidated
          Lancaster, Pennsylvania 17602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hooper, Zoey                                                        Contingent
          6105 Kifisia Way                                                    Unliquidated
          Fair Oaks, California 95628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoosier Racing Tire Corp.                                           Contingent
          65465 U.S. 31                                                       Unliquidated
          PO BOX 530
                                                                              Disputed
          Lakeville, IN 46536
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.351
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoover, Amy                                                         Contingent
          73 S. Main Street                                                   Unliquidated
          Shickshinny, Pennsylvania 18655-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoover, Kenneth                                                     Contingent
          6535 Eberhart                                                       Unliquidated
          Chicago, Illinois 60637-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 503 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 527 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.351
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoover, Laura                                                       Contingent
          6924 Villa Hermosa                                                  Unliquidated
          El Paso, Texas 79912-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoover-Schrum SD 157                                                Contingent
          1255 Superior Avenue                                                Unliquidated
          Calumet City, IL 60409
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hopkins, Joyce                                                      Contingent
          950 Olde Oak Court                                                  Unliquidated
          Norman, Oklahoma 73026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hopkins, Khomeni                                                    Contingent
          2814 Marnat Road                                                    Unliquidated
          Apt. A
                                                                              Disputed
          Baltimore, Maryland 21209-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.351
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hopkins, Rebecca                                                    Contingent
          1555 2nd Ave                                                        Unliquidated
          Apt #4R
                                                                              Disputed
          New York, New York 10028-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.352
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hopkins, Rita                                                       Contingent
          526 Hawk Lane                                                       Unliquidated
          Clyde, Texas 79510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hopp, Mary                                                          Contingent
          835 37th Street Ne                                                  Unliquidated
          Cedar Rapids, Iowa 52402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 504 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 528 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.352
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoppa, Mandi                                                        Contingent
          1051 Denton St #7                                                   Unliquidated
          La Crosse, Wisconsin 54601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hopper, Tracey                                                      Contingent
          242 Exekial Ave.                                                    Unliquidated
          Dallas, Texas 75217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $405.00
          Horan Associates, Inc.                                              Contingent
          4990 E. Galbraith Road                                              Unliquidated
          Cincinnati, OH 45236
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horan, Catherine                                                    Contingent
          4804 Norstar Blvd                                                   Unliquidated
          APT 321
                                                                              Disputed
          Liverpool, New York 13088-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.352
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horen, Maria                                                        Contingent
          5322 Long Sky Court                                                 Unliquidated
          Columbia, Maryland 21045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horizon Community Learning Center                                   Contingent
          16233 S 48th Street                                                 Unliquidated
          Phoenix, AZ 85048
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horn, Kailea                                                        Contingent
          11301 S. 104 E. Ave                                                 Unliquidated
          Bixby, Oklahoma 74008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 505 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 529 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.352
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horn, Trina                                                         Contingent
          1402 Barlow Ave                                                     Unliquidated
          Dallas, Texas 75224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horning, Virginia                                                   Contingent
          2523 Hunton Place                                                   Unliquidated
          Alexandria, Virginia 22311-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hornsby, Jennifer                                                   Contingent
          8715 Village Terrace                                                Unliquidated
          Houston, Texas 77040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horst, Nicole                                                       Contingent
          10389 Rapids Road                                                   Unliquidated
          Clarence Center, New York 14032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horstman, Madison                                                   Contingent
          1000 Shumway Ave                                                    Unliquidated
          Faribault, Minnesota 55021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horton, Jodi                                                        Contingent
          10117 SE Sunnyside Rd                                               Unliquidated
          Suite F Box 501
                                                                              Disputed
          Clackmas, Oregon 97015-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.353
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horton, Shannon                                                     Contingent
          1450 E. Knoll Cir. #4                                               Unliquidated
          Mesa, Arizona 85203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 506 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 530 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.353
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Horvatits, Jessica                                                  Contingent
          123 Kenview Ave-Left                                                Unliquidated
          Tonawanda, New York 14217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hose & Rubber Supply                                                Contingent
          3450 South 300 West                                                 Unliquidated
          Salt Lake City, UT 84115
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoskins, Donnisha                                                   Contingent
          10334 Chauncer St                                                   Unliquidated
          Westchester, Illinois 60154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoskins, Jamika                                                     Contingent
          354 West 116th Street                                               Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoskins, John                                                       Contingent
          8900 Eagleview Dr #11                                               Unliquidated
          West Chester, Ohio 45069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoster, Nicholas                                                    Contingent
          314 W Sunset Rd                                                     Unliquidated
          Lehighton, Pennsylvania 18235-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hotaling, Jenna                                                     Contingent
          48 Dohrcrest Dr                                                     Unliquidated
          Rochester, New York 14612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 507 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 531 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.354
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hottmann, Suzanne                                                   Contingent
          4658 Sunny Meadow Drive                                             Unliquidated
          South Jordan, Utah 84009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hough, Kenyatta                                                     Contingent
          701 Kennolia Dr, SW                                                 Unliquidated
          Atlanta, Georgia 30310-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hough, Mary                                                         Contingent
          1 Rayes Drive                                                       Unliquidated
          Hudson, New Hampshire 03051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HOULIHAN LOKEY                                                      Contingent
          225 S. 6th St.                                                      Unliquidated
          Suite 4950
                                                                              Disputed
          Minneapolis, MN 55402
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.354
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Houmes, Casie                                                       Contingent
          1382 Old Millpond Road                                              Unliquidated
          Melbourne, Florida 32940-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          House, Arianna                                                      Contingent
          310 Stonehurst Ln                                                   Unliquidated
          Roselle, Illinois 60172-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Houston, Danielle                                                   Contingent
          1401 Weldon Place South Apt A-                                      Unliquidated
          Baltimore, Maryland 21211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 508 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 532 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.355
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Houston-Galveston Area Council                                      Contingent
          117 Lane Dr, #32                                                    Unliquidated
          Rosenberg, TX 77471
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Houston-Pasadena Apache Oil Company                                 Contingent
          5136 Spencer Hwy                                                    Unliquidated
          Pasadena, TX 77505
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howard, Arthur                                                      Contingent
          11 Old Presidio Dr                                                  Unliquidated
          Manvel, Texas 77578-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howard, Carole                                                      Contingent
          2017 Hillside Drive                                                 Unliquidated
          Mt Dora, Florida 32757-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howard, Kimberly                                                    Contingent
          10526 St. Xavier                                                    Unliquidated
          St. Ann, Missouri 63074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howard, Melanie                                                     Contingent
          1801 Marbel Creek Lane                                              Unliquidated
          Nicholasville, Kentucky 40356-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howard, Rebecca                                                     Contingent
          1250 South Clermont Street                                          Unliquidated
          Building 1 #302
                                                                              Disputed
          Denver, Colorado 80246-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 509 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 533 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.355
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howard, Stephanie                                                   Contingent
          9038 s. Lowe                                                        Unliquidated
          chicago, Illinois 60620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howard, Tammy                                                       Contingent
          523 Settlement Lane                                                 Unliquidated
          Newport News, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howarth, Dawn                                                       Contingent
          2277 E Palm Beach Dr                                                Unliquidated
          Chandler, Arizona 85249-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howe, Esther                                                        Contingent
          P.O. Box 216                                                        Unliquidated
          191 Pleasant Valley Rd
                                                                              Disputed
          Underhill Center, Vermont 05490-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.356
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howell, David                                                       Contingent
          213 Tantallon Dr                                                    Unliquidated
          Ocean Springs, Mississippi 39564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howlett, Carly                                                      Contingent
          4539 Newbern Heights Drive                                          Unliquidated
          Pulaski, Virginia 24301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Howlett, Kayla                                                      Contingent
          45 Trumbauersville Road                                             Unliquidated
          Quakertown, Pennsylvania 18951-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 510 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 534 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.356
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoxsey, Caitlin                                                     Contingent
          23935 SE 6th Street                                                 Unliquidated
          Sammamish, Washington 98074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hoy, Karen                                                          Contingent
          975 Hcr 1221                                                        Unliquidated
          Blum, Texas 76627-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HP Hood                                                             Contingent
          6 Kimball Lane                                                      Unliquidated
          Lynnfield, MA 01940
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HP Hood - MA                                                        Contingent
          Kimball Lane                                                        Unliquidated
          Lynn, MA 01940
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hribek, Lauren                                                      Contingent
          1040 Chatham St. NW                                                 Unliquidated
          Grand Rapids, Michigan 49508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hsiao, Patricia                                                     Contingent
          3555 W. Bullard Ave #273                                            Unliquidated
          Fresno, California 93711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hu-Friedy                                                           Contingent
          3232 N. Rockwell St.                                                Unliquidated
          Chicago, IL 60618-5935
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 511 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 535 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.357
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hubbard, Mariah                                                     Contingent
          1201 John Douglass Dr SW                                            Unliquidated
          Marietta, Georgia 30064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hubbard, Samuel                                                     Contingent
          320 Alexis Drive                                                    Unliquidated
          Glen Burnie, Maryland 21061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hubbell Incorporated                                                Contingent
          40 Watervew Drive                                                   Unliquidated
          Shelton, CT 06484
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huber, Rosanne                                                      Contingent
          34330 N. Bobolink Trail                                             Unliquidated
          Grayslake, Illinois 60030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huber, Tammi                                                        Contingent
          3736 Sw Alice                                                       Unliquidated
          Portland, Oregon 97219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hubert, Emily                                                       Contingent
          48 Pearl Street #3                                                  Unliquidated
          Somerville, Massachusetts 02145-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hubner, Brook                                                       Contingent
          180 Holly Ave #19                                                   Unliquidated
          Carpinteria, California 93013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 512 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 536 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.357
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hubner, Danielle                                                    Contingent
          2044 Wildwood Lane                                                  Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,900.00
          Hubtech Ventures LLC dba SSO Easy                                   Contingent
          152 Paul Revere Road                                                Unliquidated
          Needham Heights, MA 02494
                                                                              Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huddleston, Kristina                                                Contingent
          5272 Chiswick Circle                                                Unliquidated
          Belle Isle, Florida 32812-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hudnell, Jameila                                                    Contingent
          3419 Lyndale Ave N                                                  Unliquidated
          Minneapolis, Minnesota 55412-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hudson, Brooke                                                      Contingent
          1318 East 41st Place                                                Unliquidated
          #601
                                                                              Disputed
          Tulsa, Oklahoma 74105-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.358
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hudson, Rachel                                                      Contingent
          11268 Grove ST                                                      Unliquidated
          Unit C
                                                                              Disputed
          Westminster, Colorado 80224-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.358
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hudson, Yvonne                                                      Contingent
          703 Bethnal Road                                                    Unliquidated
          Baltimore, Maryland 21229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 513 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 537 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.358
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huerfano County Hospital dba Spanish Pea                            Contingent
          23500 US Highway                                                    Unliquidated
          Walsenburg, CO 81089
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huerta, Bobbi                                                       Contingent
          11520 W. Bayshore Drive                                             Unliquidated
          Unit 25
                                                                              Disputed
          Crystal River, Florida 34429-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.358
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huff, Chanda                                                        Contingent
          122 S 9th Ave                                                       Unliquidated
          Maywood, Illinois 60153-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huffer, Chelsy                                                      Contingent
          5320 S. 500 E.                                                      Unliquidated
          Cutler, Indiana 46920-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huffman, Brandy                                                     Contingent
          11 Park Drive                                                       Unliquidated
          Fairmont, West Virginia 26554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huffstutler, Casey                                                  Contingent
          166 Kentucky Court                                                  Unliquidated
          Manteca, California 95337-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huggins, Maresa                                                     Contingent
          6405 Donleigh Drive                                                 Unliquidated
          Apt. 103
                                                                              Disputed
          Bartlett, Tennessee 38135-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 514 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 538 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.359
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hughes, Geraldine                                                   Contingent
          309 Patleigh Road                                                   Unliquidated
          Catonsville, Maryland 21228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hughes, Michael                                                     Contingent
          110 Craig Street                                                    Unliquidated
          Como, Mississippi 38619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hulett, Kathleen                                                    Contingent
          1360 Ranchview Rd                                                   Unliquidated
          Helena, Montana 59602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hulk, Incredible                                                    Contingent
          777 Marvel Comic Lane                                               Unliquidated
          New York, New York 10018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hull, Valerie                                                       Contingent
          280 Covey Run                                                       Unliquidated
          Selah, Washington 98942-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hulm, Jamie                                                         Contingent
          620 Greywell Court                                                  Unliquidated
          Greer, South Carolina 29651-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Human Resource Development Council                                  Contingent
          32 South Tracy Ave                                                  Unliquidated
          Bozeman, MT 59715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 515 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 539 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.359
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Humburg, Alyssa                                                     Contingent
          2335 Stewart Ave                                                    Unliquidated
          Apt. 306
                                                                              Disputed
          Saint Paul, Minnesota 55116-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.360
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Humes, Delana                                                       Contingent
          2408 Angus Dr                                                       Unliquidated
          Gillette, Wyoming 82718-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Humphrey, Madisen                                                   Contingent
          4150 south 300 east apt332                                          Unliquidated
          Mill creek, Utah 84107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Humphrey, Oddie                                                     Contingent
          1802A Priceville Road                                               Unliquidated
          Gilbert, South Carolina 29210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hundley, Tara                                                       Contingent
          2100 Forest Park Ave Lot 2                                          Unliquidated
          Atchison, Kansas 66002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hungate, Zachery                                                    Contingent
          213 Exchange Street                                                 Unliquidated
          Colona, Illinois 61241-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunt Companies                                                      Contingent
          980 North Michigan Avenue                                           Unliquidated
          Suite 1150
                                                                              Disputed
          Chicago, IL 60611
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 516 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 540 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.360
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunt, Cynthia                                                       Contingent
          734 West Avenue                                                     Unliquidated
          #B
                                                                              Disputed
          Red Wing, Minnesota 55066-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.360
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunt, Eden                                                          Contingent
          932 Canal Street                                                    Unliquidated
          Irving, Texas 75063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunt, Gwendolyn                                                     Contingent
          8605 N Shermer Road                                                 Unliquidated
          Niles, Illinois 60714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunt, Stephen                                                       Contingent
          741 Richwood Ave, Unit 9                                            Unliquidated
          Morgantown, West Virginia 26505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunter, Dana                                                        Contingent
          5227 Fairhaven Road                                                 Unliquidated
          Clifton Heights, Pennsylvania 19018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunter, Emily                                                       Contingent
          130 Hounds Run                                                      Unliquidated
          Loveland, Ohio 45140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunter, Natalia                                                     Contingent
          13245 Midbluff Ave                                                  Unliquidated
          San Diego, California 92128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 517 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 541 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.361
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunter, Tierra                                                      Contingent
          2040 hammond ct                                                     Unliquidated
          hayes, Virginia 23072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hunter, Tonya                                                       Contingent
          6312 Seven Corners ctr 332                                          Unliquidated
          APT 332
                                                                              Disputed
          Falls Church, Virginia 22044-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.361
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huntington Foam LLC                                                 Contingent
          125 Caliber Rigde Dr. Suite 20                                      Unliquidated
          Greer, SC 29651
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huntington Ingalls Industries, Inc.                                 Contingent
          2401 West Avenue                                                    Unliquidated
          Newport News, VA 23607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huntley Community School District 158                               Contingent
          650 Academic Drive                                                  Unliquidated
          Algonquin, IL 60102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hupp, Meghan                                                        Contingent
          1885 Wright Lane                                                    Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hurco                                                               Contingent
          One Technology Way P.O. Box 68180                                   Unliquidated
          Indianapolis, IN 46268
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 518 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 542 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.362
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hurd, Mondolyn                                                      Contingent
          9724 Wilkerson Circle                                               Unliquidated
          Moss Point, Mississippi 39562-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hurley Medical Center                                               Contingent
          1 Hurley Plaza                                                      Unliquidated
          Flint, MI 48503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hurley, Brittany                                                    Contingent
          2183 West Concord Lane                                              Unliquidated
          Addison, Illinois 60101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huron Consulting Group Inc.                                         Contingent
          550 W. Van Buren Ste. 1700                                          Unliquidated
          Chicago, IL 60607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hurst, Kajsha                                                       Contingent
          429 Gregory Ave.                                                    Unliquidated
          Apt 2B
                                                                              Disputed
          Glendale Heights, Illinois 60139-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.362
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hurtig, Mark                                                        Contingent
          383 Willimington                                                    Unliquidated
          302f
                                                                              Disputed
          Bartlett, Illinois 60103-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.362
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hussain, Syed                                                       Contingent
          10616 Mellow Meadow Dr apt#48B                                      Unliquidated
          Austin, Texas 78750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 519 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 543 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.362
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hutt, Jamie                                                         Contingent
          20 Winslow Street                                                   Unliquidated
          Shrewsbury, Massachusetts 01545-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hutton, Sandra                                                      Contingent
          8129 Claiborne Drive                                                Unliquidated
          Frederick, Maryland 21702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Huynh, Deanna                                                       Contingent
          3801 Parkview Lane #12b                                             Unliquidated
          Irvine, California 92612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HYDRO, INC.                                                         Contingent
          834 W. Madison                                                      Unliquidated
          Chicago, IL 60607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HYDROMAT INC                                                        Contingent
          11600 Adie Rd                                                       Unliquidated
          Maryland Heights, MO 63043
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hykel, Rachel                                                       Contingent
          2205 Olcott Avenue                                                  Unliquidated
          Ardmore, Pennsylvania 19003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          HYLA, Inc                                                           Contingent
          1507 LBJ Freeway Suite #500                                         Unliquidated
          Dallas, TX 75234
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 520 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 544 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.363
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hylant                                                              Contingent
          811 Madison Ave FL 11                                               Unliquidated
          Miami, FL 33155-5550
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hyle, Lauren                                                        Contingent
          4903 B Hawk Cove                                                    Unliquidated
          Austin, Texas 78745-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hyman, Latasha                                                      Contingent
          620 Jaeger Court                                                    Unliquidated
          Sicklerville, New Jersey 08081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Hyman, Phelps, McNamara, P.C.                                       Contingent
          700 13th Street NW, Suite 1200                                      Unliquidated
          Washington, DC 20005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,846.93
          Hype Labs, LLC                                                      Contingent
          4476 Main Street                                                    Unliquidated
          Suite 104
                                                                              Disputed
          Buffalo, NY 14226
          Date(s) debt was incurred      4/1/2020                            Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.363
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iancu, Dima                                                         Contingent
          202 Wheeling Ave                                                    Unliquidated
          Wheeling, Illinois 60090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iannaco, Erica                                                      Contingent
          6 Lincoln ave                                                       Unliquidated
          Sicklerville, New Jersey 08081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 521 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 545 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.364
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iatomasi, Jason                                                     Contingent
          2200 Hitching Post Lane                                             Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ibe, Adamma                                                         Contingent
          2821 Royal Bluff                                                    Unliquidated
          Decatur, Georgia 30030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ice Services                                                        Contingent
          2606 C Street                                                       Unliquidated
          Barrow, AK 32226-2400
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ICL Americas LLC                                                    Contingent
          622 Emerson Rd                                                      Unliquidated
          Suite 500
                                                                              Disputed
          St. Louis, MO 63141
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.364
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ICON Burger Acquisition LLC dba Smashbur                            Contingent
          3900 E. Mexico Ave, Suite 1200                                      Unliquidated
          Denver, CO 80210
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Idaho State Tax Commission                                          Contingent
          PO Box 36                                                           Unliquidated
          Boise, ID 83722-0410
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ideal Industries, Inc.                                              Contingent
          One Becker Place                                                    Unliquidated
          Sycamore, IL 60178
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 522 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 546 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.364
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          IDEX Corporation                                                    Contingent
          1925 West Field Ct Suite 200                                        Unliquidated
          Lake Forest, IL 60045
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          IEC Electronics                                                     Contingent
          105 Norton Street                                                   Unliquidated
          Newark, NY 14513
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          IFS NORTH AMERICA                                                   Contingent
          300 Park Blvd Suite #555                                            Unliquidated
          Itasca, IL 60143
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iheke, James                                                        Contingent
          900 Hunters glen                                                    Unliquidated
          Murphy, Texas 75094-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          IHI E&C International Corporation                                   Contingent
          1080 Eldridge Parkway                                               Unliquidated
          Houston, TX 77077
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ikanovic, Emina                                                     Contingent
          2411 Ashby Ave                                                      Unliquidated
          Berkley, California 94705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ikenberry, Tracey                                                   Contingent
          11908 Blandfield St                                                 Unliquidated
          Richmond, Virginia 23233-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 523 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 547 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.365
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ilenda, Kimberly                                                    Contingent
          3825 Meade Street                                                   Unliquidated
          Denver, Colorado 80211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ilic, Vladimir                                                      Contingent
          1226 W Pratt BLVD                                                   Unliquidated
          Apt #3S
                                                                              Disputed
          Chicago, Illinois 60626-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.365
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iliev, Branimir                                                     Contingent
          128 Windward Dr                                                     Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Illinois Credit Union League                                        Contingent
          1807 W Diehl Road                                                   Unliquidated
          Naperville, IL 60566
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Illinois Department of Revenue                                      Contingent
          Bankruptcy Section                                                  Unliquidated
          PO Box 19035
                                                                              Disputed
          Springfield, IL 62794-9035
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.366
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Illinois Education Association                                      Contingent
          100 E. Edwards Street                                               Unliquidated
          Springfield, IL 62704
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ILLINOIS VALLEY COMMUNITY COLLEGE                                   Contingent
          815 N Orlando Smith Ave                                             Unliquidated
          Oglesby, IL 61348
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 524 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 548 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.366
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ILSCO CORPORATION                                                   Contingent
          4730 Madison Road                                                   Unliquidated
          Cincinnati, OH 45227
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Imbornone, Michelle                                                 Contingent
          4 Derosier Drive                                                    Unliquidated
          Middleton, Massachusetts 01949-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,872.04
          Impact aka Illinois Paper & Copier                                  Contingent
          75 Remittance Drive                                                 Unliquidated
          Suite 1076
                                                                              Disputed
          Chicago, IL 60675
          Date(s) debt was incurred 5/4/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.366
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Imperato, Elizabeth                                                 Contingent
          2543 Mesa School Lane                                               Unliquidated
          Santa Barbara, California 93109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          INALFA ROOF SYSTEMS                                                 Contingent
          3331 W. Big Beaver Rd Suite 200                                     Unliquidated
          Troy, MI 48084
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          INC Research                                                        Contingent
          3201 Beechleaf Ct Ste 600                                           Unliquidated
          Raleigh, NC 27604-1500
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Index Systems, Inc.                                                 Contingent
          250 Montgomery Street Suite 61                                      Unliquidated
          San Francisco, CA 94104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 525 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 549 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.366
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Industrial Maintenance                                              Contingent
          1431 Pershing Rd                                                    Unliquidated
          Chicago, IL 60609
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Industries for the Blind and Visually Im                            Contingent
          445 S. Curtis                                                       Unliquidated
          West Allis, Wi 53214
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Industry Bancshares                                                 Contingent
          7910 Ernst Parkway P.O. Box 87                                      Unliquidated
          Industry, TX 78944
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Infante, Edgardo                                                    Contingent
          1317 S 49th Ct                                                      Unliquidated
          Cicero, Illinois 60804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Infogix, Inc.                                                       Contingent
          1240 East Diehl Rd.                                                 Unliquidated
          Suite 400
                                                                              Disputed
          Naperville, IL 60563
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.367
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ingarra, Jenny                                                      Contingent
          84 Robinwood Dr                                                     Unliquidated
          Clifton Park, New York 12065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Inge, Margaret                                                      Contingent
          1314 A State Street                                                 Unliquidated
          New Orleans, Louisiana 70118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 526 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 550 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.367
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ingenia Polymers, Inc                                               Contingent
          2222 Appelt Drive                                                   Unliquidated
          Houston, TX 77015
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ingerick, Shelby                                                    Contingent
          465 Oxford St. Apt 6                                                Unliquidated
          Rochester, New York 14607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ingersoll, Gwendolyn                                                Contingent
          1126 Richmond Drive                                                 Unliquidated
          Fort Collins, Colorado 80526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ingold, Brittany                                                    Contingent
          513 S. Calumet Avenue                                               Unliquidated
          Aurora, Illinois 60506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ingram, Jennifer                                                    Contingent
          45759 Samantha Dr                                                   Unliquidated
          Canton, Michigan 48188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ingredion Incorporated                                              Contingent
          5 Westbrook Corporate Center                                        Unliquidated
          Westchester, IL 60154
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Inland Tarp & Cover                                                 Contingent
          701 5th Ave, Suite 4900                                             Unliquidated
          Seattle, WA 98104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 527 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 551 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.368
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Innovation Associates Inc                                           Contingent
          530 Columbia Dr Ste 101                                             Unliquidated
          Johnson City, NY 13790
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Inogen, Inc.                                                        Contingent
          326 Bollay Dr                                                       Unliquidated
          Goleta, CA 93117
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $344.42
          Inspire Associates Inc                                              Contingent
          PO Box 75335 Leslie Street PO                                       Unliquidated
          Toronto, ON M4M 1B0
                                                                              Disputed
          Date(s) debt was incurred 4/11/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          INT, Inc.                                                           Contingent
          251 Milwaukee Ave.                                                  Unliquidated
          Suite 200
                                                                              Disputed
          Buffalo Grove, IL 60089
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.368
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Intec Group                                                         Contingent
          666 South Vermont Street                                            Unliquidated
          Palatine, IL 60067
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Integration Appliance, Inc./Intapp                                  Contingent
          3200 Park Blvd                                                      Unliquidated
          Palo Alto, CA 94306
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,471.23
          IntelePeer Cloud Communications, LLC                                Contingent
          Dept. LA 24295                                                      Unliquidated
          Pasadena, CA 91185-4295
                                                                              Disputed
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 528 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 552 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.369
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Intelligent Switchgear Organization                                 Contingent
          4955 Marconi Drive                                                  Unliquidated
          Alpharetta, GA 30005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Interactive Health Healthy Triumph                                  Contingent
          1700 East Golf Road, Ste 900                                        Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Intercept Interactive Inc. dba Undertone                            Contingent
          340 Madison Ave. 8th FL                                             Unliquidated
          New York, NY 10173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Interconnect Wiring, LLP                                            Contingent
          5024 W Vickery BLVD                                                 Unliquidated
          Fort Worth, TX 76107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,300.00
          iNTERFACEWARE Inc                                                   Contingent
          672 Dupont Street, Suite 505                                        Unliquidated
          Toronto, ON M6G 1Z6
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $369.41
          Intermountain Laboratory Services                                   Contingent
          P.O Box 30180                                                       Unliquidated
          Salt Lake City, UT 84130-0180
                                                                              Disputed
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          International Contractors, Inc.                                     Contingent
          977 South Route 83                                                  Unliquidated
          Elmhurst, IL 60126
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 529 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 553 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.369
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          International Controls & Measurements Co                            Contingent
          7313 William Barry Blvd                                             Unliquidated
          North Syracuse, NY 13212
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          International Entertainment Consultants                             Contingent
          390 Union Blvd., Suite 540                                          Unliquidated
          Lakewood, CO 80228
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          International Mold                                                  Contingent
          23225 Giacoma Ct                                                    Unliquidated
          Clinton Township, MI 48036
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          International Union of Painters and Alli                            Contingent
          7234 Parkway Drive                                                  Unliquidated
          Hanover, MD 21076
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Intralot Inc.                                                       Contingent
          575 West Crossroads Parkway                                         Unliquidated
          Bolingbrook, IL 60440
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          INTREN, LLC                                                         Contingent
          18202 W. Union Rd.                                                  Unliquidated
          Union, IL 60180
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Inturi, Sreenivasa                                                  Contingent
          412 Victor Ln                                                       Unliquidated
          Lake Zurich, Illinois 60047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 530 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 554 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.370
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Inyangala, Dorothy                                                  Contingent
          23200 Forest North Drive                                            Unliquidated
          APT 101
                                                                              Disputed
          Kingwood, Texas 77339-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.370
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iowa Department of Revenue
          Office of the Attorney General of Iowa                              Contingent
          Attn: Bankruptcy Unit                                               Unliquidated
          1305 E. Walnut                                                      Disputed
          Des Moines, IA 50319
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.370
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ipema, Elizabeth                                                    Contingent
          7710 W 165th Place                                                  Unliquidated
          Tinley Park, Illinois 60477-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          IPMG                                                                Contingent
          225 Smith Road                                                      Unliquidated
          St. Charles, IL 60174
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ipsa, Lainie                                                        Contingent
          4211 Spyglass Hill                                                  Unliquidated
          Mason, Ohio 45040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irby, Leah                                                          Contingent
          7256 Southwick Court                                                Unliquidated
          Frankfort, Illinois 60423-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 531 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 555 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.371
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irby-Moore, Sharon                                                  Contingent
          7403 Huntington Dr                                                  Unliquidated
          St. Louis, Missouri 63121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iris USA                                                            Contingent
          13423 W. Cactus Road                                                Unliquidated
          Surprise, AZ 85379
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irish, Aaron                                                        Contingent
          6611 SW Multnomah Bv                                                Unliquidated
          Portland, Oregon 97223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irlbeck, Kimberly                                                   Contingent
          3645 Rockaway St                                                    Unliquidated
          Fort Collins, Colorado 80526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irma Herrera Olson                                                  Contingent
          860 Lawrence Dr                                                     Unliquidated
          San Luis Obispo, CA 93401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iroanya, Charlene                                                   Contingent
          2120 El Paseo                                                       Unliquidated
          Apt. 618
                                                                              Disputed
          Houston, Texas 77054-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.371
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,300.93
          Iron Mountain Offsite Data Protection                               Contingent
          P.O. Box 27129                                                      Unliquidated
          New York, NY 10087-7129
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 532 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 556 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.371
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iron Workers Local #395                                             Contingent
          6570 Ameriplex Drive                                                Unliquidated
          Portage, IN 46368
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ironform Corp                                                       Contingent
          311 W Superior St.                                                  Unliquidated
          Chicago, IL 60654
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irvin, Shicara                                                      Contingent
          750 East Mid Cities Blvd Apt                                        Unliquidated
          1602
                                                                              Disputed
          Euless, Texas 76039-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.372
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irving, Kathryn                                                     Contingent
          604 Leonidas Ct.                                                    Unliquidated
          Raleigh, North Carolina 27604-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irving, Michelle                                                    Contingent
          2517 Paintbrush Drive                                               Unliquidated
          Palmdale, California 93551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irwin County Hospital                                               Contingent
          710 North Irwin Ave                                                 Unliquidated
          Ocilla, GA 31774
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irwin, Brenda                                                       Contingent
          4330 Harley Way                                                     Unliquidated
          Murfreesboro, Tennessee 37129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 533 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 557 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.372
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irwin, Megan                                                        Contingent
          1316 Nw Sheridan Rd, Pmb 177                                        Unliquidated
          Lawton, Oklahoma 73501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Isaac, Olakunle                                                     Contingent
          63 Capella Court                                                    Unliquidated
          Baltimore, Maryland 21237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Island Kinetics, Inc                                                Contingent
          460 S Benson Lane Suite 3                                           Unliquidated
          Chandler, AZ 85224
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Island Mountain Development Group                                   Contingent
          353 Old Hays Rd.                                                    Unliquidated
          Hayes, MT 59527
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Israel, Anita                                                       Contingent
          279 Hoxie Ave                                                       Unliquidated
          Calumet City
                                                                              Disputed
          Calumet City, Illinois 60409-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.372
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ISW                                                                 Contingent
          1901 N Narragansett Ave                                             Unliquidated
          Chicago, IL 60639
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Italgrani U.S.A., Inc.                                              Contingent
          7900 Van Buren St                                                   Unliquidated
          St. Louis, MO 63111
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 534 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 558 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.373
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Itasca School District 10                                           Contingent
          200 N Maple Street                                                  Unliquidated
          Itasca, IL 60143
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,818.13
          Itentive Healthcare Solutions                                       Contingent
          650 E. Devon Ave, Suite 135                                         Unliquidated
          Itasca, IL 60143
                                                                              Disputed
          Date(s) debt was incurred 2/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ivancich, Brittany                                                  Contingent
          17432 Valley View Drive                                             Unliquidated
          Tinley Park, Illinois 60477-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ivanova, Rosita                                                     Contingent
          1496 Westford Cir., APT 308                                         Unliquidated
          Westlake, Ohio 44145-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ivery, Alecia                                                       Contingent
          5043 South Ada                                                      Unliquidated
          Chicago, Illinois 60609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ives, Lauren                                                        Contingent
          1392 East Crossing Place                                            Unliquidated
          Westlake, Ohio 44145-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ivoclar Vivadent                                                    Contingent
          175 Pineview Drive                                                  Unliquidated
          Amherst, NY 14228
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 535 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 559 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.373
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Iwunze, Akuchii                                                     Contingent
          2611 Teal Run Place Drive                                           Unliquidated
          Fresno, Texas 77545-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Izzo, John                                                          Contingent
          177 Hamilton Drive                                                  Unliquidated
          Manchester, Connecticut 06042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          J.F. Brennan                                                        Contingent
          818 Bainbridge Street                                               Unliquidated
          LaCrosse, WI 54603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          J.W. Terrill                                                        Contingent
          825 Maryville Center Dr. #200                                       Unliquidated
          Chesterfield, MO 63017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jac Products, Inc.                                                  Contingent
          3937 Campus Drive                                                   Unliquidated
          Pontiac, MI 48341
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          JACKSON TUBE SERVICE                                                Contingent
          8210 Industry Park Drive                                            Unliquidated
          Piqua, OH 45356
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.00
          Jackson Whole Family Health                                         Contingent
          PO Box 10738                                                        Unliquidated
          Jackson, WY 83002
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 536 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 560 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.374
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Alema                                                      Contingent
          9615 South Lowe Avenue                                              Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Alisia                                                     Contingent
          4444 W 87th St. Apt2S                                               Unliquidated
          Chicago, Illinois 60652-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Catherine                                                  Contingent
          8061 Back Bay Court, Apt 1A                                         Unliquidated
          Dayton, Ohio 45458-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Ebony                                                      Contingent
          11804 Wimbleton Ct                                                  Unliquidated
          Upper Marlboro, Maryland 20774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Jasmine                                                    Contingent
          1625 e celebrity                                                    Unliquidated
          Hanover park, Illinois 61033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Justice                                                    Contingent
          384 Gazaway Rd                                                      Unliquidated
          Boaz, Alabama 35956-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Katrina                                                    Contingent
          421 Beaver dr                                                       Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 537 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 561 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.375
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Kina                                                       Contingent
          2219 Waverly Dell Drive                                             Unliquidated
          Winston-Salem, North Carolina 27127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Latonya                                                    Contingent
          18577 Cedar Ave                                                     Unliquidated
          Country Club Hills, Illinois 60478-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, LaTonya                                                    Contingent
          800 Butler Drive                                                    Unliquidated
          Longview, Texas 75602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Lisa                                                       Contingent
          15815 S Lakewood Pkwy W                                             Unliquidated
          Apt 2115
                                                                              Disputed
          Phoenix, Arizona 85048-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.375
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Lucreshia                                                  Contingent
          125 Roosevelt Pkwy                                                  Unliquidated
          Jackson, Tennessee 38301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Melissa                                                    Contingent
          4203 Monticello Terrace Lane                                        Unliquidated
          Katy, Texas 77449-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Merlicia                                                   Contingent
          620 Yates Ave                                                       Unliquidated
          Calumet City, Illinois 60409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 538 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 562 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.375
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Nichole                                                    Contingent
          174 N. Mount Tabor Rd                                               Unliquidated
          Apt 230
                                                                              Disputed
          Lexington, Kentucky 40509-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.376
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Sean                                                       Contingent
          3939 Rosemeade Pkwy #10219                                          Unliquidated
          Dallas, Texas 75287-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Shevelle                                                   Contingent
          PO Box 511                                                          Unliquidated
          White Marsh, Virginia 23183-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Stephanie                                                  Contingent
          1029 Shadowood Lane                                                 Unliquidated
          Crystal Lake, Illinois 60014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Tanya                                                      Contingent
          1312 West 23rd Avenue                                               Unliquidated
          Pine Bluff, Arkansas 71603-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Tedrick                                                    Contingent
          3443 Edenborn Ave Apt 213                                           Unliquidated
          Metairie, Louisiana 70002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jackson, Torri                                                      Contingent
          260 Marcella Rd                                                     Unliquidated
          Apt. 1214
                                                                              Disputed
          Hampton, Virginia 23666-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 539 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 563 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.376
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jacob, Rosa                                                         Contingent
          1305 Hastings Road                                                  Unliquidated
          Woodridge, Illinois 60517-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jacobs, Kelly                                                       Contingent
          764 Barton Way                                                      Unliquidated
          Benicia, California 94510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jacobson, Dena                                                      Contingent
          786 SE Kierra Place                                                 Unliquidated
          Madras, Oregon 97741-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jacobson, Eric                                                      Contingent
          630 ist Ave N #313                                                  Unliquidated
          Fargo, North Dakota 58102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jacobson, Laura                                                     Contingent
          131 SE 24th Ave, Apt. A                                             Unliquidated
          Portland, Oregon 97214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jacquelin, Helene                                                   Contingent
          6439 N Foothills Drive                                              Unliquidated
          Tucson, Arizona 85718-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jacuzzi Brands Corporation                                          Contingent
          13925 City Center Drive, Suite 200                                  Unliquidated
          Chino Hills, CA 91709
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 540 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 564 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.377
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jade Corporation                                                    Contingent
          3063-A Philmont Ave                                                 Unliquidated
          Huntingdon Valley, PA 19006
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jagodzinski, Austin                                                 Contingent
          10 Avonmore Court                                                   Unliquidated
          Baltimore, Maryland 21128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jain, Aparna                                                        Contingent
          821 W. Barre Street                                                 Unliquidated
          Baltimore, Maryland 21230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          JAM Industries USA, LLC                                             Contingent
          4325 Executive Drive Suite 300                                      Unliquidated
          Southaven, MS 38672
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jamerson, Saquana                                                   Contingent
          511 Waters Edge Drive, Apt G                                        Unliquidated
          Newport News, Virginia 23606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Christina                                                    Contingent
          47 Sidney Street                                                    Unliquidated
          Rochester, New York 14609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Christine                                                    Contingent
          21603 NE 24th Street                                                Unliquidated
          Sammamish, Washington 98074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 541 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 565 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.378
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Iesha                                                        Contingent
          8818 Pascagoula Drive                                               Unliquidated
          Baton Rouge, Louisiana 70810-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Jennifer                                                     Contingent
          7131 South Champlain Avenue                                         Unliquidated
          Chicago, Illinois 60619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Kellee                                                       Contingent
          134-44 157th Street                                                 Unliquidated
          Jamaica, New York 11434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Penny                                                        Contingent
          1751 Bayou Drive                                                    Unliquidated
          Shreveport, Louisiana 71105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Priscilla                                                    Contingent
          375 Old Alemany Place                                               Unliquidated
          Oviedo, Florida 32765-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Samantha                                                     Contingent
          221 Pinebrook School Road                                           Unliquidated
          Mocksville, North Carolina 27028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Sheila                                                       Contingent
          4608 Marque Dr                                                      Unliquidated
          New Orleans, Louisiana 70127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 542 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 566 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.378
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James, Sherry                                                       Contingent
          141 plummer Avenue                                                  Unliquidated
          Neenah, Wisconsin 54956-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jamestown BPU                                                       Contingent
          92 Steele Street                                                    Unliquidated
          PO Box 700
                                                                              Disputed
          Jamestown, NY 14702
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.378
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jamestown Community College                                         Contingent
          525 Falconer St,                                                    Unliquidated
          Jamestown, NY 14701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jamie Shifley                                                       Contingent
          6211 Park Ave                                                       Unliquidated
          Downers Grove, IL 60516
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jamison, Tracey                                                     Contingent
          10211 Granada Lane                                                  Unliquidated
          Overland Park, Kansas 66207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Janet Arenas                                                        Contingent
          3652 W. 60th Pl                                                     Unliquidated
          Chicago, IL 60629
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Janicek, Sarah                                                      Contingent
          340 N Brockway St.                                                  Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 543 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 567 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.379
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jankowski, Lindsey                                                  Contingent
          85 S. 38th St.                                                      Unliquidated
          Boulder, Colorado 80305-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jansen, Brigitta                                                    Contingent
          32 Pinewood Trail                                                   Unliquidated
          Deep River, Connecticut 06417-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jansing, Stephanie                                                  Contingent
          100 Calverton Road                                                  Unliquidated
          St. Louis, Missouri 63135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jaquez, Olga                                                        Contingent
          28-15 34 Street Apt. 6C                                             Unliquidated
          Astoria, New York 11103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jaramillo, Felicia                                                  Contingent
          2805 victory blvd lot 6                                             Unliquidated
          Portsmouth, Virginia 23702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jarrett, Kyla                                                       Contingent
          519 Waters Edge Dr, Apt J                                           Unliquidated
          Newport News, Virginia 23606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jauvtis, Donna                                                      Contingent
          30 Webb Street                                                      Unliquidated
          Lexington, Massachusetts 02420-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 544 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 568 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.380
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          JC Muyl                                                             Contingent
          141 East 3rd Street                                                 Unliquidated
          #9C
                                                                              Disputed
          New York, NY 10009
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.380
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jean-Baptiste, Dieudonne                                            Contingent
          8131 S Euclid Ave                                                   Unliquidated
          Chicago, Illinois 60617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jeannis, Patricia                                                   Contingent
          461 Barbara Lane                                                    Unliquidated
          West Hempstead, New York 11552-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jefferies, Latonya                                                  Contingent
          3962 Loufield Dr                                                    Unliquidated
          Fayetteville, North Carolina 28311-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jeffers, Kia                                                        Contingent
          21209 Lassen St, Unit 1                                             Unliquidated
          Chatsworth, California 91311-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jefferson - East Falls Campus                                       Contingent
          4201 Henry Ave                                                      Unliquidated
          Philadelphia, PA 19144
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jefferson Health New Jersey                                         Contingent
          30 East Laurel Road                                                 Unliquidated
          Stratford, NJ 08084
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 545 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 569 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.380
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jellig, Christine                                                   Contingent
          PO Box 254                                                          Unliquidated
          Long Beach, New York 11561-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jenkins County Board of Commissioners                               Contingent
          548 Cotton Avenue                                                   Unliquidated
          Millen, GA 30442
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jenkins, Joanie                                                     Contingent
          1823 Simpson St                                                     Unliquidated
          Evanston, Illinois 60201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jenkins, Karli                                                      Contingent
          13047 S. Padstow Lane                                               Unliquidated
          Herriman, Utah 84096-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jenkins, Kwannisha                                                  Contingent
          1103 Grand Blvd #1502                                               Unliquidated
          Kansas City, Missouri 64106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jenkins, Patti                                                      Contingent
          18293 Manchac Place South                                           Unliquidated
          Prairieville, Louisiana 70769-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jenkins, Rachael                                                    Contingent
          3615 - 156th St Sw, Apt 22                                          Unliquidated
          Lynnwood, Washington 98087-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 546 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 570 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.381
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jenkins-Gunn, Michael                                               Contingent
          173 Pittston circle                                                 Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jenner & Block                                                      Contingent
          353 N. Clark St.                                                    Unliquidated
          Chicago, IL 60654
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jennings, Amy                                                       Contingent
          217 Boston Street                                                   Unliquidated
          Oneida, New York 13421-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jennings, George                                                    Contingent
          20940 McLouth Road                                                  Unliquidated
          Tonganoxie, Kansas 66086-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jennings, Melinda                                                   Contingent
          20940 McLouth Road                                                  Unliquidated
          Tonganoxie, Kansas 66086-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jensen, Esther                                                      Contingent
          363 Hartridge Drive                                                 Unliquidated
          Hartland, Wisconsin 53029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jensen, Maialisa                                                    Contingent
          831 Adams Avenue Apartment 28                                       Unliquidated
          Scranton, Pennsylvania 18510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 547 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 571 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.382
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jensen, Paul                                                        Contingent
          925 Knollwood Dr                                                    Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jensen, Tani                                                        Contingent
          6314 Brett Ashley Place                                             Unliquidated
          Johnston, Iowa 50131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jepsen, Laina                                                       Contingent
          2726 Santa Clara St                                                 Unliquidated
          Napa, California 94558-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jeron Electronic Systems                                            Contingent
          7501 North Natchez Ave.                                             Unliquidated
          Niles, IL 60714
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jesmok, Sara                                                        Contingent
          1524 S 59th Street                                                  Unliquidated
          West Allis, Wisconsin 53214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jessica Sieja                                                       Contingent
          2261 Elkridge Circle                                                Unliquidated
          Highland, MI 48356
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          JEWELL GRAIN COMPANY                                                Contingent
          8049 Independence Road                                              Unliquidated
          Defiance, OH 43512
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 548 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 572 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.382
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jillson, Amanda                                                     Contingent
          10005 Bunn Road                                                     Unliquidated
          Pleasant Plains, Illinois 62677-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jimenez, Elias                                                      Contingent
          122 N Dewberry Dr                                                   Unliquidated
          Midland, Texas 79703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jimenez, Jeanette                                                   Contingent
          7221 Willet Circle                                                  Unliquidated
          Carlsbad, California 92011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jimenez, Rebecca                                                    Contingent
          110 Mirante Dr                                                      Unliquidated
          Leesville, Louisiana 71446-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jimenez-Morales, Alma                                               Contingent
          1457 East 58th Street                                               Unliquidated
          Los Angeles, California 90011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jin, Dayu                                                           Contingent
          1811 Ocean parkway Apt 2L                                           Unliquidated
          Brooklyn, New York 11223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jindani, Chantal                                                    Contingent
          3226 Middlesex Drive                                                Unliquidated
          Unit D
                                                                              Disputed
          Toledo, Ohio 43606-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 549 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 573 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.383
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jinez, Christina                                                    Contingent
          707 Owensons Dr                                                     Unliquidated
          Dallas, Texas 75224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jirari, Miriam                                                      Contingent
          2655 Bellezza Dr                                                    Unliquidated
          San Diego, California 92108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joaca-Bine, Alina                                                   Contingent
          2116 Houston Ave.                                                   Unliquidated
          Apt. A
                                                                              Disputed
          Norman, Oklahoma 73071-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.383
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jobke, Jennifer                                                     Contingent
          N30 W23913 Green Road                                               Unliquidated
          APT 13
                                                                              Disputed
          Pewaukee, Wisconsin 53072-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.384
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joe, Lindsey                                                        Contingent
          2612 Belmont Blvd                                                   Unliquidated
          Nashville, Tennessee 37212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johal, Rajina                                                       Contingent
          10129 Clairina Way                                                  Unliquidated
          Elk Grove, California 95757-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johal, Susan                                                        Contingent
          10129 Clairina Way                                                  Unliquidated
          Elk Grove, California 95757-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 550 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 574 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.384
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          John A. Logan College                                               Contingent
          700 Logan College Rd                                                Unliquidated
          Carterville, IL 62918
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          John Bean Technologies Corporation                                  Contingent
          70 West Madison Suite 4400                                          Unliquidated
          Chicago, IL 60602
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          John Soules Foods                                                   Contingent
          10150 FM 14                                                         Unliquidated
          Boca Raton, FL 33487-8229
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          John, Jeffi                                                         Contingent
          62 W. Rutland Square                                                Unliquidated
          Apt. 6
                                                                              Disputed
          Boston, Massachusetts 02118-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.384
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          John, Tracy                                                         Contingent
          14222 Umbercove Ct                                                  Unliquidated
          Houston, Texas 77048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,266.92
          Johnson Control -IH                                                 Contingent
          P.O Box 371967                                                      Unliquidated
          Pittsburgh, PA 15250-7967
                                                                              Disputed
          Date(s) debt was incurred 4/11/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Abby                                                       Contingent
          17430 Logans Drive                                                  Unliquidated
          Eden Prairie, Minnesota 55346-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 551 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 575 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.385
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Adolph                                                     Contingent
          1509 E. 86th Place                                                  Unliquidated
          Chicago, Illinois 60619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Alicia                                                     Contingent
          10251 Cottage Ct.                                                   Unliquidated
          Diberville, Mississippi 39540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Andrea                                                     Contingent
          1306 Linnea Lane                                                    Unliquidated
          Missoula, Montana 59801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Arlene                                                     Contingent
          642 Freedom Ave                                                     Unliquidated
          Johnstown, Pennsylvania 15904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Bivory                                                     Contingent
          9800 MESA LINDA STREET                                              Unliquidated
          243
                                                                              Disputed
          HESPERIA, California 92345-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.385
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Bonnie                                                     Contingent
          515 Percy Miller Road                                               Unliquidated
          Hazlehurst, Georgia 31539-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Bryan                                                      Contingent
          21001 North Tatum Boulevard                                         Unliquidated
          Suite 1630-296
                                                                              Disputed
          Phoenix, Arizona 85050-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 552 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 576 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.385
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Charity                                                    Contingent
          12302 W. Cathedral Ave.                                             Unliquidated
          Wauwatosa, Wisconsin 53226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Chelsea                                                    Contingent
          5924 Quercus Cove Court                                             Unliquidated
          Apt 213
                                                                              Disputed
          Charlotte, North Carolina 28217-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.385
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Christy                                                    Contingent
          62364 Hwy 434                                                       Unliquidated
          Lacombe, Louisiana 70445-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Corrine                                                    Contingent
          509 1/2 Center St                                                   Unliquidated
          Winona, Minnesota 55987-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Cynthia                                                    Contingent
          15323-A Addicks Stone Drive                                         Unliquidated
          Houston, Texas 77083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Dawn                                                       Contingent
          6502 Thornhurst Court                                               Unliquidated
          St. Louis, Missouri 63129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Devon                                                      Contingent
          3182 S ST                                                           Unliquidated
          Sacramento, California 95816-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 553 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 577 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.386
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Diane                                                      Contingent
          3098 Mercedes Dr                                                    Unliquidated
          Green Bay, Wisconsin 54313-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Erika                                                      Contingent
          1818 W. Sunnyside Ave. Apt 2R                                       Unliquidated
          Chicago, Illinois 60640-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Erin                                                       Contingent
          1298 Franklin St                                                    Unliquidated
          Old Forge, Pennsylvania 18518-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Glenn                                                      Contingent
          4205 Se 180th Ct                                                    Unliquidated
          Vancover, Washington 98683-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Gloria                                                     Contingent
          2502 Willow St.                                                     Unliquidated
          Pekin, Illinois 61554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Hanna                                                      Contingent
          12 Cedar St                                                         Unliquidated
          Minooka, Illinois 60447-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Ieshea                                                     Contingent
          3236 Oakridge Dr                                                    Unliquidated
          Corsicana, Texas 75110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 554 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 578 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.387
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Jennifer                                                   Contingent
          2910 S Dearborn St                                                  Unliquidated
          APT 304
                                                                              Disputed
          Chicago, Illinois 60616-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.387
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Jill                                                       Contingent
          9a South Commons Rd                                                 Unliquidated
          Lincoln, Massachusetts 01773-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Jordan                                                     Contingent
          PO Box 132                                                          Unliquidated
          Lacombe, Louisiana 70445-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Joyce                                                      Contingent
          231 W Rankin St                                                     Unliquidated
          Flint, Michigan 48505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Kamika                                                     Contingent
          1929 Marylake Way                                                   Unliquidated
          Murfreesboro, Tennessee 37128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Kazelle                                                    Contingent
          121 Weymouth Street                                                 Unliquidated
          Upper Marlboro, Maryland 20774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Kelly                                                      Contingent
          3333 5th Avenue Unit 3D                                             Unliquidated
          South Milwaukee, Wisconsin 53172-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 555 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 579 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.387
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Kendall & Johnson, Inc.                                    Contingent
          109 Pheasant Run                                                    Unliquidated
          Newtown, PA 18940
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Kentrelle                                                  Contingent
          11210 SW 138 Terrace                                                Unliquidated
          Miami, Florida 33176-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, La'Kesha                                                   Contingent
          5653 Purdue APT A                                                   Unliquidated
          Baltimore, Maryland 21239-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Lauren                                                     Contingent
          4506 Hycliffe Dr                                                    Unliquidated
          Troy, Michigan 48098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Lisa                                                       Contingent
          4406 Franklin Terrace                                               Unliquidated
          Beltsville, Maryland 20705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Livja                                                      Contingent
          2213 Brooksfield St.                                                Unliquidated
          Ellensburg, Washington 98926-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, M.                                                         Contingent
          Po Box 320232                                                       Unliquidated
          Tampa, Florida 33679-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 556 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 580 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.388
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Marin                                                      Contingent
          10 Jameco Mill Rd                                                   Unliquidated
          Scarborough, Maine 04074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Melissa                                                    Contingent
          113 Libert Street                                                   Unliquidated
          Franklin, Pennsylvania 16323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Patricia                                                   Contingent
          4725 N Kenneth Ave                                                  Unliquidated
          Chicago, Illinois 60630-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Patricia                                                   Contingent
          639 Poplar Ave                                                      Unliquidated
          Romeoville, Illinois 60446-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Patrick                                                    Contingent
          6236 S Fox Chase                                                    Unliquidated
          Pendleton, Indiana 46064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Peter                                                      Contingent
          3902 Spring Creek Ct                                                Unliquidated
          Abingdon, Maryland 21009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Quenetta                                                   Contingent
          1737 Moulton Road                                                   Unliquidated
          Louisburg, North Carolina 27549-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 557 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 581 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.389
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Rae-Anna                                                   Contingent
          7127 Stone Ct                                                       Unliquidated
          Columbus, Ohio 43235-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Rebecca                                                    Contingent
          2652 W. 900 N.                                                      Unliquidated
          Layton, Utah 84041-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Renaldo                                                    Contingent
          31 Straw Hat Road                                                   Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Ricky                                                      Contingent
          10111 S. Saint Lawrence Ave.                                        Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Ronnetta                                                   Contingent
          1202 Wild Goose Trail                                               Unliquidated
          Summerville, South Carolina 29483-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Sara                                                       Contingent
          2014 S. 102nd St.                                                   Unliquidated
          Apt. 306
                                                                              Disputed
          West Allis, Wisconsin 53227-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.389
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Shawnte                                                    Contingent
          12554 W Amelia Ave                                                  Unliquidated
          Avondale, Arizona 85392-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 558 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 582 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.389
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Stacey                                                     Contingent
          660 West Dempster Street                                            Unliquidated
          1E
                                                                              Disputed
          Mount Prospect, Illinois 60056-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.390
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Stephanie                                                  Contingent
          7599 Cambridge St                                                   Unliquidated
          Houston, Texas 77054-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Taniqua                                                    Contingent
          716 River Creek Rd                                                  Unliquidated
          Chesapeake, Virginia 23320-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Tasha                                                      Contingent
          103 Birdie Lane                                                     Unliquidated
          Elizabeth City, North Carolina 27909-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Thashawna                                                  Contingent
          14300 32nd Ave NE #310                                              Unliquidated
          Seattle, Washington 38125-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Vannessa                                                   Contingent
          4100 North us hwy 29 lot 51                                         Unliquidated
          greensboro, North Carolina 27405-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Willa                                                      Contingent
          6511 South Fresno                                                   Unliquidated
          Fort Smith, Arkansas 72903-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 559 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 583 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.390
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, William                                                    Contingent
          8132 Belfast Street                                                 Unliquidated
          New Orleans, Louisiana 70118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnson, Yolanda                                                    Contingent
          15211 Dorchester Ave                                                Unliquidated
          Dolton, Illinois 60419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnsonville Sausage                                                Contingent
          N6928 Johnsonville Way                                              Unliquidated
          Sheboygan Falls, WI 53085
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnston, Catherine                                                 Contingent
          19466 Weinberger Rd                                                 Unliquidated
          Ponchatoula, Louisiana 70454-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnston, Cheri                                                     Contingent
          237 Crestwood Dr.                                                   Unliquidated
          Gaylord, Michigan 49735-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnston, Deborah                                                   Contingent
          1026 Kiefer Ridge Dr.                                               Unliquidated
          Ballwin, Missouri 63021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnston, Emily                                                     Contingent
          1011 Curtiss Avenue                                                 Unliquidated
          Ames, Iowa 50010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 560 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 584 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.391
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Johnston, Kristi                                                    Contingent
          6 Pine Tree Ct                                                      Unliquidated
          Kewanee, Illinois 61443-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jolly, Liji                                                         Contingent
          6539 Deseo Street Apt 3102                                          Unliquidated
          Irving, Texas 75039-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jon Don, Inc.                                                       Contingent
          400 Medinah Road                                                    Unliquidated
          Roselle, IL 60172
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jonathan Bond                                                       Contingent
          Fortitude Systems                                                   Unliquidated
          P.O. Box 76383
                                                                              Disputed
          Baltimore, MD 21275-6383
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.391
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones Memorial Hospital                                             Contingent
          191 North Main Street                                               Unliquidated
          Wellsville, NY 14895
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Achsah                                                       Contingent
          14311 Page Ave                                                      Unliquidated
          Dixmoor, Illinois 60426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Alexandria                                                   Contingent
          9242 E Ave T 4                                                      Unliquidated
          Littlerock, California 93543-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 561 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 585 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.392
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Amanda                                                       Contingent
          38594 Cheldon                                                       Unliquidated
          Clinton Township, Michigan 48038-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Angelia                                                      Contingent
          170 Bridlewood Drive                                                Unliquidated
          Jacksonville, North Carolina 28540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Aniya                                                        Contingent
          718 Benninghaus Rd                                                  Unliquidated
          Baltimore, Maryland 21212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Ashley                                                       Contingent
          3773 Timberglen Road                                                Unliquidated
          #1801
                                                                              Disputed
          Dallas, Texas 75287-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.392
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, C.                                                           Contingent
          3754 Westwood Blvd                                                  Unliquidated
          Los Angeles, California 90034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Chantell                                                     Contingent
          1829 Southpointe Drive                                              Unliquidated
          Apt #4
                                                                              Disputed
          Baton Rouge, Louisiana 70808-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.392
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Cristy                                                       Contingent
          805 Wisconsin Lane                                                  Unliquidated
          Elk Grove Village, Illinois 60007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 562 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 586 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.392
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Daarina                                                      Contingent
          1301 Willard Str Unit A                                             Unliquidated
          Greensboro, North Carolina 27405-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Donna                                                        Contingent
          272 West Whitesand Rd                                               Unliquidated
          Newhebron, Mississippi 39140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Elizabeth                                                    Contingent
          4300 Hampton Creek Dr                                               Unliquidated
          Louisville, Kentucky 40241-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Ella                                                         Contingent
          4258 Joe Louis St                                                   Unliquidated
          Shreveport, Louisiana 71109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Endia                                                        Contingent
          158 Alan Dr, Apt A                                                  Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Erika                                                        Contingent
          2 Shadwell Ct                                                       Unliquidated
          Milford Mill, Maryland 21244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Jan                                                          Contingent
          4059 Highway 380                                                    Unliquidated
          Raceland, Louisiana 70394-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 563 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 587 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.393
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Jennifer                                                     Contingent
          4666 Sandy Park Dr                                                  Unliquidated
          Memphis, Tennessee 38141-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Jessica                                                      Contingent
          336 W. 1775 N.                                                      Unliquidated
          North Ogden, Utah 84414-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Keemasheka                                                   Contingent
          1031 Julia Circle                                                   Unliquidated
          Bainbridge, Georgia 39819-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Kristen                                                      Contingent
          3330 Buena Vista                                                    Unliquidated
          Detroit, Michigan 48238-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Laquilla                                                     Contingent
          409 Levin St.                                                       Unliquidated
          Hot Springs, Arkansas 71901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Lasonya                                                      Contingent
          3724 Baxter Street                                                  Unliquidated
          Shreveport, Louisiana 71109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Latoya Lynn                                                  Contingent
          520 W Ponce De Leon Ave #15                                         Unliquidated
          Decatur, Georgia 30031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 564 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 588 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.394
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Melissa                                                      Contingent
          585 Terry St SE                                                     Unliquidated
          Atlanta, Georgia 30312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Melody                                                       Contingent
          17530 South Cypress Ave                                             Unliquidated
          Country Club Hills, Illinois 60478-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Nicole                                                       Contingent
          412 Saratoga                                                        Unliquidated
          Kirkwood, Missouri 63122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Ondulyn                                                      Contingent
          110 G Street                                                        Unliquidated
          Salt Lake City, Utah 84103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Pamela                                                       Contingent
          7836 Bandero Dr Apt G                                               Unliquidated
          St. Louis, Missouri 63111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Paulette                                                     Contingent
          4440 Westhills Trail                                                Unliquidated
          Amarillo, Texas 79106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Raven                                                        Contingent
          824 Farmington Ave                                                  Unliquidated
          Pottstown, Pennsylvania 19464-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 565 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 589 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.394
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, RhaShaundra                                                  Contingent
          P.O. Box 198                                                        Unliquidated
          Whiteville, Tennessee 38075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Robin                                                        Contingent
          2101 S Michigan Ave                                                 Unliquidated
          Apt 2003
                                                                              Disputed
          Chicago, Illinois 60616-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.395
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Schwanna                                                     Contingent
          3512 E Broadway St Apt 815                                          Unliquidated
          Pearland, Texas 77581-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Shawntia                                                     Contingent
          153A Langfield Dr                                                   Unliquidated
          Buffalo, New York 14215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Shelby                                                       Contingent
          25881 Tipperary Lane                                                Unliquidated
          Lake Forest, California 92630-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Wanda                                                        Contingent
          5635 Fieldcross Court                                               Unliquidated
          Raleigh, North Carolina 27610-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones, Willa                                                        Contingent
          23219 W. Yavapai St                                                 Unliquidated
          Buckeye, Arizona 85326-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 566 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 590 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.395
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jones-Stone, Lazelda                                                Contingent
          1200 St.Cyr Rd                                                      Unliquidated
          St.Louis, Missouri 63137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jordan, LaChe                                                       Contingent
          128 Emerald Drive                                                   Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jordan, Tammara                                                     Contingent
          10814 Sugar Hill DR                                                 Unliquidated
          Houston, Texas 77042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joseph City Unified School District                                 Contingent
          8176 Westover                                                       Unliquidated
          Jospeph City, AZ 86032
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joseph, Anna                                                        Contingent
          1801 briarwood terrace                                              Unliquidated
          Apt # 2
                                                                              Disputed
          Lake Como, New Jersey 07719-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.396
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joseph, Garrett                                                     Contingent
          2639 L Avenue                                                       Unliquidated
          Williamsburg, Iowa 52361-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Josephson, Kim                                                      Contingent
          17645 Marsh Harbor Ln                                               Unliquidated
          Dumfries, Virginia 22026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 567 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 591 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.396
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jovanovic, Michael                                                  Contingent
          14656 N. 90th Ave.                                                  Unliquidated
          Peoria, Arizona 85381-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joyce Dayton                                                        Contingent
          3300 South Dixie Dr                                                 Unliquidated
          Kettering, OH 45439
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joyce, Julie                                                        Contingent
          62 Neals Corner                                                     Unliquidated
          Arkadelphia, Arkansas 71923-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joyner, Raven                                                       Contingent
          338 Split Rail Circle                                               Unliquidated
          Apt 202
                                                                              Disputed
          Newport News, Virginia 23602-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.396
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          JPS Health Network                                                  Contingent
          1500 S. Main Street                                                 Unliquidated
          Fort Worth, TX 76104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          JSR North America                                                   Contingent
          1280 Mathilda Ave                                                   Unliquidated
          Sunnyvale, CA 94089
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Juarez, Yesenia                                                     Contingent
          6416 Old Dexter Highway                                             Unliquidated
          Dexter, New Mexico 88230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 568 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 592 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.396
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Judith Basin County                                                 Contingent
          91 3rd Street North                                                 Unliquidated
          Stanford, MT 59479
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Judson University                                                   Contingent
          1151 N State St.                                                    Unliquidated
          Elgin, IL 60123
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Judy Skaer                                                          Contingent
          4158 Riverhill Court                                                Unliquidated
          Roswell, GA 30075
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Julal, Dianca                                                       Contingent
          396 Circuit Lane, Unit C                                            Unliquidated
          Newport News, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jump Operations, LLC                                                Contingent
          600 W. Chicago Ave.                                                 Unliquidated
          Suite 825
                                                                              Disputed
          Chicago, IL 60654
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.397
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Juniata Valley Bank                                                 Contingent
          218 Bridge Street                                                   Unliquidated
          Mifflintown, PA 17059
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Junius, Haley                                                       Contingent
          1210 W. Green Acres Lane                                            Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 569 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 593 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.397
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jurecko, Shari                                                      Contingent
          275 Park Island Dr                                                  Unliquidated
          Lake Orion, Michigan 48362-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jurgensen, DeAnn                                                    Contingent
          4017 Sally Drive NE                                                 Unliquidated
          Cedar Rapids, Iowa 52402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jurisic-Ibarra, Susana                                              Contingent
          523 S. State Appartment                                             Unliquidated
          Springfield, Illinois 62704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jurkovics, Stacy                                                    Contingent
          10 Fairfield Court                                                  Unliquidated
          St. Cloud, Minnesota 56303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Just, Sharon                                                        Contingent
          3064 Hwy 202 E                                                      Unliquidated
          Yellville, Arkansas 72687-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Justice, Jayne                                                      Contingent
          3201 Pacific Ave                                                    Unliquidated
          Manhattan Beach, California 90266-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Justice, Shirley                                                    Contingent
          1546 Aaron's Fork Road                                              Unliquidated
          Elkview, West Virginia 25071-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 570 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 594 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.398
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          JVM Realty Corporation                                              Contingent
          903 Commerce Drive                                                  Unliquidated
          OakBrook, IL 60523
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jx Enterprises, Inc.                                                Contingent
          1320 Walnut Ridge Drive - Suite 100                                 Unliquidated
          Hartland, WI 53029
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          K Line America, Inc.                                                Contingent
          8730 Stony Point Parkway Suite 400                                  Unliquidated
          Richmond, VA 23235-1952
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaas, Holly                                                         Contingent
          25 Woodcliff Way                                                    Unliquidated
          Covington, Georgia 30014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaatz, Tammy                                                        Contingent
          3020 N. 14 th St.                                                   Unliquidated
          #107A
                                                                              Disputed
          Phoenix, Arizona 85014-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.398
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaba, Martin                                                        Contingent
          1 Bistineau Court                                                   Unliquidated
          Kenner, Louisiana 70065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kacena, Elisabeth                                                   Contingent
          16502 Pine Creek Lane                                               Unliquidated
          Plainfield, Illinois 60586-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 571 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 595 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.399
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaczmarek, Annetta                                                  Contingent
          10606 Willow Brook Rd                                               Unliquidated
          Centerville, Ohio 45458-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kadant Black Clawson LLC                                            Contingent
          1425 Kingsview Dr                                                   Unliquidated
          Lebanon, OH 45036
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kafka, Erin                                                         Contingent
          918 Ellendale Dr                                                    Unliquidated
          Towson, Maryland 21286-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaiser, Laurell                                                     Contingent
          3032 - 60th Ave Sw, Apt 2                                           Unliquidated
          Seattle, Washington 98116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaiser, Sabiha                                                      Contingent
          75 Elm Street Apt C-1                                               Unliquidated
          Worcester, Massachusetts 01609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kalawart, Samantha                                                  Contingent
          34 Union Ave NE                                                     Unliquidated
          Grand Rapids, Michigan 49503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kalenda, Carrie                                                     Contingent
          7201 Mallard Way                                                    Unliquidated
          Cary, Illinois 60013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 572 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 596 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.399
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kalicanin, Juanita                                                  Contingent
          5204 South Laramie Avenue                                           Unliquidated
          Chicago, Illinois 60638-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kallen, Joan                                                        Contingent
          6400 Bentley Place                                                  Unliquidated
          Johnston, Iowa 50131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kalp, Deb                                                           Contingent
          1828 Iris Trail                                                     Unliquidated
          Waynesville, Ohio 45068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kamau, Angelica                                                     Contingent
          1018 Valley Forge Dr                                                Unliquidated
          Sunnyvale, California 94087-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kamplain-Wilson, Kathi                                              Contingent
          1789 Kathy Lynn St                                                  Unliquidated
          Grand Junction, Colorado 81503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kamstra, Susan                                                      Contingent
          9067 Regent Parkway                                                 Unliquidated
          Brooklyn Park, Minnesota 55443-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kanawha Stone/Terradon/KSC Management                               Contingent
          401 Jacobson Dr.                                                    Unliquidated
          Poca, WV 25159
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 573 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 597 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.400
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kane County                                                         Contingent
          719 S. Batavia Ave. Building A, Room 311                            Unliquidated
          Geneva, IL 60134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kang, Jiyoung                                                       Contingent
          2746 N. Hampden Ct.                                                 Unliquidated
          3x
                                                                              Disputed
          Chicago, Illinois 60614-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.400
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kankakee SD111                                                      Contingent
          240 Warren Ave                                                      Unliquidated
          Kankakee, IL 60901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kansas City Orthopaedic Institute                                   Contingent
          3651 College Blvd                                                   Unliquidated
          Leawood, KS 66211
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kansas Department of Revenue                                        Contingent
          PO Box 12005                                                        Unliquidated
          Topeka, KS 66601-2005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kao, Leo                                                            Contingent
          2228 Zuyder Terrace                                                 Unliquidated
          North Port, Florida 34286-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karadsheh, Tamer                                                    Contingent
          5838 E Grove Drive                                                  Unliquidated
          Kentwood, Michigan 49512-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 574 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 598 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.401
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karasinski, Lesley                                                  Contingent
          26415 W Cuba Rd                                                     Unliquidated
          Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karen Curtis                                                        Contingent
          1 Lucas Lane                                                        Unliquidated
          Malvern, PA 19355
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,900.00
          Karen Enright                                                       Contingent
          559 Wilson Ave                                                      Unliquidated
          Glen Ellyn, IL 60137
                                                                              Disputed
          Date(s) debt was incurred      6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karen Hagedorn-Wagner                                               Contingent
          1917 Birch Street                                                   Unliquidated
          Carver, MN 55315
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karjalainen, Terry                                                  Contingent
          1225 Vista Drive                                                    Unliquidated
          Fenton, Michigan 48430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karl Tyler Chevrolet                                                Contingent
          3663 N Reserve St                                                   Unliquidated
          Missoula, MT 59808
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karn, Margaret                                                      Contingent
          5120 W Saddlehorn Rd                                                Unliquidated
          Phoenix, Arizona 85083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 575 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 599 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.401
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karnes, Tyler                                                       Contingent
          300 Ingleside Dr                                                    Unliquidated
          Ardmore, Oklahoma 73401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karstens, Krista                                                    Contingent
          169 E Gail Dr                                                       Unliquidated
          Gilbert, Arizona 85296-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karwan-Laird, Judith                                                Contingent
          44626 Camino Gonzales                                               Unliquidated
          Temecula, California 92592-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kase, Brandon                                                       Contingent
          6 westminster dr                                                    Unliquidated
          Voorhees, New Jersey 08043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kash, Brigett                                                       Contingent
          2406 Donner Path                                                    Unliquidated
          Round Rock, Texas 78681-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kasmiskie Grieco, Roxanne                                           Contingent
          1348 West Ohio                                                      Unliquidated
          Chicago, Illinois 60642-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kasoff, Alexandra                                                   Contingent
          2410 Crestnoll Road                                                 Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 576 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 600 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.402
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kasoff, James                                                       Contingent
          2410 Crestnoll Road                                                 Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kassebaum, Laura                                                    Contingent
          22537 Hartland St                                                   Unliquidated
          West Hills, California 91307-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kassel, Patti                                                       Contingent
          203 Holliswood Rd                                                   Unliquidated
          Louisville, Kentucky 40222-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kastle Systems International, LLC                                   Contingent
          6402 Arlington Blvd                                                 Unliquidated
          Falls Church, VA 22042
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kastner, Kendra                                                     Contingent
          2459 Church Street                                                  Unliquidated
          Abilene, Texas 79601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Katherine Shaw Bethea Hospital                                      Contingent
          403 East First Street                                               Unliquidated
          Dixon, IL 61021
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kathleen Brown-Miner                                                Contingent
          1498 Ryan Dr                                                        Unliquidated
          Platteville, WI 53818
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 577 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 601 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.403
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Katten                                                              Contingent
          525 W Monroe St # 1300                                              Unliquidated
          Chicago, IL 60661
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Katten-Los Angeles                                                  Contingent
          2029 Century Park East                                              Unliquidated
          Los Angles, CA 90067-3012
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Katz, Daniel                                                        Contingent
          1624 South Cumberland Avenue                                        Unliquidated
          Park Ridge, Illinois 60068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Katz, Teresa                                                        Contingent
          255 Vernon Ave                                                      Unliquidated
          Glencoe, Illinois 60022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Katz, Yvonne                                                        Contingent
          1228 Woodruff Ave                                                   Unliquidated
          Deerfield, Illinois 60015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kauer, Giselle                                                      Contingent
          805 Babs Ave                                                        Unliquidated
          Benton City, Washington 99320-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kauffman, Gemma                                                     Contingent
          324 20th St                                                         Unliquidated
          Huntington Beach, California 92648-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 578 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 602 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.403
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kauffman, Rachel                                                    Contingent
          3910 Auburn Blvd, Apt 43                                            Unliquidated
          Sacramento, California 95821-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaufman, Maria                                                      Contingent
          9476 Road P                                                         Unliquidated
          Columbus Grove, Ohio 45830-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaufman, Marsha                                                     Contingent
          8618 N. Chatham Circle                                              Unliquidated
          Kansas City, Missouri 64154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaur, Babaljit                                                      Contingent
          10001 Woodcreek Oaks Blvd                                           Unliquidated
          Unit 1725
                                                                              Disputed
          Roseville, California 95747-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.404
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaur, Jagmeet                                                       Contingent
          3737 View Avenue                                                    Unliquidated
          Roanoke, Virginia 24018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaur, Kiranjeet                                                     Contingent
          3411 East Jefferson Boulevard                                       Unliquidated
          South Bend, Indiana 46615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaur, Lovepreet                                                     Contingent
          726 Cotton Tail Ave                                                 Unliquidated
          San Jose, California 95116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 579 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 603 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.404
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kaur, Prabh                                                         Contingent
          2801 S Lakeline Blvd #13107                                         Unliquidated
          Cedar Park, Texas 78613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kautz, Stephen                                                      Contingent
          8641 Via Mallorca Unit E                                            Unliquidated
          San Diego, California 92037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kawalek, Matthew                                                    Contingent
          228 Sierra Pass Drive Unit 2                                        Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kawashima, Kelly                                                    Contingent
          1230 Manhattan Beach Blvd                                           Unliquidated
          Apt B
                                                                              Disputed
          Manhattan Beach, California 90266-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.405
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kazakis, Laura                                                      Contingent
          28 Lisa Lane                                                        Unliquidated
          Manchester, New Hampshire 03103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kazarian, Andrea                                                    Contingent
          834 Shibley                                                         Unliquidated
          Park Ridge, Illinois 60068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kazik, Alison                                                       Contingent
          8262 Miranda Pl                                                     Unliquidated
          West Chester, Ohio 45069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 580 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 604 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.405
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kazmierczak, Liliana                                                Contingent
          831 Indiana Lane                                                    Unliquidated
          Elk Grove Village, Illinois 60007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KD College Prep                                                     Contingent
          2001 Coit Rd                                                        Unliquidated
          Plano, TX 75075
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kear, Lori                                                          Contingent
          867 Walnut Street                                                   Unliquidated
          Perrysburg, Ohio 43551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kearney, Teresa                                                     Contingent
          3811 Bartwood Rd                                                    Unliquidated
          Baltimore, Maryland 21215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kearns, Amy                                                         Contingent
          1330 SW 3rd Ave, Apt. 506                                           Unliquidated
          Portland, Oregon 97201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kearns, Kelleigh                                                    Contingent
          525 Hickory Road                                                    Unliquidated
          North Attleboro, Massachusetts 02760-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keaton, Sean                                                        Contingent
          124 Lakewood Dr                                                     Unliquidated
          Kings Mountain, North Carolina 28086-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 581 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 605 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.406
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keeland, April                                                      Contingent
          7118 Overview Rd NE                                                 Unliquidated
          Rio Rancho, New Mexico 87144-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keeler, Jason                                                       Contingent
          4256 Steamboat Road                                                 Unliquidated
          Lexington, Kentucky 40514-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keenan, Haley                                                       Contingent
          99 Oak Leaf Lane, Apt 109                                           Unliquidated
          Vernon Hills, Illinois 60061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keene State College                                                 Contingent
          Madison Street Lounge                                               Unliquidated
          Young Student Center
                                                                              Disputed
          Keene, NH 03435
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.406
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keene, Matthew                                                      Contingent
          1218 E. Twin Lakes Drive                                            Unliquidated
          Little Rock, Arkansas 72205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keeneyville SD 20                                                   Contingent
          5540 Arlington Drive East                                           Unliquidated
          Hanover Park, IL 60133
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keeter, Victoria                                                    Contingent
          1005 Townhouse Circle                                               Unliquidated
          Norman, Oklahoma 73069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 582 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 606 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.406
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kehoe Designs, Inc.                                                 Contingent
          2555 S Leavitt St                                                   Unliquidated
          Chicago, IL 60608-5202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keifer, Kathy                                                       Contingent
          420 Rockwood Dr                                                     Unliquidated
          Elizabethtown, Pennsylvania 17022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keister, Michelle                                                   Contingent
          1720 Ximeno Ave Apt 7                                               Unliquidated
          Long Beach, California 90815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keith, Crystal                                                      Contingent
          4001 Meriwether Dr, ATP M-9                                         Unliquidated
          Durham, North Carolina 27704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keith, Madeline                                                     Contingent
          614 Magnolia Avenue                                                 Unliquidated
          Ocean Springs, Mississippi 39564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelleher, Jane                                                      Contingent
          63 Bailey Road                                                      Unliquidated
          Andover, Massachusetts 01810-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keller, Carol                                                       Contingent
          415 Buchanan St                                                     Unliquidated
          APT M
                                                                              Disputed
          San Francisico, California 94102-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 583 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 607 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.407
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keller, Kimberly                                                    Contingent
          307 Burke Street                                                    Unliquidated
          Hickory, North Carolina 28601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelleran, Kyle                                                      Contingent
          757 Bellows Way #303                                                Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelley, Maria                                                       Contingent
          495 Mount Blue Street                                               Unliquidated
          Norwell, Massachusetts 02061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelley, Stephanie                                                   Contingent
          6479 Fm 2622                                                        Unliquidated
          Ponder, Texas 76259-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Angela                                                       Contingent
          1771 Sw Porta Nuova Terr                                            Unliquidated
          Port St Lucie, Florida 34953-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Bret                                                         Contingent
          638 Charleston Oaks Drive                                           Unliquidated
          Ballwin, Missouri 63021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Carole                                                       Contingent
          4962 Lincoln                                                        Unliquidated
          Dearborn Heights, Michigan 48125-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 584 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 608 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.408
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Crystal                                                      Contingent
          306 E. 131st Place 1504                                             Unliquidated
          Chicago, Illinois 60827-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Leah                                                         Contingent
          568 Turnstone Lane                                                  Unliquidated
          Blanchard, Oklahoma 73010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Lois                                                         Contingent
          3 Topping Road                                                      Unliquidated
          Andover, Massachusetts 01810-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Meaghan                                                      Contingent
          913 Eastwood St.                                                    Unliquidated
          Withee, Wisconsin 84498-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Melissa                                                      Contingent
          144 Polaris Dr                                                      Unliquidated
          Walkersville, Maryland 21793-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelly, Toccara                                                      Contingent
          6123 S Racine Ave                                                   Unliquidated
          Apt 2
                                                                              Disputed
          Chicago, Illinois 60636-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.408
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,275.00
          Kelsey Benefits Group                                               Contingent
          5075 South 1500 West                                                Unliquidated
          Ogden, UT 84405
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 585 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 609 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.408
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelsey, William                                                     Contingent
          110 Lyness Street                                                   Unliquidated
          Manchester, Connecticut 06040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kelson, Sarah                                                       Contingent
          759 Robinhood Circle                                                Unliquidated
          Bloomfield Hills, Michigan 48304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kemp, Isabella                                                      Contingent
          5417 Old Frederick Road                                             Unliquidated
          Baltimore, Maryland 21229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kenefake, Alexandra                                                 Contingent
          78 East Evangeline Oaks Cir                                         Unliquidated
          Apt # 3
                                                                              Disputed
          The Woodlands, Texas 77834-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.409
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kenilworth SD 38                                                    Contingent
          542 Abbotsford Road                                                 Unliquidated
          Kenilworth, IL 60043
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kenmore-Town of Tonawanda Union Free
          Sch                                                                 Contingent
          Administrative Building                                             Unliquidated
          1500 Colvin Boulevard                                               Disputed
          Bufflalo, NY 14223
                                                                             Basis for the claim:    Vendor / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 586 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 610 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.409
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kennedy Tank & Manufacturing Co., Inc.                              Contingent
          833 E. Sumner Avenue                                                Unliquidated
          Indianapolis, IN 46227
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kennedy, Kelsey                                                     Contingent
          701 E. High Street, Apt 101                                         Unliquidated
          Charlottesville, Virginia 22902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kennedy, LaTesha                                                    Contingent
          602 Rosarita Rd                                                     Unliquidated
          Arlington, Texas 76002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kennedy, Lydia                                                      Contingent
          4300 HWY AA                                                         Unliquidated
          Halfway, Mississippi 65663-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kennedy, Sarah                                                      Contingent
          295 Hojem Lane                                                      Unliquidated
          Grayslake, Illinois 60030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kenney, Eileen                                                      Contingent
          5537 Rosslyn Ave                                                    Unliquidated
          Indianapolis, Indiana 46220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kent, Kortney                                                       Contingent
          160 Lookout Ridge LP                                                Unliquidated
          San Marcos, Texas 78666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 587 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 611 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.410
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kenworthy, Catherine                                                Contingent
          223 W Menomonee St                                                  Unliquidated
          Chicago, Illinois 60614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keperling, Danielle                                                 Contingent
          10 Alpine Dr                                                        Unliquidated
          Mohnton, Pennsylvania 19540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kerbs, Kendra                                                       Contingent
          252 Pearl Street Nw                                                 Unliquidated
          Grand Rapids, Michigan 49503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keshwara, Monica                                                    Contingent
          1073 Woodland Glen Dr                                               Unliquidated
          Cordova, Tennessee 38018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kessler, Michael                                                    Contingent
          21661 Brookhurst St Apt 270                                         Unliquidated
          Huntington Beach, California 92646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ketchikan Gateway Borough & School Distr                            Contingent
          1900 First Ave Suite 118                                            Unliquidated
          Ketchikan, AK 99901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ketelsen, Jennifer                                                  Contingent
          1146 S. Fairview Ave                                                Unliquidated
          Lombard, Illinois 60148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 588 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 612 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.410
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kettering Health Network                                            Contingent
          1 Prestige Place, Suite 580                                         Unliquidated
          Miamisburg, OH 45342
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keys, James                                                         Contingent
          230 N Virginia Ave                                                  Unliquidated
          APT B
                                                                              Disputed
          Bridgeport, West Virginia 26330-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.411
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,125.00
          Keystone Business Services-IH                                       Contingent
          1520 Kensington Road                                                Unliquidated
          Suite 313
                                                                              Disputed
          Oak Brook, IL 60523
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.411
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kha, Mai Neng                                                       Contingent
          N204 Bass Lake Road                                                 Unliquidated
          Hatley, Wisconsin 54440-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khader, Navade                                                      Contingent
          248 Polo Club Dr                                                    Unliquidated
          Glendale Heights, Illinois 60139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khan, Aalya                                                         Contingent
          650 W 42nd St, Apt 1224                                             Unliquidated
          New York, New York 10036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khan, Naseer                                                        Contingent
          2451 Liberty Street                                                 Unliquidated
          Hamilton, New Jersey 08629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 589 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 613 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.411
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khan, Usman                                                         Contingent
          6015 Lincoln Ave                                                    Unliquidated
          Morton Grove, Illinois 60053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khaskia, Yasmeen                                                    Contingent
          6328 Victorious Song Lane                                           Unliquidated
          Clarksville, Maryland 21029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khomusi, Zainab                                                     Contingent
          1773 Trevino Circle                                                 Unliquidated
          Bolingbrook, Illinois 60490-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khosla, Anita                                                       Contingent
          12908 Eagle Creek Drive                                             Unliquidated
          Beltsville, Maryland 20705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khounphachanh, Tony                                                 Contingent
          2041 W Hutchinson                                                   Unliquidated
          Chicago, Illinois 60613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Khozey Fedzin, Nina                                                 Contingent
          116 Steeple Dr                                                      Unliquidated
          Apt C
                                                                              Disputed
          Buffalo Grove, Illinois 60089-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.412
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kiang, Courtney                                                     Contingent
          9803 Rosewalk Dr                                                    Unliquidated
          Highlands Ranch, Colorado 80129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 590 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 614 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.412
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kidd, Margie                                                        Contingent
          1208 Woodsboro Road                                                 Unliquidated
          Knoxville, Tennessee 37922-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kieffer, Kerri                                                      Contingent
          2724 Sullivan Ave                                                   Unliquidated
          Kaukauna, Wisconsin 54130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kieffer, Krista                                                     Contingent
          29 Hillpine Rd                                                      Unliquidated
          Cheektowaga, New York 14227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kielar, Teresa                                                      Contingent
          114 Filbert Dr.                                                     Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kieliszewski, Lisa                                                  Contingent
          25980 - 106th St, Nw                                                Unliquidated
          Zimmerman, Minnesota 55398-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kierulff, Cecilia                                                   Contingent
          1708 N Kellogg Dr, Apt A                                            Unliquidated
          Anaheim, California 92807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KIK Custom Products                                                 Contingent
          PO Box 88835                                                        Unliquidated
          Carol Stream, IL 60188
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 591 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 615 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.412
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kilar, Emily                                                        Contingent
          1708 Heather Heights Drive                                          Unliquidated
          Crescent, Pennsylvania 15046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kilbourn, Jon                                                       Contingent
          1900 Walnut St, Apt 1110                                            Unliquidated
          Bastrop, Texas 78602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kilgore's Medical Pharmacy                                          Contingent
          700 N. Providence Road                                              Unliquidated
          Columbia, MO 65203
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kim, Andrew                                                         Contingent
          1237 Oak Ridge Dr.                                                  Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kim, Hanbeech                                                       Contingent
          9818 N Lauren Ln                                                    Unliquidated
          Niles, Illinois 60714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kim, Hanle                                                          Contingent
          9818 N Lauren Ln                                                    Unliquidated
          Niles, Illinois 60714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kim, Jessica                                                        Contingent
          115 Salado Ct, #201                                                 Unliquidated
          Schaumburg, Illinois 60195-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 592 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 616 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.413
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kim, Lawrence                                                       Contingent
          3500 Sweetwater Rd                                                  Unliquidated
          Unit 622
                                                                              Disputed
          Duluth, Georgia 30096-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.413
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kim, Sandra                                                         Contingent
          351 King St                                                         Unliquidated
          Unit 531
                                                                              Disputed
          San Francisco, California 94158-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.413
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kim, Sewon                                                          Contingent
          3425 Kingsbridge Ave #704                                           Unliquidated
          Bronx, New York 10463-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kimbark, Lynn                                                       Contingent
          1132 Running Springs Road                                           Unliquidated
          #6
                                                                              Disputed
          Walnut Creek, California 94595-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.414
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kimble, Jamell                                                      Contingent
          7601 Dayberry Ln                                                    Unliquidated
          Charlotte, North Carolina 28227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kimble, Mabel                                                       Contingent
          14006 Doty Ave                                                      Unliquidated
          hawthorne, California 90250-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kimme, Patricia                                                     Contingent
          17112 Dora Hamann Pkwy                                              Unliquidated
          Omaha, Nebraska 68116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 593 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 617 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.414
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kin, Stephanie                                                      Contingent
          835 Summit Circle N                                                 Unliquidated
          York, Pennsylvania 17403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kindred, Aisha                                                      Contingent
          2904 Bruce Randolph Avenue                                          Unliquidated
          Denver, Colorado 80205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kindred, Cheryl                                                     Contingent
          1500 Havenscourt Blvd                                               Unliquidated
          Oakland, California 94621-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kines, Joan                                                         Contingent
          3904 Falls Run Rd                                                   Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King & Prince Seafood                                               Contingent
          1 King and Prince Blvd.                                             Unliquidated
          Brunswick, GA 31520
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Allison                                                       Contingent
          518 N Essex #2                                                      Unliquidated
          Lubbock, Texas 79416-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Breanna                                                       Contingent
          1558 Clarkson Parma Townline                                        Unliquidated
          Road
                                                                              Disputed
          Brockport, New York 14420-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 594 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 618 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.415
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Darnisha                                                      Contingent
          124 S. Central Ave.                                                 Unliquidated
          Apt 2
                                                                              Disputed
          Chicago, Illinois 60644-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.415
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Desiree                                                       Contingent
          4133 Loveless Dr                                                    Unliquidated
          Ellenwood, Georgia 30294-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Donna                                                         Contingent
          1313 W Smith Street                                                 Unliquidated
          Peoria, Illinois 61605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Elizabeth                                                     Contingent
          2208 - 29th Ave West                                                Unliquidated
          Seattle, Washington 98199-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Ger'Maine                                                     Contingent
          4541 Windsor Lane                                                   Unliquidated
          Country Club Hills, Illinois 60478-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Holly                                                         Contingent
          10283 S Elijah Cir                                                  Unliquidated
          South Jordan, Utah 84095-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Jasmine                                                       Contingent
          2901 S King Drive                                                   Unliquidated
          APT 1905
                                                                              Disputed
          Chicaqgo, Illinois 60616-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 595 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 619 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.415
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Josie                                                         Contingent
          3630 Autumn View Dr                                                 Unliquidated
          Acworth, Georgia 30101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Kailah                                                        Contingent
          5811 Walton Avenue                                                  Unliquidated
          Philadelphia, Pennsylvania 19143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Kayla                                                         Contingent
          7305 N Madison                                                      Unliquidated
          Hutchinson, Kansas 67502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Phyllis                                                       Contingent
          3387 Thornbridge Drive                                              Unliquidated
          Powder Springs, Georgia 30127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Rosanny                                                       Contingent
          7720 OConnor Drive                                                  Unliquidated
          Apt. 3204
                                                                              Disputed
          Round Rock, Texas 78681-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.416
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Sarah                                                         Contingent
          2017 Geyer Ave                                                      Unliquidated
          St. Louis, Missouri 63104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Sherry                                                        Contingent
          5435 Verbena Street                                                 Unliquidated
          Denver, Colorado 80238-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 596 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 620 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.416
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King, Stephanie                                                     Contingent
          599 university blvd                                                 Unliquidated
          apt 910
                                                                              Disputed
          Round Rock, Texas 78665-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.416
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          King-Omeara, Brandie                                                Contingent
          17113 134th Avenue Ct E                                             Unliquidated
          Puyallup, Washington 98374-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kingman Unified School District                                     Contingent
          3033 MacDonald                                                      Unliquidated
          Kingman, AZ 86401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kinnaird, Krista                                                    Contingent
          25130 E. Ottawa Drive                                               Unliquidated
          Aurora, Colorado 80016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kinney, Danna                                                       Contingent
          16613 Tonka Trail                                                   Unliquidated
          Edmond, Oklahoma 73012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kinney, Sandra                                                      Contingent
          5595 Saida Cir                                                      Unliquidated
          Brewerton, New York 13029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kinsey, Tina                                                        Contingent
          2700 Quiet Water Pass                                               Unliquidated
          Pflugerville, Texas 78660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 597 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 621 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.417
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kintz, Matthew                                                      Contingent
          5242 Vanderbilt                                                     Unliquidated
          Dallas, Texas 75206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kiradjieff, Dean                                                    Contingent
          4313 Toddington Lane                                                Unliquidated
          Matthews, North Carolina 28105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirby School District 140                                           Contingent
          16931 South Grissom Drive                                           Unliquidated
          Tinley Park, IL 60477
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirchen, Janet                                                      Contingent
          7N737 SAYER RD                                                      Unliquidated
          BARTLETT, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirk, Stacie                                                        Contingent
          7806 Pioneer Trail                                                  Unliquidated
          Knoxville, Tennessee 37924-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirkes, Heather                                                     Contingent
          901 Andrea St                                                       Unliquidated
          Norman, Oklahoma 73072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KIRKLAND & ELLIS LLP                                                Contingent
          300 N. LaSalle Dr.                                                  Unliquidated
          Chicago, IL 60654
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 598 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 622 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.417
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirkland, Felecia                                                   Contingent
          18573 Watts Road                                                    Unliquidated
          Livingston, Louisiana 70754-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirkland, Heather                                                   Contingent
          1826 Drake Ave                                                      Unliquidated
          Centerville, Iowa 52544-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirkwood School District                                            Contingent
          11289 Manchester Road                                               Unliquidated
          Kirkwood, MO 63122
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirour, Boualem                                                     Contingent
          7315 West 71st St                                                   Unliquidated
          Apt 301
                                                                              Disputed
          Bridgeview, Illinois 60455-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.418
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kirschbaum, Whitney                                                 Contingent
          29 Kellogg Street                                                   Unliquidated
          Portland, Maine 04101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kish, Brandon                                                       Contingent
          10173 Glen Abbey Lane                                               Unliquidated
          Fishers, Indiana 46037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kisner, Zoe                                                         Contingent
          2315 Grand Ave, APT 108                                             Unliquidated
          Des Moines, Iowa 50312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 599 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 623 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.418
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kissick, Andrew                                                     Contingent
          5530 Kingsboro Drive                                                Unliquidated
          Colorado Spring, Colorado 80911-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kissick, Barbara                                                    Contingent
          5530 Kingsboro Drive                                                Unliquidated
          Colorado Springs, Colorado 80911-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kitchen Fresh Foods                                                 Contingent
          1375 Gruber Road                                                    Unliquidated
          Green Bay, WI 54313
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kizer, Victor                                                       Contingent
          108 Killarney Ct.                                                   Unliquidated
          Barnhart, Missouri 63012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Klapperich, Christopher                                             Contingent
          9453 Bristol Lane                                                   Unliquidated
          Huntley, Illinois 60142-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Klausner, Sandy                                                     Contingent
          35 Shelley Street                                                   Unliquidated
          Freeport, New York 11520-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Klettke, Michael                                                    Contingent
          1375 Fall Oaks Court                                                Unliquidated
          West Linn, Oregon 97068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 600 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 624 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.419
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kline, Stephanie                                                    Contingent
          8065 Eagleview Drive                                                Unliquidated
          Littleton, Colorado 80125-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kline, Taylor                                                       Contingent
          403 Cottage Grove Ct                                                Unliquidated
          Wentzville, Missouri 63385-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Klinger, Judy                                                       Contingent
          3764 N La Mesita Way                                                Unliquidated
          Boise, Idaho 83702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Klockenga, Emily                                                    Contingent
          20 Oakwood Drive                                                    Unliquidated
          Springfield, Illinois 62711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Klos, Karen                                                         Contingent
          8320 Route 337                                                      Unliquidated
          Tidioute, Pennsylvania 16351-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Klowden, Terri                                                      Contingent
          55 S. Hale Unit 103                                                 Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kluthe, Chaolan                                                     Contingent
          1946 E. Dayton St.                                                  Unliquidated
          Madison, Wisconsin 53704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 601 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 625 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.419
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knaur, Kirstie                                                      Contingent
          1320 Springville Road                                               Unliquidated
          East Earl, Pennsylvania 17519-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knickles, Rose                                                      Contingent
          36 Woodchip Square                                                  Unliquidated
          No. Attleboro, Massachusetts 02760-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knight Barry Title                                                  Contingent
          201 E Pittsburgh Ave                                                Unliquidated
          Suite 200
                                                                              Disputed
          Milwaukee, WI 53204
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.420
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knight, Daisha                                                      Contingent
          1064 Cogic Sq                                                       Unliquidated
          Suffolk, Virginia 23434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knight, Kaneesha                                                    Contingent
          200 Knight Lane                                                     Unliquidated
          Sylacauga, Alabama 35150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knight, Kenya                                                       Contingent
          1004 Freeney Ave                                                    Unliquidated
          Suffolk, Virginia 23434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knight, Tempestt                                                    Contingent
          12922 Daybreak Circle                                               Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 602 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 626 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.420
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knight, William                                                     Contingent
          1017 Misty Lynn Circle Apt F                                        Unliquidated
          cockeysville, Maryland 21030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knowlton Technologies                                               Contingent
          213 Factory St                                                      Unliquidated
          Watertown, NY 13601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knox College                                                        Contingent
          368 S. Prairie St.                                                  Unliquidated
          Campus Box K-200
                                                                              Disputed
          Galesburg, IL 61401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.420
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          Knox Community Hospital                                             Contingent
          P.O. Box 1288                                                       Unliquidated
          Mount Vernon, OH 43050
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knox County                                                         Contingent
          112-114 East High Street                                            Unliquidated
          Mount Vernon, OH 43050
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knox, Stephanie                                                     Contingent
          1243 W Addison Street                                               Unliquidated
          Unit 1
                                                                              Disputed
          Chicago, Illinois 60613-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.421
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Knox, Takesa                                                        Contingent
          1132 Court G                                                        Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 603 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 627 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.421
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Koch, Leticia                                                       Contingent
          PO Box 361324                                                       Unliquidated
          Birmingham, Alabama 35236-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kodak Alaris                                                        Contingent
          2400 Mount Read Blvd                                                Unliquidated
          Rochester, NY 14615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kokel, Diana                                                        Contingent
          3401 South Lamar Blvd #2407                                         Unliquidated
          Austin, Texas 78704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kokinis, Eleni                                                      Contingent
          805 Columbia Lane                                                   Unliquidated
          Darien, Illinois 60561-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kolasinski, Patricia                                                Contingent
          25406 W Lake Shore Dr                                               Unliquidated
          Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kolb, Kimberlee                                                     Contingent
          1483 Beckwith View                                                  Unliquidated
          Grand Rapids, Michigan 49505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kolcraft                                                            Contingent
          1100 W. Monroe St                                                   Unliquidated
          Chicago, IL 60607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 604 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 628 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.422
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kollath, Cameron                                                    Contingent
          3144 Combine Ct                                                     Unliquidated
          Howell, Michigan 48843-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Koller IV, William                                                  Contingent
          3837 - 51st St                                                      Unliquidated
          Des Moines, Iowa 50310-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kollock, Fleshia                                                    Contingent
          1215 Castle Pointe Ln                                               Unliquidated
          Grayson, Georgia 30017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KONE Inc.                                                           Contingent
          4225 Naperville Rd. Suite 400                                       Unliquidated
          Lisle, IL 60532
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Koneru, Cathi                                                       Contingent
          1910 Oakland Bend                                                   Unliquidated
          San Antonio, Texas 78258-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kongkaeow, Nontaporn                                                Contingent
          1110 CHAMPIONSHIP DR                                                Unliquidated
          ELGIN, Illinois 60124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kontra, Katherine                                                   Contingent
          150 W Weber Rd                                                      Unliquidated
          Columbus, Ohio 43202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 605 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 629 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.422
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kordakis, Christopher                                               Contingent
          5315 S Laramie Pl                                                   Unliquidated
          Boise, Idaho 83716-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kordick, Lindsey                                                    Contingent
          401 SW Glendana Dr                                                  Unliquidated
          Lee's Summit, Missouri 64081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Korrey, Yvonne                                                      Contingent
          36A Mountain Home Road                                              Unliquidated
          Londonderry, New Hampshire 03053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kortje, Alisha                                                      Contingent
          2407 Tyler Ave                                                      Unliquidated
          Pascagoula, Mississippi 39567-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Koshel, James                                                       Contingent
          634 Salem Lane                                                      Unliquidated
          Brunswick, Ohio 44212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Koste, Tom                                                          Contingent
          1668 Terrapin Circle                                                Unliquidated
          Cambridge, Maryland 21613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kowalinski, Allison                                                 Contingent
          6302 Maple Dr                                                       Unliquidated
          Indianapolis, Indiana 46220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 606 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 630 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.423
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kozdoy, Irina                                                       Contingent
          526 Happfield Dr                                                    Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kozminski, Erica                                                    Contingent
          702 Doe Ridge Dr                                                    Unliquidated
          Cranberry Township, Pennsylvania 16066-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kozol, Joyce                                                        Contingent
          2203 Davenport Ave.                                                 Unliquidated
          Canton, Massachusetts 02021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KPH Healthcare Services, Inc.                                       Contingent
          520 East Main Street                                                Unliquidated
          Gouverneur, NY 13642
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kposowa, Mangaya                                                    Contingent
          4940 Kleeman Green Drive                                            Unliquidated
          Cincinnati, Ohio 45211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KPS Capital Partners                                                Contingent
          485 Lexington Ave 31st Floor                                        Unliquidated
          New York, NY 10017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kraemer North America                                               Contingent
          12550 West Frontage Road                                            Unliquidated
          Suite 203
                                                                              Disputed
          Burnsville, MN 53337
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 607 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 631 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.424
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kraman, Mallory                                                     Contingent
          2950 Oxnard Street                                                  Unliquidated
          #1
                                                                              Disputed
          Woodland Hills, California 91367-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.424
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kramer, Howard                                                      Contingent
          115 Coachman's Lane                                                 Unliquidated
          N Andover, Massachusetts 01845-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kramer, Jennifer                                                    Contingent
          2408 Schultz Way                                                    Unliquidated
          York, Pennsylvania 17402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kramer, Rose                                                        Contingent
          2445 Madison Road                                                   Unliquidated
          Apt. 6
                                                                              Disputed
          Cincinnati, Ohio 45208-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.424
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krantz, Judy                                                        Contingent
          772 Barger Drive                                                    Unliquidated
          Crownsville, Maryland 21032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kratt, Randy                                                        Contingent
          4830 Windswept Dr                                                   Unliquidated
          Milford, Michigan 48380-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krause, Nicholas                                                    Contingent
          3742 Wolf Trail Drive                                               Unliquidated
          Abingdon, Maryland 21009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 608 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 632 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.424
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kravitz, Beth                                                       Contingent
          6272 Fox Run Circle                                                 Unliquidated
          Jupiter, Florida 33458-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kreher?s Farm Fresh Eggs LLC                                        Contingent
          5411 Davison Road P.O. Box 410                                      Unliquidated
          Clarence, NY 14031-0410
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kreibich, Alex                                                      Contingent
          5108 West Argyle Street                                             Unliquidated
          Chicago, Illinois 60630-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krier Foods                                                         Contingent
          520 Wolf Rd                                                         Unliquidated
          Random Lake, WI 53075
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kringle, Kris                                                       Contingent
          1 Jingle Bell Lane                                                  Unliquidated
          Sedona, Arizona 86336-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krispy Krunchy Foods, LLC.                                          Contingent
          1826 Sterkx Road                                                    Unliquidated
          Alexandria, LA 71301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kristen Ritchey                                                     Contingent
          15235 Quail Hollow Ct                                               Unliquidated
          Granger, IN 46530
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 609 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 633 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.425
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krotzer, Peggy                                                      Contingent
          9 Sachem Drive                                                      Unliquidated
          Shelton, Connecticut 06484-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krowski, Nicole                                                     Contingent
          P.O. Box 1010                                                       Unliquidated
          Mont Belvieu, Texas 77580-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krueger, David                                                      Contingent
          1200 W Lonnquist Blvd                                               Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krupinski, Ashley                                                   Contingent
          535 Jansen Ave                                                      Unliquidated
          Avenel, New Jersey 07001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krupp, Erica                                                        Contingent
          10 Washington Place #3                                              Unliquidated
          Troy, New York 12180-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Krypton Solutions, LLC                                              Contingent
          3060 Summit Ave.                                                    Unliquidated
          Plano, TX 75074
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KTA-Tator, Inc.                                                     Contingent
          115 Technology Drive                                                Unliquidated
          Pittsburgh, PA 15275
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 610 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 634 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.426
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kubota Engine America                                               Contingent
          505 Schelter Rd.                                                    Unliquidated
          Lincolnshire, IL 33169
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kubota Tractor Corporation                                          Contingent
          3401 Del Amo Blvd                                                   Unliquidated
          Torrance, CA 90503
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kuhn, Holly                                                         Contingent
          8136 Wood Dr                                                        Unliquidated
          Grosse Ile, Michigan 48138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kulakowski, Joan                                                    Contingent
          5600 Tinder Drive                                                   Unliquidated
          #4
                                                                              Disputed
          Rolling Meadows, Illinois 60008-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.426
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kulig, Christopher                                                  Contingent
          1029 North Webster Street                                           Unliquidated
          Naperville, Illinois 60563-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kuma, Dibora                                                        Contingent
          9704 Softwater Way                                                  Unliquidated
          Columbia, Maryland 21046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kumodzi, Trina                                                      Contingent
          1404 Gittings Avenue                                                Unliquidated
          Baltimore, Maryland 21239-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 611 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 635 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.426
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KUNA FOODSERVICE                                                    Contingent
          704 Kuna Industrial Dr.                                             Unliquidated
          Dupo, IL 62239
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,950.00
          Kunkel & Associates                                                 Contingent
          401 Data Court                                                      Unliquidated
          Dubuque, IA 52003
                                                                              Disputed
          Date(s) debt was incurred      4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kurash, Nicole                                                      Contingent
          17601 Hampstead Ridge Court                                         Unliquidated
          Dumfries, Virginia 22026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kurihara, Hiroko                                                    Contingent
          261 Saunders ave                                                    Unliquidated
          Bridgeport, Connecticut 06606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kurkoski, Eileen                                                    Contingent
          108 Derby Street                                                    Unliquidated
          Newton, Massachusetts 02465-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kutella, Stephanie                                                  Contingent
          54 E Quincy St, #1E                                                 Unliquidated
          Riverside, Illinois 60546-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kuthe, John                                                         Contingent
          6031 Kingsbury                                                      Unliquidated
          St Louis, Missouri 63112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 612 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 636 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.427
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kuto, Elizabeth Lutomia                                             Contingent
          850 NW Island Terrace                                               Unliquidated
          Apt B6
                                                                              Disputed
          Beaverton, Oregon 97006-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.427
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kuzich, Christine                                                   Contingent
          539 S Walnut Ave                                                    Unliquidated
          Arlington Heights, Illinois 60005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kwabi, Linda                                                        Contingent
          342 East 110 Street APT 7e                                          Unliquidated
          New York, New York 10029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kwak, Sumi                                                          Contingent
          43961 Violet Lane                                                   Unliquidated
          California, Maryland 20619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kwiatkowski, Leslie                                                 Contingent
          144 Hemingway Drive                                                 Unliquidated
          Rochester, New York 14620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kwiecien, Lisa                                                      Contingent
          9430 S Star Hill Cir                                                Unliquidated
          Lone Tree, Colorado 80124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kysar, Burgandi                                                     Contingent
          3305 S 292nd E Ave                                                  Unliquidated
          Broken Arrow, Oklahoma 74014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 613 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 637 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.428
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          L & H Company                                                       Contingent
          10435 Argonne Woods Drive                                           Unliquidated
          Woodridge, IL 60517
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          L & J G Stickley                                                    Contingent
          1 Stickley Dr                                                       Unliquidated
          Manlius, NY 13104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          L&L Enterprises                                                     Contingent
          907 S 2nd Ave                                                       Unliquidated
          Dodge City, KS 67801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          L.E.A.S.E.                                                          Contingent
          1009 Boyce Memorial Drive                                           Unliquidated
          Ottawa, IL 61350
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          L.H. Lacy Company, LTD                                              Contingent
          1880 Crown Drive, Suite 1200                                        Unliquidated
          Dallas, TX 75234
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          L.R. Webber Associates, Inc.                                        Contingent
          P.O. Box 593                                                        Unliquidated
          Hollidaysburg, PA 16648
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          La Liberte, Alisa                                                   Contingent
          319 Cross Street                                                    Unliquidated
          Carlisle, Massachusetts 01741-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 614 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 638 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.429
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Labaran, Salamatu                                                   Contingent
          12400 S. Harding Ave                                                Unliquidated
          Apt. 3S
                                                                              Disputed
          Alsip, Illinois 60803-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.429
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Labine, Allyson                                                     Contingent
          1887 Beckman Ave                                                    Unliquidated
          Arden Hills, Minnesota 55112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $361,042.52
          Laboratory Corporation of America-IH                                Contingent
          P.O. Box 12140                                                      Unliquidated
          Burlington, NC 27216-2140
                                                                              Disputed
          Date(s) debt was incurred 5/30/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Labuda, Deborah                                                     Contingent
          882 Azalea Ct                                                       Unliquidated
          Plantation, Florida 33317-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lac du Flambeau Band of Lake Superior Ch                            Contingent
          418 Little Pines Rd                                                 Unliquidated
          Lac Du Flambeau, WI 54538
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lacroix, Sharon                                                     Contingent
          80702 Camiono Los Campos                                            Unliquidated
          Indio, California 92203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ladd, Allie                                                         Contingent
          1330 Harrison Ave                                                   Unliquidated
          Rock Rapids, Iowa 51246-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 615 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 639 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.429
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ladwa, Chandni                                                      Contingent
          14361 Florence St.                                                  Unliquidated
          Eastvale
                                                                              Disputed
          Eastvale, California 92880-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.429
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lafleur, Kayra                                                      Contingent
          742 Bienville St                                                    Unliquidated
          Lake Charles, Louisiana 70607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LaForgia, Samantha                                                  Contingent
          225 Oak Ave                                                         Unliquidated
          Staten Island, New York 10306-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lagarde, Alicia                                                     Contingent
          1318-18th St Apt 206                                                Unliquidated
          Cloquet, Minnesota 55720-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lageson, Patricia                                                   Contingent
          3102 98th Ave N.                                                    Unliquidated
          Minneapolis, Minnesota 55443-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LaGrange Highlands District 106                                     Contingent
          1750 Plainfield Rd                                                  Unliquidated
          LaGrange, IL 60525
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LaGrange SD 102                                                     Contingent
          333 N. Park Road                                                    Unliquidated
          LaGrange, IL 60526
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 616 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 640 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.430
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lagrew, Mary Elizabeth                                              Contingent
          1328 Corte Venosa                                                   Unliquidated
          Costa Mesa, California 92626-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lainson, Jennifer                                                   Contingent
          1907 Capri Lane                                                     Unliquidated
          Schaumburg, Illinois 60193-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laird, Jeramy                                                       Contingent
          1425 S. Neshannock Rd                                               Unliquidated
          Hermitage, Pennsylvania 16148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laird, Latiara                                                      Contingent
          12532 Percival Street                                               Unliquidated
          Chester, Virginia 23831-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laird, Scott                                                        Contingent
          8912 Blaze Drive                                                    Unliquidated
          Austin, Texas 78747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lajoie, John                                                        Contingent
          2816 Vt Route 66                                                    Unliquidated
          Randolph Center, Vermont 05061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lakavage, Serena                                                    Contingent
          749 Blockhouse Valley Rd                                            Unliquidated
          Clinton, Tennessee 37716-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 617 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 641 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.431
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lake and Peninsula School District                                  Contingent
          101 Jensen Drive                                                    Unliquidated
          King Salmon, AK 99613
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lake County - Montana                                               Contingent
          106 4th Ave East                                                    Unliquidated
          Polson, MT 59860
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lake County Farm Bureau Co-Op Assoc                                 Contingent
          402 N. Jackson Street                                               Unliquidated
          P.O. Box 440
                                                                              Disputed
          Crown Point, IN 46308
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.431
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lake County Forest Preserves                                        Contingent
          1899 West Winchester Road                                           Unliquidated
          Libertyville, IL 60048
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lake Park SD 108                                                    Contingent
          590 S Medinah                                                       Unliquidated
          Roselle, IL 60172
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lake, Mallory                                                       Contingent
          240 S. Salisbury St.                                                Unliquidated
          Apt. 1
                                                                              Disputed
          West Lafayette, Indiana 47906-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.431
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lalich, Shelby                                                      Contingent
          8953 Crooked Bend                                                   Unliquidated
          Saint John, Indiana 46373-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 618 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 642 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.431
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lalji, Mehdiya                                                      Contingent
          8537 Xenium Lane North                                              Unliquidated
          Maple Grove, Minnesota 55369-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lam, Kit                                                            Contingent
          1218 Cypress Run Drive                                              Unliquidated
          Stockton, California 95209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lam, Lisa                                                           Contingent
          310 Heather Croft                                                   Unliquidated
          Egg Harbor Township, New Jersey 08234-00
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LaMantia, Kristi                                                    Contingent
          130 Cooper Road                                                     Unliquidated
          Rochester, New York 14617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LaMar, Janel                                                        Contingent
          864 Cleveland Rd                                                    Unliquidated
          Apt D
                                                                              Disputed
          Ravenna, Ohio 44266-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.432
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LaMartina, Marc                                                     Contingent
          200 Toddson Lane                                                    Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lamb, Debra                                                         Contingent
          6307 Starview Dr                                                    Unliquidated
          Lancaster, California 93536-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 619 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 643 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.432
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lamb, Rachel                                                        Contingent
          241 Stirrup Drive                                                   Unliquidated
          Freehold, New Jersey 07728-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lambert, Cathlene                                                   Contingent
          312 Coronation Drive                                                Unliquidated
          Buffalo, New York 14226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lambert, Morgan                                                     Contingent
          1409 N Zang Blvd Apt 1432                                           Unliquidated
          Dallas, Texas 75203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lambkins, LaToya                                                    Contingent
          130 E Waymire Ave                                                   Unliquidated
          Webster Groves, Missouri 63119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lamelas, Salvador                                                   Contingent
          7500 Frederick Ln SW                                                Unliquidated
          Albuquerque, New Mexico 87121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lamette, Michael                                                    Contingent
          7322 Cunningham                                                     Unliquidated
          Highland, California 92346-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lamey, Laurel Ann                                                   Contingent
          2421 Abbeyglen Circle                                               Unliquidated
          Hoover, Alabama 35226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 620 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 644 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.433
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lamkin, Sheila                                                      Contingent
          94 Country Club Drive                                               Unliquidated
          Danville, Illinois 61832-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lanahan, Jennifer                                                   Contingent
          5255 W Running Brook Rd                                             Unliquidated
          Apt 102
                                                                              Disputed
          Columbia, Maryland 21044-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.433
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lancaster Central School District                                   Contingent
          177 Central Avenue                                                  Unliquidated
          Lancaster, NY 14086
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Land O' Frost, Inc.                                                 Contingent
          10109 Columbia Avenue                                               Unliquidated
          Muster, IN 46321
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Landau, Rossana                                                     Contingent
          32 Diana Drive                                                      Unliquidated
          Northfield, New Hampshire 03276-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Landeros, Crystal                                                   Contingent
          1942 S 32nd Street                                                  Unliquidated
          Milwaukiee, Wisconsin 53215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Landes, Kimberly                                                    Contingent
          2610 Guilford Ave                                                   Unliquidated
          Baltimore, Maryland 21218-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 621 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 645 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.433
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Landry, Mary                                                        Contingent
          PO BOX 1274                                                         Unliquidated
          3053 Brasset Road
                                                                              Disputed
          Donaldsonville, Louisiana 70346-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.434
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Landry, Sarah                                                       Contingent
          2265 Renzo Way                                                      Unliquidated
          Reno, Nevada 89521-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lane, Jonathan                                                      Contingent
          306 W. 26th Street                                                  Unliquidated
          Sioux Falls, South Dakota 57105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lane, Katherine                                                     Contingent
          345 W. Fullerton Pkwy #2205                                         Unliquidated
          Chicago, Illinois 60614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lane, Noah                                                          Contingent
          5223 Armida Dr                                                      Unliquidated
          Woodland Hills, California 91364-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lane, Sharry                                                        Contingent
          165 East High St.                                                   Unliquidated
          Ballston Spa, New York 12020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lane, Tayler                                                        Contingent
          451 E Dunne Ave                                                     Unliquidated
          Morgan Hill, California 95037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 622 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 646 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.434
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Langs, Sharlene                                                     Contingent
          4413 Chickasaw Ave                                                  Unliquidated
          Fort Worth, Texas 76119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Langston, Alicia                                                    Contingent
          6843 Kenny Lane                                                     Unliquidated
          Portsmouth, Virginia 23703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Langston, Rosalind                                                  Contingent
          9461 Hampton Dr. Apt 12                                             Unliquidated
          Highland, Indiana 46322-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lantrip, Sandra                                                     Contingent
          1221 Crabtree Ln Apt. 3103                                          Unliquidated
          Schaumburg, Illinois 60193-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laparan, Christian                                                  Contingent
          208 Santos Ranch Lane                                               Unliquidated
          Martinez, California 94553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lapidus, Chayah                                                     Contingent
          1835 E Kirkland Lane, Apt D                                         Unliquidated
          Tempe, Arizona 85281-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lapidus, Nicole                                                     Contingent
          815 N Humboldt St                                                   Unliquidated
          APT 309
                                                                              Disputed
          San Mateo, California 94401-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 623 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 647 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.435
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lapinski, Alison                                                    Contingent
          2256 Verdun Dr                                                      Unliquidated
          Joliet, Illinois 60435-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lapradd, Norma                                                      Contingent
          435 Niles Rd                                                        Unliquidated
          Dawson Springs, Kentucky 42409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lara, Maaty                                                         Contingent
          325 79th Street                                                     Unliquidated
          Apt# 15
                                                                              Disputed
          North Bergen, New Jersey 07047-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.435
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lara, Michelle                                                      Contingent
          2943 W Creek Valley Lane                                            Unliquidated
          Appleton, Wisconsin 54914-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lara, Raul                                                          Contingent
          1107 F St Unit E                                                    Unliquidated
          Sacramento, California 95814-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Large, Melissa                                                      Contingent
          7450 willow trace lane                                              Unliquidated
          knoxville, Tennessee 37938-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larimore, Amber                                                     Contingent
          19 Wild Cat Lane                                                    Unliquidated
          Ormond Beach, Florida 32174-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 624 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 648 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.436
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larosiliere, Jean                                                   Contingent
          900 Chopin                                                          Unliquidated
          Volo, Illinois 60073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larry, Scarlet                                                      Contingent
          P.O. Box 1888                                                       Unliquidated
          Douglasville, Georgia 30133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larsen, Alexandra                                                   Contingent
          519 Cary Woods Cir                                                  Unliquidated
          Cary, Illinois 60013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larsen, Maria                                                       Contingent
          519 Cary Woods Cr                                                   Unliquidated
          Cary, Illinois 60013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larson, Brenda                                                      Contingent
          2519 Oak Drive                                                      Unliquidated
          West Dundee, Illinois 60118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larson, Eli                                                         Contingent
          510 Highland St.                                                    Unliquidated
          West Concord, Minnesota 55985-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larson, Kristen                                                     Contingent
          826 Ravenswood Court                                                Unliquidated
          Lake Zurich, Illinois 60047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 625 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 649 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.436
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larson, Melanie                                                     Contingent
          165 N. 1650 W. # H103                                               Unliquidated
          Pleasant Grove, Utah 84062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larue, Carlee                                                       Contingent
          7664 S. 600 E.                                                      Unliquidated
          Columbia City, Indiana 46725-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larue-Wiebe, Roxanne                                                Contingent
          17850 Sw 26th Street                                                Unliquidated
          Martell, Nebraska 68404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laschansky, Molly                                                   Contingent
          11976 Orchid Street                                                 Unliquidated
          Coon Rapids, Minnesota 55433-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lash, Adam                                                          Contingent
          876 North Fordham Ave                                               Unliquidated
          Aurora, Illinois 60506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lasser, Judith                                                      Contingent
          1 Apple Blossom Road                                                Unliquidated
          Andover, Massachusetts 01810-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lathon, Aleta                                                       Contingent
          128 S Austin Blvd.                                                  Unliquidated
          #2
                                                                              Disputed
          Oak Park, Illinois 60304-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 626 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 650 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.437
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Latifi, Fatima                                                      Contingent
          720 West Jardin Terrace                                             Unliquidated
          Tracy, California 95391-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Latimer, Morgan                                                     Contingent
          405 Sam Drive Apt C                                                 Unliquidated
          Sycamore, Illinois 60178-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LATIN SCHOOL OF CHICAGO                                             Contingent
          59 W. North Ave.                                                    Unliquidated
          Chicago, IL 60610
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laughery Valley Ag LLC                                              Contingent
          336 N Buckeye Street                                                Unliquidated
          PO Box 177
                                                                              Disputed
          Osgood, IN 47037
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.437
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lauren Opalka                                                       Contingent
          416 Apple River Drive                                               Unliquidated
          Naperville, IL 60565
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laurenzana, Monica                                                  Contingent
          1780 Barnhill Drive                                                 Unliquidated
          1780 Barnhill Dr
                                                                              Disputed
          Mundelein, Illinois 60060-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.438
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laureys, Lance                                                      Contingent
          716 Greenmeadow Ct                                                  Unliquidated
          Crystal Lake, Illinois 60014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 627 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 651 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.438
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lauricella, Dylan                                                   Contingent
          6989 Van Antwerp Dr                                                 Unliquidated
          Cicero, New York 13039-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laveen Elementary School District                                   Contingent
          5001 West Dobbins Road                                              Unliquidated
          Laveen, AZ 85339
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lavin, Virginia                                                     Contingent
          272 Careswell St                                                    Unliquidated
          Marshfield, Massachusetts 02050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lavoie, Juliana                                                     Contingent
          2618 Bridgeview Way, Apt 1d                                         Unliquidated
          Indianapolis, Indiana 46220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lavrentiev, Anton                                                   Contingent
          5328 W Roscoe St                                                    Unliquidated
          Chicago, Illinois 69641-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lawhun, Victoria                                                    Contingent
          828 Summit Road                                                     Unliquidated
          Santa Barbara, California 93108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lawler, Andrew                                                      Contingent
          14 Mohawk Ave                                                       Unliquidated
          Middlesex, New Jersey 08846-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 628 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 652 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.438
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lawrence, Ethan                                                     Contingent
          703 Streb Street                                                    Unliquidated
          Iowa City, Iowa 52246-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lawson, Ana Maria                                                   Contingent
          40 W 135th Street                                                   Unliquidated
          APT 11H
                                                                              Disputed
          New York, New York 10037-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.439
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lawson, Bradley                                                     Contingent
          1505 Westicke Place                                                 Unliquidated
          Washington Township, Ohio 45459-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lawson, Kristi                                                      Contingent
          1570 Laurel Hall Lane                                               Unliquidated
          Little Elm, Texas 75068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lawson-Castillo, Diana                                              Contingent
          140 W Main Ave                                                      Unliquidated
          Morgan Hill, California 95037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lay, Alan                                                           Contingent
          28 Windfield Way                                                    Unliquidated
          Florence, Kentucky 41042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lay, Kara                                                           Contingent
          10768 N 55th Dr                                                     Unliquidated
          Glendale, Arizona 85304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 629 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 653 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.439
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laylan, Molly                                                       Contingent
          845 Rolling Hills St.                                               Unliquidated
          Bangor, Wisconsin 54614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Layton, Laura                                                       Contingent
          7840 E Hackberry PL                                                 Unliquidated
          Tucson, Arizona 85730-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LDI INDUSTRIES                                                      Contingent
          1864 Nagle Ave PO BOX 1810                                          Unliquidated
          Manitowoc, WI 54220
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LDI Mechanical, Inc.                                                Contingent
          1587 E. Bentley Dr., Suite 102                                      Unliquidated
          Corona, CA 92879
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Le, Bao Anh                                                         Contingent
          10841 Wesminster Ave                                                Unliquidated
          Garden Grove, California 92843-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Le, Tien                                                            Contingent
          2517 N Spring Hollow St                                             Unliquidated
          Wichita, Kansas 67228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lea County State Bank                                               Contingent
          1001 N Turner                                                       Unliquidated
          Hobbs, NM 88240
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 630 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 654 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.440
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leach, Garrett                                                      Contingent
          19214 Diablo Canyon Lane                                            Unliquidated
          Tomball, Texas 77377-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          League                                                              Contingent
          111 W. Illinois St.                                                 Unliquidated
          Chicago, IL 60654
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leahey, Chelsea                                                     Contingent
          1251 Park Street                                                    Unliquidated
          Atlantic Beach, New York 11509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lean, Catherine                                                     Contingent
          10 Farragut Road                                                    Unliquidated
          Annapolis, Maryland 21403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leathers, Rebecca                                                   Contingent
          3124 Grand Ave S, #2                                                Unliquidated
          Minneapolis, Minnesota 55408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leathery, Sandra                                                    Contingent
          96 Pine Ridge Road                                                  Unliquidated
          East Berlin, Pennsylvania 17316-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leavitt Partners                                                    Contingent
          299 South Main Street, Suite 2300                                   Unliquidated
          Salt Lake City, UT 84111-2278
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 631 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 655 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.440
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leavitt, Jenna                                                      Contingent
          259 Cloverbrook Circle                                              Unliquidated
          Pittsburg, California 94565-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lebanon Utilities                                                   Contingent
          401 S. Meridian Street                                              Unliquidated
          Lebanon, OH 46052
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LeBlanc, Dinesha                                                    Contingent
          2408 Quiet Arbor Lane                                               Unliquidated
          Pearland, Texas 77581-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lechuga, Ivette                                                     Contingent
          1234 W Meyer Dr                                                     Unliquidated
          Addison, Illinois 60101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ledbetter, Cari                                                     Contingent
          17624 Brass Drive                                                   Unliquidated
          Edmond, Oklahoma 73012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ledford, Ashleigh                                                   Contingent
          4694 E 100 N                                                        Unliquidated
          Kokomo, Indiana 46901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee County Iowa                                                     Contingent
          701 Avenue F                                                        Unliquidated
          Fort Madison, IA 52627
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 632 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 656 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.441
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee Enterprises                                                     Contingent
          201 N. Harrison St, Suite 600                                       Unliquidated
          Davenport, IA 52801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Aijeleth                                                       Contingent
          11761 West Biscayne Canal Road                                      Unliquidated
          Miami, Florida 33161-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Amy                                                            Contingent
          1001 North Carter Road                                              Unliquidated
          Decatur, Georgia 30030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Catherine                                                      Contingent
          6717 back bay lane                                                  Unliquidated
          Austin, Texas 78739-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Corey                                                          Contingent
          2968 Mirado                                                         Unliquidated
          Grand Prairie, Texas 75054-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Darrick                                                        Contingent
          2968 Mirado                                                         Unliquidated
          Grand Prairie, Texas 75054-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Eric                                                           Contingent
          276 Greenfield Rd                                                   Unliquidated
          Natchez, Mississippi 39120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 633 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 657 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.442
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Hilary                                                         Contingent
          1716 N Moody Ave                                                    Unliquidated
          Chicago, Illinois 60639-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Janet                                                          Contingent
          2016 4th Ave                                                        Unliquidated
          Sacramento, California 95818-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Jennifer                                                       Contingent
          309 7th Street                                                      Unliquidated
          Hiawatha, Iowa 52233-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Kiley                                                          Contingent
          336 34th Place NE                                                   Unliquidated
          Washington, District of Columbia 20019-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Lasandra                                                       Contingent
          444 Quail Creek Dr                                                  Unliquidated
          Frisco, Texas 75034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Lorena                                                         Contingent
          618 East Dewey Lane                                                 Unliquidated
          Caldwell, Idaho 83605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Malcolm                                                        Contingent
          277 Boston Street                                                   Unliquidated
          Chicago Heights, Illinois 60411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 634 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 658 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.443
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, See                                                            Contingent
          3059 Runway Avenue                                                  Unliquidated
          Eau Claire, Wisconsin 54703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Shatoya                                                        Contingent
          2725 Grand Ave, Apt 2                                               Unliquidated
          Bellmore, New York 11710-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lee, Vanessa E.                                                     Contingent
          10 Summer Street                                                    Unliquidated
          Beverly, Massachusetts 01915-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leech, Cynthia                                                      Contingent
          1671 E Bullard Ave #140                                             Unliquidated
          Fresno, California 93710-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leeper, Shannon                                                     Contingent
          5621 NW Platte Purchase Dr.                                         Unliquidated
          Kansas City, Missouri 64151-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leermakers, Elizabeth                                               Contingent
          10039 Venetian Way                                                  Unliquidated
          Dallas, Texas 75229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lefevers, Haley                                                     Contingent
          1050 Hayes Avenue                                                   Unliquidated
          Hamilton, Ohio 45015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 635 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 659 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.443
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leffler-Bell, Louise                                                Contingent
          1651 Hayne Rd                                                       Unliquidated
          Memphis, Tennessee 38119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lefland, Dana                                                       Contingent
          260 Millbrook Road                                                  Unliquidated
          North Haven, Connecticut 06473-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leflore, Antoinette                                                 Contingent
          21090 La Salle Blvd                                                 Unliquidated
          Warren, Michigan 48089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Legacy Farmers Cooperative                                          Contingent
          6566 CR 236                                                         Unliquidated
          Findlay, OH 45839
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Legg, Carolyn                                                       Contingent
          206 Yarnell Rd                                                      Unliquidated
          Clinton, Tennessee 37716-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leggett, Sylvia                                                     Contingent
          6 Union Church Road                                                 Unliquidated
          Trenton, Tennessee 38382-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lehman, Olivia                                                      Contingent
          201 Quiet Meadow Ln                                                 Unliquidated
          Dayton, Ohio 45459-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 636 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 660 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.444
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leigh, Tamara                                                       Contingent
          1515 Club Terrace                                                   Unliquidated
          Lynchburg, Virginia 24503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leinen, Courtney                                                    Contingent
          3538 Grand Ave S                                                    Unliquidated
          Minneapolis, Minnesota 55408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lemke, Leslie                                                       Contingent
          500 Woodley St.                                                     Unliquidated
          Northfield, Minnesota 55057-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lemmeyer, Christy                                                   Contingent
          125 E Martin St                                                     Unliquidated
          Amherst, Ohio 44001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lemmons, Stacie                                                     Contingent
          200 West 15th Street, #145                                          Unliquidated
          Edmond, Oklahoma 73013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lemont-Bromberek CSD 113A                                           Contingent
          16100 127th Street                                                  Unliquidated
          Lemont, IL 60439
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lenart, Lesa                                                        Contingent
          2615 Woodrow                                                        Unliquidated
          Waco, Texas 76708-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 637 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 661 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.445
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lence, Nicole                                                       Contingent
          350 Zach Lane                                                       Unliquidated
          Ozark, Illinois 62972-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lendor-Oliver, Joanne                                               Contingent
          4348 Big Dipper Circle                                              Unliquidated
          Hephzibah, Georgia 30815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lengyel, Christina                                                  Contingent
          6106 NW 49th Street                                                 Unliquidated
          Warr Acres, Oklahoma 73122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lennon, Bonnie                                                      Contingent
          10238 Forest Meadow Circle                                          Unliquidated
          Fishers, Indiana 46040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lenzini, Emily                                                      Contingent
          1151 Heavens Gate                                                   Unliquidated
          Lake in the Hills, Illinois 60156-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leon, Vickie                                                        Contingent
          717 Adler Falls Ln                                                  Unliquidated
          Adler Falls Ln
                                                                              Disputed
          Round Rock, Texas 78665-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.445
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leonora Louise Young                                                Contingent
          293 Central Park West                                               Unliquidated
          #4D
                                                                              Disputed
          New York, NY 10024
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 638 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 662 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.445
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leos, Sarah                                                         Contingent
          PO Box 2159                                                         Unliquidated
          Sun City, California 92586-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lerman Holding Co. Inc.                                             Contingent
          2722 West Tucker Drive                                              Unliquidated
          South Bend, IN 46619
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leslie, Gina                                                        Contingent
          2631 Beland Blvd                                                    Unliquidated
          Redondo Beach, California 90278-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lesnar, Katherine                                                   Contingent
          3940 S. Jackson Dr. #306                                            Unliquidated
          Independence, Missouri 64057-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          Lesslie Consulting, Inc                                             Contingent
          1049 Polo Downs Drive                                               Unliquidated
          Chesterfield, MO 63017
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Letteri, Jennifer                                                   Contingent
          150 Buffalo Hills Road                                              Unliquidated
          Earlysville, Virginia 22936-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leung, Calvin                                                       Contingent
          4849 El Cemonte Ave Apt. 154                                        Unliquidated
          Davis, California 95618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 639 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 663 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.446
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Levee, Mark                                                         Contingent
          1076 Valley Stream                                                  Unliquidated
          Wheeling, Illinois 60090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Levi, Kristen                                                       Contingent
          600 E. Campus Dr.                                                   Unliquidated
          Apt. 4A
                                                                              Disputed
          Carbondale, Illinois 62901-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.446
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Levine, Tara                                                        Contingent
          8237 Hydon Dawn Lane                                                Unliquidated
          Cary, North Carolina 27518-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leviston, Christina                                                 Contingent
          11017 Bel Air Place                                                 Unliquidated
          Oklahoma City, Oklahoma 73120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Levredge, Nancy                                                     Contingent
          8558 SW 61st Terr Rd                                                Unliquidated
          Ocala, Florida 34476-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewallen, Jesse                                                     Contingent
          816 W. Francis., # 445                                              Unliquidated
          Spokane, Washington 99205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewandowski, Michael                                                Contingent
          13875 Royal Melbourne Sqr                                           Unliquidated
          San Diego, California 92128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 640 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 664 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.447
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewers, Monica                                                      Contingent
          6700 S. South Shore Drive, 24B                                      Unliquidated
          Chicago, Illinois 60649-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis Tree                                                          Contingent
          300 Lucius Gordon Dr                                                Unliquidated
          Rochester, NY 14586
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Amber                                                        Contingent
          2104 Washington Overlook Drive                                      Unliquidated
          Fort Washington, Maryland 20744-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Cindy                                                        Contingent
          418 W. Regent St, Apt 4                                             Unliquidated
          Inglewood, California 90301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Crystal                                                      Contingent
          8832 Herman Street                                                  Unliquidated
          Fort Worth, Texas 76108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Gabrielle                                                    Contingent
          5 Bruins Way                                                        Unliquidated
          Hampton, Virginia 23669-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Jazmine                                                      Contingent
          104 St Thomas Drive                                                 Unliquidated
          Apt 3G
                                                                              Disputed
          Greensboro, North Carolina 27406-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 641 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 665 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.447
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Kareen                                                       Contingent
          11611 157th Street                                                  Unliquidated
          Apt. 3G
                                                                              Disputed
          Jamaica, New York 11434-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.448
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, La                                                           Contingent
          4124 - 122nd Drive North                                            Unliquidated
          Royal Palm Beach, Florida 33411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Leah                                                         Contingent
          4203 Colonial Road                                                  Unliquidated
          Pikesville, Maryland 21208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Marie                                                        Contingent
          4526 Tapscott Rd                                                    Unliquidated
          Pikesville, Maryland 21208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Michell                                                      Contingent
          4503 Courtfield Dr                                                  Unliquidated
          Indianapolis, Indiana 46254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Rondray                                                      Contingent
          1604 North Avenue N                                                 Unliquidated
          Freeport, Texas 77541-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Susan                                                        Contingent
          1718 Spruce Drive #135                                              Unliquidated
          Bowling Green, Ohio 43402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 642 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 666 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.448
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Tonia R                                                      Contingent
          7354 Mossy Brink Court                                              Unliquidated
          Columbia, Maryland 21045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lewis, Whitney                                                      Contingent
          2302 Hastings Drive                                                 Unliquidated
          Plainfield, Illinois 60586-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lexington Corporate Enterprise, Inc.                                Contingent
          17725 Volbrecht Rd.                                                 Unliquidated
          Landsing, IL 60438
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lexington R-V School District                                       Contingent
          2323 A High School Drive                                            Unliquidated
          Lexington, MO 64067
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $81.60
          Lexington Regional Health Center                                    Contingent
          P O Box 980                                                         Unliquidated
          1201 N. Erie
                                                                              Disputed
          Lexington, NE 68850-0980
          Date(s) debt was incurred 4/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.449
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LG Electronics                                                      Contingent
          2000 Millbrook Drive                                                Unliquidated
          Lincolnshire, IL 60069
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Li, Dorri                                                           Contingent
          96 Russett Road                                                     Unliquidated
          West Roxbury, Massachusetts 02132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 643 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 667 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.449
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Li, Meng Yan                                                        Contingent
          1015 Waylinn Ln                                                     Unliquidated
          Tracy, California 95376-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liang, Venus                                                        Contingent
          2807 S Wells St                                                     Unliquidated
          Chicago, Illinois 60616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Libbey, Inc.                                                        Contingent
          300 Madison Avenue                                                  Unliquidated
          Toledo, OH 43604
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liberty Center Local Schools                                        Contingent
          103 West Young Street                                               Unliquidated
          Liberty Center, OH 43532
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liberty County                                                      Contingent
          618 Adams Ave E                                                     Unliquidated
          Chester, MT 59522
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liberty Elementary School District                                  Contingent
          19871 W Fremont                                                     Unliquidated
          Buckeye, AZ 85326
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lickert, Mary                                                       Contingent
          318 Plum Run Rd                                                     Unliquidated
          Canonsburg, Pennsylvania 15317-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 644 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 668 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.450
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liddell, Jeffrey                                                    Contingent
          608 Sierra Verde Way NE                                             Unliquidated
          Rio Rancho, New Mexico 87124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lieb, Karen                                                         Contingent
          525 Barberry                                                        Unliquidated
          Highland Park, Illinois 60035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liebert, Michael                                                    Contingent
          13100 W Kittridge Ct                                                Unliquidated
          Brookfield, Wisconsin 53005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liefeld, Kayla                                                      Contingent
          1912A N. 55th St.                                                   Unliquidated
          Milwaukee, Wisconsin 53208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Life Storage, Inc.                                                  Contingent
          6467 MAIN ST                                                        Unliquidated
          Williamsville, NY 14221
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lifeline Medical Associates LLC                                     Contingent
          99 Cherry Hill Road, Suite 220                                      Unliquidated
          Parsippany, NJ 07054
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lifesteps                                                           Contingent
          100 Renaissance Center                                              Unliquidated
          Detroit, MI 48243
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 645 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 669 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.450
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lifetime Healthcare Companies/Excellus                              Contingent
          333 Butternut Drive                                                 Unliquidated
          Syracuse, NY 13214
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liftech Equipment Companies                                         Contingent
          6847 Ellicott Drive                                                 Unliquidated
          East Syracuse, NY 13057
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lighthouse Management Services                                      Contingent
          850 Clinton Square                                                  Unliquidated
          Rochester, NY 14604
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lightner, Sheree                                                    Contingent
          10 Tate Way                                                         Unliquidated
          York, Pennsylvania 17402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ligon, Sheila                                                       Contingent
          954 Manhattan Ave                                                   Unliquidated
          Dayton, Ohio 45406-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,375.00
          Likens Technology Solutions, LLC.                                   Contingent
          23374 W Milton Rd                                                   Unliquidated
          Wauconda, IL 60084
                                                                              Disputed
          Date(s) debt was incurred 6/9/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Likens Technology Solutions, LLC.                                   Contingent
          23374 W Milton Rd                                                   Unliquidated
          Wauconda, IL 60084
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 646 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 670 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.451
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lilly, Aaron                                                        Contingent
          1865 University Way                                                 Unliquidated
          San Jose, California 95126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Limura, Christina                                                   Contingent
          171 Windsorshire Drive                                              Unliquidated
          Rochester, New York 14624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lin, Warren                                                         Contingent
          34 Collins Ave                                                      Unliquidated
          Williston Park, New York 11596-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lincoln County Hospital                                             Contingent
          624 N. Second St., P.O. Box 406                                     Unliquidated
          Lincon, KS 67455
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lincoln SD 156                                                      Contingent
          410 West 157th Street                                               Unliquidated
          Calumet City, IL 60409
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lincolnwood SD 74                                                   Contingent
          6950 North East Prairie Road                                        Unliquidated
          Lincolnwood, IL 60712
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lind, Kellie                                                        Contingent
          1831 Nadine Road                                                    Unliquidated
          #202
                                                                              Disputed
          Wesley Chapel, Florida 33544-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 647 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 671 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.452
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lindahl, Lori                                                       Contingent
          91 Country Club Drive                                               Unliquidated
          Prospect Heights, Illinois 60070-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lindemyer, Michelle                                                 Contingent
          9015 Posey Drive                                                    Unliquidated
          Whitmore Lake, Michigan 48189-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Linden, Hannah                                                      Contingent
          625 Winston Drive                                                   Unliquidated
          Reno, Nevada 89502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Linden, Sean                                                        Contingent
          1406 Victory Drive                                                  Unliquidated
          Libertyville, Illinois 60048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lindenwood University                                               Contingent
          209 S Kingshighway St.                                              Unliquidated
          St. Charles, MO 63301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lindsay, Shannon                                                    Contingent
          1126 Alto Ave SE                                                    Unliquidated
          Grand Rapids, Michigan 49507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lindsey, Julia                                                      Contingent
          3202 Country Club Ln                                                Unliquidated
          Jeffersonville, Indiana 47130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 648 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 672 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.452
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Linebach, Taylor                                                    Contingent
          2100 Peach Street                                                   Unliquidated
          Higginsville, Missouri 64037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Link, Kristi                                                        Contingent
          1535 East Ninth St                                                  Unliquidated
          Cushing, Oklahoma 74023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,140.59
          LinkedIn Corporation                                                Contingent
          62228 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693-0622
                                                                              Disputed
          Date(s) debt was incurred 11/1/2019
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Linkletter, Alyssa                                                  Contingent
          1612 Willow St. #A                                                  Unliquidated
          Austin, Texas 78702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Linne, Tracy                                                        Contingent
          8113 Baywood Drive                                                  Unliquidated
          Norfolk, Virginia 23518-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Linstrot, Margaret                                                  Contingent
          4719 Yackley Ave                                                    Unliquidated
          Lisle, Illinois 60532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LION                                                                Contingent
          7200 Poe Avenue, Suite 400                                          Unliquidated
          Dayton, OH 45414
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 649 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 673 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.453
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lipperini, Anna                                                     Contingent
          924 Grove Street                                                    Unliquidated
          Avoca, Pennsylvania 18641-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lippolis, Dara                                                      Contingent
          20037 N Cordoba Street                                              Unliquidated
          Maricopa, Arizona 85138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lipsky, Janine                                                      Contingent
          139 Sydney St, Apt 2                                                Unliquidated
          Boston, Massachusetts 02125-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LiquidHub                                                           Contingent
          500 E Swedesford Rd #300                                            Unliquidated
          Wayne, PA 19087
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liquidia Technologies, Inc.                                         Contingent
          419 Davis Drive, Suite 100                                          Unliquidated
          Morrisville, NC 27560
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lisle Community Unit School District 202                            Contingent
          5211 Center Ave                                                     Unliquidated
          Lisle, IL 60532
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ListEngage LLC                                                      Contingent
          ListEngage LLC                                                      Unliquidated
          5 Edgell Road Suite 20
                                                                              Disputed
          Framingham, MA 01701
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 650 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 674 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.454
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Litchfield Elementary School District #7                            Contingent
          272 E Sagebrush St                                                  Unliquidated
          Litchfield, AZ 85340
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Littau Harvester, Inc.                                              Contingent
          1200 Wilco Road                                                     Unliquidated
          Stayton, OR 97383
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Littelfuse                                                          Contingent
          8755 West Higgins Rd                                                Unliquidated
          Chicago, IL 60631
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Little, Amber                                                       Contingent
          5420 Java Ave                                                       Unliquidated
          Birmingham, Alabama 35224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Little, Arishe                                                      Contingent
          6942 S Rockwell                                                     Unliquidated
          Chicago, Illinois 60629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Little, Evelyn                                                      Contingent
          163 - 20th Ave                                                      Unliquidated
          San Francisco, California 94121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Littlefield Unified School District                                 Contingent
          3436 E. Rio Virgin Road                                             Unliquidated
          Beaver Dam, AZ 86432
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 651 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 675 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.454
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Littles, Kim                                                        Contingent
          112 Wiley St                                                        Unliquidated
          Madison, Tennessee 37115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Littles, Teresa                                                     Contingent
          31455 Newton Road                                                   Unliquidated
          Sarcoxie, Missouri 64862-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Littleton Elementary School District                                Contingent
          1600 South 107th Avenue                                             Unliquidated
          Avondale, AZ 85323
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Littleton, Joy                                                      Contingent
          PO Box 261                                                          Unliquidated
          Telluride, Colorado 81435-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liu, Elise                                                          Contingent
          2338 Blake Street                                                   Unliquidated
          APT 11
                                                                              Disputed
          Berkeley, California 94704-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.455
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liu, Jing                                                           Contingent
          17524 Mayflower Dr                                                  Unliquidated
          Castro Valley, California 94546-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Liu, Xiao                                                           Contingent
          13648 Venturi Lane                                                  Unliquidated
          Herndon, Virginia 20171-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 652 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 676 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.455
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Llenas, Ivis                                                        Contingent
          302 Cimarron way                                                    Unliquidated
          Lawrnceville, Georgia 30044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Llewellyn, Traci                                                    Contingent
          89 Caya Avenue                                                      Unliquidated
          West Hartford, Connecticut 06110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lloyd, Vickie                                                       Contingent
          14000 Brandgrove Court                                              Unliquidated
          Chesterfield, Virginia 23832-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lo, Charis                                                          Contingent
          4600 Cedar Lake Road #5                                             Unliquidated
          St. Louis Park, Minnesota 55416-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lo, Jessica                                                         Contingent
          19019 Preston rd. Apt. 513                                          Unliquidated
          Dallas, Texas 75252-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lo, Marie                                                           Contingent
          1359 Phelps Aave #11                                                Unliquidated
          San Jose, California 95117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LoBiondo, Peter                                                     Contingent
          1766 Hassell Road                                                   Unliquidated
          Hoffman Estates, Illinois 60169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 653 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 677 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.456
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Local 13 - New York Plumbers Union                                  Contingent
          1850 Mount Read Blvd                                                Unliquidated
          Rochester, NY 14615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lock, Weston                                                        Contingent
          301 Ardmore Drive                                                   Unliquidated
          Middletown, Ohio 45042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Locke, Alexis                                                       Contingent
          8510 E 29th Street Apt 612                                          Unliquidated
          Wichita, Kansas 67226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lockhart, Devin                                                     Contingent
          22 Hillside Ave                                                     Unliquidated
          Wilder, Kentucky 41071-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lockwood, Anthony                                                   Contingent
          13401 Dumas Road                                                    Unliquidated
          Apt J-303
                                                                              Disputed
          Mill Creek, Washington 98012-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.456
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lodhie, Kaval                                                       Contingent
          3400 Avenue of the Arts                                             Unliquidated
          C204
                                                                              Disputed
          Costa Mesa, California 92626-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.456
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Loeb, Jay                                                           Contingent
          1453 Wightman St                                                    Unliquidated
          Pittsburgh, Pennsylvania 15217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 654 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 678 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.457
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Loebig, Manuela                                                     Contingent
          3301 Arena Blvd                                                     Unliquidated
          Apt. 128
                                                                              Disputed
          Sacramento, California 95834-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.457
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Loehr, Nicole                                                       Contingent
          45432 Longstreet Drive                                              Unliquidated
          El Paso, Texas 79904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lofton, Rodney                                                      Contingent
          2538 Wilcox Circle                                                  Unliquidated
          Denver, North Carolina 28037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Logan, Mechelle                                                     Contingent
          1140 Marie Drive                                                    Unliquidated
          Huddleston, Virginia 24104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Logan, Rachel                                                       Contingent
          3220 Cottage Hill Rd                                                Unliquidated
          Apt 8102
                                                                              Disputed
          Mobile, Alabama 36606-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.457
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Logan, Susan                                                        Contingent
          305 Silver Oak Drive                                                Unliquidated
          Johnson City, Tennessee 37615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Logitech, Inc.                                                      Contingent
          7700 Gateway Blvd                                                   Unliquidated
          Newark, CA 94560
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 655 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 679 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.457
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,109.99
          LogMeIn USA, Inc aka GetGo/Citrix Online                            Contingent
          File 50264                                                          Unliquidated
          Los Angeles, CA 90074-0264
                                                                              Disputed
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lohr Distributing Company                                           Contingent
          1100 South 9th                                                      Unliquidated
          St. Louis, MO 63101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lokshin, Erica                                                      Contingent
          525 W Hawthorne Pl. Apt 902                                         Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Loller, Patricia                                                    Contingent
          17 Edgecomb Street                                                  Unliquidated
          Hamden, Connecticut 06517-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lombard School District 44                                          Contingent
          150 W. Madison St.                                                  Unliquidated
          Lombard, IL 60148
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LONG Building Technologies                                          Contingent
          5001 S. Zuni Street                                                 Unliquidated
          Littleton, CO 80120
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Long, Amber                                                         Contingent
          623 N Copernicus Pl                                                 Unliquidated
          Fayetteville, Arkansas 72704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 656 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 680 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.458
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez Francisco, Ana                                                Contingent
          2650 W. Camino De La Joya                                           Unliquidated
          Tucson, Arizona 85742-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez Veneros, David                                                Contingent
          460 West 147Th St, Apt 28                                           Unliquidated
          New York, New York 10031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Carmen                                                       Contingent
          7970 W Grand Parkway S                                              Unliquidated
          Richmond, Texas 77406-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Christopher                                                  Contingent
          824 S York Rd                                                       Unliquidated
          Bensenville, Illinois 60106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Chrystal                                                     Contingent
          6845 Oakfield Dr                                                    Unliquidated
          Toledo, Ohio 43605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Cindy                                                        Contingent
          4470 East Jewell Avenue                                             Unliquidated
          Apt 205
                                                                              Disputed
          Denver, Colorado 80222-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.459
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Daisy                                                        Contingent
          13262 Cypress St.                                                   Unliquidated
          Garden Grove, California 92843-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 657 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 681 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.459
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Julisa                                                       Contingent
          333 amarillo dr                                                     Unliquidated
          carpenterville, Illinois 60110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Lindsey                                                      Contingent
          1158 W Elm Street                                                   Unliquidated
          Walla Walla, California 99362-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Maricela                                                     Contingent
          9680 Blue Mound Drive                                               Unliquidated
          San Ramon, California 94583-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Rosa                                                         Contingent
          6771 S 12th Ave                                                     Unliquidated
          Tucson, Arizona 85756-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez, Vanessa                                                      Contingent
          38245 Murrieta Hot Springs Rd                                       Unliquidated
          Apt M-208
                                                                              Disputed
          Murrieta, California 92563-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.459
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lopez-Guerrero, Tabitha                                             Contingent
          PO BOX 930204                                                       Unliquidated
          Norcross, Georgia 30340-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lora, Mia                                                           Contingent
          614 Clark Ave                                                       Unliquidated
          Ocean Spring, Mississippi 39564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 658 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 682 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.459
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Losada, Hans                                                        Contingent
          3831 Redwood Falls Drive                                            Unliquidated
          Houston, Texas 77082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Losby, Leslie                                                       Contingent
          1824 S. 1h35 #216                                                   Unliquidated
          Austin, Texas 78704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Losi, Caitlin                                                       Contingent
          27 Brightwood Lane West                                             Unliquidated
          Danville, California 94506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lostaunau, Karen                                                    Contingent
          5325 Suffield Ct                                                    Unliquidated
          Skokie, Illinois 60077-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lotito, Ashley                                                      Contingent
          4664 Mansion Street                                                 Unliquidated
          Apt. 1
                                                                              Disputed
          Philadelphia, Pennsylvania 19127-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.460
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lotspeich, Cynthia                                                  Contingent
          108 Marjorie                                                        Unliquidated
          Middleton, Idaho 83644-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lott, Ira                                                           Contingent
          10928 Audelia Road 624                                              Unliquidated
          Dallas, Texas 75243-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 659 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 683 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.460
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lott, Paula                                                         Contingent
          131 W MGuire Street                                                 Unliquidated
          Bell Buckle, Tennessee 37020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Loughlin, Melissa                                                   Contingent
          613 N. Abingdon St                                                  Unliquidated
          Arlington, Virginia 22203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Louis Vuitton US Manufacturing, Inc.                                Contingent
          321 W. Covina Blvd                                                  Unliquidated
          San Dimas, CA 91773
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Louisiana Department of Revenue                                     Contingent
          P.O. Box 66658                                                      Unliquidated
          Baton Rouge, LA 70896-6658
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lounnarath, EkAtlanta                                               Contingent
          3219 Pamplona                                                       Unliquidated
          Grand Prairie, Texas 75054-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Louper, Domeika                                                     Contingent
          1031 North Airline Avenue                                           Unliquidated
          Gramercy, Louisiana 70052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Love, Angelyn                                                       Contingent
          240 Stephanie Road                                                  Unliquidated
          Ellensburg, Washington 98926-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 660 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 684 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.461
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Love-Easley, DeShone                                                Contingent
          7331 Trenton Ave                                                    Unliquidated
          St. Louis, Missouri 63130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lovitt & Touche                                                     Contingent
          1050 W. Washington St.                                              Unliquidated
          Tempe, AZ 85281
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,230.00
          Lovitt and Touche                                                   Contingent
          7202 E Rosewood, 2nd Floor                                          Unliquidated
          Tucson, AZ 85710
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Low, RoxAnne                                                        Contingent
          7202 Meadow Glen Drive                                              Unliquidated
          Parker, Texas 75002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lowe, Chameka                                                       Contingent
          2901-B 16th Rd                                                      Unliquidated
          South Arlington, Virginia 22204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lower Great Lakes Kenworth                                          Contingent
          4625 West Western Avenue                                            Unliquidated
          South Bend, IN 46619
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lowery, Keena                                                       Contingent
          522 E Street, #A                                                    Unliquidated
          Davis, California 95616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 661 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 685 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.461
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lowrance, Tameka                                                    Contingent
          960 Red Oak Cir                                                     Unliquidated
          Newport News, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lowry, Nicole                                                       Contingent
          13641 Mariposa Street                                               Unliquidated
          Broomfield, Colorado 80023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Loy, Tyler                                                          Contingent
          375 Hunterdon Ct.                                                   Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Loza, Amanda                                                        Contingent
          1286 Antrim Drive                                                   Unliquidated
          Roseville, California 95747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lozoya, Carolyn                                                     Contingent
          1900 Tierney Rd                                                     Unliquidated
          Fort Worth, Texas 76112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lual, Melanie                                                       Contingent
          618 N. Solar Dr.                                                    Unliquidated
          Sioux Falls, South Dakota 57103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lucas, Linda                                                        Contingent
          5641 View Point Dr.                                                 Unliquidated
          Medina, Ohio 44256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 662 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 686 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.462
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lucas, Michelle                                                     Contingent
          11940 SW 179th Terr                                                 Unliquidated
          Miami, Florida 33177-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Luciano, David                                                      Contingent
          14123 Viola Place                                                   Unliquidated
          Huntley, Illinois 60142-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Luckenbaugh, Steven                                                 Contingent
          45 KENLEE CIRCLE                                                    Unliquidated
          Hanover, Pennsylvania 17331-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Luff, Deborah                                                       Contingent
          97 Ash Street                                                       Unliquidated
          Portsmouth, New Hampshire 03801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lufthansa German Airlines                                           Contingent
          3102 Commerce Parkway                                               Unliquidated
          Miramar, FL 33025
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LUGENBUHL, WHEATON, PECK, RANKIN &
          HUBBA                                                               Contingent
          601 Poydras St                                                      Unliquidated
          Suite 2775                                                          Disputed
          New Orleans, LA 70130
                                                                             Basis for the claim:    Vendor / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 663 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 687 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.463
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lugo Irizarry, Minoshcka                                            Contingent
          518 Bell Avenue                                                     Unliquidated
          Livermore, California 94550-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lukehart, Cherise                                                   Contingent
          6933 Stewart Road                                                   Unliquidated
          Lima, Ohio 45807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lumbreras, Jose                                                     Contingent
          341 N Winston Dr                                                    Unliquidated
          Palatine, Illinois 60074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lumbreras, Melinna                                                  Contingent
          25753 W Ivanhoe Rd                                                  Unliquidated
          Wauconda, Illinois 60084-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lunceford, Christine                                                Contingent
          834 - 31st Ave N                                                    Unliquidated
          St Cloud, Minnesota 56303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Luo, Angel                                                          Contingent
          9901 SHARPCREST ST. APT K2                                          Unliquidated
          Houston, Texas 77036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Luquez, Jocelyn                                                     Contingent
          718 West 171, Apt 3                                                 Unliquidated
          New York, New York 10032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 664 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 688 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.463
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Luther, Kari                                                        Contingent
          2310 Jameson North                                                  Unliquidated
          Lincoln, Nebraska 68512-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lutheran Community at Telford                                       Contingent
          12 Lutheran Home Drive                                              Unliquidated
          Telford, PA 18969
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LUTHERAN SENIOR SERVICES (LSS)                                      Contingent
          1150 Hanley Industrial Ct.                                          Unliquidated
          St. Louis, MO 63144
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lutheran Social Services of Illinois                                Contingent
          1001 E. Touhy Avenue, Suite 50                                      Unliquidated
          Des Plaines, IL 60018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ly, Duy                                                             Contingent
          6025 LANHAM PL SW #103                                              Unliquidated
          Seattle, Washington 98126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lycoming Community Care, Inc.                                       Contingent
          2140 Warrensville Rd                                                Unliquidated
          Montoursville, PA 17754-9621
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lyles, Erica                                                        Contingent
          7267 S Coles Avenue                                                 Unliquidated
          Unit 1
                                                                              Disputed
          Chicago, Illinois 60649-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 665 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 689 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.464
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lyles, Robert                                                       Contingent
          9055 S Normal                                                       Unliquidated
          Chicago, Illinois 60620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lynch, Elizabeth                                                    Contingent
          606 South Wille Street                                              Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lynch, Robert                                                       Contingent
          226 S Helena Ave                                                    Unliquidated
          Arlington Heights, Illinois 60005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lynn, Quiana                                                        Contingent
          PO Box 27495                                                        Unliquidated
          Golden Valley, Minnesota 55427-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lyons Consulting Group, LLC                                         Contingent
          20 N Wacker Dr., Suite 1750                                         Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lyons, Emily                                                        Contingent
          105 Circle Drive                                                    Unliquidated
          Hanover, Pennsylvania 17331-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lytle's Transfer & Storage                                          Contingent
          235 Holiday Parkway                                                 Unliquidated
          PO Box 106
                                                                              Disputed
          Tipton, PA 16684
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 666 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 690 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.465
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          LYTX                                                                Contingent
          9785 Towne Center Dr.                                               Unliquidated
          San Diego, CA 92121
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          M&T Insurance - DEMO                                                Contingent
          285 Delaware Sve                                                    Unliquidated
          Suite 106
                                                                              Disputed
          Buffalo, NY 14202
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.465
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
          M. Harris & Co.                                                     Contingent
          1800 W Roscoe Street                                                Unliquidated
          Unit 516
                                                                              Disputed
          Chicago, IL 60657
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.465
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          M. Harris LLC                                                       Contingent
          1800 W Roscoe Street Unit 516                                       Unliquidated
          Chicago, IL 60657
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ma, Manuel                                                          Contingent
          374 East H Street                                                   Unliquidated
          Suite A711
                                                                              Disputed
          Chula Vista, California 91910-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.465
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ma, Susan                                                           Contingent
          6112 Navajo Road                                                    Unliquidated
          Westminster, California 92683-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maali-Fakhouri, Ahlam                                               Contingent
          1229 Thomas Ct                                                      Unliquidated
          Apt 201
                                                                              Disputed
          Glendale Heights, Illinois 60139-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 667 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 691 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.466
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mabille, Carmen                                                     Contingent
          114 Cloverdale Ave                                                  Unliquidated
          Paramus, New Jersey 07652-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mableton, Stephen                                                   Contingent
          3920 Algiers Rd                                                     Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mabrey, Mario                                                       Contingent
          3211 Midway Ave, Apt 2                                              Unliquidated
          Cincinnati, Ohio 45238-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Macaluso, Lorna                                                     Contingent
          2517 Fernwood Dr                                                    Unliquidated
          Edmond, Oklahoma 73034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Macduff, Jennifer                                                   Contingent
          17542 Still Harbor Lane                                             Unliquidated
          Huntington Beach, California 92647-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mack, Kristan                                                       Contingent
          6529 Pilliod Rd                                                     Unliquidated
          Holland, Ohio 43528-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mackay, Emily                                                       Contingent
          417 5th ST NW                                                       Unliquidated
          Piedmont, Oklahoma 73078-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 668 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 692 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.466
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mackeen, Jane                                                       Contingent
          47 Washington Drive                                                 Unliquidated
          Sudbury, Massachusetts 01776-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MacLean, Justin                                                     Contingent
          6117 Fitzgerald                                                     Unliquidated
          Fremont, Michigan 49412-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Macyauski, Carmen                                                   Contingent
          2213 33rd Street NW                                                 Unliquidated
          Apartment 107
                                                                              Disputed
          Minot, North Dakota 58703-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.467
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Madda, Maliha                                                       Contingent
          489 Polo Club Drive                                                 Unliquidated
          Glendale Heights, Illinois 60139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maddin, Cynthia                                                     Contingent
          5625 Healtherglen Ter                                               Unliquidated
          Fort Worth, Texas 76179-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maddox, Carol                                                       Contingent
          5805 S Minnie St                                                    Unliquidated
          Wichita, Kansas 67217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maddox, Emily                                                       Contingent
          330 W Cheryl Drive                                                  Unliquidated
          San Antonio, Texas 78228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 669 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 693 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.467
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Madison Elementary School District                                  Contingent
          5601 N 16th Street                                                  Unliquidated
          Phoenix, AZ 85016
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Madison, Shonette                                                   Contingent
          12719 S Throop                                                      Unliquidated
          Calumet Park, Illinois 60827-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Madison, Suzanne                                                    Contingent
          6337 Alderwood Cir B                                                Unliquidated
          Woodbury, Minnesota 55125-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Madison-Oneida-Herkimer BOCES Health Ins                            Contingent
          4937 Spring Rd                                                      Unliquidated
          Verona, NY 13478
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Madonna, Diane                                                      Contingent
          1906 Thorpe Circle                                                  Unliquidated
          Brunswick, Ohio 44212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maduro, Ingrid                                                      Contingent
          405 Bloomfield Ave                                                  Unliquidated
          Montclair, New Jersey 07402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MAERCKER SCHOOL DISTRICT 60                                         Contingent
          5800 S. Holmes                                                      Unliquidated
          Clarendon Hills, IL 60514
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 670 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 694 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.468
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maganito, Jason                                                     Contingent
          4428 Norocco Circle                                                 Unliquidated
          Fremont, California 94555-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mager, Paul                                                         Contingent
          731 Trails End Drive                                                Unliquidated
          Amherst, Ohio 44001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Magera, Lindsay                                                     Contingent
          3424 Dillon St.                                                     Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Magic Aire                                                          Contingent
          501 Galveston Street                                                Unliquidated
          Wichita Falls, TX 76301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Magill, Timothy                                                     Contingent
          2948 N. 67th st.                                                    Unliquidated
          Kansas City, Kansas 66104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Magnetrol International Inc.                                        Contingent
          5300 Belmont Rd                                                     Unliquidated
          Downers Grove, IL 60515
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Magnum Steel Works, Inc.                                            Contingent
          200 Shiloh Drive                                                    Unliquidated
          Mount Vernon, IL 62864
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 671 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 695 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.468
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Magoon, Kelsey                                                      Contingent
          6916 Corte Monterey                                                 Unliquidated
          Pleasanton, California 94566-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Magstadt, Chloe                                                     Contingent
          125 Near Court                                                      Unliquidated
          APT #509
                                                                              Disputed
          Walnut Creek, California 94596-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.469
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maguire, John                                                       Contingent
          1864 Wildwood Avenue                                                Unliquidated
          Lexington, Kentucky 40503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maguire, Mollie                                                     Contingent
          4489 Lookout Road Apt 4                                             Unliquidated
          Virginia Beach, Virginia 23455-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahavong, Emily                                                     Contingent
          6306 voyagers place                                                 Unliquidated
          apollo beach, Florida 33572-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maher, Eileen                                                       Contingent
          342 West Freemason St., Apt. 1                                      Unliquidated
          Norfolk, Virginia 23510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahin, Collisa                                                      Contingent
          575 Oakleaf Pltn Pkwy #408                                          Unliquidated
          Orange Park, Florida 32065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 672 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 696 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.469
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahler, Carole                                                      Contingent
          210 Allandale Road                                                  Unliquidated
          unit 1D
                                                                              Disputed
          Chestnut Hill, Massachusetts 02467-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.469
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahmoud, Sana                                                       Contingent
          1600 edgemore ave                                                   Unliquidated
          Sacramento, California 95835-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahoney, Daniel                                                     Contingent
          37 Capen Street                                                     Unliquidated
          Medford, Massachusetts 02155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahoney, Jeremy                                                     Contingent
          7852 Musket St.                                                     Unliquidated
          Indianapolis, Indiana 46256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahoney, Kathryn                                                    Contingent
          50 Pleasant St                                                      Unliquidated
          Braintree, Massachusetts 02184-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahoney, Valerie                                                    Contingent
          2820 Iroquois Avenue                                                Unliquidated
          Fort Pierce, Florida 34946-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mahowald, Heather                                                   Contingent
          11168 Sherman Street                                                Unliquidated
          Papillion, Nebraska 68046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 673 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 697 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.470
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mai, Thu                                                            Contingent
          4627 Paloma Ave                                                     Unliquidated
          San Jose, California 95111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mailander, Alison                                                   Contingent
          4731 Nokomis Ave                                                    Unliquidated
          Minneapolis, Minnesota 55406-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maile, Ginger                                                       Contingent
          24375 Jackson Ave                                                   Unliquidated
          #201J
                                                                              Disputed
          Murrieta, California 92562-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.470
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maine Revenue Services                                              Contingent
          PO Box 9107                                                         Unliquidated
          Augusta, ME 04332-9107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mainord, Rachael                                                    Contingent
          8751 Christygate Lane                                               Unliquidated
          Huber Heights, Ohio 45424-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Majewski, Jillian                                                   Contingent
          2720 4th Ave., APT 507                                              Unliquidated
          Seattle, Washington 98121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mak, Jacquelyne                                                     Contingent
          1014 E. Olde Virginia Rd                                            Unliquidated
          Palatine, Illinois 60074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 674 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 698 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.470
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Makowski, Michael                                                   Contingent
          86 Unger Avenue                                                     Unliquidated
          Buffalo, New York 14210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Malace, Kelli                                                       Contingent
          14264 Muirfield Dr                                                  Unliquidated
          Athens, Alabama 35613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maldonado, Roberto                                                  Contingent
          3107 Grafton Street                                                 Unliquidated
          Sarasota, Florida 34231-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Malek                                                               Contingent
          2521 Antelope Street                                                Unliquidated
          Corpus Christi, TX 78403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maley, April                                                        Contingent
          1631 Darien Drive                                                   Unliquidated
          Fort Wayne, Indiana 46815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Malhotra, Gaurav                                                    Contingent
          317 Heredia Ct.                                                     Unliquidated
          San Jose, California 95116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Malhotra, Rohit                                                     Contingent
          317 Heredia Ct.                                                     Unliquidated
          San Jose, California 95116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 675 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 699 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.471
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Malik, ChyAnn                                                       Contingent
          5966 Mergenthal Ct                                                  Unliquidated
          Weldon Springs, Missouri 63304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Malinowski, Paige                                                   Contingent
          8720 S Hill Road                                                    Unliquidated
          Marengo, Illinois 60152-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mallen, David                                                       Contingent
          949 W MONTANA                                                       Unliquidated
          UNIT 3W
                                                                              Disputed
          Chicago, Illinois 60614-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.471
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mallinckrodt Nuclear Medicine, LLC                                  Contingent
          111 Westport Plaza                                                  Unliquidated
          Ste. 600
                                                                              Disputed
          St. Louis, MO 63146
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.472
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mallinckrodt Pharmaceuticals                                        Contingent
          675 McDonnell Blvd                                                  Unliquidated
          Hazelwood, MO 63042
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Malloy, Stacy                                                       Contingent
          14 W. 24th St                                                       Unliquidated
          Apt. 1
                                                                              Disputed
          Baltimore, Maryland 21218-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.472
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Malone, William                                                     Contingent
          1655 Treasure Isle Road                                             Unliquidated
          Hot Springs, Arkansas 71913-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 676 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 700 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.472
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maloney Management                                                  Contingent
          705 Robert E. lee Dr.                                               Unliquidated
          Tupelo, MS 38802
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maluchnik, Katelyn                                                  Contingent
          2115 Green Valley Dr                                                Unliquidated
          Toledo, Ohio 43614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Man, Spider                                                         Contingent
          123 Marvel Lane                                                     Unliquidated
          Owings Mills, Maryland 30906-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manalo, Dale                                                        Contingent
          2874 N Greenwood Avenue                                             Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manasses, Dorene                                                    Contingent
          201 Clover Ridge Dr                                                 Unliquidated
          Lockport, Illinois 60441-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mancarella, Megan                                                   Contingent
          2449 Aristocracy Circle                                             Unliquidated
          Lexington, Kentucky 40509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manella, Jason                                                      Contingent
          1408 North Paulina Street                                           Unliquidated
          Unit 2
                                                                              Disputed
          Chicago, Illinois 60622-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 677 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 701 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.473
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manfredi, Karleigh                                                  Contingent
          15 Ledge Drive                                                      Unliquidated
          Milton, Vermont 05468-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mangat, Phillip                                                     Contingent
          2638 Foxledge Dr                                                    Unliquidated
          Tobyhanna, Pennsylvania 18466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mangicap, Joseph                                                    Contingent
          45 Trumbauersville Road                                             Unliquidated
          Quakertown, Pennsylvania 18951-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mangrum, Onetta                                                     Contingent
          4553 N Saguaro Dr                                                   Unliquidated
          Apache Junction, Arizona 85120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manis, Tammi                                                        Contingent
          2725 Sood Road                                                      Unliquidated
          Apt #4
                                                                              Disputed
          Knoxville, Tennessee 37921-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.473
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maniscalco, Jeanine                                                 Contingent
          70 McClellan Farm Rd                                                Unliquidated
          Underhill, Vermont 05489-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manitex International                                               Contingent
          9725 Industrial Drive                                               Unliquidated
          Bridgeview, IL 60455
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 678 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 702 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.473
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mannheim SD 83                                                      Contingent
          10401 Grand Avenue                                                  Unliquidated
          Franklin Park, IL 60131
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manning, Emily                                                      Contingent
          7131 Gibbs Rd                                                       Unliquidated
          Kansas City, Kansas 66106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manning, Kimberly                                                   Contingent
          7 Legion Ave                                                        Unliquidated
          Medway, Massachusetts 02053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manning, Valerie                                                    Contingent
          209 Chinnaberry Trl                                                 Unliquidated
          Forney, Texas 75126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manning, Vanessa                                                    Contingent
          4037 Creek Station Lane                                             Unliquidated
          Stone Mountain, Georgia 30083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mansell, Lori                                                       Contingent
          P.O. Box 7512                                                       Unliquidated
          Tempe, Arizona 85281-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mansour, Shanel                                                     Contingent
          20456 Alexander                                                     Unliquidated
          Macomb, Michigan 48044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 679 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 703 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.474
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manteno SD 5                                                        Contingent
          84 North Oak St                                                     Unliquidated
          Manteno, IL 60950
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Manth-Brownell, Inc.                                                Contingent
          1120 Fyler Rd                                                       Unliquidated
          Kirkville, NY 13082
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maplewood Nursing Home                                              Contingent
          100 Daniel Drive                                                    Unliquidated
          Webster, NY 14580
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marabotti, Anthony                                                  Contingent
          1915 Burr Oak Drive                                                 Unliquidated
          Mt Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marana Unified School District                                      Contingent
          11279 W. Grier Road                                                 Unliquidated
          Marana, AZ 85653
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marceaux, Kaytlynn                                                  Contingent
          3028 Francis Street                                                 Unliquidated
          #102
                                                                              Disputed
          Kansas City, Kansas 66103-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.475
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marchbanks, Alexa                                                   Contingent
          102 Woodglen Drive                                                  Unliquidated
          Gulfport, Mississippi 39507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 680 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 704 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.475
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marchione, Carmen                                                   Contingent
          6353 Nw 40th Ave                                                    Unliquidated
          Coconut Creek, Florida 33073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marchione, Michele                                                  Contingent
          6353 NW 40th Ave                                                    Unliquidated
          Coconut Creek, Florida 33073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marchorro, Rudy                                                     Contingent
          10921 Otis Street                                                   Unliquidated
          Lynwood, California 90262-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marconi, Jean                                                       Contingent
          5353 N Virginia Ave                                                 Unliquidated
          1s
                                                                              Disputed
          Chicago, Illinois 60625-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.475
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marengo-Union Elementary SD #165                                    Contingent
          816 E. Grant Highway                                                Unliquidated
          Marengo, IL 60152
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marian Milwaukee, Inc.                                              Contingent
          N51 W13251 Brahm Court                                              Unliquidated
          Menomonee Falls, WI 53051
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maricopa County Regional School District                            Contingent
          3409 W. Whitton Ave.                                                Unliquidated
          Phoenix, AZ 85017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 681 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 705 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.475
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maricopa Unified School District                                    Contingent
          44150 Maricopa-Casa Grande Hwy                                      Unliquidated
          Maricopa, AZ 85138
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marikar, Nancy                                                      Contingent
          172 Homestead Drive                                                 Unliquidated
          South Windsor, Connecticut 06074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marin, Dahlia                                                       Contingent
          1381 W. Phillips Blvd                                               Unliquidated
          Pomona, California 91766-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marion, Brandy                                                      Contingent
          1527 NLee Blvd                                                      Unliquidated
          Berkeley, Illinois 60163-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marion, Chelsea                                                     Contingent
          1601 Round Hill Circle                                              Unliquidated
          Kernersville, North Carolina 27284-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marisela Bayona                                                     Contingent
          2255 SE Avalon Rd                                                   Unliquidated
          Port Saint Lucie, FL 34952
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MARIST HIGH SCHOOL                                                  Contingent
          4200 W. 115th Street                                                Unliquidated
          Chicago, IL 60655
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 682 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 706 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.476
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maritz                                                              Contingent
          1375 N Highway Drive                                                Unliquidated
          Fenton, MO 63099
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MarketLab Research, Inc.                                            Contingent
          1100 E Penn Square, Suite 1200                                      Unliquidated
          Philadelphia, PA 19107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Markley, Michelle                                                   Contingent
          604 Glendale Ave                                                    Unliquidated
          Rockford, Illinois 61108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marklund                                                            Contingent
          1 South 450 Wyatt Drive                                             Unliquidated
          Geneva, IL 60134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marks, Lauren                                                       Contingent
          7 Nathan Stone Lane                                                 Unliquidated
          South Borough, Massachusetts 01701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marks, Lynn                                                         Contingent
          33 Highgate Rd                                                      Unliquidated
          Framingham, Massachusetts 01701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Markwell, Sarah                                                     Contingent
          5 Cherie Court                                                      Unliquidated
          Edwardsville, Illinois 62025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 683 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 707 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.477
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marmel, Caroline                                                    Contingent
          36 1st Street                                                       Unliquidated
          Wheeling, Illinois 60090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marmolejo, Janis                                                    Contingent
          12901 Old Coach Rd                                                  Unliquidated
          Three Forks, Montana 59752-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marnon, Amanda                                                      Contingent
          46319 Hampton Drive                                                 Unliquidated
          Shelby Township, Michigan 48315-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marous Brothers Construction, Inc.                                  Contingent
          1702 Joseph Lloyd Parkway                                           Unliquidated
          Willoughby, OH 44094
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marple, Brooke                                                      Contingent
          1211 E Howell St. Unit A                                            Unliquidated
          Seattle, Washington 98122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marquardt SD 15                                                     Contingent
          1800 Glen Ellyn Road                                                Unliquidated
          Glendale Heights, IL 60139
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,200.00
          Marquee Health                                                      Contingent
          314 W Superior St. Suite 601                                        Unliquidated
          Chicago, IL 60654
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 684 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 708 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.477
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marquee Health LLC                                                  Contingent
          8707 Skokie Blvd                                                    Unliquidated
          Skokie, IL 60077
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marquez, Elva                                                       Contingent
          10926 Wood Terrace                                                  Unliquidated
          Live Oak, Texas 78233-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marquez, Grace                                                      Contingent
          219 W Dahil rd                                                      Unliquidated
          Tucson, Arizona 85705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marrs, Matthew                                                      Contingent
          11160 Jollyville Rd #1803                                           Unliquidated
          Austin, Texas 78759-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marruffo, Sarah                                                     Contingent
          6137 Strasbourg Drive                                               Unliquidated
          Corpus Christi, Texas 78414-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marshall, Connie                                                    Contingent
          175 Shadow Breeze Rd                                                Unliquidated
          Kaysville, Utah 84037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marshall, Dominique                                                 Contingent
          1628 Kirkwood Rd                                                    Unliquidated
          Baltimore, Maryland 21207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 685 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 709 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.478
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marshall, Erin                                                      Contingent
          1002 Prescott Dr                                                    Unliquidated
          Conroe, Texas 77301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marshall, Gerstein & Borun LLP                                      Contingent
          233 S. Wacker Drive                                                 Unliquidated
          Suite 6300 Willis Tower
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.478
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marshall, Kara                                                      Contingent
          12 Knollwood Court                                                  Unliquidated
          Pittsburgh, Pennsylvania 15239-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marshall, Kathy                                                     Contingent
          757 Belmont Drive                                                   Unliquidated
          West Palm Beach, Florida 33415-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marshall, Sharon                                                    Contingent
          114 Gaile Ave                                                       Unliquidated
          Natchez, Mississippi 39120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marston, Alison                                                     Contingent
          5812 Indian Summer Drive                                            Unliquidated
          Clarksville, Maryland 21029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martenson, Alexander                                                Contingent
          3648 Damon Street                                                   Unliquidated
          Eau Claire, Wisconsin 54701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 686 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 710 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.479
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Alexander                                                   Contingent
          2339 N Leavitt St                                                   Unliquidated
          Unit 2
                                                                              Disputed
          Chicago, Illinois 60647-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.479
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Elizabeth                                                   Contingent
          1025 Summit Hills Lane                                              Unliquidated
          Naperville, Illinois 60563-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Jalisa                                                      Contingent
          140 E. Rio Salado Pkwy #601                                         Unliquidated
          Tempe, Arizona 85281-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, John                                                        Contingent
          2423 Q St, Apt 1                                                    Unliquidated
          Sacramento, California 95816-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Kimberlee                                                   Contingent
          5803 Hillview Way                                                   Unliquidated
          Missoula, Montana 59803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Kristen                                                     Contingent
          2882 Cummings Ave                                                   Unliquidated
          Berkley, Michigan 48072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Lance                                                       Contingent
          11518 W Wethersfield Rd                                             Unliquidated
          El Mirage, Arizona 85335-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 687 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 711 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.480
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Lynnette                                                    Contingent
          2200 W Goldcrest Avenue                                             Unliquidated
          Milwaukee, Wisconsin 53221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Odessa                                                      Contingent
          1937 Paces Landing Court NW                                         Unliquidated
          Conyers, Georgia 30012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Sheraya                                                     Contingent
          1131 Univ Blvd West Apt1407                                         Unliquidated
          Silver Spring, Maryland 20902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martin, Tara                                                        Contingent
          7431 TR 317                                                         Unliquidated
          Millersburg, Ohio 44654-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martine, Samantha                                                   Contingent
          100 Lenape Trail                                                    Unliquidated
          Medford, New Jersey 08055-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Alejandra                                                 Contingent
          7355 Mimosa Ave                                                     Unliquidated
          El Paso, Texas 79915-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Alyssa                                                    Contingent
          6420 Metrowest Blvd                                                 Unliquidated
          Unit 1028
                                                                              Disputed
          Orlando, Florida 32835-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 688 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 712 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.480
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Chrene                                                    Contingent
          22643 Valley View Drive                                             Unliquidated
          Hayward, California 94541-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Christina                                                 Contingent
          po box 973                                                          Unliquidated
          Tolleson, Arizona 85353-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Christopher                                               Contingent
          2904 Barton Skyway Apt 287                                          Unliquidated
          Austin, Texas 78746-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Corina                                                    Contingent
          770 Quincy Street                                                   Unliquidated
          Kingsburg, California 93631-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Erika                                                     Contingent
          4560 Brentwood Street                                               Unliquidated
          Wheat Ridge, Colorado 80033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Heather                                                   Contingent
          8101 Holliday Rd.                                                   Unliquidated
          Lantana, Texas 76226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Jacob                                                     Contingent
          606 Maplewood Dr                                                    Unliquidated
          Victoria, Texas 77901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 689 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 713 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.481
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Jessica                                                   Contingent
          3312 Washington St                                                  Unliquidated
          Pasadena, Texas 77503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Johnny                                                    Contingent
          211 McKee Rd                                                        Unliquidated
          Selah, Washington 98942-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Joseph                                                    Contingent
          8101 Holliday Rd.                                                   Unliquidated
          Lantana, Texas 76226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Juanita                                                   Contingent
          9329 N. 15 W.                                                       Unliquidated
          Wawaka, Indiana 46794-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Lesley                                                    Contingent
          5721 Timbergate Dr. Apt.14308                                       Unliquidated
          Corpus Christi, Texas 78414-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Mark                                                      Contingent
          2903 Artesia Blvd                                                   Unliquidated
          Torrance, California 90504-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, MaryAnne                                                  Contingent
          405 Ranch Road                                                      Unliquidated
          Ropesville, Texas 79358-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 690 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 714 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.482
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Nalleli                                                   Contingent
          852 Grand Avenue South                                              Unliquidated
          San Fransisco, California 94080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Nancy                                                     Contingent
          639 Emiline Ln                                                      Unliquidated
          New Braunfels, Texas 78130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Rafael                                                    Contingent
          1301 E Camellia Ave. Apt. A                                         Unliquidated
          McAllen, Texas 78501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez, Sonia                                                     Contingent
          32148 Green Hill Drive                                              Unliquidated
          Castaic, California 91384-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martinez-Ruiz, Zuleika                                              Contingent
          1217 Ivey Park Lane                                                 Unliquidated
          Peachtree Corners, Georgia 30092-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martino, Jessica                                                    Contingent
          3030 New Highland Church Rd                                         Unliquidated
          Brandenburg, Kentucky 40108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Martus, Fred                                                        Contingent
          10095 Heartwood Lane                                                Unliquidated
          Clarkston, Michigan 48348-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 691 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 715 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.482
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marty, Robert                                                       Contingent
          5460 Villarose Ave Northwest                                        Unliquidated
          Massillon, Ohio 44647-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marusarz, Kate                                                      Contingent
          13199 E. Red Coat Drive                                             Unliquidated
          Lemont, Illinois 60439-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Marvin Keller Trucking                                              Contingent
          1500 West Pointe Way                                                Unliquidated
          Sullivan, IL 61951
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maryland Comptroller of Maryland                                    Contingent
          301 W. Preston Street                                               Unliquidated
          Room 409
                                                                              Disputed
          Baltimore, MD 21201
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.483
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mason, Angelina                                                     Contingent
          166 30 137th Ave                                                    Unliquidated
          Jamaica, New York 11434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mason, Vanessa                                                      Contingent
          18408 E. Union School Road                                          Unliquidated
          Independence, Missouri 64058-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Masonic Health Systems                                              Contingent
          88 Masonic Home Road                                                Unliquidated
          Charlton, MA 01507
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 692 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 716 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.483
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Massachusetts Department of Revenue                                 Contingent
          Bankruptcy Unit                                                     Unliquidated
          PO Box 9564
                                                                              Disputed
          Boston, MA 02114-9564
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.483
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Massey, Roxanne                                                     Contingent
          PO Box 29085                                                        Unliquidated
          Austin, Texas 78755-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Massie, Brandon                                                     Contingent
          110 - 3rd Ave So.                                                   Unliquidated
          Glen Burnie, Maryland 21061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mast, Pushpanjali                                                   Contingent
          403 Rock Wood Drive Saugus                                          Unliquidated
          Sangus, Massachusetts 01906-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matalik, Kimberly                                                   Contingent
          2727 Quarry Heights Way                                             Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MATCOR METAL FABRICATION                                            Contingent
          1021 W Birchwood St                                                 Unliquidated
          Morton, IL 61550
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mateos, Elsa                                                        Contingent
          2214 Alsace Avenue                                                  Unliquidated
          Los Angeles, California 90016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 693 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 717 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.484
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Material Sciences Corporation                                       Contingent
          2200 E. Pratt Blvd.                                                 Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Materne North America, Corp                                         Contingent
          6331 US Highway 31 South                                            Unliquidated
          Grawn, MI 49637
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matesic, Amy                                                        Contingent
          27-37 27th Street                                                   Unliquidated
          Apt. 1I
                                                                              Disputed
          Queens, New York 11102-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.484
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mathai, Leena                                                       Contingent
          314 Greenbrier Lane                                                 Unliquidated
          Vernon Hills, Illinois 60061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mathews, Ruth                                                       Contingent
          PO BOX 50                                                           Unliquidated
          Centennial, Wyoming 82055-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mathias, Leah                                                       Contingent
          732 W Bittersweet Place                                             Unliquidated
          APT 1206
                                                                              Disputed
          Chicago, Illinois 60613-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.484
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mathis, Susan                                                       Contingent
          7260 Buckhorn Lane                                                  Unliquidated
          Missoula, Montana 59808-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 694 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 718 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.484
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matlock, J. Ellen                                                   Contingent
          18574 Fox Rd                                                        Unliquidated
          Hiram, Ohio 44234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matos, Andri                                                        Contingent
          107 Russel St Apt 2                                                 Unliquidated
          Clifton, New Jersey 07011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matos, Sherry                                                       Contingent
          4811 Eagle Trail Dr                                                 Unliquidated
          Houston, Texas 77084-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matson, Susan                                                       Contingent
          S75W21392 Crimson Court                                             Unliquidated
          Muskego, Wisconsin 53150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matteson SD 159                                                     Contingent
          6202 Vollmer Road                                                   Unliquidated
          Matteson, IL 60443
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matthews, Dora                                                      Contingent
          2472 Alma Drive                                                     Unliquidated
          Lake Charles, Louisiana 70607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matthews, Ellis                                                     Contingent
          2707 Cole Avenue                                                    Unliquidated
          Apt 511
                                                                              Disputed
          Dallas, Texas 75204-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 695 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 719 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.485
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matthews, Sandhya                                                   Contingent
          1405 Elmhurst Lane                                                  Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matties, Briana                                                     Contingent
          31270 Portside Dr                                                   Unliquidated
          310
                                                                              Disputed
          Novi, Michigan 48377-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.485
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mattox, Rachel                                                      Contingent
          1906 W Olive ST                                                     Unliquidated
          Marshalltown, Iowa 50158-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maurer, Juliann                                                     Contingent
          4447 Deep River Way E                                               Unliquidated
          Jacksonville, Florida 32224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mauzy, Brooke                                                       Contingent
          3855 Blaisdell Avenue                                               Unliquidated
          Minneapolis, Minnesota 55409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mawicke, Kaitlyn                                                    Contingent
          230 Putting Green Road                                              Unliquidated
          Trumbull, Connecticut 06611-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maxey, Theresa                                                      Contingent
          2103 Vanderbilt Lane                                                Unliquidated
          Austin, Texas 78723-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 696 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 720 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.486
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maximus, Inc.                                                       Contingent
          1891 Metro Center Dr                                                Unliquidated
          Reston, VA 20190-5287
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maxwell, Patrice                                                    Contingent
          1785 Dockside Drive                                                 Unliquidated
          Fleming Island, Florida 32003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          May, Alexandra                                                      Contingent
          33 Amaranth Ave                                                     Unliquidated
          Medford, Massachusetts 02155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          May, Demmetris                                                      Contingent
          11700 Fuqua St. Apt 1104                                            Unliquidated
          Houston, Texas 77034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          May, Katrina                                                        Contingent
          27621 Chagrin Blvd                                                  Unliquidated
          Suite 325
                                                                              Disputed
          Woodmere, Ohio 44122-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.486
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          May, Lakesha                                                        Contingent
          529 Hulen Drive                                                     Unliquidated
          Chesapeake, Virginia 23323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          May, Sadie                                                          Contingent
          150 S 300 E APT. 316                                                Unliquidated
          Salt Lake City, Utah 84111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 697 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 721 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.487
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mayer Unified School District                                       Contingent
          17300 E. Muledeer Drive                                             Unliquidated
          Mayer, AZ 86333
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mayer, Christopher                                                  Contingent
          2220 Perkiomen Ave                                                  Unliquidated
          Reading, Pennsylvania 19606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mayfield, Laurie                                                    Contingent
          1601 Heggen St                                                      Unliquidated
          Apt 201
                                                                              Disputed
          Hudson, Wisconsin 54016-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.487
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mayfield, Marcella                                                  Contingent
          4836 W. Gladys Ave                                                  Unliquidated
          Chicago, Illinois 60644-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Maynard, Amy                                                        Contingent
          606 W 36th Street                                                   Unliquidated
          Baltimore, Maryland 21211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $37.00
          Mayo Clinic                                                         Contingent
          P.O Box 790339                                                      Unliquidated
          Saint Louis, MO 63179-0339
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mayo, Melissa                                                       Contingent
          9352 Snowbird Way                                                   Unliquidated
          Sacramento, California 95826-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 698 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 722 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.487
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mays, Andrea                                                        Contingent
          5280 Little Mountain Dr                                             Unliquidated
          Apt Q8
                                                                              Disputed
          San Bernardino, California 92407-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.487
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mazonkey, Keith                                                     Contingent
          6606 Rapid Water Way                                                Unliquidated
          Unit 304
                                                                              Disputed
          Glen Burnie, Maryland 21060-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.487
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McAdams Graphics                                                    Contingent
          7200 S First St                                                     Unliquidated
          Oak Creek, WI 53154
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McAfee, Kimberley                                                   Contingent
          3606 South Dixie Highway                                            Unliquidated
          230
                                                                              Disputed
          West Palm Beach, Florida 33405-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.488
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McAllister, Haley                                                   Contingent
          4 Shamrock Lane                                                     Unliquidated
          Medway, Massachusetts 02053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McAndrews, Janet Ann                                                Contingent
          3707 E. 114th Ter                                                   Unliquidated
          Kansas City, Missouri 64137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McArthur, Jayme                                                     Contingent
          2255 Arkansas Ln                                                    Unliquidated
          Grand Prairie, Texas 75052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 699 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 723 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.488
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McAtee, Jennifer                                                    Contingent
          4460 S. 56th Street Unit 1                                          Unliquidated
          Lincoln, Nebraska 68516-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McBean, Nicole                                                      Contingent
          800 W Cornelia Ave                                                  Unliquidated
          Unit 302
                                                                              Disputed
          Chicago, Illinois 60657-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.488
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McBeath, Jason                                                      Contingent
          6214 Beach Bayou Ave                                                Unliquidated
          Biloxi, Mississippi 39532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McBride, Cynthia                                                    Contingent
          11035 Solaridge Drive                                               Unliquidated
          Reston, Virginia 20191-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCabe, Mary                                                        Contingent
          2148 Hobblebush Ln                                                  Unliquidated
          Lakeview, New York 14085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCabe, Shannon                                                     Contingent
          1023 4th St Ne                                                      Unliquidated
          Massillon, Ohio 44646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCaleb, Linda                                                      Contingent
          1210 Court Street                                                   Unliquidated
          1210 court st
                                                                              Disputed
          McHenry, Illinois 60050-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 700 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 724 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.489
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCall, Cornelius                                                   Contingent
          3 Vicky Ct.                                                         Unliquidated
          Nottingham, Maryland 21236-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCalpine, Kevin                                                    Contingent
          7022 S South Shore D                                                Unliquidated
          Apt 603
                                                                              Disputed
          Chicago, Illinois 60649-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.489
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCandless Truck Center, Inc.                                       Contingent
          16704 E 32nd Ave                                                    Unliquidated
          Aurora, CO 80011
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCann, Carol                                                       Contingent
          8161 Belton Circle                                                  Unliquidated
          Mechanicsville, Virginia 23116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCants, Andrea                                                     Contingent
          1814 Laivita Mist                                                   Unliquidated
          San Antonio, Texas 78251-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCarley, Emily                                                     Contingent
          2 Roberts Landing Dr                                                Unliquidated
          Poquoson, Virginia 23662-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCarroll, Julia                                                    Contingent
          W9039 Heritage Hills Road                                           Unliquidated
          Beaver Dam, Wisconsin 53916-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 701 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 725 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.489
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCarthy, Brooke                                                    Contingent
          944 Handforth Cove                                                  Unliquidated
          Collierville, Tennessee 38017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCarthy, Julianne                                                  Contingent
          6304 Gus Way                                                        Unliquidated
          Elk Grove, California 95757-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCarville, Lisa                                                    Contingent
          12306 E. Lupine Ave                                                 Unliquidated
          Scottsdale, Arizona 85259-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McClain, Jessica                                                    Contingent
          2407 Loyola Northway                                                Unliquidated
          Apt 103
                                                                              Disputed
          Baltimore, Maryland 21215-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.490
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McClain, Jodie                                                      Contingent
          1014 Shasta Street                                                  Unliquidated
          Roseville, California 95678-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McClellan, Stephanie                                                Contingent
          506 Icy Run Terr                                                    Unliquidated
          Odenton, Maryland 21113-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McClendon, Kathleen                                                 Contingent
          519 Maurer Street                                                   Unliquidated
          Wilton, Iowa 52778-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 702 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 726 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.490
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCloskey, Marilyn                                                  Contingent
          1401 Lyntham Court                                                  Unliquidated
          Bel Air, Maryland 21015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McColgin, Charles                                                   Contingent
          1302 Waugh Drive                                                    Unliquidated
          #509
                                                                              Disputed
          Houston, Texas 77019-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.490
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCollum, Kimberly                                                  Contingent
          763 Trinity Star                                                    Unliquidated
          San Antonio, Texas 78260-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McComb, Marilyn                                                     Contingent
          39844 Muirfield Lane                                                Unliquidated
          Northville, Michigan 48168-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCone County                                                       Contingent
          1004 Avenue C - PO Box 199                                          Unliquidated
          Circle, MT 59215
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McConnell & Associates                                              Contingent
          1225 Iron                                                           Unliquidated
          N Kansas City, MO 64116
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McConnell, Stephen                                                  Contingent
          458 W Grantley Ave                                                  Unliquidated
          Elmhurst, Illinois 60126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 703 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 727 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.491
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCord, Robert                                                      Contingent
          308 Evergreen Ave                                                   Unliquidated
          Bradley Beach, New Jersey 07720-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCormick, Belinda                                                  Contingent
          10960 Nw 4 Mile Rd                                                  Unliquidated
          Lawton, Oklahoma 73507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCormick, P.                                                       Contingent
          2453 Airbase Rd                                                     Unliquidated
          Louisville, Tennessee 37777-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCormick, Sean                                                     Contingent
          308 Cooper Street #2                                                Unliquidated
          Haddon Township, New Jersey 08108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCornell, Rashawnda                                                Contingent
          10931 S. Wabash                                                     Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCornell-Green, Monique                                            Contingent
          10931 S Wabash                                                      Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCoy, Jamie                                                        Contingent
          5 Bavarian Way                                                      Unliquidated
          St Peters, Missouri 63376-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 704 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 728 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.491
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCoy, Lauryn                                                       Contingent
          119 Timber Lake Drive                                               Unliquidated
          Damiansville, Illinois 62215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCrary, Doretha                                                    Contingent
          1960 Lilac Lane                                                     Unliquidated
          apt. c
                                                                              Disputed
          Aurora, Illinois 60506-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.492
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCraw, Linda                                                       Contingent
          6714 Wayne Drive                                                    Unliquidated
          North Little Rock, Arkansas 72118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCrory, Darrell                                                    Contingent
          10613 Rushing Rd                                                    Unliquidated
          El Paso, Texas 79924-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCullough, Jaquita                                                 Contingent
          5141 Singing Hills Drive                                            Unliquidated
          Antioch, Tennessee 37013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mccullum, Ajene                                                     Contingent
          6607 W Fillmore Street                                              Unliquidated
          Phoenix, Arizona 85043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McCurdy, Chandria                                                   Contingent
          3811 39th Court North                                               Unliquidated
          Birmingham, Alabama 35217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 705 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 729 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.492
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McDaniel, Elizabeth                                                 Contingent
          7706 W Summer Sky Drive                                             Unliquidated
          Tucson, Arizona 85743-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McDaniel, Monica                                                    Contingent
          2634 N 51st Ave Apt 353                                             Unliquidated
          Phoenix, Arizona 85035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McDaniels, Ashley                                                   Contingent
          479B Allenhurst Rd                                                  Unliquidated
          Amherst, New York 14226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McDermott, Megan                                                    Contingent
          348 S. 53rd St.                                                     Unliquidated
          Lincoln, Nebraska 68510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McDevitt, Patrick                                                   Contingent
          P.O. Box 607                                                        Unliquidated
          Washington Crossing, Pennsylvania 18977-
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McDole, Lois                                                        Contingent
          5692 S County Road 300 W                                            Unliquidated
          Greencastle, Indiana 46135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McDonald, Brian                                                     Contingent
          D28                                                                 Unliquidated
          1 Juniper Drive
                                                                              Disputed
          Yarmouth, Maine 04096-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 706 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 730 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.493
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $180.00
          McDonough District Hospital                                         Contingent
          525 E. Grant                                                        Unliquidated
          Macomb, IL 61455
                                                                              Disputed
          Date(s) debt was incurred 3/13/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McDonough, Bayley                                                   Contingent
          2501 - 9th Rd S., Apt 219                                           Unliquidated
          Arlington, Virginia 22204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McEachrane, Taryn-Lea                                               Contingent
          185 Southwest 7th St., #3906                                        Unliquidated
          Miami, Florida 33130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McElderry, Lois                                                     Contingent
          663 No. 58th St                                                     Unliquidated
          Omaha, Nebraska 68132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McElrath, LaTeesha                                                  Contingent
          2869 Genesee Street                                                 Unliquidated
          Buffalo, New York 14225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McElroy, Ashley                                                     Contingent
          2000 Granada                                                        Unliquidated
          Fayetteville, Arkansas 72703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McElveen, Shervailye                                                Contingent
          1824 Lynchburg Circle                                               Unliquidated
          Bossier City, Louisiana 71112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 707 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 731 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.494
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McEwen, Kelleigh                                                    Contingent
          5928 Grace Lee Ave                                                  Unliquidated
          Sykesville, Maryland 21784-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McFadden, Alisha                                                    Contingent
          8720 Wendell Ave                                                    Unliquidated
          Parkville, Maryland 21234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McFadden, Mary                                                      Contingent
          5712 Jessup Station Court                                           Unliquidated
          Richmond, Virginia 23234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McFarland Johnson, Inc                                              Contingent
          49 Court Street                                                     Unliquidated
          PO Box 1980
                                                                              Disputed
          Binghamtom, NY 13902
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.494
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McFee, Kimberly                                                     Contingent
          6639 N Rockwell                                                     Unliquidated
          Chicago, Illinois 60645-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGaughy, William                                                   Contingent
          4540 E 25th St                                                      Unliquidated
          Joplin, Missouri 64804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGee, Johnny                                                       Contingent
          407 Meadow Drive                                                    Unliquidated
          Troy, Illinois 62294-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 708 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 732 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.494
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGee, Wiley                                                        Contingent
          2573 E 22nd Place                                                   Unliquidated
          Gary, Indiana 46407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGinley, Kaitln                                                    Contingent
          226 Preserve Park Place                                             Unliquidated
          Wentzville, Missouri 63385-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGinley, Mary                                                      Contingent
          190 North Lafayette                                                 Unliquidated
          Warren, Michigan 48091-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGlothlin, Jade                                                    Contingent
          4304 Blackjack Lane                                                 Unliquidated
          Edmond, Oklahoma 73034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGovern, Matthew                                                   Contingent
          4 Glen Avenue                                                       Unliquidated
          Roseland, New Jersey 07068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGrath, Carla                                                      Contingent
          3215 Jerry Davis Road                                               Unliquidated
          Moss Point, Mississippi 39562-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGrath, Janice                                                     Contingent
          1451 Candlewood Dr                                                  Unliquidated
          Crystal Lake, Illinois 60014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 709 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 733 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.495
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGraw, Spencer                                                     Contingent
          2435 Farrington St                                                  Unliquidated
          Dallas, Texas 75207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McGregor, Lauren                                                    Contingent
          7541 Thompson Parkway                                               Unliquidated
          Abilene, Texas 79606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McHarrie Life                                                       Contingent
          7740 Meigs Rd                                                       Unliquidated
          Syracuse, NY 13207
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McIndoo, Heidi                                                      Contingent
          34 Berkeley Road                                                    Unliquidated
          Framingham, Massachusetts 01701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McInerny, Sandra                                                    Contingent
          4016 Cranston St SE                                                 Unliquidated
          Salem, Oregon 97317-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McIntosh, Kelsey                                                    Contingent
          3939 SW Bond Ave #209                                               Unliquidated
          Portland, Oregon 97239-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McIntosh, Luke                                                      Contingent
          3228 Kerley Pt. Cv.                                                 Unliquidated
          Elizabeth, Arkansas 72531-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 710 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 734 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.496
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McIntyre, Monae                                                     Contingent
          3300 Ripple Road                                                    Unliquidated
          Baltimore, Maryland 21244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKay, Delise                                                       Contingent
          239 Seal Ave                                                        Unliquidated
          Pass Christian, Mississippi 39571-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKee, Amy                                                          Contingent
          6525 Caverstone Lane                                                Unliquidated
          Durham, North Carolina 27713-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKenney, Alichia                                                   Contingent
          4156 Delaware                                                       Unliquidated
          Gary, Indiana 46409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKenzie, Kristen                                                   Contingent
          567 Hickory Lane                                                    Unliquidated
          Berwyn, Pennsylvania 19312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKenzie-Skipper, Ashley                                            Contingent
          105 Greenwood Dr                                                    Unliquidated
          Hattiesburg, Mississippi 39402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,283.75
          McKesson Medical-Surgical- IH                                       Contingent
          P.O. Box 933027                                                     Unliquidated
          Atlanta, GA 31193-3027
                                                                              Disputed
          Date(s) debt was incurred 5/11/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 711 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 735 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.496
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKim, Shae                                                         Contingent
          11085 Matthew Lane                                                  Unliquidated
          Hartland, Michigan 48353-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKinley Capital Management                                         Contingent
          3301 C Street                                                       Unliquidated
          # 500
                                                                              Disputed
          Anchorage, AK 99503
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.497
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKinley, Cassandra                                                 Contingent
          70 Field view Lane                                                  Unliquidated
          Covington, Georgia 30016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKinney, Molly                                                     Contingent
          14300 Rockey Mountain Rd                                            Unliquidated
          Belgrade, Montana 59714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKinney, Teresa                                                    Contingent
          823 Duchess Way                                                     Unliquidated
          Knoxville, Tennessee 37912-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McKinnie, Brenda                                                    Contingent
          429 Pam Street                                                      Unliquidated
          Sikeston, Missouri 63801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $218.00
          McLaren Central Michigan                                            Contingent
          1221 South Drive                                                    Unliquidated
          Mount Pleasant, MI 48858
                                                                              Disputed
          Date(s) debt was incurred 3/7/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 712 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 736 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.497
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McLaughlin, John                                                    Contingent
          3 Pevero Drive, Unit 1                                              Unliquidated
          Vernon, New Jersey 07462-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McLaughlin, Larry                                                   Contingent
          814 Ferris                                                          Unliquidated
          Lawton, Oklahoma 73507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McLaughlin, Yolanda                                                 Contingent
          814 Ferris                                                          Unliquidated
          Lawton, Oklahoma 73507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McLean Packaging                                                    Contingent
          1504 Glen Avenue                                                    Unliquidated
          Moorestown, NJ 08057
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McLean, Lisa                                                        Contingent
          3206 - 9th St Nw                                                    Unliquidated
          Canton, Ohio 44708-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McLeod, Ross                                                        Contingent
          33720 SW Peaks View Drive                                           Unliquidated
          Hillsboro, Oregon 97123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McMahon, Erica                                                      Contingent
          505 Woodland Park                                                   Unliquidated
          Georgetown, Texas 78633-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 713 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 737 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.498
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McManus, Stacey                                                     Contingent
          16304 Pine Hollow Ave                                               Unliquidated
          Spring Lake, Michigan 49456-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McMillen, Jillian                                                   Contingent
          6319 N Dublin Lane                                                  Unliquidated
          Clovis, California 93629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McMillen, Marisa                                                    Contingent
          15220 Bronco Drive                                                  Unliquidated
          Colorado Springs, Colorado 80921-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McMillon, Erin                                                      Contingent
          2727 Edenridge Dr                                                   Unliquidated
          High Point, North Carolina 27265-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McMinn, Kimberly                                                    Contingent
          6700 Cooper Lane 7                                                  Unliquidated
          Austin, Texas 78745-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McNally, Kathleen                                                   Contingent
          40 Tyler Street                                                     Unliquidated
          Attleboro, Massachusetts 02703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McNamara, Megan                                                     Contingent
          3246 s Princeton                                                    Unliquidated
          Chicago, Illinois 60616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 714 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 738 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.498
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McNeil, Cassandra                                                   Contingent
          4065 Mossy Place Lane                                               Unliquidated
          Spring, Texas 77388-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McNish, Margaret                                                    Contingent
          10308 Bald Hill Road                                                Unliquidated
          Bowie, Maryland 20721-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McNitt, Mollie                                                      Contingent
          101 S 49th St                                                       Unliquidated
          West Des Moines, Iowa 50265-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MCOECN                                                              Contingent
          8050 North High Street                                              Unliquidated
          Columbus, OH 43235
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McPherson, Tammy                                                    Contingent
          408 11th Street East                                                Unliquidated
          Ashland, Wisconsin 54806-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McQueen, Sherita                                                    Contingent
          3125 Rider Trail South                                              Unliquidated
          St. Louis, Missouri 63045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McWilliams, Kelly                                                   Contingent
          340 S Bywood Avenue                                                 Unliquidated
          Clawson, Michigan 48017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 715 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 739 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.499
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          McWilliams, Sherri                                                  Contingent
          1528 Steele Avenue                                                  Unliquidated
          Sumner, Washington 98390-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Me Global                                                           Contingent
          3901 University Avenue NE                                           Unliquidated
          Minneapolis, MN 55421
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meade, Nicholas                                                     Contingent
          209 E McDonald Ave                                                  Unliquidated
          Man, West Virginia 25635-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meadows, Ellen                                                      Contingent
          199 Painter Creek Road                                              Unliquidated
          Travelers East, South Carolina 29690-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meadville Land Service                                              Contingent
          17693 Highway 285                                                   Unliquidated
          Cochranton, PA 16314
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meadville Medical Center                                            Contingent
          751 Liberty Street                                                  Unliquidated
          Meadville, PA 16335
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meagher, Lyn                                                        Contingent
          2750 Gallows Road, Apt 344                                          Unliquidated
          Vienna, Virginia 22180-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 716 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 740 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.500
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meaney, Rachel                                                      Contingent
          422 Cherry Street #302                                              Unliquidated
          Kent, Ohio 44240-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Measured Progress, Inc.                                             Contingent
          100 Education Way                                                   Unliquidated
          Dover, NH 03820
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Med IT Partners                                                     Contingent
          2551 N Saint Louis Ave                                              Unliquidated
          Chicago, IL 60647
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Medeiros, Ashley                                                    Contingent
          213 Lytton Ave                                                      Unliquidated
          Pittsburgh, Pennsylvania 15213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,742.34
          Medical Admin. Services & Consulting                                Contingent
          P.O Box 267                                                         Unliquidated
          Algonquin, IL 60102
                                                                              Disputed
          Date(s) debt was incurred 4/30/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Medina, Laura                                                       Contingent
          1119 Lake Ter #107                                                  Unliquidated
          Boynton Beach, Florida 33426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Medina, Marcela                                                     Contingent
          22310 David's Crest Ct                                              Unliquidated
          Katy, Texas 77450-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 717 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 741 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.501
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Medina, Martha                                                      Contingent
          109 Merchant Man Ct                                                 Unliquidated
          Williamsburg, Virginia 23185-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mednik-Vaksman, Marina                                              Contingent
          1301 Crossing Place 0332B                                           Unliquidated
          Austin, Texas 78741-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Medrano, Ruth                                                       Contingent
          1582 W North St                                                     Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mee, Kimberly                                                       Contingent
          1210 Trinity Oaks Lane                                              Unliquidated
          Apt. 102
                                                                              Disputed
          Raleigh, North Carolina 27607-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.501
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meehan, Kyle                                                        Contingent
          6000 S Fraser Street                                                Unliquidated
          Apt. 11-107
                                                                              Disputed
          Centennial, Colorado 80016-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.501
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meens, Loren                                                        Contingent
          1150 Collier Road, Apt M2                                           Unliquidated
          Atlanta, Georgia 30318-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Megli, Debra                                                        Contingent
          4022 Ridgetop Drive                                                 Unliquidated
          Heartland, Texas 74216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 718 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 742 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.501
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mehta, Hiral                                                        Contingent
          496 Carlsbad Trail                                                  Unliquidated
          Roselle, Illinois 60172-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meiers, Vicki                                                       Contingent
          W5277 White Birch Road                                              Unliquidated
          Shawano, Wisconsin 54166-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meihaus, Emily                                                      Contingent
          7072 Fulton Street                                                  Unliquidated
          San Diego, California 92111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meisterling, Margaret                                               Contingent
          80 Loubier Drive                                                    Unliquidated
          Somers, Connecticut 06071-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mejia, Natalia                                                      Contingent
          8826 West Flagler St Unit 223                                       Unliquidated
          Miami, Florida 33174-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mejia, Selene                                                       Contingent
          7402 Mason Drive                                                    Unliquidated
          Frederick, Maryland 21769-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mejia, Tamala                                                       Contingent
          42198 Pimlott St.                                                   Unliquidated
          Unit A
                                                                              Disputed
          Ponchatoula, Louisiana 70454-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 719 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 743 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.502
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Melancon, Tina                                                      Contingent
          555 Country Trl                                                     Unliquidated
          Pleasanton, Texas 78064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Melbye, Cheryl                                                      Contingent
          3210 Rivershore Dr                                                  Unliquidated
          Moorhead, Minnesota 56560-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Melcher, Sara                                                       Contingent
          71 Oakmere Street                                                   Unliquidated
          West Roxbury, Massachusetts 02132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Melcher, Susan                                                      Contingent
          33 St. John Drive                                                   Unliquidated
          Hawthorn Woods, Illinois 60047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Melillo, Kylie                                                      Contingent
          3405 Riveroad Court Apt. #204                                       Unliquidated
          Fort Worth, Texas 76116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mellion, Eliza                                                      Contingent
          115 Josephine ave                                                   Unliquidated
          Somerville, Massachusetts 02144-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mello, Suzanne                                                      Contingent
          1270 Cleveland Ave                                                  Unliquidated
          Unit 1106
                                                                              Disputed
          San Diego, California 92103-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 720 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 744 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.503
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Melrose, Antonette                                                  Contingent
          1005 N 3rd St                                                       Unliquidated
          Lansing, Kansas 66043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Members Choice Credit Union                                         Contingent
          14960 Park Row                                                      Unliquidated
          Houston, TX 77084
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Memorial Hospital of Converse County                                Contingent
          111 S 5th Street                                                    Unliquidated
          Douglas, WY 82633
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Menasha Corporation                                                 Contingent
          1645 Bergstrom Road                                                 Unliquidated
          Neenah, WI 54956
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mendapara, Vivek                                                    Contingent
          806 Traditions Park Dr                                              Unliquidated
          Pineville, North Carolina 28134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mendenhall, Teri                                                    Contingent
          6201 E Kathleen Rd                                                  Unliquidated
          Scottsdale, Arizona 85254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mendez, Diane                                                       Contingent
          830 Latimer Street                                                  Unliquidated
          York, Pennsylvania 17404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 721 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 745 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.503
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mendez, Silke                                                       Contingent
          1801 Wells Branch Pkwy                                              Unliquidated
          Apt 1015
                                                                              Disputed
          Austin, Texas 78728-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.503
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mendiola, Patricia                                                  Contingent
          25834 Berberis                                                      Unliquidated
          San Antonio, Texas 78261-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mendoza Reyes, Maria                                                Contingent
          1919 Ernest Ave                                                     Unliquidated
          Redondo Beach, California 90278-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mendoza, Angela                                                     Contingent
          3302 N Page Ave                                                     Unliquidated
          Chicago, Illinois 60634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Menominee Indian Tribe of Wisconsin                                 Contingent
          N277 Hwy 47/55                                                      Unliquidated
          Keshena, WI 54135
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,969.00
          MentorMate, Inc.                                                    Contingent
          3036 Hennepin Ave                                                   Unliquidated
          Minneapolis, MN 55408
                                                                              Disputed
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MentorMate, Inc.                                                    Contingent
          3036 Hennepin Ave                                                   Unliquidated
          Minneapolis, MN 55408
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 722 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 746 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.504
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mentz, Sheila                                                       Contingent
          4327 Crestheights Rd                                                Unliquidated
          Baltimore, Maryland 21215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meraz, Lizette                                                      Contingent
          3330 w 60th street                                                  Unliquidated
          Chicago, Illinois 60629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mercy Health                                                        Contingent
          14528 South Outer 40 Suite 100                                      Unliquidated
          Chesterfield, MO 63017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $22.00
          Mercy St. Charles Occupational Health                               Contingent
          2600 Navarre Avenue                                                 Unliquidated
          Oregon, OH 43616
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $22.00
          Mercy St. Vincent Occupational Health                               Contingent
          PO Box 636473                                                       Unliquidated
          Cincinnati, OH 45263-4634
                                                                              Disputed
          Date(s) debt was incurred 3/2/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meredith, Erin                                                      Contingent
          4325 Sw Pomona St                                                   Unliquidated
          Portland, Oregon 97219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meridian Enterprises                                                Contingent
          951 Hornet Drive                                                    Unliquidated
          St.Louis, MO 63042
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 723 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 747 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.505
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $188,001.50
          Meritain Health                                                     Contingent
          Att: Accounts Receivable                                            Unliquidated
          300 Corporate Parkway
                                                                              Disputed
          Buffalo, NY 14226
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.505
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meriwest                                                            Contingent
          5615 Chesbro Ave                                                    Unliquidated
          San Jose, CA 95123
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Merlos, Lorena                                                      Contingent
          4911 North Troy                                                     Unliquidated
          Chicago, Illinois 60625-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,318.52
          Merrill Communications dba Datasite                                 Contingent
          PO Box 74007252                                                     Unliquidated
          Chicago, IL 60674-7252
                                                                              Disputed
          Date(s) debt was incurred 4/30/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Merrill, Janet                                                      Contingent
          2414 Decker Lane                                                    Unliquidated
          Livermore, California 94550-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Merritt, Corporsha                                                  Contingent
          7347 Red Maple Dr                                                   Unliquidated
          Olive Branch, Mississippi 38654-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Merritt, Teresa                                                     Contingent
          7912 Sutcliffe Dr                                                   Unliquidated
          Raleigh, North Carolina 27613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 724 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 748 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.505
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Merscorp Holdings, Inc.                                             Contingent
          1818 Liberty Street Suite 300                                       Unliquidated
          Reston, VA 20190
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Messenger, Jamie                                                    Contingent
          3324 Sw 26th Street                                                 Unliquidated
          Gresham, Oregon 97080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Messenger, Katarina                                                 Contingent
          5225 Birchman Ave.                                                  Unliquidated
          Apt. 207
                                                                              Disputed
          Fort Worth, Texas 76107-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.506
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meszaros, Sandra                                                    Contingent
          5350 Bianca Drive                                                   Unliquidated
          Grand Blanc, Michigan 48439-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Metal & Services Demo                                               Contingent
          145 Swift Rd                                                        Unliquidated
          Addison, IL 60101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Metamora Township High School #122                                  Contingent
          101 W. Madison Street                                               Unliquidated
          Metamora, IL 61548
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Metropolitan Associates                                             Contingent
          1123 N. Astor Street                                                Unliquidated
          Milwaukee, WI 53202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 725 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 749 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.506
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Metropolitan Transit Authority                                      Contingent
          1900 Main Street                                                    Unliquidated
          Houston, TX 77002
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MetroTech                                                           Contingent
          1827 Walden Office Square                                           Unliquidated
          Suite 304
                                                                              Disputed
          Schaumburg, IL 60173
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.506
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mettler, Emily                                                      Contingent
          212 1st Ave                                                         Unliquidated
          Sioux Center, Iowa 51250-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Metz, Kimberly                                                      Contingent
          17 Central Ave                                                      Unliquidated
          Waretown, New Jersey 08756-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Metzler, Jeremy                                                     Contingent
          343 Ridge Road                                                      Unliquidated
          Telford, Pennsylvania 18969-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Metzler, Kelly                                                      Contingent
          343 Ridge Rd                                                        Unliquidated
          Telford, Pennsylvania 18969-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meucci, Sheila                                                      Contingent
          16 Cedar Hill Road                                                  Unliquidated
          Sutton, Massachusetts 01590-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 726 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 750 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.507
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meyer, Andrea                                                       Contingent
          2315 4th Street                                                     Unliquidated
          Boulder, Colorado 80302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meyer, Chelsea                                                      Contingent
          3382 East Summerfield Drive                                         Unliquidated
          Rockford, Illinois 61114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meyer, Erik                                                         Contingent
          1402 N King Edward Ct                                               Unliquidated
          Apt 206
                                                                              Disputed
          Palatine, Illinois 60067-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.507
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meyer, Joseph                                                       Contingent
          804 Orchid Lane                                                     Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meyer, Nancy                                                        Contingent
          5823 Whiterose Way                                                  Unliquidated
          New Market, Maryland 21774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meyers, Jeffrey                                                     Contingent
          659 Summer Place                                                    Unliquidated
          Ponte Vedra Beach, Florida 32082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Meyers, Rebekah                                                     Contingent
          2551 38th Ave NE Unit 449                                           Unliquidated
          St. Anthony, Minnesota 55421-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 727 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 751 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.508
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mezhoud, Lounis                                                     Contingent
          506 W Higgins Rd                                                    Unliquidated
          Apt 5
                                                                              Disputed
          Park Ridge, Illinois 60631-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.508
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mezzano, Kristen                                                    Contingent
          2811 N Brighton Pl                                                  Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miami Unified School District #40                                   Contingent
          4739 Ragus Rd                                                       Unliquidated
          Miami, AZ 85539
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MIAT College of Technology                                          Contingent
          2955 S. Haggerty Rd.                                                Unliquidated
          Canton, MI 48188
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Michaud, Kristen                                                    Contingent
          20222 Deering                                                       Unliquidated
          Livonia, Michigan 48152-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Michelle Bartelt                                                    Contingent
          8733 N. Hedge Road                                                  Unliquidated
          Byron, IL 61010
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Michigan Department of Treasury                                     Contingent
          Bankruptcy Unit                                                     Unliquidated
          PO Box: 30168
                                                                              Disputed
          Lansing, MI 48909
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 728 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 752 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.508
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Michuda Construction                                                Contingent
          18505 W. Creek Drive                                                Unliquidated
          Tinley Park, IL 60477
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Micinski, Natalie                                                   Contingent
          11424 Caledonia Rd                                                  Unliquidated
          Belvidere, Illinois 61008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MICRO 100 TOOL CORPORATION                                          Contingent
          1410 E Pine Ave                                                     Unliquidated
          Meridian, ID 83642
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Micro-Tronics, Inc.                                                 Contingent
          2825 S. Potter Dr.                                                  Unliquidated
          Tempe, AZ 85282
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Microflex Inc.                                                      Contingent
          1800 N. US Hwy 1                                                    Unliquidated
          Ormons Beach, FL 32174
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $238,934.97
          Microsoft Corporation-IH                                            Contingent
          PO Box 84213                                                        Unliquidated
          Dallas, TX 75284-2103
                                                                              Disputed
          Date(s) debt was incurred 6/6/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,133.62
          Microsoft- Office 365                                               Contingent
          P.O Box 842103                                                      Unliquidated
          Dallas, TX 75284
                                                                              Disputed
          Date(s) debt was incurred      6/4/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 729 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 753 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.509
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Microway System A Division of Glenair In                            Contingent
          1211 Air Way                                                        Unliquidated
          Glendale, CA 91201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $182.00
          Mid-State Occupational Health Services                              Contingent
          2605 Reach Road                                                     Unliquidated
          Williamsport, PA 17701
                                                                              Disputed
          Date(s) debt was incurred 5/28/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mid-State Technical College                                         Contingent
          500 32nd Street N                                                   Unliquidated
          Wisconsin Rapids, WI 54494
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MIDCO                                                               Contingent
          221 Shore court                                                     Unliquidated
          Burr Ridge, IL 60527
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Midha, Rohit                                                        Contingent
          403 Rock Wood Drive                                                 Unliquidated
          Saugus, Massachusetts 01906-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Midland Plastics, Inc.                                              Contingent
          5405 S Westridge Ct                                                 Unliquidated
          New Berlin, WI 53151
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Midlothian SD 143                                                   Contingent
          14959 Pulaski Rd.                                                   Unliquidated
          Midlothian, IL 60445
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 730 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 754 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.510
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          Midwest Benefit Resources LLC                                       Contingent
          PO Box 843                                                          Unliquidated
          Pratt, KS 67124
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Midwest Concrete Materials, Inc.                                    Contingent
          701 S 4th St                                                        Unliquidated
          Manhattan, KS 66502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MIDWEST EMPLOYEE BENEFIT FUNDS                                      Contingent
          COALITION                                                           Unliquidated
          6170 Joliet Rd. Suite 2
                                                                              Disputed
          Countryside, IL 60525
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.510
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Midwest Occupational Health Associates                              Contingent
          775 Engineering Drive                                               Unliquidated
          Springfield, IL 62703
                                                                              Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Midwest Orthopaedics at Rush, LLC                                   Contingent
          One Westbrook Corporate Center Suite 240                            Unliquidated
          Westchester, IL 60154
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MIDWEST POULTRY                                                     Contingent
          507 N Broadway                                                      Unliquidated
          Mentone, IN 46539
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Midwest Scrap Management                                            Contingent
          8116 Wilson Road                                                    Unliquidated
          Kansas City, MO 64125
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 731 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 755 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.510
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MIDWEST TRANSIT EQUIPMENT                                           Contingent
          146 W. Issert Dr.                                                   Unliquidated
          Kankakee, IL 60901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Midwest Truck & Auto Parts                                          Contingent
          1001 W. Exchange Ave.                                               Unliquidated
          Chicago, IL 60609
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mielecki, Jacob                                                     Contingent
          6968 summer grace                                                   Unliquidated
          Colorado Springs, Colorado 80923-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mihai, Elena                                                        Contingent
          10193 Nancy's Blvd 74                                               Unliquidated
          Grosse Ile, Michigan 48138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mikels, Michelea                                                    Contingent
          610 N 1st St                                                        Unliquidated
          Centerville, Iowa 52544-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mikutis, Jean Marie                                                 Contingent
          7542 Adams St                                                       Unliquidated
          Apt 309
                                                                              Disputed
          Forest Park, Illinois 60130-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.511
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Milacron                                                            Contingent
          3010 Disney Street                                                  Unliquidated
          Cincinnati, OH 45209
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 732 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 756 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.511
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miles, Jeffrey                                                      Contingent
          21020 Snag Island Drive                                             Unliquidated
          Lake Tapps, Washington 98391-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miles, Shanae                                                       Contingent
          3197 Applan Way                                                     Unliquidated
          Douglasville, Georgia 30135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miles, Teresa                                                       Contingent
          5117 Black cloud Loop                                               Unliquidated
          Colorado Springs, Colorado 80922-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Milestone                                                           Contingent
          4060 McFarland Rd                                                   Unliquidated
          Rockford, IL 61111
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Milestone, Inc.                                                     Contingent
          4060 McFarland Road                                                 Unliquidated
          Rockford, IL 61111
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MILITARY SALES & SERVICE CO.                                        Contingent
          5301 S Westmoreland Rd                                              Unliquidated
          Dallas, TX 75237
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miliukas, Anthony                                                   Contingent
          22 Abington Ave #11                                                 Unliquidated
          Newark, New Jersey 07104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 733 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 757 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.512
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Millan Rodriguez, Benny                                             Contingent
          5404 Oak Cradle Court                                               Unliquidated
          Tampa, Florida 33624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Millan, Joanna                                                      Contingent
          6124 Haddon Hall Road                                               Unliquidated
          Baltimore, Maryland 21212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Millard, Sarah                                                      Contingent
          23868 Placid Lane                                                   Unliquidated
          Colton, California 92324-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Millcreek West Unity                                                Contingent
          1401 West Jackson STreet                                            Unliquidated
          West Unity, OH 43570
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Millennium Steel Service, LLC                                       Contingent
          300 E. 350 S.                                                       Unliquidated
          Princeton, IN 47670
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller Service Corporation                                          Contingent
          1596 Route 38                                                       Unliquidated
          Lumberton, NJ 08048
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Andrew                                                      Contingent
          1130 Spectrum Loop                                                  Unliquidated
          Colorado Springs, Colorado 80921-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 734 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 758 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.512
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Angela                                                      Contingent
          PO Box 406                                                          Unliquidated
          Weir, Mississippi 39772-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Ashley                                                      Contingent
          8551 Hidden Lake Drive                                              Unliquidated
          Indianapolis, Indiana 46250-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Britany                                                     Contingent
          3606 East Helena Dr                                                 Unliquidated
          Huntsville, Alabama 35810-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Bryan                                                       Contingent
          212 S. Oak St                                                       Unliquidated
          Cortland, Illinois 60112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Candace                                                     Contingent
          4342 N. 18th Street                                                 Unliquidated
          Milwaukee, Wisconsin 53209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Colleen                                                     Contingent
          577 S Martha Street                                                 Unliquidated
          Lombard, Illinois 60148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Daniel                                                      Contingent
          4200 Florio Drive                                                   Unliquidated
          Perry Hall, Maryland 21128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 735 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 759 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.513
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Erica                                                       Contingent
          200 W Gail Drive                                                    Unliquidated
          Chandler, Arizona 85225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Jennifer                                                    Contingent
          1802 Brockway Street                                                Unliquidated
          Joliet, Illinois 60431-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Jessica                                                     Contingent
          3027 W. 13 Mile Rd                                                  Unliquidated
          Apt 346
                                                                              Disputed
          Royal Oak, Michigan 48073-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.513
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Kelly                                                       Contingent
          1809 Woodmont Dr                                                    Unliquidated
          Semmes, Alabama 36575-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Kelsie                                                      Contingent
          5721 Eunice Ct                                                      Unliquidated
          Henrico, Virginia 23228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Laurel                                                      Contingent
          7278 Cahaba Valley Rd #806a                                         Unliquidated
          Birmingham, Alabama 35242-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Maria Gabriela                                              Contingent
          5293 Foxridge Dr Apt 203                                            Unliquidated
          Mission, Kansas 66202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 736 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 760 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.514
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Mary                                                        Contingent
          261 Big Sky Drive                                                   Unliquidated
          Saint Charles, Missouri 63304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Maureen                                                     Contingent
          2997 Cobb Parkway, Unit 724802                                      Unliquidated
          Atlanta, Georgia 31139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Michelle                                                    Contingent
          2287 S. Clubhouse Drive                                             Unliquidated
          New Berlin, Wisconsin 53151-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Roxanna                                                     Contingent
          215 W. Webster St.                                                  Unliquidated
          PO Box 38
                                                                              Disputed
          Martinsville, Illinois 62442-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.514
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Scott                                                       Contingent
          3 Bojan Court                                                       Unliquidated
          Millersville, Maryland 21108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Sheila                                                      Contingent
          1062 Shore Point Ct                                                 Unliquidated
          Loveland, Ohio 45140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Susan                                                       Contingent
          4301 Columbia Pike                                                  Unliquidated
          Apt. 418
                                                                              Disputed
          Arlington, Virginia 22204-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 737 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 761 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.515
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller, Tara                                                        Contingent
          360 West Ocean Blvd #308                                            Unliquidated
          Long Beach, California 90802-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miller-Piegaro, Kimi                                                Contingent
          236 Siginaw Street                                                  Unliquidated
          Grantville, Pennsylvania 17028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Millicom International Services, LLC                                Contingent
          255 Giralda Blvd                                                    Unliquidated
          Coral Gables, FL 33134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mills Jimenez, Crystal                                              Contingent
          217 North Sheridan                                                  Unliquidated
          Wichita, Kansas 67203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mills, Amber                                                        Contingent
          2226 Cedar Pointe Court                                             Unliquidated
          Edmond, Oklahoma 73003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mills, Serita                                                       Contingent
          2114 Northland Rd                                                   Unliquidated
          Baltimore, Maryland 21207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mills, Valerie                                                      Contingent
          2050 W. Dunlap Ave                                                  Unliquidated
          Apt. B 137
                                                                              Disputed
          Phoenix, Arizona 85021-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 738 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 762 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.515
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mimbar, Muankontee                                                  Contingent
          28 High Street                                                      Unliquidated
          Sharon Hill, Pennsylvania 19079-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mimila, Ramona                                                      Contingent
          710 Rice Way                                                        Unliquidated
          Yuba City, California 95991-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minarich, Michael                                                   Contingent
          2126 Elton Road                                                     Unliquidated
          Bloomfield, New York 14469-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mincey, Sekeiya                                                     Contingent
          914 Jonquil Lane                                                    Unliquidated
          Hampton, Virginia 23669-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mineral County                                                      Contingent
          300 River St.                                                       Unliquidated
          PO BOX 550
                                                                              Disputed
          Superior, MT 59872
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.516
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minerallac Company                                                  Contingent
          100 Gast Rd                                                         Unliquidated
          Hampshire, IL 60140-7654
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minervino, Lena                                                     Contingent
          79 Dennett Street                                                   Unliquidated
          Portland, Maine 04102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 739 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 763 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.516
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minglin, Taylor                                                     Contingent
          903 Hillsdale Drive                                                 Unliquidated
          Kokomo, Indiana 46901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mingus Union High School District                                   Contingent
          1801 East Fir Street                                                Unliquidated
          Cottonwood, AZ 86326
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miniat Holdings, LLC                                                Contingent
          16250 Vincennes Ave                                                 Unliquidated
          South Holland, IL 60473
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minneapolis Public Schools                                          Contingent
          1250 W. Broadway Ave                                                Unliquidated
          Minneapolis, MN 55411
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minnear, Lisa                                                       Contingent
          3301 Nw 179th Street                                                Unliquidated
          Ridgefield, Washington 98642-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minnesota Department of Revenue                                     Contingent
          PO Box 64447 - BKY                                                  Unliquidated
          St Paul, MN 55164-0447
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minnetonka Schools                                                  Contingent
          8770 33rd Ave. South                                                Unliquidated
          Minneapolis, MN 55425
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 740 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 764 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.517
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minnott, Justin                                                     Contingent
          900 Club House Circle,                                              Unliquidated
          Apt N-113
                                                                              Disputed
          Farmville, Virginia 23901-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.517
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Minus, Bradley                                                      Contingent
          1423 Lori Lyn Lane                                                  Unliquidated
          Northbrook, Illinois 60062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mira, Alessandro                                                    Contingent
          1105 Holiday lane Apt.16                                            Unliquidated
          Des Plaines, Illinois 60016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mirabile, Rachel                                                    Contingent
          60 Stonegate Lane                                                   Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miramontes, Angela                                                  Contingent
          3020 Charter Oak Drive                                              Unliquidated
          Little Rock, Arkansas 72227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miramontes, Irma                                                    Contingent
          2740 40th Street                                                    Unliquidated
          Highland, Indiana 46322-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miranda, Ashley                                                     Contingent
          1030 Jeanett Way                                                    Unliquidated
          Bel Air, Maryland 21014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 741 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 765 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.517
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miranda, Christina                                                  Contingent
          165 Old Orchard #514                                                Unliquidated
          Lewisville, Texas 75067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mirjafari, Arshia                                                   Contingent
          3 Buellton                                                          Unliquidated
          Irvine, California 92602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Misch, Kelly                                                        Contingent
          13166 Mair Dr                                                       Unliquidated
          sterling heights, Michigan 48313-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Miser, Christina                                                    Contingent
          707 N 500 W                                                         Unliquidated
          Peru, Indiana 46970-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mishko, Nicky                                                       Contingent
          15330 Crescent Valley Road SE                                       Unliquidated
          Olalla, Washington 98359-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mississinewa Community School Corporatio                            Contingent
          424 East South A Street                                             Unliquidated
          Gas City, IN 46933
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mississippi Department of Revenue                                   Contingent
          Bankruptcy Section                                                  Unliquidated
          P.O. Box 22808
                                                                              Disputed
          Jackson, MS 39225-2808
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 742 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 766 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.518
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mississippi Lime Company                                            Contingent
          3870 South Lindbergh Blvd.                                          Unliquidated
          St. Louis, MO 63127
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MISSOURI BANKERS ASSOCIATION                                        Contingent
          223 E. Capital                                                      Unliquidated
          Jefferson City, MO 65101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Missouri Department of Revenue                                      Contingent
          P.O. Box 475                                                        Unliquidated
          Jefferson City, MO 65105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Ana                                                       Contingent
          485 Alder Dr                                                        Unliquidated
          Wheeling, Illinois 60090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Brooke                                                    Contingent
          274 skyline view dr                                                 Unliquidated
          collinsville, Illinois 62234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Charleatha                                                Contingent
          43856 W Knauss Dr                                                   Unliquidated
          Maricopa, Arizona 85138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Iris                                                      Contingent
          10047 S. Aberdeen St.                                               Unliquidated
          Chicago, Illinois 60643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 743 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 767 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.519
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Kimberly                                                  Contingent
          1209 6th Street                                                     Unliquidated
          Howard Lake, Minnesota 55349-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Lindsay                                                   Contingent
          2500 Clover Glen                                                    Unliquidated
          Edmond, Oklahoma 73013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Madison                                                   Contingent
          709 S Mariposa Ave                                                  Unliquidated
          207
                                                                              Disputed
          Los Angeles, California 90005-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.519
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Sarah                                                     Contingent
          2901 N 11th St                                                      Unliquidated
          Coeur d Alene, Idaho 83815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Terri                                                     Contingent
          1139 Hilltop Drive                                                  Unliquidated
          Olivette, Missouri 63121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitchell, Valerie                                                   Contingent
          1208 Stein Road                                                     Unliquidated
          Ferguson, Missouri 63135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitrik, Lauren                                                      Contingent
          2120 Copper Creek dr                                                Unliquidated
          Apt. 5-111
                                                                              Disputed
          Fort Collins, Colorado 80525-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 744 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 768 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.519
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitsch, Lori                                                        Contingent
          3540 Crestwood Lane                                                 Unliquidated
          Carpentersville, Illinois 60110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitsos, Alexa                                                       Contingent
          9 St Clair Circle                                                   Unliquidated
          Schaumburg, Illinois 60173-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mitsubishi Electric Automotive America I                            Contingent
          4773 Bethany Road                                                   Unliquidated
          Mason, OH 45040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mittler Bros. Machine & Tool                                        Contingent
          10 Cooperative Way                                                  Unliquidated
          Wright City, MO 63390
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mizelle-Adams, Amanda Dee                                           Contingent
          17010 Old Kelly Road                                                Unliquidated
          Vancleave, Mississippi 39565-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mizurak, Alex                                                       Contingent
          2925 Ruskin Ct                                                      Unliquidated
          Abingdon, Maryland 21009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,816.95
          MLA-Solutions Practice Group / Allegis G                            Contingent
          15208 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693-5412
                                                                              Disputed
          Date(s) debt was incurred 6/9/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 745 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 769 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.520
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moberly Area Community College                                      Contingent
          101 College Avenue                                                  Unliquidated
          Moberly, MO 65270
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MobileNet Services, Inc.                                            Contingent
          18 Morgan Suite 200                                                 Unliquidated
          Irvine, CA 92618
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mockler Beverage Company                                            Contingent
          11811 Reiger Rd.                                                    Unliquidated
          Baton Rouge, LA 70809
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Modell's                                                            Contingent
          498 7th Ave.                                                        Unliquidated
          20th Floor
                                                                              Disputed
          New York, NY 10018
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.521
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moderhock, Claudia                                                  Contingent
          1520 S Western Ave                                                  Unliquidated
          Park Ridge, Illinois 60068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Modupe, Mofesola                                                    Contingent
          1233 East 224th street,                                             Unliquidated
          Bronx, New York 10466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moe, Kindsey                                                        Contingent
          110 Quarter Master Drive                                            Unliquidated
          Sanford, North Carolina 27330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 746 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 770 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.521
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mofor, Ngetcha                                                      Contingent
          19162 Ivanhoe Dr                                                    Unliquidated
          Elk River, Minnesota 55330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mohammed, Sami                                                      Contingent
          1673 Charlotte Circle                                               Unliquidated
          Naperville, Illinois 60564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mohave Community College                                            Contingent
          4266 Rising Sun Avenue                                              Unliquidated
          Kingman, AZ 86402
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mohave Valley Elementary School District                            Contingent
          8450 S. Olive                                                       Unliquidated
          Mohave, AZ 86446
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mohawk Valley Elementary                                            Contingent
          5151 S. Avenue 39E                                                  Unliquidated
          Roll, AZ 85347
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mohawk Valley Health System                                         Contingent
          1656 Champlin Avenue                                                Unliquidated
          Utica, NY 13502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mohlhenrich, Krista                                                 Contingent
          3700 Toone Street, Apt 1326                                         Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 747 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 771 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.522
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Molaiepour, Leah                                                    Contingent
          137 West 119th St #2r                                               Unliquidated
          New York, New York 10026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Molina Ocampo, Jose                                                 Contingent
          160 Golden Drive                                                    Unliquidated
          Glendale Heights, Illinois 60139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Molina, Melissa                                                     Contingent
          270 E. Thomas Jefferson Way                                         Unliquidated
          Sahuarita, Arizona 85629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Molinaro, Cathy                                                     Contingent
          2018 Clover Lane                                                    Unliquidated
          Woodridge, Illinois 60517-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Molinaro, Rachel                                                    Contingent
          310 Scene Ridge Road                                                Unliquidated
          Mckeesport, Pennsylvania 15133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mollenbeck, Allison                                                 Contingent
          1929 Ellesmere Loop                                                 Unliquidated
          Roseville, California 95747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Molloy, Lorraine                                                    Contingent
          110 Wax Wing Ct.                                                    Unliquidated
          Vonore, Tennessee 37885-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 748 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 772 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.522
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Momin, Nikisha                                                      Contingent
          5207 Ballybunion Lane                                               Unliquidated
          College Station, Texas 77845-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moncivaiz, Krystal                                                  Contingent
          1330 Riverwood Drive                                                Unliquidated
          Algonquin, Illinois 60102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monico, Alyssa                                                      Contingent
          701 Windy Way #301                                                  Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moninghoff, Casey                                                   Contingent
          10830 Meadowlea Rd                                                  Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moninghoff, Joseph                                                  Contingent
          119 Caraway Rd, Apt 2c                                              Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          Monroe Clinic                                                       Contingent
          2009 5th Street                                                     Unliquidated
          Monroe, WI 53566
                                                                              Disputed
          Date(s) debt was incurred      3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monroe Tractor                                                      Contingent
          1001 Lehigh Station Rd                                              Unliquidated
          Henrietta, NY 14467
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 749 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 773 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.523
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monroe Veterinary Associates                                        Contingent
          2816 Monroe Ave                                                     Unliquidated
          Rochester, NY 14618
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monroe, Kara                                                        Contingent
          10550 Valley Forge Drive                                            Unliquidated
          Apt 140
                                                                              Disputed
          Houston, Texas 77042-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.523
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monroe, Lanetra                                                     Contingent
          2013 Marston Road                                                   Unliquidated
          Columbus, Ohio 43219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monroe, Yashica                                                     Contingent
          PO Box 291861                                                       Unliquidated
          Davie, Florida 33329-1861
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monserrate, LaKishia                                                Contingent
          8344 Chaceview Ct                                                   Unliquidated
          Charlotte, North Carolina 28269-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,779.96
          Monster Worldwide, Inc                                              Contingent
          P.O Box 90364                                                       Unliquidated
          Chicago, IL 60696-0364
                                                                              Disputed
          Date(s) debt was incurred 5/20/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montalvo, Christina                                                 Contingent
          1277 Oriole Trail                                                   Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 750 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 774 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.524
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montana Department of Revenue                                       Contingent
          PO Box 5805                                                         Unliquidated
          Helena, MT 59604-5805
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montana Peterbilt                                                   Contingent
          3255 N FRONTAGE ROAD,                                               Unliquidated
          Billings, MT 59101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montano, Latoya                                                     Contingent
          2542 Arapahoe street                                                Unliquidated
          Denver, Colorado 80205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montemayor, Kristie                                                 Contingent
          1123 Waterview Circle                                               Unliquidated
          Antioch, Illinois 60002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montenegro, Perla                                                   Contingent
          7293 West Desert Cove Avenue                                        Unliquidated
          Lot 91
                                                                              Disputed
          Peoria, Arizona 85345-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.524
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monterrubio, Delia                                                  Contingent
          2730 W Warren Blvd                                                  Unliquidated
          Unit 3E
                                                                              Disputed
          Chicago, Illinois 60612-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.524
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montez, Anselmo                                                     Contingent
          48675 Charlton Peak St.                                             Unliquidated
          Coachella, California 92236-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 751 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 775 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.524
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montgomery, Colleen                                                 Contingent
          409 Cross Street                                                    Unliquidated
          Philadelphia, Pennsylvania 19147-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montgomery, Lauren                                                  Contingent
          8534 SE 16th Ave                                                    Unliquidated
          Portland, Oregon 97202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montgomery, Suzanne                                                 Contingent
          6541 Vestine Dr                                                     Unliquidated
          Knoxville, Tennessee 37918-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montgomery, Taureka                                                 Contingent
          4807 S Wabash                                                       Unliquidated
          Chicago, Illinois 60615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montijo, Bridgitt                                                   Contingent
          700 Clohesey Drive                                                  Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montoya, Melanie                                                    Contingent
          826 Fairview Lane                                                   Unliquidated
          Espanola, New Mexico 87532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montpelier Schools                                                  Contingent
          1015 East Brown Road                                                Unliquidated
          Montpelier, OH 43543
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 752 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 776 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.525
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Montroy, Julia                                                      Contingent
          95 Jolls Lane                                                       Unliquidated
          Orchard Park, New York 14127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Monuteaux, Jaclyne                                                  Contingent
          18 Georgia Ct                                                       Unliquidated
          Rensselaer, New York 12144-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moody, Grant                                                        Contingent
          948 Atlantic Ave Apt E                                              Unliquidated
          Hoffman Estates, Illinois 60169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moon, Anastacia                                                     Contingent
          2231 S Nogales Ave                                                  Unliquidated
          Tulsa, Oklahoma 74107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mooney, Christina                                                   Contingent
          222 River Loop Rd                                                   Unliquidated
          Belmont, North Carolina 28012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Anastasia                                                    Contingent
          7875 Sarah Ann Drive South                                          Unliquidated
          Southaven, Mississippi 38671-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Christina                                                    Contingent
          1706 Linden St                                                      Unliquidated
          Granger, Iowa 50109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 753 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 777 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.526
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Daffydd                                                      Contingent
          2820 S. 59th Ct.                                                    Unliquidated
          Cicero, Illinois 60804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Jakia                                                        Contingent
          5 Rigsby Court                                                      Unliquidated
          Hampton, Virginia 23666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Jasmine                                                      Contingent
          22001 Northeast 204th Court                                         Unliquidated
          Battle Ground, Washington 98604-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Jemila                                                       Contingent
          16303 Cutten Rd                                                     Unliquidated
          Houston, Texas 77070-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Jessica                                                      Contingent
          300 Garden Grove Drive                                              Unliquidated
          Roseburg, Oregon 97471-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Maresha                                                      Contingent
          520 Jeanette St                                                     Unliquidated
          Beaumont, Texas 77703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Marla                                                        Contingent
          613 Park Hill Circle                                                Unliquidated
          Hewitt, Texas 76643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 754 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 778 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.526
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Marquita                                                     Contingent
          13322 De Wald Circle                                                Unliquidated
          Apt L
                                                                              Disputed
          Newport News, Virginia 23602-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.527
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Marsha                                                       Contingent
          670 Ken Pilkerton Dr, Apt 216                                       Unliquidated
          Smyrna, Tennessee 37167-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Shannon                                                      Contingent
          101 Robinson Drive                                                  Unliquidated
          Newport News, Virginia 23601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Tiffany                                                      Contingent
          146 Brandy Ave                                                      Unliquidated
          LaGrange, North Carolina 28551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, William                                                      Contingent
          14811 Adios                                                         Unliquidated
          San Antonio, Texas 78248-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore, Yohantis                                                     Contingent
          407 Preakness Circle                                                Unliquidated
          Copperas Cove, Texas 76522-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moore-Grimes, Sharon                                                Contingent
          22121 Edinburgh Drive                                               Unliquidated
          Montgomery, Alabama 36116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 755 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 779 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.527
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moorehead, Brandon                                                  Contingent
          3673 Burwick Place                                                  Unliquidated
          Antioch, Tennessee 37013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morales, Diane                                                      Contingent
          6647 Frederick Road                                                 Unliquidated
          Apt. 1
                                                                              Disputed
          Catonsville, Maryland 21228-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.527
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morales, Francisco                                                  Contingent
          8400 West Virginia Avenue                                           Unliquidated
          Phoenix, Arizona 85037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morales, Rochelle                                                   Contingent
          1700 Brenda Rd. SE                                                  Unliquidated
          Rio Rancho, New Mexico 87124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moran, Aldo                                                         Contingent
          6722 Passaic St                                                     Unliquidated
          Huntington Park, California 90255-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moran, Krista                                                       Contingent
          10204 Barlow Crossing                                               Unliquidated
          Perrysburg, Ohio 43551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moran, Sarah                                                        Contingent
          1806 Lancaster Drive                                                Unliquidated
          Youngstown, Ohio 44511-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 756 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 780 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.528
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moran, Verna                                                        Contingent
          21 Pitman Street                                                    Unliquidated
          Providence, Rhode Island 02906-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moreau, Nicole                                                      Contingent
          115 Prospect Ave, Unit B                                            Unliquidated
          Long Beach, California 90803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morehead, Allison                                                   Contingent
          65 Sequoia Lane                                                     Unliquidated
          Deerfield, Illinois 60015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moren, Jody                                                         Contingent
          1218 Sun Circle E                                                   Unliquidated
          Melbourne, Florida 32935-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moreno, Danielle                                                    Contingent
          10730 Church St, #172                                               Unliquidated
          Rancho Cucamonga, California 91730-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moreno, Felicia                                                     Contingent
          5428 Eagle Claw Avenue                                              Unliquidated
          Las Vegas, Nevada 89130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moreno, Leandro                                                     Contingent
          544 Urbane Road NE                                                  Unliquidated
          Cleveland, Tennessee 37312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 757 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 781 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.529
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morgan Distributing, Inc.                                           Contingent
          3425 N. 22nd Street                                                 Unliquidated
          Decatur, IL 65226
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morgan, Nicole                                                      Contingent
          1905 Deer Spring Ct                                                 Unliquidated
          Forest Hill, Maryland 21050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morgan, Norita                                                      Contingent
          41 Barry Street                                                     Unliquidated
          Quincy, Massachusetts 02169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MORINDA HOLDINGS, INC                                               Contingent
          737 East 1180 South                                                 Unliquidated
          American Fork, UT 84003
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mork, Connie                                                        Contingent
          539 Redhorse Lane                                                   Unliquidated
          Yorkville, Illinois 60560-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morning, Melissa                                                    Contingent
          728 N 37th Street                                                   Unliquidated
          East Saint Louis, Illinois 62205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morningstar Senior Living                                           Contingent
          175 West North Street                                               Unliquidated
          Nazareth, PA 18064
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 758 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 782 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.529
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morningstar, Lauren                                                 Contingent
          2912 W 87 1/2 St                                                    Unliquidated
          Bloomington, Minnesota 55431-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morrill, Linn                                                       Contingent
          14 Apple Ridge Road                                                 Unliquidated
          Condo #4
                                                                              Disputed
          Maynard, Massachusetts 01754-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.529
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morris, Brenda                                                      Contingent
          PO Box 7360                                                         Unliquidated
          Halethorpe, Maryland 21227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.530
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morris, Cinthia                                                     Contingent
          6174 Mandy Lane                                                     Unliquidated
          San Bernardino, California 92407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.530
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morris, Donna                                                       Contingent
          1919 62nd Ave NW                                                    Unliquidated
          Gig Harbor, Washington 98335-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.530
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morris, Duston                                                      Contingent
          876 Fendley Drive                                                   Unliquidated
          Apt C5
                                                                              Disputed
          Conway, Arkansas 72032-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.530
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morris, Melanie                                                     Contingent
          3109 Honeywood Lane SW                                              Unliquidated
          Apt L
                                                                              Disputed
          Roanoke, Virginia 24018-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 759 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 783 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.530
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morris, Shannon                                                     Contingent
          121 Comanche Ct S                                                   Unliquidated
          202
                                                                              Disputed
          Virginia Beach, Virginia 23462-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.530
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morrison, Alicia                                                    Contingent
          2058 Cunnigham Drive                                                Unliquidated
          #204
                                                                              Disputed
          Hampton, Virginia 23666-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.530
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morrison, Crystal                                                   Contingent
          3116 W. Lexington                                                   Unliquidated
          Chicago, Illinois 60612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.530
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morrison, Kyle                                                      Contingent
          1072 rocky springs rd                                               Unliquidated
          Frederick, Maryland 21702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.530
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morrison, Mary Kay                                                  Contingent
          966 Lakeside Drive                                                  Unliquidated
          Apopka, Florida 32712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.530
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morrissette, Emily                                                  Contingent
          60 Colony Drive                                                     Unliquidated
          West Sayville, New York 11796-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morse, Ellen                                                        Contingent
          9765 Reese Farm Rd                                                  Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 760 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 784 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.531
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morse, Jane                                                         Contingent
          2107 Glen Oaks Knoll                                                Unliquidated
          Coralville, Iowa 52241-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morse, Julianna                                                     Contingent
          2112 Starling Avenue                                                Unliquidated
          Apt 6F
                                                                              Disputed
          Bronx, New York 10462-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.531
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morton, Donna                                                       Contingent
          101 N. Amelia Avenue, Apt 406                                       Unliquidated
          DeLand, Florida 32724-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Morton, Luisa                                                       Contingent
          616 Fall Wheat Drive                                                Unliquidated
          Murphy, Texas 75094-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mosakowski, Jean                                                    Contingent
          3914 Rilling Ave                                                    Unliquidated
          Erie, Pennsylvania 16509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mosconi, Mark                                                       Contingent
          4227 Aurora Path                                                    Unliquidated
          Liverpool, New York 13090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moser, Alex                                                         Contingent
          5028 East 200 South                                                 Unliquidated
          Avon, Indiana 46123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 761 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 785 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.531
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moses, Amie                                                         Contingent
          406 Molise Circle                                                   Unliquidated
          Walton, Kentucky 41094-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moses, Sharanda                                                     Contingent
          1136 Virginia Ave, Apt A                                            Unliquidated
          Portsmouth, Virginia 23707-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moskos, Allison                                                     Contingent
          113 E Mallard Drive Apt 388                                         Unliquidated
          Boise, Idaho 83706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mosley, Cynthia                                                     Contingent
          PO Box 4                                                            Unliquidated
          Newark, Texas 76071-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moss, E.                                                            Contingent
          160 River Cove Meadows                                              Unliquidated
          Social Circle, Georgia 30025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moss, Emily                                                         Contingent
          218 Long Leaf Acress Drive                                          Unliquidated
          Wilmington, North Carolina 28405-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moss, Kara                                                          Contingent
          1446a Bouldercrest Rd                                               Unliquidated
          Apt #3
                                                                              Disputed
          Atlanta, Georgia 30316-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 762 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 786 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.532
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mota, Sheila                                                        Contingent
          1350 S Stewart St                                                   Unliquidated
          Salt Lake City, Utah 84104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Motley, Leslie                                                      Contingent
          5403 Weidner Road                                                   Unliquidated
          Springboro, Ohio 45066-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mott Corporation                                                    Contingent
          84 Spring Ln                                                        Unliquidated
          Farmington, CT 06032
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Motta, Victor                                                       Contingent
          2315 - 30th Ave, Apt A-8                                            Unliquidated
          Astoria, New York 11102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mottu, Susan                                                        Contingent
          1745 Williamsburg Place                                             Unliquidated
          Pittsburgh, Pennsylvania 15235-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moulton, Crystal                                                    Contingent
          812 North Evans Street                                              Unliquidated
          Bloomington, Illinois 61701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mount Prospect School District 57                                   Contingent
          701 West Gregory Street                                             Unliquidated
          Mt. Prospect, IL 60056
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 763 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 787 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.533
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mountain States Contracting Inc.                                    Contingent
          4001 S. 34th Street                                                 Unliquidated
          Phoenix, AZ 85040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mouse, Minny                                                        Contingent
          1234 Disney Lane                                                    Unliquidated
          Owings Mills, Florida 12345-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Moussalli, Aida                                                     Contingent
          308 South Main St. Apt. 9                                           Unliquidated
          Edwardsville, Illinois 62025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mowbray, Michael                                                    Contingent
          4706 Little Cedar Drive                                             Unliquidated
          Attica, Michigan 48412-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mowery, Karen                                                       Contingent
          602 Cyril Court                                                     Unliquidated
          Vandalia, Ohio 45377-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Msciwojewska, Joanna                                                Contingent
          22W304 Woodview Drive                                               Unliquidated
          Medinag, Illinois 60157-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mt. Washington Pediatric Hospital                                   Contingent
          1708 West Rogers Avenue                                             Unliquidated
          Baltimore, MD 21209
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 764 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 788 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.533
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MTS Systems                                                         Contingent
          14000 Technology Drive                                              Unliquidated
          Eden Prairie, MN 55344
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mu'ti, Ola                                                          Contingent
          2505 Harrods Ln                                                     Unliquidated
          Richmond, Virginia 23225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muchicko, Megan                                                     Contingent
          592 S. Benbrook Road                                                Unliquidated
          Butler, Pennsylvania 16001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mueller Jr, Thomas                                                  Contingent
          373 Narragansett Court                                              Unliquidated
          373 Narragansett Court
                                                                              Disputed
          Crystal Lake, Illinois 60012-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.534
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mueller, Cara                                                       Contingent
          2615 w. 48th St.                                                    Unliquidated
          Austin, Texas 78731-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mueller, Kenny                                                      Contingent
          109 Goldstone Court                                                 Unliquidated
          Roseville, California 95747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muhammad, Shakira                                                   Contingent
          11226 Valley Bend Dr                                                Unliquidated
          Germantown, Maryland 20876-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 765 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 789 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.534
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muhammad, Yvette                                                    Contingent
          227 Fairfield Dr                                                    Unliquidated
          Ellenwood, Georgia 30294-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mui, Karen                                                          Contingent
          35 Pleasant St.                                                     Unliquidated
          Quincy, Massachusetts 02169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muir, Krystal                                                       Contingent
          2843 Maudlin Ave                                                    Unliquidated
          Baltimore, Maryland 21230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muise, Michael                                                      Contingent
          7570 West Flamingo Road                                             Unliquidated
          Apt. 114
                                                                              Disputed
          Las Vegas, Nevada 89417-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.535
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mukite, Bridget                                                     Contingent
          1818 Tucumcari Dr                                                   Unliquidated
          Houston, Texas 77090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mulawa, Kathryn                                                     Contingent
          47781 Sandy Ridge Dr                                                Unliquidated
          Macomb, Michigan 48044-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mulch, Karen                                                        Contingent
          17172 Bolsa Chica St.                                               Unliquidated
          #46
                                                                              Disputed
          Huntington Beach, California 92649-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 766 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 790 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.535
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mullen, Virginia                                                    Contingent
          39 Purcell Rd                                                       Unliquidated
          Ashuelot, New Hampshire 03441-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mullen-Hall, Hannah                                                 Contingent
          7938 E. 59 Place                                                    Unliquidated
          Apt. 97-003
                                                                              Disputed
          Tulsa, Oklahoma 74145-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.535
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muller, Caitlin                                                     Contingent
          3401 East Gore BLVD                                                 Unliquidated
          Lawton, Oklahoma 73501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muller, Joelle                                                      Contingent
          1501 Millbrook Drive                                                Unliquidated
          Algonquin, Illinois 60102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mullin, Tiffany                                                     Contingent
          1213 - A1a South                                                    Unliquidated
          St Augustine, Florida 32080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mullis, Monica                                                      Contingent
          9200 Bartlett Rd                                                    Unliquidated
          Charlotte, North Carolina 28227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Munch, Holly                                                        Contingent
          2045 Dane Road                                                      Unliquidated
          Owatonna, Minnesota 55060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 767 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 791 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.536
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mundelein SD 120                                                    Contingent
          1350 West Hawley Street                                             Unliquidated
          Mundelein, IL 60060
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Municipal Securities Rulemaking Board                               Contingent
          1300 I Street NE                                                    Unliquidated
          Washington, DC 20005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Munsey, Evelyn                                                      Contingent
          1908 Gayle Lane                                                     Unliquidated
          Findlay, Ohio 45840-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murcia, Patricia                                                    Contingent
          7846 Peachtree Ave                                                  Unliquidated
          Panorama City, California 91402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murff, Tiffani                                                      Contingent
          814 Landis Ridge Dr                                                 Unliquidated
          19B
                                                                              Disputed
          Louisville, Kentucky 40245-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.536
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murillo, Daisy                                                      Contingent
          90 S. Highview                                                      Unliquidated
          Addison, Illinois 60101-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murillo, Dulce                                                      Contingent
          2329 Glendale Terrace Apt 2                                         Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 768 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 792 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.536
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murnen, Jonathan                                                    Contingent
          1212 Dennison                                                       Unliquidated
          Columbus, Ohio 43201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murphy Elementary School District                                   Contingent
          2615 West Buckeye Road                                              Unliquidated
          Phoenix, AZ 85009
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murphy, Carrie                                                      Contingent
          1445 calle violeta                                                  Unliquidated
          thousand oaks, California 91360-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murphy, Johnnie                                                     Contingent
          2708 Waymar Dr SW                                                   Unliquidated
          Marietta, Georgia 30008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murphy, Maurice                                                     Contingent
          3337 Heather Ridge Drive                                            Unliquidated
          Indianapolis, Indiana 46214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murphy, Meghan                                                      Contingent
          428 Sunbeam Court                                                   Unliquidated
          Stillman Valley, Illinois 61084-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murphy, Paula                                                       Contingent
          83 Main Street                                                      Unliquidated
          Dover, Massachusetts 02030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 769 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 793 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.537
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Murtaugh, Barbara                                                   Contingent
          5 Birchwood Lane                                                    Unliquidated
          Mantua, New Jersey 08051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muryn, Connie                                                       Contingent
          4N211 Pine Grove Ave                                                Unliquidated
          Bensenville, Illinois 60106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Musa, Nour                                                          Contingent
          5158 Allen st                                                       Unliquidated
          Sylvania, Ohio 43560-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Muskus, Karla                                                       Contingent
          10945 Chapel Woods Blvd So                                          Unliquidated
          Noblesville, Indiana 46060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Musselshell County                                                  Contingent
          506 Main Street                                                     Unliquidated
          Roundup, MT 59072
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mutschelknaus, Jessica                                              Contingent
          5058 Savannah Street                                                Unliquidated
          Rapid City, South Dakota 57703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mutual Trust Life Insurance Company                                 Contingent
          1200 Jorie Blvd.                                                    Unliquidated
          Oak Brook, IL 60523
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 770 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 794 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.538
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          MW Industries                                                       Contingent
          9501 Technology Blvd #401                                           Unliquidated
          Rosemont, IL 60018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Myers, Austin                                                       Contingent
          600 Pleasure Ave Apt 16                                             Unliquidated
          Ocean City, New Jersey 08226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Myers, Chasity                                                      Contingent
          28175 Amaryliss Way                                                 Unliquidated
          Murrieta, California 92563-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Myers, Kimberly                                                     Contingent
          11457 Bristol Place NW                                              Unliquidated
          Gig Harbor, Washington 98332-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Myers, Racquel                                                      Contingent
          2927 Violet Ave                                                     Unliquidated
          Baltimore, Maryland 21215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Myers, Tauna                                                        Contingent
          4026 W Deerpath Drive                                               Unliquidated
          Boise, Idaho 83714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Myles, Merilyn                                                      Contingent
          298 Heaths Bridge Road                                              Unliquidated
          Concord, Massachusetts 01742-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 771 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 795 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.538
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Myres, April                                                        Contingent
          10321 George Hart Court                                             Unliquidated
          Las Vegas, Nevada 89129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          N.E.W. Industries Inc.                                              Contingent
          905 S Neenah Ave                                                    Unliquidated
          Sturgeon Bay, WI 54235
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nagel, Chad                                                         Contingent
          5549 Casad Dr                                                       Unliquidated
          Lafayette, Indiana 47905-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Naifeh, Jeffrey                                                     Contingent
          1310 S Deleware PL                                                  Unliquidated
          Tulsa, Oklahoma 74104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nakawa, Mustafa                                                     Contingent
          1 Field Street                                                      Unliquidated
          Cambridge, Massachusetts 02138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nanayakkara, Ruchithri                                              Contingent
          3001 Gillham Rd., APT. 102                                          Unliquidated
          Kansas city, Missouri 64108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nance, Allison                                                      Contingent
          6464 E. Sam Houston Pkwy N, Ap                                      Unliquidated
          Houston, Texas 77049-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 772 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 796 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.539
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nanim, Winifred                                                     Contingent
          12151 North IH-35                                                   Unliquidated
          Apt 1427
                                                                              Disputed
          Austin, Texas 78753-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.539
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nantau, Chelsea                                                     Contingent
          3582 Lakeshore Drive                                                Unliquidated
          Waterford, Michigan 48329-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nantau, Heather                                                     Contingent
          43 W Washington                                                     Unliquidated
          Clarkston, Michigan 48346-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Naperville Park District                                            Contingent
          320 W. Jackson Avenue                                               Unliquidated
          Naperville, IL 60540
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Napier, Renee                                                       Contingent
          3552 Warmbreeze Way                                                 Unliquidated
          Las Vegas, Nevada 89129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Napoleon City Schools                                               Contingent
          701 Briar Heath Drive                                               Unliquidated
          Napoleon, OH 43545
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Napoli, David                                                       Contingent
          11566 Dahlia St                                                     Unliquidated
          Thornton, Colorado 80233-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 773 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 797 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.540
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Narang, Priya                                                       Contingent
          14405 Hollyhock Way                                                 Unliquidated
          Burtonsville, Maryland 20866-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Narayan, Nadia                                                      Contingent
          3016 Locust St. Unit 207                                            Unliquidated
          St Louis, Missouri 63103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nardo Jr., Victor                                                   Contingent
          5944 Corson Pl                                                      Unliquidated
          Lake Worth, Florida 33463-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Narum, Christopher                                                  Contingent
          4729 Pebble Beach Way                                               Unliquidated
          Eagan, Minnesota 55123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Narum, James                                                        Contingent
          4729 Pebble Beach Way                                               Unliquidated
          Eagan, Minnesota 55123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nasatir, Michelle                                                   Contingent
          34927 N Linden Avenue                                               Unliquidated
          Third Lake, Illinois 60030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nathan, Paul                                                        Contingent
          129 Iceland Dr                                                      Unliquidated
          Huntington Station, New York 11746-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 774 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 798 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.540
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nation Pizza and Foods                                              Contingent
          601 E. Algonquin Road                                               Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          National Cart                                                       Contingent
          3125 Boschertown Road                                               Unliquidated
          St. Charles, MO 63005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          National Cart Co.                                                   Contingent
          3125 Boschertown Rd                                                 Unliquidated
          St Charles, MO 63301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          National Fire Insurance Company of Hartf                            Contingent
          151 N. Franklin St.                                                 Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          National General                                                    Contingent
          5630 University Parkway                                             Unliquidated
          Winston-Salem, NC 27105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          National Insurance Crime Bureau                                     Contingent
          1111 E. Touhy Avenue Suite 400                                      Unliquidated
          Des Plaines, IL 60018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          National Surgical Healthcare                                        Contingent
          250 South Wacker Drive, Suite 500                                   Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 775 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 799 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.541
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          National Tube Supply Co.                                            Contingent
          925 Central Ave.                                                    Unliquidated
          University Park, IL 60484
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NATIONAL VAN LINES INC.                                             Contingent
          2800 W. Roosevelt Rd.                                               Unliquidated
          Broadview, IL 60155
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nature's Sunshine Products, Inc.                                    Contingent
          2500 West Executive Parkway Suite 100                               Unliquidated
          Lehi, UT 84043
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Navarro, Crystal                                                    Contingent
          8421 Vicki Drive                                                    Unliquidated
          Whittier, California 90606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Navarro, Omar                                                       Contingent
          6301 Sierra Blanca Dr, #6409                                        Unliquidated
          Houston, Texas 77082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Navarro-Toro, Alma                                                  Contingent
          1216 Citation Lane                                                  Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nazareth Living Center                                              Contingent
          2 Nazareth Lane                                                     Unliquidated
          Saint Louis, MO 63129
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 776 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 800 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.542
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nazem, Peymaneh                                                     Contingent
          731 N Elder Grove Dr                                                Unliquidated
          Pearland, Texas 77584-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nazzarese, Kristen                                                  Contingent
          4870 Pescadero Ave                                                  Unliquidated
          Apt 5
                                                                              Disputed
          San Diego, California 92107-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.542
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ndaguba, Rita                                                       Contingent
          4280 Trinity Mills Road                                             Unliquidated
          #602
                                                                              Disputed
          Dallas, Texas 75287-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.542
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NDSEC                                                               Contingent
          132 E Pine Ave                                                      Unliquidated
          Roselle, IL 60172
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neal Gerber & Eisenberg LLP                                         Contingent
          Two North LaSalle Street                                            Unliquidated
          Suite 1700
                                                                              Disputed
          Chicago, IL 60602
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.542
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nebraska Department of Revenue                                      Contingent
          Attn: Bankruptcy Unit                                               Unliquidated
          PO Box 94818
                                                                              Disputed
          Lincoln, NE 68509-4818
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.542
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nee, Nicole                                                         Contingent
          7321 Bryant Ave S.                                                  Unliquidated
          Richfield, Minnesota 55423-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 777 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 801 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.543
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neels, Trevor                                                       Contingent
          1501 Jessica Dr                                                     Unliquidated
          Cape Giardeau, Missouri 63701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neely, Vemetria                                                     Contingent
          2 Fredonia Ct                                                       Unliquidated
          Mayflower, Arkansas 72106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Negrete, Fatima                                                     Contingent
          5287 37th St                                                        Unliquidated
          Riverside, California 92509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Negron, Gabriela                                                    Contingent
          28334 Roman Court                                                   Unliquidated
          Santa Clarita, California 91350-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neice, Sherri                                                       Contingent
          8958 W. Saint John Road                                             Unliquidated
          Peoria, Arizona 85382-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neill, Katharine                                                    Contingent
          1201 Ashton Hollow Dr                                               Unliquidated
          Raleigh, North Carolina 27603-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neis, Kelly                                                         Contingent
          624 E. Main Street                                                  Unliquidated
          Stoughton, Wisconsin 53589-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 778 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 802 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.543
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nellissery, Ray                                                     Contingent
          7642 NW 21st Dr                                                     Unliquidated
          Pembrooke Pines, Florida 33024-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nelson, Amy                                                         Contingent
          11614 209th St E                                                    Unliquidated
          Graham, Washington 98338-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nelson, Brianna                                                     Contingent
          34739 Hubble Pond Road                                              Unliquidated
          Rochert, Minnesota 56578-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nelson, Dawn Marie                                                  Contingent
          3827 S. Redondo Boulevard                                           Unliquidated
          Los Angeles, California 90008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nelson, James                                                       Contingent
          5909 buckler ave                                                    Unliquidated
          Los Angeles, California 90043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nelson, Kelsey                                                      Contingent
          7419 Pinehurst Ct.                                                  Unliquidated
          Pine Springs, Minnesota 55115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nelson, Lindsey                                                     Contingent
          3910 1st Ave South                                                  Unliquidated
          Apt 2
                                                                              Disputed
          Minneapolis, Minnesota 55409-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 779 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 803 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.544
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nelson, Nannette                                                    Contingent
          1417 W. Ridenbaugh St.                                              Unliquidated
          Boise, Idaho 83702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nelson, Tereca                                                      Contingent
          500 Cindy Lane                                                      Unliquidated
          Amarilla, Texas 79118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nemes, Mark                                                         Contingent
          4923 Prospect Ave.                                                  Unliquidated
          Hannibal, Missouri 63401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nemours - Demo                                                      Contingent
          10140 Centurion Parkway North 3-1688                                Unliquidated
          Jacksonville, FL 32256
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nesbitt, Katie                                                      Contingent
          414 N. Gertruda Ave #b                                              Unliquidated
          Redondo Beach, California 90277-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Netcel, Joseph                                                      Contingent
          1623 North Prairie Avenue                                           Unliquidated
          Crest Hill, Illinois 60403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          NetGain                                                             Contingent
          100 Union Valley Road                                               Unliquidated
          Suite# 120
                                                                              Disputed
          Oak Ridge, TN 37830
          Date(s) debt was incurred 2/29/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 780 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 804 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.545
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,907.46
          NetSuite Inc                                                        Contingent
          15612 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693
                                                                              Disputed
          Date(s) debt was incurred 3/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neuco Inc.                                                          Contingent
          5101 Thatcher                                                       Unliquidated
          Downers Grove, IL 60515
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neumann, Jennifer                                                   Contingent
          2222 - O Street NW                                                  Unliquidated
          Cedar Rapids, Iowa 52405-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neutral Posture, Inc.                                               Contingent
          3904 N. Texas Avenue                                                Unliquidated
          Bryan, TX 77803
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Neuville, Jennifer                                                  Contingent
          105 Grandison Road                                                  Unliquidated
          London SW11 6LT, District of Columbia 00
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nevada Department of Taxation                                       Contingent
          555 E. Washington Ave                                               Unliquidated
          Suite #1300
                                                                              Disputed
          Las Vegas, NV 89101
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.545
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nevara, Stacey                                                      Contingent
          1205 N Elmwood Ave                                                  Unliquidated
          Oak Park, Illinois 60302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 781 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 805 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.545
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Century Software, Inc.                                          Contingent
          2627 Redwing Rd #100                                                Unliquidated
          Fort Collins, CA 80526
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Energy Works & Pioneer Millworks                                Contingent
          1180 Commercial Drvie                                               Unliquidated
          Farmington, NY 14425
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Hampshire Department of Revenue                                 Contingent
          PO Box 457                                                          Unliquidated
          Concord, NH 03302-0457
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Jersey Department of Revenue                                    Contingent
          PO Box 245                                                          Unliquidated
          Trenton, NJ 08695-0245
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NEW LENOX SCHOOL DISTRICT 122                                       Contingent
          731 E. Joliet Hwy.                                                  Unliquidated
          New Lenox, IL 60451
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Mexico Department of Revenue                                    Contingent
          P.O. Box 630                                                        Unliquidated
          Santa Fe, NM 87504-0630
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Mexico Institute of Mining & Technol                            Contingent
          801 Leroy Place                                                     Unliquidated
          Socorro, NM 87801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 782 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 806 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.546
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Perspective                                                     Contingent
          7625 Golden Triangle Drive                                          Unliquidated
          Technology Park VI - Suite T
                                                                              Disputed
          Eden Prairie, MN 55344
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.546
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Resources Companies                                             Contingent
          1000 North Water                                                    Unliquidated
          Suite 950
                                                                              Disputed
          Milwaukee, WI 53202
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.546
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New Vision Co-op                                                    Contingent
          38438 210th St.                                                     Unliquidated
          Brewster, MN 56119
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New World Van Lines                                                 Contingent
          5875 N. Rogers Avenue                                               Unliquidated
          Chicago, IL 60646
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New York Air Brake                                                  Contingent
          748 Starbuck Ave                                                    Unliquidated
          Watertown, NY 13601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New York City Football Club LLC                                     Contingent
          600 Third Ave. 30th Floor                                           Unliquidated
          New York, NY 10016
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New York Public Radio                                               Contingent
          160 Varick Street                                                   Unliquidated
          New York, NY 10013
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 783 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 807 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.547
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New York Taxation & Revenue Department                              Contingent
          Bankruptcy Section                                                  Unliquidated
          PO Box 5300
                                                                              Disputed
          Albany, NY 12205-0300
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.547
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          New, Kaitlyn                                                        Contingent
          501 Washington Street                                               Unliquidated
          Epworth, Iowa 52045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Newbern, Kimberly                                                   Contingent
          7231 E Chelsea Street                                               Unliquidated
          Wichita, New Mexico 67206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Newby, Leonson                                                      Contingent
          960 Sheridan Ave                                                    Unliquidated
          Bronx, New York 10456-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Newell, Krista                                                      Contingent
          511 West Mineral Ave                                                Unliquidated
          #115
                                                                              Disputed
          Littletown, Colorado 80120-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.547
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Newman, Shanquetta                                                  Contingent
          837 NW 4th Ave                                                      Unliquidated
          Fort Lauderdale, Florida 33311-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Newton, Julie                                                       Contingent
          832 E Kiowa St                                                      Unliquidated
          Colorado Springs, Colorado 80903-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 784 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 808 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.547
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nexterus, Inc.                                                      Contingent
          802 Far Hills Drive                                                 Unliquidated
          New Freedom, PA 17349
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ng, Carmen                                                          Contingent
          13122 Wortham Brook Ln                                              Unliquidated
          Houston, Texas 77065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nghiwete, Rachel                                                    Contingent
          110 Fidler Lane # 800                                               Unliquidated
          Silver Spring, Maryland 20910-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          nGuard, Inc.                                                        Contingent
          3700 Arco Corporate Drive                                           Unliquidated
          Suite 525
                                                                              Disputed
          Charlotte, NC 28273-7089
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.548
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Anh                                                         Contingent
          1724 Sharon Road                                                    Unliquidated
          Santa Ana, California 92706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Duyen                                                       Contingent
          20511 Anita Ave, Rm 27                                              Unliquidated
          Castro Valley, California 94546-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Emily                                                       Contingent
          2038 West 12th Street                                               Unliquidated
          Santa Ana, California 92703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 785 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 809 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.548
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Han                                                         Contingent
          1204 El Monte Ave                                                   Unliquidated
          Sacramento, California 95815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Kasmira                                                     Contingent
          906 21st St                                                         Unliquidated
          Sacramento, California 95811-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Kim                                                         Contingent
          219 Reo Ave                                                         Unliquidated
          Lansing, Michigan 48910-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Kim-Trang                                                   Contingent
          118 Arapaho Ave                                                     Unliquidated
          Locust Grove, Georgia 30248-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Samantha Joyce                                              Contingent
          7251 Sedgefield Avenue                                              Unliquidated
          San Ramon, California 94583-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Sang                                                        Contingent
          102 W 16th St                                                       Unliquidated
          Owasso, Oklahoma 74055-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Thuyen                                                      Contingent
          164 West Fullerton Ave                                              Unliquidated
          Glendale Heights, Illinois 60137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 786 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 810 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.549
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Viet                                                        Contingent
          5526 Creekridge Drive                                               Unliquidated
          Arlington, Texas 76018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nguyen, Vithanh                                                     Contingent
          7706 Coral Way                                                      Unliquidated
          Rowlett, Texas 75088-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nicely, Ellen                                                       Contingent
          6846 Duluth Avenue                                                  Unliquidated
          Baltimore, Maryland 21222-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nicholas, Nicole                                                    Contingent
          6522 Lake Park Drive, Unit 103                                      Unliquidated
          Greenbelt, Maryland 20770-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nichols, Diana                                                      Contingent
          103 Scenic Dr, Po Box 42                                            Unliquidated
          Goodfield, Illinois 61742-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nichols, Rosheena                                                   Contingent
          6229 Heather Glen Dr                                                Unliquidated
          Suffolk, Virginia 23435-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nicholson, Clarissa                                                 Contingent
          12 stoney lonesome rd                                               Unliquidated
          fairmont, West Virginia 26554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 787 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 811 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.550
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nicholson, M.                                                       Contingent
          2534 So. Walter Reed Dr, Unit                                       Unliquidated
          Arlington, Virginia 22206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nicholson, Michael                                                  Contingent
          3325 96th Avenue Northeast                                          Unliquidated
          Norman, Oklahoma 73026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nickerson, Moreen                                                   Contingent
          13 Plumb Creek Trail                                                Unliquidated
          Lancaster, New York 14086-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nickerson, Shira                                                    Contingent
          908 Hattie s                                                        Unliquidated
          Terrell, Texas 75160-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nicklaus Children's Health System                                   Contingent
          3100 SW 62nd Ave.                                                   Unliquidated
          Miami, FL 33155
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,760.00
          Nicklaus Children's Hospital                                        Contingent
          3100 SW 62nd Avenue                                                 Unliquidated
          CHQ 7th Floor
                                                                              Disputed
          Miami, FL 33155
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.550
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nickless, Tina                                                      Contingent
          3561 S Spring                                                       Unliquidated
          ST Louis, Missouri 63116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 788 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 812 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.550
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nidec Minster Corporation                                           Contingent
          240 W Fifth St                                                      Unliquidated
          Minster, OH 45865
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Niedens, Molly                                                      Contingent
          12400 W 119Th Place, Apt 527                                        Unliquidated
          Overland Park, Kansas 66213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nieder, Katie                                                       Contingent
          11551 Buffalo St                                                    Unliquidated
          Wayland, New York 14572-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Niederhofer, Holly                                                  Contingent
          6192 steves Rd                                                      Unliquidated
          Homer, New York 13077-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nielson, Remington                                                  Contingent
          35 Clinton pl. #1E                                                  Unliquidated
          New Rochelle, New York 10801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nierman, Robin                                                      Contingent
          6411 Nw 58th Way                                                    Unliquidated
          Parkland, Florida 33067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Niese, Carla                                                        Contingent
          2884 Road 15                                                        Unliquidated
          Continental, Ohio 45831-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 789 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 813 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.551
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Niles Bolton Associates                                             Contingent
          3060 Peachtree Rd                                                   Unliquidated
          Suite 600
                                                                              Disputed
          Atlanta, GA 30305
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.551
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Niles School District 71                                            Contingent
          6901 W. Oakton Street                                               Unliquidated
          Niles, IL 60714
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Niles Township for Spec Ed 807                                      Contingent
          8701 North Menard Avenue                                            Unliquidated
          Morton Grove, IL 60053
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Niles Township High SD 219                                          Contingent
          7700 Gross Point Rd                                                 Unliquidated
          Skokie, IL 60077
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nithman, Michelle                                                   Contingent
          27507 N 58th Lane                                                   Unliquidated
          Phoenix, Arizona 85083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nix, Nitasha                                                        Contingent
          410 Funderburg Lane                                                 Unliquidated
          Sylacauga, Alabama 35150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nix, Yanicka                                                        Contingent
          316 Threatt Lane                                                    Unliquidated
          Sylacauga, Alabama 35150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 790 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 814 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.552
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nixon, Angela                                                       Contingent
          506 Nashoba Ave                                                     Unliquidated
          Columbus, Ohio 43223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nkwonta, Faith                                                      Contingent
          5300 Glenside Dr, Apt 1404                                          Unliquidated
          Henrico, Virginia 23228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Noble, Rebecca                                                      Contingent
          2200 Greenbriar Court                                               Unliquidated
          Buffalo, Minnesota 55313-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NOG                                                                 Contingent
          3240 E Van Norman                                                   Unliquidated
          Cudahy, WI 53110
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nogales Unified School District                                     Contingent
          310 W. Plum Street P. O. Box 5000                                   Unliquidated
          Nogales, AZ 85621
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nolato Contour                                                      Contingent
          660 Vandeberg Drive                                                 Unliquidated
          Baldwin, WI 54002
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nona, Robert                                                        Contingent
          1338 Hunter Drive                                                   Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 791 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 815 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.552
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nonni's                                                             Contingent
          3920 East Pine Street                                               Unliquidated
          Tulsa, OK 74115
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Noonan, Kathleen                                                    Contingent
          39W819 Carl Sandburg Rd                                             Unliquidated
          Saint Charles, Illinois 60175-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norals, Ieisha                                                      Contingent
          172 Gladstone Drive                                                 Unliquidated
          Apt #201
                                                                              Disputed
          Glendale Heights, Illinois 60139-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.553
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norbert E. Mitchell                                                 Contingent
          7 Federal Road                                                      Unliquidated
          Danbury, CT 06810
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norberto, Marcella                                                  Contingent
          2475 W. Pecos Rd #1022                                              Unliquidated
          Chandler, Arizona 85224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nordblom, Cortney                                                   Contingent
          2557 Harn Blvd Unit 2                                               Unliquidated
          Clearwater, Florida 33764-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nordhoff, Jessica                                                   Contingent
          22417 Voss Hiatt                                                    Unliquidated
          Cicero, Indiana 46034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 792 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 816 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.553
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Noreikaite, Gabriele                                                Contingent
          33 W 57th St                                                        Unliquidated
          Westmont, Illinois 60559-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norez, Daniel                                                       Contingent
          9584 Bembridge Mill Dr                                              Unliquidated
          Jacksonville, Florida 32244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norkol Converting Corp.                                             Contingent
          11650 W. Grand Ave                                                  Unliquidated
          Northlake, IL 60164
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norman, Shanita                                                     Contingent
          700 Flint Drive                                                     Unliquidated
          Apt 4A
                                                                              Disputed
          Newport News, Virginia 23602-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.553
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norman, Starla                                                      Contingent
          7302 chambers rd                                                    Unliquidated
          Godfrey, Illinois 62035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norman, Tiffany                                                     Contingent
          1704 Hosmer Lane                                                    Unliquidated
          Crest Hill, Illinois 60403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norridge SD 80                                                      Contingent
          4251 N Oriole                                                       Unliquidated
          Norridge, IL 60706
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 793 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 817 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.554
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norris Winton, Jane                                                 Contingent
          7854 S Coolidge Way                                                 Unliquidated
          Aurora, Colorado 80016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North 40 Outfitters                                                 Contingent
          5109 Alaska Trail                                                   Unliquidated
          Great Falls, MT 59405
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Adams Schools                                                 Contingent
          1000 North Adams Drive                                              Unliquidated
          Decatur, IN 46733
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North American Breweries                                            Contingent
          445 St. Paul Street                                                 Unliquidated
          Rochester, NY 14605
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North American Electric Reliability Corp                            Contingent
          3353 Peachtree Road NE Suite 6                                      Unliquidated
          Atlanta, GA 30326
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Carolina Department of Revenue                                Contingent
          PO Box 1168                                                         Unliquidated
          Raleigh, NC 27602
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Central Co-Op                                                 Contingent
          2025 South Wabash Street                                            Unliquidated
          PO BOX 299
                                                                              Disputed
          Wabash, IN 46992
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 794 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 818 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.554
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Central Local School District                                 Contingent
          400 Baubice Street                                                  Unliquidated
          Pioneer, OH 43554
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Coast Electric Company                                        Contingent
          2450 8TH AVE SOUTH #200                                             Unliquidated
          Seattle, WA 98134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Dakota Office of the State Tax Com                            Contingent
          600 E. Boulevard Ave.                                               Unliquidated
          Dept. 127
                                                                              Disputed
          Bismarck, ND 58505-0599
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.555
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $8.00
          North Mississippi Medical Clinics, Inc.                             Contingent
          450 E. President Street                                             Unliquidated
          Tupelo, MS 38801
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Palos SD 117                                                  Contingent
          7825 West 103rd Street                                              Unliquidated
          Palos Hills, IL 60465
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NORTH SHORE SCHOOL DISTRICT 112                                     Contingent
          1936 Green Bay Rd.                                                  Unliquidated
          Highland Park, IL 60035
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Slope Borough                                                 Contingent
          P.O. Box 69                                                         Unliquidated
          Barrow, AK 99723
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 795 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 819 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.555
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Texas Food Bank                                               Contingent
          1010 S Pearl Expy                                                   Unliquidated
          Dallas, TX 75201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Texas Health Care Laundry Cooperat                            Contingent
          1080 Post and Paddock Lane                                          Unliquidated
          Grand Prairie, TX 75050
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North Tonawanda School District                                     Contingent
          176 Walck Road                                                      Unliquidated
          North Tonawanda, NY 14120
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          North, Michelle                                                     Contingent
          861 Glensdel Drive                                                  Unliquidated
          Dayton, Ohio 45417-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northbrook SD 28                                                    Contingent
          1475 Maple Avenue                                                   Unliquidated
          Northbrook, IL 60062
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northbrook/Glenview SD 30                                           Contingent
          2374 Shermer Road                                                   Unliquidated
          Northbrook, IL 60062
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northeast Foods                                                     Contingent
          7111 Commercial Avenue                                              Unliquidated
          Baltimore, MD 21237
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 796 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 820 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.556
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northeastern Local Schools                                          Contingent
          05921 Domersville Road                                              Unliquidated
          Defiance, OH 43512
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northern Buckeye Education Council (NBEC                            Contingent
          209 Nolan Parkway                                                   Unliquidated
          Archbold, OH 43502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NORTHERN INDIANA COMMUTER                                           Contingent
          TRANSPORTATION                                                      Unliquidated
          503 North Carroll Avenue
                                                                              Disputed
          Michigan City, IN 46360
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.556
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northern Partners                                                   Contingent
          1000 6th Avenue                                                     Unliquidated
          Mendota, IL 61342
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northern Suburban Special Education Dist                            Contingent
          760 Red Oak Ln.                                                     Unliquidated
          Highland Park, IL 60035
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northern Wells Community Schools                                    Contingent
          312 N. Jefferson St                                                 Unliquidated
          Ossian, IN 46777
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northup, Courtney                                                   Contingent
          10300 Arrow Route, APT 1408                                         Unliquidated
          Rancho Cucamonga, California 91730-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 797 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 821 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.557
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northwest Montana Schools' Health Consor                            Contingent
          255 Adams Street                                                    Unliquidated
          Lakeside, MT 59922
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northwest Ohio Educational Service Cente                            Contingent
          205 Nolan Parkway                                                   Unliquidated
          Archbold, OH 43502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.00
          Northwest Ohio Orthopedics and Sports Me                            Contingent
          7595 County Rd 236                                                  Unliquidated
          Findlay, OH 45840
                                                                              Disputed
          Date(s) debt was incurred 5/27/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Northwestern REC                                                    Contingent
          22534 State Highway 26                                              Unliquidated
          Cambridge Springs, PA 16403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norton, Karla                                                       Contingent
          3143 Evergreen Ave                                                  Unliquidated
          Salt Lake City, Utah 84109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norton, Kelly                                                       Contingent
          6751 Wimbledon Drive                                                Unliquidated
          Zionsville, Indiana 46077-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Norton, Nancy                                                       Contingent
          1185 Harland Road S.W.                                              Unliquidated
          Palm Bay, Florida 32908-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 798 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 822 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.557
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nortz, Morgan                                                       Contingent
          21090 West Wagar Circle                                             Unliquidated
          Rocky River, Ohio 44116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nova Group                                                          Contingent
          185 Devlin Road                                                     Unliquidated
          Napa, CA 94558
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,040.00
          Nova- Broker Fee                                                    Contingent
          P.O Box 2066                                                        Unliquidated
          Buffalo, NY 14221
                                                                              Disputed
          Date(s) debt was incurred      4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Novak, Beth                                                         Contingent
          604 Linden Drive                                                    Unliquidated
          St Joseph, Illinois 61873-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Novak, Jeffrey                                                      Contingent
          1861 Glenmoor Drive                                                 Unliquidated
          West Dundee, Illinois 60118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Novello, Nancy                                                      Contingent
          208 33rd Street                                                     Unliquidated
          Lindenhurst, New York 11757-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $30.00
          Now Health                                                          Contingent
          625 S. Cobb St                                                      Unliquidated
          Suite 201
                                                                              Disputed
          Palmer, AK 99645
          Date(s) debt was incurred      3/31/2020                           Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 799 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 823 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.558
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Now It Matters                                                      Contingent
          323 Lindley Place                                                   Unliquidated
          Bozeman, MT 59715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nowak, Kristin                                                      Contingent
          3100 Huron St. Unit 4o                                              Unliquidated
          Denver, Colorado 80202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Noxon, Matt                                                         Contingent
          5541 S. Everett Ave, Apt 909                                        Unliquidated
          Chicago, Illinois 60637-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nsahlai Einsten, John Kernyuy                                       Contingent
          6604 182ND ST SW                                                    Unliquidated
          Lynnwood, Washington 98037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NSSEO                                                               Contingent
          799 West Kensington                                                 Unliquidated
          Mount Prospect, IL 60056
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NTA Precision Axle                                                  Contingent
          795 Kimberly Dr.                                                    Unliquidated
          Carol Stream, IL 60188
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NTK Precision Axle Corporation                                      Contingent
          741 S. County Rd. 200 West                                          Unliquidated
          Frankfort, IN 46041
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 800 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 824 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.559
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NTN Bearing                                                         Contingent
          1600 E. Bishop Court                                                Unliquidated
          Mt. Prospect, IL 60056
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NTN Driveshaft Anderson, Inc.                                       Contingent
          7625 S. Layton Rd                                                   Unliquidated
          Anderson, IN 46011
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NTN-BOWER CORPORATION                                               Contingent
          711 N. Bower Rd.                                                    Unliquidated
          Macomb, IL 61455
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nucor Tubular Products                                              Contingent
          6226 W. 74th Street                                                 Unliquidated
          Chicago, IL 60638
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nuestro, Dana Patrizza                                              Contingent
          620 Willow Wood Drive                                               Unliquidated
          apt. 206
                                                                              Disputed
          Carol Stream, Illinois 60188-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.559
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nunez, Brenda                                                       Contingent
          3939 Tanglewood Lane Apt 248                                        Unliquidated
          Odessa, Texas 79762-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nunley, Sharla                                                      Contingent
          302 N. Xenia Ave                                                    Unliquidated
          Lubbock, Texas 79416-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 801 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 825 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.559
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nunnally, Sarah                                                     Contingent
          7612 S Laflin                                                       Unliquidated
          Chicago, Illinois 60620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nunnery, Shannon                                                    Contingent
          7036 Attleborough Ct                                                Unliquidated
          San Diego, California 92139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nutrien                                                             Contingent
          1101 Skokie Blvd.                                                   Unliquidated
          Suite 400
                                                                              Disputed
          Northbrook, IL 60062
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.560
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nuvance Health                                                      Contingent
          34 Maple St.                                                        Unliquidated
          Norwalk, CT 06856
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nwaogu, Bridget                                                     Contingent
          3800 County Road 94                                                 Unliquidated
          Manvel, Texas 77587-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nweke, Chioma                                                       Contingent
          6419 5th Ave                                                        Unliquidated
          Takoma Park, District of Columbia 20019-
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nwosu, Chinonyelum                                                  Contingent
          3511 Blackberry Bush Rd, APT 1                                      Unliquidated
          Memphis, Tennessee 38115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 802 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 826 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.560
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NYE Automotive Group                                                Contingent
          1479 Genesee St                                                     Unliquidated
          Oneida, NY 13421
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nye, Catherine                                                      Contingent
          P.O. Box 4046                                                       Unliquidated
          Evergreen, Colorado 80437-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nye, Elaine                                                         Contingent
          4615 Bollenbacher Avenue                                            Unliquidated
          Sacramento, California 95838-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nzeako, Love                                                        Contingent
          9912 Linden Hill Road                                               Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Brien, Gabriel                                                    Contingent
          P.O. Box 315                                                        Unliquidated
          Winter Harbor, Maine 04693-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Brien, Joseph                                                     Contingent
          20 Graystone Ln                                                     Unliquidated
          North Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Brien, Joseph                                                     Contingent
          3740 W Addison Street                                               Unliquidated
          Chicago, Illinois 60618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 803 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 827 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.561
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Brien, Preston                                                    Contingent
          2211 Richcreek Road                                                 Unliquidated
          #202
                                                                              Disputed
          Austin, Texas 78757-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.561
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Brien, Robert                                                     Contingent
          119 Burbank Road                                                    Unliquidated
          Longmeadow, Massachusetts 01106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Brien, Staci                                                      Contingent
          200 Manzana Ct NW Apt. 1D                                           Unliquidated
          Walker, Michigan 49534-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Brien, Vincent                                                    Contingent
          11707 Caplinger Rd                                                  Unliquidated
          Silver Spring, Maryland 20904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Connell, Claire                                                   Contingent
          64 Hazelwood Drive                                                  Unliquidated
          Norwood, Massachusetts 02062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Connell, Ellen                                                    Contingent
          9 Virgil Pond Way                                                   Unliquidated
          Wrentham, Massachusetts 02093-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Connell, Laura                                                    Contingent
          16205 James Thomas Ct.                                              Unliquidated
          Edmond, Oklahoma 73013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 804 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 828 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.561
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Connor, Gladys                                                    Contingent
          4457 Avondale Circle                                                Unliquidated
          Fairfield, California 94533-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Donnell, Eloise                                                   Contingent
          419 Twenty-Eighth St                                                Unliquidated
          Hermosa Beach, California 90254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Donoghue, Kerry                                                   Contingent
          4884 SE Longleaf Place                                              Unliquidated
          Hobe Sound, Florida 33455-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Gara-Schultz, Deborah                                             Contingent
          7945 East Drive                                                     Unliquidated
          Unit 302
                                                                              Disputed
          Miami Beach, Florida 33141-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.562
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,637.50
          O'Hagan Meyer LLC                                                   Contingent
          1 East Wacker Drive                                                 Unliquidated
          Suite 3400
                                                                              Disputed
          Chicago, IL 60601
          Date(s) debt was incurred      5/28/2020                           Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.562
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Kuesa, Kingsley                                                   Contingent
          307 49th Avenue                                                     Unliquidated
          P.O. Box 777
                                                                              Disputed
          Bellwood, Illinois 60104-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.562
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Malley, Brenna                                                    Contingent
          4534 Olive Street                                                   Unliquidated
          Apt. 202
                                                                              Disputed
          St. Louis, Missouri 63108-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 805 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 829 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.562
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Malley, Emily                                                     Contingent
          712 Tomlin Station Road                                             Unliquidated
          Mullica Hill, New Jersey 08062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Neill, Katelyn                                                    Contingent
          2 Hixon Drive                                                       Unliquidated
          Burlington, New Jersey 08016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Neill, Mary                                                       Contingent
          233 Stepstone Hill Rd.                                              Unliquidated
          Guilford, Connecticut 06437-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Neill, Shannon                                                    Contingent
          4620 West 89th Street                                               Unliquidated
          Hometown, Illinois 60456-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Reilly, Jules                                                     Contingent
          76 Raleigh Rd                                                       Unliquidated
          Asheville, North Carolina 28803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Shaughnessy, Christina                                            Contingent
          40 Center Street                                                    Unliquidated
          Patchogue, New York 11772-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Shea, Anastasia                                                   Contingent
          13429 Broken Branch Ct                                              Unliquidated
          Chantilly, Virginia 20151-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 806 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 830 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.563
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O'Shea, Kevin                                                       Contingent
          1142 E Patten Dr                                                    Unliquidated
          Palatine, Illinois 60074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          O.W. Hubbell & Sons Inc.                                            Contingent
          5124 Commercial Drive East                                          Unliquidated
          Yorkville, NY 13495
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oak Hill United School Corporation                                  Contingent
          Administrative Office                                               Unliquidated
          1474 N. 800 W. - 27
                                                                              Disputed
          Converse, IN 46919
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.563
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oak Lawn-Hometown SD 123                                            Contingent
          4201 W. 93rd St                                                     Unliquidated
          Oak Lawn, IL 60453
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oak Park Country Club                                               Contingent
          2001 Thatcher Ave.                                                  Unliquidated
          River Grove, IL 60171
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oak Park SD 97                                                      Contingent
          260 Madison St.                                                     Unliquidated
          Oak Park, IL 60302
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oak, Danica                                                         Contingent
          10940 Ward Road                                                     Unliquidated
          Dunkirk, Maryland 20754-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 807 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 831 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.564
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oakdale Electric Cooperative                                        Contingent
          489 N. Oakwood St.                                                  Unliquidated
          Tomah, WI 54660
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OAKDELL EGG FARMS                                                   Contingent
          675 N Main                                                          Unliquidated
          North Salt Lake, UT 84320
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oakley, Kaitlin                                                     Contingent
          9530 Sky Lane                                                       Unliquidated
          Eden Prairie, Minnesota 55347-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Obradovitz, Cara                                                    Contingent
          82 S. Allen Ave.                                                    Unliquidated
          Pasadena, California 91106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Obradovitz, Mary                                                    Contingent
          380 S. State St.                                                    Unliquidated
          Hampshire, Illinois 60140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OBrien, Jesse                                                       Contingent
          13 canyon rd                                                        Unliquidated
          Levittown, Pennsylvania 19057-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Observint Technologies                                              Contingent
          11000 N. MoPac Expwy                                                Unliquidated
          Austin, TX 78759
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 808 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 832 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.564
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ocampo, Nicole                                                      Contingent
          1135 Highland Drive                                                 Unliquidated
          Novato, California 94949-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ochabski, Britnee                                                   Contingent
          1438 Quesada Ave                                                    Unliquidated
          San Francisco, California 94124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ochoa, Graciela                                                     Contingent
          12700 Elliott Ave Spc 437                                           Unliquidated
          El Monte, California 91732-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Octadyne Systems                                                    Contingent
          310 Main Street Suite 201                                           Unliquidated
          Ames, IA 50010
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oddo, Lisa                                                          Contingent
          195 Kensington Court                                                Unliquidated
          Copiague, New York 11726-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Odhiambo, Charles                                                   Contingent
          9050 Iron Horse Land, Apt 305                                       Unliquidated
          Pikesville, Maryland 21208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ODM Tool & Manufacturing Company                                    Contingent
          9550 Joliet Rd,                                                     Unliquidated
          McCook, IL 60525
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 809 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 833 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.565
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Odom, Natasha                                                       Contingent
          616 Center City                                                     Unliquidated
          Longview, Texas 75602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Odum, Elizabeth                                                     Contingent
          321 Casena Street                                                   Unliquidated
          Myrtle Beach, South Carolina 29579-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Odunze, Uchechukwu                                                  Contingent
          1104 Hidden creek dr                                                Unliquidated
          Mansfield, Texas 76063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ogamba, Ogadimma                                                    Contingent
          3301 Pinkerton Drive                                                Unliquidated
          San Jose, California 95148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ogbon, Evarista                                                     Contingent
          106 Bryant Rd                                                       Unliquidated
          Lynchburg, Virginia 24502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ogbonna, Eberechukwu                                                Contingent
          230 Mount Vernon Place #12L                                         Unliquidated
          Newark, New Jersey 07106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OGCI, Inc. dba Petroskills, LLC                                     Contingent
          410 W. Grand Parkway, Suite 40                                      Unliquidated
          Katy, TX 77494
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 810 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 834 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.566
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ogega, Ruth                                                         Contingent
          67 1/2 West 33rd Street                                             Unliquidated
          Bayonne, New Jersey 07002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ogg, Josephine                                                      Contingent
          8825 W 45th Pl                                                      Unliquidated
          Wheat Ridge, Colorado 80033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oglesby, Shonta                                                     Contingent
          519 W. Brigantine Ave                                               Unliquidated
          Apt 3
                                                                              Disputed
          Brigantine, New Jersey 08203-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.566
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ogunleye, A.                                                        Contingent
          10729 Jaggery St.                                                   Unliquidated
          Fontana, California 92337-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ogunyemi, Tolulope                                                  Contingent
          9085 Thamesmeade Road                                               Unliquidated
          Laurel, Maryland 20723-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ohiagu, Princess                                                    Contingent
          7920 San Felipe Blvd #1302                                          Unliquidated
          Austin, Texas 78729-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ohio Masonic Home                                                   Contingent
          2655 West National Rd                                               Unliquidated
          Springfield, OH 45504
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 811 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 835 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.566
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          Ohio Masonic Home Foundation                                        Contingent
          2655 West National Road                                             Unliquidated
          Springfield, OH 45504
                                                                              Disputed
          Date(s) debt was incurred 1/14/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ojha, Suman                                                         Contingent
          23335 Robin Song Drive                                              Unliquidated
          Clarksburg, Maryland 20871-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ojora-Adejiyan, Caralynn                                            Contingent
          8506 S Saginaw                                                      Unliquidated
          Chicago, Illinois 60617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Okech, Lacretia                                                     Contingent
          7340 Skillman St #702                                               Unliquidated
          Dallas, Texas 75251-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Okeke-Eweni, Kanayo                                                 Contingent
          1900 Perdido Ave C91                                                Unliquidated
          New Orleans, Louisiana 70112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Okey, Chandler                                                      Contingent
          4272 SE St. Rd. 116                                                 Unliquidated
          Bluffton, Indiana 46714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 812 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 836 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.567
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oklahoma Tax Commission
          General Counsel's Office                                            Contingent
          100 N. Broadway Ave.                                                Unliquidated
          Suite 1500                                                          Disputed
          Oklahoma City, OK 73102
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.567
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Okland Construction                                                 Contingent
          1978 South West Temple                                              Unliquidated
          Salt Lake City, UT 84115
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Okoi, Cynthia                                                       Contingent
          1881 Furness St Apt 107                                             Unliquidated
          Maplewood, Minnesota 55109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olasunkanmi, Temitayo                                               Contingent
          6730 La Puente Dr                                                   Unliquidated
          Houston, Texas 77083-1127
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olayiwola, Hannah                                                   Contingent
          9189 Upland Lane N                                                  Unliquidated
          Maple Grove, Minnesota 55369-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Old Line Bank                                                       Contingent
          1525 Pointer Ridge Place                                            Unliquidated
          Bowie, MD 20716
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 813 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 837 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.568
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Old Second National Bank                                            Contingent
          37 S. River St.                                                     Unliquidated
          Aurora, IL 60506
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oliva, Dinora                                                       Contingent
          1210 Sheridan Ave Apt 1E                                            Unliquidated
          Bronx, New York 10456-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olivarez, Michael                                                   Contingent
          1831 60th St. Apt 3F                                                Unliquidated
          Brooklyn, New York 11204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olivas, Christina                                                   Contingent
          825 Calle Maija, APT 502                                            Unliquidated
          Santa Fe, New Mexico 87501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oliveira, Stacy                                                     Contingent
          18 Haylee Court                                                     Unliquidated
          Seekonk, Massachusetts 02771-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oliver, Christopher                                                 Contingent
          8445 Quarter Horse Drive                                            Unliquidated
          Riverview, Florida 33578-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oliver, Latasha                                                     Contingent
          3047 Glendale Ct                                                    Unliquidated
          Decatur, Georgia 30032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 814 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 838 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.568
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oliver, Tamara                                                      Contingent
          6321 S. Table Rock Circle                                           Unliquidated
          Taylorsville, Utah 84129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olomon, Becky                                                       Contingent
          7345 Desierto Oro Court                                             Unliquidated
          El Paso, Texas 79912-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olson, Bernadine                                                    Contingent
          408 NW 139th Street                                                 Unliquidated
          Edmond, Oklahoma 73013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olson, Charles                                                      Contingent
          4123 Beard Ave S.                                                   Unliquidated
          Minneapolis, Minnesota 55410-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olson, Kelsey                                                       Contingent
          816 N. Taylor Ave                                                   Unliquidated
          Oak Park, Illinois 60302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olson, Keri                                                         Contingent
          9620 85th St S                                                      Unliquidated
          Cottage Grove, Minnesota 55016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olson, Linda                                                        Contingent
          2600-B South Xanadu Way                                             Unliquidated
          Aurora, Colorado 80014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 815 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 839 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.569
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Olson, Tina                                                         Contingent
          1564 Dogwood Drive                                                  Unliquidated
          Cyrstal Lake, Illinois 60041-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oltman, Carter                                                      Contingent
          1911 E 31st St                                                      Unliquidated
          Davenport, Iowa 52807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oluro, Olukayode                                                    Contingent
          6042 Selwood Place                                                  Unliquidated
          Springfield, Virginia 22152-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OLV Human Services (Baker Victory Servic                            Contingent
          790 Ridge Rd                                                        Unliquidated
          Lackawanna, NY 14218
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OLYMPIA FIELDS COUNTRY CLUB                                         Contingent
          2800 Country Club Drive                                             Unliquidated
          Olympia Fields, IL 60461
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Omohundro, Karen                                                    Contingent
          9830 Sherwood Farm Rd                                               Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Omokaiye, Akintoye                                                  Contingent
          9 Hereford Drive                                                    Unliquidated
          Crete, Illinois 62025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 816 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 840 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.570
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Omondi, Angela                                                      Contingent
          13139 West Granada Road                                             Unliquidated
          Goodyear, Arizona 85395-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          On Site Managment, Inc                                              Contingent
          417 W Mendenhall St                                                 Unliquidated
          Bozeman, MT 59715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Onalaja, Rita                                                       Contingent
          17140 Everett Ave                                                   Unliquidated
          South Holland, Illinois 60473-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oncology Consultants                                                Contingent
          902 Frostwood Suite 315                                             Unliquidated
          Houston, TX 77024
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          One Source Building Technologies, Inc.                              Contingent
          11750 Glay Road                                                     Unliquidated
          Houston, TX 77041
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,325.00
          OneDigital Health and Benefits                                      Contingent
          101 W Anapamu Street                                                Unliquidated
          Santa Barbara, CA 93101
                                                                              Disputed
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oneida Nation Enterprises                                           Contingent
          5218 Patrick Road                                                   Unliquidated
          Verona, NY 13478
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 817 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 841 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.570
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OneLogin                                                            Contingent
          100 California Street 9th Floo                                      Unliquidated
          San Francisco, CA 94111
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oniovos, Ojanomare                                                  Contingent
          3212 Remington Trace                                                Unliquidated
          Apt. 106
                                                                              Disputed
          Memphis, Tennessee 38119-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.571
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Onix Group                                                          Contingent
          150 Onix Drive                                                      Unliquidated
          Kennett Square, PA 19348
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Onsite Safety/BAS Walls                                             Contingent
          2460 W State Rd 426 # 1002                                          Unliquidated
          Oviedo, FL 32765
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ontario County                                                      Contingent
          3019 County Complex Dr                                              Unliquidated
          Canandaigua, NY 14424
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oracle School District #2                                           Contingent
          725 N. Carpenter                                                    Unliquidated
          Oracle, AZ 85623
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orazi, Mary                                                         Contingent
          447 Parkside Ave                                                    Unliquidated
          Buffalo, New York 14216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 818 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 842 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.571
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orcino, Christina                                                   Contingent
          15312 Lions Den Road                                                Unliquidated
          Burtonsville, Maryland 20866-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oregon Department of Taxation                                       Contingent
          955 Center St NE                                                    Unliquidated
          Salem, OR 97301-2555
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oregon Health & Science University                                  Contingent
          3181 SW Sam Jackson Pk Rd                                           Unliquidated
          Portland, OR 97239-3011
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orenstein, Diana                                                    Contingent
          1137 Beacon St                                                      Unliquidated
          Newton, Massachusetts 02461-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orfanos, Jiori                                                      Contingent
          2728 North Hampden Court                                            Unliquidated
          Apt 1806
                                                                              Disputed
          Chicago, Illinois 60614-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.572
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orion Real Estate Service, Inc.                                     Contingent
          2051 Greenhouse Rd., Suite 300                                      Unliquidated
          Houston, TX 77084
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oriyomi, Adjoa                                                      Contingent
          3114 Needleleaf Ln                                                  Unliquidated
          Springdale, Maryland 20774-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 819 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 843 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.572
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orlov, Anna                                                         Contingent
          2501 Graiffs Way                                                    Unliquidated
          Vineland, New Jersey 08361-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ornelas, Florencio                                                  Contingent
          1706 Larkspur Ave                                                   Unliquidated
          Mcallen, Texas 78501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orosz, Alexandria                                                   Contingent
          56 Howard Ave                                                       Unliquidated
          Austintown, Ohio 44515-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orosz, Patricia                                                     Contingent
          6633 Harms Way                                                      Unliquidated
          Sacramento, California 95823-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orozco, Juli                                                        Contingent
          2300 S 13th Ave                                                     Unliquidated
          Broadview, Illinois 60155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $540.00
          Orr Protection Systems                                              Contingent
          1523 Reliable Parkway                                               Unliquidated
          Chicago, IL 60686
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orrick, Herrington & Sutcliffe LLP                                  Contingent
          405 Howard Street                                                   Unliquidated
          San Francisco, CA 94105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 820 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 844 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.572
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ortega, Wendy                                                       Contingent
          7430 Nw 2nd Terrace                                                 Unliquidated
          Miami, Florida 33126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OrthoConnecticut (Formerly Danbury Ortho                            Contingent
          226 White Street                                                    Unliquidated
          Danbury, CT 06810
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orthomerica Products, Inc.                                          Contingent
          6333 N Orange Blossom Trail                                         Unliquidated
          Orlando, FL 32810
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ortiz Pizarro, Jessica                                              Contingent
          439 E. Clearfield Street                                            Unliquidated
          Philadelphia, Pennsylvania 19134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ortiz, Camille                                                      Contingent
          5551 S Washtenaw                                                    Unliquidated
          Chicago, Illinois 60629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ortiz, Cassandra                                                    Contingent
          33 River Ranch Road                                                 Unliquidated
          Garden Valley, Idaho 83622-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ortiz, Jennifer                                                     Contingent
          6181 Washinton Blvd.                                                Unliquidated
          Livingston, California 95334-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 821 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 845 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.573
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ortiz, Miriam                                                       Contingent
          252 McCook Court                                                    Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Orwat, Paula                                                        Contingent
          5651 Scherff Rd                                                     Unliquidated
          Orchard Park, New York 14127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osayamwen, Oghosa                                                   Contingent
          930 Berkshire Drive                                                 Unliquidated
          Macedonia, Ohio 44056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osbeck, Angela                                                      Contingent
          2211 151st Ave NW                                                   Unliquidated
          Andover, Minnesota 55304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osborn School District #8                                           Contingent
          1226 West Osborne Road                                              Unliquidated
          Phoenix, AZ 85013
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osborn, Tonya                                                       Contingent
          2134 W Orangewood Ave House #1                                      Unliquidated
          Phoenix, Arizona 85021-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osborne, Francine                                                   Contingent
          5819 woodrock ct.                                                   Unliquidated
          Charlotte, North Carolina 28214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 822 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 846 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.574
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osborne, Michelle                                                   Contingent
          14103 Dorsey Rd                                                     Unliquidated
          Maumelle, Arkansas 72113-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osei, Mary                                                          Contingent
          1413 Charlestown Drive                                              Unliquidated
          Edgewood, Maryland 21040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OSG USA, INC.                                                       Contingent
          676 East Fullerton Avenue                                           Unliquidated
          Glendale Heights, IL 60139
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osika, Kelly                                                        Contingent
          740 Smallwood Drive                                                 Unliquidated
          Apt 52
                                                                              Disputed
          Raleigh, North Carolina 27605-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.574
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Osipovitch, Allison                                                 Contingent
          1567 Lake Rd                                                        Unliquidated
          Hamlin, New York 14464-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oster, Natalie                                                      Contingent
          1975 Sterling Place                                                 Unliquidated
          Lancaster, Pennsylvania 17601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ostrander, Danielle                                                 Contingent
          1848 W Benton Street                                                Unliquidated
          Iowa City, Iowa 52246-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 823 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 847 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.575
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ostronic, Carol                                                     Contingent
          18480 Chicago Court #209                                            Unliquidated
          Omaha, Nebraska 68022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ostrowski, Justin                                                   Contingent
          2145 NW Highland Dr                                                 Unliquidated
          Apt 1
                                                                              Disputed
          Corvallis, Oregon 97330-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.575
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.00
          Oswego Hospital                                                     Contingent
          110 West Sixth Street                                               Unliquidated
          Oswego, NY 13126
                                                                              Disputed
          Date(s) debt was incurred 4/9/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oswell, Alexander                                                   Contingent
          1319 Cougar Run                                                     Unliquidated
          San Antonio, Texas 78258-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ota, Monica                                                         Contingent
          263 Billingsgate Lane                                               Unliquidated
          Foster City, California 94404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Otaluka, Onyinye                                                    Contingent
          15164 N. 140th Drive #3195                                          Unliquidated
          Surprise, Arizona 85379-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Other World Computing                                               Contingent
          8 Galaxy Way                                                        Unliquidated
          Woodstock, IL 60098
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 824 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 848 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.575
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,500.00
          Otherwise Incorporated                                              Contingent
          900 N Western Ave, 1st Floor                                        Unliquidated
          Chicago, IL 60622
                                                                              Disputed
          Date(s) debt was incurred 5/8/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          OToole, Teena                                                       Contingent
          3910 Parkview Dr.                                                   Unliquidated
          Rapid City, South Dakota 57701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Otte, Alexandra                                                     Contingent
          3701 Erie Ave, Unit B                                               Unliquidated
          Cincinnati, Ohio 45208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Otter Products, LLC                                                 Contingent
          15110 Avenue of Science                                             Unliquidated
          San Diego, CA 92128
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Otto, Breanna                                                       Contingent
          8717 S 81st Ave                                                     Unliquidated
          Hickory Hills, Illinois 60457-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Otun, Zainab                                                        Contingent
          1367 West Greenleaf Avenue Apt                                      Unliquidated
          Chicago, Illinois 60626-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ouellette, Elizabeth                                                Contingent
          208 Dino Road                                                       Unliquidated
          Bristol, Connecticut 06010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 825 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 849 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.576
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Our Lady Of The Lake University                                     Contingent
          411 Sw 24Th St                                                      Unliquidated
          San Antonio, TX 78207
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Outen, Lafayette                                                    Contingent
          7136 Silverleaf Oak Road                                            Unliquidated
          Elkridge, Maryland 21075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Overman, Amanda                                                     Contingent
          1911 Mckinley dr                                                    Unliquidated
          Northfield, Minnesota 55057-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Overshoun-Hall, Jordan                                              Contingent
          25662 Paul Ct.                                                      Unliquidated
          Hayward, California 94541-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Overton Chicago Gear                                                Contingent
          530 Westgate Drive                                                  Unliquidated
          Addison, IL 60101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Owen, Angela                                                        Contingent
          3182 Cherry Hill Church Rd                                          Unliquidated
          South Boston, Virginia 24592-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Owens, Holly                                                        Contingent
          900 Hardimont Road                                                  Unliquidated
          Raleigh, North Carolina 27609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 826 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 850 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.577
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Owens, Naomi                                                        Contingent
          14269 Desert Ash Dr                                                 Unliquidated
          Horizon, Texas 79928-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oxenfeld, Jeanne                                                    Contingent
          483 Carlton Ct. SW                                                  Unliquidated
          Ocean Isle Beach, North Carolina 28469-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oyebode, Oyekemi                                                    Contingent
          13204 Falling Water Ct                                              Unliquidated
          Bowie, Maryland 20720-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Oz Architecture, Inc.                                               Contingent
          3003 Larimer Street                                                 Unliquidated
          Denver, CO 80205
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ozment, Amber                                                       Contingent
          515 133rd Street East                                               Unliquidated
          Bradenton, Florida 34212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ozment, Tammy                                                       Contingent
          718 128th St. NE                                                    Unliquidated
          Bradenton, Florida 34212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pacak, Taylor                                                       Contingent
          6432 Dorset Lane                                                    Unliquidated
          Solon, Ohio 44139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 827 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 851 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.577
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pace, Susan                                                         Contingent
          8355 Yvonne Way                                                     Unliquidated
          Fair Oaks, California 95628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pacheco, Anthony                                                    Contingent
          604 El Pueblo Road                                                  Unliquidated
          Albuquerque, New Mexico 87114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pachl, Emily                                                        Contingent
          118 9th Avenue North                                                Unliquidated
          South Saint Paul, Minnesota 55075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pacific Northern, Inc.                                              Contingent
          3116 Belmeade Dr.                                                   Unliquidated
          Carrollton, TX 75006
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Packer, Martrice                                                    Contingent
          813 Live Oak Circle                                                 Unliquidated
          Fairfield, Alabama 35064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pacon                                                               Contingent
          2525 N. Casaloma Drive                                              Unliquidated
          Appleton, WI 54913-8865
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Padilla, Carlos                                                     Contingent
          7134 Wilbur Ave                                                     Unliquidated
          Reseda, California 91335-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 828 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 852 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.578
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Padilla, Jonathan                                                   Contingent
          225 Steeplechase CT                                                 Unliquidated
          Schaumburg, Illinois 60173-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Padilla, Jose                                                       Contingent
          104 Eunice Dr                                                       Unliquidated
          Greenville, South Carolina 29617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Padilla, Melissa                                                    Contingent
          1822 High St, Se                                                    Unliquidated
          Albuquerque, New Mexico 87102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Padilla, Nicholas                                                   Contingent
          47 wellington st                                                    Unliquidated
          hempstead, New York 11550-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pagan, Michael                                                      Contingent
          645 Claymont Ct.                                                    Unliquidated
          Algonquin, Illinois 60102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.579
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Page Unified School District                                        Contingent
          P O Box 1927                                                        Unliquidated
          Page, AZ 86040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.579
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Page, Krystal                                                       Contingent
          7001 Tremont Lane                                                   Unliquidated
          Rowlett, Texas 75089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 829 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 853 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.579
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Page, Terrence                                                      Contingent
          17 Valley Lake Place, Apt I                                         Unliquidated
          Cockeysville, Maryland 21030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.579
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pagenkopf, Elizabeth                                                Contingent
          1152 W Wood St                                                      Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.579
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paguyo, Lindsay                                                     Contingent
          59 Norwood Ave                                                      Unliquidated
          Fl. 2
                                                                              Disputed
          Albany, New York 12208-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.579
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paige, Marva                                                        Contingent
          867 Avatar Drive                                                    Unliquidated
          Virginia Beach, Virginia 23454-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.579
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paikoush, Andriy                                                    Contingent
          6N909 Roosevelt Ave                                                 Unliquidated
          Saint Charles, Illinois 60174-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.579
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paintsil, Ruby                                                      Contingent
          19059 Preston Rd                                                    Unliquidated
          Ste. 136
                                                                              Disputed
          Dallas, Texas 75252-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.579
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paisner, Joyce                                                      Contingent
          940 Granville Ct, N                                                 Unliquidated
          St. Petersburg, Florida 33701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 830 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 854 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.579
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palazzolo, Caterina                                                 Contingent
          1178 Whitmoor Drive                                                 Unliquidated
          Weldon Spring, Missouri 63304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palecek, Brenna                                                     Contingent
          5170 E Cheryl Parkway                                               Unliquidated
          APT 306
                                                                              Disputed
          Fitchburg, Wisconsin 53711-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.580
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palestino, Jennifer                                                 Contingent
          2270 East Del Mar Blvd                                              Unliquidated
          Pasadena, California 91107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palik, Lori                                                         Contingent
          909 N. 9th St.                                                      Unliquidated
          David City, Nebraska 68632-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palladino, Joseph                                                   Contingent
          325 Valley View Road                                                Unliquidated
          Thomaston, Connecticut 06787-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palmarini, Nina                                                     Contingent
          253 4th Street East                                                 Unliquidated
          Apt 307
                                                                              Disputed
          Saint Paul, Minnesota 55101-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.580
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palmer, Bianca                                                      Contingent
          16951 Greenwood Ave.                                                Unliquidated
          South Holland, Illinois 60473-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 831 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 855 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.580
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palmer, Brittany                                                    Contingent
          1123 Henkle Dr                                                      Unliquidated
          Pawnee, Illinois 62558-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palmer, Cheryl                                                      Contingent
          66 Elmwood Ave.                                                     Unliquidated
          Bridgeport, Connecticut 06605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palmer, Gingah                                                      Contingent
          4590 S Fairplay St                                                  Unliquidated
          Aurora, Colorado 80015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palmer, Meghan                                                      Contingent
          128 A Hoffman Dr                                                    Unliquidated
          Bozeman, Montana 59715-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palmer, Patty                                                       Contingent
          7410 Brixworth Court #104                                           Unliquidated
          Windsor Mill, Maryland 21244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palo Verde Elementary School District                               Contingent
          10700 S. Palo Verde Rd                                              Unliquidated
          Palo Verde, AZ 85343
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palominas Elementary School District                                Contingent
          10391 E Highway 92                                                  Unliquidated
          Hereford, AZ 85615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 832 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 856 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.581
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palos Heights 128                                                   Contingent
          12809 South McVickers Avenue                                        Unliquidated
          Palos Heights, IL 60463
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Palos SD 118                                                        Contingent
          8800 West 119th Street                                              Unliquidated
          Palos, IL 60464
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pampanini, Gina                                                     Contingent
          29938 Truman Ave                                                    Unliquidated
          Wickliffe, Ohio 44092-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Panes, Karoline                                                     Contingent
          400 Dutch Neck Rd Apt B7                                            Unliquidated
          East Windsor, New Jersey 08520-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Panolam Industries International, Inc                               Contingent
          20 Progress Dr                                                      Unliquidated
          Shelton, CT 06484
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Panzloff, Hannah                                                    Contingent
          935 N Countryside Dr                                                Unliquidated
          Apt 201
                                                                              Disputed
          Palatine, Illinois 60067-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.581
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paolicelli, Ashley                                                  Contingent
          1654 Skiffes Creek Circle                                           Unliquidated
          Williamsburg, Virginia 23185-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 833 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 857 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.582
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Papantonakis, Michael                                               Contingent
          850 Cardinal Lane                                                   Unliquidated
          Lewisberry, Pennsylvania 17339-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Papantonakis, Stella                                                Contingent
          321 Landola Ave                                                     Unliquidated
          Mount Wolf, Pennsylvania 17347-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pape, Charity                                                       Contingent
          212 Eureka Ave                                                      Unliquidated
          Silverton, Oregon 97381-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Papier, Joseph                                                      Contingent
          900 Port Clinton Ct                                                 Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paradise Valley Unified School District                             Contingent
          15002 N. 32nd Street                                                Unliquidated
          Phoenix, AZ 85032
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parent, Jane                                                        Contingent
          5329 S. Morning Sky Lane                                            Unliquidated
          Tucson, Arizona 85747-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parer, Pam                                                          Contingent
          745 Plymouth rd                                                     Unliquidated
          Hoffman Estates, Illinois 60192-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 834 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 858 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.582
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parham, Pamela                                                      Contingent
          1 N. Tremont Road                                                   Unliquidated
          Baltimore, Maryland 21229-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parham, Roshonda                                                    Contingent
          950 North Sloan Lane                                                Unliquidated
          Apt. B103
                                                                              Disputed
          Las Vegas, Nevada 89110-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.582
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paris, Erica                                                        Contingent
          808 Clear Blossom Drive                                             Unliquidated
          Elkton, Maryland 21921-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paris, Kim                                                          Contingent
          66 Barron Ave                                                       Unliquidated
          Salem, New Hampshire 03079-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parish, Taisha                                                      Contingent
          9151 Victory Avenue                                                 Unliquidated
          Jennings, Missouri 63136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Park County                                                         Contingent
          414 E. Callender St.                                                Unliquidated
          Livingston, MT 59047
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Park, Gyuri                                                         Contingent
          51 Saint Roberts Drive                                              Unliquidated
          Stafford, Virginia 22556-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 835 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 859 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.583
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Park, Jenny                                                         Contingent
          7511 Silverado Lane                                                 Unliquidated
          La Palma, California 90623-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker Unified School District                                      Contingent
          1608 Laguna Ave                                                     Unliquidated
          Parker, AZ 85344
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Audrey                                                      Contingent
          29105 David lane                                                    Unliquidated
          junction city, Oregon 97448-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Gwen                                                        Contingent
          3509 Hoyt St                                                        Unliquidated
          Gautier, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Kristi                                                      Contingent
          P.O. Box 755                                                        Unliquidated
          Naples, Maine 04055-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Lisa                                                        Contingent
          5201 Par Dr., #1022                                                 Unliquidated
          Denton, Texas 76208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Nathan                                                      Contingent
          4616 Meadow Valley Drive                                            Unliquidated
          West Des Moines, Iowa 50265-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 836 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 860 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.584
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Patrick                                                     Contingent
          21811 Wildwood Road Park                                            Unliquidated
          Apt 522
                                                                              Disputed
          Richmond, Texas 77469-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.584
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Shari                                                       Contingent
          1817 Hearthside Court                                               Unliquidated
          Chesapeake, Virginia 23325-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Taylor                                                      Contingent
          1807 Calibre Woods Drive NE                                         Unliquidated
          Atlanta, Georgia 30329-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Tiffone                                                     Contingent
          2097 South Colt Drive                                               Unliquidated
          Gibert, Arizona 85295-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parker, Traci                                                       Contingent
          1045 Campbell Meadow Road                                           Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parkes, Danielle                                                    Contingent
          225 W 3rd St                                                        Unliquidated
          204
                                                                              Disputed
          Long Beach, California 90802-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.584
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parkin, Christina                                                   Contingent
          7962 Oakhaven Place                                                 Unliquidated
          Indianapolis, Indiana 46256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 837 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 861 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.584
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parks, Christopher                                                  Contingent
          1419 Brandy Circle                                                  Unliquidated
          Naperville, Illinois 60540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parks, Jennifer                                                     Contingent
          6342 Maple Springs Road                                             Unliquidated
          Seagrove, North Carolina 27341-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parks, Melissa                                                      Contingent
          5840 SW 115 Ave                                                     Unliquidated
          Cooper City, Florida 33330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parmiter, Dustin                                                    Contingent
          1718 e Lincoln rd 1129                                              Unliquidated
          Spokane, Washington 99217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parra, Olga                                                         Contingent
          542 Fisher Drive                                                    Unliquidated
          Allen, Texas 75002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parry, Sharolyn                                                     Contingent
          4765 Old Church Road                                                Unliquidated
          Brookfield, Wisconsin 53045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parsons, Jay                                                        Contingent
          2024 26th St Se                                                     Unliquidated
          Rochester, Minnesota 55904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 838 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 862 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.585
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Partin, Alice                                                       Contingent
          2231 Sandwood Dr #102                                               Unliquidated
          Lake Havasu City, Arizona 86404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Partners and Napier                                                 Contingent
          192 Mill St Ste 600                                                 Unliquidated
          Rochester, NY 14614-1022
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Parton, Jaime                                                       Contingent
          4037 Log Trail Way                                                  Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pasco County - Clerk & Comptroller                                  Contingent
          7530 Little Rd.                                                     Unliquidated
          Ste. 106
                                                                              Disputed
          New Port Richey, FL 34654
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.585
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pastrana, Christopher                                               Contingent
          2740 Colonies Drive                                                 Unliquidated
          Jacksonville, Florida 32250-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pasupuleti, Laavanya                                                Contingent
          34 Banquet Court                                                    Unliquidated
          Howell, New Jersey 07731-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pat A Peters MD PA                                                  Contingent
          2535 Ira E Woods Ave                                                Unliquidated
          Grapevine, TX 76051
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 839 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 863 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.586
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patagonia Elementary School District #6                             Contingent
          200 West Naugle                                                     Unliquidated
          Highway 82
                                                                              Disputed
          Patagonia, AZ 85624
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.586
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patagonia Union High School District #20                            Contingent
          200 W. Naugle (Highway 82)                                          Unliquidated
          Patagonia, AZ 85624
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Abhishek                                                     Contingent
          1510 N Western Ave.                                                 Unliquidated
          Unit 1N
                                                                              Disputed
          Chicago, Illinois 60622-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.586
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Alpa                                                         Contingent
          1302 Broad Creek Rd                                                 Unliquidated
          Bloomington, Illinois 61704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Bansari                                                      Contingent
          9102 Jennrich Avenue                                                Unliquidated
          Westminster, California 92683-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Bijal                                                        Contingent
          48 Brickyard Road                                                   Unliquidated
          Chapmanville, West Virginia 25508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Binita                                                       Contingent
          5847 Oak Ridge Way                                                  Unliquidated
          Lisle, Illinois 60532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 840 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 864 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.586
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Hemali                                                       Contingent
          23587 Gloria Drive                                                  Unliquidated
          Brownstown, Michigan 48183-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Jigar                                                        Contingent
          17514 Denali PL                                                     Unliquidated
          Dumfries, Virginia 22025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Khushboo                                                     Contingent
          1792 Penny Lane                                                     Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Mohini                                                       Contingent
          2100 Tanglewilde St                                                 Unliquidated
          Apt 31
                                                                              Disputed
          Houston, Texas 77063-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.587
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Monica                                                       Contingent
          218 Prescott Ave                                                    Unliquidated
          Elgin, Illinois 60124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Monik                                                        Contingent
          9370 Twin Oaks Lane                                                 Unliquidated
          Des Plaines, Illinois 60016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Rinku                                                        Contingent
          1461 Ballantrae Club Dr                                             Unliquidated
          Pelham, Alabama 35124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 841 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 865 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.587
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Roshni                                                       Contingent
          3201 W 157th Pl                                                     Unliquidated
          Overland Park, Kansas 66224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Sachi                                                        Contingent
          2068 Norwich Dr                                                     Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Sapana                                                       Contingent
          14117 N. Rockwell Apt 10111                                         Unliquidated
          Oklahoma City, Oklahoma 73142-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Sneh                                                         Contingent
          168 Horizon Circle                                                  Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patel, Tulasi                                                       Contingent
          309 Country Lane                                                    Unliquidated
          Richmond Heights, Ohio 44143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PATH                                                                Contingent
          2201 Westlake Ave, Suite 200                                        Unliquidated
          Seattle, WA 98121
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pathfinder Village                                                  Contingent
          3 Chenango Rd                                                       Unliquidated
          Edmeston, NY 13335
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 842 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 866 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.588
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patibanda, Madhava                                                  Contingent
          2719 Pickering Road                                                 Unliquidated
          Wilmington, Delaware 19808-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patience, Nicole                                                    Contingent
          55 Tomahawk Road                                                    Unliquidated
          Arlington, Massachusetts 02474-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patnesky, Alexandra                                                 Contingent
          8508 Bluebill Court                                                 Unliquidated
          Raleigh, North Carolina 27615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patrick Henry Local Schools                                         Contingent
          6-900 State Route 18                                                Unliquidated
          Hamler, OH 43524
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patrick, Michelle                                                   Contingent
          30 Teil Tree Ct                                                     Unliquidated
          Monroe, Ohio 45050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patten Seed Company                                                 Contingent
          158 Sod Farm Road                                                   Unliquidated
          Fort Valley, GA 31030
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patten, James                                                       Contingent
          1636 Toronto Road Apt.4                                             Unliquidated
          Springfield, Illinois 62712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 843 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 867 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.589
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patten, Karl                                                        Contingent
          14792 S Rising Star Way                                             Unliquidated
          Bluffdale, Utah 84065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pattern Energy Group, Inc.                                          Contingent
          Pier 1, Bay 3                                                       Unliquidated
          San Francisco, CA 94111
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patterson, Krystine                                                 Contingent
          144 Hanover St.                                                     Unliquidated
          Wilkes Barre, Pennsylvania 18702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patton, Emmy                                                        Contingent
          905 SE 94th Avenue                                                  Unliquidated
          Vancouver, Washington 98664-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paul Mueller Company                                                Contingent
          1600 W. Phelps                                                      Unliquidated
          Springfield, MO 65802
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paul, Channing                                                      Contingent
          7095 Brace Street                                                   Unliquidated
          Houston, Texas 77061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paul, Lamos                                                         Contingent
          25 Market Street                                                    Unliquidated
          Apt. 1
                                                                              Disputed
          Cambridge, Massachusetts 02139-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 844 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 868 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.589
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paul, Weiss, Rifkind, Wharton & Garrison                            Contingent
          1285 Avenue of the Americas                                         Unliquidated
          New York, NY 10019
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paula De Adames, Olga                                               Contingent
          910 Elwell Ave                                                      Unliquidated
          Greensboro, North Carolina 27405-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paulo Products Company                                              Contingent
          5620 West Park Ave.                                                 Unliquidated
          St. Louis, MO 63110
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Paulo Soares, Mariana                                               Contingent
          5907 Marble Bend Ln                                                 Unliquidated
          Richmond, Texas 77407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pavalkyte, Dalia                                                    Contingent
          3600 N Lake Shore Dr                                                Unliquidated
          Unit 1817
                                                                              Disputed
          Chicago, Illinois 60613-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.590
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pavlofsky, Samantha                                                 Contingent
          1120 N. Lasalle                                                     Unliquidated
          18N
                                                                              Disputed
          Chicago, Illinois 60610-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.590
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pavlovic, Lazarela                                                  Contingent
          455 Raintree Court                                                  Unliquidated
          Glen Ellyn, Illinois 60137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 845 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 869 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.590
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pavon, Joshua                                                       Contingent
          835 Ashley Laine Walk                                               Unliquidated
          Lawrenceville, Georgia 30043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pawate, Anne                                                        Contingent
          423 Village Hall Place                                              Unliquidated
          Nashville, Tennessee 37215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pawelczyk, Andrei                                                   Contingent
          446 Lear Ct                                                         Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pawlowski, Amy                                                      Contingent
          1725 Evergreen Lane                                                 Unliquidated
          Park Ridge, Illinois 60068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $389.40
          PayFlex Systems USA, Inc                                            Contingent
          P.O. Box 2239                                                       Unliquidated
          Omaha, NE 68103-2239
                                                                              Disputed
          Date(s) debt was incurred 5/12/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Payne, Barbara                                                      Contingent
          1421 15th Street                                                    Unliquidated
          #111
                                                                              Disputed
          Sacramento, California 95814-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.591
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Payne, Dana                                                         Contingent
          9374 Haynesville Highway                                            Unliquidated
          Junction City, Arkansas 71749-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 846 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 870 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.591
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Payne, Sasha                                                        Contingent
          15735 Wyanotte St                                                   Unliquidated
          Building A
                                                                              Disputed
          Van Nuys, California 91405-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.591
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Payne, Stacey                                                       Contingent
          3719 Crescent Drive                                                 Unliquidated
          Steger, Illinois 60475-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Payson Unified School District #10                                  Contingent
          500 E Rancho Road                                                   Unliquidated
          Payson, AZ 85547
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PAYTES, CHANTRA                                                     Contingent
          3716 WEST 85TH PLACE                                                Unliquidated
          CHICAGO, Illinois 60652-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Payton, Cynthia                                                     Contingent
          809 South Bostian Street                                            Unliquidated
          China Grove, North Carolina 28023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Payton, Theresa                                                     Contingent
          10008 Irving Street                                                 Unliquidated
          Westminster, Colorado 80031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PCA Chicago Container (formerly Acorn Co                            Contingent
          5445 W 73rd Street                                                  Unliquidated
          Chicago, IL 60638
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 847 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 871 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.591
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PCL CONSTRUCTION ENTERPRISES INC                                    Contingent
          2000 S Colorado Blvd Suite 2-500                                    Unliquidated
          Denver, CO 80222
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PDi Communication Systems, Inc.                                     Contingent
          40 Greenwood Lane                                                   Unliquidated
          Springboro, OH 45066
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PDM Precast Inc.                                                    Contingent
          601 SW 9th Street                                                   Unliquidated
          Des Moines, IA 50309
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peace, Katie                                                        Contingent
          4030 Tates Creek Rd, Apt 2941                                       Unliquidated
          Lexington, Kentucky 40517-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peake, Pamela                                                       Contingent
          122 Gideon Road                                                     Unliquidated
          Clinton, South Carolina 29325-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peaksware                                                           Contingent
          7007 Winchester Circle Ste 200                                      Unliquidated
          Boulder, CO 80301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pearlman, Matthew                                                   Contingent
          11114 Oak Leaf Dr                                                   Unliquidated
          Silver Spring, Maryland 20901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 848 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 872 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.592
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pearson, Michelle                                                   Contingent
          5892 Hickory Ridge Drive                                            Unliquidated
          Wyoming, Michigan 49418-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pebly, Kaitlyn                                                      Contingent
          8570 Sw Miller Hill Rd                                              Unliquidated
          Beaverton, Oregon 97007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pechmann, Latina                                                    Contingent
          1499 S Federal Hwy Penthouse 5                                      Unliquidated
          Boynton Beach, Florida 33435-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peck, Jessica                                                       Contingent
          5453 Ardon Ct.                                                      Unliquidated
          West Bloomfield Township, Michigan 48323
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peck, Kimberly                                                      Contingent
          2019 Wildberry Ct.                                                  Unliquidated
          Waukesha, Alabama 53186-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pedersen, Catherine                                                 Contingent
          1626 21st Avenue                                                    Unliquidated
          Longview, Washington 98632-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pedersen, Martha                                                    Contingent
          4903 Oak Tree Court                                                 Unliquidated
          Brighton, Michigan 48116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 849 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 873 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.593
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PEDIATRIC EMERGENCY MEDICINE                                        Contingent
          ASSOCIATES                                                          Unliquidated
          1001 Johnson Ferry Rd
                                                                              Disputed
          Atlanta, GA 30342
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.593
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peeples, Ashley                                                     Contingent
          10065 Dasheen Avenue                                                Unliquidated
          Palm Beach Gardens, Florida 33410-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PEER Bearing Company                                                Contingent
          2200 Norman Drive                                                   Unliquidated
          Waukegan, IL 60085
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peirce College                                                      Contingent
          1420 Pine St                                                        Unliquidated
          Philadelphia, PA 19401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peisker, Steven                                                     Contingent
          428 Franklin Lane                                                   Unliquidated
          Elk Grove Village, Illinois 60007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pelitera, Courtney                                                  Contingent
          7172 Pendale Circle                                                 Unliquidated
          North Tonawanda, New York 14120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pellegrino, Genevieve                                               Contingent
          4940 N Odell Avenue                                                 Unliquidated
          Harwood Heights, Illinois 60706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 850 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 874 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.593
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pellegrino, Louis                                                   Contingent
          4940 N Odell                                                        Unliquidated
          Harwood Heights, Illinois 60706-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peltier, Jake                                                       Contingent
          8921 Hermitage Place                                                Unliquidated
          River Ridge, Louisiana 70123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peltier, Justin                                                     Contingent
          99 Church Hill Road                                                 Unliquidated
          Waterford, New York 12188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pena, Adriana                                                       Contingent
          1824 River Crossing Circle                                          Unliquidated
          Apt D
                                                                              Disputed
          Austin, Texas 78741-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.594
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pena, Frank                                                         Contingent
          392 Canfield Ave                                                    Unliquidated
          Pomona, California 91767-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pena, Kathleen                                                      Contingent
          2399 West 4250 south                                                Unliquidated
          roy, Utah 84067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pena, Marla                                                         Contingent
          508 Granny White Pike                                               Unliquidated
          Brentwood, Tennessee 37027-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 851 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 875 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.594
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pender, Latonya                                                     Contingent
          932 Albert Ave                                                      Unliquidated
          Norfolk, Virginia 23513-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Penn Mathis, Elline                                                 Contingent
          872 Hillcrest Dr                                                    Unliquidated
          Pomona, California 91768-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pennie, Cypress                                                     Contingent
          310 S. 10th St.                                                     Unliquidated
          Apt. A
                                                                              Disputed
          Philadelphia, Pennsylvania 19107-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.594
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pennsylvania Department of Revenue                                  Contingent
          Bankruptcy Division                                                 Unliquidated
          PO Box 280946
                                                                              Disputed
          Harrisburg, PA 17128-0946
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.595
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $167.67
          Peoples Gas                                                         Contingent
          P.O. Box 2968                                                       Unliquidated
          Milwaukee, WI 53201
                                                                              Disputed
          Date(s) debt was incurred      5/12/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PeoplesBank - A Codorus Valley Company                              Contingent
          105 Leader Heights Road                                             Unliquidated
          York, PA 17403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peoria Unified School District                                      Contingent
          6330 West Thunderbird Road                                          Unliquidated
          Glendale, AZ 85381
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 852 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 876 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.595
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pepe, Melanie                                                       Contingent
          6242 Strongbow Dr.                                                  Unliquidated
          Moseley, Virginia 23120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pepin, Ursula                                                       Contingent
          3709 N Richmond                                                     Unliquidated
          Chicago, Illinois 60618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perada, Anjelica                                                    Contingent
          2623 Texas Elm Court                                                Unliquidated
          Fresno, Texas 77545-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pereira, Francisco                                                  Contingent
          6210 W CORNELIA AVE                                                 Unliquidated
          CHICAGO, Illinois 60634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pereira, Michael                                                    Contingent
          6210 W Cornelia Ave                                                 Unliquidated
          Chicago, Illinois 60634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez Reyes, Oriana                                                 Contingent
          15335 Park Row #1510                                                Unliquidated
          Houston, Texas 77084-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez, Bianca                                                       Contingent
          10427 Kendall St                                                    Unliquidated
          El Paso, Texas 79924-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 853 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 877 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.596
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez, Brenda                                                       Contingent
          1446 W. Grand Ave.                                                  Unliquidated
          Unit B
                                                                              Disputed
          Pomona, California 91766-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.596
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez, Daniel                                                       Contingent
          1802 Bent Oak Court                                                 Unliquidated
          Apopka, Florida 32712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez, Euminda                                                      Contingent
          3620 Huffines Blvd                                                  Unliquidated
          Apt. 1234
                                                                              Disputed
          Carrollton, Texas 75010-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.596
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez, Jesulyn                                                      Contingent
          3638 east ave                                                       Unliquidated
          Berwyn, Illinois 60402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez, Mayra                                                        Contingent
          880 S. Liberty St                                                   Unliquidated
          Elgin, Illinois 60120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez, Ryan                                                         Contingent
          11660 Huebner Road #412                                             Unliquidated
          San Antonio, Texas 78230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perez, Sandra                                                       Contingent
          1116 S. Alder Street                                                Unliquidated
          Philadelphia, Pennsylvania 19147-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 854 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 878 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.596
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Performance Team                                                    Contingent
          11024 Norwalk Blvd.                                                 Unliquidated
          Santa Fe Springs, CA 90670
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perfumania Holdings, Inc.                                           Contingent
          35 Sawgrass Dr. Suite 2                                             Unliquidated
          Bellport, NY 11713
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perkins, Elizabeth                                                  Contingent
          P.O. Box 364                                                        Unliquidated
          Richmond, Vermont 05477-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perkins, LaMeshia                                                   Contingent
          1602 E. Frankford Road #1405                                        Unliquidated
          Carrollton, Texas 75007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perkins, Lindsey                                                    Contingent
          328 Colonial Dr                                                     Unliquidated
          Portsmouth, New Hampshire 03801-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perkins, Margaret                                                   Contingent
          300 W. Hargett St, Apt 409                                          Unliquidated
          Raleigh, North Carolina 27601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perrotte, Caitlin                                                   Contingent
          5201 Overlook LN                                                    Unliquidated
          Canadaigua, New York 14424-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 855 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 879 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.597
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $192.00
          Perry Memorial Hospital                                             Contingent
          530 Park Ave E                                                      Unliquidated
          Princeton, IL 61356-3901
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perry, Alesheia                                                     Contingent
          2261 Northpark Dr PMB-360                                           Unliquidated
          Houston, Texas 77339-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perry, Gail                                                         Contingent
          4340 W. 190th Place                                                 Unliquidated
          Country Club Hills, Illinois 60478-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perry, Lisia                                                        Contingent
          1344 Clear Creek Cir                                                Unliquidated
          Kingsport, Tennessee 37660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Perryman, Jamee                                                     Contingent
          20549 Russell Conner Rd                                             Unliquidated
          Gravette, Arkansas 72736-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Persaud, Annette                                                    Contingent
          132-03 120th Ave.                                                   Unliquidated
          Queens, New York 11420-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Personett, Karen                                                    Contingent
          16114 Silverwood Drive                                              Unliquidated
          Fenton, Michigan 48430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 856 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 880 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.598
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Persse, Debra                                                       Contingent
          1807 SE 15TH TERR                                                   Unliquidated
          Cape Coral, Florida 33990-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pesola, Lauren                                                      Contingent
          3242 Pennsbury Court                                                Unliquidated
          Aurora, Illinois 60502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peter Becker Community                                              Contingent
          800 Maple Ave                                                       Unliquidated
          Harleysville, PA 19438
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peter, Shayna                                                       Contingent
          7750 S. Wolcott                                                     Unliquidated
          Chicago, Illinois 60620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peterhoff, Erika                                                    Contingent
          8748 Mesquite Row                                                   Unliquidated
          Lone Tree, Colorado 80124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peters, Heather                                                     Contingent
          P.O. Box 640                                                        Unliquidated
          Glen Daniel, West Virginia 25844-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peters, Jacquelyn                                                   Contingent
          3779 Meadowbrook Ave                                                Unliquidated
          Pittsburg, California 94565-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 857 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 881 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.598
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peters, Jennifer                                                    Contingent
          PO Box 82                                                           Unliquidated
          401 W Wood
                                                                              Disputed
          Camp Point, Illinois 62320-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.598
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peters, Joshua                                                      Contingent
          8762 Pacheco Avenue                                                 Unliquidated
          Westminster, California 92683-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peters, La Jeana                                                    Contingent
          1229 west 97th place                                                Unliquidated
          Chicago, Illinois 60643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peters, Rebecca                                                     Contingent
          129 Medbury                                                         Unliquidated
          Holland, Ohio 43528-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peters, Tabatha                                                     Contingent
          6817 Oakfield Dr Apt 102                                            Unliquidated
          Toledo, Ohio 43615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peterson, Donald                                                    Contingent
          8300 Phillips Rd SW #158                                            Unliquidated
          lakewood, Washington 98498-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peterson, Elizabeth                                                 Contingent
          4836 Springbrook Dr                                                 Unliquidated
          Annandale, Virginia 22003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 858 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 882 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.599
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peterson, Teresa                                                    Contingent
          3910 Sw Comus St                                                    Unliquidated
          Portland, Oregon 97219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Petitfils, Kellie                                                   Contingent
          1578 Hwy 318                                                        Unliquidated
          Jeanerette, Louisiana 70544-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Petitt, Steve                                                       Contingent
          1909 3rd St N                                                       Unliquidated
          Jacksonville Beach, Florida 32233-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Petrella, Luciano                                                   Contingent
          48 Gillett Road                                                     Unliquidated
          Spencerport, New York 14559-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Petric, Jan                                                         Contingent
          701 Cedarplaza lane, apt 204                                        Unliquidated
          Dallas, Texas 75209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Petroleum County                                                    Contingent
          302 East Main                                                       Unliquidated
          Winnett, MT 59087
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Petromaneantu, Ligia                                                Contingent
          10124 S 52nd Ave                                                    Unliquidated
          Oak Lawn, Illinois 60453-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 859 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 883 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.600
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pettaway, Gregory                                                   Contingent
          1523 Palisade Green                                                 Unliquidated
          Katy, Texas 77493-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pettis, Karen                                                       Contingent
          5936 Central Avenue                                                 Unliquidated
          Gwyn Oak, Maryland 21207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pettisville Local Schools                                           Contingent
          232 Summitt St                                                      Unliquidated
          Pettisville, OH 43556
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pettitt, Joseph                                                     Contingent
          3613 North Holmes Street                                            Unliquidated
          North Kansas, Missouri 64116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pettitt, Marie                                                      Contingent
          355 Adam Street                                                     Unliquidated
          Tonawanda, New York 14150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pettway, Ashley                                                     Contingent
          11 Marks Manor Court                                                Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pettway, Terrell                                                    Contingent
          11 marks manor ct                                                   Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 860 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 884 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.600
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pettway, Vincent                                                    Contingent
          11 Marks Manor CT                                                   Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Petty, Kimberly                                                     Contingent
          409 S Maple Ave                                                     Unliquidated
          Unit 11
                                                                              Disputed
          Oak Park, Illinois 60302-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.601
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pfeiferling, Leigh                                                  Contingent
          1781 Laurel Street                                                  Unliquidated
          Hamilton, Illinois 62341-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pfeiffer, Diana                                                     Contingent
          751 W Bode Cir                                                      Unliquidated
          Apt 109
                                                                              Disputed
          Hoffman Estates, Illinois 60169-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.601
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PFS Group                                                           Contingent
          2600 North Loop West, Suite 15                                      Unliquidated
          Houston, TX 77092
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pham, Tom                                                           Contingent
          4371 Pocahontas Trail                                               Unliquidated
          Quinton, Virginia 23141-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phan, Roger                                                         Contingent
          11862 Rio Hondo PKWY                                                Unliquidated
          El Monte, California 91732-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 861 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 885 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.601
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phaup, Miranda                                                      Contingent
          735 Prescott Circle                                                 Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phelps County Bank                                                  Contingent
          718 N Pine St.                                                      Unliquidated
          Rolla, MO 65401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phelps, Cammy                                                       Contingent
          272 S Pineview Dr                                                   Unliquidated
          Alpine, Utah 84004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phelps, Jessica                                                     Contingent
          1616 Hardy Cash Dr #316                                             Unliquidated
          Hampton, Virginia 23666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phelps, Stacy                                                       Contingent
          689 S Whitehorse Ave                                                Unliquidated
          Kuna, Idaho 83634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Philadelphia Eagles                                                 Contingent
          One Nova Care Way                                                   Unliquidated
          Philadelphia, PA 19145
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Philadelphia Gas Works                                              Contingent
          800 W. Montgomery Ave.                                              Unliquidated
          Philadelphia, PA 19122
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 862 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 886 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.602
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillipi, Annetta                                                   Contingent
          2818 Main                                                           Unliquidated
          Quincy, Illinois 62301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips & Temro Industries                                         Contingent
          9700 W. 74th Street                                                 Unliquidated
          Eden Prairie, MN 55344
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PHILLIPS MANUFACTURING                                              Contingent
          2201 Trine Street                                                   Unliquidated
          Middletown, OH 45044
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Alexander                                                 Contingent
          5946 S, Mlk Drive Apt 2                                             Unliquidated
          Chicago, Illinois 60637-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Alicia                                                    Contingent
          722 N. Monroe                                                       Unliquidated
          Little Rock, Arkansas 72205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Barbara                                                   Contingent
          2015 41st Street Northwest b10                                      Unliquidated
          Rochester, Minnesota 55901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Christopher                                               Contingent
          2801 Unity Pointe                                                   Unliquidated
          Sacramento, California 95833-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 863 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 887 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.603
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Daniel                                                    Contingent
          532 w 26th st                                                       Unliquidated
          30
                                                                              Disputed
          Chicago, Illinois 60616-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.603
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Julie                                                     Contingent
          593 North State Road                                                Unliquidated
          Medina, Ohio 44256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Lisa                                                      Contingent
          468 Bradwood Ave                                                    Unliquidated
          Memphis, Tennessee 38109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Maria                                                     Contingent
          20014 Frederick Rd #33                                              Unliquidated
          Germantown, Maryland 20876-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillips, Twanita                                                   Contingent
          509 Antietam Street                                                 Unliquidated
          Park Forest, Illinois 60466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Philpott, Kevin                                                     Contingent
          P.O. Box 1376                                                       Unliquidated
          Silver Springs, Florida 33489-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phipps, Carmen                                                      Contingent
          5810 Acacia Court                                                   Unliquidated
          Harlingen, Texas 78552-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 864 of 1226
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 888 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.603
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phoebe-Devitt Homes                                                 Contingent
          1925 Turner Street                                                  Unliquidated
          Allentown, PA 18104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phoenix Textile Corporation                                         Contingent
          21 Commerce Drive                                                   Unliquidated
          O'Fallon, MO 63366
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Physicians Independent Management Servic                            Contingent
          5755 Hoover Blvd                                                    Unliquidated
          Tampa, FL 33634
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piascik, Lori                                                       Contingent
          1642 1/2 W. Greenleaf Ave                                           Unliquidated
          Apt 3n
                                                                              Disputed
          Chicago, Illinois 60626-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.604
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Picicci, Tanya                                                      Contingent
          8814 N Rosebury ln                                                  Unliquidated
          Spokane, Washington 99208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pieper, Donald                                                      Contingent
          6430 Habitat Ct.                                                    Unliquidated
          Gurnee, Illinois 60031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pierce, Karolyn                                                     Contingent
          19 Losson Garden Drive                                              Unliquidated
          Apt. 4
                                                                              Disputed
          Cheektowaga, New York 14227-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 865 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 889 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.604
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pierce, Kyron                                                       Contingent
          3732 Arnold Ave.                                                    Unliquidated
          Apt B
                                                                              Disputed
          San Diego, California 92104-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.604
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pierce, Lori                                                        Contingent
          15803 Stonebridge Drive                                             Unliquidated
          Frisco, Texas 75035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pierce, Stephanie                                                   Contingent
          7801 East 99th Terrace                                              Unliquidated
          Kansas City, Missouri 64134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pierce, Yolanda                                                     Contingent
          7908 Four Oaks Ct                                                   Unliquidated
          Union City, Georgia 30291-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pietsch, Katelyn                                                    Contingent
          44 Oakwood Drive                                                    Unliquidated
          Millville, Pennsylvania 17846-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pignatti, Nicholas                                                  Contingent
          115 Gordon Rd                                                       Unliquidated
          North Syracuse, New York 13212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piguing, Kevinjoeffre                                               Contingent
          27 Northgate Ave                                                    Unliquidated
          #4
                                                                              Disputed
          Daly City, California 94015-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 866 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 890 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.605
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pike, Dorie                                                         Contingent
          One Bloomingdale Place                                              Unliquidated
          #506
                                                                              Disputed
          Bloomingdale, Illinois 60108-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.605
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pikes Peak Library District                                         Contingent
          1175 Chapel Hill                                                    Unliquidated
          Colorado Springs, CO 80920
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pilar Moreno, Angela                                                Contingent
          2040 Matthew Place                                                  Unliquidated
          Escondido, California 92027-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pilley, Amy                                                         Contingent
          1177 Gunsight Peak Drive                                            Unliquidated
          Las Cruces, New Mexico 88012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pillsbury Winthrop Shaw Pittman LLP                                 Contingent
          Four Embarcadero Center                                             Unliquidated
          San Francisco, CA 94111
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pimonenko, Violina                                                  Contingent
          2030 179th st ct e                                                  Unliquidated
          spanaway, Washington 98387-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pina, Amanda                                                        Contingent
          1515 Devin Dr                                                       Unliquidated
          New Braunfels, Texas 78130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 867 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 891 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.605
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pinder, Nicola                                                      Contingent
          17050 NW 55th Ave #1                                                Unliquidated
          Miami, Florida 33055-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pine Instrument Company                                             Contingent
          101 Industrial Drive                                                Unliquidated
          Grove City, PA 16127
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pineda, Jahzielle                                                   Contingent
          367 N. 10th Street                                                  Unliquidated
          San Jose, California 95112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pineda, Kelly                                                       Contingent
          1095 S Macon St                                                     Unliquidated
          Aurora, Colorado 80012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pinkston, Christopher                                               Contingent
          4200 Sugar Maple Ln                                                 Unliquidated
          Little Rock, Arkansas 72223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pinnacle III, LLC                                                   Contingent
          1658 Cole Blvd, Suite 100                                           Unliquidated
          Lakewood, CO 80401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pinyan, Laura                                                       Contingent
          4447 Thomasville Rd                                                 Unliquidated
          Winston-Salem, North Carolina 27107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 868 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 892 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.606
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pioneer Center for Human Services                                   Contingent
          4100 Veterans Parkway                                               Unliquidated
          McHenry, il 60050
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piontek, Aaron                                                      Contingent
          2230 Little Creek Lane                                              Unliquidated
          Green Bay, Wisconsin 54311-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pipe Trades Trust of the Northern Rocky                             Contingent
          501 Park Drive S                                                    Unliquidated
          Great Falls, MT 59405
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piper Sandler & Co.                                                 Contingent
          800 Nicollet Mall, Suite 1000                                       Unliquidated
          Minneapolis, MN 55402-7020
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piper, Kathryn                                                      Contingent
          6200 Timberwolfe Dr                                                 Unliquidated
          Glen Carbon, Illinois 62034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piper, Megan                                                        Contingent
          15143 Hillcrest Ln                                                  Unliquidated
          Shelby Township, Michigan 48315-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pipkins, Shavon                                                     Contingent
          608 E Oakwood Blvd                                                  Unliquidated
          Chicago, Illinois 60653-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 869 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 893 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.607
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piris, Nelly                                                        Contingent
          421 West Preston Street                                             Unliquidated
          Hartford, Connecticut 06114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pirri, Julie                                                        Contingent
          1 Rogers Ave                                                        Unliquidated
          Bristol, Rhode Island 02809-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pittmon, Donetta                                                    Contingent
          3912 Kings Row                                                      Unliquidated
          Oklahoma City, Oklahoma 73121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pitts, Allen                                                        Contingent
          15 Lord Rd                                                          Unliquidated
          Ellington, Connecticut 24502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pitts, Dawn                                                         Contingent
          327 Beach 42nd St.                                                  Unliquidated
          Far Rockaway, New York 11691-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piverger, Naissa                                                    Contingent
          PO Box 12- Town Center Branch                                       Unliquidated
          West Orange, New Jersey 07052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Piwowar, Alexis                                                     Contingent
          93 Bunting Lane                                                     Unliquidated
          Naperville, Illinois 60540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 870 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 894 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.607
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pizer, Tara                                                         Contingent
          1022 East King Street                                               Unliquidated
          Winona, Minnesota 55987-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pizza, John                                                         Contingent
          6812 Bob O Link Drive                                               Unliquidated
          Dallas, Texas 75214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pizzillo, Clemencia                                                 Contingent
          3315 Jones Rd                                                       Unliquidated
          Dunkirk, Maryland 20754-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Placek, Alexandra                                                   Contingent
          222 S Riverside Dr.                                                 Unliquidated
          Villa Park, Illinois 60181-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Placek-Olson, Ashley                                                Contingent
          3645 Valcartier St #9                                               Unliquidated
          Bismarck, North Dakota 58503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Placino, Rodel                                                      Contingent
          343 Hewlett Parkway                                                 Unliquidated
          Hewlett, New York 11557-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Plainfield Community Consolidated SD 202                            Contingent
          15732 S Howard St                                                   Unliquidated
          Plainfield, IL 60544
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 871 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 895 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.608
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Plasman, Megan                                                      Contingent
          514 Avery Street                                                    Unliquidated
          Pittsburgh, Pennsylvania 15212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PLATINUM HOME MORTGAGE                                              Contingent
          2200 Hicks Rd. Suite 101                                            Unliquidated
          Rolling Meadows, IL 60008
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Platt, Josh                                                         Contingent
          11040 Sw 119th Ave                                                  Unliquidated
          Tigard, Oregon 97223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Platt, Mary                                                         Contingent
          2885 Wonder Valley Court                                            Unliquidated
          Decatur, Georgia 30034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Player, Stephanie                                                   Contingent
          456 Bow Creek Lane                                                  Unliquidated
          Fort Collins, Colorado 80525-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pleasantdale SD 107                                                 Contingent
          7450 S. Wolf Road                                                   Unliquidated
          Burr Ridge, IL 60527
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Plews & Edelmann                                                    Contingent
          1550 Franklin Grove                                                 Unliquidated
          Dixon, IL 61021
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 872 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 896 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.609
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Plexus Corp                                                         Contingent
          One Plexus Way                                                      Unliquidated
          Neenah, WI 54957
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PLITEK LLC                                                          Contingent
          69 Rawls Road                                                       Unliquidated
          Des Plaines, IL 60018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Plotnikov, Nadia                                                    Contingent
          39 Hylebos Ave                                                      Unliquidated
          Milton, Washington 98354-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Plump, David                                                        Contingent
          1032 Pine Street                                                    Unliquidated
          Vallejo, California 94590-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Plunkett, Jeremy                                                    Contingent
          N7741 Vicksburg Way                                                 Unliquidated
          Apt. 3
                                                                              Disputed
          Oconomowoc, Wisconsin 53066-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.609
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Plymouth State University                                           Contingent
          Hartman Union Building                                              Unliquidated
          Plymouth, NH 03264
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PMHCC                                                               Contingent
          123 South Broad Street                                              Unliquidated
          Philadelphia, PA 19109
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 873 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 897 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.610
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pniewski, Mary                                                      Contingent
          990 Stewart Ave                                                     Unliquidated
          Lincoln Park, Michigan 48146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Poddar, Hironmoy                                                    Contingent
          4100 The Woods Dr                                                   Unliquidated
          Apt 512
                                                                              Disputed
          San Jose, California 95136-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.610
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Podesta, Brenna                                                     Contingent
          102 Cammot Lane                                                     Unliquidated
          Fayetteville, New York 13066-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Podolsky, Monica                                                    Contingent
          4608 Austin Lane                                                    Unliquidated
          Virginia Beach, Virginia 23455-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Podwika, Alyssa                                                     Contingent
          1201 Ridge Trace Dr, APT 302                                        Unliquidated
          Raleigh, North Carolina 27606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pohanka Auto Group                                                  Contingent
          4809 Saint Barnabas Road                                            Unliquidated
          Temple Hills, MD 20748
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Point 72, L.P.                                                      Contingent
          72 Cummings Point Road                                              Unliquidated
          Stamford, CT 06902
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 874 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 898 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.610
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          Pointe Coupee General Hospital Laborator                            Contingent
          2202 False River Drive                                              Unliquidated
          New Roads, LA 70760
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polanco, Christian                                                  Contingent
          2828 Carolina Street                                                Unliquidated
          Brownsville, Texas 78521-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polaris Industries Inc.                                             Contingent
          2100 Highway 55                                                     Unliquidated
          Medina, MN 56340
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133,627.50
          Polaris Solutions, LLC                                              Contingent
          10820 Sunset Office Drive                                           Unliquidated
          Suite 302
                                                                              Disputed
          Saint Louis, MO 63127
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.611
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polaris Solutions, LLC                                              Contingent
          10820 Sunset Office Drive                                           Unliquidated
          Suite 302
                                                                              Disputed
          Saint Louis, MO 63127
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.611
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polartec LLC                                                        Contingent
          46 Stafford Street                                                  Unliquidated
          Lawrence, MA 01841
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polasik, John                                                       Contingent
          2145 - 8th Street                                                   Unliquidated
          White Bear Lake, Minnesota 55082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 875 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 899 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.611
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Poley, Michelle                                                     Contingent
          14003 84th Avenue                                                   Unliquidated
          Coopersville, Michigan 49404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polidoro, Jonathan                                                  Contingent
          3020 N Calvert St                                                   Unliquidated
          Apt 2
                                                                              Disputed
          Baltimore, Maryland 21218-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.611
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polisky, Debbie                                                     Contingent
          12351 West Monroe Street                                            Unliquidated
          Avondale, Arizona 85323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polistchuk, Eli                                                     Contingent
          1731 Apple Valley                                                   Unliquidated
          Waucunda, Illinois 60084-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polites, Angela                                                     Contingent
          396 Copper Spring Lane                                              Unliquidated
          Elgin, Illinois 60124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Politz, Justine                                                     Contingent
          15225 Stonewood Terrace                                             Unliquidated
          Burnsville, Minnesota 55306-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          POLK-BURNETT ELECTRIC COOPERATIVE                                   Contingent
          1001 State Road 35                                                  Unliquidated
          Centuria, WI 54824
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 876 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 900 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.612
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pollack, Rebecca                                                    Contingent
          2500 Chestnut Woods Ct                                              Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pollock, Jennifer                                                   Contingent
          129 Trumbull Ave                                                    Unliquidated
          Bridgeport, Connecticut 06606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pollyn, Boma                                                        Contingent
          4417 Second Ave                                                     Unliquidated
          Apt 120
                                                                              Disputed
          Detroit, Michigan 48201-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.612
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polson, Mary                                                        Contingent
          8314 SE Prairie Rd                                                  Unliquidated
          Baxter Springs, Kansas 66713-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polyguard Products Inc.                                             Contingent
          4101 S I 45                                                         Unliquidated
          Ennis, TX 75119
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polymer Conversions (HMNYS)                                         Contingent
          5732 Big Tree Rd                                                    Unliquidated
          Orchard Park, NY 14127
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Polyzen, Inc.                                                       Contingent
          1041 Classic Rd                                                     Unliquidated
          Apex, NC 27539
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 877 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 901 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.612
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ponder, Michael                                                     Contingent
          2910 Ambleside Lane                                                 Unliquidated
          Richardson, Texas 75082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ponderosa Precision Plastics                                        Contingent
          106 N. 15th Street                                                  Unliquidated
          La Porte, TX 77571
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pool, Cathy                                                         Contingent
          716 East Copeland Rd, 05                                            Unliquidated
          Powell, Tennessee 37849-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Poonati, Preetham                                                   Contingent
          15716 Opal Fire Dr                                                  Unliquidated
          Austin, Texas 78728-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pope, Briana                                                        Contingent
          1102 Westchase Ln SW, Apt 621                                       Unliquidated
          Atlanta, Georgia 30336-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Poplawski, Alisa                                                    Contingent
          7951 145th Ave SE                                                   Unliquidated
          Newcastle, Washington 98059-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Portell, Donna                                                      Contingent
          935 Heather Lane                                                    Unliquidated
          Hoffman Estates, Illinois 60169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 878 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 902 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.613
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Porter Hedges LLP                                                   Contingent
          1000 Main St 36th Floor                                             Unliquidated
          Houston, TX 77002
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Porter, David                                                       Contingent
          69 Kenmore Drive                                                    Unliquidated
          Longmeadow, Massachusetts 01106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Porter, Tracy                                                       Contingent
          1303 Abbeyville Street                                              Unliquidated
          Pascagoula, Mississippi 39581-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Porter-Brown, Caprisha                                              Contingent
          9061 Seward Park Avenue South                                       Unliquidated
          3-201
                                                                              Disputed
          Seattle, Washington 98118-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.613
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Portfolio Evaluations                                               Contingent
          15 Independence Blvd                                                Unliquidated
          Warren, NJ 07059
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Portillo, Juan                                                      Contingent
          1003 Pleasant Oaks Rd, Apt E                                        Unliquidated
          Parkville, Maryland 21234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Porton, Kimberly                                                    Contingent
          1758 Sierra Verde Rd                                                Unliquidated
          Chula Vista, California 91913-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 879 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 903 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.614
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ports America                                                       Contingent
          1599 Maritime Street                                                Unliquidated
          Oakland, CA 94607
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Portwood, Brittney                                                  Contingent
          379 Ranney Ave                                                      Unliquidated
          Vernon Hills, Illinois 60061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Posen-Robbins SD 143.5                                              Contingent
          14011 Harrison Ave.                                                 Unliquidated
          Posen, IL 60469
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Posey County Co-op                                                  Contingent
          817 W. 4th Street                                                   Unliquidated
          Mt. Vernon, IN 47620
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Posner, Ilana                                                       Contingent
          627 S Decker Ave                                                    Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Possani, Sadaf                                                      Contingent
          2506 Berryessa Ct                                                   Unliquidated
          Tracy, California 95304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Potemski, Robert                                                    Contingent
          211 Emerson Ave                                                     Unliquidated
          Apt. 2A
                                                                              Disputed
          Bonner Springs, Kansas 66012-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 880 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 904 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.614
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Potter, Anthony                                                     Contingent
          1507 - 10th Street                                                  Unliquidated
          Oregon City, Oregon 97045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Potter, Candice                                                     Contingent
          324 Valley Wood Road                                                Unliquidated
          Kansas, Oklahoma 74347-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Potts, April                                                        Contingent
          16044 Grafham Circle                                                Unliquidated
          Huntersville, North Carolina 28078-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pouliot, April                                                      Contingent
          1721 Doplhin Drive                                                  Unliquidated
          Gautier, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Poulnot, Donna                                                      Contingent
          902 Helena Dr                                                       Unliquidated
          Brandon, Florida 33511-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powall, Maryfran                                                    Contingent
          117 Sunset Ave                                                      Unliquidated
          Lakewood, New York 14750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powder River County                                                 Contingent
          119 North Park Ave.                                                 Unliquidated
          Broadus, MT 59317
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 881 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 905 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.615
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powdr                                                               Contingent
          1790 Bonanza Drive                                                  Unliquidated
          Suite W201
                                                                              Disputed
          Park City, UT 84060-7291
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.615
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powell, Aleatha                                                     Contingent
          6203 Whitetail Run                                                  Unliquidated
          Oakwood Villiage, Ohio 44146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powell, Cindy                                                       Contingent
          7623 Bronze Trail                                                   Unliquidated
          Humble, Texas 77346-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powell, Robin                                                       Contingent
          5719 Vickie Lane                                                    Unliquidated
          Bedford Heights, Ohio 44146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powell, Ruby                                                        Contingent
          7913 Greenbrier Drive                                               Unliquidated
          Neosho, Missouri 64850-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powell, Tiffany                                                     Contingent
          3 Valley Arbor Ct                                                   Unliquidated
          Baltimore, Maryland 21221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powell, Vickie                                                      Contingent
          1505 S Smythe Dr                                                    Unliquidated
          Apache Junction, Arizona 85120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 882 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 906 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.616
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Power Drives                                                        Contingent
          801 Exchange St                                                     Unliquidated
          Buffalo, NY 14210
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powers, Barbara                                                     Contingent
          1420 Cottage Drive                                                  Unliquidated
          Stillwater, Minnesota 55082-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powers, Jessica                                                     Contingent
          508 S. Grant St.                                                    Unliquidated
          Brownsburg, Indiana 46112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Powers, Lia                                                         Contingent
          5599 Langport Ave #9                                                Unliquidated
          Long Beach, California 90805-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prairie Grove CSD 46                                                Contingent
          3223 Highway 176                                                    Unliquidated
          Crystal Lake, IL 60014
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prairie Hills SD 144                                                Contingent
          3015 W. 163rd Street                                                Unliquidated
          Markham, IL 60426
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prasad-Dehaney, Melanie                                             Contingent
          2150 Indian Ivey Lane                                               Unliquidated
          Decula, Georgia 30019-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 883 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 907 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.617
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pratt Regional Medical Center                                       Contingent
          200 Commodore Street                                                Unliquidated
          Pratt, KS 67124
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pratt Street HC Management                                          Contingent
          7002 Arundel Mills Circle, Suite 777                                Unliquidated
          Hanover, MD 21076
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Preble, Melinda                                                     Contingent
          735 Colorado Ave                                                    Unliquidated
          Palo Alto, California 94303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Preble-Gaitz, Cecila                                                Contingent
          209 N Rojen Ct                                                      Unliquidated
          Tucson, Arizona 85711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Precision Component Industries, LLC                                 Contingent
          5325 Southway Street SW                                             Unliquidated
          Canton, OH 44706
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Preda, Ramona                                                       Contingent
          670 Sandra Lane                                                     Unliquidated
          Wheeling, Illinois 60090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Predki, Barbara                                                     Contingent
          75 North Lambert Rd                                                 Unliquidated
          Glen Ellyn, Illinois 60137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 884 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 908 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.617
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PREMIER AG Location 011                                             Contingent
          811 W. 2nd Street                                                   Unliquidated
          Seymour, IN 47274
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Premise One, LLC                                                    Contingent
          240 S Mulberry                                                      Unliquidated
          Mesa, AZ 85202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prempeh, Regina                                                     Contingent
          6542 S. California Ave                                              Unliquidated
          Chicago, Illinois 60629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Presbyterian Community & Services                                   Contingent
          12475 Merit Drive                                                   Unliquidated
          Dallas, TX 75251
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Presbyterian Homes                                                  Contingent
          3200 Grant St                                                       Unliquidated
          Evanston, IL 60201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prescher, Julaine                                                   Contingent
          1904 SW Rock Creek CT                                               Unliquidated
          Blue Springs, Missouri 64015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prescott, Lakesha                                                   Contingent
          885 Judson Road                                                     Unliquidated
          Masury, Ohio 44438-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 885 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 909 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.618
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Presley, Hannah                                                     Contingent
          3724 S. 74th W. Place                                               Unliquidated
          Tulsa, Oklahoma 74107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Press Ganey Associates, Inc.                                        Contingent
          1 N. Franklin St. Suite 1550                                        Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Press, Bambi                                                        Contingent
          PO Box 3655                                                         Unliquidated
          Urbandale, Iowa 50323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Preston, Rebecca                                                    Contingent
          327 3rd Ave NE                                                      Unliquidated
          PO Box 266
                                                                              Disputed
          Choteau, Montana 59422-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.618
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prewitt, Donald                                                     Contingent
          6696 Willowridge Ct                                                 Unliquidated
          Loveland, Ohio 45140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Price, Adrienne                                                     Contingent
          10656 Chelmsford Rd                                                 Unliquidated
          Cincinnati, Ohio 45240-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Price, Erin                                                         Contingent
          30 Willseyville Rd                                                  Unliquidated
          Williseyville, New York 13864-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 886 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 910 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.619
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Price, Jacob                                                        Contingent
          7312 Windchime Way                                                  Unliquidated
          Temple, Texas 76502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Price, Joelle                                                       Contingent
          6314 Friars Rd                                                      Unliquidated
          Unit 116
                                                                              Disputed
          San Diego, California 92108-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.619
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Price, Sameka                                                       Contingent
          12251 S Green                                                       Unliquidated
          Chicago, Illinois 60643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Price, Sarah                                                        Contingent
          80 Price Road                                                       Unliquidated
          Conway, Arkansas 72032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pride-Fesler, Marsha                                                Contingent
          404 N Kansas St.                                                    Unliquidated
          Springdale, Arkansas 72764-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prime Controls                                                      Contingent
          1725 Lakepointe Drive                                               Unliquidated
          Lewisville, TX 75057
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PRIMEX FAMILY OF COMPANIES                                          Contingent
          965 Wells St                                                        Unliquidated
          Lake Geneva, WI 53147
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 887 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 911 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.619
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prince, Tasha                                                       Contingent
          4719 Baldwin st                                                     Unliquidated
          Dallas, Texas 75210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Princeton City School District                                      Contingent
          3900 Cottingham Drive                                               Unliquidated
          Cincinnati, OH 45241
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prinova USA                                                         Contingent
          285 E. Fullerton                                                    Unliquidated
          Carol Stream, IL 60188
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Print Mail Solutions                                                Contingent
          23 Friends Lane                                                     Unliquidated
          Newtown, PA 18940
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pritchett, Shawntay                                                 Contingent
          4879 Hamilton Ave                                                   Unliquidated
          Cincinnati, Ohio 45223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pro Action of Steuben & Yates                                       Contingent
          117 E Steuben St Ste 11                                             Unliquidated
          Bath, NY 14810
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pro Path                                                            Contingent
          1355 River Bend Dr.                                                 Unliquidated
          Dallas, TX 75247
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 888 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 912 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.620
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PRO-PET LLC                                                         Contingent
          1601 McKinley Rd                                                    Unliquidated
          St. Marys, OH 45885
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Proano, Diane                                                       Contingent
          1329 Sebring Circle                                                 Unliquidated
          Elgin, Illinois 60120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PROCACCI                                                            Contingent
          3333 S. Front Street                                                Unliquidated
          Philadelphia, PA 19148
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Process Equipment & Service Co., Inc                                Contingent
          P.O. Box 929                                                        Unliquidated
          Farmington, NM 87499-0929
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Proctor, Bradley                                                    Contingent
          5210 Tumbleweed                                                     Unliquidated
          Amarillo, Texas 79110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.621
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Proctor, Krystle                                                    Contingent
          5104 Bardith Circle                                                 Unliquidated
          Virginia Beach, Virginia 23455-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.621
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Professional Fire Fighters of Oklahoma                              Contingent
          6103 Melrose Ln                                                     Unliquidated
          Oklahoma City, OK 73102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 889 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 913 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.621
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Profile Products LLC                                                Contingent
          750 Lake Cook Rd                                                    Unliquidated
          Suite 440
                                                                              Disputed
          Buffalo Grove, IL 60089
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.621
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Profire Energy, Inc.                                                Contingent
          321 South 1250 West, Suite #1                                       Unliquidated
          Lindon, UT 84042
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.621
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $998.89
          Proforma - IH                                                       Contingent
          P.O. Box 640814                                                     Unliquidated
          Cincinnati, OH 45264-0814
                                                                              Disputed
          Date(s) debt was incurred 4/16/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.621
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Profumo, Laura                                                      Contingent
          2338 Adwell Street Apt A.                                           Unliquidated
          Murfreesboro, Tennessee 37129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.621
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Progressive Recovery, Inc.                                          Contingent
          700 Industrial Drive                                                Unliquidated
          Dupo, IL 62239
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.621
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          PROSOCO                                                             Contingent
          3741 Greenway Circle                                                Unliquidated
          Lawrence, KS 66046
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.621
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prospect Heights SD 23                                              Contingent
          700 North Schoenbeck Road                                           Unliquidated
          Prospect Heights, IL 60070
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 890 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 914 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.621
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Protect Controls, Inc.                                              Contingent
          3212 Old Highway 105 East                                           Unliquidated
          Conroe, TX 77301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Proud, Mariah                                                       Contingent
          119 Ridgeway Dr                                                     Unliquidated
          Lolo, Montana 59847-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prout, Stephanie                                                    Contingent
          10432 Utah Road                                                     Unliquidated
          Bloomington, Minnesota 55438-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Providence Management Company, LLC                                  Contingent
          1247 Waukegan Road                                                  Unliquidated
          Suite 200
                                                                              Disputed
          Glenview, IL 60025
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.622
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Proviso Area for Except Children (PAEC)                             Contingent
          1000 Van Buren St.                                                  Unliquidated
          Maywood, IL 60153
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Provost, Keren                                                      Contingent
          13163 Nebraska Ave                                                  Unliquidated
          kansas city, Kansas 66109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prudhomme, Nikki                                                    Contingent
          Po Box 1564                                                         Unliquidated
          Rock Springs, Wyoming 82902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 891 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 915 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.622
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pruett, Mariah                                                      Contingent
          1100 Lakefront Cmns                                                 Unliquidated
          Unit 328
                                                                              Disputed
          Newport News, Virginia 23606-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.622
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pruismann, Erika                                                    Contingent
          313 SW Pleasant Street                                              Unliquidated
          Ankeny, Iowa 50023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pruitt, Karisha                                                     Contingent
          525 Celeste Road                                                    Unliquidated
          Apt. E
                                                                              Disputed
          Saraland, Alabama 36571-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.622
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pucko, Scott                                                        Contingent
          4734 106th Ave NE                                                   Unliquidated
          Blaine, Minnesota 55014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pugh-Burton, Jocasta                                                Contingent
          12812 W. Lee Avenue                                                 Unliquidated
          Waukegan, Illinois 60085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pujols de Mendez, Roberta                                           Contingent
          10526 171 street                                                    Unliquidated
          jamaica, New York 11433-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pulver, Elizabeth                                                   Contingent
          4663 Blackrock Ave                                                  Unliquidated
          La Verne, California 91750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 892 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 916 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.623
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Purcell Tire Company                                                Contingent
          300 N. Hall St.                                                     Unliquidated
          Potosi, MO 63664
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pusateri, Maureen                                                   Contingent
          7705 E. Medlock Drive                                               Unliquidated
          Scottsdale, Arizona 85250-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Qatar Airways USA                                                   Contingent
          350 5th Ave., Suite 7630                                            Unliquidated
          New York, NY 10018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Qatato, Nadia                                                       Contingent
          203 Wingcup Way                                                     Unliquidated
          Simpsonville, South Carolina 29680-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quach, Christina                                                    Contingent
          3627 Odessa Ln                                                      Unliquidated
          Sacramento, California 95834-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,429.97
          Quadient Finance USA                                                Contingent
          PO BOX 6813                                                         Unliquidated
          Carol Stream, IL 60197-6813
                                                                              Disputed
          Date(s) debt was incurred 4/12/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,529.95
          Quadient Leasing-IH                                                 Contingent
          Dept 3682                                                           Unliquidated
          P.O Box 123682
                                                                              Disputed
          Dallas, TX 75312-3682
          Date(s) debt was incurred 4/2/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 893 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 917 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.624
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quadri, Victoria                                                    Contingent
          3125 Alexander                                                      Unliquidated
          Flossmoor, Illinois 60422-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quality Electrical Systems, Inc.                                    Contingent
          646 West 9th Ave                                                    Unliquidated
          Midvale, UT 84047
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,042.25
          QualityCare Connect aka ArmadaHealth                                Contingent
          230 Shilling Circle                                                 Unliquidated
          Suite 140
                                                                              Disputed
          Hunt Valley, MD 21031
          Date(s) debt was incurred 5/15/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.624
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Qualls, Joseph                                                      Contingent
          3216 Bisco Dr.                                                      Unliquidated
          Knoxville, Tennessee 37931-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46,004.23
          Quantum Color Graphics, LLC.                                        Contingent
          6511 W. Oakton Street                                               Unliquidated
          Morton Grove, IL 60053-2728
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quantum Corporation                                                 Contingent
          10125 Federal Drive                                                 Unliquidated
          Colorado Springs, CO 80908
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,746.00
          Quarles & Brady LLP                                                 Contingent
          411 E Wisconsin Ave, Ste 2400                                       Unliquidated
          Milwaukee, WI 53202
                                                                              Disputed
          Date(s) debt was incurred 4/30/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 894 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 918 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.624
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quashie, Safiya                                                     Contingent
          206 Cannon Ball Way                                                 Unliquidated
          Odenton, Maryland 21113-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Queen Bee SD 16                                                     Contingent
          1560 Bloomingdale Road                                              Unliquidated
          Glendale Heights, IL 60139
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quigley, Mary                                                       Contingent
          10866 Washington Blvd. #79                                          Unliquidated
          Culver City, California 90232-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quilantan, Vicky                                                    Contingent
          1813 Gillham Dr                                                     Unliquidated
          Brownfield, Texas 79316-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $262.50
          Quinn Rose Sluzenski                                                Contingent
          2334 N Sacramento Ave                                               Unliquidated
          Chicago, IL 60647
                                                                              Disputed
          Date(s) debt was incurred 5/28/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quinn, Erika                                                        Contingent
          100 Edgewood DR 2126                                                Unliquidated
          Maumelle, Arkansas 72113-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quinn, Kimberly                                                     Contingent
          2240 Clayton Circle                                                 Unliquidated
          Superior, Colorado 80027-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 895 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 919 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.625
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quinonez, Kevin                                                     Contingent
          7540 De Soto Avenue                                                 Unliquidated
          Canoga Park, California 91303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quintanilla, Eddie                                                  Contingent
          37838 Sulpher Springs Rd                                            Unliquidated
          Palmdale, California 93552-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quintero, Hugo                                                      Contingent
          19160 Box Canyon Road                                               Unliquidated
          Corona, California 92881-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Quinteros, Paula                                                    Contingent
          5764 Stevens Forest Road                                            Unliquidated
          Apt. 920
                                                                              Disputed
          Columbia, Maryland 21045-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.625
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          R&B Wagner                                                          Contingent
          10600 West Brown Deer Road                                          Unliquidated
          Milwaukee, WI 53224
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          R+D Custom Automation, Inc.                                         Contingent
          23411 W. Wall Street                                                Unliquidated
          Lake Villa, IL 60046
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          R.J. O'Brien & Associates LLC                                       Contingent
          222 South Riverside Plaza                                           Unliquidated
          Suite 1200
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 896 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 920 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.626
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          R.K. Miles, Inc.                                                    Contingent
          590 Depot Street                                                    Unliquidated
          Manchester Center, VT 05255
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          R1 RCM Inc.                                                         Contingent
          401 N. Michigan Ave.                                                Unliquidated
          Suite 2700
                                                                              Disputed
          Chicago, IL 60611
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.626
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Radan, Amanda                                                       Contingent
          12218 N 45th Ln                                                     Unliquidated
          Glendale, Arizona 85304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rader, Laura                                                        Contingent
          3463 Fowler Ave                                                     Unliquidated
          Santa Clara, California 95051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Radke-Williams, Vicky                                               Contingent
          103 McDowell Dr                                                     Unliquidated
          Box Elder, South Dakota 57719-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rae, Heather                                                        Contingent
          10200 Boston Lane                                                   Unliquidated
          Knoxville, Tennessee 37932-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rafizadeh, Faramarz                                                 Contingent
          1740 Laguna St, APT B                                               Unliquidated
          Concord, California 94520-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 897 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 921 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.626
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Raina Roeder                                                        Contingent
          S83 W32800 N Oak Tree Court                                         Unliquidated
          Mukwonago, WI 53149
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rainey, Shante                                                      Contingent
          7108 N. 46th Street                                                 Unliquidated
          Milwaukee, Wisconsin 53223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rajan, Bharath                                                      Contingent
          15716 Opal Fire Dr.                                                 Unliquidated
          Austin, Texas 78728-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ralph, Shannon                                                      Contingent
          8409 Shale Drive                                                    Unliquidated
          Madison, Wisconsin 53719-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ralph, Stephanie                                                    Contingent
          42w640 Jericho Rd, Unit D                                           Unliquidated
          Sugar Grove, Illinois 60554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramer, Samuel                                                       Contingent
          4719 SW 21st St.                                                    Unliquidated
          Topeka, Kansas 66604-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramirez, Amelinda                                                   Contingent
          985 Albion St                                                       Unliquidated
          Denver, Colorado 80220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 898 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 922 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.627
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramirez, George                                                     Contingent
          317 W Whispering Oaks Ln                                            Unliquidated
          Round Lake, Illinois 60073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramirez, Leticia                                                    Contingent
          6851 Weiser St J208                                                 Unliquidated
          Orlando, Florida 32821-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramirez, Noemi                                                      Contingent
          245 Knightsbridge Drive                                             Unliquidated
          Mundelein, Illinois 60060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramirez, Richard                                                    Contingent
          275 Murcia Drive #207                                               Unliquidated
          Jupiter, Florida 33458-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramirez, Sandra                                                     Contingent
          1105 Front st                                                       Unliquidated
          apt 2
                                                                              Disputed
          Aurora, Illinois 60505-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.628
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramirez, Wendy                                                      Contingent
          525 North 4th Street #105                                           Unliquidated
          Montebello, California 90640-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramos, Amie                                                         Contingent
          5806 Kennedy Terrace Apt J116                                       Unliquidated
          Gary, Indiana 46403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 899 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 923 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.628
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramos, Kimberly                                                     Contingent
          1749 Bluestem Lane                                                  Unliquidated
          Glenview, Illinois 60026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramos-Mason, Marisa                                                 Contingent
          104 Crestfield Drive                                                Unliquidated
          Fquay-Varina, North Carolina 27526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rampart Plumbing and Heating Supply, Inc                            Contingent
          1801 N. Union Blvd                                                  Unliquidated
          Colorado Springs, CO 80909
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramsey, Steven                                                      Contingent
          732 Highland Ave                                                    Unliquidated
          Waynesboro, Virginia 22980-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ramsey, Tamura                                                      Contingent
          3015 Garland                                                        Unliquidated
          Erie, Pennsylvania 16506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Randall Consolidated School District                                Contingent
          37101 87th St                                                       Unliquidated
          Burlington, WI 53105
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Randall, Andrea                                                     Contingent
          P.O. Box 73                                                         Unliquidated
          Augusta, Illinois 62311-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 900 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 924 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.628
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Randle, Chastity                                                    Contingent
          2216 Bella Vista Way                                                Unliquidated
          Port St Lucie, Florida 34952-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Randolph-Warren, Arlene                                             Contingent
          1048 N. Lawler Ave                                                  Unliquidated
          Chicago, Illinois 60651-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ranish, Lindsey                                                     Contingent
          2425 L Street NW, Apt 621                                           Unliquidated
          Washington, District of Columbia 20037-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rankin, Ariel                                                       Contingent
          1213 Gordon Street, Apt 10                                          Unliquidated
          Los Angeles, California 90038-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rannenberg, Nancy                                                   Contingent
          228 Town Colony Drive                                               Unliquidated
          Middletown, Connecticut 06457-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rapp, Terrie                                                        Contingent
          3233 Crooked Tree Drive                                             Unliquidated
          Mason, Ohio 45040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rashid, Amber                                                       Contingent
          2419 - 31st Ave                                                     Unliquidated
          Gulfport, Mississippi 39501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 901 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 925 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.629
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rashid, Carlinda                                                    Contingent
          2608 Honduras Dr                                                    Unliquidated
          Gautier, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rashid, Chelsey                                                     Contingent
          295 Ashland Avenue #9                                               Unliquidated
          Buffalo, New York 14222-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rasmussen, Ashley                                                   Contingent
          1333 W Touhy Ave #316                                               Unliquidated
          Park Ridge, Illinois 60068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rasmussen, Paige                                                    Contingent
          843 Calle Pinata                                                    Unliquidated
          Thousand Oaks, California 91360-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rasor, Cara                                                         Contingent
          249 Dehoff Dr                                                       Unliquidated
          Austintown, Ohio 44515-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ratajczak, Julia                                                    Contingent
          3964 Bay Road                                                       Unliquidated
          Whiteford, Maryland 21160-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rath, Theresa                                                       Contingent
          13 Yorktown Circle                                                  Unliquidated
          Arden, North Carolina 28704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 902 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 926 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.630
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rausch, Colleen                                                     Contingent
          3460 S 82nd Street                                                  Unliquidated
          Omaha, Nebraska 68124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ravalli County                                                      Contingent
          215 S. Fourth STE. A                                                Unliquidated
          Hamilton, MT 59840
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ravenscraft, Sara                                                   Contingent
          5408 Center Lane                                                    Unliquidated
          Waterford, Wisconsin 53185-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ray Klein, Inc.                                                     Contingent
          400 International Way, #100                                         Unliquidated
          Springfield, OR 97477
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ray, Catherine                                                      Contingent
          264 Wyandotte St                                                    Unliquidated
          Edwardsville, Illinois 62025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ray, Jemille                                                        Contingent
          3212 W. Warren Blvd apt.2                                           Unliquidated
          Chicago, Illinois 60624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ray, Linda                                                          Contingent
          583 Rena Drive                                                      Unliquidated
          Springville, Alabama 35146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 903 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 927 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.631
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Raycraft, Bryan                                                     Contingent
          10132 McCabe Rd                                                     Unliquidated
          Brighton, Michigan 48116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rayford, Keshauna                                                   Contingent
          5735 Wintrop Ave                                                    Unliquidated
          Cincinnati, Ohio 45224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Raymond, Rhonda                                                     Contingent
          5604 Southwest Parkway #1523                                        Unliquidated
          Austin, Texas 78735-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Raynor Garage Door                                                  Contingent
          1101 East River Drive                                               Unliquidated
          Dixon, IL 61021
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Raysin, Jeanette                                                    Contingent
          4360 Woodrow Avenue                                                 Unliquidated
          Burton, Michigan 48509-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rdsquared, LLC aka Rebecca Davis HC                                 Contingent
          9412 Twin Spruce Drive                                              Unliquidated
          Saint Louis, MO 63126
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,946.50
          RDX-Remote DBA Experts, LLC                                         Contingent
          2000 Westinghouse Drive                                             Unliquidated
          Cranberry Twp, PA 16066
                                                                              Disputed
          Date(s) debt was incurred 5/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 904 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 928 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.631
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Readerlink LLC                                                      Contingent
          1420 Kensington Rd Suite 300                                        Unliquidated
          Oak Brook, IL 60523
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reaves, Julie                                                       Contingent
          3832 W US Hwy 14                                                    Unliquidated
          Janesville, Wisconsin 53548-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reavis High School SD 220                                           Contingent
          6034 W. 77th Street                                                 Unliquidated
          Burbank, IL 60459
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Recto, Allyson                                                      Contingent
          3809 W. Wabansia                                                    Unliquidated
          Chicago, Illinois 60647-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rector, Alexandria                                                  Contingent
          2105 Sunbriar Lane                                                  Unliquidated
          Gwynn Oak, Maryland 21207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Redel, Daria                                                        Contingent
          12437 Meadow Green Pl                                               Unliquidated
          St Louis, Missouri 63141-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Redline Plastics                                                    Contingent
          Manitowoc                                                           Unliquidated
          WI, WI
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 905 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 929 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.632
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Redstone Highlands                                                  Contingent
          126 Mathews St., Suite 2800                                         Unliquidated
          Greensburg, PA 15601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reed Automotive Group, Inc.                                         Contingent
          3921 Frederick Ave                                                  Unliquidated
          Saint Joseph, MO 64506
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reed, Deborah                                                       Contingent
          545 Walker Rd                                                       Unliquidated
          Troy, Missouri 63379-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reed, Jillian                                                       Contingent
          1544 Bristol Lane                                                   Unliquidated
          Unit 2
                                                                              Disputed
          Wood Dale, Illinois 60191-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.632
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reed, Lynn                                                          Contingent
          2056 E. Browning Pl                                                 Unliquidated
          Chandler, Arizona 85286-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reed-Custer CUSD #255                                               Contingent
          255 Comet Drive                                                     Unliquidated
          Braidwood, IL 60408
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.633
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reeder Distributors, Inc.                                           Contingent
          5450 Wilbager                                                       Unliquidated
          Fort Worth, TX 76119
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 906 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 930 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.633
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reedsburg Area Medical Center                                       Contingent
          2000 N Dewey Ave                                                    Unliquidated
          Reedsburg, WI 53959
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.633
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reedy Industries                                                    Contingent
          2440 Ravine Way                                                     Unliquidated
          Suite 200
                                                                              Disputed
          Glenview, IL 60025
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.633
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reemtsma, Jenifer                                                   Contingent
          15245 74th Ave N                                                    Unliquidated
          Maple Grove, Minnesota 55311-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.633
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reese, Wendy                                                        Contingent
          P.O. Box 773                                                        Unliquidated
          Pittsfield, Vermont 05762-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.633
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ref-Chem                                                            Contingent
          1128 S. Grandview                                                   Unliquidated
          Odessa, TX 79761
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.633
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reger, Julianne                                                     Contingent
          1015 Valley Bluff Drive Apt 11                                      Unliquidated
          Perrysburg, Ohio 43551-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.633
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Regional School District #6                                         Contingent
          98 Wamogo Road                                                      Unliquidated
          Litchfield, CT 06759
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 907 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 931 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.633
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          REGIONAL TRANSPORTATION AUTHORITY                                   Contingent
          175 West Jackson Blvd.                                              Unliquidated
          Suite 1550
                                                                              Disputed
          Chicago, IL 60604
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.633
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Regional West Health Services                                       Contingent
          4021 Avenue B                                                       Unliquidated
          Scottsbluff, NE 69361
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reheard, Linda                                                      Contingent
          649 Hershey Ave                                                     Unliquidated
          Lancaster, Pennsylvania 17603-5703
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reichardt, Jennifer                                                 Contingent
          743 Windsong Lane                                                   Unliquidated
          Rockwall, Texas 75032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reichart, Michele                                                   Contingent
          1508 Bedworth Rd                                                    Unliquidated
          Lutherville, Maryland 21093-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reichman, Lauren                                                    Contingent
          12224 Crabapple St.                                                 Unliquidated
          Broomfield, Colorado 80020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reid, Aaron                                                         Contingent
          4834 W Harrison St                                                  Unliquidated
          Apt 1
                                                                              Disputed
          Chicago, Illinois 60644-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 908 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 932 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.634
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reid, Karysha                                                       Contingent
          4503 Havenwood Drive                                                Unliquidated
          Greensboro, North Carolina 27407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reid, Melissa                                                       Contingent
          109 Jake Pine Dr                                                    Unliquidated
          Pasadena, Maryland 21122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reid, Shena                                                         Contingent
          4902 Goodnow Road Apt G                                             Unliquidated
          Baltimore, Maryland 21206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reid, Timothy                                                       Contingent
          2660 Thomasville Ct, Apt 1421                                       Unliquidated
          Cincinnati, Ohio 45238-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reiman Corp.                                                        Contingent
          2400 West College Drive                                             Unliquidated
          PO Box 1007
                                                                              Disputed
          Cheyenne, WY 82003
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.635
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reis, Paula                                                         Contingent
          3200 NW 120th Way                                                   Unliquidated
          Sunrise, Florida 33323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reitterer, Rebecca                                                  Contingent
          300 Ailes Rd                                                        Unliquidated
          Delta, Pennsylvania 17314-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 909 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 933 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.635
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          RelaDyne                                                            Contingent
          8280 Montgomery Rd. Suite 101                                       Unliquidated
          Cincinnati, OH 45236
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reliance Bank                                                       Contingent
          401 S Logan Blvd                                                    Unliquidated
          Altoona, PA 16602
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Relova, Jannine                                                     Contingent
          12232 Viarna St.                                                    Unliquidated
          Cerritos, California 90703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Remington Seeds, LLC                                                Contingent
          4746 W. US 24                                                       Unliquidated
          Remington, IN 47977
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Remington, Judith                                                   Contingent
          702 Lawson Dr                                                       Unliquidated
          Lake Orion, Michigan 48362-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Renaud, Victoria                                                    Contingent
          404 W Downer                                                        Unliquidated
          Aurora, Illinois 60506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Renfroe, Jenna                                                      Contingent
          597 Flat Shoals Road                                                Unliquidated
          Gray, Georgia 31032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 910 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 934 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.635
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Renick, Beth                                                        Contingent
          P.O. Box 5279                                                       Unliquidated
          Bozeman, Montana 59717-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Renteria, Yvette                                                    Contingent
          11201 Campestre #a                                                  Unliquidated
          El Paso, Texas 79936-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Resendez, Karlene                                                   Contingent
          316 West Klein Road                                                 Unliquidated
          New Braunfels, Texas 78130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Resource Center, The                                                Contingent
          200 Dunham Ave                                                      Unliquidated
          Jamestown, NY 14701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Resquer, Arisa                                                      Contingent
          709 Cimity Court                                                    Unliquidated
          San Jose, California 95138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ressler Motors                                                      Contingent
          8474 Huffine Ln                                                     Unliquidated
          Bozeman, MT 59718
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          RetailMeNot, Inc.                                                   Contingent
          301 Congress Avenue, Suite 700                                      Unliquidated
          Austin, TX 78701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 911 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 935 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.636
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Retif Oil and Fuel                                                  Contingent
          1840 Jutland Drive                                                  Unliquidated
          Harvey, LA 70058
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Retzler, Jo Elaine                                                  Contingent
          4737 Bryant Ave S                                                   Unliquidated
          Minneapolis, Minnesota 55419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reuschel, Kyley                                                     Contingent
          1930 East 1650th St                                                 Unliquidated
          Coatsburg, Illinois 62325-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reust, Meg                                                          Contingent
          126A Ivy Hill Lane                                                  Unliquidated
          Medina, Ohio 44256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reuter, Erin                                                        Contingent
          1223 Dallas Drive                                                   Unliquidated
          Greencastle, Pennsylvania 17225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Revcor, Inc.                                                        Contingent
          251 Edwards Avenue                                                  Unliquidated
          Carpentersville, IL 60110
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Revello, Bridget                                                    Contingent
          407 Venus Lane, Unit 2                                              Unliquidated
          Ligionier, Pennsylvania 15658-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 912 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 936 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.637
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Revello, Brooke                                                     Contingent
          751 Samuels Road                                                    Unliquidated
          Somerset, Pennsylvania 15501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reyers, Tammy                                                       Contingent
          1525 Grand Ave Pkwy #9-306                                          Unliquidated
          Pflugerville, Texas 78660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reyes Automotive Group                                              Contingent
          1 Lone Star Pass                                                    Unliquidated
          Bldg 28
                                                                              Disputed
          San Antonio, TX 78264
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.637
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reyes, Gabriela                                                     Contingent
          253 Panorama Dr                                                     Unliquidated
          Benicia, California 94510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reyes, Julienne                                                     Contingent
          167 Avalon Ct                                                       Unliquidated
          San Ramon, California 94582-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reyes, Marlon                                                       Contingent
          709 West Park Avenue                                                Unliquidated
          APT 107
                                                                              Disputed
          Libertyville, Illinois 60048-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.637
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reyes, Rhia                                                         Contingent
          134 Aldenglen Dr                                                    Unliquidated
          South San Francisco, California 94080-00
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 913 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 937 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.638
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reyes-Cifuentes, Geiner                                             Contingent
          8725 Anaum Ln                                                       Unliquidated
          Yukon, Oklahoma 73099-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reynolds, Carla                                                     Contingent
          77135 Indiana Ave                                                   Unliquidated
          Palm Desert, California 92211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reynolds, Jane                                                      Contingent
          205 Roger Powell Rd                                                 Unliquidated
          Sebree, Kentucky 42455-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reynolds, Jeffrey                                                   Contingent
          3121 Davis Ln                                                       Unliquidated
          Apt 6402
                                                                              Disputed
          Austin, Texas 78748-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.638
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reynolds, Leslie                                                    Contingent
          230 FIrewood Lane                                                   Unliquidated
          Galloway, Ohio 43119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reynolds, Megan                                                     Contingent
          1047 Holcombe Road Apt. B                                           Unliquidated
          Decatur, Georgia 30032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Reynolds, Nelida                                                    Contingent
          1308 Frederick Road                                                 Unliquidated
          Catonsville, Maryland 21228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 914 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 938 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.638
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rezner, Rebecca                                                     Contingent
          4727 West Chicory Lane                                              Unliquidated
          Appleton, Wisconsin 54914-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rheams, Shannon                                                     Contingent
          22025 Scott Drive                                                   Unliquidated
          Richton Park, Illinois 60471-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhiel, Katelyn                                                      Contingent
          2004 Kemmerer Street                                                Unliquidated
          Bethlehem, Pennsylvania 18017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhoades, Spring                                                     Contingent
          2820 Ginger Lane                                                    Unliquidated
          Washington Court House, Ohio 43160-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhoades, Tammy                                                      Contingent
          601 Dickey Ave                                                      Unliquidated
          Greenfield, Ohio 45123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhode Island Department of Revenue                                  Contingent
          Rhose Island Division of Taxation                                   Unliquidated
          One Capitol Hill
                                                                              Disputed
          Providence, RI 02908
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.639
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhodes SD 84.5                                                      Contingent
          8931 W Fullerton                                                    Unliquidated
          River Grove, IL 60171
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 915 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 939 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.639
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhodes, Alison                                                      Contingent
          2650 Cooper Ave #110                                                Unliquidated
          Springfield, Illinois 62704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhodes, Christina                                                   Contingent
          1121 Jenkins Fork Road                                              Unliquidated
          Fayetteville, West Virginia 25840-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhodes, Nicole                                                      Contingent
          27312 NE 151st Pl                                                   Unliquidated
          Duvall, Washington 98019-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rhoten, Rachel                                                      Contingent
          509 Vorils Lane #103                                                Unliquidated
          Wilmington, North Carolina 28411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ricca, Shannon                                                      Contingent
          5396 Branch Creek Circle                                            Unliquidated
          Mason, Ohio 45040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rice, Katie                                                         Contingent
          200 Cedar Bend Dr.                                                  Unliquidated
          Apt. 1133
                                                                              Disputed
          Austin, Texas 78758-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.640
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rice, Latasha                                                       Contingent
          1208 West Main St.                                                  Unliquidated
          Apt. 4A
                                                                              Disputed
          Union, South Carolina 29379-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 916 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 940 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.640
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rice, Ruth                                                          Contingent
          6 Crossfield Rd                                                     Unliquidated
          Rochester, New York 14609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rice, Shelia                                                        Contingent
          230 2nd St Thomas                                                   Unliquidated
          Birmingham, Alabama 35214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rice, Tracy                                                         Contingent
          1211 N Miller Rd                                                    Unliquidated
          Unit 119
                                                                              Disputed
          Scottsdale, Arizona 85257-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.640
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rich Products                                                       Contingent
          One Robert Rich Way                                                 Unliquidated
          Buffalo, NY 14213
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rich Township HSD227                                                Contingent
          20550 South Cicero Ave.                                             Unliquidated
          Matteson, IL 60443
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $156.00
          Richard L Bottrell Agency                                           Contingent
          6142 Masonic Drive                                                  Unliquidated
          Alexandria, LA 71301
                                                                              Disputed
          Date(s) debt was incurred 3/25/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richards, Eileen                                                    Contingent
          5149 s. Lawler Ave.                                                 Unliquidated
          Chicago, Illinois 60638-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 917 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 941 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.640
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richards, Ryan                                                      Contingent
          901 Lywnood Court                                                   Unliquidated
          Cranberry Township, Pennsylvania 16066-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richardson, April                                                   Contingent
          3815 Liverpool Ave                                                  Unliquidated
          Moss Point, Mississippi 39563-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richardson, Chantelle                                               Contingent
          180 Occoneechee Trail                                               Unliquidated
          Hollister, North Carolina 27844-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richardson, Dashaunda                                               Contingent
          3263 Holman                                                         Unliquidated
          Houston, Texas 77004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richardson, Evelyn                                                  Contingent
          4005 High Acres Road                                                Unliquidated
          Roanoke, Virginia 24017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richardson, Kaundra                                                 Contingent
          625 Thomas St                                                       Unliquidated
          Orange, New Jersey 07050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richardson, Robin                                                   Contingent
          52 Rolfe Road                                                       Unliquidated
          Windham, Maine 04062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 918 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 942 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.641
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richie, Melinda                                                     Contingent
          3607 Pontiac Ave                                                    Unliquidated
          Lubbock, Texas 79407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richmond, Joseph                                                    Contingent
          381 Sunset Drive                                                    Unliquidated
          Carlisle, Ohio 45005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Richmond, Sheryl                                                    Contingent
          20617 28th Ave. W. B2                                               Unliquidated
          Lynnwood, Washington 98036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rickard, Jessica                                                    Contingent
          47 Peters Way                                                       Unliquidated
          North Attleboro, Massachusetts 02760-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ricker, Molly                                                       Contingent
          28 Chesterfield Drive                                               Unliquidated
          Concord, New Hampshire 03301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rickerd, Debra                                                      Contingent
          177 Avon Avenue                                                     Unliquidated
          Lexington, Kentucky 40505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ricks, Hermenia                                                     Contingent
          724 Quail Drive                                                     Unliquidated
          Saginaw, Texas 76131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 919 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 943 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.642
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rider, Frances                                                      Contingent
          1304 Blackstone Way                                                 Unliquidated
          Bogart, Georgia 30622-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ridgeland SD 122                                                    Contingent
          6500 W. 95th Street                                                 Unliquidated
          Oak Lawn, IL 60453
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ridgely, Megan                                                      Contingent
          234 8th St                                                          Unliquidated
          West Des Moines, Iowa 50265-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ridlen, Teresa                                                      Contingent
          2309 Hillis Ct                                                      Unliquidated
          Kokomo, Indiana 46902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ridley, Gloria                                                      Contingent
          1605 West Augusta Blvd #179                                         Unliquidated
          Fairfield, Ohio 45014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riendeau, Johanne                                                   Contingent
          14 Boyd Road                                                        Unliquidated
          Hudson, New Hampshire 03501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rife, Amber                                                         Contingent
          5321 Dan Post Way                                                   Unliquidated
          Murfreesboro, Tennessee 37128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 920 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 944 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.642
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rifkin, Samantha                                                    Contingent
          1054 W Hollywood Ave                                                Unliquidated
          Apt 2W
                                                                              Disputed
          Chicago, Illinois 60660-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.643
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rigueiro, Jesus                                                     Contingent
          540 Granby Road                                                     Unliquidated
          South Hadley, Massachusetts 01075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riji, Hawa                                                          Contingent
          4251 9th Ave. Circle S #101                                         Unliquidated
          Fargo, North Dakota 58103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riley, Audrey                                                       Contingent
          1081 Marshall Graves Rd                                             Unliquidated
          Yanceyville, North Carolina 27379-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riley, Jared                                                        Contingent
          8530 Plantain Court                                                 Unliquidated
          Indianapolis, Indiana 46278-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riley, Melani                                                       Contingent
          413 North Firewood Avenue                                           Unliquidated
          Broken Arrow, Oklahoma 74012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rimas, Matthew Charles                                              Contingent
          479 Saint Charles Street                                            Unliquidated
          Elgin, Illinois 60120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 921 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 945 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.643
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rincon, Carmen                                                      Contingent
          10630 Sw 158 Ct                                                     Unliquidated
          Apt 103
                                                                              Disputed
          Miami, Florida 33196-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.643
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ring, Michaela                                                      Contingent
          4209 Hamilton Street                                                Unliquidated
          San Diego, California 92104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ringbloom, Jane                                                     Contingent
          137 Winfield Chase Drive                                            Unliquidated
          Madison, Alabama 35758-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rink, Virginia                                                      Contingent
          21500 Burbank Blvd #311                                             Unliquidated
          Woodland Hills, California 91367-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rinzel, Robert                                                      Contingent
          9705 Park Drive #4                                                  Unliquidated
          Omaha, Nebraska 68127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rios, Natalia                                                       Contingent
          7713 Lenape Trail                                                   Unliquidated
          Austin, Texas 78736-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ripling, Mikayla                                                    Contingent
          24071 Regents Park Circle                                           Unliquidated
          Santa Clarita, California 91355-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 922 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 946 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.644
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,860.00
          Risc Management & Consulting                                        Contingent
          500 N Randall Rd. #532                                              Unliquidated
          Batavia, IL 60510
                                                                              Disputed
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Risc Management & Consulting                                        Contingent
          500 N Randall Rd. #532                                              Unliquidated
          Batavia, IL 60510
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riske, Aaron                                                        Contingent
          5737 Gardner Court                                                  Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riskind, Patricia                                                   Contingent
          829 Elmwood Ave                                                     Unliquidated
          Wilmette, Illinois 60091-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ritch, Samuel                                                       Contingent
          324 St Augustine Ave                                                Unliquidated
          Tampa, Florida 33617-7230
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ritchie, William                                                    Contingent
          1084 Clubhouse Dr                                                   Unliquidated
          Independence, Kentucky 41051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ritter, Kathryn                                                     Contingent
          1469 S. Moline St                                                   Unliquidated
          Aurora, Colorado 80012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 923 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 947 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.645
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ritzville Warehouse Company                                         Contingent
          201 East 1st Ave                                                    Unliquidated
          Ritzville, WA 99169
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivard, Katherine                                                   Contingent
          695 Glenbrook Ave North                                             Unliquidated
          St Paul, Minnesota 55128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          RIVER BEND SCHOOL DIST.                                             Contingent
          1110 Third St.                                                      Unliquidated
          Fulton, IL 61252
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          River Forest SD 90                                                  Contingent
          7560 Oak Avenue                                                     Unliquidated
          River Forest, IL 60305
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          River Trails SD 26                                                  Contingent
          1900 East Kensington Road                                           Unliquidated
          Mt Prospect, IL 60056
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera, Charles                                                     Contingent
          7918 Sandpoint Blvd                                                 Unliquidated
          Orlando, Florida 32819-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera, Cierra                                                      Contingent
          312 parakeet drive                                                  Unliquidated
          Little Elm, Texas 75068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 924 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 948 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.645
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera, Cyndia                                                      Contingent
          105 Bella Rosa Circle                                               Unliquidated
          Sanford, Florida 32771-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera, Dave                                                        Contingent
          400 Naval Base Road                                                 Unliquidated
          Norfolk, Virginia 23505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera, Deyanira                                                    Contingent
          2912 Beulah                                                         Unliquidated
          River Grove, Illinois 60171-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.646
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera, Gabriela                                                    Contingent
          12601 SE River Road                                                 Unliquidated
          Apt 212
                                                                              Disputed
          Milwaukie, Oregon 97222-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.646
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera, Leida
          777 Bateswood dr Apt 53                                             Contingent
          Brighton Oaks                                                       Unliquidated
          777 Bateswood dr Apt 53                                             Disputed
          houston, Texas 77079-0000
                                                                             Basis for the claim:    Wages / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.646
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera, Tierra                                                      Contingent
          9531 St Hwy 151 #16301                                              Unliquidated
          San Antonio, Texas 78251-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 925 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 949 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.646
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivera-Velez, Yazmin                                                Contingent
          7102 Daniel John Drive                                              Unliquidated
          Elkridge, Maryland 21075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.646
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riverbed Technology, Inc.                                           Contingent
          680 Folsom St, 7th Floor                                            Unliquidated
          San Francisco, CA 94107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.646
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rivers Casino                                                       Contingent
          3000 South River Road                                               Unliquidated
          Des Plaines, IL 60018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.646
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riverside Brookfield HSD 208                                        Contingent
          160 Riverwood Road                                                  Unliquidated
          Riverside, IL 60546
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.646
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riverside Elementary School District                                Contingent
          1414 S. 51st Ave                                                    Unliquidated
          Phoenix, AZ 85043
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.646
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Riverside SD 96                                                     Contingent
          3340 South Harlem                                                   Unliquidated
          Riverside, IL 60546
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.646
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $336.00
          Riverside WorkForce Health                                          Contingent
          400 S. Kennedy Drive                                                Unliquidated
          Bradley, IL 60915
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 926 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 950 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.647
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          RMO, Inc.                                                           Contingent
          650 West Colfax Avenue                                              Unliquidated
          Denver, CO 80204
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,000.00
          RNS Solutions, Inc                                                  Contingent
          1770 N. Park Street, Ste.#100                                       Unliquidated
          Chicago, IL 60653
                                                                              Disputed
          Date(s) debt was incurred 2/19/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roach, Laura                                                        Contingent
          7402 W. Rim Drive                                                   Unliquidated
          Austin, Texas 78731-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roadman, Lizabeth                                                   Contingent
          3370 Shadow Tree Dr, Apt 424                                        Unliquidated
          Sacramento, California 95834-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robbins, Laura                                                      Contingent
          10514 Tom Frost Road                                                Unliquidated
          Catawissa, Missouri 63015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robbins, Sindy                                                      Contingent
          11633 Milbank Lane                                                  Unliquidated
          Cincinnati, Ohio 45249-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberson, Bobby                                                     Contingent
          12401 E 49th Street                                                 Unliquidated
          Independence, Missouri 64055-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 927 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 951 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.647
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberson, Genese                                                    Contingent
          717 Woodbridge Center Way                                           Unliquidated
          Edgewood, Maryland 21040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberson, Randie                                                    Contingent
          8101 S STEWART Ave                                                  Unliquidated
          Chicago, Illinois 60620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberson, Vanessa                                                   Contingent
          545 Beverly Hills Dr                                                Unliquidated
          Van Buren, Arkansas 72956-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberts, Carysia                                                    Contingent
          9945 nottingham                                                     Unliquidated
          chicago ridge, Illinois 60415-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberts, China                                                      Contingent
          17121 California Ave                                                Unliquidated
          Hazel Crest, Illinois 60429-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberts, L.                                                         Contingent
          P.O. Box 14194                                                      Unliquidated
          Tulsa, Oklahoma 74159-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberts, Sherril                                                    Contingent
          3244 S Ventura Wy                                                   Unliquidated
          Aurora, Colorado 80013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 928 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 952 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.648
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberts, Staci                                                      Contingent
          3938 Nemo Road                                                      Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roberts, Theresa                                                    Contingent
          6 Bird Lane                                                         Unliquidated
          Newport News, Virginia 23601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robertson, Alexandria                                               Contingent
          1103 Beckton Lane                                                   Unliquidated
          Pearland, Texas 77584-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robertson, Jerrene                                                  Contingent
          8002 Wayland Ct.                                                    Unliquidated
          St. Louis, Missouri 63114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson Brothers                                                   Contingent
          220 Raemisch Road                                                   Unliquidated
          Waunakee, WI 53597
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson Construction                                               Contingent
          2411 Walters Lane                                                   Unliquidated
          Perryville, MO 63775
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Alexis                                                    Contingent
          45 Vick Park A                                                      Unliquidated
          Apt #9
                                                                              Disputed
          Rochester, New York 14607-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 929 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 953 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.649
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Alice                                                     Contingent
          5503 Avenue F                                                       Unliquidated
          Austin, Texas 78751-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Andrea                                                    Contingent
          4441 Hoen Ave                                                       Unliquidated
          Santa Rosa, California 95405-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Carolyn                                                   Contingent
          1434 Snyder Corner Rd                                               Unliquidated
          Red Lion PA, Pennsylvania 17356-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Crandalle                                                 Contingent
          2114 Baltimore Dr.                                                  Unliquidated
          Richardson, Texas 75081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Ileha                                                     Contingent
          111 The Vinings                                                     Unliquidated
          Macon, Georgia 31210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, James                                                     Contingent
          16460 South Kenwood Avenue                                          Unliquidated
          Chicago, Illinois 60619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Kendra                                                    Contingent
          1409 Hastings Road                                                  Unliquidated
          Gautier, Mississippi 39553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 930 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 954 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.649
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Logan                                                     Contingent
          9011 Camille Drive SE                                               Unliquidated
          Huntsville, Alabama 35802-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Marrissa                                                  Contingent
          4 Annapolis Street, Apt.1                                           Unliquidated
          Annapolis, Maryland 21401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Nora                                                      Contingent
          4953 S 149th Court                                                  Unliquidated
          Omaha, Nebraska 68137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Ryan                                                      Contingent
          2916 Ocean Mist Ct                                                  Unliquidated
          Stockton, California 95209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Shanell                                                   Contingent
          6550 Shady Brook Ln #1435                                           Unliquidated
          Dallas, Texas 75206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robinson, Tiffany                                                   Contingent
          1997 Longdale Drive                                                 Unliquidated
          Decatur, Georgia 30032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robles, Edwin                                                       Contingent
          710 N. La Grange Road                                               Unliquidated
          La Grange Park, Illinois 60526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 931 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 955 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.650
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roch, Stephen                                                       Contingent
          3716 Page Dr                                                        Unliquidated
          Metairie, Louisiana 70003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rocha, Erin                                                         Contingent
          558 W. Wellington                                                   Unliquidated
          2R
                                                                              Disputed
          Chicago, Illinois 60657-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.650
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rochester Metal Products                                            Contingent
          616 Indiana Avenue                                                  Unliquidated
          P.O. Box 488
                                                                              Disputed
          Rochester, IN 46975
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.650
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rochester Metal Products - Muncie IN                                Contingent
          2100 North Granville Ave                                            Unliquidated
          Muncie, IN 47303
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rock Community Fire Protection District                             Contingent
          3749 Telegraph                                                      Unliquidated
          Arnold, MO 63010
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rock, Matthew                                                       Contingent
          1995 Fairway Ct                                                     Unliquidated
          Hoffman Estates, Illinois 60169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rockford Park District                                              Contingent
          401 South Main Street                                               Unliquidated
          Rockford, IL 61101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 932 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 956 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.651
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rockford Public Library                                             Contingent
          215 N. Wyman St.                                                    Unliquidated
          Rockford, IL 61101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rockford Public Schools                                             Contingent
          501 7th Street                                                      Unliquidated
          Rockford, IL 61104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rockler Companies                                                   Contingent
          4365 Willow Drive                                                   Unliquidated
          Medina, MN 55340
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rocks, Leanna                                                       Contingent
          1528 W. Brown St.                                                   Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodney, Glenstine                                                   Contingent
          1125 East 115th Street                                              Unliquidated
          Apt 791
                                                                              Disputed
          Los Angeles, California 90059-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.651
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Amanda                                                   Contingent
          136 Lorraine Ave                                                    Unliquidated
          Pittsburg, California 94565-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Eli                                                      Contingent
          3009 S. 24th Street                                                 Unliquidated
          Omaha, Nebraska 68108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 933 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 957 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.651
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Freska                                                   Contingent
          2322 First St. #18                                                  Unliquidated
          Ingleside, Texas 78362-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Jeanette                                                 Contingent
          1520 Wynwood Street                                                 Unliquidated
          Corpus Christi, Texas 78415-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Jolene                                                   Contingent
          1520 Wynwood Drive                                                  Unliquidated
          Corpus Christi, Texas 78415-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Jose                                                     Contingent
          9226 Friendship Road                                                Unliquidated
          Houston, Texas 77080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Martha                                                   Contingent
          15805 #14 Shepherd road                                             Unliquidated
          Atascosa, Texas 78002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Monica                                                   Contingent
          1474 Crockett Drive                                                 Unliquidated
          Frisco, Texas 75033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Sheree                                                   Contingent
          30 Preston Street                                                   Unliquidated
          East Hartford, Connecticut 06108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 934 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 958 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.652
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Sylvia                                                   Contingent
          2828 elm st                                                         Unliquidated
          Los Angeles, California 90065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez, Xochilt                                                  Contingent
          705 Roundtree Dr                                                    Unliquidated
          Mesquite, Texas 75150-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodriguez-McQuillar, Shanasia                                       Contingent
          5673 Selma Drive                                                    Unliquidated
          Virginia Beach, Virginia 23455-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.652
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rodway, Erin                                                        Contingent
          225 Grand Ridge Rd                                                  Unliquidated
          St Charles, Illinois 60175-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roe, Taylor                                                         Contingent
          160 Canterbury Road                                                 Unliquidated
          Aurora, Illinois 60506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roemelt, Riley                                                      Contingent
          103 E. Hawthorne St                                                 Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roeum-Castleman, Raksmey                                            Contingent
          4618 Trenton Court                                                  Unliquidated
          Stockton, California 95212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 935 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 959 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.653
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Andrew                                                      Contingent
          5115 Labradore Dr                                                   Unliquidated
          Roanoke, Virginia 24012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Brittany                                                    Contingent
          196 PR 7351                                                         Unliquidated
          Waskom, Texas 75692-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Crystal                                                     Contingent
          2341 SW Frisco Terrace                                              Unliquidated
          Port St. Lucie, Florida 34953-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Lauren                                                      Contingent
          1255 Lloyd Avenue                                                   Unliquidated
          Lombard, Illinois 60148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Linda                                                       Contingent
          475A Chelsea Court                                                  Unliquidated
          Manchester, New Jersey 08759-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Matthew                                                     Contingent
          4335 - 12th St. N.E.                                                Unliquidated
          Naples, Florida 34120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Pamela                                                      Contingent
          185 25th Street SE                                                  Unliquidated
          Massillon, Ohio 44646-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 936 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 960 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.654
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Renee                                                       Contingent
          4 Kemper Ave                                                        Unliquidated
          Newport News, Virginia 23601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Scott                                                       Contingent
          4025 Legendary Ridge                                                Unliquidated
          Cleves, Ohio 45002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Serena                                                      Contingent
          9801 old baymeadows rd apt 43                                       Unliquidated
          Jacksonville, Florida 32256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Taylor                                                      Contingent
          2931 Ancon Court                                                    Unliquidated
          Edgewood, Maryland 21040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rogers, Vivian                                                      Contingent
          39 Rockland Ave #19                                                 Unliquidated
          Malden, Massachusetts 02148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roggensack, Kristian                                                Contingent
          3285 W Fairview Pl.                                                 Unliquidated
          Denver, Colorado 80211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rohan, Alanna                                                       Contingent
          3478 Stephen Lane                                                   Unliquidated
          Wantagh, New York 11793-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 937 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 961 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.654
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rohling, Brittany                                                   Contingent
          3439 N Lakewood Ave                                                 Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rohr, Louis                                                         Contingent
          446 3rd Ave S                                                       Unliquidated
          South Saint Paul, Minnesota 55075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.654
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rohrer, Kristen                                                     Contingent
          3 South Carolina Ave                                                Unliquidated
          Pasadena, Maryland 21122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roill, J.                                                           Contingent
          19700 N. 76th St, Apt 1142                                          Unliquidated
          Scottsdale, Arizona 85255-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roling, Kelli                                                       Contingent
          627 Orlando Avenue                                                  Unliquidated
          Apt. 306
                                                                              Disputed
          Normal, Illinois 61761-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.655
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rolland, Olimpia                                                    Contingent
          21124 Gray Hawk Dr.                                                 Unliquidated
          Matteson, Illinois 60443-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roller, Barbara                                                     Contingent
          95 Laurie Avenue                                                    Unliquidated
          West Roxbury, Massachusetts 02132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 938 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 962 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.655
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rollins, Imann                                                      Contingent
          498 Tramway West Road                                               Unliquidated
          Sanford, North Carolina 27330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Romero, Susan                                                       Contingent
          2001 Harman Ave                                                     Unliquidated
          Baltimore, Maryland 21230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ronco - Integrated Communications Techno                            Contingent
          595 Sheridan Drive                                                  Unliquidated
          Tonawanda, NY 14150
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roney, Myrna                                                        Contingent
          1735 Robin Lane                                                     Unliquidated
          Lisle, Illinois 60532-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roof, Chelsea                                                       Contingent
          38 Wesley Ave                                                       Unliquidated
          Ocean City, New Jersey 08226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.655
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roosevelt School District                                           Contingent
          6000 South 7th Street                                               Unliquidated
          Phoenix, AZ 85042
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosa, Adam                                                          Contingent
          8226 Broken Branch Drive                                            Unliquidated
          Round Rock, Texas 78681-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 939 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 963 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.656
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosales, Jairo                                                      Contingent
          302 44th Ave                                                        Unliquidated
          Northlake, Illinois 60164-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosario, Jessica                                                    Contingent
          214 Heavens Way                                                     Unliquidated
          San Antonio, Texas 78260-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosas, Christine                                                    Contingent
          5935 Kettering Dr                                                   Unliquidated
          San Antonio, Texas 78228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosbrough, Matthew                                                  Contingent
          50 Berkshire Road                                                   Unliquidated
          Ansonia, Connecticut 06401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rose, Theresa                                                       Contingent
          PO Box 72503                                                        Unliquidated
          Phoenix, Arizona 85050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rose-Becker, Misty                                                  Contingent
          9457 Wadena Way                                                     Unliquidated
          Elk Grove, California 95758-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosecrance                                                          Contingent
          1021 North Mulford Road                                             Unliquidated
          Rockford, IL 61107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 940 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 964 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.656
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roselle SD 12                                                       Contingent
          100 East Walnut Street                                              Unliquidated
          Roselle, IL 60172
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosen Hotels & Resorts                                              Contingent
          8990 International Drive, Suite 200                                 Unliquidated
          Orlando, FL 32819
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosenbaum, Kerri                                                    Contingent
          1786 Greenbriar                                                     Unliquidated
          Portage, Michigan 49024-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosenberg, Martin                                                   Contingent
          1507 Anderson Ln                                                    Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosenblum, Richard                                                  Contingent
          118 Christol St.                                                    Unliquidated
          Metuchen, New Jersey 08840-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosenzweig, Penny                                                   Contingent
          16 Heath Street                                                     Unliquidated
          Marlboro, Massachusetts 01752-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ross, Kimyra                                                        Contingent
          5916 Unit B Chesapeake Blvd                                         Unliquidated
          Norfolk, Virginia 23513-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 941 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 965 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.657
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ross, Micheala                                                      Contingent
          25849 Nightingale St Nw                                             Unliquidated
          Isanti, Minnesota 55040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ross, Sinclaire & Associates, LLC                                   Contingent
          700 Walnut Street                                                   Unliquidated
          Suite 600
                                                                              Disputed
          Cincinnati, OH 45202
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.657
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rossel, Rossean                                                     Contingent
          6401 Lincoln Avenue, Apt # 5                                        Unliquidated
          Buena Park, California 90620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosseli, Diana                                                      Contingent
          6094 - 14th St West, Unit 147                                       Unliquidated
          Bradenton, Florida 34207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosser, Mitia                                                       Contingent
          5379 Greenplain Road                                                Unliquidated
          Norfolk, Virginia 23502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rosy Blue, Inc.                                                     Contingent
          529 Fifth Avenue 12th Floor                                         Unliquidated
          New York, NY 10017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rotella, Heather                                                    Contingent
          1022 W Ross St                                                      Unliquidated
          Lancaster, Pennsylvania 17603-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 942 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 966 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.658
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roth, Heidi                                                         Contingent
          269 Appleton Street                                                 Unliquidated
          Arlington, Massachusetts 02476-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roth, Katherine                                                     Contingent
          217 Edinburgh Crt                                                   Unliquidated
          Bolingbrook, Illinois 60440-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roth, Kimberly                                                      Contingent
          404 W Maple Rd                                                      Unliquidated
          Linthicum, Maryland 21090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roth, Samantha                                                      Contingent
          2505 Parsley Lane                                                   Unliquidated
          Springfield, Illinois 62711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roth, Tracy                                                         Contingent
          7 N Gibbons Avenue                                                  Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rothenberg, Barbara                                                 Contingent
          15101 Interlachen Drive, # 814                                      Unliquidated
          Silver Spring, Maryland 20906-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rotondo, Richard                                                    Contingent
          157 Mt Vernon Road East                                             Unliquidated
          Weymouth, Massachusetts 02189-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 943 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 967 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.658
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rouiller, Donna                                                     Contingent
          3343 Sudlersville South                                             Unliquidated
          Laurel, Maryland 20724-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roukema, Brier                                                      Contingent
          871 Tower Street                                                    Unliquidated
          Meridian, Mississippi 39305-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rountree, Roshni                                                    Contingent
          11450 Lockwood Dr                                                   Unliquidated
          Silver Spring, Maryland 20904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rowel, Harwanda                                                     Contingent
          15727 Cutten Rd #419                                                Unliquidated
          Houston, Texas 77070-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.00
          Rowland Flatt Clinic dba Hugo Medical Cl                            Contingent
          1201 E Jackson                                                      Unliquidated
          Hugo, OK 74743
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rowland, Ann                                                        Contingent
          4117 N Central Park Avenue                                          Unliquidated
          Chicago, Illinois 60618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rowland-Taylor, Kenoisha                                            Contingent
          1704 Beacon Pointe Lane                                             Unliquidated
          Dickinson, Texas 77539-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 944 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 968 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.659
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rowley, Lenora                                                      Contingent
          335 Tinkham Ct.                                                     Unliquidated
          Colorado Springs, Colorado 80911-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rowley-Pacheco, Merari                                              Contingent
          57 Tindale Drive                                                    Unliquidated
          Rochester, New York 14622-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roy E Whitehead, Inc.                                               Contingent
          2245 Via Cerro                                                      Unliquidated
          Riverside, CA 92509
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roy, Barbara                                                        Contingent
          56 South 39th Street                                                Unliquidated
          Harrisburg, Pennsylvania 17109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Royal T Management                                                  Contingent
          7419 N Cedar Avenue #102                                            Unliquidated
          Fresno, CA 93720
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Royce, Antonette                                                    Contingent
          261 Newbury St. Lot 20                                              Unliquidated
          Peaboy, Massachusetts 01960-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Roye, Claudia                                                       Contingent
          61 Linden Street Apt 3D                                             Unliquidated
          Hackensack, New Jersey 07601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 945 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 969 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.660
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Royer, Allyson                                                      Contingent
          6 Stephen Drive                                                     Unliquidated
          Stratham, New Hampshire 03885-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,295.00
          RSM US LLP                                                          Contingent
          5155 Paysphere Circle                                               Unliquidated
          Chicago, IL 60674
                                                                              Disputed
          Date(s) debt was incurred 4/22/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rubenstein Associates, Inc.                                         Contingent
          825 Eighth Avenue, 34th Floor                                       Unliquidated
          New York, NY 10019
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rubin, Bonnie                                                       Contingent
          14 Stanfield Lane                                                   Unliquidated
          Broomall, Pennsylvania 19008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rubio, Diane                                                        Contingent
          PO Box 953                                                          Unliquidated
          Kittitas, Washington 98934-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rubio, Samuel                                                       Contingent
          236 Flanders E                                                      Unliquidated
          Delray Beach, Florida 33484-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rucker's Wholesale                                                  Contingent
          777 E State St.                                                     Unliquidated
          Bridgeport, IL 62417
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 946 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 970 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.661
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rucker, Karen                                                       Contingent
          827 N Mozart St                                                     Unliquidated
          2nd Floor
                                                                              Disputed
          Chicago, Illinois 60622-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.661
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rucker, Napoleon                                                    Contingent
          2255 West 111th Street                                              Unliquidated
          Chicago, Illinois 60643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rudder, Jasmine                                                     Contingent
          7230 S Euclid                                                       Unliquidated
          Chicago, Illinois 60649-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rude, Katie                                                         Contingent
          538 West Main Street                                                Unliquidated
          Bloomsburg, Pennsylvania 17815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rude, Zackary                                                       Contingent
          36625 25th Ave S                                                    Unliquidated
          Federal Way, Washington 98003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rudolph Foods Company                                               Contingent
          6575 Bellefontaine Rd                                               Unliquidated
          Lima, OH 45804
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rueck, Bryndle                                                      Contingent
          2611 Se 64th                                                        Unliquidated
          Portland, Oregon 97206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 947 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 971 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.661
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruedy, Diane                                                        Contingent
          8025 S Linden                                                       Unliquidated
          Burbank, Illinois 60459-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rufus, Carol                                                        Contingent
          3913 Gannon Ln #512                                                 Unliquidated
          Dallas, Texas 75237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruggles, Katherine                                                  Contingent
          6210 Crestwood Drive                                                Unliquidated
          Alexandria, Virginia 22312-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruiz Foods                                                          Contingent
          501 S Alta Ave                                                      Unliquidated
          Dinuba, CA 93618
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruiz, Carlos                                                        Contingent
          512 Jefferson Avenue                                                Unliquidated
          Bristol, Pennsylvania 19007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruiz, Elsa                                                          Contingent
          8116 west 46th st                                                   Unliquidated
          Lyons, Illinois 60534-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruiz, Miguel                                                        Contingent
          13858 SW 155th Ct                                                   Unliquidated
          Miami, Florida 33196-6050
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 948 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 972 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.662
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rukert Terminals Corporation                                        Contingent
          2021 S Clinton St                                                   Unliquidated
          Baltimore, MD 21224
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rummel Construction, Inc.                                           Contingent
          7250 E Adobe Drive                                                  Unliquidated
          Scottsdale, AZ 85225
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rumsey Electric Company                                             Contingent
          15 Colwell Lane                                                     Unliquidated
          Conshohocken, PA 19428
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rumsey, Hannah                                                      Contingent
          Po Box 1501                                                         Unliquidated
          Snyder, Texas 79550-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Runnels, Kimberly                                                   Contingent
          5951 Stafford Way                                                   Unliquidated
          Indianapolis, Indiana 46228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rupke, Gerri                                                        Contingent
          16230 Barbarossa                                                    Unliquidated
          Houston, Texas 77083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruppert, Jane                                                       Contingent
          1421 Juliet Lane                                                    Unliquidated
          Libertyville, Illinois 60048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 949 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 973 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.663
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruscitti, Arabelle                                                  Contingent
          7 W Beechwood Ct                                                    Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rush                                                                Contingent
          1653 W Congress Pkwy                                                Unliquidated
          Chicago, IL 60612
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rush Copley (Aurora)                                                Contingent
          2000 Ogden Avenue                                                   Unliquidated
          Aurora, IL 60504
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rush, Daniel                                                        Contingent
          4481 Birchwold Road                                                 Unliquidated
          South Euclid, Ohio 44121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Russelburg, Cameron                                                 Contingent
          6229 Hargray Court                                                  Unliquidated
          Noblesville, Indiana 46062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Russell Reid, Inc.                                                  Contingent
          450 Raritan Center Parkway, Su                                      Unliquidated
          Edison, NJ 08837
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Russell, Beverly                                                    Contingent
          289 Woodlawn Drive                                                  Unliquidated
          Tipp City, Ohio 45371-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 950 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 974 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.663
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Russell, Brandon                                                    Contingent
          3824 Cravath Drive                                                  Unliquidated
          Nashville, Tennessee 37207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Russell, Dana                                                       Contingent
          440 Rust Court                                                      Unliquidated
          Grand Junction, Colorado 81507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Russell, Janay                                                      Contingent
          13815 S Stewart Ave                                                 Unliquidated
          Chicago, Illinois 60827-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Russell, Nikkia                                                     Contingent
          216 Oquaga Lake Rd                                                  Unliquidated
          Deposit, New York 13754-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Russo, Lina                                                         Contingent
          24 Gay Street                                                       Unliquidated
          Quincy, Massachusetts 02169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ruzicka, Shelly                                                     Contingent
          6529 W 26th Place                                                   Unliquidated
          Berwyn, Illinois 60402-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryan Automotive LLC                                                 Contingent
          200 Carter Dr # D                                                   Unliquidated
          Edison, NJ 08817
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 951 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 975 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.664
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryan Companies US, Inc.                                             Contingent
          533 S Third St Suite 100                                            Unliquidated
          Minneapolis, MN 55415
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryan, Beth                                                          Contingent
          843 Cartier Drive                                                   Unliquidated
          Canal Fulton, Ohio 44614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryan, Kevin                                                         Contingent
          9735 Amberwood Ct                                                   Unliquidated
          Loveland, Ohio 45140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryan, Michael                                                       Contingent
          155 Roshon Drive                                                    Unliquidated
          Medina, Ohio 44256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryan, Michelle                                                      Contingent
          845 First Street NW #4                                              Unliquidated
          Rochester, Minnesota 55901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryback, Sean                                                        Contingent
          881 Thomas Ave                                                      Unliquidated
          Apt. 21
                                                                              Disputed
          San Diego, California 92109-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.665
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryckaert, Candice                                                   Contingent
          6505 Prairie Dunes Drive                                            Unliquidated
          Grand Blanc, Michigan 48439-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 952 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 976 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.665
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ryzhkova, Viktoriya                                                 Contingent
          4858 Craine                                                         Unliquidated
          Skokie, Illinois 60077-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          S.W. Rodgers Company, Inc                                           Contingent
          5816 Wellington Road                                                Unliquidated
          Gainesville, VA 20155
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sabade, Natasha                                                     Contingent
          1412 Cavendish Dr                                                   Unliquidated
          Silver Spring, Maryland 20905-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sabillon, Lianny                                                    Contingent
          15847 Hayland St                                                    Unliquidated
          La Puente, California 91744-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sacaton Elementary School District #18                              Contingent
          150 Skill Center Dr                                                 Unliquidated
          Sacaton, AZ 85147
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sacuta, Andrew                                                      Contingent
          132 Charing Cross Rd                                                Unliquidated
          Lombard, Illinois 60148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sacuta, Samantha                                                    Contingent
          4443 Grace St                                                       Unliquidated
          Schiller Park, Illinois 60176-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 953 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 977 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.665
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saddle Mountain Unified School District                             Contingent
          38201 W Indian School Road                                          Unliquidated
          Tonopah, AZ 85354
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sadiq, Muhibb                                                       Contingent
          5736 Main Street                                                    Unliquidated
          Morton Grove, Illinois 60053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sadowski, Amy                                                       Contingent
          6010 Eagle Point Dr                                                 Unliquidated
          Racine, Wisconsin 53406-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saedi, Dena                                                         Contingent
          4827 Shafter Ave                                                    Unliquidated
          Oakland, California 94609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saenz, Magan                                                        Contingent
          5421 Hidalgo St, Unit A                                             Unliquidated
          Houston, Texas 77056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saenz, Noemi                                                        Contingent
          408 Grover Street                                                   Unliquidated
          Joliet, Illinois 60432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saffran, Sarah                                                      Contingent
          919 Magnolia Blossom Ct                                             Unliquidated
          sykesville, Maryland 21784-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 954 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 978 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.666
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sagrero, Andrea                                                     Contingent
          3704 Tacoma St                                                      Unliquidated
          Union Gap, Washington 98903-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saha, Avishek                                                       Contingent
          1647 Isabella Pkwy                                                  Unliquidated
          Chaska, Minnesota 55318-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sahuarita Unified School District                                   Contingent
          350 West Sahuarita Road                                             Unliquidated
          Sahuarita, AZ 85629
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.666
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saint Anne Elementary School                                        Contingent
          District Office                                                     Unliquidated
          100 B.W. Dixie Highway
                                                                              Disputed
          Saint Anne, IL 60964
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.667
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saint Viator High School                                            Contingent
          1213 E. Oakton Street                                               Unliquidated
          Arlington Heights, IL 60004
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sainz, Karina                                                       Contingent
          1139 W. Broadway                                                    Unliquidated
          Anaheim, California 92805-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sajatovic, Laura                                                    Contingent
          38 Pebble Hollow Ct                                                 Unliquidated
          The Woodlands, Texas 77381-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 955 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 979 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.667
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SAK Construction, LLC                                               Contingent
          864 Hoff Rd.                                                        Unliquidated
          O'Fallon, MO 63366
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salamanca, Norberto                                                 Contingent
          4857 Bringhton Lakes Blvd                                           Unliquidated
          Boynton, Florida 33436-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salas, Natanael                                                     Contingent
          601 Morris Ave, Apt 2F                                              Unliquidated
          Bronx, New York 10451-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salazar, Jessica                                                    Contingent
          720 Waterwood Ln                                                    Unliquidated
          Mesquite, Texas 75181-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salazar, Tara                                                       Contingent
          525 Georgetown Avenue, Apt G28                                      Unliquidated
          Elyria, Ohio 44035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saldana, Michael                                                    Contingent
          3607 S Lamar Blvd                                                   Unliquidated
          Apt # 1264
                                                                              Disputed
          Austin, Texas 78704-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.667
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saldivar, David                                                     Contingent
          4650 Bowie RD                                                       Unliquidated
          Apt 325
                                                                              Disputed
          Brownsville, Texas 78521-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 956 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 980 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.668
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saleem, Nafeesa                                                     Contingent
          PO Box 360565                                                       Unliquidated
          Decator, Georgia 30036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.00
          Salem Occupational Health Clinic                                    Contingent
          P.O Box 8145                                                        Unliquidated
          Salem, OR 97303
                                                                              Disputed
          Date(s) debt was incurred 4/6/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salem, Stephanie                                                    Contingent
          2960 Viking Drive                                                   Unliquidated
          Commerce Township, Michigan 48390-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,375.87
          Sales Empowerment Group LLC                                         Contingent
          17 N State Street                                                   Unliquidated
          Suite 600
                                                                              Disputed
          Chicago, IL 60602
          Date(s) debt was incurred 4/30/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.668
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $216,175.20
          Salesforce.com Inc- IH                                              Contingent
          P.O Box 203141                                                      Unliquidated
          Dallas, TX 75320-3141
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saletnik, Marisa                                                    Contingent
          145 N Clyde Avenue                                                  Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saletnik, Stephanie                                                 Contingent
          145 N Clyde Ave                                                     Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 957 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 981 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.668
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salic Ajmac, Maria                                                  Contingent
          3913 Gettysburg St.                                                 Unliquidated
          Midland, Michigan 48642-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salinas, Grecia                                                     Contingent
          3570 Old Chamblee Tucker Rd #5                                      Unliquidated
          Atlanta, Georgia 30340-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salinas, Leslie                                                     Contingent
          1525 Holcomb Bridge Rd, Apt B                                       Unliquidated
          Norcross, Georgia 30092-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salinas, Shanta                                                     Contingent
          4805 Walnut St                                                      Unliquidated
          McAllen, Texas 78501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sally Willis                                                        Contingent
          1539 Greenleaf Ave                                                  Unliquidated
          Lake Forest, IL 60045
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salman, Ashli                                                       Contingent
          13221 Hardy St, Apt 12212                                           Unliquidated
          Overland Park, Kansas 66213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salman, Joan                                                        Contingent
          30 South Shore Dr                                                   Unliquidated
          Orchard Park, New York 14127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 958 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 982 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.669
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salmon, Cass                                                        Contingent
          5005 N 113th Circle                                                 Unliquidated
          Omaha, Nebraska 68164-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salmon, Matthew                                                     Contingent
          5005 N. 113th Circle                                                Unliquidated
          Omaha, Nebraska 68164-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salomone, Timothy                                                   Contingent
          212 Suelynn Drive                                                   Unliquidated
          Normal, Illinois 61761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Salvador, Leandro                                                   Contingent
          3703 Northgreen Ave APT 2115                                        Unliquidated
          Tampa, Florida 33624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sam, Abaida                                                         Contingent
          67 Manhattan Ave #13n                                               Unliquidated
          Brooklyn, New York 11206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sam, Delatria                                                       Contingent
          4333 Ward Bluff Court                                               Unliquidated
          Ellenwood, Georgia 30294-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Samaritan Health Plans                                              Contingent
          815 NW Ninth Street, Suite 101                                      Unliquidated
          Corvallis, OR 97339
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 959 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 983 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.670
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sampedro, Marc                                                      Contingent
          7434 Sw 127th Court                                                 Unliquidated
          Miami, Florida 33183-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sample, Rodney                                                      Contingent
          1816 N. Spaulding, Unit 7                                           Unliquidated
          Chicago, Illinois 60647-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Samsung Research America                                            Contingent
          665 Clyde Avenue                                                    Unliquidated
          Mountain View, CA 94043
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Samsung Semiconductor, Inc.                                         Contingent
          3655 N. First Street                                                Unliquidated
          San Jose, CA 95134
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Samuel, Son & Co. (USA) Inc.                                        Contingent
          445 W. Oklahoma Ave                                                 Unliquidated
          Milwaukee, WI 53207
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          San Antonio River Authority                                         Contingent
          100 E Guenther Street                                               Unliquidated
          San Antonio, TX 78204
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanchez, Adriana                                                    Contingent
          4112 Whistler Ave                                                   Unliquidated
          Albuquerque, New Mexico 87114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 960 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 984 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.670
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanchez, Bryan                                                      Contingent
          14431 Cellini Dr                                                    Unliquidated
          Cypress, Texas 77429-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanchez, Carlos                                                     Contingent
          7990 East Snyder Road                                               Unliquidated
          Apt 3104
                                                                              Disputed
          Tucson, Arizona 85750-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.671
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanchez, Debra                                                      Contingent
          1404 Russell Hollow Rd                                              Unliquidated
          Sevierville, Tennessee 37876-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanchez, Jackelin                                                   Contingent
          4203 June St                                                        Unliquidated
          Houston, Texas 77016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanchez, Jonathan                                                   Contingent
          212 Tanglewood Court                                                Unliquidated
          Round Lake, Illinois 60073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanchez, Julian                                                     Contingent
          1404 Russell Hollow Rd                                              Unliquidated
          Sevierville, Tennessee 37876-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sancken, Christina                                                  Contingent
          1489 Druid Valley Dr. NE                                            Unliquidated
          Apt. F
                                                                              Disputed
          Atlanta, Georgia 30329-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 961 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 985 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.671
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanders, Crystal                                                    Contingent
          5239 Swearngan Road                                                 Unliquidated
          Charlotte, North Carolina 28216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanders, Darlene                                                    Contingent
          1124 Clement                                                        Unliquidated
          Joliet, Illinois 60435-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanders, Gillian                                                    Contingent
          1536 Atlantic Ave                                                   Unliquidated
          Lemoore, California 93245-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanders, Joyce                                                      Contingent
          134 F Little Bay Landing                                            Unliquidated
          Yorktown, Virginia 23693-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanders, Kevin                                                      Contingent
          3931 Shaw Blvd                                                      Unliquidated
          Saint Louis, Missouri 63110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.672
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanders, Tyler                                                      Contingent
          2042 W Condie Dr                                                    Unliquidated
          Taylorsville, Utah 84129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.672
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanders, Warren                                                     Contingent
          25817 Karen Rd                                                      Unliquidated
          Katy, Texas 77494-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 962 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 986 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.672
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanders/Wingo Advertising, Inc.                                     Contingent
          221 N. Kansas                                                       Unliquidated
          Suite 900
                                                                              Disputed
          El Paso, TX 79901
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.672
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sands, Megan                                                        Contingent
          265 Scenic Rd                                                       Unliquidated
          Fairfax, California 94930-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.672
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sandwisch, Michelle                                                 Contingent
          7140 Maumee Western Road                                            Unliquidated
          Maumee, Ohio 43537-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.672
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          Sanford Bismark Occupational Medicine                               Contingent
          2603 E Broadway Ave                                                 Unliquidated
          Bismarck, ND 58501
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.672
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanford, Makenzie                                                   Contingent
          6250 Vassar Rd                                                      Unliquidated
          Grand Blanc, Michigan 48439-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.672
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanford, Melanie                                                    Contingent
          100 Dublin Ct. Apt. 327                                             Unliquidated
          Mankato, Minnesota 56001-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.672
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sanner, Matthew                                                     Contingent
          1640 N Zaragoza Rd, APT 436                                         Unliquidated
          El Paso, Texas 79936-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 963 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 987 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.672
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sansone, Brielle                                                    Contingent
          664 Tremont St.                                                     Unliquidated
          Apt. 4
                                                                              Disputed
          Boston, Massachusetts 02118-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.673
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sant, Emilee                                                        Contingent
          7509 Carolina Lane                                                  Unliquidated
          Vancouver, Washington 98664-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santa Cruz Valley Unified District #35                              Contingent
          131 Camino Maricopa                                                 Unliquidated
          Rio Rico, AZ 85648
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santalucia, Theresa                                                 Contingent
          1587 Burgoyne Road                                                  Unliquidated
          Downingtown, Pennsylvania 19335-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santana, Sonyia                                                     Contingent
          14656 N 90th Ave                                                    Unliquidated
          Peoria, Arizona 85259-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santella, Alicia                                                    Contingent
          620 South Mueller Street                                            Unliquidated
          Appleton, Wisconsin 54914-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santerre, Brittney                                                  Contingent
          3406 Bryson Drive                                                   Unliquidated
          Richmond, Virginia 23233-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 964 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 988 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.673
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santiago, Amanda                                                    Contingent
          3227 Ernst St                                                       Unliquidated
          Franklin Park, Illinois 60131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santiago, Diane                                                     Contingent
          10 Nursery Way                                                      Unliquidated
          So. San Francisco, California 94080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santiago, Juan                                                      Contingent
          1376 Lorraine Pl                                                    Unliquidated
          Schaumburg, Illinois 60173-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santiago, Kristina                                                  Contingent
          1176 Moontone Run                                                   Unliquidated
          Lake in the Hills, Illinois 60156-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santibanez, Sandra                                                  Contingent
          1350 Skyline Rd, Apt 617                                            Unliquidated
          Grand Prairie, Texas 75051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Santin-Alas, Paulina                                                Contingent
          4532 Hale St                                                        Unliquidated
          The Colony, Texas 75056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sapon, Maryanne                                                     Contingent
          10726 Cedar Creek Dr                                                Unliquidated
          Houston, Texas 77042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 965 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 989 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.674
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saqib, Sundal                                                       Contingent
          295 Evans Street, Apt 1                                             Unliquidated
          Williamsville, New York 14221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sarah Ahto                                                          Contingent
          3524 University Ave                                                 Unliquidated
          Highland Park, IL 60035
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.00
          Sarah Bush Lincoln                                                  Contingent
          1000 Health Center Drive                                            Unliquidated
          Mattoon, IL 61938
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sargent, Alice                                                      Contingent
          3 Pittler Drive                                                     Unliquidated
          Greenville, South Carolina 29607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sarkaria, Ranminder                                                 Contingent
          596 Etruscan Ct                                                     Unliquidated
          Fairfield, California 94534-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sarmiento, Rosalyn                                                  Contingent
          11021 Apricot Street                                                Unliquidated
          Oakland, California 94603-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saros, Melanie                                                      Contingent
          13 W Aldon Court                                                    Unliquidated
          Montgomery, Illinois 60538-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 966 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 990 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.675
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SASED                                                               Contingent
          6 S. 331 Cornwall Road                                              Unliquidated
          Naperville, IL 60540
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sashco, Inc.                                                        Contingent
          10300 E. 107th Place                                                Unliquidated
          Brighton, CO 80601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Satcher, Brushando                                                  Contingent
          717 Beacon Bend Circle                                              Unliquidated
          Shreveport, Louisiana 71118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Satterfield & Pontikes Construction, Inc                            Contingent
          11000 Equity Drive, Suite 100                                       Unliquidated
          Houston, TX 77041
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Satterlee, Eliana                                                   Contingent
          22 Woodland Dr. #1                                                  Unliquidated
          Suffern, New York 10901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Satterwhite, Courtney                                               Contingent
          335 East Meadow Lane                                                Unliquidated
          P.O. Box 247
                                                                              Disputed
          White Oak, North Carolina 28399-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.675
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sauber, Kelley                                                      Contingent
          23040 Britt Way                                                     Unliquidated
          Carrollton, Virginia 23314-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 967 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 991 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.675
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sauder, Paula                                                       Contingent
          2580 Moffet Rd                                                      Unliquidated
          Lucas, Ohio 44843-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sauder, Vicki                                                       Contingent
          2538 Kerr Road                                                      Unliquidated
          Lucas, Ohio 44843-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sauk Village - Community Consolidated SD                            Contingent
          21899 S. Torrence Ave.                                              Unliquidated
          Sauk Village, IL 60411
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saulnier, Jacklyn                                                   Contingent
          3415 Krischke Rd.                                                   Unliquidated
          Schulenburg, Texas 78956-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saunders, Erica                                                     Contingent
          1914 Scaffold Way                                                   Unliquidated
          Odenton, Maryland 21113-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saunders, Lindsay                                                   Contingent
          PO Box 1362                                                         Unliquidated
          Pine Lake, Georgia 30072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Savadsky, Sheryl                                                    Contingent
          4400 South Quebec St, G106                                          Unliquidated
          Denver, Colorado 80237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 968 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 992 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.676
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Savage, Caton                                                       Contingent
          3319 E Marshall St                                                  Unliquidated
          Richmond, Virginia 23223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Savage, Cynthia                                                     Contingent
          17 Vernon Ct                                                        Unliquidated
          Fairfield, Ohio 45014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Savage, Lora                                                        Contingent
          107 Upper Glen Drive                                                Unliquidated
          Blythewood, South Carolina 29016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Savasta, Rachel                                                     Contingent
          176 Lasalle Ave                                                     Unliquidated
          Kenmore, New York 14217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Savickas, Carly                                                     Contingent
          2063 Warrington Rd                                                  Unliquidated
          Rochester Hills, Michigan 48307-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Savoy, Linnea                                                       Contingent
          46 Klein Drive                                                      Unliquidated
          Prospect, Connecticut 06712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saw, Stephanie                                                      Contingent
          7 Saw Mill Court                                                    Unliquidated
          Newark, Delaware 19711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 969 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 993 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.677
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Saxon, Jasmond                                                      Contingent
          1397 Flatbush Avenue                                                Unliquidated
          2nd Floor
                                                                              Disputed
          Brooklyn, New York 11210-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.677
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sayers, Kathy                                                       Contingent
          2S300 Arrowhead Dr                                                  Unliquidated
          Wheaton, Illinois 60189-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SBA Acquisition Company Inc. dba Switchb                            Contingent
          618 Lamont Rd.                                                      Unliquidated
          Elmhurst, IL 60126
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SBC                                                                 Contingent
          2010 Gilkerson Dr.                                                  Unliquidated
          Bozeman, MT 59715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SCA Employees of Maximus Services, LLC                              Contingent
          701 Liberty Way                                                     Unliquidated
          Chester, VA 23836
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schaefer, Rachel                                                    Contingent
          17208 Whiteley Road                                                 Unliquidated
          Monkton, Maryland 21111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schaefer, Spencer                                                   Contingent
          24 Point Airy Rd                                                    Unliquidated
          Pilesgrove, New Jersey 08098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 970 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 994 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.677
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schaeffer, Andrea                                                   Contingent
          7234 Althorp Way Apt U1                                             Unliquidated
          Nashville, Indiana 37211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schafer, Kelsie                                                     Contingent
          25590 Prospect Ave                                                  Unliquidated
          35F
                                                                              Disputed
          Loma Linda, California 92355-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.678
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schall, Breyette                                                    Contingent
          1724 Parkside Drive                                                 Unliquidated
          Minot, North Dakota 58701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schaper, Carmen                                                     Contingent
          1410 SW 8th Ave                                                     Unliquidated
          Florida City, Florida 33034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scharman, Aubreya                                                   Contingent
          1004 W. Tuscany View Rd                                             Unliquidated
          Apt B34
                                                                              Disputed
          Midvale, Utah 84047-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.678
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schell, Matthew                                                     Contingent
          1563 Tempest Court                                                  Unliquidated
          Bozeman, Montana 59718-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scherf, Kayla                                                       Contingent
          1308 N. 112 Ct, Apt 6314                                            Unliquidated
          Omaha, Nebraska 68154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 971 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 995 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.678
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scherl, Tamara                                                      Contingent
          28 Brookview Road                                                   Unliquidated
          Denville, New Jersey 07834-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scherry, Katie                                                      Contingent
          2539 Hampton Rd                                                     Unliquidated
          Rocky River, Ohio 44116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scherzinger, Jason                                                  Contingent
          5180 Poets Way                                                      Unliquidated
          Liberty Township, Ohio 45011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scherzinger, Kathy                                                  Contingent
          344 Pelzer Road                                                     Unliquidated
          Boonsville, Indiana 47601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scherzinger, Lamia                                                  Contingent
          5180 Poets Way                                                      Unliquidated
          Liberty Township, Ohio 45011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schiff Hardin                                                       Contingent
          233 South Wacker Dr., Ste. 6600                                     Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schlabach, Andrea                                                   Contingent
          2 Turtle Pointe                                                     Unliquidated
          Monticello, Illinois 61856-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 972 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 996 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.679
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schlag, Kate                                                        Contingent
          2214 Prince St                                                      Unliquidated
          Berkeley, California 94705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schlaikowski, Samantha                                              Contingent
          4244 Duquesne Ave #7                                                Unliquidated
          Culver City, California 90232-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schlei, Anne                                                        Contingent
          417 E 3rd St                                                        Unliquidated
          Sandwich, Illinois 60548-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schlenkerman, Julie                                                 Contingent
          11108 Darrow Rd                                                     Unliquidated
          Vermilion, Ohio 44089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schlesselman, Chase                                                 Contingent
          17055 Demi Drive                                                    Unliquidated
          Belton, Missouri 64012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schloss, Judith                                                     Contingent
          286 Haverford Court                                                 Unliquidated
          Schaumburg, Illinois 60173-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.679
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schmid, Samantha                                                    Contingent
          2431 N 63rd St                                                      Unliquidated
          Wauwatosa, Wisconsin 81336-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 973 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 997 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.679
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schmidlin, Kelvin                                                   Contingent
          3499 Lewis Rd                                                       Unliquidated
          Xenia, Ohio 45385-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schmidt, Diane                                                      Contingent
          62 Wren Hill Road                                                   Unliquidated
          Sautee Nacoocke, Georgia 30571-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schmidt, Janice                                                     Contingent
          601 E Ogden AVE                                                     Unliquidated
          Unit 610
                                                                              Disputed
          Milwaukee, Wisconsin 53202-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.680
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schmidt, Peter                                                      Contingent
          1823 W Thornwood Lane                                               Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schmitt, Cynthia                                                    Contingent
          3243 Upton Ave North                                                Unliquidated
          Minneapolis, Minnesota 55412-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schmulevich, Alexandra                                              Contingent
          3604 Parkview Ave, APT 1                                            Unliquidated
          Pittsburgh, Pennsylvania 15213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schnable, Kevin                                                     Contingent
          7611 Wooded Court                                                   Unliquidated
          Barnhart, Missouri 63012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 974 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 998 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.680
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schneck, Susan                                                      Contingent
          21 Sunnyhill Drive                                                  Unliquidated
          Pittsburgh, Pennsylvania 15228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schneider Electric                                                  Contingent
          200 N. Martingale Rd Suite 1000                                     Unliquidated
          Schaumburg, IL 60067
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schneider Electric - MA                                             Contingent
          6700 Tower Circle                                                   Unliquidated
          Franklin, TN 37067
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.680
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schneider, Andrea                                                   Contingent
          223 Polling House Rd                                                Unliquidated
          Harwood, Maryland 20776-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schneider, Lydia                                                    Contingent
          3305 S. Silver Street                                               Unliquidated
          Wichita, Kansas 67217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schneidewind, Lynnette                                              Contingent
          3349 Aspen Drive Apt 5103                                           Unliquidated
          Lake Orion, Michigan 48359-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schnoor, Melissa                                                    Contingent
          1201 Westwood Street                                                Unliquidated
          Pascagoula, Mississippi 39567-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 975 of 1226
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                               Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 999 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.681
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.50
          Schoenbeck, Michael                                                 Contingent
          215 North Pine Street                                               Unliquidated
          Arlington Heights, IL 60004
                                                                              Disputed
          Date(s) debt was incurred 12/4/2014
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schoeneman, Larry                                                   Contingent
          1320 Marcy Lane                                                     Unliquidated
          Wheeling, Illinois 60090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schoeneman, Rachel                                                  Contingent
          118 Audrey Lane                                                     Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          School District 45, Dupage County                                   Contingent
          225 W. Vermont St                                                   Unliquidated
          Villa Park, IL 60181
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schrader, Ashley                                                    Contingent
          1510 South Raber Road                                               Unliquidated
          Columbia City, Indiana 46725-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schrader-Bonde, Carole                                              Contingent
          3790 Grey Dove Lane                                                 Unliquidated
          Eagan, Minnesota 55122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schrage, Sheryl                                                     Contingent
          20125 Hackberry Drive                                               Unliquidated
          Gretna, Nebraska 68028-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 976 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1000 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.682
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schroeder, Courtney                                                 Contingent
          600 11th Avenue N                                                   Unliquidated
          Apt 612
                                                                              Disputed
          Nashville, Tennessee 37203-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.682
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schroeder, Donald                                                   Contingent
          76 Carrol Gate Road                                                 Unliquidated
          Wheaton, Illinois 60189-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schroeder, Kathryn                                                  Contingent
          622 Lone Oak Road                                                   Unliquidated
          New Braunfels, Texas 78132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schuberth, Kaitlyn                                                  Contingent
          153 Tamarack Dr                                                     Unliquidated
          Bolingbrook, Illinois 60440-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schuckman, Courtney                                                 Contingent
          26299 Ingram                                                        Unliquidated
          Brownstown, Michigan 48174-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schueller, Katie                                                    Contingent
          610 5th St NW                                                       Unliquidated
          Richmond, Minnesota 56368-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schulte, Megan                                                      Contingent
          1844 Willowgreen Dr                                                 Unliquidated
          Beavercreek, Ohio 45432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 977 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1001 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.682
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schultz, Carol                                                      Contingent
          3928 North Troy                                                     Unliquidated
          Chicago, Illinois 60618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schultz, Julie                                                      Contingent
          29 Markey Street                                                    Unliquidated
          Lancaster, New York 14086-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schultz, Kimberly                                                   Contingent
          234 Pomeroy Ave                                                     Unliquidated
          Apt 1E
                                                                              Disputed
          Crystal Lake, Illinois 60014-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.683
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schulz, Adam                                                        Contingent
          261 Bridlewood Cir                                                  Unliquidated
          Lake in the Hills, Illinois 60156-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schulze & Burch Biscuit Company                                     Contingent
          1133 W. 35th St.                                                    Unliquidated
          Chicago, IL 60609
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schulze, Kelly                                                      Contingent
          349 Basswood Court                                                  Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schuman, Susan                                                      Contingent
          6700 Chippewa Dr                                                    Unliquidated
          Baltimore, Maryland 21209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 978 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1002 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.683
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schutt Sports                                                       Contingent
          610 S. Industrial Drive                                             Unliquidated
          Litchfield, IL 62056
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schwager, Olivia                                                    Contingent
          12820 Herrod Drive                                                  Unliquidated
          Sterling Heights, Michigan 48313-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schwan, Kelsey                                                      Contingent
          30 Lancaster Lane                                                   Unliquidated
          Orchard Park, New York 14127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schwartz, Jeremy                                                    Contingent
          894 Swallow Court                                                   Unliquidated
          Deerfield, Illinois 60015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schweighart, Richard                                                Contingent
          860 W. Blackhawk St                                                 Unliquidated
          Unit 2605
                                                                              Disputed
          Chicago, Illinois 60642-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.683
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schwenke, Brad                                                      Contingent
          1505 N. Artesian Ave.                                               Unliquidated
          Unit 2
                                                                              Disputed
          Chicago, Illinois 60622-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.684
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scobee, Alyssia                                                     Contingent
          6191 Garden St.                                                     Unliquidated
          Frederick, Colorado 80530-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 979 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1003 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.684
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott Construction, Inc.                                            Contingent
          560 Monroe Ave.                                                     Unliquidated
          P O Box 340
                                                                              Disputed
          Lake Delton, WI 53940
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.684
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott Credit Union                                                  Contingent
          101 Credit Union Way                                                Unliquidated
          Edwardsville, IL 62025
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.684
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Alexis                                                       Contingent
          1867 Kingsley Avenue                                                Unliquidated
          Akron, Ohio 44313-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.684
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Amber                                                        Contingent
          660 - 2nd St, Apt C                                                 Unliquidated
          Hermosa Beach, California 90254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.684
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Cheri                                                        Contingent
          503 South Gray Street                                               Unliquidated
          Pocola, Oklahoma 74902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.684
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Davonte                                                      Contingent
          20224 - 47th Ave E                                                  Unliquidated
          Spanaway, Washington 98387-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.684
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Julia                                                        Contingent
          16327 Deer Chase Loop                                               Unliquidated
          Orlando, Florida 32828-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 980 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1004 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.684
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Lashanda                                                     Contingent
          10 McCarthy Road                                                    Unliquidated
          Park Forest, Illinois 60466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.684
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Shanique                                                     Contingent
          114 W. 23rd Street                                                  Unliquidated
          Chester, Pennsylvania 19013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Stephanie                                                    Contingent
          310 Heather Lane                                                    Unliquidated
          Apt 1
                                                                              Disputed
          Three Rivers, Michigan 49093-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.685
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott, Susan                                                        Contingent
          40 Village Lane                                                     Unliquidated
          Hanover, Massachusetts 02339-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scott-Sandifer, Rhesa                                               Contingent
          1248 Center Ross Road                                               Unliquidated
          Crown Point, Indiana 46307-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scranton, Sarah                                                     Contingent
          1837 S Whittier Avenue                                              Unliquidated
          Springfield, Illinois 62704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SCREEN North America Holdings, Inc.                                 Contingent
          5110 Tollview Drive                                                 Unliquidated
          Rolling Meadows, IL 60008
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 981 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1005 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.685
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scrimpsher, Amanda                                                  Contingent
          1650 W Glenn Ave                                                    Unliquidated
          Jerome, Illinois 62704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scripps Networks Interactive                                        Contingent
          9721 Sherrill Blvd                                                  Unliquidated
          Knoxville, TN 37932
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scroggins, Bree                                                     Contingent
          10213 Bretton Drive                                                 Unliquidated
          Houston, Texas 77016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scruggs, Kelly                                                      Contingent
          800 E. Grand Ave                                                    Unliquidated
          Apt. 24E
                                                                              Disputed
          Carbondale, Illinois 62901-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.685
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Scully, Steven                                                      Contingent
          272 SW Oakridge Drive                                               Unliquidated
          Port St. Lucie, Florida 34984-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sczepucha, Robin                                                    Contingent
          2510 Shoal Creek Drive                                              Unliquidated
          Hampstead, Maryland 21074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SDI                                                                 Contingent
          33 W Monroe St # 400                                                Unliquidated
          Chicago, IL 60603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 982 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1006 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.686
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seabrooks, Breeyana                                                 Contingent
          288 Batson Drive                                                    Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seal & Design (HMNYS)                                               Contingent
          4015 Casillo Parkway                                                Unliquidated
          Clarence, NY 14031
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seal, Stephanie                                                     Contingent
          123 Greenridge Dr                                                   Unliquidated
          Monongahela, Pennsylvania 15063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seales, Jason                                                       Contingent
          6224 - 25th St                                                      Unliquidated
          Lubbock, Texas 79407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seales, Layla                                                       Contingent
          6224 - 25th Street                                                  Unliquidated
          Lubbock, Texas 79407-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sealy, Amara-Nycole                                                 Contingent
          4709 Alenja Lane                                                    Unliquidated
          Raleigh, North Carolina 27616-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sear, Shawn                                                         Contingent
          5020 Roundtree Drive                                                Unliquidated
          Middleville, Michigan 49333-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 983 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1007 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.686
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sears Manufacturing Company                                         Contingent
          1718 South Concord Street                                           Unliquidated
          Davenport, IA 52808
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sears, Farah                                                        Contingent
          PO Box 242                                                          Unliquidated
          Big Lake, Texas 76932-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seasons Hospice & Palliative Care                                   Contingent
          6400 Shafer Ct. Suite 700                                           Unliquidated
          Rosemont, IL 60018
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seavy, Julie                                                        Contingent
          3 Bowers Road                                                       Unliquidated
          Harvard, Massachusetts 01451-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seay, Celeste                                                       Contingent
          1794 Grand ave                                                      Unliquidated
          #10
                                                                              Disputed
          Cincinnati, Ohio 45214-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.687
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sechrist, Corie                                                     Contingent
          402 Dove Drive                                                      Unliquidated
          Uniontown, Pennsylvania 15401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sedgwick, Cortni                                                    Contingent
          2843 White Thorn Cir                                                Unliquidated
          Naperville, Illinois 60564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 984 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1008 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.687
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seeboeck, Kathleen                                                  Contingent
          21 West 550 South                                                   Unliquidated
          Atlanta, Indiana 46031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seeley, Elizabeth                                                   Contingent
          15 Forman Street                                                    Unliquidated
          Cazenovia, New York 13035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Segoviano, Carrie                                                   Contingent
          1483 Oro Grande St                                                  Unliquidated
          Yuba City, California 95993-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.687
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seguil, Paola                                                       Contingent
          2110 N Seminary Ave                                                 Unliquidated
          Apt 15
                                                                              Disputed
          Chicago, Illinois 60614-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.688
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Segura, Diveda                                                      Contingent
          1773 Popps Ferry Road                                               Unliquidated
          C34
                                                                              Disputed
          Biloxi, Mississippi 39532-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.688
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seher, Brenda                                                       Contingent
          14705 Manderson Plaza                                               Unliquidated
          APT 104
                                                                              Disputed
          Omaha, Nebraska 68116-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.688
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seiler, Nicole                                                      Contingent
          3363 W Lake Road                                                    Unliquidated
          Canadaigua, New York 14424-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 985 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1009 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.688
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SEIU HEALTHCARE                                                     Contingent
          2229 S Halsted                                                      Unliquidated
          Suite 122
                                                                              Disputed
          Chicago, IL 60608
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.688
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sell, Catherine                                                     Contingent
          30 Linksland Drive                                                  Unliquidated
          Hutchinson, Kansas 67502-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.688
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Semblex Corporation                                                 Contingent
          900 N. Church Road                                                  Unliquidated
          Elmhurst, IL 60126
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.688
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Semeniuk, Jacqueline                                                Contingent
          141 Morning Glory Dr                                                Unliquidated
          Winchester, Virginia 22602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.688
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Semien, Ki'arra                                                     Contingent
          11100 FM 1960 APT 1336                                              Unliquidated
          Huffman, Texas 77336-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.688
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sen, Top                                                            Contingent
          441 Red Cedar Road                                                  Unliquidated
          Lake Villa, Illinois 60046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.688
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seneca CCSD #170                                                    Contingent
          174 Oak Street                                                      Unliquidated
          Seneca, IL 61360
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 986 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1010 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.689
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seneca Foods Corporation                                            Contingent
          3736 South Main Street                                              Unliquidated
          Marion, NY 14505
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Seneca Township High School                                         Contingent
          307 E. Scott St.                                                    Unliquidated
          Seneca, IL 61360
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Senkus, Malorie                                                     Contingent
          7062 S Jamestown Ct                                                 Unliquidated
          Aurora, Colorado 80016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sepe, Anna Marie                                                    Contingent
          65 Huntington Ave                                                   Unliquidated
          Woonsocket, Rhode Island 02895-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sepulveda, Kristen                                                  Contingent
          6015 April Lane                                                     Unliquidated
          Missoula, Montana 59803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Serlet, Andrea                                                      Contingent
          1731 S Poplar Way                                                   Unliquidated
          Denver, Colorado 80224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Serlin, Danielle                                                    Contingent
          1445 Gordon Terrace                                                 Unliquidated
          Deerfield, Illinois 60015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 987 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1011 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.689
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Serrano Rodriguez, Ivelisse                                         Contingent
          32104 Sagewood Bend Lane                                            Unliquidated
          Spring, Texas 77386-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Serrano, Isabel                                                     Contingent
          240 E. 61 St.                                                       Unliquidated
          Hialeah, Florida 33013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Serrato, Crystal                                                    Contingent
          399 Tee Lane                                                        Unliquidated
          Carpentersville, Illinois 60110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Service Coordination, Inc.                                          Contingent
          5283 Corporate Drive Suite 103                                      Unliquidated
          Frederick, MD 21703
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Servion Global                                                      Contingent
          3 Independence Way                                                  Unliquidated
          Suite 304
                                                                              Disputed
          Princeton, NJ 08540
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.690
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sesar, Patricia                                                     Contingent
          6 Island Park Road                                                  Unliquidated
          Ipswich, Massachusetts 01938-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sessions, Valerie                                                   Contingent
          2245 Central Park Dr                                                Unliquidated
          Campbell, California 95008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 988 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1012 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.690
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Settle, Melissa                                                     Contingent
          1335 Dakota Ridge Lane Apt C                                        Unliquidated
          Indianapolis, Indiana 46217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sewell, Delia                                                       Contingent
          505 SW Eastman Ct                                                   Unliquidated
          Gresham, Oregon 97080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sewerage and Water Board of New Orleans                             Contingent
          625 Saint Joseph Street                                             Unliquidated
          Room 331
                                                                              Disputed
          New Orleans, LA 70165
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.690
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sexton, Maureen                                                     Contingent
          211 Monte Vista Dr                                                  Unliquidated
          Camillus, New York 13031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shackelford, Arthur                                                 Contingent
          4103 Nottingham Ave                                                 Unliquidated
          Pascagoula, Mississippi 39581-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shaddox, Eileen                                                     Contingent
          1156 Mariana Rd                                                     Unliquidated
          Floresville, Texas 78114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.691
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shadle, Astrid                                                      Contingent
          1715 N. 8th St                                                      Unliquidated
          Boise, Idaho 83702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 989 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1013 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.691
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shadow Wood Country Club, Inc.                                      Contingent
          22801 Oakwilde Blvd,                                                Unliquidated
          Bonita Springs, FL 34135
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.691
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shah, Deep                                                          Contingent
          4706 Kolze Ave                                                      Unliquidated
          Schiller Park, Illinois 60176-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.691
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shah, Lakshmi                                                       Contingent
          304 Audubon Road                                                    Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.691
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shah, Nirja                                                         Contingent
          1178 E Cunningham Drive                                             Unliquidated
          Palatine, Illinois 60074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.691
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shah, Sima                                                          Contingent
          812 Camilla                                                         Unliquidated
          Irving, Texas 75039-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.691
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shamrock Technologies, Inc.                                         Contingent
          299 Pacific Street                                                  Unliquidated
          Newark, NJ 07114
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.691
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shannon Gabriel                                                     Contingent
          2438 Prairie Flower Lane                                            Unliquidated
          De Pere, WI 54115
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 990 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1014 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.691
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shapiro Metal Supply                                                Contingent
          9666 Olive                                                          Unliquidated
          Suite 500
                                                                              Disputed
          St Louis, MO 63120
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.691
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shapit, Anthony                                                     Contingent
          7015 Ridge Avenue Unit, 30                                          Unliquidated
          Philadephia, Pennsylvania 19128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sharp, Heather                                                      Contingent
          3553 Lexington Road                                                 Unliquidated
          Richmond, Kentucky 40475-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sharpe, Kim                                                         Contingent
          120 Emerson Ave                                                     Unliquidated
          Hampstead, New Hampshire 03841-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shashtri, Yashvi                                                    Contingent
          880 New Jersey Ave SE Apt.1110                                      Unliquidated
          Washington, District of Columbia 20003-0
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shats, Anthony                                                      Contingent
          2222 University Street                                              Unliquidated
          Crest Hill, Illinois 60403-1819
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shaw Construction                                                   Contingent
          300 Kalamath Street                                                 Unliquidated
          Denver, CO 80223
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 991 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1015 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.692
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shaw, Ashley                                                        Contingent
          1616 W Dallas street                                                Unliquidated
          Apt 116
                                                                              Disputed
          Houston, Texas 77019-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.692
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shaw, Lucy                                                          Contingent
          446 W. Diversey Pkwy                                                Unliquidated
          Chicago, Illinois 60614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shawley, William                                                    Contingent
          1413 S. Jackson Ave                                                 Unliquidated
          Defiance, Ohio 43512-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SHAWNEE COMMUNITY COLLEGE                                           Contingent
          8364 Shawnee College Rd.                                            Unliquidated
          Ullin, IL 62992
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shea, Oliver                                                        Contingent
          12410 Alameda Trace Cir                                             Unliquidated
          # 2312
                                                                              Disputed
          Austin, Texas 78727-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.693
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sheehan, Wendy                                                      Contingent
          2332 York St                                                        Unliquidated
          Quincy, Illinois 62301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sheet Metal Workers Local 38                                        Contingent
          38 Ridge Rd                                                         Unliquidated
          Brewster, NY 10509
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 992 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1016 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.693
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sheet Metal Workers Local No. 71                                    Contingent
          24 Liberty Avenue                                                   Unliquidated
          Buffalo, NY 14215
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sheets, Beatriz                                                     Contingent
          4849 N Central Park Ave                                             Unliquidated
          Chicago, Illinois 60625-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shefa, Morad                                                        Contingent
          21289 South Reeve Rd                                                Unliquidated
          Tracy, California 95304-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SHELBY COUNTY CO-OP                                                 Contingent
          2350 E State Rd 44                                                  Unliquidated
          Shelbyville, IN 46176
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shelly, Miranda                                                     Contingent
          23765 W Newell Circle                                               Unliquidated
          Farmington Hills, Michigan 48336-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shelton, Katherine                                                  Contingent
          997 E. Remus Rd                                                     Unliquidated
          Mount Pleasant, Michigan 48858-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shemanski, Stephanie                                                Contingent
          45 Colin Street                                                     Unliquidated
          Reading, Pennsylvania 19606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 993 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1017 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.693
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shenk, Auliya                                                       Contingent
          408 Lancaster Road                                                  Unliquidated
          Mebane, North Carolina 27302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shepard, Allie                                                      Contingent
          712 Arrowhead Trail                                                 Unliquidated
          Loveland, Ohio 45140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shepard, Melanie                                                    Contingent
          1003 Vista Court                                                    Unliquidated
          Hendersonville, Tennessee 37075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sheppard, Melissa                                                   Contingent
          27 Helen st                                                         Unliquidated
          Buffalo, New York 14213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sheri Dennard                                                       Contingent
          5520 Magnolia Tree Terrace                                          Unliquidated
          Sarasota, FL 34233
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sherman, Ludmila                                                    Contingent
          12522 Maria Cir                                                     Unliquidated
          Broomfield, Colorado 80020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sherman, Zachary                                                    Contingent
          122 Randall Street                                                  Unliquidated
          Reinbeck, Iowa 50669-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 994 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1018 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.694
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shern, Erica                                                        Contingent
          1620 Wheyfield Drive                                                Unliquidated
          Frederick, Maryland 21701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sherron, Jeremy                                                     Contingent
          4 Delford Avenue                                                    Unliquidated
          Silver Spring, Maryland 20904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shibaura Machine (formerly Toshiba Machi                            Contingent
          755 Greenleaf Ave                                                   Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shields, Raynell                                                    Contingent
          9401 White Cedar Drive                                              Unliquidated
          Apt 417
                                                                              Disputed
          Owings Mills, Maryland 21117-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.695
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shifflett, Danielle                                                 Contingent
          3220 Hooper Road                                                    Unliquidated
          New Windsor, Maryland 21776-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shimkus, Samantha                                                   Contingent
          1509 Darien Club Drive                                              Unliquidated
          Darien, Illinois 60561-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shingler, Carlton                                                   Contingent
          13805 W Meath Drive                                                 Unliquidated
          Homer Glen, Illinois 60491-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 995 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1019 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.695
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shinkle, Candace                                                    Contingent
          338 NW Reselk Drive                                                 Unliquidated
          Comanche, Oklahoma 73507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shinsky, Linda                                                      Contingent
          1409 Sioux Trail                                                    Unliquidated
          Niles, Michigan 49120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shinsky, Rachel                                                     Contingent
          221 31st Avenue North                                               Unliquidated
          Apt 426
                                                                              Disputed
          Nashville, Tennessee 37203-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.695
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shinwar, Samar                                                      Contingent
          6821 Plymouth Rd #13                                                Unliquidated
          Stockton, California 95207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shionogi, Inc                                                       Contingent
          300 Campus Drive                                                    Unliquidated
          Florham Park, NJ 07932
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shirazi, Gabriella                                                  Contingent
          P.O. Box 230621                                                     Unliquidated
          Tigard, Oregon 97281-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shiroki North America, Inc.                                         Contingent
          1111 W Broad St                                                     Unliquidated
          Smithville, TN 37166
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 996 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1020 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.696
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shogren, Brooke                                                     Contingent
          108 E Capitol Drive                                                 Unliquidated
          Appleton, Wisconsin 54911-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shoreacres Country Club                                             Contingent
          1601 Shore Acres Drive                                              Unliquidated
          Lake Bluff, IL 60044
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shoroye, Omoyemi                                                    Contingent
          820 N. Acacia Street                                                Unliquidated
          Inglewood, California 90302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shouse, Cheryl                                                      Contingent
          2518 St. Lucie Ct.                                                  Unliquidated
          Chattanooga, Tennessee 37421-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shovlin, Megan                                                      Contingent
          1791 Princeton Court                                                Unliquidated
          Lake Forest, Illinois 60045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,767.21
          Shred-It- IH                                                        Contingent
          28883 Network Place                                                 Unliquidated
          Chicago, IL 60673-1288
                                                                              Disputed
          Date(s) debt was incurred 5/22/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shulman, Alec                                                       Contingent
          2250 W Melrose Street                                               Unliquidated
          1W
                                                                              Disputed
          Chicago, Illinois 60618-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 997 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1021 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.696
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shumaker, Anne                                                      Contingent
          2871 georges landing rd                                             Unliquidated
          goochland, Virginia 23063-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Siambanes, Dorothy                                                  Contingent
          10260 Wight Street                                                  Unliquidated
          Westchester, Illinois 60154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sibug-Franklin, Marites                                             Contingent
          2234 Traverse Dr                                                    Unliquidated
          Troy, Michigan 48083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sickels, Deborah                                                    Contingent
          2716 N. 22nd Drive                                                  Unliquidated
          Phoenix, Arizona 85009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sid Dillon                                                          Contingent
          2420 East 23rd Street                                               Unliquidated
          Fremont, NE 68025
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Siddiqi, Hera                                                       Contingent
          22610 spring crossing drive                                         Unliquidated
          Spring, Texas 77373-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Siddiqui, Rehan                                                     Contingent
          189 Lilac St                                                        Unliquidated
          Bolingbrook, Illinois 60490-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 998 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1022 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.697
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sidney Federal Credit Union                                         Contingent
          42 Union Street                                                     Unliquidated
          Sidney, NY 13838
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sidney Regional Medical Center                                      Contingent
          645 Osage Street                                                    Unliquidated
          Sidney, NE 69162
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Siedlecki, Holly                                                    Contingent
          111 Crest Lake Court                                                Unliquidated
          Yorktown, Virginia 23693-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Siedschlag, Amanda                                                  Contingent
          2055 NE Sheffield Ave                                               Unliquidated
          Beaverton, Oregon 97006-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Siegel, Juan Carlos                                                 Contingent
          14811 Liberty Stone Lane                                            Unliquidated
          Cypress, Texas 77429-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sierra Vista Unified School District #68                            Contingent
          3555 East Fry Boulevard                                             Unliquidated
          Sierra Vista, AZ 85635
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.698
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sierra-Barrera, Alexandra                                           Contingent
          782 45th Avenue NE                                                  Unliquidated
          Salem, Oregon 97301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 999 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1023 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.698
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sierra-Nowell, Anna                                                 Contingent
          4021 North Kolmar Ave                                               Unliquidated
          Chicago, Illinois 60641-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.698
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sierra-Nowell, Ruth                                                 Contingent
          4021 N. Kolmar                                                      Unliquidated
          Chicago, Illinois 60641-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.698
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Signode Industrial Group                                            Contingent
          3650 West Lake Avenue                                               Unliquidated
          Glenview, IL 60026
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.698
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $140.00
          SIH Workcare/SIHMG                                                  Contingent
          2808 East Outer Drive                                               Unliquidated
          Marion, IL 62959
                                                                              Disputed
          Date(s) debt was incurred 3/4/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.698
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silgan Plastics                                                     Contingent
          14515 N. Outer 40                                                   Unliquidated
          Suite 210
                                                                              Disputed
          Chesterfield, MO 63017
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.698
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silhacek, Christina                                                 Contingent
          1195 Hidden Hills Drive                                             Unliquidated
          Delano, Minnesota 55328-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.698
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silkworth, Nolan                                                    Contingent
          15285 Clovernook Drive                                              Unliquidated
          Grand Haven, Michigan 49417-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1000 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1024 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.698
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silva Rodriguez, Thais                                              Contingent
          10800 Lakeline Blvd                                                 Unliquidated
          Apt. 13207
                                                                              Disputed
          Austin, Texas 78717-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.698
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silva, Laura                                                        Contingent
          308 Cr 140                                                          Unliquidated
          Alice, Texas 78332-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silva, Ximena                                                       Contingent
          83-45 Broadway APT 403                                              Unliquidated
          Elmhurst, New York 11373-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silveira, Erica                                                     Contingent
          3208 Cole Ave Apt 1110                                              Unliquidated
          Dallas, Texas 75204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silver Lake-Salem Jt. School District                               Contingent
          300 E. Prosser Street                                               Unliquidated
          Silver Lake, WI 53170
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silvera, Ricardo                                                    Contingent
          236 SummerBrooke Ct                                                 Unliquidated
          El Paso, Texas 79932-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silverman, Jason                                                    Contingent
          2609 Briar Trail                                                    Unliquidated
          Apt. 303
                                                                              Disputed
          Schaumburg, Illinois 60173-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1001 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1025 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.699
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sima, Jeanne                                                        Contingent
          W234 - S6830 Millbrook Circle                                       Unliquidated
          Big Bend, Wisconsin 53103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simecek-Spencer, Stephanie                                          Contingent
          315 Kirk                                                            Unliquidated
          Cedar Hill, Texas 75104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simkins-Hallin, Inc.                                                Contingent
          326 N Broadway Ave                                                  Unliquidated
          Bozeman, MT 59715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simmons, Amanda                                                     Contingent
          242 Wallace Dr                                                      Unliquidated
          Coldwater, Mississippi 38618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simmons, Doris                                                      Contingent
          5308 Drifton Dr.                                                    Unliquidated
          Louisville, Kentucky 40241-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simmons, Ronnisha                                                   Contingent
          425 Warrior Drive Apt J134                                          Unliquidated
          Murfreesboro, Tennessee 37128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simms, Samara                                                       Contingent
          3067 Brinkley Road                                                  Unliquidated
          Apt. 202
                                                                              Disputed
          Temple Hills, Maryland 20748-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1002 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1026 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.700
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SIMON CONTRACTORS                                                   Contingent
          4819 S. Industrial Rd                                               Unliquidated
          Cheyenne, WY 82007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simon, Malissa                                                      Contingent
          2021 13th St                                                        Unliquidated
          Granite City, Illinois 62040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simon-Bell, Cheryl                                                  Contingent
          245 Sunset Ct                                                       Unliquidated
          Vernon Hills, Illinois 60061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simonich, Christina                                                 Contingent
          1009 Evergreen Drive                                                Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simonson, Sophia                                                    Contingent
          1346 Minehaha Ave W                                                 Unliquidated
          St Paul, Minnesota 55104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simonton, Carson                                                    Contingent
          1940 Minnewil Lane                                                  Unliquidated
          Marietta, Georgia 30068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.700
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simpkiss, Cheryl                                                    Contingent
          765 Parkview Drive                                                  Unliquidated
          Park City, Utah 84098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1003 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1027 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.700
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Simpson, Emily                                                      Contingent
          1301 Beemer Court                                                   Unliquidated
          Oxford, Michigan 48371-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sims, Daniel                                                        Contingent
          310 Normandy Road                                                   Unliquidated
          Lousburg, North Carolina 27549-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sims, Kevin                                                         Contingent
          5660 Eichelberger                                                   Unliquidated
          Saint Louis, Missouri 63109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sims, Saquania                                                      Contingent
          681 Taylor Dr S.E. Apt B                                            Unliquidated
          Smyrna, Georgia 30080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sinclair, Remington                                                 Contingent
          110 The Boulevard                                                   Unliquidated
          Pittsburgh, Pennsylvania 15210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Singer, Jason                                                       Contingent
          3276 Margellina Drive                                               Unliquidated
          Charlotte, North Carolina 28210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Singh, Gurnish                                                      Contingent
          4327 Meadow Mills Road                                              Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1004 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1028 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.701
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Singh, Navjot                                                       Contingent
          833 Province Rd                                                     Unliquidated
          Fort Collins, Colorado 80525-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Singletary, Dauline                                                 Contingent
          209 Peach St                                                        Unliquidated
          Franklinton, North Carolina 27525-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Singleton, Kandi                                                    Contingent
          650 Conkey St                                                       Unliquidated
          HAMMOND, Indiana 46320-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sisic, Anna                                                         Contingent
          3933 Rexmere Rd                                                     Unliquidated
          Baltimore, Maryland 21218-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sisson, Heather                                                     Contingent
          P.O. Box 2311                                                       Unliquidated
          El Granada, California 94018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sitko, Christina                                                    Contingent
          572 Canterbury Lane                                                 Unliquidated
          Pingree Grove, Illinois 60140-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sitkowski, Vincent                                                  Contingent
          8428 Grenway Dr                                                     Unliquidated
          Mentor, Ohio 44060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1005 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1029 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.702
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sitnik, Tara                                                        Contingent
          3402 Kensington Ct                                                  Unliquidated
          Rocklin, California 95765-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sivanich, Kathryn                                                   Contingent
          7400 Jackson St. NE                                                 Unliquidated
          Fridley, Minnesota 55432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SKF USA INC.                                                        Contingent
          890 Forty Foot Rd. POBOX 352                                        Unliquidated
          Lansdale, PA 19446
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Skokie Country Club                                                 Contingent
          500 Washington Ave.                                                 Unliquidated
          Glencoe, IL 60022
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Skokie SD #68                                                       Contingent
          9440 Kenton Ave                                                     Unliquidated
          Skokie, IL 60076
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Skokie SD 69                                                        Contingent
          5050 Madison Street                                                 Unliquidated
          Skokie, IL 60077
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Skokie SD 73.5                                                      Contingent
          8000 East Prairie Road                                              Unliquidated
          Skokie, IL 60076
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1006 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1030 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.703
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Skrine, Veronica                                                    Contingent
          PO Box 2753                                                         Unliquidated
          Spring, Texas 77383-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.703
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Slack, Leo                                                          Contingent
          288 Grove Street #166                                               Unliquidated
          Braintree, Massachusetts 02184-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.703
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Slack, Tracey                                                       Contingent
          7250 West Coon Lake Rd                                              Unliquidated
          Howell, Michigan 48843-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.703
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sladky, Mandy                                                       Contingent
          1503 18th Ave                                                       Unliquidated
          Apt 101
                                                                              Disputed
          Seattle, Washington 98122-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.703
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Slater, James                                                       Contingent
          995 Stockbridge Place                                               Unliquidated
          Elgin, Illinois 60120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.703
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Slattery, Hannah                                                    Contingent
          2458 Box Canyon                                                     Unliquidated
          New Lenox, Illinois 60451-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.703
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Slaughter, Dian                                                     Contingent
          4834 Donald Ave                                                     Unliquidated
          Richmond Heights, Ohio 44143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1007 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1031 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.703
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sletteland, Jakob                                                   Contingent
          505 Kelly Blvd                                                      Unliquidated
          Springfield, Oregon 97477-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.703
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sletten Companies                                                   Contingent
          1000 25th St. North                                                 Unliquidated
          Great Falls, MT 59401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.703
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sletten, Angela                                                     Contingent
          1278 Charles Ave                                                    Unliquidated
          Apt A
                                                                              Disputed
          St Paul, Minnesota 55104-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.704
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sliva, Brooke                                                       Contingent
          92 Line St.                                                         Unliquidated
          Easthampton, Massachusetts 01027-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sloan, Elizabeth                                                    Contingent
          2115 Scheffer Ave                                                   Unliquidated
          Saint Paul, Minnesota 55116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sloan, Jocelyn                                                      Contingent
          5244 Birchwood Drive                                                Unliquidated
          Kalamazoo, Michigan 49009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sloat, Daniel                                                       Contingent
          4 Raleigh Court #204                                                Unliquidated
          Fairfield, Ohio 45014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1008 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1032 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.704
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Slocum, Harriet                                                     Contingent
          12765 Unit H St James Place                                         Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Slocum, Patricia                                                    Contingent
          223 Arbor Circle                                                    Unliquidated
          Sanford, Florida 32773-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Small, Darlene                                                      Contingent
          3336 High Pine Church Road                                          Unliquidated
          Asheboro, North Carolina 27205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Small, Sean                                                         Contingent
          14234 Ayers Rock Rd                                                 Unliquidated
          Sugar Land, Texas 77498-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smallwood, Jennifer                                                 Contingent
          5125 Chablis Court                                                  Unliquidated
          Fort Wayne, Indiana 46845-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smallwood, Madison                                                  Contingent
          242 Wallace Drive                                                   Unliquidated
          Coldwater, Mississippi 38618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.705
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smereczniak, Diane                                                  Contingent
          134 Mill Spring Land                                                Unliquidated
          Peters, Missouri 63376-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1009 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1033 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.705
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smetana, Kaitlyn                                                    Contingent
          902 E Jules Street                                                  Unliquidated
          Alrlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.705
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith Green Community Schools                                       Contingent
          1 Eagle Drive                                                       Unliquidated
          Churubusco, IN 46723
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.705
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith Jr, David                                                     Contingent
          1589 East 33Rd St, Front Apt                                        Unliquidated
          Cleveland, Ohio 44114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.705
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith McDaniel, Dominique                                           Contingent
          7906 E 92nd St                                                      Unliquidated
          Kansas City, Missouri 64138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.705
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith Temporaries Inc. dba Cornerstone S                            Contingent
          3861 Long Prairie Road                                              Unliquidated
          Flower Mound, TX 75022
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.705
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Aisha                                                        Contingent
          5318 Smoke Tree Drive                                               Unliquidated
          Arlington, Texas 76018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.705
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Alaine                                                       Contingent
          1849 Washington Ave S                                               Unliquidated
          Minneapolis, Minnesota 55454-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1010 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1034 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.705
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Alexandra                                                    Contingent
          322 Queen Anne Rd                                                   Unliquidated
          Stevensville, Maryland 21666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.705
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Amanda                                                       Contingent
          12501 Broadway, Apt 27107                                           Unliquidated
          Pearland, Texas 77584-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Anita                                                        Contingent
          21 Club House Drive                                                 Unliquidated
          Savannah, Georgia 31419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Bren                                                         Contingent
          3021 NW Grand Blvd                                                  Unliquidated
          Oklahoma City, Oklahoma 73116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Cheryl                                                       Contingent
          16 Airway Circle, APT 1B                                            Unliquidated
          Towson, Maryland 21286-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Christen                                                     Contingent
          720 Lake Charles Way                                                Unliquidated
          Roswell, Georgia 30075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Christopher                                                  Contingent
          3705 Crossleigh Ct                                                  Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1011 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1035 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.706
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Cynthia                                                      Contingent
          7674 Sweetwood Court                                                Unliquidated
          Dublin, Ohio 43016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Debbie                                                       Contingent
          12625 Hampton Crossing Dr                                           Unliquidated
          Chesterfield, Virginia 23832-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Devon                                                        Contingent
          802 Orchard View Rd                                                 Unliquidated
          Reading, Pennsylvania 19606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Diana                                                        Contingent
          4641 Woodland Blvd. Apt. 254                                        Unliquidated
          Oklahoma City, Oklahoma 73105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Elizabeth                                                    Contingent
          N8433 Glacial Ct.                                                   Unliquidated
          Elkhart Lake, Wisconsin 53020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.707
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Emarie                                                       Contingent
          9518 Black Torn Lane                                                Unliquidated
          San Antonio, Texas 78240-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.707
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Erika                                                        Contingent
          890 E245th St.                                                      Unliquidated
          Euclid, Ohio 44123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1012 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1036 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.707
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Erin                                                         Contingent
          843 South Longmore                                                  Unliquidated
          Apt 2077
                                                                              Disputed
          Mesa, Arizona 85202-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.707
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Evelyn                                                       Contingent
          719 E. E Street                                                     Unliquidated
          Jenks, Oklahoma 74034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.707
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Jamie                                                        Contingent
          3179 Treeside Lane                                                  Unliquidated
          Green Cove Springs, Florida 32043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.707
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Jared                                                        Contingent
          627 W Barry Ave                                                     Unliquidated
          Apartment #2D
                                                                              Disputed
          Chicago, Illinois 60657-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.707
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Jessica                                                      Contingent
          2471 Cove Creek Road                                                Unliquidated
          Bristol, Virginia 24202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.707
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Joseph                                                       Contingent
          1706 Darien Circle                                                  Unliquidated
          Spring Hill, Tennessee 37174-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.707
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Katherine                                                    Contingent
          20660 N Exmoor Ave                                                  Unliquidated
          Barrington, Illinois 60010-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1013 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1037 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.707
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Katherine                                                    Contingent
          10503 Sumter Lane                                                   Unliquidated
          Bloomington, Minnesota 55438-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Kayla                                                        Contingent
          8114 N. Pingree Ave                                                 Unliquidated
          Milwaukee, Wisconsin 53224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Kelly                                                        Contingent
          2461 Lamar Place N                                                  Unliquidated
          Hernanado, Mississippi 38632-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Kerrigan                                                     Contingent
          679 Sand Spur Drive                                                 Unliquidated
          Etters, Pennsylvania 17319-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Kristy                                                       Contingent
          434 Nw 27st Street                                                  Unliquidated
          Oklahoma City, Oklahoma 73103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, LaChon                                                       Contingent
          2145 E 98th St                                                      Unliquidated
          Chicago, Illinois 60617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Lateisha                                                     Contingent
          1717 Avery Cv.                                                      Unliquidated
          Southaven, Mississippi 38671-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1014 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1038 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.708
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Latrisha                                                     Contingent
          2791 Glasgow Ct                                                     Unliquidated
          1W
                                                                              Disputed
          Schaumburg, Illinois 60194-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.708
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Leslie                                                       Contingent
          5243 W Monroe                                                       Unliquidated
          Chicago, Illinois 60644-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Linda                                                        Contingent
          270 Degeorge Ci#8                                                   Unliquidated
          Rochester, New York 14626-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Lonzo                                                        Contingent
          5600 S Winchester Ave                                               Unliquidated
          Chicago, Illinois 60636-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.709
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Lori                                                         Contingent
          5851 Montana Ave                                                    Unliquidated
          New Port Richey, Florida 34652-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.709
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Marna                                                        Contingent
          18212 Stewart Ave                                                   Unliquidated
          Homewood, Illinois 60430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.709
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Megan                                                        Contingent
          1214 Glynwater Lane                                                 Unliquidated
          Waxhaw, North Carolina 28173-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1015 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1039 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.709
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Michael                                                      Contingent
          4845 Transit Rd                                                     Unliquidated
          Apt #S10
                                                                              Disputed
          Depew, New York 14043-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.709
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Michele                                                      Contingent
          304 Magnolia Blossom Lane                                           Unliquidated
          Yukon, Oklahoma 73099-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.709
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Nancy                                                        Contingent
          810 Highland Drive                                                  Unliquidated
          704
                                                                              Disputed
          Knoxville, Tennessee 37912-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.709
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Nathan                                                       Contingent
          5700 Starboardway Drive                                             Unliquidated
          Fort Worth, Texas 76135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.709
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Nicole                                                       Contingent
          9702 Lower River Rd                                                 Unliquidated
          Louisville, Kentucky 40272-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.709
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Nikah                                                        Contingent
          25676 West Dunlap Road                                              Unliquidated
          Buckeye, Arizona 85326-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.709
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Peggy                                                        Contingent
          23703 Misty Peak                                                    Unliquidated
          San Antonio, Texas 78258-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1016 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1040 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.710
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Reginale                                                     Contingent
          595 W. Church St #801                                               Unliquidated
          Orlando, Florida 32805-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Samantha                                                     Contingent
          4079 Highview Court                                                 Unliquidated
          Waterford, Michigan 48329-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Samantha                                                     Contingent
          2857 Godfrey Road                                                   Unliquidated
          Glen Rock, Pennsylvania 17327-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Sharon                                                       Contingent
          7266 Pierce Court                                                   Unliquidated
          Merrillville, Indiana 46410-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Sharon                                                       Contingent
          4102 Glenarm ave                                                    Unliquidated
          Baltimore, Maryland 21206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Stacey                                                       Contingent
          312 Susan Constant Dr                                               Unliquidated
          Newport News, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Sydney                                                       Contingent
          320 Carroll Island Road                                             Unliquidated
          Middle River, Maryland 21220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1017 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1041 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.710
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Tarcia                                                       Contingent
          1115 Woodflower Way                                                 Unliquidated
          Clermont, Florida 34714-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Terence                                                      Contingent
          3900 Paris Avenue                                                   Unliquidated
          New Orleans, Louisiana 70122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.710
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith, Tony                                                         Contingent
          9702 Lower River Rd                                                 Unliquidated
          Louisville, Kentucky 40272-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith-Anderson, Nichole                                             Contingent
          3448 Timberview Trail                                               Unliquidated
          Lapeer, Michigan 48446-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith-Ward, Dorian                                                  Contingent
          7207 Lemoyne                                                        Unliquidated
          River Forest, Illinois 60305-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smith-Young, Trena                                                  Contingent
          2498 Wendover Dr                                                    Unliquidated
          Naperville, Illinois 60565-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SmithAmundsen                                                       Contingent
          150 N Michigan Ave                                                  Unliquidated
          Suite 3300
                                                                              Disputed
          Chicago, IL 60601
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1018 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1042 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.711
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smither, Rebecca                                                    Contingent
          1305 NE 4th Ave                                                     Unliquidated
          Boca Raton, Florida 33432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smitherman, Michelle                                                Contingent
          1648 Nansemond PKWY                                                 Unliquidated
          Suffolk, Virginia 23434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smithfield-Farmland                                                 Contingent
          11500 Nw Ambassador Drive                                           Unliquidated
          Kansas City, MO 64153
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SmithGroupJJR                                                       Contingent
          500 Griswold St.                                                    Unliquidated
          17th Floor
                                                                              Disputed
          Detroit, MI 48226
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.711
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smoke Test Account                                                  Contingent
          1700 E Golf Road, Suite 900                                         Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Smyrnioudis, Heather                                                Contingent
          15 Overmill Court                                                   Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.712
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Snapp, Emily                                                        Contingent
          2434 Tullibee Drive                                                 Unliquidated
          Norfolk, Virginia 23518-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1019 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1043 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.712
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sneath, Christine                                                   Contingent
          130 Idlewild Ct # 7                                                 Unliquidated
          Schaumburg, Illinois 60195-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.712
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sneed, Andrea                                                       Contingent
          3001 Harbor Lights Dr                                               Unliquidated
          Nashville, Tennessee 37217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.712
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sneed, Heather                                                      Contingent
          475 Swanholme Drive APT K302                                        Unliquidated
          Murfreesboro, Tennessee 37129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.712
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Snell, Linda                                                        Contingent
          45 Trumbauersville Road                                             Unliquidated
          Quakertown, Pennsylvania 18951-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.712
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,420.00
          Snelling - IH                                                       Contingent
          P.O Box 650765                                                      Unliquidated
          Dallas, TX 75265-0765
                                                                              Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.712
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Snelling, Christopher                                               Contingent
          1 Tricount Court                                                    Unliquidated
          Apt 3B
                                                                              Disputed
          Owings Mills, Maryland 21117-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.712
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Snow, Marilee                                                       Contingent
          1840 N 184TH St.                                                    Unliquidated
          Shoreline, Washington 98133-4648
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1020 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1044 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.712
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Snowden, Cheryl                                                     Contingent
          5030 Amber Clay Lane                                                Unliquidated
          Raleigh, North Carolina 27612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.712
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Snowden, Timothy                                                    Contingent
          7203 Kennebunk Road                                                 Unliquidated
          Windsor Mill, Maryland 21244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Snugz USA, Inc.                                                     Contingent
          9258 S Prosperity Rd                                                Unliquidated
          West Jordan, UT 84081-6161
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          So, Stephanie                                                       Contingent
          583 Flood Ave                                                       Unliquidated
          San Francisco, California 94112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soberanis, Brenda                                                   Contingent
          3049 Marbella Lane                                                  Unliquidated
          Palmdale, California 93550-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sobota, Dominic                                                     Contingent
          PO Box 8412                                                         Unliquidated
          Holland, Michigan 49422-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Society of Petroleum Engineers (spe), In                            Contingent
          222 Palisades Creek Dr                                              Unliquidated
          Richardson, TX 75080-2040
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1021 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1045 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.713
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Socket Telecom                                                      Contingent
          2703 Clark Lane                                                     Unliquidated
          Columbia, MO 65202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soe, Stella                                                         Contingent
          53 Planters Drive Nw                                                Unliquidated
          Cartervsille, Georgia 30120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soell, Alan                                                         Contingent
          8640 Georgiana Ave                                                  Unliquidated
          Morton Grove, Illinois 60053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soffera, Amanda                                                     Contingent
          14211 Fabled Point Avenue                                           Unliquidated
          El Paso, Texas 79938-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.713
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sogeti USA, LLC                                                     Contingent
          10100 Innovation Drive, Suite 200                                   Unliquidated
          Dayton, OH 45342
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sokun, Pysarl                                                       Contingent
          85 Brainerd Rd. Apt 101                                             Unliquidated
          Allston, Massachusetts 02134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solberg, Christine                                                  Contingent
          630 N. Hamlin                                                       Unliquidated
          Park Ridge, Illinois 60068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1022 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1046 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.714
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solis, Elena                                                        Contingent
          13 Warner Road                                                      Unliquidated
          Los Lunas, New Mexico 87031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soliz, Veronica                                                     Contingent
          6915 E. Curry Rd                                                    Unliquidated
          Edinburg, Texas 78539-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solloway, Megan                                                     Contingent
          417 Oak Grove Road                                                  Unliquidated
          Linthicum, Maryland 21090-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solomon Cloud Solutions                                             Contingent
          1219 W. Main Cross Street                                           Unliquidated
          Suite 100
                                                                              Disputed
          Findlay, OH 45840
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.714
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solomon, Cristie                                                    Contingent
          8448 Felton Crest Way                                               Unliquidated
          Elk Grove, California 95624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solorio, Mariann                                                    Contingent
          27 Ellington Drive                                                  Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solow Management Corporation                                        Contingent
          9 W 57th Street                                                     Unliquidated
          New York, NY 10019
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1023 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1047 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.714
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solu Technology Partners                                            Contingent
          7647 Main St Fishers                                                Unliquidated
          Victor, NY 14564
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solution Partners, Inc                                              Contingent
          Department 4952                                                     Unliquidated
          Carol Stream, IL 60122-4952
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,848.00
          Solution Partners, Inc.                                             Contingent
          Department 4952                                                     Unliquidated
          Carol Stream, IL 60122-4952
                                                                              Disputed
          Date(s) debt was incurred 5/22/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Solvay Bank                                                         Contingent
          1537 Milton Avenue                                                  Unliquidated
          Solvay, NY 13209
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Somerton Elementary School District                                 Contingent
          343 N Carlisle Ave                                                  Unliquidated
          Somerton, AZ 85350
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sondreal, Courtney                                                  Contingent
          217 A Melin Ave                                                     Unliquidated
          Ben Lomond, California 95005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Song, Grace                                                         Contingent
          13808 Ne 12th Street #l-104                                         Unliquidated
          Bellevue, Washington 98005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1024 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1048 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.715
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sonko, Safiatou                                                     Contingent
          9508 Golders Green Circ                                             Unliquidated
          Apt 304
                                                                              Disputed
          Loui, Kentucky 40229-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.715
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sonoita Elementary School District                                  Contingent
          23 Elgin Road                                                       Unliquidated
          Elgin, AZ 85611
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sonoma Partners                                                     Contingent
          525 West Monroe Street                                              Unliquidated
          Suite 500
                                                                              Disputed
          Chicago, IL 60661
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.715
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sonova                                                              Contingent
          4520 Weaver Parkway                                                 Unliquidated
          Warrenville, IL 60555-3927
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sontag, Meghan                                                      Contingent
          501 Dartmouth Avenue                                                Unliquidated
          Silver Spring, Maryland 20910-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soon, Wen                                                           Contingent
          2240 Woodset Drive                                                  Unliquidated
          San Jose, California 95116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sootho, Schyler                                                     Contingent
          4739 Rams Horn Row                                                  Unliquidated
          Ellicott City, Maryland 21042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1025 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1049 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.716
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SOPREMA                                                             Contingent
          310 Quadral Dr.                                                     Unliquidated
          Wadsworth, OH 44281
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sorensen, Michael                                                   Contingent
          1827 E Illinois St                                                  Unliquidated
          Wheaton, Illinois 60187-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sorensen, Sharon                                                    Contingent
          1641 Canyon Dr                                                      Unliquidated
          Fullerton, California 92833-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soto, Merly                                                         Contingent
          8231 Princeton Square Blvd W.                                       Unliquidated
          Apt. 407
                                                                              Disputed
          Jacksonville, Florida 32256-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.716
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soto, Pamela                                                        Contingent
          913 Linden Avenue                                                   Unliquidated
          Oak Park, Illinois 60302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soto, Sandie                                                        Contingent
          4470 Rich Beem #334                                                 Unliquidated
          El Paso, Texas 79938-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soto, Sandra                                                        Contingent
          1130 W 54th St                                                      Unliquidated
          Hialeah, Florida 33012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1026 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1050 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.717
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soto, Yanileth                                                      Contingent
          841 NW 85th Terrace Apt2014                                         Unliquidated
          Plantation, Florida 33324-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sotomayor, Gerarlyn                                                 Contingent
          1919 Prairie Square                                                 Unliquidated
          #305
                                                                              Disputed
          Schaumburg, Illinois 60173-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.717
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sotomayor, Sandra                                                   Contingent
          550 Lake Ave. #2                                                    Unliquidated
          Manchester, New Hampshire 03103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Soule, Ryan                                                         Contingent
          1701 Century Circle Apt. 314                                        Unliquidated
          Woodbury, Minnesota 55125-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          South Adams Schools                                                 Contingent
          1075 Starfire Way                                                   Unliquidated
          Berne, IN 46711
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          South Carolina Department of Revenue                                Contingent
          PO Box 12265                                                        Unliquidated
          Columbia, SC 29211
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          South Dakota Department of Revenue & Reg                            Contingent
          445 East Capitol Ave                                                Unliquidated
          Pierre, SD 57501-3185
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1027 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1051 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.717
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          South, Janet                                                        Contingent
          7268 Belroi Rd                                                      Unliquidated
          Gloucester, Virginia 23061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Southard, Barbara                                                   Contingent
          506 Rowe Mountain Rd                                                Unliquidated
          Bradford, New Hampshire 03221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Southard, Courtney                                                  Contingent
          7020 Ellingham Circle #21                                           Unliquidated
          Alexandria, Virginia 22315-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Southeastern Schools Corporation                                    Contingent
          100 South Main Street                                               Unliquidated
          Walton, IN 46994
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Southern Illinois Health & Wellness Insu                            Contingent
          411 S. Court St                                                     Unliquidated
          Marion, IL 62959
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Southern, Regina                                                    Contingent
          2921 Line Dr                                                        Unliquidated
          Norman, Oklahoma 73071-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Southwest Cook County CASE                                          Contingent
          (SWCCCASE)                                                          Unliquidated
          6020 W. 151st. St.
                                                                              Disputed
          Oak Forest, IL 60452
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1028 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1052 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.718
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SOUTHWEST OHIO REGIONAL TRANSIT                                     Contingent
          AUTHORIT                                                            Unliquidated
          602 Main Street Suite 1100
                                                                              Disputed
          Cincinnati, OH 45202
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.718
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SOUTHWESTERN ILLINOIS COLLEGE                                       Contingent
          2500 Carlyle Ave                                                    Unliquidated
          Belleville, IL 62221
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sowinski, Julie                                                     Contingent
          253 E Bank Street                                                   Unliquidated
          Fond Du Lac, Wisconsin 54935-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sowizral, Melinda                                                   Contingent
          51 Westcott Road                                                    Unliquidated
          Harvard, Massachusetts 01451-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spain-Allen, Michelle                                               Contingent
          4027 Hawkmount Way                                                  Unliquidated
          San Ramon, California 94582-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sparks, Adam                                                        Contingent
          661 West Beecher Street APT 19                                      Unliquidated
          Adrian, Michigan 49221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sparks, Kelsey                                                      Contingent
          3948 Tyler St NE                                                    Unliquidated
          Columbia Heights, Minnesota 55421-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1029 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1053 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.719
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sparta Hospital                                                     Contingent
          818 East Boardway                                                   Unliquidated
          Sparta, IL 62886
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spaulding, Tanesha                                                  Contingent
          512 Saratoga Drive                                                  Unliquidated
          Alpharaetta, Georgia 30022-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Speare Memorial Hospital                                            Contingent
          16 Hospital Road                                                    Unliquidated
          Plymouth, NH 03264-1300
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spears, Joy                                                         Contingent
          7516 Gary Road                                                      Unliquidated
          Joelton, Tennessee 37080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Specified Technologies, Inc.                                        Contingent
          210 Evans Way                                                       Unliquidated
          Branchburg, NJ 08876
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spectrum Geo Inc.                                                   Contingent
          11750 Katy Freeway Suite 900                                        Unliquidated
          Houston, TX 77079
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SPEED S.E.J.A. District #802                                        Contingent
          1125 Division Street                                                Unliquidated
          Chicago Heights, IL 60411
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1030 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1054 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.719
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Speights, Christine                                                 Contingent
          5455 Euclid Street                                                  Unliquidated
          Philadelphia, Pennsylvania 19131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spence, Antionette                                                  Contingent
          2647 Locust Ave                                                     Unliquidated
          Dallas, Texas 75216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spencer, Celia                                                      Contingent
          34 Ingleside Avenue                                                 Unliquidated
          Norwalk, Connecticut 06850-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spencer, Lauren                                                     Contingent
          4240 Harbor Walk Ave                                                Unliquidated
          Norfolk, Virginia 23518-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spencer, Santina                                                    Contingent
          7 Highland Place                                                    Unliquidated
          4G
                                                                              Disputed
          New York, New York 10705-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.720
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spengler, Stephanie                                                 Contingent
          8043 Sawgrass Court                                                 Unliquidated
          Orland Park, Illinois 60462-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spidle, Logan                                                       Contingent
          2545 Hillsboro Blvd                                                 Unliquidated
          Aurora, Illinois 60503-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1031 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1055 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.720
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spindor, Jennifer                                                   Contingent
          5029 Roundtree Court                                                Unliquidated
          Haltom City, Texas 76137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spinoso Real Estate Group                                           Contingent
          112 Northern Concourse                                              Unliquidated
          Syracuse, NY 13212
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spire - Alabama                                                     Contingent
          2101 6th Avenue North                                               Unliquidated
          Birmingham, AL 35203
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spire - Gulf                                                        Contingent
          2828 Dauphin St.                                                    Unliquidated
          Mobile, AL 36606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spire - Mississippi (formerly Wilmut Gas                            Contingent
          315 South Main Street                                               Unliquidated
          Hattiesburg, MS 39403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spire - Missouri West (formerly MGE)                                Contingent
          720 Olive St.                                                       Unliquidated
          Saint Louis, MO 63101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spire Energy                                                        Contingent
          720 Olive Street                                                    Unliquidated
          St. Louis, MO 63101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1032 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1056 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.721
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spire Marketing                                                     Contingent
          3773 Richmond Ave Ste 300                                           Unliquidated
          Houston, TX 77046
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spire Storage                                                       Contingent
          3535 Sulphur Haul Road                                              Unliquidated
          Evanston, WY 82930
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spirov, Lauren                                                      Contingent
          5421 Bryant Ave S                                                   Unliquidated
          Minneapolis, Minnesota 55419-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SPOON RIVER COLLEGE                                                 Contingent
          23235 North County Rd. 22                                           Unliquidated
          Canton, IL 61520
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sports Medicine & Orthopedic Center Inc                             Contingent
          100 Wimbledon Square                                                Unliquidated
          Suite A
                                                                              Disputed
          Chesapeake, VA 23320
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.721
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spring Grove Cemetery & Arboretum                                   Contingent
          4521 Spring Grove Ave                                               Unliquidated
          Cincinnati, OH 45232
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Spring Venture Group                                                Contingent
          2301 McGee Street                                                   Unliquidated
          4th Floor
                                                                              Disputed
          Kansas City, MO 64108
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1033 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1057 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.721
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Springer, Valerie                                                   Contingent
          42349 NW Banks Rd                                                   Unliquidated
          Banks, Oregon 97106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Springfield Electric Company                                        Contingent
          700 North 9th Street                                                Unliquidated
          Springfield, IL 62702
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sprinkle, Daniel                                                    Contingent
          6217 N. Mississippi Ave                                             Unliquidated
          Portland, Oregon 97217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Square, Glenda                                                      Contingent
          PO Box 581                                                          Unliquidated
          CEDAR HILL, Texas 75106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Squillante, Angela                                                  Contingent
          6853 Bianchini Circle                                               Unliquidated
          Boca Raton, Florida 33433-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Squires, Aaron                                                      Contingent
          14128 Butler Ct                                                     Unliquidated
          Plainfield, Illinois 60544-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Squires, Rosemary                                                   Contingent
          311 Milton Ave Apt 3                                                Unliquidated
          Syracuse, New York 13204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1034 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1058 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.722
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          SSM Health St. Marys Hospital - Audrain                             Contingent
          2760 Solution Center                                                Unliquidated
          Chicago, IL 60677-2007
                                                                              Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          St Charles Community Unit School Distric                            Contingent
          201 South 7th Street                                                Unliquidated
          St. Charles, IL 60174
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          St Germain, Marie                                                   Contingent
          6436 SW 22nd St.                                                    Unliquidated
          Miramar, Florida 33023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          St Louis, Therese                                                   Contingent
          4211 Ridge Side Dr                                                  Unliquidated
          Rochester, Michigan 48306-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          St. Camillus                                                        Contingent
          813 Fay Road                                                        Unliquidated
          Syracuse, NY 13219
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          St. Charles Park District                                           Contingent
          101 S 2nd Street                                                    Unliquidated
          St. Charles, IL 60174
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          St. Louis, Janice                                                   Contingent
          403 Red Bud Circle                                                  Unliquidated
          Chesapeake, Virginia 23325-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1035 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1059 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.723
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          St. Luke Community Hospital                                         Contingent
          107 6th Ave S.W.                                                    Unliquidated
          Ronan, MT 59864
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $120.00
          St. Margaret's Health                                               Contingent
          221 W. St. Paul                                                     Unliquidated
          Spring Valley, IL 61362
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          St. Romain, Tracy                                                   Contingent
          2608 Whispering Oaks                                                Unliquidated
          Denton, Texas 76209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stacker, Nikita                                                     Contingent
          16000 Rushmore Avenue                                               Unliquidated
          Apt 5105
                                                                              Disputed
          Little Rock, Arkansas 72223-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.723
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stade, William                                                      Contingent
          601 Fairbanks Court Unit V1                                         Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Staley, Amber                                                       Contingent
          525 Nokomis Court                                                   Unliquidated
          Fort Collins, Colorado 80524-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stallmann, Robert                                                   Contingent
          1906 Friar Tuck Drive                                               Unliquidated
          Arlington, Texas 76013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1036 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1060 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.724
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stallworth, Lakeshia                                                Contingent
          7548 S. Michigan                                                    Unliquidated
          Chicago, Illinois 60619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Staloch, Jessica                                                    Contingent
          1037 5th Ave SW                                                     Unliquidated
          Forest Lake, Minnesota 55025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STAMPEDE MEAT                                                       Contingent
          7351 South 78th Avenue                                              Unliquidated
          Bridgeview, IL 60455
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STANDARD TEXTILE                                                    Contingent
          1 Knollcrest Drive                                                  Unliquidated
          Cincinnati, OH 45237
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Standard, Amanda                                                    Contingent
          2215 Black Road                                                     Unliquidated
          Joliet, Illinois 60435-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Standex                                                             Contingent
          11 Keewaydin Drive                                                  Unliquidated
          Salem, NH 03079
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stanford, Ann                                                       Contingent
          8560 Alocasia Court                                                 Unliquidated
          Las Vegas, Nevada 89149-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1037 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1061 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.724
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stanion Wholesale Electric Co., Inc.                                Contingent
          812 S. Main                                                         Unliquidated
          Pratt, KS 67124
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stanley, Krystal                                                    Contingent
          209 W. Ingram Court                                                 Unliquidated
          Norfolk, Virginia 23505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stansfield Vending                                                  Contingent
          3172 Berlin Drive                                                   Unliquidated
          La Crosse, WI 54601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stanton, Bridget                                                    Contingent
          1825 East Sauk Trail                                                Unliquidated
          Sauk Village, Illinois 60411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Star Extruded Shapes, Inc.                                          Contingent
          7055 Herbert Road                                                   Unliquidated
          Canfield, OH 44406
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Star Pipe Products                                                  Contingent
          4018 Westhollow Pkwy                                                Unliquidated
          Houston, TX 77082
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Starks, Terri                                                       Contingent
          1025 E. Centerville Road                                            Unliquidated
          #705
                                                                              Disputed
          Garland, Texas 75041-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1038 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1062 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.725
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Starling, Sharon                                                    Contingent
          7528 Riverside Court                                                Unliquidated
          Clemmons, North Carolina 27012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Starrett, Beth                                                      Contingent
          7145 Hall St                                                        Unliquidated
          Holland, Ohio 43528-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stasik, Adelina                                                     Contingent
          7612 NW 99th Terracw                                                Unliquidated
          Tamarac, Florida 33321-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stastny, Jodie                                                      Contingent
          39326 N Melbourne Ct                                                Unliquidated
          Beach Park, Illinois 60083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          State Bank of AZ                                                    Contingent
          1771 Mcculloch Drive                                                Unliquidated
          Lake Havasu City, AZ 00084-6403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $245.00
          State Road Occupational Medical Facility                            Contingent
          600 State Road                                                      Unliquidated
          Suite 166
                                                                              Disputed
          Ashtabula, OH 44004
          Date(s) debt was incurred 5/22/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.726
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Staten, Atiya                                                       Contingent
          113 Jackie Drive                                                    Unliquidated
          Gilbertsville, Pennsylvania 19525-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1039 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1063 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.726
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Staton, Carol                                                       Contingent
          3554 Glasscock Trail                                                Unliquidated
          San Antonio, Texas 78253-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.726
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STATS, LLC                                                          Contingent
          203 N. LaSalle, Ste 2200                                            Unliquidated
          Chicago, IL 60601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.726
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Staybright Electric of Colorado, Inc                                Contingent
          1780 Rough Neck Drive                                               Unliquidated
          Humble, TX 77338
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.726
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steakley, Kimberly                                                  Contingent
          111 Vancouver Rd                                                    Unliquidated
          Meridianville, Alabama 35759-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.726
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stearns, Catherine                                                  Contingent
          924 Pembroke woods drive                                            Unliquidated
          Pembroke, Massachusetts 02359-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.726
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STEC GROUP, INC                                                     Contingent
          2345 167th St                                                       Unliquidated
          Hammond, IN 46323
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.726
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stedman, Ashley                                                     Contingent
          903 Lake Shore Dr #211                                              Unliquidated
          Lake Park, Florida 33403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1040 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1064 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.726
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steel Equipment Specialists                                         Contingent
          1507 Beeson St                                                      Unliquidated
          Alliance, OH 44601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.726
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steele, Crystal                                                     Contingent
          2642 S. Elm St                                                      Unliquidated
          Tempe, Arizona 85282-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steele, Mary                                                        Contingent
          2600 S. Kanner #e4                                                  Unliquidated
          Stuart, Florida 34994-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steelman, Jamie                                                     Contingent
          24192 Chestnut Grove Rd                                             Unliquidated
          S. Bloomingville, Ohio 43152-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stees, Sara                                                         Contingent
          3030 Benefit Court                                                  Unliquidated
          Abindgon, Maryland 21009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steffens, Katherine                                                 Contingent
          12504 Stem Lane                                                     Unliquidated
          Bowie, Maryland 20715-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stefin, Stephani                                                    Contingent
          48 Samuel Drive                                                     Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1041 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1065 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.727
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stein, Andrea                                                       Contingent
          14 Hobbs Road                                                       Unliquidated
          Wayland, Massachusetts 01778-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stein, Patti                                                        Contingent
          2536 Spooner Ave                                                    Unliquidated
          Apt. 104
                                                                              Disputed
          Altoona, Wisconsin 54720-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.727
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steinecker, Justin                                                  Contingent
          474 West 3rd Street                                                 Unliquidated
          Elmhurst, Illinois 60126-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steiner Management Services, LLC                                    Contingent
          770 South Dixie Highway                                             Unliquidated
          Coral Gables, FL 33146
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steiner, Megin                                                      Contingent
          3907 Flynn St                                                       Unliquidated
          #104
                                                                              Disputed
          Bellingham, Washington 98229-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.728
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steinfeldt, Brianna                                                 Contingent
          1399 Karen Drive                                                    Unliquidated
          West Dundee, Illinois 60118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steinline, Candace                                                  Contingent
          1701 Goose Ct                                                       Unliquidated
          Raymore, Missouri 64083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1042 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1066 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.728
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stella & Dot LLC                                                    Contingent
          8000 Marina Blvd., Ste 400                                          Unliquidated
          San Francisco, CA 94005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stellar Senior Living                                               Contingent
          4525 Wasatch Blvd Suite 300                                         Unliquidated
          Salt Lake City, UT 84124
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stellwag, Heidi                                                     Contingent
          3806 Gulf of Mexico Drive                                           Unliquidated
          Longboat Key, Florida 34228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stephens, Amy                                                       Contingent
          7223 Willoughby Ave #214                                            Unliquidated
          Los Angeles, California 90046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stephens, Jasmine                                                   Contingent
          2111 Brandywine Road                                                Unliquidated
          Apt. 637
                                                                              Disputed
          West Palm Beach, Florida 33409-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.728
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stephens, Kaitlin                                                   Contingent
          3560 - 40th St, Sw                                                  Unliquidated
          Waverly, Minnesota 57106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stephens, Leslie                                                    Contingent
          3043 North Harrier Drive                                            Unliquidated
          Fayetteville, Arkansas 72704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1043 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1067 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.728
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stephens, Stephanie                                                 Contingent
          1231 Morgan Avenue North                                            Unliquidated
          Minneapolis, Minnesota 55411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sterchi, Angela                                                     Contingent
          1218 Golf Canyon                                                    Unliquidated
          San Antonio, Texas 78258-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sterling Public Schools                                             Contingent
          410 E. Le Feyre Rd.                                                 Unliquidated
          Sterling, IL 61081
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sterling, Amina                                                     Contingent
          11306 Ohlman Avenue                                                 Unliquidated
          Cleveland, Ohio 44108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sterling, Margaret                                                  Contingent
          4440 - 217th Ave Nw                                                 Unliquidated
          Anoka, Minnesota 55303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sterling-Morlock, Jennifer                                          Contingent
          25378 - 117th Nw                                                    Unliquidated
          Zimmerman, Minnesota 55398-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sterling-Rice Group, Inc.                                           Contingent
          1801 13th Street, Suite 400                                         Unliquidated
          Boulder, CO 80302
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1044 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1068 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.729
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sternal, Alma Lynda                                                 Contingent
          95-33 Kuahelani Ave                                                 Unliquidated
          #333
                                                                              Disputed
          Mililani, Hawaii 96789-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.729
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steshenko, Nataliia                                                 Contingent
          2900 Centerfield Pkwy E#101                                         Unliquidated
          West Dundee, Illinois 60118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stethen, Laura                                                      Contingent
          1713 Elk Pointe BLVD                                                Unliquidated
          Jeffersonville, Indiana 47130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stetson, Elizabeth                                                  Contingent
          2132 W. Highland St, Apt B                                          Unliquidated
          Allentown, Pennsylvania 18104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stevens, Joanna                                                     Contingent
          8539 Hwy Hh                                                         Unliquidated
          Kewaskum, Washington 53040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stevens, Kevin                                                      Contingent
          1581 Gilstrap Lane NW                                               Unliquidated
          Atlanta, Georgia 30318-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stevens, Yolanda                                                    Contingent
          3327 Bremerton Falls Dr                                             Unliquidated
          Missouri City, Texas 77459-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1045 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1069 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.730
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stevenson, Lance                                                    Contingent
          13720 W. 120th St.                                                  Unliquidated
          Olathe, Kansas 66062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Steward, Candiece                                                   Contingent
          9 Taylor Ave                                                        Unliquidated
          Norwalk, Connecticut 06854-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart Title                                                       Contingent
          1980 Post Oak Blvd Ste 80                                           Unliquidated
          Houston, TX 77056
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, Anthonya                                                   Contingent
          11629 Herefordshire Dr                                              Unliquidated
          MO, Missouri 63138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, Baylea                                                     Contingent
          5549 E 77th Street                                                  Unliquidated
          Tulsa, Oklahoma 74136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, Chanel                                                     Contingent
          747 Scott Ave                                                       Unliquidated
          Salt Lake City, Utah 84106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, Danielle                                                   Contingent
          25738 Jefferey Court                                                Unliquidated
          Chesterfield, Michigan 48051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1046 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1070 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.731
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, De'Quincey                                                 Contingent
          2918 Hickory Leaf Way                                               Unliquidated
          Silver Spring, Maryland 20904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, Jamila                                                     Contingent
          2222 S. Figueroa Street #PH7                                        Unliquidated
          Los Angeles, California 90007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, Ken                                                        Contingent
          22358 Blue Lupine Circle                                            Unliquidated
          Grand Terrace, California 92313-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, Mary                                                       Contingent
          211 5th Ave #204                                                    Unliquidated
          Salt Lake City, Utah 84103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stewart, Priscilla                                                  Contingent
          5281 Lake Ridge Dr. Apt 3A                                          Unliquidated
          Southaven, Mississippi 38671-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stice, Lindsey                                                      Contingent
          2566 Palm Blvd                                                      Unliquidated
          Fairfield, Iowa 52556-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stich, Courtney                                                     Contingent
          4717 Greenbrooke Dr                                                 Unliquidated
          Glen Allen, Virginia 23060-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1047 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1071 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.731
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stichel, Fred                                                       Contingent
          1 Buckingham Court                                                  Unliquidated
          Asheville, North Carolina 28803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stickney, Margaret                                                  Contingent
          424 N. Grandview Ave                                                Unliquidated
          Sanford, Florida 32771-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stiles, Michael                                                     Contingent
          1923 Herbert Blvd                                                   Unliquidated
          Williamstown, New Jersey 08094-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stillman, Carly                                                     Contingent
          3636 W 227th Place #20                                              Unliquidated
          Torrance, California 90505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stinespring, Emily                                                  Contingent
          365 Thompson Rd                                                     Unliquidated
          Culloden, West Virginia 25510-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stinger, Elizabeth                                                  Contingent
          3006 Victor Street                                                  Unliquidated
          Saint Louis, Missouri 63104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stinson, Jennifer                                                   Contingent
          49 Rocky Hill Road                                                  Unliquidated
          Amesbury, Massachusetts 01913-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1048 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1072 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.732
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stivelman, Linda                                                    Contingent
          67 Jefferson Street                                                 Unliquidated
          Hoboken, New Jersey 07030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stokes, Alicia                                                      Contingent
          1510 Russell Lee Dr                                                 Unliquidated
          Louisville, Kentucky 40211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stokes, Ashley                                                      Contingent
          7036 Windsor Mill Rd House B                                        Unliquidated
          Baltimore, Maryland 21207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stokes, Ivonne                                                      Contingent
          505 Nightshade Drive                                                Unliquidated
          Arlington, Texas 76018-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stone Eagle Benefits Corporation                                    Contingent
          111 W Spring Valley Road                                            Unliquidated
          Richardson, TX 75081
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stone, Catherine                                                    Contingent
          908 21st Avenue Place                                               Unliquidated
          Coralville, Iowa 52241-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.733
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stone, Danielle                                                     Contingent
          265 El Dorado Blvd                                                  Unliquidated
          #701
                                                                              Disputed
          Webster, Texas 77598-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1049 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1073 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.733
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stone, Erin                                                         Contingent
          1518 E. 3rd Street                                                  Unliquidated
          Long Beaca, California 90802-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.733
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stone, Martha                                                       Contingent
          3760 Hudlow Road                                                    Unliquidated
          P.O. Box 3608
                                                                              Disputed
          Hayden, Idaho 83835-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.733
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stone, Nedra                                                        Contingent
          321 Miami Street                                                    Unliquidated
          house
                                                                              Disputed
          Park Forest, Illinois 60466-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.733
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stone, Theresa                                                      Contingent
          1311 Shimmering Glen Ave                                            Unliquidated
          Henderson, Nevada 89014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.733
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          StoneEagle Benefits Corporation                                     Contingent
          3701 W. Plano Parkway, Suite 2                                      Unliquidated
          Plano, TX 75075
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.733
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          StoneRidge Retirement Living Communities                            Contingent
          440 East Lincoln Avenue                                             Unliquidated
          Myerstown, PA 17067
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.733
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Storey, Dana                                                        Contingent
          2211 W Colorado Ave                                                 Unliquidated
          Colorado Springs, Colorado 80904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1050 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1074 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.733
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Storey, LaVon                                                       Contingent
          2477 Calavera Dr                                                    Unliquidated
          Florissant, Missouri 63033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.733
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STORIS, Inc.                                                        Contingent
          400 Valley Road Suite 302                                           Unliquidated
          Mt Arlington, NJ 07856
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Storla, Michelle                                                    Contingent
          P.O. Box 994                                                        Unliquidated
          Marion, Iowa 52302-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stormont Vail Health                                                Contingent
          1500 SW 10th Ave                                                    Unliquidated
          Topeka, KS 66604
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Storms, Cassandra                                                   Contingent
          2417 W 32nd Ave Unit 7                                              Unliquidated
          Denver, Colorado 80211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stoughtenborough, Utamu                                             Contingent
          1126 Wizard Avenue                                                  Unliquidated
          North Las Vegas, Nevada 89030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stover, Nicole                                                      Contingent
          637 Main Street                                                     Unliquidated
          Woodland, Pennsylvania 16881-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1051 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1075 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.734
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stowers, Katherine                                                  Contingent
          6307 Antler Court                                                   Unliquidated
          Stockton, California 95219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Strachan, Shedley                                                   Contingent
          3202 Puritan Way                                                    Unliquidated
          McDonough, Georgia 30252-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Strategic Pharmaceutical Solutions Inc.                             Contingent
          17014 NE Sandy                                                      Unliquidated
          Portland, OR 97230
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STRATEGIC RISK SOLUTIONS                                            Contingent
          2352 Main Street                                                    Unliquidated
          Suite 304
                                                                              Disputed
          Concord, MA 01742
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.734
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Street, Eryn                                                        Contingent
          10401 N Cave Creek Rd #184                                          Unliquidated
          Phoenix, Arizona 85020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Strehlow, Tammy                                                     Contingent
          N2396 Doering Rd                                                    Unliquidated
          Merrill, Wisconsin 54452-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Strickland, Lori                                                    Contingent
          797 Hovey Street                                                    Unliquidated
          Gary, Indiana 46406-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1052 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1076 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.735
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Strickland, Susan                                                   Contingent
          25 Laurel Crest Rd                                                  Unliquidated
          Madison, Connecticut 06443-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Strittmatter, Joanna                                                Contingent
          10015 Lake Creek Pkwy APT 1132                                      Unliquidated
          Austin, Texas 78729-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Strong, Lashayn                                                     Contingent
          579 S Vermillion Pl                                                 Unliquidated
          Gary, Indiana 46403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Structural & Steel                                                  Contingent
          1320 S. University Suite 701                                        Unliquidated
          Ft. Worth, TX 76107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stryker Local Schools                                               Contingent
          400 S. Defiance                                                     Unliquidated
          Stryker, OH 43557
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stuart, Holly                                                       Contingent
          18632 May Ave                                                       Unliquidated
          Purcell, Oklahoma 73080-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stuart, Lauren                                                      Contingent
          315 Turnberry Circle                                                Unliquidated
          Clarksville, Tennessee 37043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1053 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1077 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.735
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stuart, Sharon                                                      Contingent
          168 Lariat Drive                                                    Unliquidated
          Lapeer, Michigan 48446-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stubbe, Jennifer                                                    Contingent
          290 Kleeman Court                                                   Unliquidated
          Shawano, Wisconsin 54476-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stubblefield, Sandra                                                Contingent
          551 Sidney Ave                                                      Unliquidated
          Unit D
                                                                              Disputed
          Glendale Heights, Illinois 60139-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.736
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stubenhofer, Lydia                                                  Contingent
          6608 Nw 134th St                                                    Unliquidated
          Oklahoma City, Oklahoma 73142-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stuchell, Austin                                                    Contingent
          15310 N. Tormey Road                                                Unliquidated
          Nine Mile Falls, Washington 99026-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stuck, Jill                                                         Contingent
          12099 Limestone Dr                                                  Unliquidated
          Fishers, Indiana 46037-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stuckert, Jennifer                                                  Contingent
          14949 Juneau Blvd                                                   Unliquidated
          Elm Grove, Wisconsin 53122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1054 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1078 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.736
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stuefen, Matthew                                                    Contingent
          2408 167th St. Ct. E                                                Unliquidated
          Tacoma, Washington 98445-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stukes, Nouri                                                       Contingent
          1805 Briarcliff Rd                                                  Unliquidated
          Parkville, Maryland 21234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stuntebeck-Poff, Susan                                              Contingent
          1009 Marlin Drive                                                   Unliquidated
          West Chester, Pennsylvania 19382-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stupak, Melanie                                                     Contingent
          4794 Fox Run Place                                                  Unliquidated
          Lebanon, Ohio 45036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stutts, Sandra                                                      Contingent
          407 N Oakridge                                                      Unliquidated
          Hudson Oaks, Texas 76087-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Stutzman, Jennifer                                                  Contingent
          1562 Grant Ave                                                      Unliquidated
          Dupont, Washington 98327-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Styka-Wrobel, Karolina                                              Contingent
          296 Wildspring Court                                                Unliquidated
          Itasca, Illinois 60143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1055 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1079 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.737
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Suarez, Carmetta                                                    Contingent
          5445 Wilborn Drive                                                  Unliquidated
          Jennings, Missouri 63136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Suarez, Linda                                                       Contingent
          341 NE Adams Dairy Parkway                                          Unliquidated
          Blue springs, Missouri 64014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sublett, April                                                      Contingent
          14350 E. 540 Road                                                   Unliquidated
          Claremore, Oklahoma 74019-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Such-Smith, Kim                                                     Contingent
          709 8th Ave NW                                                      Unliquidated
          Byron, Minnesota 55920-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Suggs, Torshia                                                      Contingent
          1106 Hickory Club Dr                                                Unliquidated
          Antioch, Tennessee 37013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Suhy, Katherine                                                     Contingent
          2738 Plymouth Dr                                                    Unliquidated
          Shelby charter Township, Michigan 48316-
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sulentich, Anne                                                     Contingent
          2874 Market Place Drive                                             Unliquidated
          #209
                                                                              Disputed
          Little Canada, Minnesota 55117-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1056 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1080 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.738
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sullivan, Anne                                                      Contingent
          1117 City Park Ave                                                  Unliquidated
          # G-7
                                                                              Disputed
          Fort Collins, Colorado 80521-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.738
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sullivan, Jennifer                                                  Contingent
          6517 E Blanche Dr                                                   Unliquidated
          Scottsdale, Arizona 85254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.738
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sullivan, Jessica                                                   Contingent
          165 North Twin Oaks Ter                                             Unliquidated
          South Burlington, Vermont 05403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.738
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sullivan, Margaret                                                  Contingent
          117 1st Avenue                                                      Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.738
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sullivan, Mary                                                      Contingent
          35 Bulfinch Terrace                                                 Unliquidated
          Lynn, Massachusetts 01902-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.738
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sullivan, William                                                   Contingent
          1117 City Park Ave                                                  Unliquidated
          Apt G-7
                                                                              Disputed
          Fort Collins, Colorado 80521-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.738
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Summers, Brenda                                                     Contingent
          742 W. Westview                                                     Unliquidated
          Springfield, Missouri 65807-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1057 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1081 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.738
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Summers, Linda                                                      Contingent
          519 South Future Street                                             Unliquidated
          Marion, Illinois 62959-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.738
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Summers, Lorri                                                      Contingent
          232 Aspen Road                                                      Unliquidated
          Yardley, Pennsylvania 19067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.738
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Summers, Wendy                                                      Contingent
          4626 E Red Range Way                                                Unliquidated
          Cave Creek, Arizona 85331-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Summit Hill School District 161                                     Contingent
          20100 S Spruce Dr                                                   Unliquidated
          Frankfort, IL 60423
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Summitstone Health Partners                                         Contingent
          1250 N. Wilson Ave                                                  Unliquidated
          Loveland, CO 80537
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SumnerOne                                                           Contingent
          2121 Hampton Ave                                                    Unliquidated
          St Louis, MO 63139
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sumners, Bonnie                                                     Contingent
          24 W. Olive Ave, Apt 12                                             Unliquidated
          Redlands, California 92373-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1058 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1082 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.739
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sumpter, Tony                                                       Contingent
          3117 Vogue Ave                                                      Unliquidated
          Louisville, Kentucky 40220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sumulong, Gerry                                                     Contingent
          8691 Springhouse Way                                                Unliquidated
          Elk Grove, California 95624-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sundby, Jennifer                                                    Contingent
          2138 S. 94th Street                                                 Unliquidated
          West Allis, Wisconsin 53227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sunderlage, Josh                                                    Contingent
          307 S. Hubbard St                                                   Unliquidated
          Algonquin, Illinois 60102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sunderman, Sarah                                                    Contingent
          1580 Bardstown Road                                                 Unliquidated
          Louisville, Kentucky 40205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sunrise Cooperative                                                 Contingent
          2025 W State St                                                     Unliquidated
          Fremont, OH 43420
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.740
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sunset Ridge SD 29                                                  Contingent
          525 Sunset Ridge Rd                                                 Unliquidated
          Northfield, IL 60093
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1059 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1083 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.740
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Superior Ag Resources Co-Op Inc.                                    Contingent
          901 N. Main Street                                                  Unliquidated
          Huntingburg, IN 47543
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.740
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Superior Paving Corp                                                Contingent
          5551 Wellington Road                                                Unliquidated
          Gainesville, VA 20155
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.740
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SupplyCore Inc.                                                     Contingent
          303 North Main Street                                               Unliquidated
          Suite 800
                                                                              Disputed
          Rockford, IL 61101
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.740
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Surratt, Charmine                                                   Contingent
          3324 E Ray Road                                                     Unliquidated
          Unit 84
                                                                              Disputed
          Higely, Arizona 85236-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.740
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $355.19
          Survey Monkey                                                       Contingent
          3050 South Delaware Street                                          Unliquidated
          San Mateo, CA 94403
                                                                              Disputed
          Date(s) debt was incurred 2/23/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.740
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Survis, Karen                                                       Contingent
          530 Melrose Ave E #606                                              Unliquidated
          Seattle, Washington 98102-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.740
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Susan F. Madnek-Oxman                                               Contingent
          1051 Wade Street                                                    Unliquidated
          Highland Park, IL 60035
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1060 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1084 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.740
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sutter, David                                                       Contingent
          157 N. Benton St.                                                   Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.740
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sutton Bank                                                         Contingent
          1 South Main Street                                                 Unliquidated
          Attica, OH 44807
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sutton, Ashley                                                      Contingent
          1137 31st Street                                                    Unliquidated
          Newport News, Virginia 23607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sutton, Diana                                                       Contingent
          361 Shirley St.                                                     Unliquidated
          Apt. 1
                                                                              Disputed
          Winthrop, Massachusetts 02152-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.741
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sutton, Emily                                                       Contingent
          8228 Charlies Way                                                   Unliquidated
          Cleves, Ohio 45002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sutton, Onnalita                                                    Contingent
          1401 Yogi Berra Cove                                                Unliquidated
          Round Rock, Texas 78665-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Svec, Susan                                                         Contingent
          1819 Diane Merle Dr                                                 Unliquidated
          N. Huntingdon, Pennsylvania 15642-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1061 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1085 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.741
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Svec, Tom                                                           Contingent
          1819 Diane Merle Drive                                              Unliquidated
          North Huntindon, Pennsylvania 15642-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swafford, Jamie                                                     Contingent
          3733 Long Leaf Lane                                                 Unliquidated
          #B
                                                                              Disputed
          Harvey, Louisiana 70058-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.741
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swallows, Christine                                                 Contingent
          3272 Whitwood Rd                                                    Unliquidated
          Campbellsville, Kentucky 42718-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swan, Laura                                                         Contingent
          4665 Victor Path #1                                                 Unliquidated
          Hugo, Minnesota 55038-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swanson, Kristina                                                   Contingent
          2505 Slayton Dr                                                     Unliquidated
          Bloomington, Illinois 61704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.742
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swanson, Natasha                                                    Contingent
          2129 190th Street                                                   Unliquidated
          Boone, Iowa 50036-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.742
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SWC Technology Partners, LLC                                        Contingent
          1420 Kensington Road Suite 110                                      Unliquidated
          Oak Brook, IL 60523
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1062 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1086 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.742
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sweet, Trenton                                                      Contingent
          9113 Meade St.                                                      Unliquidated
          Westminster, Colorado 80031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.742
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swenor, Afton                                                       Contingent
          212 Blemhuber Ave                                                   Unliquidated
          Marquette, Michigan 49855-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.742
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swilley, Chenae                                                     Contingent
          12020 N. Gessner Rd                                                 Unliquidated
          7208
                                                                              Disputed
          Houston, Texas 77064-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.742
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swoope, Stacy                                                       Contingent
          4430 North Holland Sylvania Ro                                      Unliquidated
          Apt 1307
                                                                              Disputed
          Toledo, Ohio 43623-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.742
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swope, Chada                                                        Contingent
          117 High Meadow Lane                                                Unliquidated
          Ashville, Pennsylvania 16613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.742
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swope, Christine                                                    Contingent
          2345 S. Williams Street                                             Unliquidated
          Denver, Colorado 80210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.742
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Swygart, Amy                                                        Contingent
          15346 Cypress Pointe Drive                                          Unliquidated
          Fort Wayne, Indiana 46818-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1063 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1087 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.742
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SYCAMORE SCHOOL DISTRICT 427                                        Contingent
          245 W. Exchange Street                                              Unliquidated
          Sycamore, IL 60178
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sylejmanovski, Nagiyan                                              Contingent
          34 North 12th Street                                                Unliquidated
          Haledon, New Jersey 07508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Symmonds, Jill                                                      Contingent
          230 E 6th Street                                                    Unliquidated
          Chuluota, Florida 32766-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sypris Solutions Inc.                                               Contingent
          101 Bullitt Lane                                                    Unliquidated
          Suite 450
                                                                              Disputed
          Louisville, KY 40222
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.743
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Szecsi, Zsolt                                                       Contingent
          1915 N Yale Ave                                                     Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Szopa, Nancy                                                        Contingent
          85 East India Row                                                   Unliquidated
          Unit #15C
                                                                              Disputed
          Boston, Massachusetts 02110-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.743
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Szpajer, Grace                                                      Contingent
          150 Wildflower Way                                                  Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1064 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1088 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.743
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Szymanski, Brianna                                                  Contingent
          3481 Frye Avenue                                                    Unliquidated
          Finleyville, Pennsylvania 15332-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,440.00
          Tableau Software                                                    Contingent
          1621 N. 34th Street                                                 Unliquidated
          Seattle, WA 98103
                                                                              Disputed
          Date(s) debt was incurred      2/29/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tabor, Tiffany                                                      Contingent
          12616 Harbor Dr                                                     Unliquidated
          Woodbridge, Virginia 22192-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tacka, Mary                                                         Contingent
          4 Silktree Court                                                    Unliquidated
          Catonsville, Maryland 21228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tackett, Melodie                                                    Contingent
          4816 Carnbrook Place                                                Unliquidated
          Charlotte, North Carolina 28212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TACO JOHNS INTERNATIONAL                                            Contingent
          808 West 20 Street                                                  Unliquidated
          Cheyenne, WY 82001
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tacony                                                              Contingent
          1760 Gilsinn Lane                                                   Unliquidated
          Fenton, MO 63026
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1065 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1089 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.744
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taddeo, Christina                                                   Contingent
          482 South Western Avenue                                            Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tafone, Denise                                                      Contingent
          30 Hastings Lane                                                    Unliquidated
          Medford, Massachusetts 02155-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tafoya, Janice                                                      Contingent
          14076 West Edgemont Ave.                                            Unliquidated
          Goodyear, Arizona 85395-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tait, Allison                                                       Contingent
          21 Millway Road                                                     Unliquidated
          Lumberton, New Jersey 08048-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Takeda Pharmaceuticals U.S.A. Inc.                                  Contingent
          1200 Lakeside Drive                                                 Unliquidated
          Bannockburn, IL 60015
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Takeform (HMNYS)                                                    Contingent
          11601 Maple Ridge Rd                                                Unliquidated
          Medina, NY 14103
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Talbot, Nora                                                        Contingent
          345 west 39th ave                                                   Unliquidated
          eugene, Oregon 97405-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1066 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1090 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.745
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Talbott, Debra                                                      Contingent
          1553 E Country Lane                                                 Unliquidated
          Mulvane, Kansas 67110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Talley, Kim-Marie                                                   Contingent
          18 Running Brook Lane                                               Unliquidated
          Newark, Delaware 19711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tallo, Patti                                                        Contingent
          404 Chantilly Court                                                 Unliquidated
          Warrenton, Missouri 63383-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tam, Roberto                                                        Contingent
          20425 Silverado Ave                                                 Unliquidated
          Cupertino, California 95014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tamayo, Eva                                                         Contingent
          231 Leafwood Court                                                  Unliquidated
          Suisan, California 94585-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tamayo, Lejla                                                       Contingent
          5707 TPC Pkwy Apt1022                                               Unliquidated
          San Antonio, Texas 78261-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tamosaitis, Sarah                                                   Contingent
          10948 E Tumbleweed Ave                                              Unliquidated
          Mesa, Arizona 85212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1067 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1091 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.745
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tamrazzadeh, Cynthia                                                Contingent
          3340 Prospect Ave                                                   Unliquidated
          La Crescenta, California 91214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tanana Chiefs Conference                                            Contingent
          1408 19th Avenue                                                    Unliquidated
          Fairbanks, AK 99701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.745
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tang, Lyly                                                          Contingent
          2974 Sawgrass Trail SW                                              Unliquidated
          Lilburn, Georgia 30047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tangen, Jennifer                                                    Contingent
          11900 Northeast 18th Street                                         Unliquidated
          Apt 464
                                                                              Disputed
          Vancouver, Washington 98684-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.746
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          Tango Card aka GiftCertificates.com                                 Contingent
          4700 42nd Ave SW, Suite 430A                                        Unliquidated
          Seattle, WA 98116
                                                                              Disputed
          Date(s) debt was incurred 6/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tankersley, Margo                                                   Contingent
          1513 Binder Lane                                                    Unliquidated
          Wilmington, Delaware 19805-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tannehill, Lisa                                                     Contingent
          9945 Co Rd 540                                                      Unliquidated
          Lavon, Texas 75166-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1068 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1092 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.746
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tanner, Galina                                                      Contingent
          7521 Deerfield Rd                                                   Unliquidated
          Albuquerque, New Mexico 87120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tanque Verde Unified School District                                Contingent
          2300 N Tanque Verde Loop Road                                       Unliquidated
          Building 1
                                                                              Disputed
          Tucson, AZ 85749
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.746
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tantasook, Siwa Art                                                 Contingent
          440 E. Pine Lake Circle                                             Unliquidated
          Vernon Hills, Illinois 60061-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TARC, Inc.                                                          Contingent
          2701 SW Randolph Avenue                                             Unliquidated
          Topeka, KS 66611
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taroy, Maria Christina                                              Contingent
          206 Judy Ln                                                         Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tartir, Pamela                                                      Contingent
          7330 Sandalwood Dr                                                  Unliquidated
          Tinley Park, Illinois 60477-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.747
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tarver, Danielle                                                    Contingent
          4616 Debilen Circle #F                                              Unliquidated
          Pikesville, Maryland 21208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1069 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1093 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.747
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tate, Khandase                                                      Contingent
          800 E. Grand Ave                                                    Unliquidated
          Apt. 35B
                                                                              Disputed
          Carbondale, Illinois 62901-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.747
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tate, Toni                                                          Contingent
          6720 s Jeffery blvd                                                 Unliquidated
          602
                                                                              Disputed
          Chicago, Illinois 60649-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.747
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tau, Jerie                                                          Contingent
          741 Tom's canyon road                                               Unliquidated
          auburn, Wyoming 83111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.747
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tausan, Karin                                                       Contingent
          P.O. Box 16202                                                      Unliquidated
          San Diego, California 92176-6202
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.747
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tayloe, Jessica                                                     Contingent
          8540 Greenway Blvd                                                  Unliquidated
          Apt 107
                                                                              Disputed
          Middleton, Wisconsin 53562-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.747
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor Devices (HMNYS)                                              Contingent
          90 Taylor Drive                                                     Unliquidated
          North Tonawanda, NY 14120
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.747
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor Made                                                         Contingent
          66 Kingsboro Avenue                                                 Unliquidated
          Gloversville, NY 12078
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1070 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1094 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.747
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Abigail                                                     Contingent
          6108 Kiwanis Dr                                                     Unliquidated
          Fort Wayne, Indiana 46835-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.747
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Brady                                                       Contingent
          8324 SE 11th Ave.                                                   Unliquidated
          Unit B
                                                                              Disputed
          Portland, Oregon 97202-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.748
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Cayla                                                       Contingent
          13254 Companion Circle S                                            Unliquidated
          Jacksonville, Florida 32224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Cory                                                        Contingent
          3101 Southern Ave #27                                               Unliquidated
          Temple Hills, Maryland 20748-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Ida                                                         Contingent
          2825 N HWY 360 #234                                                 Unliquidated
          Grand Prairie, Texas 75050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Jackson                                                     Contingent
          116 Seton Rd                                                        Unliquidated
          Cheektowaga, New York 14225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, LeeAnn                                                      Contingent
          14200 N May Ave #221                                                Unliquidated
          Oklahoma City, Oklahoma 73134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1071 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1095 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.748
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Rosemarie                                                   Contingent
          10024 NE 140th St.                                                  Unliquidated
          Kirkland, Washington 98034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Sheila                                                      Contingent
          13553 Lockwood Ave                                                  Unliquidated
          Crestwood, Illinois 60445-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Shelia                                                      Contingent
          6412 Brentwood Stair Rd                                             Unliquidated
          Apt 108
                                                                              Disputed
          Fort Worth, Texas 76112-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.748
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Sheree                                                      Contingent
          1215 Victoria Blvd                                                  Unliquidated
          Hampton, Virginia 23661-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Taylor, Teresita                                                    Contingent
          5289 Waring Road                                                    Unliquidated
          San Diego, California 92120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tbakhi, Islam                                                       Contingent
          1766 Pebble Beach Drive                                             Unliquidated
          Hoffman Estates, Illinois 60169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TC Industries, Inc.                                                 Contingent
          3703 S Rte. 31                                                      Unliquidated
          Crystal Lake, IL 60012
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1072 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1096 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.749
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Teach Enterprises, Inc. DBA Century Foam                            Contingent
          2600 South Nappanee St.                                             Unliquidated
          Elkhart, IN 46517
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Teague, Caleb                                                       Contingent
          10715 Regal Oaks Dr                                                 Unliquidated
          Austin, Texas 78737-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Teague, Yasmine                                                     Contingent
          103 Donegal Ct                                                      Unliquidated
          Oswego, Illinois 60543-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TEAMSTERS LOCAL 731                                                 Contingent
          1000 Burr Ridge Parkway Suite 300                                   Unliquidated
          Burr Ridge, IL 60527
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tebrugge, Kevin                                                     Contingent
          2804 Cronin Dr                                                      Unliquidated
          Springfield, Florida 62711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tech Air Companies                                                  Contingent
          50 Mill Plain Road                                                  Unliquidated
          Danbury, CT 06811
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Teichrow, April                                                     Contingent
          2121 N Fm 312                                                       Unliquidated
          Winnsboro, Texas 75494-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1073 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1097 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.749
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tek Pak                                                             Contingent
          1336 Paramount Parkway                                              Unliquidated
          Batavia, IL 60510
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TELULAR CORPORATION                                                 Contingent
          311 S Wacker Dr                                                     Unliquidated
          Suite 4300
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.750
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Temp-Con, Inc.                                                      Contingent
          15670 S. Keeler Street                                              Unliquidated
          Olathe, KS 66062
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tempco Electric Heater Corporation                                  Contingent
          607 North Central Avenue                                            Unliquidated
          Wood Dale, IL 60191
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Templeman, Hope                                                     Contingent
          4621 Brushy Fork Rd                                                 Unliquidated
          Bridgeport, Virginia 26330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tenhuisen, Katherine                                                Contingent
          4821 Fairgrove Lane                                                 Unliquidated
          Commerce Twp, Michigan 48382-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tennessee Department of Revenue                                     Contingent
          TDOR c/o Attorney General                                           Unliquidated
          PO Box 20207
                                                                              Disputed
          Nashville, TN 37202-0207
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1074 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1098 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.750
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tension Corporation                                                 Contingent
          819 E 19th Street                                                   Unliquidated
          Kansas City, MO 64108-1703
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tention, Parthenopi                                                 Contingent
          9317 Samoset rd                                                     Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tepler, Ashleigh                                                    Contingent
          1907 N Milwaukee Ave                                                Unliquidated
          #203
                                                                              Disputed
          Chicago, Illinois 60647-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.750
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Terphane Inc.                                                       Contingent
          2754 West Park Drive                                                Unliquidated
          bloomfield, NY 14469
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.751
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Terriquez, Diana                                                    Contingent
          1543 Marina Court, Unit A                                           Unliquidated
          San Mateo, California 94403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.751
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Terry, Dana                                                         Contingent
          3348 Blaine St NE                                                   Unliquidated
          Washington DC, District of Columbia 2001
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.751
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Terry, Kalena                                                       Contingent
          12331 N Gessner RD # 424                                            Unliquidated
          Houston, Texas 77064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1075 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1099 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.751
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Terry, Leanne                                                       Contingent
          105 Camellia Dr                                                     Unliquidated
          Lebanon, Oregon 97355-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.751
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Terwelp, Kelsey                                                     Contingent
          2045 Locust St                                                      Unliquidated
          Apt 2
                                                                              Disputed
          Quincy, Illinois 62301-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.751
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Teschner, Kelley                                                    Contingent
          4857 Amarosa Heights Apt 301                                        Unliquidated
          Colorado Springs, Colorado 80920-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.751
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tesfay, Ruta                                                        Contingent
          742 Coffee Tree Cir                                                 Unliquidated
          Indianapolis, Indiana 46224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.751
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $30.00
          TestSource Lab                                                      Contingent
          3414 Lovers Lane, Suite A                                           Unliquidated
          Suite 8
                                                                              Disputed
          Kalamazoo, MI 49001
          Date(s) debt was incurred 3/31/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.751
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Testut, Zach                                                        Contingent
          774 Old Duanesburg Rd                                               Unliquidated
          Schenectady, New York 12306-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.751
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Teter, Heather                                                      Contingent
          13370 Grove Way                                                     Unliquidated
          Broomfield, Colorado 80020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1076 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1100 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.752
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Teton County                                                        Contingent
          1 Main Ave South                                                    Unliquidated
          Choteau, MT 59422
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.752
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tewar, Chirag                                                       Contingent
          1618 Thornbury Road                                                 Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.752
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Texas Comptroller of Public Accounts
          Office of the Attorney General- Bankrupt                            Contingent
          P.O. Box 12548                                                      Unliquidated
          MC-008                                                              Disputed
          Austin, TX 78711
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.752
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Texoma Community Center                                             Contingent
          315 McLain                                                          Unliquidated
          Sherman, TX 75091
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.752
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tgs-Nopec Geophysical Company                                       Contingent
          10451 Clay Rd.                                                      Unliquidated
          Houston, TX 77041
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.752
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thakar, Arti                                                        Contingent
          5513 Ridge Crossing                                                 Unliquidated
          Hanover Park, Illinois 60133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1077 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1101 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.752
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thammathai, Linda                                                   Contingent
          332 W Naperville Road                                               Unliquidated
          apt 12
                                                                              Disputed
          Westmont, Illinois 60559-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.752
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thao, Pang                                                          Contingent
          1968 Maryland Ave E                                                 Unliquidated
          Saint Paul, Minnesota 55119-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.752
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tharp, Joshua                                                       Contingent
          14344 Willow Tree Lane                                              Unliquidated
          West Frankfort, Illinois 62896-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.752
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tharp, Kristen                                                      Contingent
          14344 Willow Tree Lane                                              Unliquidated
          West Frankfort, Illinois 62896-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thatcher Unified School District                                    Contingent
          3490 W. Main St.                                                    Unliquidated
          Thatcher, AZ 85552
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thayn, Elizabeth                                                    Contingent
          3401 E. Kent Ave                                                    Unliquidated
          Gilbert, Arizona 85296-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The American College                                                Contingent
          270 S. Bryn Mawr Ave., Suite 1                                      Unliquidated
          Bryn Mawr, PA 19010
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1078 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1102 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.753
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The American Society of Anesthesiologist                            Contingent
          1061 American Lane                                                  Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THE ARC OTSEGO                                                      Contingent
          35 Academy Street                                                   Unliquidated
          PO Box 490
                                                                              Disputed
          Oneonta, NY 13820
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.753
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Bonadio Group                                                   Contingent
          171 Sully's Trail                                                   Unliquidated
          Pittsford, NY 14534
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $210.00
          The Clear Alternative                                               Contingent
          P.O. Box 301                                                        Unliquidated
          Winfield, IL 60190
                                                                              Disputed
          Date(s) debt was incurred      4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Cleveland Group                                                 Contingent
          1281 Fulton Industrial Blvd. NW                                     Unliquidated
          Atlanta, GA 30336
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The CSI Companies, Inc.                                             Contingent
          9995 Gates Pkwy N Ste 150                                           Unliquidated
          Jacksonville, FL 32246
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Denver Center for the Performing Art                            Contingent
          1101 13th St                                                        Unliquidated
          Denver, CO 80204
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1079 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1103 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.754
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Elms of Cranbury                                                Contingent
          61 Maplewood Avenue                                                 Unliquidated
          Cranbury, NJ 08512
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.754
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Farmers National Bank of Emlenton                               Contingent
          612 Main Street                                                     Unliquidated
          P.O. Drawer D
                                                                              Disputed
          Emlenton, PA 16373
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.754
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Flooring Place                                                  Contingent
          1891 Boot Hill Ct                                                   Unliquidated
          Bozeman, MT 59715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.754
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Fountainhead Group, Inc                                         Contingent
          23 Garden Street                                                    Unliquidated
          New York Mills, NY 13417
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.754
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Gund Company                                                    Contingent
          2121 Walton Rd                                                      Unliquidated
          St. Louis, MO 63114-5807
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.754
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Hampshire Companies, LLC                                        Contingent
          83 South Street                                                     Unliquidated
          Morristown, NJ 07960
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.754
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Heart Group                                                     Contingent
          4007 Gateway Blvd                                                   Unliquidated
          Suite 100
                                                                              Disputed
          Newburgh, IN 47630
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1080 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1104 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.754
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,250.00
          The Horton Group                                                    Contingent
          Att: Jason Helfert                                                  Unliquidated
          10320 Orland Parkway
                                                                              Disputed
          Orland Park, IL 60467
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.754
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The House of the Good Shepherd                                      Contingent
          116 Business Park Drive                                             Unliquidated
          Utica, NY 13502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.754
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Insurance Center                                                Contingent
          701 Sand Lake Road                                                  Unliquidated
          Onalaska, WI 54650
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Intersect Group LLC                                             Contingent
          10 Glenlake Parkway, Suite 300                                      Unliquidated
          Atlanta, GA 30328
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Kendal Corporation                                              Contingent
          1107 E Baltimore Pike                                               Unliquidated
          Kennett Square, PA 19348
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Main Street Group                                               Contingent
          4601 Touchton Read East Suite 3400                                  Unliquidated
          Jacksonville, FL 32246
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Menninger Clinic                                                Contingent
          12301 Main Street                                                   Unliquidated
          Houston, TX 77035
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1081 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1105 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.755
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Mid-York Press, Inc.                                            Contingent
          2808 State Highway 80                                               Unliquidated
          Sheburne, ny 13460
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The North West Company International, In                            Contingent
          550 West 64th Avenue, Suite 200                                     Unliquidated
          Anchorage, AK 99518
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Penray Companies, Inc.                                          Contingent
          440 Denniston Court                                                 Unliquidated
          Wheeling, IL 60090
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The PRG Group                                                       Contingent
          36 Center Ln                                                        Unliquidated
          Gallatin Gateway, MT 59730
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Royal Group                                                     Contingent
          1301 South 47th Avenue                                              Unliquidated
          Cicero, IL 60804
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Saint Louis Brewery, LLC                                        Contingent
          2100 Locust Street                                                  Unliquidated
          St. Louis, MO 63103
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Second City, Inc.                                               Contingent
          1616 N. Wells Street                                                Unliquidated
          Chicago, IL 60614
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1082 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1106 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.756
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Sundt Companies                                                 Contingent
          2620 S. 55th St.                                                    Unliquidated
          Tempe, AZ 85282
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Village of Evergreen Park                                       Contingent
          9418 South Kedzie Avenue                                            Unliquidated
          Chicago, IL 60805
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Weitz Company                                                   Contingent
          420 Watson Powell Jr Way # 100                                      Unliquidated
          Des Moines, IA 50309-1611
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,538.65
          The Wellness Research                                               Contingent
          1400 Renaissance Drive                                              Unliquidated
          Suite 306
                                                                              Disputed
          Park Ridge, IL 60068
          Date(s) debt was incurred 4/24/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.756
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          The Zenger Group                                                    Contingent
          777 E Park Dr                                                       Unliquidated
          Tonawanda, NY 14150
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thelen, Andrea                                                      Contingent
          116 Plymouth Ave                                                    Unliquidated
          Buffalo, New York 14201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thelusma, Joann                                                     Contingent
          338 John Street                                                     Unliquidated
          Roselle, New Jersey 07203-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1083 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1107 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.756
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Theobald, Lisa                                                      Contingent
          7930 Castle Lake Rd                                                 Unliquidated
          Indianapolis, Indiana 46256-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Theodorowicz, Sharon                                                Contingent
          9713 E Camino Del Santo                                             Unliquidated
          Scottsdale, Arizona 85260-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thiessen, Lisa                                                      Contingent
          20700 SW Kawanda Court                                              Unliquidated
          Tualatin, Oregon 97062-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thimons, Chad                                                       Contingent
          17 Heritage Court                                                   Unliquidated
          Delmont, Pennsylvania 15626-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Think Mutual Bank                                                   Contingent
          5200 Members Parkway NW                                             Unliquidated
          Rochester, MN 55901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          This is justa test                                                  Contingent
          123 easy st                                                         Unliquidated
          palatine, il 60047
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THK America, Inc                                                    Contingent
          200 Commerce Drive                                                  Unliquidated
          Schaumburg, IL 60173
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1084 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1108 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.757
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas McGee, L.C.                                                  Contingent
          920 Main                                                            Unliquidated
          Suite 1700
                                                                              Disputed
          Kansas City, MO 64105
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.757
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Aisha                                                       Contingent
          21 Serpens Court                                                    Unliquidated
          Baltimore, Maryland 21237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Alexandrea                                                  Contingent
          1691 Mesa Drive                                                     Unliquidated
          G6
                                                                              Disputed
          Newport Beach, California 92660-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.757
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Angela                                                      Contingent
          680 Whitetail Loop                                                  Unliquidated
          Apopka, Florida 32703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Brenda                                                      Contingent
          4539 Brittany Lane                                                  Unliquidated
          Grand Prairie, Texas 75052-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Briana                                                      Contingent
          6 Alexis Court                                                      Unliquidated
          Mickleton, New Jersey 08056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Brittney                                                    Contingent
          23535 Rockingham St                                                 Unliquidated
          Southfield, Michigan 48033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1085 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1109 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.758
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Christina                                                   Contingent
          1112 5TH ST                                                         Unliquidated
          PIERCE, Colorado 80650-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Dennison                                                    Contingent
          1609 W Moss Ave                                                     Unliquidated
          Peoria, Illinois 61606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Heidi                                                       Contingent
          2936 N. Princess Circle                                             Unliquidated
          Broomfield, Colorado 80020-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Jelicia                                                     Contingent
          138 N. Beaudry ave apt. 309                                         Unliquidated
          Los Angles, California 90012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, John                                                        Contingent
          13427 East 45th Street                                              Unliquidated
          Tulsa, Oklahoma 74134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Kevin                                                       Contingent
          771 Childress Drive                                                 Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Kourtney                                                    Contingent
          863 52nd st                                                         Unliquidated
          Oakland, California 94608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1086 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1110 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.758
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, LaShon                                                      Contingent
          426 Red Tulip Ct                                                    Unliquidated
          Taneytown, Maryland 21787-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Lisa                                                        Contingent
          708 La Fonda Cir                                                    Unliquidated
          Seagoville, Texas 75159-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Lori                                                        Contingent
          2208 Diane Street                                                   Unliquidated
          Papillion, Nebraska 68046-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Melissa                                                     Contingent
          6322 East Dunbar Road                                               Unliquidated
          Monroe, Michigan 48161-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Olivia                                                      Contingent
          5229 Leader Ave                                                     Unliquidated
          Sacramento, California 95841-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Tarnisha                                                    Contingent
          6701 Galaxie Dr                                                     Unliquidated
          Dayton, Ohio 45415-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas, Yvette                                                      Contingent
          8500 Grant Circle Apt B-120                                         Unliquidated
          Merrillville, Indiana 46410-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1087 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1111 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.759
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomas-Baxter, Gayle                                                Contingent
          483 Huntington Ave                                                  Unliquidated
          Hyde Park, Massachusetts 02136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomasson, Rachel                                                   Contingent
          633 Decatur St.                                                     Unliquidated
          St. Charles, Missouri 63301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompsen, Lisa                                                      Contingent
          8745 Monterey Bay Loop                                              Unliquidated
          Bradenton, Florida 34212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.759
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Alexis                                                    Contingent
          1619 Currant Court                                                  Unliquidated
          North Port, Florida 34289-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Angela                                                    Contingent
          213 Derosa Dr                                                       Unliquidated
          Hampton, Virginia 23666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Arlene                                                    Contingent
          1351 Franklin Parkway Apt D1                                        Unliquidated
          Franklin, Georgia 30217-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Ashley                                                    Contingent
          1963 Evangeline Drive                                               Unliquidated
          Miamisburg, Ohio 45342-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1088 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1112 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.760
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Barbra                                                    Contingent
          72 Lewiston Rd                                                      Unliquidated
          New Gloucester, Maine 04260-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Beverly                                                   Contingent
          5267beacon ave                                                      Unliquidated
          5267 beacon ave
                                                                              Disputed
          St Louis, Missouri 63120-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.760
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Emily                                                     Contingent
          14621 S Elk Creek Rd                                                Unliquidated
          Pine, Colorado 80470-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Eric                                                      Contingent
          136 April Wind Ct.                                                  Unliquidated
          Montgomery, Texas 77356-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Jordon                                                    Contingent
          14 Waters Edge Drive                                                Unliquidated
          Little Rock, Arkansas 72204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Laura                                                     Contingent
          9580 Old Glory Lane APT 817                                         Unliquidated
          Summerville, South Carolina 29485-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.760
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Lee Anna                                                  Contingent
          11 Villas Drive                                                     Unliquidated
          Apt. 3
                                                                              Disputed
          New Castle, Delaware 19720-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1089 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1113 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.761
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Leslie                                                    Contingent
          1300 Hansberry Dr                                                   Unliquidated
          Allen, Texas 75002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.761
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Maggie                                                    Contingent
          8750 E. El Nido Lane                                                Unliquidated
          Scottsdale, Arizona 85250-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.761
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Margaret                                                  Contingent
          2227 E Pratt Street                                                 Unliquidated
          Apartment 1
                                                                              Disputed
          Baltimore, Maryland 21231-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.761
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Ronisha                                                   Contingent
          1 Keel Court #316                                                   Unliquidated
          Hampton, Virginia 23666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.761
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Sherry                                                    Contingent
          1359 Lincolnshire Way                                               Unliquidated
          Fort Worth, Texas 76134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.761
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Tracy                                                     Contingent
          4715 Brompton Square                                                Unliquidated
          Richmond, Virginia 23234-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.761
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thompson, Wendy                                                     Contingent
          3107 Scenic View Dr                                                 Unliquidated
          Morgantown, West Virginia 26508-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1090 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1114 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.761
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thomsen, Kristie                                                    Contingent
          123 22nd Avenue North                                               Unliquidated
          St. Cloud, Minnesota 56303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.761
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thorn, Christopher                                                  Contingent
          218 Coteau Place                                                    Unliquidated
          Lilburn, Georgia 30047-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.761
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thornhill, Julie                                                    Contingent
          19121 Lake Audubon Ave                                              Unliquidated
          Tampa, Florida 33647-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thornton Fractional HSD 215                                         Contingent
          18601 Torrence Ave                                                  Unliquidated
          Lansing, IL 60438
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thornton Township High SD#205                                       Contingent
          465 E. 170th Street                                                 Unliquidated
          South Holland, IL 60473
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thornton, Blair                                                     Contingent
          1803 Broadway                                                       Unliquidated
          Unit 222
                                                                              Disputed
          Nashville, Tennessee 37203-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.762
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thunderbird LLC                                                     Contingent
          1501 Oakton Street                                                  Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1091 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1115 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.762
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thurston, Atlee                                                     Contingent
          339 Eastside Rd                                                     Unliquidated
          Burns, Tennessee 37029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thweatt, Pamela                                                     Contingent
          5101 Abbott Dr.                                                     Unliquidated
          Temple Hills, Maryland 20748-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thyberg, Leah                                                       Contingent
          12037 Distant Thunder Trail                                         Unliquidated
          Clarksville, Maryland 21029-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Thygesen, Eric                                                      Contingent
          1753 Heritage Lane                                                  Unliquidated
          Sacramento, California 95815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tibbitts, Nannette Nan                                              Contingent
          2818 West Daybreaker Drive                                          Unliquidated
          Park City, Utah 84098-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tibbs, Mariah                                                       Contingent
          155 South Hickin Street                                             Unliquidated
          Rittman, Ohio 44270-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tice, Sonja                                                         Contingent
          11131 E Cholla Rd                                                   Unliquidated
          Mesa, Arizona 85207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1092 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1116 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.763
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ticknor, Prudence                                                   Contingent
          405 East Vance St                                                   Unliquidated
          Fuquay-Varina, North Carolina 27526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tiegs, Dawn                                                         Contingent
          1101 Beaver Dr                                                      Unliquidated
          Gillette, Wyoming 82718-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tierpoint, LLC                                                      Contingent
          12444 Powerscout Dr., Suite 450                                     Unliquidated
          St. Louis, MO 63131
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tiffany, Jelaine                                                    Contingent
          1670 5th Avenue                                                     Unliquidated
          Baldwin, Wisconsin 54002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tiffany, Vikki                                                      Contingent
          1201 4th St NE                                                      Unliquidated
          Minot, North Dakota 58703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tillotson, Stacie                                                   Contingent
          8105 S. Farm Brook Way                                              Unliquidated
          Sandy, Utah 84093-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Time Definite Services                                              Contingent
          1360 Madeline Lane Suite 300                                        Unliquidated
          Elgin, IL 60124
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1093 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1117 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.763
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Times Supermarkets Inc.                                             Contingent
          3375 Koapaka St. #D108                                              Unliquidated
          Honolulu, HI 96819
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Timmons, Moria                                                      Contingent
          1463 S 71st St                                                      Unliquidated
          West Allis, Wisconsin 53214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.764
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tims, Charmonique                                                   Contingent
          216 N. Oak Park Ave                                                 Unliquidated
          Apt 3AA
                                                                              Disputed
          Oak Park, Illinois 60302-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.764
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tincher, Kari                                                       Contingent
          101 Gillespie Drive                                                 Unliquidated
          Apt. 11108
                                                                              Disputed
          Franklin, Tennessee 37067-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.764
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tinker, Anne                                                        Contingent
          3321 Shagbark Road                                                  Unliquidated
          Powell, Tennessee 37849-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.764
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tinker, Michael                                                     Contingent
          3321 Shagbark Road                                                  Unliquidated
          Powell, Tennessee 37849-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.764
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tioga County                                                        Contingent
          56 Main Street                                                      Unliquidated
          Owego, NY 13827
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1094 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1118 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.764
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tire Discounters                                                    Contingent
          3650 E Kemper Rd                                                    Unliquidated
          Cincinnati, OH 45241
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.764
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toastmasters International                                          Contingent
          9127 South Jamaica Street                                           Unliquidated
          Englewood, CO 80112
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.764
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Todd, Michael                                                       Contingent
          914 Lincoln Street                                                  Unliquidated
          Oregon City, Oregon 97045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.764
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tojong, Paulo                                                       Contingent
          2429 West Avenue 33                                                 Unliquidated
          Los Angeles, California 90065-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.764
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tok, Orhan                                                          Contingent
          12395 Orchard Wood Dr                                               Unliquidated
          Fenton, Michigan 48430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toledo Public Schools                                               Contingent
          420 East Manhattan Blvd.                                            Unliquidated
          Toledo, OH 43608
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toledo, Jennifer                                                    Contingent
          8803 Ariel Street                                                   Unliquidated
          Houston, Texas 77074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1095 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1119 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.765
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tolentino, Anna                                                     Contingent
          6981 San Juan Circle                                                Unliquidated
          Buena Park, California 90620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toliver, Leslie                                                     Contingent
          4261 E University Drive #343                                        Unliquidated
          Prosper, Texas 75078-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tollefson, Alicia                                                   Contingent
          5615 Summer Shine Drive                                             Unliquidated
          Apt. 105
                                                                              Disputed
          Madison, Wisconsin 53718-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.765
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tollefsrud, Paul                                                    Contingent
          2101 Estates Tr                                                     Unliquidated
          Burnsville, Minnesota 55306-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tolleson Union High School District #214                            Contingent
          9801 W. Van Buren Street                                            Unliquidated
          Tolleson, AZ 85353
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tolliver, Elisha                                                    Contingent
          11528 Prairie                                                       Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toltec Elementary School District                                   Contingent
          3315 N Toltec                                                       Unliquidated
          Eloy, AZ 85131
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1096 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1120 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.765
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tomaso, Valerie                                                     Contingent
          700 Bordeaux Ct                                                     Unliquidated
          Unit E
                                                                              Disputed
          Elk Grove, Illinois 60007-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.766
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tombstone Unified School District                                   Contingent
          1211 Yellow Jacket Way                                              Unliquidated
          Tombstone, AZ 85638
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tomlinson, Jennifer                                                 Contingent
          113 Hein Drive                                                      Unliquidated
          Clayton, North Carolina 27527-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tompkins, Lynette D                                                 Contingent
          6109 Smoker Road                                                    Unliquidated
          Centerville, Indiana 47330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TOMS Shoes                                                          Contingent
          5404 Jandy Place                                                    Unliquidated
          Los Angeles, CA 90066
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tomsic, Jocelyn                                                     Contingent
          4502 Heritage Woods Ridge                                           Unliquidated
          Midlothian, Virginia 23112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tongay, January                                                     Contingent
          611 Grover St                                                       Unliquidated
          APT #1
                                                                              Disputed
          Liberty, Missouri 64068-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1097 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1121 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.766
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toole County                                                        Contingent
          226 1st St South                                                    Unliquidated
          Shelby, MT 59474
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toon, Suzanne                                                       Contingent
          3839 N Wayne Ave 2                                                  Unliquidated
          Chicago, Illinois 60613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toone, Traci                                                        Contingent
          2803 Broadacres Lane                                                Unliquidated
          Arlington, Texas 76016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.766
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TOOTSIE ROLL INDUSTRIES INC.                                        Contingent
          7401 S. Cicero                                                      Unliquidated
          Chicago, IL 60629
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Topco Associates LLC                                                Contingent
          150 Northwest Point Blvd.                                           Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toppan Photomasks (MHBT)                                            Contingent
          131 E Old Settlers Blvd                                             Unliquidated
          Round Rock, TX 78664
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torrens, Nicole                                                     Contingent
          4800 Atlantic Blvd Apt i155                                         Unliquidated
          Jacksonville, Florida 32207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1098 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1122 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.767
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torres, Andrea                                                      Contingent
          2755 Arrow Hwy Spc 74                                               Unliquidated
          La Verne, California 91750-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torres, Andreas                                                     Contingent
          5100 Foxridge Drive                                                 Unliquidated
          Mission, Kansas 66202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torres, Eleanor                                                     Contingent
          1123 Scott Street                                                   Unliquidated
          Fairfield, California 94533-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torres, Jose                                                        Contingent
          850 Cardinal Lane                                                   Unliquidated
          Lewisberry, Pennsylvania 17339-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torres, Laura                                                       Contingent
          2568 Bruce Ave                                                      Unliquidated
          Fort Worth, Texas 76111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torres, Noelle                                                      Contingent
          250 Terrace Drive                                                   Unliquidated
          Clarks Summit, Pennsylvania 18411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torres, Noemi                                                       Contingent
          328 Joan Ct. Unit A                                                 Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1099 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1123 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.768
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torres, Sandra                                                      Contingent
          12304 Squire Dr                                                     Unliquidated
          Balch Springs, Texas 75180-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Torress-Cook, Shelby                                                Contingent
          7501 E Mcdowell Rd., #1099                                          Unliquidated
          Scottsdale, Arizona 85257-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tosi, Lauren                                                        Contingent
          97 Pfister Drive                                                    Unliquidated
          Newington, Connecticut 06111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Total Plastics, Inc.                                                Contingent
          2810 North Burdick Street                                           Unliquidated
          Kalamazoo, MI 49004
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TOTES-ISOTONER                                                      Contingent
          9655 International Blvd. P.O. Box 465658                            Unliquidated
          Cincinnati, OH 45246
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toussaint, Ken                                                      Contingent
          4394 Wesleyan Pointe                                                Unliquidated
          Decatur, Georgia 30034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tovar, Sara                                                         Contingent
          526 Mar Cir Dr                                                      Unliquidated
          Alamo, Texas 78516-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1100 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1124 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.768
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tovi, Kajin                                                         Contingent
          3713 Bixby Drive                                                    Unliquidated
          Pano, Texas 75023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Towl, Kendall                                                       Contingent
          203 Pennsylvania Court                                              Unliquidated
          Dyess Afb, Texas 79607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Town of Amherst                                                     Contingent
          5583 Main St                                                        Unliquidated
          Williamsville, NY 14221
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Town of Normal                                                      Contingent
          11 Uptown Circle                                                    Unliquidated
          Normal, IL 61761
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Town of Simsbury                                                    Contingent
          933 Hopmeadow St                                                    Unliquidated
          PO Box 495
                                                                              Disputed
          Simsbury, CT 06070
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.769
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Town of Vestal                                                      Contingent
          605 Vestal Parkway w                                                Unliquidated
          Vestal, NY 13850
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Town of Whitestown                                                  Contingent
          S2014 Sandhill Road                                                 Unliquidated
          La Farge, wi 54639
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1101 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1125 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.769
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Towns, Amanda                                                       Contingent
          7155 S. Robertsdale Way                                             Unliquidated
          Aurora, Colorado 80016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Townsend, Cynthia                                                   Contingent
          1823 Widener Place                                                  Unliquidated
          Philadelphia, Pennsylvania 19141-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Townsend, Emma                                                      Contingent
          17 Charleston Park Drive                                            Unliquidated
          Houston, Texas 77025-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Townsend, Jennifer                                                  Contingent
          112 S. Oak St.                                                      Unliquidated
          Harrod, Ohio 45850-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Township High School District 211                                   Contingent
          1750 South Roselle Road                                             Unliquidated
          Palatine, IL 60067
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toyoda Gosei Indiana                                                Contingent
          5331 Foundation Blvd                                                Unliquidated
          New Albany, IN 38606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toyoda Gosei Kentucky                                               Contingent
          633 E Main St.                                                      Unliquidated
          Lebanon, KY 40033
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1102 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1126 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.770
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toyoda Gosei Mississippi                                            Contingent
          195 Corporate Dr.                                                   Unliquidated
          Batesville, MS 38606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toyoda Gosei Missouri Corporation                                   Contingent
          2200 Plattin Road                                                   Unliquidated
          Perryville, MO 63775
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Toyota Tsusho America Inc.                                          Contingent
          700 Triport Rd.                                                     Unliquidated
          Georgetown, KY 40324
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tracchio, Alrexandra                                                Contingent
          6740 Polo Drive                                                     Unliquidated
          Cumming, Georgia 30040-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trachte Building Systems, Inc.                                      Contingent
          314 Wilburn Road                                                    Unliquidated
          Sun Prairie, WI 53590-1469
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tracy, McGuire                                                      Contingent
          4424 Beta Avenue                                                    Unliquidated
          Newburgh Heights, Ohio 44105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TradeLink LLC                                                       Contingent
          71 South Wacker Drive, suite 1900                                   Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1103 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1127 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.770
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TradeNet Publishing, Inc.                                           Contingent
          1200 Energy Center Drive                                            Unliquidated
          Gardner, KS 66030
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TRADEWINDS RESORTS                                                  Contingent
          5500 Gulf Blvd                                                      Unliquidated
          St. Pete Beach, FL 33706
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.771
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trading Technologies                                                Contingent
          222 South Riverside Plaza                                           Unliquidated
          Suite 1100
                                                                              Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.771
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Traffic and Parking Control Company (TAP                            Contingent
          5100 W. Brown Deer Road                                             Unliquidated
          Brown Deer, WI 53223
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.771
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tragoszanos, Jennifer                                               Contingent
          18701 Stratford Road                                                Unliquidated
          Apt. 22
                                                                              Disputed
          Minnetonka, Minnesota 55345-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.771
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trainor, Kathy                                                      Contingent
          95 W Dudley Rd                                                      Unliquidated
          Dudley, Massachusetts 01571-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1104 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1128 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.771
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tran, Cecilia
          207 Auburn Dr                                                       Contingent
          Apt 5                                                               Unliquidated
          207 Auburn Dr                                                       Disputed
          Auburn, Alabama 36830-0000
                                                                             Basis for the claim:    Wages / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.771
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tran, Jenny                                                         Contingent
          6713 Duryea Ct                                                      Unliquidated
          Dayton, Ohio 45424-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.771
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tran, Kevin                                                         Contingent
          1N298 Purnell St                                                    Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.771
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tran, Michael                                                       Contingent
          17820 Misty Grove Drive                                             Unliquidated
          Dallas, Texas 75287-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.771
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tran, Thin                                                          Contingent
          1303 Aberford Dr                                                    Unliquidated
          San Jose, California 95131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.771
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tran, Thu                                                           Contingent
          5739 Parkside Place                                                 Unliquidated
          Newark, California 94560-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1105 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1129 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.772
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trans Ash Inc                                                       Contingent
          617 Shepherd Drive                                                  Unliquidated
          Cincinnati, OH 45215
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Traska, Dorothy                                                     Contingent
          15000 Mansions View Dr #502                                         Unliquidated
          Conroe, Texas 77384-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Traslavina, Gloria                                                  Contingent
          1901 Nora Dr                                                        Unliquidated
          Hollister, California 95023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TRAYLOR BROS                                                        Contingent
          835 N Congress Ave                                                  Unliquidated
          Evansville, IN 47715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Traylor, Tristan                                                    Contingent
          128 Mica                                                            Unliquidated
          Hot Springs, Arkansas 71901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Treasure County                                                     Contingent
          307 Rapelje - PO Box 392                                            Unliquidated
          Hysham, MT 59038
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trecartin, Julianne                                                 Contingent
          48 Marlu Street                                                     Unliquidated
          Westbrook, Maine 04092-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1106 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1130 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.772
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tree Town USA LTD                                                   Contingent
          5151 Mitchelldale St., Suite B                                      Unliquidated
          Houston, TX 77092
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Treisch, Shauna                                                     Contingent
          563 Tionesta Drive                                                  Unliquidated
          Dalton, Ohio 44618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trek Bicycles                                                       Contingent
          801 West Madison Street                                             Unliquidated
          Waterloo, WI 53594
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          trek inc                                                            Contingent
          190 Walnut Street                                                   Unliquidated
          Lockport, NY 14094
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trenhaile, Cassie                                                   Contingent
          3324 4th Ave S                                                      Unliquidated
          Minneapolis, Minnesota 55408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trevino Jasso, Karla                                                Contingent
          14220 Laterna Ln                                                    Unliquidated
          Houston, Texas 77083-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trex Company, Inc.                                                  Contingent
          160 Exeter Drive                                                    Unliquidated
          Winchester, VA 22603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1107 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1131 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.773
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tri City Electric                                                   Contingent
          6225 N. Brady Street                                                Unliquidated
          Davenport, IA 52806
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trial Vault International, Inc.
          155 North Wacker Drive                                              Contingent
          Suite 4250                                                          Unliquidated
          Attn: Paul Hannon                                                   Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Vendor / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.773
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trice, LaNissa                                                      Contingent
          7736 S Kimbark                                                      Unliquidated
          Chicago, Illinois 60619-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trilogy                                                             Contingent
          303 N Hurstbourne , Pkwy #200                                       Unliquidated
          Louisville, KY 40222
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trinity Christian College                                           Contingent
          6601 W College Dr                                                   Unliquidated
          Palos Heights, IL 60463
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.773
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Triple Creek Ranch                                                  Contingent
          5551 W Fork Rd                                                      Unliquidated
          Darby, MT 59829
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1108 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1132 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.774
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Triplett Machine Inc.                                               Contingent
          1374 Phelps Junction Rd                                             Unliquidated
          Phelps, NY 14532
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tritz, Rebekah                                                      Contingent
          3923 Carson Cutoff                                                  Unliquidated
          Martinez, Georgia 30907-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Triumph Group                                                       Contingent
          899 Cassatt Rd, #210                                                Unliquidated
          Berwyn, PA 19312
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Triumph Group - AON                                                 Contingent
          100 Default Address                                                 Unliquidated
          Arlington Heights, IL 60004
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trivette, Selena                                                    Contingent
          321 Winding Rd                                                      Unliquidated
          Bristol, Tennessee 37620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trojniar, Jill                                                      Contingent
          636 Garfield Ave                                                    Unliquidated
          Rockford, Illinois 61103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tromp, Dena                                                         Contingent
          1446 Ridgeway                                                       Unliquidated
          Arnold, Maryland 21012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1109 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1133 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.774
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trope, Rachel                                                       Contingent
          1828 18th St. NW                                                    Unliquidated
          Apt. B
                                                                              Disputed
          Washington DC, District of Columbia 2000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.774
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trout, Benjamin                                                     Contingent
          1343 Tullis St. NE                                                  Unliquidated
          Olympia, Washington 98506-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trowbridge, Kim                                                     Contingent
          577 Elko Ave                                                        Unliquidated
          Akron, Ohio 44305-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TROY CITY SCHOOL DISTRICT                                           Contingent
          500 North Market St.                                                Unliquidated
          Troy, OH 45373
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TRU-FLEX                                                            Contingent
          6640 Intech Boulevard, Suite 200                                    Unliquidated
          Indianapolis, IN 46278
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TRUE, Keasha                                                        Contingent
          708 W 90th street                                                   Unliquidated
          Kansas City, Missouri 64114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Truetken, Laura                                                     Contingent
          2810 Indiana Ave                                                    Unliquidated
          St. Louis, Missouri 63118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1110 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1134 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.775
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Trujillo, Rosa                                                      Contingent
          2029 Berdan Ave                                                     Unliquidated
          Toledo, Ohio 43613-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Truscott, Judy                                                      Contingent
          336 Orchird Ridge Drive                                             Unliquidated
          Lake Orion, Michigan 48362-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Truss, Jalisa                                                       Contingent
          12490 Quivira Road #4002                                            Unliquidated
          Overland Park, Kansas 66213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TruStile Doors, LLC                                                 Contingent
          1780 East 66th Ave.                                                 Unliquidated
          Denver, CO 80229
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tsipianitis, Spiro                                                  Contingent
          1624 S. Prospect                                                    Unliquidated
          Park Ridge, Illinois 60068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tsourakis, Christos                                                 Contingent
          21532 Edgewater Drive                                               Unliquidated
          Port Charlotte, Florida 33952-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TST Boces Consortium                                                Contingent
          555 Warren Rd                                                       Unliquidated
          Ithaca, NY 14850
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1111 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1135 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.776
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TTX COMPANY                                                         Contingent
          101 N. Wacker Dr.                                                   Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tuba City Unified School District                                   Contingent
          67 Fir Street                                                       Unliquidated
          Tuba City, AZ 86045
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tubbs, Ronald                                                       Contingent
          8024 Cross Bow Lane                                                 Unliquidated
          Theodore, Alabama 36582-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tubbs, Shantenette                                                  Contingent
          P.O. Box 154                                                        Unliquidated
          Lucedale, Mississippi 39452-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tuck, Jonathan                                                      Contingent
          2035 W El Camino Ave, #288                                          Unliquidated
          Sacramento, California 95833-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tucker, Becky                                                       Contingent
          2979 Melbourne Terrace                                              Unliquidated
          Mt Juliet, Tennessee 37122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tucker, Diana                                                       Contingent
          2979 Melbourne Terrace                                              Unliquidated
          Mt Juliet, Tennessee 37122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1112 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1136 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.776
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tucker, Dyas                                                        Contingent
          2184 Leatherstone Dr                                                Unliquidated
          Powder Springs, Georgia 30127-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tucker, Jamie                                                       Contingent
          1165 San Bernard Street                                             Unliquidated
          Austin, Texas 78702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tucker, Megan                                                       Contingent
          2356 South Scenic Drive                                             Unliquidated
          Salt Lake City, Utah 84109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tuffour, Gifty                                                      Contingent
          523 Van Kirk St.                                                    Unliquidated
          Philadelphia, Pennsylvania 19120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tully, Elizabeth                                                    Contingent
          1 East 11th Street                                                  Unliquidated
          Ocean City, New Jersey 08226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tully, Jake                                                         Contingent
          1 East 11th Street                                                  Unliquidated
          Ocean City, New Jersey 08226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turano, Joanna                                                      Contingent
          751 Alison Lane                                                     Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1113 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1137 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.777
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turcotte, Jean                                                      Contingent
          2 Meadow Pond Lane                                                  Unliquidated
          Natick, Massachusetts 01760-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turk, Emily                                                         Contingent
          610 Chastine Drive                                                  Unliquidated
          Spartanburg, South Carolina 29301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Charmaine                                                   Contingent
          603 Hay Street                                                      Unliquidated
          Apt. F
                                                                              Disputed
          Pittsburgh, Pennsylvania 15221-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.777
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Chelsey                                                     Contingent
          1704 Gordon Street                                                  Unliquidated
          Greensboro, North Carolina 27405-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.777
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Debbie                                                      Contingent
          615 Junction Street                                                 Unliquidated
          Morgantown, West Virginia 26505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Edna                                                        Contingent
          16919 Wood St                                                       Unliquidated
          Hazelcrest, Illinois 60429-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Evelyn                                                      Contingent
          2517 Dietz                                                          Unliquidated
          Lake Charles, Louisiana 70605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1114 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1138 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.778
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Joletta                                                     Contingent
          104 Lester Rd                                                       Unliquidated
          Park Forest, Illinois 60466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Kristin                                                     Contingent
          15605 - 24th Ave N, Unit A                                          Unliquidated
          Plymouth, Minnesota 55447-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Lauren                                                      Contingent
          775 Columbia St.                                                    Unliquidated
          Apt. B
                                                                              Disputed
          New Milford, New Jersey 07646-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.778
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Marsha                                                      Contingent
          133 Margaret Drive                                                  Unliquidated
          Hampton, Virginia 23669-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Monique                                                     Contingent
          1619 Kriswood Dr                                                    Unliquidated
          Houston, Texas 77014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Rachel                                                      Contingent
          4909 Hunter Village Drive                                           Unliquidated
          Olltewah, Tennessee 37363-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Shannon                                                     Contingent
          1308 Sunshine Court                                                 Unliquidated
          Lancaster, Texas 75134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1115 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1139 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.778
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turner, Stacy                                                       Contingent
          1025 Swiss Alpine Road                                              Unliquidated
          Midway, Utah 84049-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.779
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turning Point                                                       Contingent
          P.O. Box 548, 5 Perry Way                                           Unliquidated
          Newburyport, MA 01950
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.779
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Turpin, Karen                                                       Contingent
          3256 Page Ave                                                       Unliquidated
          Apt 304
                                                                              Disputed
          Virginia Beach, Virginia 23451-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.779
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tursi, Elsa                                                         Contingent
          2184 Merokee Dr                                                     Unliquidated
          Merrick, New York 11566-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.779
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Twitty, India                                                       Contingent
          11618 Honeydale Avenue                                              Unliquidated
          Cleveland, Ohio 44120-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.779
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,520.95
          TWO CENTURY, LLC                                                    Contingent
          FIS-Lockbox                                                         Unliquidated
          400A Commerce Blvd
                                                                              Disputed
          Carlstadt, NJ 07072-3018
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.779
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tyler, Ciarra                                                       Contingent
          601 Dickey Ave                                                      Unliquidated
          Greenfield, Ohio 45123-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1116 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1140 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.779
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tyler, Shameka                                                      Contingent
          655 East Royal Lane                                                 Unliquidated
          Apt. 3034
                                                                              Disputed
          Irving, Texas 75039-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.779
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tyner, Connie                                                       Contingent
          517 Fossil Hill Dr                                                  Unliquidated
          Arlington, Texas 76002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.779
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tyson, Quiana                                                       Contingent
          1020 Pacific St Apt 1                                               Unliquidated
          Saint Paul, Minnesota 55106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.779
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tzankova, Dessislava                                                Contingent
          5926 Sandhurst St, Apt 202                                          Unliquidated
          Canton, Michigan 48187-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          U.S. Waterproofing                                                  Contingent
          5650 Meadowbrook                                                    Unliquidated
          Rolling Meadows, IL 60008
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          UB Campus Dining and Shops                                          Contingent
          146 Fargo Quad                                                      Unliquidated
          Buffalo, NY 14261
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ubaque, Angelica                                                    Contingent
          640 W. Oakdale Ave, Apt #2                                          Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1117 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1141 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.780
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Udvari, Bruce                                                       Contingent
          62908 Crimson Drive                                                 Unliquidated
          Washington, Michigan 48094-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ugenyi, Fortunatus                                                  Contingent
          9453 Fens Hollow                                                    Unliquidated
          Laurel, Maryland 20723-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ugoh, Las                                                           Contingent
          3800 Ridgecroft Rd                                                  Unliquidated
          Baltimore, Maryland 21206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $225.00
          UKHS Great Bend, LLC.                                               Contingent
          514 Cleveland Street                                                Unliquidated
          Great Bend, KS 67530-3562
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ukonu, Collins                                                      Contingent
          7507 Tomahawk Court                                                 Unliquidated
          Apt F
                                                                              Disputed
          Rosedale, Maryland 21237-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.780
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ulliman Schutte Construction, LLC                                   Contingent
          2383 A Woodburn Road                                                Unliquidated
          Charlottesville, VA 22901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ulmer, Carolynn                                                     Contingent
          295 Convent Avenue                                                  Unliquidated
          Apt. 53
                                                                              Disputed
          New York, New York 10031-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1118 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1142 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.781
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ulmer, Rachele                                                      Contingent
          2849                                                                Unliquidated
          Essex St
                                                                              Disputed
          St.Charles, Missouri 63301-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.781
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ulmer, Sabrina                                                      Contingent
          3400 Chateau Boulevard                                              Unliquidated
          Apt D229
                                                                              Disputed
          Kenner, Louisiana 70065-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.781
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ultra Clean Technology                                              Contingent
          26462 Corporate Avenue                                              Unliquidated
          Hayward, CA 94545
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.781
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Umble, Ronda                                                        Contingent
          3017 Dream Lane                                                     Unliquidated
          Dewy Rose, Georgia 30634-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.781
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Umlauf-Brown, Pamela                                                Contingent
          1101 W. Walkup Ave                                                  Unliquidated
          Carbondale, Illinois 62901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.781
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Umunna, Ben-Paul                                                    Contingent
          10 N Ashbel Ave                                                     Unliquidated
          Hillside, Illinois 60162-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.781
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Umunnakwe, Emmanuela                                                Contingent
          544 Freestone Drive                                                 Unliquidated
          Allen, Texas 75002-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1119 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1143 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.781
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Underwood, Rakeitta                                                 Contingent
          100 Stratford Lakes Dr.                                             Unliquidated
          Unit 376
                                                                              Disputed
          Durham, North Carolina 27713-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.781
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Underwood, Stephanie                                                Contingent
          904 Michael Drive                                                   Unliquidated
          Chesapeake, Virginia 23323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.781
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          UNIFIED SCHOOL DISTRICT 443                                         Contingent
          1000 N 2nd Ave                                                      Unliquidated
          Dodge City, KS 67801
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Uniland Development Corporation                                     Contingent
          100 Corporate Parkway                                               Unliquidated
          Ste 500
                                                                              Disputed
          Amherst, NY 14426
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.782
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Union Elementary School District #62                                Contingent
          3834 S 91st Ave                                                     Unliquidated
          Tolleson, AZ 85353
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Union Ridge SD 86                                                   Contingent
          4600 North Oak Park Avenue                                          Unliquidated
          Harwood Heights, IL 60706
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          United Airlines                                                     Contingent
          1200 East Algonquin Rd                                              Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1120 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1144 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.782
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          United American Steel Constructors, Inc.                            Contingent
          10700 N. Freeway, Suite 950                                         Unliquidated
          Houston, TX 77037
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          United Church Homes                                                 Contingent
          170 E. Center St PO Box 1806                                        Unliquidated
          Marion, OH 43301-1806
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          United Farmers Cooperative                                          Contingent
          705 E. 4th St.                                                      Unliquidated
          Winthrop, MN 55396
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          United Fast Food & Beverage                                         Contingent
          2626 Delta Lane                                                     Unliquidated
          Elk Grove Village, IL 60007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.00
          United Health Services                                              Contingent
          PO Box 5214                                                         Unliquidated
          Binghamton, NY 13902
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $496.00
          United Memorial Medical Center                                      Contingent
          127 North Street                                                    Unliquidated
          Batavia, NY 14020
                                                                              Disputed
          Date(s) debt was incurred 3/5/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          United Power, Inc.                                                  Contingent
          500 Cooperative Way                                                 Unliquidated
          Brighton, CO 80603
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1121 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1145 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.783
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          United States Federal Reserve                                       Contingent
          20th St Cnsttution Ave NW                                           Unliquidated
          Washington, DC 20551-0001
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Unity College                                                       Contingent
          90 Quaker Hill Road                                                 Unliquidated
          Unity, ME 04988
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Universal Forest Products, Inc                                      Contingent
          2801 East Beltline Avenue NE                                        Unliquidated
          Grand Rapids, MI 49525
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          University of Maryland Charles Regional                             Contingent
          5 Garrett Avenue                                                    Unliquidated
          La Plata, MD 20646
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.00
          University Physicians                                               Contingent
          P.O. Box 843966                                                     Unliquidated
          Kansas City, MO 64184-3966
                                                                              Disputed
          Date(s) debt was incurred 5/7/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          University System of New Hampshire                                  Contingent
          5 Chenell Dr Suite 301                                              Unliquidated
          Concord, NH 03301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          University Title Company, Inc.                                      Contingent
          1021 University Drive East                                          Unliquidated
          College Station, TX 77840
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1122 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1146 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.783
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Unsell, Sara                                                        Contingent
          11000 Twin Fawns                                                    Unliquidated
          Oklahoma City, Oklahoma 73173-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,646.96
          UNUM Life Insurance Company of America                              Contingent
          P.O Box 409548                                                      Unliquidated
          Atlanta, GA 30384-9548
                                                                              Disputed
          Date(s) debt was incurred 6/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Upchurch, Rhonda                                                    Contingent
          5035 Rainbow Harbour Circle                                         Unliquidated
          Colorado Springs, Colorado 80917-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $56.50
          UPMC CHAUTAUQUA WCA                                                 Contingent
          PO Box 371472                                                       Unliquidated
          Pittsburgh, PA 15250-7472
                                                                              Disputed
          Date(s) debt was incurred 4/13/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $302.74
          UPS                                                                 Contingent
          PO Box 809488                                                       Unliquidated
          Chicago, IL 60680-9488
                                                                              Disputed
          Date(s) debt was incurred 4/18/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Upstate Cerebral Palsy                                              Contingent
          1020 Mary Street                                                    Unliquidated
          Utica, NY 13501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          UQM Technologies                                                    Contingent
          4120 Specialty Place                                                Unliquidated
          Longmont, CO 80504
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1123 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1147 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.784
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Urban Retail Properties, LLC                                        Contingent
          111 East Wacker Drive Suite 24                                      Unliquidated
          Chicago, IL 60601
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Urbina, Marie                                                       Contingent
          6503 65th Way                                                       Unliquidated
          West Palm Beach, Florida 33409-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.00
          Urgent Care of Ada                                                  Contingent
          1023 Arlington                                                      Unliquidated
          Ada, OK 74820
                                                                              Disputed
          Date(s) debt was incurred      4/17/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.00
          Urgent Care Specialists, LLC                                        Contingent
          2400 Corporate Exchange Dr                                          Unliquidated
          Suite 102
                                                                              Disputed
          Columbus, OH 43231-7605
          Date(s) debt was incurred 5/4/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.784
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Urso, Antonina                                                      Contingent
          601 Hatlen Ave                                                      Unliquidated
          Mount Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Urteaga, Marco                                                      Contingent
          8100 S. Scottsdale Ave                                              Unliquidated
          Chicago, Illinois 60652-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Urteaga, Rene                                                       Contingent
          24519 Buck Creek                                                    Unliquidated
          San Antonio, Texas 78255-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1124 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1148 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.785
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Urton, Paula                                                        Contingent
          21552 Road I21                                                      Unliquidated
          Cloverdale, Ohio 45827-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Usack, Barbara                                                      Contingent
          50 Renee Ct                                                         Unliquidated
          Jackson, New Jersey 08527-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          USCG Community Services Command                                     Contingent
          510 Independence Parkway                                            Unliquidated
          Suite 500
                                                                              Disputed
          Chesapeake, VA 23320
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.785
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          USG Insurance Services, Inc.                                        Contingent
          3810 Northdale Boulevard                                            Unliquidated
          Tampa, FL 33624
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Usiak, Jill                                                         Contingent
          1321 Linerick Lane                                                  Unliquidated
          Normal, Illinois 61761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Usnik, Patricia                                                     Contingent
          17 S Hatlen Ave                                                     Unliquidated
          Mt Prospect, Illinois 60056-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Utah State Tax Commission                                           Contingent
          Attn: Bankruptcy Unit                                               Unliquidated
          210 N 1950 W
                                                                              Disputed
          Salt Lake City, UT 84134-9000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1125 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1149 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.785
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          UTE Water Conservancy District                                      Contingent
          2190 H 1/4 Road                                                     Unliquidated
          Grand Junction, CO 81505
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Utz, Carolyn                                                        Contingent
          77 W Huron St Apt 405                                               Unliquidated
          Chicago, Illinois 60654-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vail Unified School District                                        Contingent
          13801 E Benson Highway                                              Unliquidated
          Vail, AZ 85641
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valbracht, Katrina                                                  Contingent
          8900 Tracy Dr                                                       Unliquidated
          Oklahoma City, Oklahoma 73132-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valdez, Angie                                                       Contingent
          522 E Cache La Poudre St                                            Unliquidated
          Colorado Springs, Colorado 80903-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valdez, Maria                                                       Contingent
          2935 N. Coolidge Ave                                                Unliquidated
          Los Angeles, California 90039-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valdivieso, Nestor                                                  Contingent
          162 Greenhill Dr                                                    Unliquidated
          Jackson, Tennessee 38305-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1126 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1150 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.786
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valencia, Tashlin                                                   Contingent
          937 pheasant walk drive                                             Unliquidated
          schaumburg, Illinois 60193-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valentin, Sandra                                                    Contingent
          28 South Hartman Street                                             Unliquidated
          York, Pennsylvania 17403-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valentin, Sierra                                                    Contingent
          972 E. Philadelphia St                                              Unliquidated
          York, Pennsylvania 17401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valentine, Katie                                                    Contingent
          11012 Fruitland Drive                                               Unliquidated
          Los Angeles, California 91604-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valentine, Sarah                                                    Contingent
          11089 N Lapis Ct                                                    Unliquidated
          Oro Valley, Arizona 85737-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valentine-Mitchell, Regina                                          Contingent
          1233 Doak Blvd                                                      Unliquidated
          Ripon, California 95366-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valle, Gina                                                         Contingent
          2410 E 27th St                                                      Unliquidated
          Mission, Texas 78574-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1127 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1151 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.787
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vallery, Brittany                                                   Contingent
          5109 Goldsboro Dr, Apt 1c                                           Unliquidated
          Hampton, Virginia 23605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valley County                                                       Contingent
          501 Court Square                                                    Unliquidated
          Glasgow, MT 59230
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valley Forge Insurance Company                                      Contingent
          151 N. Franklin St.                                                 Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Valveri, Kaitlyn                                                    Contingent
          51 Balcom Road                                                      Unliquidated
          Faringdale, New York 11735-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Van Allen, Kaitlyn                                                  Contingent
          154 Academy Street                                                  Unliquidated
          Piscataway, New Jersey 08854-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Van Cott, Jennifer                                                  Contingent
          9202 E. Wabash Road                                                 Unliquidated
          Spokane, Washington 99206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Van Deusen, Tim                                                     Contingent
          11358 Kinloch                                                       Unliquidated
          Redford, Michigan 48239-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1128 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1152 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.788
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Van Dine, Jonathon                                                  Contingent
          18591 Anchor Drive                                                  Unliquidated
          Boca Raton, Florida 33498-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Van Dorn, Katie                                                     Contingent
          5335 Elk Ridge Road                                                 Unliquidated
          Missoula, Montana 59802-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Van Grouw, Jacqueline                                               Contingent
          23 Taylor Street                                                    Unliquidated
          Hampton, New Hampshire 03842-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Van Ness Feldman LLP                                                Contingent
          1050 Thomas Jefferson Street, NW.                                   Unliquidated
          Washington, DC 20007
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Van Oosbree, Danielle                                               Contingent
          305 Bergen Street                                                   Unliquidated
          Adams, Minnesota 55909-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vandaveer, Natalie                                                  Contingent
          6301 W. Hampden Ave                                                 Unliquidated
          Apt 1-307
                                                                              Disputed
          Denver, Colorado 80227-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.788
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vander Linde, Joseph                                                Contingent
          27180 Tierra Del Fuego                                              Unliquidated
          Punta Gorda, Florida 33983-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1129 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1153 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.788
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vanderhans, Mark                                                    Contingent
          38 State Park Road                                                  Unliquidated
          Dover Foxcroft, Maine 04426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vanderhoff, Sara                                                    Contingent
          12329 Sequoia Lane                                                  Unliquidated
          Clio, Michigan 48420-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vanderlaan, Kengie                                                  Contingent
          209 S Oak Park Ave                                                  Unliquidated
          Unit 102
                                                                              Disputed
          Oak Park, Illinois 60302-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.789
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VanderMolen, Samantha                                               Contingent
          57 Mill Street                                                      Unliquidated
          Coopersville, Michigan 49404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.789
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vandor Corp                                                         Contingent
          4251 W Industries Rd                                                Unliquidated
          Richmond, IN 43734
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.789
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vang, Mai                                                           Contingent
          3866 Miller Road                                                    Unliquidated
          Perry, Michigan 48872-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.789
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vankoughnett, Jenna                                                 Contingent
          755 Braves Ave                                                      Unliquidated
          Apt 1313
                                                                              Disputed
          Lawrenceville, Georgia 30043-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1130 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1154 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.789
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vanlue, Elizabeth                                                   Contingent
          3201-104 Sugar Pine Trail                                           Unliquidated
          Durham, North Carolina 27713-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.789
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vannata, Lisa                                                       Contingent
          5641 Mossberg Dr                                                    Unliquidated
          New Port Richey, Florida 34655-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.789
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VanOrden, Amy                                                       Contingent
          181 Pond View Heights                                               Unliquidated
          Rochester, New York 14612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.789
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vantassel, Erica                                                    Contingent
          215 Liberty Street                                                  Unliquidated
          Franklin, Pennsylvania 16323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.789
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Varens, Lisvany                                                     Contingent
          6105 N 31st Ave                                                     Unliquidated
          Phoenix, Arizona 85017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.789
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vargas, Regina                                                      Contingent
          707 Drews Lake Rd                                                   Unliquidated
          New Limerick, Maine 04761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Varian, Janeen                                                      Contingent
          32548 River Knolls Road                                             Unliquidated
          Coarsegold, California 93614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1131 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1155 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.790
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Varney, Marina                                                      Contingent
          1000 Worthington Lane                                               Unliquidated
          #34-309
                                                                              Disputed
          Spring Hill, Tennessee 37174-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.790
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vasilyev, Olga                                                      Contingent
          8566 sw charlotte dr                                                Unliquidated
          Beaverton, Oregon 97007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vasquez, Ashley                                                     Contingent
          11430 Devencrest Drive                                              Unliquidated
          Houston, Texas 77066-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vasquez, Crystal                                                    Contingent
          1321 Broadway Street                                                Unliquidated
          Chico, California 95928-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vasquez, Norma                                                      Contingent
          5111 Timberwolf                                                     Unliquidated
          El Paso, Texas 79903-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vasquez, Orlando                                                    Contingent
          1539 Alaskan Wolf                                                   Unliquidated
          San Antonio, Texas 78245-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vasser, Chrishuna                                                   Contingent
          10816 North Council Road Apt 1                                      Unliquidated
          Oklahoma, Oklahoma 73162-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1132 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1156 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.790
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughan, Kendra Marie                                               Contingent
          7 Tyron Pl                                                          Unliquidated
          Portsmouth, Virginia 23702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughan, Marianna                                                   Contingent
          3238 N 126th Ave                                                    Unliquidated
          Avondale, Arizona 85392-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.791
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughn Industries                                                   Contingent
          1201 East Findlay St.                                               Unliquidated
          Carey, OH 43316
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.791
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughn, Angela                                                      Contingent
          2865 Exeter Place                                                   Unliquidated
          Lithia Springs, Georgia 30122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.791
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughn, Chelsea                                                     Contingent
          1800 Wesleyan Drive                                                 Unliquidated
          Apt 180
                                                                              Disputed
          Macon, Georgia 31210-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.791
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughn, Corey                                                       Contingent
          4750 kenilworth dr                                                  Unliquidated
          #106
                                                                              Disputed
          Rolling Meadows, Illinois 60008-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.791
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughn, Delbert                                                     Contingent
          3049 Kendale Drive                                                  Unliquidated
          Dallas, Texas 75220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1133 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1157 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.791
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughn, Dondretta                                                   Contingent
          870 Foxworth Blvd. 211                                              Unliquidated
          Lombard, Illinois 60148-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.791
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughn, Jade                                                        Contingent
          9722 Groffs Mill Dr                                                 Unliquidated
          213
                                                                              Disputed
          Owings Mills, Maryland 21117-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.791
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vaughn, Jodi                                                        Contingent
          551 Cherry St. #101                                                 Unliquidated
          Macon, Georgia 31201-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.791
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vazquez, Dulce                                                      Contingent
          120 Glengarry Drive                                                 Unliquidated
          Unit 309
                                                                              Disputed
          Bloomingdale, Illinois 60108-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.791
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vazquez, Jordan                                                     Contingent
          1201 Dahlia Ct                                                      Unliquidated
          Bel Air, Maryland 21014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.792
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vazquez, Matthew                                                    Contingent
          408 Esclave Circle                                                  Unliquidated
          Apt. 207
                                                                              Disputed
          Costa Mesa, California 92626-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.792
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Veach, Shannon                                                      Contingent
          1713 Filbert Ct.                                                    Unliquidated
          Nampa, Idaho 83651-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1134 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1158 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.792
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Veeman, Antoinette                                                  Contingent
          6719 Champoeg Rd. NE                                                Unliquidated
          Saint Paul, Oregon 97137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.792
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VEGA Americas, Inc.                                                 Contingent
          4241 Allendorf Dr.                                                  Unliquidated
          Manufacturing Building
                                                                              Disputed
          Cincinnati, OH 45209
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.792
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vega, Eva                                                           Contingent
          2511 Anthony Pine Lane                                              Unliquidated
          Houston, Texas 77088-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.792
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Veise, Michael                                                      Contingent
          3924 Hudson Street                                                  Unliquidated
          Baltimore, Maryland 21224-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.792
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Veksler, Marie                                                      Contingent
          22555 E River Chase Way                                             Unliquidated
          Parker, Colorado 80138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.792
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Velasco, Norma                                                      Contingent
          7400-A Rock Ridge Sims Road                                         Unliquidated
          Sims, North Carolina 27880-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.792
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Velasquez, Beatriz                                                  Contingent
          547 Sandra Dr.                                                      Unliquidated
          Northlake, Illinois 60164-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1135 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1159 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.792
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Velazquez, Vanessa                                                  Contingent
          2607 Darwin Ave                                                     Unliquidated
          Los Angeles, California 90031-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vella, Teresa                                                       Contingent
          806 Kingsway Cove                                                   Unliquidated
          West Memphis, Arkansas 72301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Veloz, Edward                                                       Contingent
          6039 Madison street                                                 Unliquidated
          ridgewood, New York 11385-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Venegas, Irma                                                       Contingent
          12421 Chelwood PL NE                                                Unliquidated
          Albuquerque, New Mexico 87112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Venegas, Jennifer                                                   Contingent
          91 w dodridge st                                                    Unliquidated
          Columbus, Ohio 43202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Venenga, Toni                                                       Contingent
          113 Twinleaf Lane                                                   Unliquidated
          San Antonio, Texas 78213-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Venus Laboratories, Inc                                             Contingent
          11150 Hope Street                                                   Unliquidated
          Cypress, CA 90630
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1136 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1160 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.793
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VeraBank                                                            Contingent
          201 W Main St                                                       Unliquidated
          P.O. Box 1009
                                                                              Disputed
          Henderson, TX 75653
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.793
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Veras-Estevez, Katherine                                            Contingent
          3344 Park Avenue                                                    Unliquidated
          Apt 5
                                                                              Disputed
          Weehawken, New Jersey 07086-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.793
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          Verbatim Solutions                                                  Contingent
          5200 S Highland Dr., Suite 201                                      Unliquidated
          Salt Lake City, UT 84117
                                                                              Disputed
          Date(s) debt was incurred 4/29/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Verbrick, Brittany                                                  Contingent
          N941 Julius Dr.                                                     Unliquidated
          Greenville, Wisconsin 54942-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Verch, Shannon                                                      Contingent
          201 West M Street                                                   Unliquidated
          North Little Rock, Arkansas 72116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Verdieu, Clifton                                                    Contingent
          50 Grant Avenue                                                     Unliquidated
          Belmont, Massachusetts 02478-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,215.16
          Verizon Wireless                                                    Contingent
          P.O. Box 25505                                                      Unliquidated
          Lehigh Valley, PA 18002-5505
                                                                              Disputed
          Date(s) debt was incurred 5/7/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1137 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1161 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.794
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,384.41
          Verizon- IH                                                         Contingent
          P.O Box 15043                                                       Unliquidated
          Albany, NY 12212-5043
                                                                              Disputed
          Date(s) debt was incurred 5/8/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vermilion Association for Special Educat                            Contingent
          15009 Catlin-Tilton Road                                            Unliquidated
          Danville, IL 61834
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vermont Department of Taxes                                         Contingent
          PO Box 1881                                                         Unliquidated
          Montpelier, VT 05601-1881
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vernis, Stephanie                                                   Contingent
          713 Jacana Way                                                      Unliquidated
          North Palm Beach, Florida 33408-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Versa Integrity, Inc.                                               Contingent
          1833 Sunset Place                                                   Unliquidated
          Longmont, CO 80501
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VersionOne, Inc.                                                    Contingent
          6220 Shiloh Road, #400                                              Unliquidated
          Alpharetta, GA 30005
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.794
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Veskerna, L.                                                        Contingent
          17553 George Miller Pkwy                                            Unliquidated
          Omaha, Nebraska 68116-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1138 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1162 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.795
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Viafield                                                            Contingent
          1001 Blunt Parkway                                                  Unliquidated
          Charles City, IA 50616
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vicidomino, Kristen                                                 Contingent
          947 Chestnut Street, Unit 3                                         Unliquidated
          Newton, Massachusetts 02464-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vickers, Ruth                                                       Contingent
          2041 Keyes Lane                                                     Unliquidated
          Deltona, Florida 32738-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Victory Bank                                                        Contingent
          548 N Lewis Rd                                                      Unliquidated
          Limerick, PA 19468
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vidaris                                                             Contingent
          360 Park Ave South 15th Floor                                       Unliquidated
          New York, NY 10010
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vidovich, Cindylou                                                  Contingent
          408 Kennerdell Street                                               Unliquidated
          Franklin, Pennsylvania 16323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vierzba, Jason                                                      Contingent
          1388 Abraham Terrace                                                Unliquidated
          Harbor City, California 90710-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1139 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1163 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.795
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vieth, Catherine                                                    Contingent
          208 Hettman St.                                                     Unliquidated
          Norwalk, Wisconsin 54648-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vignes, Sandra                                                      Contingent
          1731 Parkway Drive                                                  Unliquidated
          Bettendorf, Iowa 52722-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.795
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Viguerie, Alyssa                                                    Contingent
          PO Box 1493                                                         Unliquidated
          Midland, Texas 79702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Viking Chemical                                                     Contingent
          1827 18th Ave.                                                      Unliquidated
          Rockford, IL 61104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Viking Group, Inc.                                                  Contingent
          210 North Industrial Park Drive                                     Unliquidated
          Hastings, MI 49058
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Villa Healthcare                                                    Contingent
          3755 W Chase Ave                                                    Unliquidated
          Skokie, IL 60076
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Villa, Alison                                                       Contingent
          3325 Holcomb Bridge Road                                            Unliquidated
          Apt. 1559A
                                                                              Disputed
          Norcross, Georgia 30092-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1140 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1164 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.796
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Villa, David                                                        Contingent
          300 Wanda Way                                                       Unliquidated
          Hurst, Texas 76053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Village Christian School                                            Contingent
          8930 Village Avenue                                                 Unliquidated
          Sun Valley, CA 91352
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Village of Addison                                                  Contingent
          1 Friendship Plaza                                                  Unliquidated
          Addison, IL 60101-2786
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VILLAGE OF ALGONQUIN                                                Contingent
          2200 Harnish Drive                                                  Unliquidated
          Algonquin, IL 60102
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Village of Chatham                                                  Contingent
          116 E. Mulberry St                                                  Unliquidated
          Chatham, IL 62629
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.796
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Village of Glen Ellyn                                               Contingent
          535 Duane Street                                                    Unliquidated
          Glen Ellyn, IL 60137
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VILLAGE OF LAKE IN THE HILLS                                        Contingent
          600 Harvest Gate                                                    Unliquidated
          Lake in the Hills, IL 60156
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1141 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1165 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.797
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Village of New Lenox                                                Contingent
          1 Veterans Pkwy                                                     Unliquidated
          New Lenox, IL 60451
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Village of Northbrook                                               Contingent
          1225 Cedar Lane                                                     Unliquidated
          Northbrook, IL 60062
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Village of Vernon Hills                                             Contingent
          290 Evergreen Drive                                                 Unliquidated
          Vernon Hills, IL 60061
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Village of Woodridge                                                Contingent
          5 Plaza Drive                                                       Unliquidated
          Woodridge, IL 60517
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Villalobos, Miguel                                                  Contingent
          904 Casey Drive                                                     Unliquidated
          Minooka, Illinois 60447-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Villanueva, Jose                                                    Contingent
          715 SW 39th St.                                                     Unliquidated
          San Antonio, Texas 78237-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Villanueva, Stacey                                                  Contingent
          700 Lenox Ave                                                       Unliquidated
          #11L
                                                                              Disputed
          New York City, New York 10039-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1142 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1166 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.797
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Villarreal Cuevas, Claudia                                          Contingent
          2303 Seminole St.                                                   Unliquidated
          Hyattsville, Maryland 20783-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Villescas, Chantal                                                  Contingent
          4995 Bosworth                                                       Unliquidated
          Las Cruces, New Mexico 88012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vincent, Lakeisha                                                   Contingent
          725 Shlester Way                                                    Unliquidated
          New Iberia, Louisiana 70560-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vindez, Danielle                                                    Contingent
          1802 Esplanade #8                                                   Unliquidated
          Redondo Beach, California 90277-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vine Management Services, LLC                                       Contingent
          5800 Granite                                                        Unliquidated
          Plano, TX 75024
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vinson, Yolanda                                                     Contingent
          142 Autumn Pine Dr                                                  Unliquidated
          Fairview Heights, Illinois 62208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Violette, Jeffrey                                                   Contingent
          P.O. Box 1064                                                       Unliquidated
          Saint Helena Island, South Carolina 2992
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1143 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1167 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.798
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Virginia (Ginger) Hill                                              Contingent
          1336 Saxon Lane                                                     Unliquidated
          Naperville, IL 60564
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Virginia Department of Taxation                                     Contingent
          1957 Westmoreland Street                                            Unliquidated
          Richmond, VA 23230
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Virgona, Brianne                                                    Contingent
          10623 Caminito Basswood                                             Unliquidated
          San Diego, California 92131-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Visions Federal Credit Union                                        Contingent
          24 McKinley Ave                                                     Unliquidated
          Endicott, NY 13760
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vitale, Angela                                                      Contingent
          702 Country Village Dr, Apt 2b                                      Unliquidated
          Bel Air, Maryland 21014-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vizcaino-Riveros, Jorge                                             Contingent
          101 Syracuse Drive                                                  Unliquidated
          Newark, Delaware 19713-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vizthum, Diane                                                      Contingent
          1633 Beason St.                                                     Unliquidated
          Baltimore, Maryland 21230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1144 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1168 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.799
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VNA Health                                                          Contingent
          512 E Gutierrez Street                                              Unliquidated
          Santa Barbara, CA 93103
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vo, Catherine                                                       Contingent
          839 Stoneyford Drive                                                Unliquidated
          Daly City, California 94015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vo, Ellen                                                           Contingent
          10306 Mills Pass Drive                                              Unliquidated
          Houston, Texas 77070-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vodicka, Tiffany                                                    Contingent
          824 Green Ridge Ave                                                 Unliquidated
          Earlville, Illinois 60518-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Voelpel, Rebecca                                                    Contingent
          17 Freedom Court                                                    Unliquidated
          Middle River, Maryland 21220-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vogelsberg, Sarah                                                   Contingent
          7917 Colony Lane                                                    Unliquidated
          Lenexa, Kansas 66215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Voges, Tessa-Lee                                                    Contingent
          3025 NE 137th St                                                    Unliquidated
          Apt 412
                                                                              Disputed
          Seattle, Washington 98125-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1145 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1169 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.799
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Volk, Kelsey                                                        Contingent
          41907 Spillway Drive                                                Unliquidated
          Winona, Minnesota 55987-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Volk, Taylor                                                        Contingent
          2057 Roe Crest Dr                                                   Unliquidated
          North Mankato, Minnesota 56003-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Volkart, Renee                                                      Contingent
          211 Robert Street                                                   Unliquidated
          P O Box 114
                                                                              Disputed
          Ostrander, Minnesota 55961-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.800
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vollmer, Cathy                                                      Contingent
          78 Cottonwood Dr                                                    Unliquidated
          Chatham, Illinois 62629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Volodarets, Mariya                                                  Contingent
          44 Black Oak Court                                                  Unliquidated
          Reisterstown, Maryland 21136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Volquardsen, Jeanette                                               Contingent
          47 Whispering Drive                                                 Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Von Fintel, Chelsea                                                 Contingent
          911 Montose Ave                                                     Unliquidated
          Royal Oak, Michigan 48073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1146 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1170 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.800
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Von Stamwitz, Lisa                                                  Contingent
          535 Fee Fee Hills Drive                                             Unliquidated
          Hazelwood, Missouri 63042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Von Tobel Lumber and Hardware                                       Contingent
          256 S. Washington St.                                               Unliquidated
          Valparaiso, IN 46384
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Von Urlich, Christine                                               Contingent
          3419 West Grace Street, apt. 2                                      Unliquidated
          Richmond, Virginia 23221-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vongdeuane, Pamila                                                  Contingent
          332 W Naperville Road                                               Unliquidated
          Apt. 12
                                                                              Disputed
          Westmont, Illinois 60559-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.801
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vontobel Asset Management, Inc.                                     Contingent
          1540 Broadway                                                       Unliquidated
          New York, NY 10036
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vorasane, Yoo Yee                                                   Contingent
          328 Black St                                                        Unliquidated
          Akron, Ohio 44306-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vorisek, Lauren                                                     Contingent
          661 parkedge dr                                                     Unliquidated
          Gahanna, Ohio 43230-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1147 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1171 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.801
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Voss Electric Company                                               Contingent
          1601 Cushman Drive                                                  Unliquidated
          Lincoln, NE 68512
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Voss, Michele                                                       Contingent
          2302 Robin Lane                                                     Unliquidated
          Rolling Meadows, Illinois 60008-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Vucevski, Aleksandra                                                Contingent
          55449 Hearthside Drive                                              Unliquidated
          Shelby Township, Michigan 48316-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          W. L. Gore & Associates Inc.                                        Contingent
          555 Paper Mill Road                                                 Unliquidated
          Newark, DE 19714
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          W. S. Darley & Co., Inc.                                            Contingent
          325 Spring Lake Dr.                                                 Unliquidated
          Itasca, IL 60143
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wabash Area Development, Inc.                                       Contingent
          334 Industrial Drive                                                Unliquidated
          Albion, IL 62806
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.801
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wacker, Caroline                                                    Contingent
          1717 Glencoe Rd                                                     Unliquidated
          Sparks, Maryland 21152-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1148 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1172 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.802
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Waclawek, Joann                                                     Contingent
          6815 Biscayne Blvd, Ste 466                                         Unliquidated
          Miami, Florida 33138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.802
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wade, Brashaun                                                      Contingent
          4118 Furey Street                                                   Unliquidated
          Dallas, Texas 75212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.802
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wade, Debra                                                         Contingent
          1220 Upland Lane                                                    Unliquidated
          Van Meter, Iowa 50261-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.802
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wadhwa, Gauri                                                       Contingent
          2712 Hackberry Street                                               Unliquidated
          Cincinnati, Ohio 45206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.802
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wagman, Brittany                                                    Contingent
          2919 Caroline Street                                                Unliquidated
          Houston, Texas 77004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.802
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wagner Motor Sales                                                  Contingent
          760 Boston Turnpike                                                 Unliquidated
          Shrewsbury, MA 01545
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.802
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wagner, Dawn                                                        Contingent
          722 Barber Circle                                                   Unliquidated
          Lakeland, Florida 33803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1149 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1173 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.802
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wagner, Elizabeth                                                   Contingent
          3365 Ridge Road                                                     Unliquidated
          Lexington, North Carolina 27295-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.802
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wagner, Kaitlin                                                     Contingent
          200 Lakeside Ct                                                     Unliquidated
          Apt 1426
                                                                              Disputed
          St Charles, Illinois 60174-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.802
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wagner, Susan                                                       Contingent
          74584 Usage Lane                                                    Unliquidated
          Irrigon, Oregon 97844-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wagner-Willis, Sandra                                               Contingent
          2111 E. 91st Street                                                 Unliquidated
          Indianapolis, Indiana 46240-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Waibel, Melanie                                                     Contingent
          11698 122nd St South                                                Unliquidated
          Hastings, Minnesota 55033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wailes, Kelsey                                                      Contingent
          2055 Pembrook Ct                                                    Unliquidated
          Emmitsburg, Maryland 21727-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wakefield, Ryan                                                     Contingent
          6421 1st Avenue South                                               Unliquidated
          Richfield, Minnesota 55423-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1150 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1174 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.803
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walas, Christine                                                    Contingent
          1406 S Princeton Ave                                                Unliquidated
          Arlington Heights, Illinois 60005-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walitschek, Michelle                                                Contingent
          380 Newton Street                                                   Unliquidated
          Hoffman Estates, Illinois 60169-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walk, Emily                                                         Contingent
          1904 Tower Grove AVE 1N                                             Unliquidated
          St. Louis, Missouri 63110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker II, Joseph                                                   Contingent
          5119 E. Maple Lane                                                  Unliquidated
          Indianapolis, Indiana 46219-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Amanda                                                      Contingent
          2258 Independence Blvd                                              Unliquidated
          Abilene, Texas 79601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Dorie                                                       Contingent
          13611 Belleshire Ave                                                Unliquidated
          Cleveland, Ohio 44135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Elizabeth                                                   Contingent
          1206 Clements Bridge Rd Apt 2                                       Unliquidated
          Barrington, New Jersey 08007-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1151 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1175 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.804
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Kristina                                                    Contingent
          1374 Summit Pines Blvd #424                                         Unliquidated
          West Palm Beach, Florida 33415-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Lashai                                                      Contingent
          13949 Lullaby Rd                                                    Unliquidated
          Germantown, Maryland 20874-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Laura                                                       Contingent
          249 N. Smith St. Unit 1W                                            Unliquidated
          Palatine, Illinois 60067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Monica                                                      Contingent
          2501 NW Overlook Drive #1233                                        Unliquidated
          Hillsboro, Oregon 97124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Temetrius                                                   Contingent
          864 N McNeil St                                                     Unliquidated
          Memphis, Tennessee 38107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walker, Velma                                                       Contingent
          7307 Pasadena Blvd Apt 1                                            Unliquidated
          St. Louis, Missouri 63121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walkling, Jennifer                                                  Contingent
          8 Hillside Ct.                                                      Unliquidated
          Westminster, Maryland 21157-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1152 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1176 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.804
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wall, Mary                                                          Contingent
          67 Cat Cay Ct.                                                      Unliquidated
          Dania Beach, Florida 33004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallace, Diana                                                      Contingent
          899 Highway DD                                                      Unliquidated
          Defiance, Missouri 63341-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallace, Donald                                                     Contingent
          2263 Docs Rd                                                        Unliquidated
          Lillington, North Carolina 27546-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallace, Jennifer Samantha                                          Contingent
          75 Clear Spring Lane                                                Unliquidated
          Oxford, Georgia 30054-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallace, Meredith                                                   Contingent
          9 Winthrop Court                                                    Unliquidated
          Baltimore, Maryland 21204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallace, Nicholas                                                   Contingent
          5584 Heritage Court Drive                                           Unliquidated
          Apt A4, Delaware 19808-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallace, Raquel                                                     Contingent
          559 East 83 Street                                                  Unliquidated
          Brooklyn, New York 11236-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1153 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1177 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.805
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallace, Terelle                                                    Contingent
          3613 Wetherington Dr #103                                           Unliquidated
          Virginia Beach, Virginia 23453-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallace, Tricia                                                     Contingent
          14507 SE 26th Street                                                Unliquidated
          Vancouver, Washington 98683-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wallis Companies                                                    Contingent
          106 East Washington St                                              Unliquidated
          Cuba, MO 65453
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walraven, Quinn                                                     Contingent
          400 Braund Street #1                                                Unliquidated
          Onalaska, Wisconsin 54650-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walser, Wendy                                                       Contingent
          6009 Rock Cliff Lane Apt. N                                         Unliquidated
          Alexandria, Virginia 22315-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walsh, Alexandra                                                    Contingent
          601 Truman Circle, Sw                                               Unliquidated
          Vienna, Virginia 22180-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walsh, Andrew                                                       Contingent
          609 Cove Drive                                                      Unliquidated
          Cary, Illinois 60013-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1154 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1178 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.806
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walsh, Brigette                                                     Contingent
          778 East Oakmont Blvd                                               Unliquidated
          Johnstown, Pennsylvania 15904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walsh, Jennifer                                                     Contingent
          4623 North Malden Street                                            Unliquidated
          3N
                                                                              Disputed
          Chicago, Illinois 60640-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.806
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walsh, Laura                                                        Contingent
          808 S Ashland Avenue                                                Unliquidated
          La Grange, Illinois 60525-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walsh, Lillian                                                      Contingent
          102 Michaels Ct                                                     Unliquidated
          Chalfont, Pennsylvania 18914-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walsh, Robin                                                        Contingent
          1510 Meadowsedge Ln                                                 Unliquidated
          Carpentersville, Illinois 60110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walters, Debra                                                      Contingent
          20528 Highway 43                                                    Unliquidated
          Picayune South, Mississippi 39466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walters, Julie                                                      Contingent
          2705 Cuckoo Shrike Avenue                                           Unliquidated
          North Las Vegas, Nevada 89084-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1155 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1179 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.806
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walters-Williams, Jillian                                           Contingent
          65 East Scott Street                                                Unliquidated
          Apt 3B
                                                                              Disputed
          Chicago, Illinois 60610-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.807
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walton, Darla                                                       Contingent
          2418 E Buckeye Ave                                                  Unliquidated
          Spokane, Washington 99207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.807
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walton, Patricia                                                    Contingent
          1040 S Longwood Ave                                                 Unliquidated
          Los Angelos, California 90019-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.807
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walworth County                                                     Contingent
          100 W. Walworth Street                                              Unliquidated
          Elkhorn, WI 53121
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.807
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Walz, Brian                                                         Contingent
          220 South Street                                                    Unliquidated
          McSherrystown, Pennsylvania 17344-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.807
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wamsley, Jessica                                                    Contingent
          1721 W Barry Ave Apt 2FB                                            Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.807
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wandering Wifi                                                      Contingent
          1425 Ellsworth Blvd                                                 Unliquidated
          Suite 1
                                                                              Disputed
          Atlanta, GA 30318
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1156 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1180 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.807
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wandsnider, Kayla                                                   Contingent
          PO Box 134                                                          Unliquidated
          58 Picture Mountain Way
                                                                              Disputed
          Dumont, Colorado 80436-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.807
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wang, Christina                                                     Contingent
          12260 Nw 33rd St                                                    Unliquidated
          Sunrise, Florida 33323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.807
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wang, Hou-Ting                                                      Contingent
          1624 Country Lakes Dr                                               Unliquidated
          208
                                                                              Disputed
          Naperville, Illinois 60563-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.807
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wang, Thomas                                                        Contingent
          300 West Franklin Street                                            Unliquidated
          APT 203E
                                                                              Disputed
          Richmond, Virginia 23220-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.808
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ward, Barrett                                                       Contingent
          2101 Burton Drive                                                   Unliquidated
          #2072
                                                                              Disputed
          Austin, Texas 78741-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.808
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ward, Brielle                                                       Contingent
          30 Swan Bridge Court                                                Unliquidated
          Windsor Mill, Maryland 21244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1157 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1181 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.808
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ward, Tawana
          6136 S. Kimbark Avenue                                              Contingent
          Apt. 2W                                                             Unliquidated
          6136 S Kimbark                                                      Disputed
          Chicago, Illinois 60637-0000
                                                                             Basis for the claim:    Wages / Other
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.808
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warden, Nancy                                                       Contingent
          155 Dupree Lane                                                     Unliquidated
          Mooresville, North Carolina 28115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.808
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warinski, Kate                                                      Contingent
          17 Strada Di Circolo                                                Unliquidated
          Henderson, Nevada 89011-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.808
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warlick, Katherine                                                  Contingent
          P.O. Box 3871                                                       Unliquidated
          Greenville, South Carolina 29608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.808
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warner Norcross & Judd L.L.P.                                       Contingent
          111 Lyon St NW Ste 900                                              Unliquidated
          Grand Rapids, MI 49503-2487
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.808
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warner Truck Company                                                Contingent
          2240 South 5370 West                                                Unliquidated
          Salt Lake City, UT 84120
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1158 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1182 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.808
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warner, Heavin                                                      Contingent
          709 E Culton                                                        Unliquidated
          Apartment 5
                                                                              Disputed
          Warrenburg, Missouri 64093-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.808
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WARREN COUNTY                                                       Contingent
          406 Justice Drive                                                   Unliquidated
          Lebanon, OH 45036
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warren County Combined Health District                              Contingent
          416 S East St,                                                      Unliquidated
          Lebanon, OH 45036
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warren Industries                                                   Contingent
          2201 South Street                                                   Unliquidated
          Racine, WI 53404
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warren Township HSD 121                                             Contingent
          34090 Almond Road                                                   Unliquidated
          Gurnee, IL 60031
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warren, Ebony                                                       Contingent
          6025 S. Indiana Ave #102                                            Unliquidated
          Chicago, Illinois 60637-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warren, Joseph                                                      Contingent
          10322 SE Market St                                                  Unliquidated
          Portland, Oregon 97216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1159 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1183 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.809
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warren, Katherine                                                   Contingent
          5 Chippenham Drive                                                  Unliquidated
          Newark, Delaware 19711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warren, Sharron                                                     Contingent
          3221 Pristine View                                                  Unliquidated
          Williamsburg, Virginia 23188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warren, Stephanie                                                   Contingent
          703 Cornell Avenue                                                  Unliquidated
          West Memphis, Arkansas 72301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Warule, Monali                                                      Contingent
          144 Point Comfort Lane                                              Unliquidated
          Cary, North Carolina 27519-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washburn Chapman, Isabelle                                          Contingent
          14056 Kvanbeck Trail                                                Unliquidated
          Nerstrand, Minnesota 55053-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.810
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washburn, Carol                                                     Contingent
          3108 SE 193rd Ave                                                   Unliquidated
          Camas, Washington 98607-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.810
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington College                                                  Contingent
          300 Washington Ave                                                  Unliquidated
          Chestertown, MD 21620
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1160 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1184 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.810
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington County                                                   Contingent
          14949 62nd Street North                                             Unliquidated
          Stillwater, MN 55082
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.810
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington Department of Revenue
          Attn: Bankruptcy Claims Unit                                        Contingent
          2101 4th Ave                                                        Unliquidated
          Ste 1400                                                            Disputed
          Seattle, WA 98121
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.810
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington University                                               Contingent
          One Brookings Drive                                                 Unliquidated
          St. Louis, MO 63130
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.810
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington, Brittany                                                Contingent
          13806 Bluff Ridge Dr                                                Unliquidated
          Chesterfield, Virginia 23838-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.810
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington, Erin                                                    Contingent
          603 West University Dr                                              Unliquidated
          Rochester, Michigan 48307-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.810
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington, Jameka                                                  Contingent
          12345 S Union Ave                                                   Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1161 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1185 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.810
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington, Lina                                                    Contingent
          7540 Orvale Rd, 4413                                                Unliquidated
          Plano, Texas 75024-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.810
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington, Lucretia                                                Contingent
          3214 Avalon                                                         Unliquidated
          Sharon, Massachusetts 02067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington, Neicey                                                  Contingent
          2895 Drake Street                                                   Unliquidated
          Sumter, South Carolina 29153-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington, Raven                                                   Contingent
          2551 Netherton Drive                                                Unliquidated
          St. Louis, Missouri 63136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington, Tamarra                                                 Contingent
          7701 Okeith Court                                                   Unliquidated
          Apt. 1612
                                                                              Disputed
          Richmond, Virginia 23228-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.811
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Washington-Law, Faith                                               Contingent
          6008 Ridgecrest Rd                                                  Unliquidated
          Dallas, Texas 75231-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wasleske, Kaitlyn                                                   Contingent
          2311 Wellswood Curve                                                Unliquidated
          Bloomington, Minnesota 55431-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1162 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1186 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.811
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wassarman, Brittany                                                 Contingent
          1448 N Orleans St                                                   Unliquidated
          Unit 2D
                                                                              Disputed
          Chicago, Illinois 60610-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.811
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wasserstrom Holdings Inc.                                           Contingent
          4500 Broad Street                                                   Unliquidated
          Columbus, OH 43213
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Waters, Abigail                                                     Contingent
          W704 Hogan Rd                                                       Unliquidated
          Arcadia, Wisconsin 54612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Waters, Alisica                                                     Contingent
          6502 Eberle Drive, Apt 101                                          Unliquidated
          Baltimore, Maryland 21215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watkins Inc.                                                        Contingent
          1640 Kimberly Road                                                  Unliquidated
          Twin Falls, ID 83301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.812
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watkins, Erin                                                       Contingent
          1311 Cook St                                                        Unliquidated
          Apt 101
                                                                              Disputed
          DENVER, Colorado 80206-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.812
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watkins, Teresa                                                     Contingent
          4842 Jennifer Lane                                                  Unliquidated
          Abilene, Texas 79606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1163 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1187 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.812
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watley, Latesia                                                     Contingent
          138 Cedarwood Terrace                                               Unliquidated
          Rochester, New York 14609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.812
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watrobski, Mary                                                     Contingent
          19520 Founders Ct.                                                  Unliquidated
          North Royalton, Ohio 44133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.812
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watson, Genea                                                       Contingent
          74 Ireland St                                                       Unliquidated
          Hampton, Virginia 23663-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.812
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watson, Inc.                                                        Contingent
          4015 South Fwy                                                      Unliquidated
          Fort Worth, TX 76110
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.812
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watson, Lisa                                                        Contingent
          1510 W. North Loop Blvd                                             Unliquidated
          #323
                                                                              Disputed
          Austin, Texas 78756-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.812
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watson, Quatosha                                                    Contingent
          7826 Monarda Drive                                                  Unliquidated
          Port Richey, Florida 34668-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.812
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watson, Shirleen                                                    Contingent
          1001 Tricou Street                                                  Unliquidated
          New Orleans, Louisiana 70117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1164 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1188 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.812
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watson, Tyra                                                        Contingent
          9137 S Komensky Ave                                                 Unliquidated
          Oak Lawn, Illinois 60453-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Watson, Whitney                                                     Contingent
          16 Karlstad Road                                                    Unliquidated
          New Castle, Delaware 19720-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WAUBONSEE COMMUNITY COLLEGE                                         Contingent
          Route 47 at Waubonsee Drive                                         Unliquidated
          Sugar Grove, IL 60554
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WAUPACA COUNTY                                                      Contingent
          811 Harding St                                                      Unliquidated
          Waupaca, WI 54981
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WAUSAU COATED                                                       Contingent
          7801 Steward Avenue                                                 Unliquidated
          Wausau, WI 54401
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wausau School District                                              Contingent
          415 Syemour Street                                                  Unliquidated
          Wausau, WI 54403
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wauseon Schools                                                     Contingent
          940 E. Leggett Street                                               Unliquidated
          Wauseon, OH 43567
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1165 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1189 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.813
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          We Are Alexander                                                    Contingent
          1227 Washington Avenue,                                             Unliquidated
          St. Louis, MO 63103
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weas, Laura                                                         Contingent
          369 Scarlet Tanager Court                                           Unliquidated
          Arden, North Carolina 28704-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weatherman, Alexis                                                  Contingent
          8205 Redbud Vine St                                                 Unliquidated
          North Las Vegas, Nevada 89085-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.813
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weave Companies                                                     Contingent
          P.O. Box 22745                                                      Unliquidated
          Billings, MT 59104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weaver, Ashley                                                      Contingent
          37 Meadow Lane                                                      Unliquidated
          Waldorf, Maryland 20601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weaver, Craig                                                       Contingent
          7131 Harlan Ave                                                     Unliquidated
          Sykesville, Maryland 21784-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weaver, Michael                                                     Contingent
          1005 Hiawatha Ln                                                    Unliquidated
          Riverwoods, Illinois 60015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1166 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1190 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.814
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weaver, Nichole                                                     Contingent
          PO BOX 430                                                          Unliquidated
          STRATTON, Maine 04982-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weaver, Tramaine                                                    Contingent
          3231 Western Ave                                                    Unliquidated
          Park Forest, Illinois 60466-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Web Interactive Technologies                                        Contingent
          1829 Reisterstown Road                                              Unliquidated
          Suite 350
                                                                              Disputed
          Baltimore, MD 21208
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.814
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Webb Audio Visual                                                   Contingent
          3020 S West Temple                                                  Unliquidated
          Salt Lake City, UT 84115
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Webb, Allanna                                                       Contingent
          1803 Foxwood Circle                                                 Unliquidated
          Bowie, Maryland 20721-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Webb, Carlene                                                       Contingent
          7570 La Salle Blvd.                                                 Unliquidated
          Hollywood, Florida 33023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weber, Ann Marie                                                    Contingent
          7 S. 349 Augusta Lane                                               Unliquidated
          Naperville, Illinois 60540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1167 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1191 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.815
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weber, Anna                                                         Contingent
          4511 Westbrook Lane                                                 Unliquidated
          Kensington, Maryland 20895-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weber-Scott, Kiyana                                                 Contingent
          2186 New Hope Rd                                                    Unliquidated
          Lawrenceville, Georgia 30045-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Webster, Abrielle                                                   Contingent
          73 Dorchester Way                                                   Unliquidated
          Nashua, New Hampshire 03064-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wedding, Danielle                                                   Contingent
          1909 Marie Ave                                                      Unliquidated
          Evansville, Indiana 47711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weddle, Dawn                                                        Contingent
          39W371 Preston Circle                                               Unliquidated
          Geneva, Illinois 60134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wedig, Nina                                                         Contingent
          2343 Kittridge Drive                                                Unliquidated
          West Dundee, Illinois 60118-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wee, Alexander                                                      Contingent
          14967 Hillside Trail                                                Unliquidated
          Savage, Minnesota 55378-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1168 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1192 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.815
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weekley, Taylor                                                     Contingent
          2606 Main St                                                        Unliquidated
          Hurricane, West Virginia 25526-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weeks, Greta                                                        Contingent
          210 Woodline Drive                                                  Unliquidated
          Milton, West Virginia 25541-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.815
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weihbrecht, Linda                                                   Contingent
          1310 Brandt Ave                                                     Unliquidated
          New Cumberland, Pennsylvania 17070-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weihs, Leigh                                                        Contingent
          6905 Marlborough Road                                               Unliquidated
          Baltimore, Maryland 21212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weiland, Bridget                                                    Contingent
          7500 Highway 7 #253                                                 Unliquidated
          St. Louis Park, Minnesota 55426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weir, Jordan                                                        Contingent
          3776 Weller Road                                                    Unliquidated
          Cato, New York 13033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weirich, Grant                                                      Contingent
          833 Lakewood Drive                                                  Unliquidated
          Norman, Oklahoma 73072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1169 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1193 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.816
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weisgerber, Kayce                                                   Contingent
          73432 646 Ave                                                       Unliquidated
          Peru, Nebraska 68421-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weisgerber, Tazmine                                                 Contingent
          45 Glencourt Ave                                                    Unliquidated
          Edison, New Jersey 08837-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weiss, Jennifer                                                     Contingent
          34 Banister Drive                                                   Unliquidated
          Hampton, Virginia 23666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weitzman Management Corporation                                     Contingent
          3102 Maple Avenue #500                                              Unliquidated
          Dallas, TX 75201
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Welch, Terri                                                        Contingent
          5854 S Nepal St                                                     Unliquidated
          Centennial, Colorado 80015-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Welling, Amy                                                        Contingent
          5300 South Los Altos Pkwy                                           Unliquidated
          Apt 291
                                                                              Disputed
          Sparks, Nevada 89436-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.817
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wellington, Sharlin                                                 Contingent
          4930 Galleon Drive Northeast                                        Unliquidated
          Tacoma, Washington 98422-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1170 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1194 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.817
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $85.00
          WellNOW UC                                                          Contingent
          P.O Box 10459                                                       Unliquidated
          Albany, NY 12201-5459
                                                                              Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.817
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wells, Deana                                                        Contingent
          7100 Walnut Ave                                                     Unliquidated
          Pikesville, Maryland 21208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.817
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wells, Elizabeth                                                    Contingent
          5801 Lowell St Ne #9d                                               Unliquidated
          Albuquerque, New Mexico 87111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.817
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wells, Maahin                                                       Contingent
          8 E 9th Street                                                      Unliquidated
          Apt 2909
                                                                              Disputed
          Chicago, Illinois 60605-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.817
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wells, Nancy                                                        Contingent
          8 Moyer Place                                                       Unliquidated
          Cincinnati, Ohio 45208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.817
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wells-Arrington, Sequoia                                            Contingent
          2444 Beal St.                                                       Unliquidated
          Snellville, Georgia 30078-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.817
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Welsh, George                                                       Contingent
          909 Ellendale Drive                                                 Unliquidated
          Towson, Maryland 21286-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1171 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1195 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.817
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Welsh, Molly                                                        Contingent
          7001 Seaview Ave NW                                                 Unliquidated
          Sutie 160-27
                                                                              Disputed
          Seattle, Washington 98117-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.817
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Welsheimer, Brett                                                   Contingent
          432 S Warren Ave                                                    Unliquidated
          Big Rapids, Michigan 49307-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Welton Elementary School District                                   Contingent
          29126 San Jose Avenue                                               Unliquidated
          Welton, AZ 85356
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wendy's of Colorado Springs                                         Contingent
          1515 N Academy Blvd                                                 Unliquidated
          Suite 400
                                                                              Disputed
          Colorado Springs, CO 80909
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.818
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wentworth, Miriam                                                   Contingent
          10423 Vienna St. Unit 202                                           Unliquidated
          Parker, Colorado 80134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Werner, Janet                                                       Contingent
          28 Trenton Ave                                                      Unliquidated
          South Elgin, Illinois 60177-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Werner, Marilyn                                                     Contingent
          555 Walnut Circle                                                   Unliquidated
          Bellville, Texas 77418-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1172 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1196 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.818
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wesco                                                               Contingent
          1460 Whitehall Road                                                 Unliquidated
          Muskegon, MI 49445
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wesinger, Bonnie                                                    Contingent
          8 B Shelly Drive                                                    Unliquidated
          Hudson, New Hampshire 03051-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wesley, Lolita                                                      Contingent
          777 Royal Saint George Dr #400                                      Unliquidated
          Naperville, Illinois 60563-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West Chicago CHSD 94                                                Contingent
          157 W. Washington Street                                            Unliquidated
          West Chicago, IL 60185
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.818
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West Monroe Partners                                                Contingent
          222 W Adams Street                                                  Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $206,950.54
          West Monroe Partners, LLC                                           Contingent
          222 W Adams St, 11th Fl                                             Unliquidated
          Chicago, IL 60606
                                                                              Disputed
          Date(s) debt was incurred 11/1/2019
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West Northfield School District 31                                  Contingent
          3131 Techny Road                                                    Unliquidated
          Northbrook, IL 60062
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1173 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1197 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.819
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West Paw, Inc.                                                      Contingent
          32050 Frontage Rd                                                   Unliquidated
          Bozeman, MT 59715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West Shore Community College                                        Contingent
          3000 Stiles Road                                                    Unliquidated
          Scottville, MI 49454
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West Virginia Department of Revenue                                 Contingent
          Legal Division ? Bankruptcy Unit                                    Unliquidated
          P.O. Box 766
                                                                              Disputed
          Charleston, WV 25323-0766
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.819
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West, Claire                                                        Contingent
          5811 W Mcnab road                                                   Unliquidated
          North Lauderdale, Florida 33068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West, David                                                         Contingent
          4507 Mount Carmel Road                                              Unliquidated
          Hampstead, Maryland 21074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West, Jaslin                                                        Contingent
          133 Horsley Drive                                                   Unliquidated
          Hampton, Virginia 23666-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West, Jill                                                          Contingent
          5 Haven Ct                                                          Unliquidated
          Moraga, California 94556-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1174 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1198 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.819
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West, Joan                                                          Contingent
          14622 N 48th Way                                                    Unliquidated
          Scottsdale, Arizona 85254-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          West, Reaster                                                       Contingent
          4095 Hampton Manor Cove                                             Unliquidated
          Memphis, Tennessee 38128-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Westbrook, Thelma                                                   Contingent
          380- H Knollwood #215                                               Unliquidated
          Winston Salem, North Carolina 27103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Westbrooks, Wendy                                                   Contingent
          1442 W Birchwood #c                                                 Unliquidated
          Chicago, Illinois 60626-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Westchester Public SD 92.5                                          Contingent
          9981 Canterbury Street                                              Unliquidated
          Westchester, IL 60154
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Western Governors University                                        Contingent
          4001 South 700 E, Suite 700                                         Unliquidated
          Salt Lake City, UT 84107
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Western Montana Mental Health Center                                Contingent
          3255 Lt. Moss Road                                                  Unliquidated
          Missoula, MT 59804
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1175 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1199 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.820
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Western Printing Machinery                                          Contingent
          9229 Ivanhoe Street                                                 Unliquidated
          Schiller Park, IL 60176
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Western Specialty Contractors (Western C                            Contingent
          1637 North Warson Road                                              Unliquidated
          St. Louis, MO 63132
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WESTERN STAR AG RESOURCES INC                                       Contingent
          P.O. Box 1393                                                       Unliquidated
          834 E. Prescott
                                                                              Disputed
          Salina, KS 67401
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.820
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Western Wyoming Beverage                                            Contingent
          100 Reliance Road                                                   Unliquidated
          Rock Springs, WY 82901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Westfall, Chelsea                                                   Contingent
          16035 N 27th St, APT 123                                            Unliquidated
          APT 123
                                                                              Disputed
          Phoenix, Arizona 85032-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.821
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Westinghouse                                                        Contingent
          1000 Westinghouse Drive                                             Unliquidated
          Cranberry Township, PA 16066
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Westinicky, Jean                                                    Contingent
          835 Pearson Street                                                  Unliquidated
          Apartment 205
                                                                              Disputed
          Des Plaines, Illinois 60016-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1176 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1200 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.821
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Westminster Manor                                                   Contingent
          4100 Jackson Avenue                                                 Unliquidated
          Austin, TX 78731
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Weston, Amanda                                                      Contingent
          3403 Robey Terr Apt 201                                             Unliquidated
          Silver Spring, Maryland 20904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,400.00
          Westside Mechanical, LLC                                            Contingent
          2007 Corporate Lane                                                 Unliquidated
          Naperville, IL 60563-9647
                                                                              Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Westville CUSD 2                                                    Contingent
          125 Ellsworth                                                       Unliquidated
          Westville, IL 61883
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wetzel, Kelly                                                       Contingent
          2031 Maples Road                                                    Unliquidated
          Fort Wayne, Indiana 46816-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wheatley, Tayler                                                    Contingent
          1702 35th St                                                        Unliquidated
          Moline, Illinois 61265-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wheeler, Alisha                                                     Contingent
          1300 Hopewell Downs Lane                                            Unliquidated
          APT 106
                                                                              Disputed
          Cary, North Carolina 27519-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1177 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1201 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.822
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wheeler, Asha                                                       Contingent
          3757 Newcastle Drive                                                Unliquidated
          Sulphur, Louisiana 70663-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wheeler, Brandie                                                    Contingent
          15 Tulip Ave                                                        Unliquidated
          Evansville, Indiana 47711-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wheeler, Ian                                                        Contingent
          18 E Columbia Avenue                                                Unliquidated
          Philadelphia, Pennsylvania 19125-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wheeler, Johnnie                                                    Contingent
          1198 Cactus Trl                                                     Unliquidated
          Carol Stream, Illinois 60188-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wheeler, Maralyn                                                    Contingent
          19 Centre St #4                                                     Unliquidated
          Cambridge, Massachusetts 02139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wheeler, Whitney                                                    Contingent
          8270 Fairhaven Lane                                                 Unliquidated
          Montgomery, Alabama 36117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whirley DrinkWorks                                                  Contingent
          618 4th Ave.                                                        Unliquidated
          Warren, PA 16365
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1178 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1202 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.822
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whitaker, Amanda                                                    Contingent
          12574 Bell Creek Dr N                                               Unliquidated
          Grand Bay, Alabama 36541-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White County                                                        Contingent
          1235 Helen Hwy                                                      Unliquidated
          Cleveland, GA 30528
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.822
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Amy                                                          Contingent
          6371 Fayetta Court                                                  Unliquidated
          Dayton, Ohio 45424-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Chiniqua                                                     Contingent
          2764 Airport FWY                                                    Unliquidated
          Fort Worth, Texas 76111-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Christine                                                    Contingent
          1022 Ravencrest Road                                                Unliquidated
          North Tustin, California 92705-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, DeAnn                                                        Contingent
          4247 Osborn Road                                                    Unliquidated
          Dallas, Texas 75227-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Donna                                                        Contingent
          3608 Offutt Road #873                                               Unliquidated
          Randallstown, Maryland 21133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1179 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1203 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.823
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Jennifer                                                     Contingent
          2920 E. 80th Place                                                  Unliquidated
          Tulsa, Oklahoma 74136-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Katina                                                       Contingent
          124 Paulmerston Dr                                                  Unliquidated
          Medina, Tennessee 38355-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Melissa                                                      Contingent
          119 River St                                                        Unliquidated
          Madison, Ohio 44057-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Patricia                                                     Contingent
          871 W. California Ave, Unit K                                       Unliquidated
          Sunnyvale, California 94086-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Phillip                                                      Contingent
          100 Cross Keys Rd, Unit #100b                                       Unliquidated
          Baltimore, Maryland 21210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Qianna                                                       Contingent
          6936 Trimble Dr                                                     Unliquidated
          Fort Worth, Texas 76134-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, S.                                                           Contingent
          1010 N. First St.                                                   Unliquidated
          Apt E-24
                                                                              Disputed
          Jacksonville, Arkansas 72076-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1180 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1204 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.824
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Shana                                                        Contingent
          2812 North Rocheblave Street                                        Unliquidated
          New Orleans, Louisiana 70117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Tammy                                                        Contingent
          290 Meribel Court                                                   Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White, Vanessa                                                      Contingent
          4953 Durham Place                                                   Unliquidated
          Shreveport, Louisiana 71109-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whiteriver Unified School District                                  Contingent
          959 South Chief Avenue                                              Unliquidated
          White River, AZ 85941
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whiting Petroleum Corporation                                       Contingent
          1700 Broadway 2300                                                  Unliquidated
          Denver, CO 80290
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whiting, Tiana                                                      Contingent
          104 N 53RD ST                                                       Unliquidated
          philadelphia, Pennsylvania 19139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whitley County Consolidated Schools                                 Contingent
          107 North Walnut                                                    Unliquidated
          Columbia City, IN 46725
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1181 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1205 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.824
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whitlock, Sharon                                                    Contingent
          2010 CHADWICK DR APT 28                                             Unliquidated
          JACKSON, Mississippi 39204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whitney, Melissa                                                    Contingent
          2355 Ivylgail Drive East                                            Unliquidated
          Jacksonville, Florida 32225-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whittaker, Heather                                                  Contingent
          1420 Mulberry Avenue                                                Unliquidated
          Muscatine, Iowa 52761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whittaker, Tracy                                                    Contingent
          47650 - 50th Street E                                               Unliquidated
          Lancaster, California 93535-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whitted, Shannon                                                    Contingent
          4020 Charleston Rd                                                  Unliquidated
          Apt 1n
                                                                              Disputed
          Matteson, Illinois 60443-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.825
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whittemore, Melinda                                                 Contingent
          4026 High Point Road                                                Unliquidated
          Ellicott City, Maryland 21042-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Whitten, Julie                                                      Contingent
          4911 S 147th St                                                     Unliquidated
          Omaha, Nebraska 68137-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1182 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1206 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.825
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wiarda, Jonathan                                                    Contingent
          2140 Paris Avenue Southeast                                         Unliquidated
          Grand Rapids, Michigan 49507-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wibaux County                                                       Contingent
          203 S. Wibaux                                                       Unliquidated
          Wibaux, MT 59353
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wickenburg Unified School District                                  Contingent
          40 West Yavapai Street                                              Unliquidated
          Wickenburg, AZ 85390
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wicker, Riley                                                       Contingent
          1552 Innes Ave.                                                     Unliquidated
          Sn Francisco, California 94124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.825
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wickett, Marsha                                                     Contingent
          3127 North 71st Street                                              Unliquidated
          Scottsdale, Arizona 85251-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.826
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wicks, John                                                         Contingent
          328 West Kennedy Street                                             Unliquidated
          Syracuse, New York 13205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.826
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wicks, Kristin                                                      Contingent
          517 Guthrie Street                                                  Unliquidated
          Desoto, Iowa 50069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1183 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1207 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.826
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wicks, Randal                                                       Contingent
          9144 S Pulaski Rd                                                   Unliquidated
          Apt 2E
                                                                              Disputed
          Oak Lawn, Illinois 60453-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.826
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wicks, Reginald                                                     Contingent
          12411 Honore St                                                     Unliquidated
          Calumet Park, Illinois 60827-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.826
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Widby, R.                                                           Contingent
          380 Jonesboro Drive                                                 Unliquidated
          Bluff City, Tennessee 37618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.826
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Widmer, Ashley                                                      Contingent
          941 Columbia Rd                                                     Unliquidated
          Irving, New York 14081-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.826
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wiechert-Sharar, Laurie                                             Contingent
          2500 Fieldstone Ct                                                  Unliquidated
          Normal, Illinois 61761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.826
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wiegand, Samantha                                                   Contingent
          722 West St                                                         Unliquidated
          Burnet, Texas 78654-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.826
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wiggins, Sharon                                                     Contingent
          1204 Gail Ct                                                        Unliquidated
          Newport News, Virginia 23605-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1184 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1208 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.826
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wiggins, Tameka                                                     Contingent
          7000 castello point                                                 Unliquidated
          suffolk, Virginia 23434-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilber, Susan                                                       Contingent
          7501 W McColm                                                       Unliquidated
          Gaston, Indiana 47342-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilbert, Mary                                                       Contingent
          13 Quail Ridge Dr                                                   Unliquidated
          Joplin, Missouri 64804-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilburn, Sara                                                       Contingent
          3820 Chaumont Circle                                                Unliquidated
          Ocean Springs, Mississippi 39564-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilcox, Sylvia                                                      Contingent
          2689 Imperial Street                                                Unliquidated
          Salt Lake City, Utah 84106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilde, Julienne                                                     Contingent
          319 Dover Dr                                                        Unliquidated
          Chatham, Illinois 62629-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilderom, Andrea                                                    Contingent
          PO Box 894                                                          Unliquidated
          Basalt, Colorado 81621-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1185 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1209 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.827
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,310.00
          Wildwood & Holt of NY, Inc.                                         Contingent
          65 Pondfield Road Rear                                              Unliquidated
          Bronxville, NY 10708
                                                                              Disputed
          Date(s) debt was incurred 1/27/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wiley, Curtis                                                       Contingent
          6707 Alpine Lane                                                    Unliquidated
          Westmont, Illinois 60559-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilkerson, Christie                                                 Contingent
          185 West Rd                                                         Unliquidated
          N. Chittenden, Vermont 05763-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilkes, Ashlee                                                      Contingent
          3100 Days Court                                                     Unliquidated
          Ijamsville, Maryland 21754-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilkins, Jody                                                       Contingent
          3491 Camino Corte                                                   Unliquidated
          Carlsbad, California 92009-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilkinson, Nora                                                     Contingent
          6501 Meade Drive                                                    Unliquidated
          Colleyville, Texas 76034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willard, Michaela                                                   Contingent
          186 Miramar St                                                      Unliquidated
          Mary Ester, Florida 32569-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1186 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1210 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.828
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willard, Taryn                                                      Contingent
          380 E Torrence Rd                                                   Unliquidated
          Columbus, Ohio 43214-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          William Knight                                                      Contingent
          Fortitude Systems                                                   Unliquidated
          P.O. Box 76383
                                                                              Disputed
          Baltimore, MD 21275-6383
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.828
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams Institutional Foods                                        Contingent
          1325 Bowens Mill Road SW                                            Unliquidated
          Douglas, GA 31534
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams Unified School District                                    Contingent
          802 South 6th Street                                                Unliquidated
          Williams, AZ 86046
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Amber                                                     Contingent
          746 S. Coronado St.                                                 Unliquidated
          Apt. #209
                                                                              Disputed
          Los Angeles, California 90057-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.828
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Amy                                                       Contingent
          6515 7th ave                                                        Unliquidated
          Kenosha, Wisconsin 53143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Ayisha                                                    Contingent
          2190 S Uecker Lane Apt 1022                                         Unliquidated
          Lewisville, Texas 75067-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1187 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1211 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.829
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Candice                                                   Contingent
          16107 Kensington Dr #348                                            Unliquidated
          Sugar Land, Texas 77479-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.829
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Carmen                                                    Contingent
          5492 Trailbend                                                      Unliquidated
          Florissant, Missouri 63033-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.829
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Caroline                                                  Contingent
          59 Delaware Road                                                    Unliquidated
          Easton, Connecticut 06612-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.829
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Corey                                                     Contingent
          2449 Greenbook Drive                                                Unliquidated
          Little Elm, Texas 75068-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.829
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Cybil                                                     Contingent
          3900 Tyler Apt #3                                                   Unliquidated
          El Paso, Texas 79930-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.829
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Desiree                                                   Contingent
          1435 Maple Ave                                                      Unliquidated
          Hillside, New Jersey 07205-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.829
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Devin                                                     Contingent
          1800 Rogers Road                                                    Unliquidated
          Apt. 314
                                                                              Disputed
          Fort Worth, Texas 76107-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1188 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1212 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.829
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Donna                                                     Contingent
          1727 McDaniel                                                       Unliquidated
          A
                                                                              Disputed
          Evanston, Illinois 60201-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.829
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Douglas                                                   Contingent
          13075 Jeddo rd                                                      Unliquidated
          Brockway, Michigan 48097-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.829
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Ebony                                                     Contingent
          2100 s conway rd                                                    Unliquidated
          Orlando, Florida 32812-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Fabian                                                    Contingent
          1621 Beacon Village Drive                                           Unliquidated
          Raleigh, North Carolina 27604-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Jaleesa                                                   Contingent
          297 West Squire Dr                                                  Unliquidated
          Apt 1
                                                                              Disputed
          Rochester, New York 14623-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.830
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Jasmine                                                   Contingent
          2635 Welllington Ave                                                Unliquidated
          Westchester, Illinois 60154-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Jawana                                                    Contingent
          7012 East Lakeside Drive                                            Unliquidated
          Charlotte, North Carolina 28215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1189 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1213 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.830
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Jennifer                                                  Contingent
          1712 Chacon Canyon Dr                                               Unliquidated
          Desoto, Texas 75115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Jocelyn                                                   Contingent
          15416 Adams Lane                                                    Unliquidated
          Fontana, California 92336-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Kellica                                                   Contingent
          7100 Burton Drive                                                   Unliquidated
          Little Rock, Arkansas 72204-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Kiannah                                                   Contingent
          3653 Briargrove Lane                                                Unliquidated
          #1235
                                                                              Disputed
          Dallas, Texas 75287-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.830
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Lesley                                                    Contingent
          5312 S Ingleside                                                    Unliquidated
          Chicago, Illinois 60615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Lillian                                                   Contingent
          5256 Felicia Ave                                                    Unliquidated
          Livermore, California 94550-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.831
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Malinda                                                   Contingent
          7924 South Ada 2nd Floor                                            Unliquidated
          Chicago, Illinois 60620-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1190 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1214 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.831
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Marilyn                                                   Contingent
          1910 E Lillian Lane                                                 Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.831
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Marquita                                                  Contingent
          1359 E. Rittenhouse St                                              Unliquidated
          Philadelphia, Pennsylvania 19138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.831
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Marvette                                                  Contingent
          1134 Hartford Tpke, 2C1                                             Unliquidated
          Vernon, Connecticut 06066-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.831
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Merissa                                                   Contingent
          61 Paerdegat 3rd St                                                 Unliquidated
          1st Floor
                                                                              Disputed
          Brooklyn, New York 11236-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.831
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Monica                                                    Contingent
          5973 NW 54th Lane                                                   Unliquidated
          Tamarac, Florida 33319-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.831
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Patricia                                                  Contingent
          1995 Erin Way                                                       Unliquidated
          Glendale, California 91206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.831
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Patsy                                                     Contingent
          1923 Weeks Lane NW                                                  Unliquidated
          Brookhaven, Mississippi 39601-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1191 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1215 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.831
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Shaletta                                                  Contingent
          6406 Wooded Glen Ct #104                                            Unliquidated
          Chester, Virginia 23831-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.831
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Sharifah                                                  Contingent
          1408 Webster Avenue                                                 Unliquidated
          The Bronx, New York 10456-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.832
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Sheldon                                                   Contingent
          2130 S.5th Ave                                                      Unliquidated
          Maywood, Illinois 60153-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.832
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Simira                                                    Contingent
          2431 FM 1960 Rd West                                                Unliquidated
          Apt 2804
                                                                              Disputed
          Houston, Texas 77068-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.832
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Stephanie                                                 Contingent
          253 Chasse Circle                                                   Unliquidated
          Saint Charles, Illinois 60174-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.832
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Talya                                                     Contingent
          631 Orange Grove Ave, Unit B                                        Unliquidated
          South Pasadena, California 91030-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.832
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Tamara                                                    Contingent
          862 Cedargate Ct                                                    Unliquidated
          Waterford, Michigan 48328-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1192 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1216 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.832
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Tameka                                                    Contingent
          12236 Washington Ave                                                Unliquidated
          Apt 4
                                                                              Disputed
          Blue Island, Illinois 60406-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.832
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Tiffany                                                   Contingent
          329 Pine Arbol Pass                                                 Unliquidated
          Buda, Texas 78610-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.832
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Tovia                                                     Contingent
          1118 Powers Drive                                                   Unliquidated
          Tyler, Texas 75701-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.832
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Tracey                                                    Contingent
          4107 Shirley Drive                                                  Unliquidated
          Belleville, Illinois 62226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.832
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Viola                                                     Contingent
          606 Appaloosa Trail                                                 Unliquidated
          Chesapeake, Virginia 23323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.833
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Vivian                                                    Contingent
          41 Arborwood Crescent                                               Unliquidated
          Rochester, New York 14615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.833
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Wakeisha                                                  Contingent
          3207 Henderson Mill Rd, H9                                          Unliquidated
          Atlanta, Georgia 30341-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1193 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1217 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.833
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams, Yvonne                                                    Contingent
          7432 Alabama Ave                                                    Unliquidated
          Hammond, Indiana 46323-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.833
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williams-Eberhart, Sandra                                           Contingent
          8 CABANNE TOWNHOME DR                                               Unliquidated
          SAINT LOUIS, Missouri 63112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.833
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Williford, Lori                                                     Contingent
          4116 Salem Farms Rd                                                 Unliquidated
          Oxford, North Carolina 27565-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.833
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willis, Gabrielle                                                   Contingent
          1569 Winthrope Drive                                                Unliquidated
          Newport News, Virginia 23602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.833
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willis, Lindsay                                                     Contingent
          4821 E Riverside Drive                                              Unliquidated
          APT 145
                                                                              Disputed
          Austin, Texas 78741-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.833
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willis, Paris                                                       Contingent
          111 Towne Commons Way                                               Unliquidated
          Apt 34
                                                                              Disputed
          Cincinnati, Ohio 45215-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.833
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willis, Tiffany                                                     Contingent
          206 E Garfield Blvd, Apt 301                                        Unliquidated
          Chicago, Illinois 60615-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1194 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1218 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.833
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willis-Johnson, Grace                                               Contingent
          5317 Playa Way                                                      Unliquidated
          Jacksonville, Florida 32211-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willocks, Ebeni                                                     Contingent
          21355 Clarefield Ct.                                                Unliquidated
          Humble, Texas 77338-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Willow Springs SD 108                                               Contingent
          8345 Archer Ave                                                     Unliquidated
          Willow Springs, IL 60480
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wills, Jeff                                                         Contingent
          803 Boccaccio Ave                                                   Unliquidated
          Los Angeles, California 90291-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilmot Union High School                                            Contingent
          11112 308th Avenue                                                  Unliquidated
          PO Box 8
                                                                              Disputed
          Wilmot, WI 53192
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.834
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson School District #7                                           Contingent
          3025 E. Fillmore Street                                             Unliquidated
          Phoenix, AZ 85008
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Angielena                                                   Contingent
          14626 myrtle ave                                                    Unliquidated
          harvey, Illinois 60426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1195 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1219 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.834
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Beverly                                                     Contingent
          2225 S. Kostner Ave                                                 Unliquidated
          Chicago, Illinois 60623-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Casey                                                       Contingent
          7336 Sungold Ave                                                    Unliquidated
          Corona, California 92880-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Crystal                                                     Contingent
          8117 Titus Road                                                     Unliquidated
          St. Louis, Missouri 63114-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Elizabeth                                                   Contingent
          3030 Pembroke Dr.                                                   Unliquidated
          Ottawa Hills, Ohio 43606-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Jasmine                                                     Contingent
          2301 North 5th St                                                   Unliquidated
          Harrisburg, Pennsylvania 17110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Jordan                                                      Contingent
          1900 Kickingbird Rd                                                 Unliquidated
          Apt 93
                                                                              Disputed
          Edmond, Oklahoma 73034-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.835
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Kammi                                                       Contingent
          14710 - 4th Street, Apt 226                                         Unliquidated
          Laurel, Maryland 20707-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1196 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1220 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.835
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Karma                                                       Contingent
          10135 South Bell Avenue                                             Unliquidated
          Chicago, Illinois 60643-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Kutia                                                       Contingent
          336 Brenkie Street                                                  Unliquidated
          Lukin, Texas 75904-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Laura                                                       Contingent
          740 Rose Street                                                     Unliquidated
          Albany, Texas 76430-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Lionel                                                      Contingent
          1501 Little Gloucester Rd #C19                                      Unliquidated
          Blackwood, New Jersey 08012-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Lisa                                                        Contingent
          345 Springlake Terrace                                              Unliquidated
          Covington, Georgia 30016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Michelle                                                    Contingent
          913 Burning Springs Circle                                          Unliquidated
          Louisville, Kentucky 40223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Nancy                                                       Contingent
          301 W. Washington Ave.                                              Unliquidated
          Apt. 304
                                                                              Disputed
          Sunnyvale, California 94086-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1197 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1221 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.836
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Patricia                                                    Contingent
          1717 Michaelwood Ct                                                 Unliquidated
          St Charles, Missouri 63303-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.836
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Ramute                                                      Contingent
          6857 Malton Ct                                                      Unliquidated
          Centreville, Virginia 20121-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.836
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Stephanie                                                   Contingent
          400 C. Howard Ave                                                   Unliquidated
          Lakeland, Florida 33815-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.836
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Susan                                                       Contingent
          6460 Double Eagle Dr                                                Unliquidated
          Unit 323
                                                                              Disputed
          Woodridge, Illinois 60517-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.836
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Tonoa                                                       Contingent
          2241 S 12th Street                                                  Unliquidated
          Springfield, Illinois 62703-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.836
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Tricia                                                      Contingent
          2476 Saddle Ridge Dr                                                Unliquidated
          Joliet, Illinois 60432-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.836
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilson, Valerie                                                     Contingent
          3883 Turtle Creek                                                   Unliquidated
          807
                                                                              Disputed
          Dallas, Texas 75219-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1198 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1222 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.836
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wilton Re Services, Inc.                                            Contingent
          20 Glover Ave.                                                      Unliquidated
          Norwalk, CT 06850
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.836
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wimbley, Jennifer                                                   Contingent
          3528 W. Wabansia                                                    Unliquidated
          Chicago, Illinois 60647-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.836
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wimpee, Jacob                                                       Contingent
          3820 Alpine Track Ave                                               Unliquidated
          North Las Vegas, Nevada 89032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winans, Emily                                                       Contingent
          26200 Redlands Blvd, Apt 127                                        Unliquidated
          Redlands, California 92373-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winbush, Natisha                                                    Contingent
          114 Pine Ct                                                         Unliquidated
          Pittsburgh, Pennsylvania 15239-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winchester, Cameo                                                   Contingent
          33 Marianne Dr                                                      Unliquidated
          St Peters, Missouri 63376-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Windham, Steffany                                                   Contingent
          5908 Buncombs Road                                                  Unliquidated
          Shreveport, Louisiana 71129-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1199 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1223 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.837
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Windom Area Health                                                  Contingent
          2150 Hospital Drive                                                 Unliquidated
          Windom, MN 56101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Windstream- IH                                                      Contingent
          P.O Box 9001013                                                     Unliquidated
          Louisville, KY 40290-1013
                                                                              Disputed
          Date(s) debt was incurred 12/12/2019
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winfrey, Brittany                                                   Contingent
          2665 Lyon St. SE                                                    Unliquidated
          Albany, Oregon 97322-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winger, Kimberly                                                    Contingent
          10492 Fawn Ridge Trail                                              Unliquidated
          Hartland, Michigan 48353-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winner, Shannon                                                     Contingent
          2043 Garden Drive                                                   Unliquidated
          Forest Hill, Maryland 21050-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.837
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winnetka SD 36                                                      Contingent
          1235 Oak Street                                                     Unliquidated
          Winnetka, IL 60062
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winslow, Kelly                                                      Contingent
          1895 East Tambourine Avenue                                         Unliquidated
          Salt Lake City, Utah 84106-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1200 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1224 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.838
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winston, Robin                                                      Contingent
          1209 Shenandoah Ave                                                 Unliquidated
          St Louis, Missouri 63104-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wint, Lauren                                                        Contingent
          644 W. Surf Street, APT 307                                         Unliquidated
          Chicago, Illinois 60657-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winters, Pamala                                                     Contingent
          5823 Spay Rd                                                        Unliquidated
          McCool, Mississippi 39108-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winzer, Gian-                                                       Contingent
          2075 McLaughlin Ave #109                                            Unliquidated
          San Jose, California 95122-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wipf, Melissa                                                       Contingent
          300 Arianna Place Unit 1                                            Unliquidated
          Tea, South Dakota 57604-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wirth, Andrea                                                       Contingent
          1701 Grand St. NE                                                   Unliquidated
          Minneapolis, Minnesota 55413-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wisconsin Department of Revenue                                     Contingent
          Special Procedures Unit - PO Box 8901                               Unliquidated
          Madison, WI 53708-8901
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1201 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1225 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.838
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wise, Marlene                                                       Contingent
          14 Cumberland Drive                                                 Unliquidated
          Newport News, Virginia 23608-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wise, Stacey                                                        Contingent
          2 Braided Whip Court                                                Unliquidated
          Baltimore, Maryland 21244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wismer, Alysa                                                       Contingent
          11 W Riverbend Road                                                 Unliquidated
          Casper, Wyoming 82604-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Witchard, Raven                                                     Contingent
          6707 W. Lloyd #11                                                   Unliquidated
          Worth, Illinois 60482-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Witherspoon, Anthony                                                Contingent
          8921 Wadford Dr.                                                    Unliquidated
          Unit 102
                                                                              Disputed
          Raleigh, North Carolina 27616-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.839
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Witherspoon, Mary                                                   Contingent
          9120 S. Drexel Ave                                                  Unliquidated
          Chicago, Illinois 60619-7613
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Witherspoon, Shavahn                                                Contingent
          8921 Wadford Dr.                                                    Unliquidated
          Apt. 102
                                                                              Disputed
          Raleigh, North Carolina 27616-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1202 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1226 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.839
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Witt, Alyssa                                                        Contingent
          3607 Greystone DR #923                                              Unliquidated
          Austin, Texas 78731-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Witte, Morgan                                                       Contingent
          549 Velasko Road                                                    Unliquidated
          Syracuse, New York 13207-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Witter, Stephanie                                                   Contingent
          15525 Thayer Drive                                                  Unliquidated
          Lolo, Montana 59847-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wlodek, Nicollette                                                  Contingent
          8 Arthur Ct                                                         Unliquidated
          Streamwood, Illinois 60107-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wohlers, Tami                                                       Contingent
          1050 Flathead Road                                                  Unliquidated
          Helena, Montana 59602-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.840
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wojan, Frank                                                        Contingent
          4702 Keel Ct                                                        Unliquidated
          Apt 1C
                                                                              Disputed
          Lisle, Illinois 60532-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.840
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wojcik, Mary                                                        Contingent
          91 De Arc Place                                                     Unliquidated
          Atlanta, Georgia 30327-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1203 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1227 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.840
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woldemichael, Elda                                                  Contingent
          735 Sligo Ave                                                       Unliquidated
          Apt. 104
                                                                              Disputed
          Silver Spring, Maryland 20910-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.840
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wolf, Emily                                                         Contingent
          5660 Kingsbury Ave #218                                             Unliquidated
          St. Louis, Missouri 63112-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.840
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wolfe, Elizabeth                                                    Contingent
          1108 Cedarbrook Rd                                                  Unliquidated
          Hampstead, Maryland 21074-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.840
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wolfe, Hannah                                                       Contingent
          17 Joelyn Street                                                    Unliquidated
          Fairmont, West Virginia 26554-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.840
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wolin, Kathleen                                                     Contingent
          218 W Saint Paul Ave                                                Unliquidated
          Chicago, Illinois 60614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.840
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wolkon, Melissa                                                     Contingent
          527 S. Sierra Avenue 179                                            Unliquidated
          Solana Beach, California 92075-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.840
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wolpers, Annie                                                      Contingent
          14447 Willowbend Park                                               Unliquidated
          Town and Country, Missouri 63017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1204 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1228 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.840
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woltman, Melinda                                                    Contingent
          107 April Lane                                                      Unliquidated
          North Aurora, Illinois 60542-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woman's Hospital Foundation                                         Contingent
          100 Woman's Way                                                     Unliquidated
          Baton Rouge, LA 70817
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woman, Wonder                                                       Contingent
          123 Avenger Lane                                                    Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wonder, Woman                                                       Contingent
          1 Avenger Drive                                                     Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wong, Jason                                                         Contingent
          634 Tramway Dr.                                                     Unliquidated
          Milpitas, California 95035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wong, Kristin                                                       Contingent
          347 W. 55th Street                                                  Unliquidated
          Apt. 6G
                                                                              Disputed
          New York, New York 10019-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.841
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wong, Lina                                                          Contingent
          3332 Le Conte Court                                                 Unliquidated
          Stockton, California 95212-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1205 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1229 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.841
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woo, Heather                                                        Contingent
          5883 E. Eugenia Ave                                                 Unliquidated
          Fresno, California 93727-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wood Dale SD 7                                                      Contingent
          543 N. Wood Dale Road                                               Unliquidated
          Wood Dale, IL 60191
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wood, Allison                                                       Contingent
          1305 3rd Ave N                                                      Unliquidated
          Nashville, Tennessee 37208-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.841
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wood, Anna                                                          Contingent
          2102 N Damen Avenue                                                 Unliquidated
          Apt 3R
                                                                              Disputed
          Chicago, Illinois 60647-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.842
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wood, James                                                         Contingent
          5004 Golfridge Dr.                                                  Unliquidated
          Las Vegas, Nevada 89130-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wood, Julie                                                         Contingent
          2401 S. Atlantic Ave                                                Unliquidated
          C-502
                                                                              Disputed
          New Smyrna Beach, Florida 32169-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.842
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wood, Nicole                                                        Contingent
          105 E. Wells St.                                                    Unliquidated
          Apt D258
                                                                              Disputed
          Baltimore, Maryland 21230-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1206 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1230 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.842
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wood, Susan                                                         Contingent
          113 Chelsea Way                                                     Unliquidated
          York, Pennsylvania 17406-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodard, Idella                                                     Contingent
          415 American Road                                                   Unliquidated
          Nashville, Tennessee 37209-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodard, Kristie                                                    Contingent
          3287B Reagan Dr                                                     Unliquidated
          Lemoore, California 93245-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodard, Shirese                                                    Contingent
          8550 S. Escanaba                                                    Unliquidated
          Chicago, Illinois 60617-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wooden, James                                                       Contingent
          555 Woodbrook Way                                                   Unliquidated
          Lawrenceville, Georgia 30043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodland Foods, LTD                                                 Contingent
          3751 Sunset Ave.                                                    Unliquidated
          Waukegan, IL 60087
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodland SD 50                                                      Contingent
          1105 N. Hunt Club Road                                              Unliquidated
          Gurnee, IL 60031
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1207 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1231 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.843
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WOODLANDS TOWNSHIP                                                  Contingent
          2801 Technology Forest                                              Unliquidated
          The Woodlands, TX 77381
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.843
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodrick, Alexandra                                                 Contingent
          72 Sunrise Court                                                    Unliquidated
          Apt # 8
                                                                              Disputed
          Moriches, New York 11955-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.843
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodridge School District 68                                        Contingent
          7925 Janes Avenue                                                   Unliquidated
          Woodridge, IL 60517
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.843
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodring, Krista                                                    Contingent
          19 Lexington Road                                                   Unliquidated
          Wellesley, Massachusetts 02482-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.843
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodroffe, Latoya                                                   Contingent
          810 Buckingham Dr                                                   Unliquidated
          Silver Spring, Maryland 20901-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.843
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodruff, Kristin                                                   Contingent
          28 Warren Ave #6                                                    Unliquidated
          Somerville, Massachusetts 02143-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.843
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woods, Georgette                                                    Contingent
          4919 40th St Ne                                                     Unliquidated
          Tacoma, Washington 98422-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1208 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1232 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.843
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woods, Teresa                                                       Contingent
          5018 Cindy Way                                                      Unliquidated
          Las Vegas, Nevada 89146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.843
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woodworth, Chad                                                     Contingent
          106 Wilbury Place                                                   Unliquidated
          Buffalo, New York 14216-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.843
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woody, Samantha                                                     Contingent
          9600 Groveton Circle                                                Unliquidated
          Owings Mills, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Woolpert                                                            Contingent
          4454 Idea Center Blvd                                               Unliquidated
          Dayton, OH 12345
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wooten, Jacklynn                                                    Contingent
          133 Holmes St Unit B                                                Unliquidated
          Hillsboro, Ohio 45133-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wooten, Mary                                                        Contingent
          23 Crestwood Dr                                                     Unliquidated
          Meriden, Connecticut 06450-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.00
          Workplace Health                                                    Contingent
          1670 E Sherman Blvd                                                 Unliquidated
          Muskegon, MI 49442
                                                                              Disputed
          Date(s) debt was incurred 3/2/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1209 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1233 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.844
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.00
          Workpoint Ashley Valley                                             Contingent
          PO Box 25204                                                        Unliquidated
          Belfast, ME 04915-2003
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          World Education Services, Inc.                                      Contingent
          1 Battery Park Plaza                                                Unliquidated
          3rd Floor
                                                                              Disputed
          New York, NY 10004
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.844
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          World's Finest Chocolate Inc.                                       Contingent
          4801 S Lawndale Ave                                                 Unliquidated
          Chicago, Il 60632
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Worrall, Caroline                                                   Contingent
          4632 Schenley Rd                                                    Unliquidated
          Baltimore, Maryland 21210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Worthington, Bernard                                                Contingent
          32 Henley Court                                                     Unliquidated
          Windsor Mill, Maryland 21244-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.844
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Worthy, Jonathan                                                    Contingent
          1218 SW 26th Place                                                  Unliquidated
          Lawton, Oklahoma 73505-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.845
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wozny, Justin                                                       Contingent
          6463 SE Windsong Ln                                                 Unliquidated
          Stuart, Florida 34997-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1210 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1234 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.845
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wright, Carla                                                       Contingent
          14 Norman Lane                                                      Unliquidated
          Auburndale, Florida 33823-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.845
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wright, Cindy                                                       Contingent
          12333 Deerfield Ln                                                  Unliquidated
          Glade Spring, Virginia 24340-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.845
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wright, Irene                                                       Contingent
          104 Sweetbay Arbour                                                 Unliquidated
          Yorktown, Virginia 23692-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.845
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WRIGHT, JOHNATHAN                                                   Contingent
          1220 W 52ST                                                         Unliquidated
          CHICAGO, Illinois 60609-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.845
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wright, Jossalynn                                                   Contingent
          680 Del Mar Drive                                                   Unliquidated
          Aumsville, Oregon 97325-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.845
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wright, Loretta                                                     Contingent
          388 Beale Street                                                    Unliquidated
          APT 1714
                                                                              Disputed
          San Francisco, California 94105-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.845
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wright, Tiffiny                                                     Contingent
          7151 Hunnington Dr                                                  Unliquidated
          Sanger, Texas 76266-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1211 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1235 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.845
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wright-Spence, Joshua                                               Contingent
          833 North Delaware ave                                              Unliquidated
          NY, New York 11226-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.845
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wrigley, Maquel                                                     Contingent
          20456 W. 3000 S                                                     Unliquidated
          Malad City, Idaho 83252-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WSI Industries                                                      Contingent
          213 Chelsea Road                                                    Unliquidated
          Monticello, MN 55362
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wu, Hung P.                                                         Contingent
          9402 Logan Ridge Court                                              Unliquidated
          Las Vegas, Nevada 89139-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wu, Judy                                                            Contingent
          178 - 5th St                                                        Unliquidated
          Stoughton, Massachusetts 02072-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wu, Meng                                                            Contingent
          750 N. Rush Street                                                  Unliquidated
          Apt. 1401
                                                                              Disputed
          Chicago, Illinois 60611-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.846
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wullschleger, Kelly                                                 Contingent
          304 Camellia Way                                                    Unliquidated
          League City, Texas 77573-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1212 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1236 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.846
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wundrock, Judith                                                    Contingent
          6 Judith Drive                                                      Unliquidated
          Concord, New Hampshire 03301-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wyman, Jessica                                                      Contingent
          4882 Anderson Way                                                   Unliquidated
          Nampa, Idaho 83687-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wymore, Erin                                                        Contingent
          1947 N. Cleveland, Apt F                                            Unliquidated
          Chicago, Illinois 60614-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wynn, Ivy                                                           Contingent
          10634 S Normal Ave                                                  Unliquidated
          Chicago, Illinois 60628-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wynn, Michele                                                       Contingent
          8985 S DURANGO DR UNIT 1008                                         Unliquidated
          LAS VEGAS, Nevada 89113-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wynn, Senaka                                                        Contingent
          206 Windsor Way                                                     Unliquidated
          Midwest City, Oklahoma 73110-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1213 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1237 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.847
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Wyoming Department of Revenue
          122 West 25th Street                                                Contingent
          Suite E301                                                          Unliquidated
          Herschler Building East                                             Disputed
          Cheyenne, WY 82002
                                                                             Basis for the claim:    Taxing Authority
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.847
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WYOMING MACHINERY COMPANY                                           Contingent
          5300 W Old Yellowstone Hwy                                          Unliquidated
          Casper, WY 82604
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Xiao, Sheng Qi                                                      Contingent
          811 Buena Vista Ave                                                 Unliquidated
          Alameda, California 94501-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Xie, Anyue                                                          Contingent
          5100 Kellan Drive                                                   Unliquidated
          Ellicott City, Maryland 21043-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.00
          Xpress Wellness LLC                                                 Contingent
          P.O. Box 412697                                                     Unliquidated
          Kansas City, MO 64141
                                                                              Disputed
          Date(s) debt was incurred 5/1/2020
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Xtek Inc.                                                           Contingent
          11451 Reading Rd                                                    Unliquidated
          Cincinnati, OH 45241
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1214 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1238 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.847
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Xynos, Gloris                                                       Contingent
          11122 Oak Lake Ct                                                   Unliquidated
          St Louis, Missouri 63146-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yagudayev, Larisa                                                   Contingent
          19152 E Arkansas Dr #103                                            Unliquidated
          Aurora, Colorado 80017-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yakimenko, Kira                                                     Contingent
          16140 Pauline                                                       Unliquidated
          Prairie View, Illinois 60069-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yamin, Sherwin                                                      Contingent
          32 Palomino Drive                                                   Unliquidated
          North Andover, Massachusetts 01845-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yang, Tria                                                          Contingent
          1259 North Wall Ave, Apt #1                                         Unliquidated
          San Bernardino, California 92404-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yao, Ti                                                             Contingent
          215 Vintage Lane                                                    Unliquidated
          Buffalo Grove, Illinois 60089-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yap, Gregory                                                        Contingent
          12405 Pasco Trails Blvd                                             Unliquidated
          Spring Hill, Florida 34610-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1215 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1239 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.848
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yaphet, Jennifer                                                    Contingent
          811 East 11th St #133                                               Unliquidated
          Austin, Texas 78702-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yarnell, Robin                                                      Contingent
          2245 Monroe Blvd. #4                                                Unliquidated
          Ogden, Utah 84401-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yaskovitch, Sherry                                                  Contingent
          Po Box 612                                                          Unliquidated
          Williston, Florida 32696-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yates County                                                        Contingent
          417 Liberty St                                                      Unliquidated
          Penn Yan, NY 14527
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yavapai County Education Service Agency                             Contingent
          2970 Centerpointe East Dr,                                          Unliquidated
          Prescott, AZ 86301
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yext, Inc.                                                          Contingent
          One Madison Ave 5th floor                                           Unliquidated
          New York, NY 10017
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yim, Samuel                                                         Contingent
          1191 Harbor Tree Drive                                              Unliquidated
          Crownsville, Maryland 21032-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1216 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1240 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.849
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yonan, Yonia                                                        Contingent
          3915 W Sherwin                                                      Unliquidated
          Lincolnwood, Illinois 60712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yoon, Diana                                                         Contingent
          1658 liholiho st, apt 603                                           Unliquidated
          Honolulu, Hawaii 96822-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          York, Roya                                                          Contingent
          987 S. Alkire St.                                                   Unliquidated
          Lakewood, Colorado 80228-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Youell, Jonathan                                                    Contingent
          1402 E. State Street                                                Unliquidated
          Boise, Idaho 83712-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young Cook, Emma                                                    Contingent
          14650 Lowell Blvd                                                   Unliquidated
          Broomfield, Colorado 80023-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Adrianne                                                     Contingent
          2936 Peachtree                                                      Unliquidated
          Sauk Village, Illinois 60411-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Ashley                                                       Contingent
          10588 Noland Rd.                                                    Unliquidated
          Overland Park, Kansas 66215-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1217 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1241 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.849
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Courtney                                                     Contingent
          7605 Queens Garden                                                  Unliquidated
          Dallas, Texas 75248-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Denise                                                       Contingent
          15613 Paulina                                                       Unliquidated
          Harvey, Illinois 60426-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Joy                                                          Contingent
          16908 Simsbrook Drive                                               Unliquidated
          Pflugerville, Texas 78660-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Kim                                                          Contingent
          3006 Walnut Ave                                                     Unliquidated
          Owings MIlls, Maryland 21117-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Lydia                                                        Contingent
          8416 s Exchange                                                     Unliquidated
          2fl
                                                                              Disputed
          Chicago, Illinois 60617-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.850
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Nicole                                                       Contingent
          1320 W. Bloomwood Rd                                                Unliquidated
          Racho Palos Verdes, California 90275-000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Young, Shirley                                                      Contingent
          121 N Marion Ave                                                    Unliquidated
          Bartlett, Illinois 60103-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1218 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1242 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.850
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Youngblood, Jennifer                                                Contingent
          2960 Wolferton St                                                   Unliquidated
          Norfolk, Virginia 23504-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yount, Arleithia                                                    Contingent
          1351 Iron Leige Run                                                 Unliquidated
          Virginia Beach, Virginia 23454-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yuan, Ashley                                                        Contingent
          2230 Gateway Oaks Dr Apt 331                                        Unliquidated
          Sacramento, California 95833-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yuen, David                                                         Contingent
          22671 Laguna Drive                                                  Unliquidated
          Moreno Valley, California 92553-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.850
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Yusef, Ahmad                                                        Contingent
          2318 S Country Club Dr                                              Unliquidated
          Mesa, Arizona 85210-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zaccardelli, Kathryn                                                Contingent
          4515 Elmwood Ave                                                    Unliquidated
          Royal Oak, Michigan 48073-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zaccarello, Kathryn                                                 Contingent
          24 Carrswold Drive                                                  Unliquidated
          St. Louis, Missouri 63105-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1219 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1243 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.851
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zaffino, Marybeth                                                   Contingent
          4691 Pelehu Road                                                    Unliquidated
          Kapaa, Hawaii 96746-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zahn, Lacey                                                         Contingent
          109 Pinegrove Ave                                                   Unliquidated
          Warwick, Rhode Island 02889-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zajac, Magdalena                                                    Contingent
          1317 Allison Ln                                                     Unliquidated
          Schaumburg, Illinois 60194-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zajack, Steven                                                      Contingent
          3620 West 123rd Place                                               Unliquidated
          Alsip, Illinois 60803-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zakria, Avesta                                                      Contingent
          2201 Robert Gabriel Dr.                                             Unliquidated
          Tracy, California 95377-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zalva, Dawn                                                         Contingent
          334 Ensley Road                                                     Unliquidated
          Bryson City, North Carolina 28713-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zamani, Tara                                                        Contingent
          3747 So. Sepulveda Blvd #21                                         Unliquidated
          Los Angeles, California 90034-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1220 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1244 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.851
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zamarripa, Nadia                                                    Contingent
          1563 Apache Drive Unit A                                            Unliquidated
          Chula Vista, California 91910-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zambrana, MaryEllen                                                 Contingent
          2274 Wheelwright Court                                              Unliquidated
          Reston, Virginia 20191-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zamora, Lauren                                                      Contingent
          1309 n Rockwell                                                     Unliquidated
          Chicago, Illinois 60622-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zapata, Mikaila                                                     Contingent
          1411 Glenwood Ave                                                   Unliquidated
          Odessa, Texas 79761-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zapien, Jorge                                                       Contingent
          5902 Ross Ave                                                       Unliquidated
          Dallas, Texas 75206-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zeamer, Amanda                                                      Contingent
          3384 School Road                                                    Unliquidated
          De Pere, Wisconsin 54115-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zeb, Uroosa                                                         Contingent
          2135 Rhododendron Ct.                                               Unliquidated
          Mays Landing, New Jersey 08330-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1221 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1245 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.852
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ZeetoGroup LLC                                                      Contingent
          925 B Street, 5th Floor                                             Unliquidated
          San Diego, CA 92101
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zehnder Rittling (HMNYS)                                            Contingent
          100 Rittling Boulevard                                              Unliquidated
          Buffalo, NY 14220
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zelaya, Luis                                                        Contingent
          12404 Goodhill Road                                                 Unliquidated
          Silver Spring, Maryland 20906-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zentz, Victoria                                                     Contingent
          2413 Saint George Way                                               Unliquidated
          Brookeville, Maryland 20833-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zerull, Taylor                                                      Contingent
          13765 SW Ash Avenue                                                 Unliquidated
          Portland, Oregon 97223-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ZF Electronic Systems                                               Contingent
          11200 88th Avenue                                                   Unliquidated
          Pleasant Prairie, WI 53158
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zhao-Chin, Jennifer                                                 Contingent
          5N965 Baker Hill Ct                                                 Unliquidated
          St Charles, Illinois 60175-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1222 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1246 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.853
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zhivago, Olena                                                      Contingent
          1965 N Coldspring Rd                                                Unliquidated
          Arlington Heights, Illinois 60004-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zhussupova, Jannat                                                  Contingent
          4932 Mulholland Dr                                                  Unliquidated
          Lake Oswego, Oregon 97035-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ziemba, Rebecca                                                     Contingent
          15202 Chalco Pointe Dr                                              Unliquidated
          Omaha, Nebraska 68138-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ziemkiewicz, Kelly                                                  Contingent
          3721 North Wilton Avenue                                            Unliquidated
          Unit 4
                                                                              Disputed
          Chicago, Illinois 60613-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.853
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zimmerman, Daniel                                                   Contingent
          460 Bonnie Brae Ave                                                 Unliquidated
          Rochester, New York 14618-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zimmerman, Jodi                                                     Contingent
          116 Longs Peak Dr                                                   Unliquidated
          P.O. Box 873
                                                                              Disputed
          Lyons, Colorado 80540-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.853
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zimmerman, Josephine                                                Contingent
          1422 Wilkes Way Se                                                  Unliquidated
          Rio Rancho, New Mexico 87124-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1223 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1247 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.854
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zindani, Shazma                                                     Contingent
          3522 Jasmine Cir.                                                   Unliquidated
          San Jose, California 95135-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zion Elementary SD 6                                                Contingent
          2800 29th Street                                                    Unliquidated
          Zion, IL 60099
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zitani, Laura                                                       Contingent
          6105 Windridge Court                                                Unliquidated
          Princeton, New Jersey 08540-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zito, Tina                                                          Contingent
          213 S Union Ave                                                     Unliquidated
          Cranford, New Jersey 07016-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zitzmann, Katherine                                                 Contingent
          1313 SE Spokane Street #308                                         Unliquidated
          Portland, Oregon 97202-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zonno, Paula                                                        Contingent
          208 HOLLY HILL Rd                                                   Unliquidated
          Davenport, Florida 33837-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zotos International, Inc.                                           Contingent
          300 Forge Ave                                                       Unliquidated
          Geneva, NY 14456
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1224 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1248 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.854
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zucco, Monica                                                       Contingent
          176 Richmond Avenue                                                 Unliquidated
          Buffalo, New York 14222-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zuchniarz, Ireneusz                                                 Contingent
          2315 Trailside Lane                                                 Unliquidated
          Wauconda, Illinois 60084-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zumbiel Packaging                                                   Contingent
          2100 Gateway Blvd                                                   Unliquidated
          Hebron, KY 41048
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zuniga, Julia                                                       Contingent
          8708 Jefferson Ave                                                  Unliquidated
          La Mesa, California 91941-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zuniga, Zsazsa                                                      Contingent
          5 Waterfront Dr                                                     Unliquidated
          Brownsville, Texas 78520-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zweber, Shaley                                                      Contingent
          8801 204th St. East                                                 Unliquidated
          Prior Lake, Minnesota 55372-0000
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Zweifach Erie, Alexis                                               Contingent
          6405 Apollo Dr                                                      Unliquidated
          APT B
                                                                              Disputed
          Baltimore, Maryland 21209-0000
          Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1225 of 1226
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                              Case 20-11526-BLS                       Doc 40         Filed 08/12/20                 Page 1249 of 1268

 Debtor       Interactive Health Solutions, Inc.                                                      Case number (if known)            20-11530 (BLS)
              Name

 3.855
 4         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Zych, Brian                                                        Contingent
           1105 Sunset Drive                                                  Unliquidated
           Trophy Club, Texas 76262-0000
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855
 5         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Zyla, Andew                                                        Contingent
           1246 W. Arrowhead Road                                             Unliquidated
           Duluth, Minnesota 55811-0000
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855
 6         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Zyla, Ryan                                                         Contingent
           108 Miracle Rose Way                                               Unliquidated
           Liberty Hill, Texas 78642-0000
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855
 7         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Zynger, Adam                                                       Contingent
           17 Waldron Ave                                                     Unliquidated
           Baltimore, Maryland 21208-0000
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Wages / Other
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                     4,154,717.94
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        4,154,717.94




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 1226 of 1226
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                              Case 20-11526-BLS                      Doc 40   Filed 08/12/20           Page 1250 of 1268

 Fill in this information to identify the case:

 Debtor name         Interactive Health Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11530 (BLS)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Building Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                           300 N. Elizabeth, LLC
                                                                                     cSterling Bay
              List the contract number of any                                        1040 West Randolph St.
                    government contract                                              Chicago, IL 60607


 2.2.         State what the contract or                  Building Lease
              lease is for and the nature of
              the debtor's interest
                                                                                     A&M Fulton West Owner, LLC
                  State the term remaining                                           Kevin Halm
                                                                                     205 West Randolph St.
              List the contract number of any                                        Suite 830
                    government contract                                              Chicago, IL 60606


 2.3.         State what the contract or                  Contractor
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     Amy Sadowski
              List the contract number of any                                        6010 Eagle Point Dr.
                    government contract                                              Racine, WI 53406


 2.4.         State what the contract or                  Contractor
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     Ann Rowland
              List the contract number of any                                        4117 N Central Park Avenue
                    government contract                                              Chicago, IL 60618




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1251 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Anna Garcia
                                                                                        1618 S Halstead St.
             List the contract number of any                                            Unit 5B
                   government contract                                                  Chicago, IL 60608


 2.6.        State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Anne Leavell
             List the contract number of any                                            130 Whitebridge Ln
                   government contract                                                  Winnetka, IL 60093


 2.7.        State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Balanced Body Nourishment, LLC
                                                                                        Maria McConville
             List the contract number of any                                            229 2nd Avenue SW
                   government contract                                                  Washington, DC 20024


 2.8.        State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Belatrix Software Inc.
                                                                                        444 Brickell Ave
             List the contract number of any                                            Suite 51-473
                   government contract                                                  Miami, FL 33131


 2.9.        State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Beth LaCoste
             List the contract number of any                                            15525 W. 154th Street
                   government contract                                                  Olathe, KS 66062


 2.10.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Beth W. Ask
                                                                                        19 Buffalo Street
             List the contract number of any                                            Cogan Station, PA 17728
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1252 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.11.       State what the contract or                   Equipment Lease
             lease is for and the nature of
             the debtor's interest
                                                                                        Canon Financial Solutions
                  State the term remaining                                              158 Gaither Drive
                                                                                        Suite 200
             List the contract number of any                                            PO Box 5008
                   government contract                                                  Mount Laurel, NJ 08054


 2.12.       State what the contract or                   IT Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        CDW Computer Centers, Inc.
             List the contract number of any                                            PO Box 75723
                   government contract                                                  Chicago, IL 60675


 2.13.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Cintas Corporation
             List the contract number of any                                            6800 Cintas Blvd.
                   government contract                                                  Cincinnati, OH 45262


 2.14.       State what the contract or                   Equipment Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Cisco Systems Capital Crp
             List the contract number of any                                            PO Box 41602
                   government contract                                                  Philadelphia, PA 19101


 2.15.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Civis Analytics, Inc.
                                                                                        200 West Monroe Street
             List the contract number of any                                            Suite 2200
                   government contract                                                  Chicago, IL 60606


 2.16.       State what the contract or                   Contractor
             lease is for and the nature of                                             Colette Thompson
             the debtor's interest                                                      176 Station Road
                                                                                        New Sweden, ME 04762
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1253 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Storage Unit Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        CubeSmart Management LLC
             List the contract number of any                                            241 Southwest Cutoff
                   government contract                                                  Northborough, MA 01532


 2.18.       State what the contract or                   Storage Unit Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        CubeSmart Management, LLC
             List the contract number of any                                            1905 East William Cannon Drive
                   government contract                                                  Austin, TX 78744


 2.19.       State what the contract or                   Storage Unil Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        CubeSmart Management, LLC
             List the contract number of any                                            4311 Communications Drive
                   government contract                                                  Dallas, TX 75211


 2.20.       State what the contract or                   Storage Unit Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        CubeSmart Management LLC
             List the contract number of any                                            2467 North Western Avenue
                   government contract                                                  Chicago, IL 60647


 2.21.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Deanna Taylor
             List the contract number of any                                            3011 Walden Circle
                   government contract                                                  Waukesha, WI 53188




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 4 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1254 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.22.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Discover Financial Services
             List the contract number of any                                            2500 Lake Cook Road
                   government contract                                                  Deerfield, IL 60015


 2.23.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Elkay Manufacturing Company
             List the contract number of any                                            2222 Camden Court
                   government contract                                                  Oak Brook, IL 60523


 2.24.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Enlighten, Inc.
                                                                                        aka Katie Walbrun
             List the contract number of any                                            1215 Hunter Road
                   government contract                                                   CT 06009


 2.25.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Erica Lokshin
                                                                                        32 Conshohocken Road
             List the contract number of any                                            Apt F2
                   government contract                                                  Bala Cynwyd, PA 19004


 2.26.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Ethan Horger
             List the contract number of any                                            233 South Coats Road
                   government contract                                                  Oxford, MI 48371


 2.27.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              EZ Business Solutions
                                                                                        1000 Balmoral Lane
             List the contract number of any                                            Elgin, IL 60120
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 5 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1255 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.28.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Fuzzy Math
                                                                                        811 W Evergreen Ave.
             List the contract number of any                                            Suite 305
                   government contract                                                  Chicago, IL 60642


 2.29.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Glen Susz
                                                                                        Academic Technical Services
             List the contract number of any                                            17300 S Delia Ave.
                   government contract                                                  Plainfield, IL 60586


 2.30.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        GM Financial
             List the contract number of any                                            4001 Embarcadero Road
                   government contract                                                  Arlington, TX 76014


 2.31.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Heather Gustafson
             List the contract number of any                                            4365 Thorn Hill Trail
                   government contract                                                  Green Bay, WI 54313


 2.32.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        HP Hood
             List the contract number of any                                            6 Kimball Lane
                   government contract                                                  Lynnfield, MA 01940


 2.33.       State what the contract or                   Customer Contract
             lease is for and the nature of                                             Hubbell Incorporatted
             the debtor's interest                                                      40 Waterview Dr.
                                                                                        Shelton, CT 06484
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 6 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1256 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              IDEX Corporation
                                                                                        1925 West Field Ct
             List the contract number of any                                            Suite 200
                   government contract                                                  Lake Forest, IL 60045


 2.35.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Irma Herrera Olson
             List the contract number of any                                            860 Lawrence Dr
                   government contract                                                  San Luis Obispo, CA 93401


 2.36.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Jamie Shifley
             List the contract number of any                                            6211 Park Ave.
                   government contract                                                  Downers Grove, IL 60516


 2.37.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Janet Arenas
             List the contract number of any                                            3652 W 60th Pl
                   government contract                                                  Chicago, IL 60629


 2.38.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              JC Muyl
                                                                                        141 East 3rd St
             List the contract number of any                                            9C
                   government contract                                                  New York, NY 10009




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 7 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1257 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.39.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Jefferson Health New Jersey
             List the contract number of any                                            30 East Laurel Road
                   government contract                                                  Stratford, NJ 08084


 2.40.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Jessica Sieja
             List the contract number of any                                            2261 Elkridge Circle
                   government contract                                                  Highland, MI 48356


 2.41.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Jonathan Bond
                                                                                        Fortitude Systems
             List the contract number of any                                            PO Box 76383
                   government contract                                                  Baltimore, MD 21275


 2.42.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Judy Skaer
             List the contract number of any                                            4158 Riverhill Court
                   government contract                                                  Roswell, GA 30075


 2.43.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Karen Curtis
             List the contract number of any                                            1 Lucas Lane
                   government contract                                                  Malvern, PA 19355


 2.44.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Karen Enright
                                                                                        559 Wilson Ave.
             List the contract number of any                                            Glen Ellyn, IL 60137
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 8 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1258 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.45.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Karen Hagedorn-Wagner
             List the contract number of any                                            1917 Birch Street
                   government contract                                                  Carver, MN 55315


 2.46.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Kathleen Brown-Miner
             List the contract number of any                                            1498 Ryan Dr.
                   government contract                                                  Platteville, WI 53818


 2.47.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Kristen Ritchey
             List the contract number of any                                            15235 Quail Hollow Ct
                   government contract                                                  Granger, IN 46530


 2.48.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Lauren Opalka
             List the contract number of any                                            416 Apple River Drive
                   government contract                                                  Naperville, IL 60565


 2.49.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Leonora Louise Young
                                                                                        293 Central Park West
             List the contract number of any                                            4D
                   government contract                                                  New York, NY 10024


 2.50.       State what the contract or                   IT Consulting
             lease is for and the nature of                                             Likens Technology Solutions, LLC
             the debtor's interest                                                      23374 W Milton Road
                                                                                        Wauconda, IL 60084
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 9 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1259 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              ListEngage LLC
                                                                                        5 Edgell Road
             List the contract number of any                                            Suite 20
                   government contract                                                  Framingham, MA 01701


 2.52.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              M. Harris LLC
                                                                                        1800 W Roscoe Street
             List the contract number of any                                            Unit 516
                   government contract                                                  Chicago, IL 60657


 2.53.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Mallinckrodt Pharmaceuticals
             List the contract number of any                                            675 McDonnell Blvd
                   government contract                                                  Hazelwood, MO 63042


 2.54.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Marisela Bayona
             List the contract number of any                                            2255 SE Avalon Road
                   government contract                                                  Port Saint Lucie, FL 34952


 2.55.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Maritz
             List the contract number of any                                            1375 N Highway Drive
                   government contract                                                  Fenton, MO 63099




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 10 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1260 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.56.       State what the contract or                   IT Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Med IT Partners
             List the contract number of any                                            2551 N Saint Louis Ave
                   government contract                                                  Chicago, IL 60647


 2.57.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        MentorMate, Inc.
             List the contract number of any                                            3036 Hennipin Ave.
                   government contract                                                  Minneapolis, MN 55408


 2.58.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Mercy Health
                                                                                        14528 South Outer 40
             List the contract number of any                                            Suite 100
                   government contract                                                  Chesterfield, MO 63017


 2.59.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Michelle Bartelt
             List the contract number of any                                            8733 N. Hedge Road
                   government contract                                                  Byron, IL 61010


 2.60.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        National General
             List the contract number of any                                            5630 University Parkway
                   government contract                                                  Winston Salem, NC 27105


 2.61.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest
                                                                                        nGuard, Inc.
                  State the term remaining                                              3700 Arco Corporate Dr.
                                                                                        Suite 525
             List the contract number of any                                            Charlotte, NC 28273
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1261 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.62.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Nicklaus Children's Health System
             List the contract number of any                                            3100 SW 62nd Ave.
                   government contract                                                  Miami, FL 33155


 2.63.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Octadyne Systems
                                                                                        310 Main Street
             List the contract number of any                                            Suite 201
                   government contract                                                  Ames, IA 50010


 2.64.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Polaris Solutions, LLC
                                                                                        10820 Sunset Office Dr
             List the contract number of any                                            Suite 302
                   government contract                                                  Saint Louis, MO 63127


 2.65.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Raina Roeder
             List the contract number of any                                            S83 W32800 N. Oak Tree Court
                   government contract                                                  Mukwonago, WI 53149


 2.66.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Rdsquared, LLC
                                                                                        aka Rebecca Davis HC
             List the contract number of any                                            9412 Twin Spruce Drive
                   government contract                                                  Saint Louis, MO 63126


 2.67.       State what the contract or                   IT Consulting                 RDX-Remote
             lease is for and the nature of                                             2000 Westinghouse Drive
             the debtor's interest                                                      Suite 302
                                                                                        Cranberry Twp, PA 16066
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 12 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1262 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.68.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Risc Management & Consulting
                                                                                        500 N. Randall Rd
             List the contract number of any                                            Suite 532
                   government contract                                                  Batavia, IL 60510


 2.69.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Rockford Public Schools
             List the contract number of any                                            501 7th St.
                   government contract                                                  Rockford, IL 61104


 2.70.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Rush
             List the contract number of any                                            1653 W. Congress Pkwy
                   government contract                                                  Chicago, IL 60612


 2.71.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Sally Willis
             List the contract number of any                                            1539 Greenleaf Ave.
                   government contract                                                  Lake Forest, IL 60045


 2.72.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Sarah Ahto
             List the contract number of any                                            3524 University Ave.
                   government contract                                                  Highland Park, IL 60035




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 13 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1263 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.73.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Schneider Electric
                                                                                        100 N Martingale Road
             List the contract number of any                                            Suite 1000
                   government contract                                                  Palatine, IL 60067


 2.74.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Shannon Gabriel
             List the contract number of any                                            2438 Prairie Flower Lane
                   government contract                                                  De Pere, WI 54115


 2.75.       State what the contract or                   Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Sheri Dennard
             List the contract number of any                                            5520 Magnolia Tree Terrace
                   government contract                                                  Sarasota, FL 34233


 2.76.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              SKF USA Inc.
                                                                                        890 Forty Foot Road
             List the contract number of any                                            PO Box 352
                   government contract                                                  Lansdale, PA 19446


 2.77.       State what the contract or                   IT Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Sogeti USA, LLC
             List the contract number of any                                            10100 Innovation Drive, Suite 200
                   government contract                                                  Palestine, OH 45352


 2.78.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Solutions Partners Inc.
                                                                                        Dept 4952
             List the contract number of any                                            Carol Stream, IL 60122
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 14 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1264 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)    20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.79.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Susan F. Madnek-Oxman
             List the contract number of any                                            1051 Wade Street
                   government contract                                                  Highland Park, IL 60035


 2.80.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        The Sundt Companies
             List the contract number of any                                            2620 S. 55th St.
                   government contract                                                  Tempe, AZ 85282


 2.81.       State what the contract or                   IT Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Trial Vault International, Inc.
                                                                                        155 North Wacker Drive
             List the contract number of any                                            Suite 4250
                   government contract                                                  Chicago, IL 60606


 2.82.       State what the contract or                   Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Virgina Hill
             List the contract number of any                                            1336 Saxon Lane
                   government contract                                                  Naperville, IL 60564


 2.83.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        W.L. Gore & Asso.
             List the contract number of any                                            555 Paper Mill Road
                   government contract                                                  Newark, DE 19714


 2.84.       State what the contract or                   IT Contract                   Web Interactive Technologies
             lease is for and the nature of                                             1829 Reisterstown Road
             the debtor's interest                                                      Suite 350
                                                                                        Pikesville, MD 21208
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 15 of 16
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                              Case 20-11526-BLS                           Doc 40   Filed 08/12/20       Page 1265 of 1268
 Debtor 1 Interactive Health Solutions, Inc.                                                    Case number (if known)   20-11530 (BLS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.85.       State what the contract or                   Customer Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Western Connecticut Health Network
             List the contract number of any                                            PO Box 860
                   government contract                                                  Danbury, CT 06810


 2.86.       State what the contract or                   IT Consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              William Knight
                                                                                        Fortitude Systems
             List the contract number of any                                            PO Box 76383
                   government contract                                                  Baltimore, MD 21275




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 16 of 16
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                              Case 20-11526-BLS                      Doc 40     Filed 08/12/20      Page 1266 of 1268

 Fill in this information to identify the case:

 Debtor name         Interactive Health Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11530 (BLS)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:

    2.1      Health Solutions                  11409 Cronhill Drive                               Bank of Montreal              D        2.1
             Services                          Suite K-R                                                                         E/F
                                               Owings Mills, MD 21117
                                                                                                                                G




    2.2      Health Solutions                  11409 Cronhill Drive                               Solar Capital Ltd             D        2.2
             Services                          Suite K-R                                                                         E/F
                                               Owings Mills, MD 21117
                                                                                                                                G




    2.3      Health Solutions,                 11409 Cronhill Drive                               Bank of Montreal              D        2.1
             Inc.                              Suite K-R                                                                         E/F
                                               Owings Mills, MD 21117
                                                                                                                                G




    2.4      Health Solutions,                 11409 Cronhill Drive                               Solar Capital Ltd             D        2.2
             Inc.                              Suite K-R                                                                         E/F
                                               Owings Mills, MD 21117
                                                                                                                                G




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 1 of 2
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                              Case 20-11526-BLS                      Doc 40     Filed 08/12/20       Page 1267 of 1268

 Debtor       Interactive Health Solutions, Inc.                                             Case number (if known)   20-11530 (BLS)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.5      IHS Intermediate,                 1700 E. Golf Road                                  Bank of Montreal             D       2.1
             Inc.                              Suite 900                                                                        E/F
                                               Schaumburg, IL 60173
                                                                                                                               G




    2.6      IHS Intermediate,                 1700 E. Golf Road                                  Solar Capital Ltd            D       2.2
             Inc.                              Suite 900                                                                        E/F
                                               Schaumburg, IL 60173
                                                                                                                               G




    2.7      Interactive                       1700 E. Golf Road                                  Bank of Montreal             D       2.1
             Health Holdings                   Suite 900                                                                        E/F
             Corp.                             Schaumburg, IL 60173
                                                                                                                               G




    2.8      Interactive                       1700 E. Golf Road                                  Solar Capital Ltd            D       2.2
             Health Holdings                   Suite 900                                                                        E/F
             Corp.                             Schaumburg, IL 60173
                                                                                                                               G




    2.9      Interactive Health                1700 E. Golf Road                                  Bank of Montreal             D       2.1
             New York, LLC                     Suite 900                                                                        E/F
                                               Schaumburg, IL 60173
                                                                                                                               G




    2.10     Interactive Health                1700 E. Golf Road                                  Solar Capital Ltd            D       2.2
             New York, LLC                     Suite 900                                                                        E/F
                                               Schaumburg, IL 60173
                                                                                                                               G




Official Form 206H                                                            Schedule H: Your Codebtors                                   Page 2 of 2
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                              Case 20-11526-BLS                         Doc 40         Filed 08/12/20            Page 1268 of 1268




 Fill in this information to identify the case:

 Debtor name         Interactive Health Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11530 (BLS)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 12, 2020                         X /s/ Matthew Manning
                                                                       Signature of individual signing on behalf of debtor

                                                                       Matthew Manning
                                                                       Printed name

                                                                       Former CRO and Designated Representative
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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